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Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                )
    In re:                                                      ) Chapter 11
                                                                )
    CELSIUS NETWORK LIMITED, et al., 1                          ) Case No. 22-10966 (MG)
                                                                )
                                                Debtors.        ) (Jointly Administered)
                                                                )

                   NOTICE OF FILING OF AMENDED GLOBAL NOTES,
              STATEMENT OF FINANCIAL AFFAIRS 3 AND 4, AND SCHEDULE F

             PLEASE TAKE NOTICE that, on October 5, 2022, the debtors and debtors in possession

(the “Debtors”) filed schedule F of their schedules of assets and liabilities (“Schedule F”), the

statements of financial affairs 3 and 4 (“SOFAs 3 and 4”), and global notes accompanying the

schedules of assets and liabilities and statements of financial affairs (“Global Notes”) in the United

States Bankruptcy Court for the Southern District of New York (the “Court”) pursuant to section

521 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532, (the “Bankruptcy Code”) and

rule 1007(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
      Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks
      Lending LLC (3390); Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK Limited (0893); and GK8
      USA LLC (9450). The location of Debtor Celsius Network LLC’s principal place of business and the Debtors’
      service address in these chapter 11 cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.
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       PLEASE TAKE FURTHER NOTICE that on October 5, 2022, Debtor Celsius Network

Limited filed the Global Notes and Statement of Limitations, Methodology and Disclaimers

Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs

[Docket No. 7] (the “Schedules and Statements”).

       PLEASE TAKE FURTHER NOTICE that Debtor Celsius Network Limited hereby files

amendments to Schedule F (“Amended Schedule F”), SOFAs 3 and 4 (“Amended SOFAs 3 and

4”), and the Global Notes (“Amended Global Notes”) pursuant to Bankruptcy Rule 1009(a) and

rule 1009-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the Southern District of New York (the “Local Bankruptcy Rules”). The

Amended Schedule F, the Amended SOFAs 3 and 4, the Amended Global Notes shall be deemed

included in the original schedules.

       PLEASE TAKE FURTHER NOTICE that the Debtors reserve the right to further amend

or supplement, in their sole discretion, the Amended Schedule F, the Amended SOFAs 3 and 4,

and the Amended Global Notes, any other schedules of assets and liabilities, or their statements of

financial affairs filed in these chapter 11 cases, consistent with the Bankruptcy Code and

Bankruptcy Rules.

       PLEASE TAKE FURTHER NOTICE that copies of the Schedules and Statements and

other pleadings filed in these chapter 11 cases may be obtained free of charge by visiting the

website of Stretto at https://cases.stretto.com/celsius. You may also obtain copies of the other

pleadings   filed    in   these   chapter   11   cases   by   visiting   the   Court’s   website   at

http://www.nysb.uscourts.gov in accordance with the procedures and fees set forth therein.



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New York, New York                           /s/ Joshua A. Sussberg
Dated: March 24, 2023                      KIRKLAND & ELLIS LLP
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                                            - and -

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                                           Counsel to the Debtors and Debtors in Possession




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Counsel to the Debtors and
Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                    )
    In re:                                                          )      Chapter 11
                                                                    )
    CELSIUS NETWORK LLC, et al., 1                                  )      Case No. 22-10964 (MG)
                                                                    )
                                       Debtors.                     )      (Jointly Administered)
                                                                    )

                    AMENDED GLOBAL NOTES AND STATEMENT OF
                   LIMITATIONS, METHODOLOGY AND DISCLAIMERS
                  REGARDING THE DEBTORS’ SCHEDULES OF ASSETS
               AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

       Celsius Network LLC and certain of its affiliates, as debtors and debtors in possession in
the above-captioned chapter 11 cases (the “Debtors”), have filed these respective Schedules of
Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs (the “Statements”) in
the United States Bankruptcy Court for the Southern District of New York (the “Court”). The
Debtors, with the assistance of their legal and financial advisors, prepared the Schedules and
Statements in accordance with section 521 of title 11 of the United States Code (the “Bankruptcy
Code”), rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and
rule 1007–1 of the Bankruptcy Local Rules for the Southern District of New York (the “Local
Rules”).




1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
      Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks
      Lending LLC (3390); Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK Limited (0893); and GK8
      USA LLC (9450). The location of Debtor Celsius Network LLC’s principal place of business and the Debtors’
      service address in these chapter 11 cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.
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        Mr. Chris Ferraro, Acting Chief Executive Officer, Chief Restructuring Officer, and Chief
Financial Officer of the Debtors, has signed each set of the Schedules and Statements. Mr. Ferraro
is an authorized signatory for each of the Debtors. In reviewing and signing the Schedules and
Statements, Mr. Ferraro has necessarily relied upon the efforts, statements, advice, and
representations of personnel of the Debtors and the Debtors’ legal and financial advisors. Mr.
Ferraro has not (and could not have) personally verified the accuracy of each such statement and
representation contained in the Schedules and Statements, including statements and
representations concerning amounts owed to creditors, classification of such amounts, and
respective creditor contact information.

        In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made commercially reasonable efforts to ensure the accuracy and completeness of
the Schedules and Statements, subsequent information or discovery may result in material changes
to the Schedules and Statements. As a result, inadvertent errors or omissions may exist. For the
avoidance of doubt, the Debtors hereby reserve all of their rights under the Bankruptcy Code, the
Bankruptcy Rules, and the Local Rules, including to amend and/or supplement the Schedules and
Statements, as may be necessary or appropriate.

       These Global Notes and Statement of Limitations, Methodology, and Disclaimer
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(the “Global Notes”) pertain to, are incorporated by reference in, and comprise an integral part of,
each Debtor’s respective Schedules and Statements. The Global Notes should be referred to and
considered in connection with any review of the Schedules and Statements. 2

                                Global Notes and Overview of Methodology

1.        Description of Cases. On July 13, 2022 (the “Petition Date”), eight of the Debtors filed
          voluntary petitions for relief under chapter 11 of the Bankruptcy Code. On December 7,
          2022, Debtors GK8 Ltd., GK8 UK Limited, and GK8 USA LLC each filed a voluntary
          petition for relief under chapter 11 of the Bankruptcy Code. 3 The Debtors’ chapter 11
          cases are being jointly administered for procedural purposes only under lead case
          In re Celsius Network LLC, Case No. 22-10964 (MG) (Bankr. S.D.N.Y.). The Debtors are
          operating their business and managing their property as debtors in possession pursuant to
          sections 1107(a) and 1108 of the Bankruptcy Code. On July 27, 2022, the United States
          Trustee for the Southern District of New York (the “U.S. Trustee”) appointed an official
          committee of unsecured creditors [Docket No. 241] (the “Committee”). Additional
          information regarding the Committee and its legal and financial advisors can be obtained
          at https://cases.ra.kroll.com/CelsiusCommittee/. The information provided herein, except

2    These Global Notes supplement and are in addition to any specific notes contained in each Debtor’s Schedules or
     Statements. The fact that the Debtors have prepared a Global Note with respect to any of individual Debtor’s
     Schedules and Statements and not to those of another should not be interpreted as a decision by the Debtors to
     exclude the applicability of such Global Note to any of the Debtors’ other Schedules and Statements, as
     appropriate.
3    Copies of publicly filed documents in these chapter 11 cases are available at http://cases.stretto.com/Celsius (free
     of charge) or the Court’s website at https://www.nysb.uscourts.gov/ecf-and-pacer-information (for a fee).



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          as otherwise noted, is reported as of the close of business on the Petition Date. As detailed
          more fully in Schedule AB for Celsius Mining LLC, certain asset information is listed as
          of June 30, 2022.

2.        Reporting of Cryptocurrencies. Cryptocurrency-related obligations associated with the
          Debtors’ Earn, Custody, and Borrow programs are reported at Celsius Network LLC (and
          Celsius Lending LLC, as applicable). Pursuant to the Memorandum Opinion Regarding
          Which Debtor Entities Have Liability for Customer Claims Under the Terms of Use
          [Docket No. 2205] (the “Account Holder Claim Opinion”), the general Terms of Use, dated
          April 14, 2022 [Docket No. 393, Ex. A-8] (the “April 14, 2022 General Terms of Use”)
          provide that only Celsius Network LLC is liable to account holders on contract claims
          under the April 14, 2022 General Terms of Use, and such contract claims are now only
          scheduled as claims against Celsius Network LLC and, except as set forth below, not any
          other Debtor entity in light of the Account Holder Claim Opinion. Any cross-reference to
          the Schedules of Celsius Network LLC in the previous Schedules filed by the Debtors 4
          regarding the reporting of cryptocurrency-related obligations to account holders are of no
          force or effect as of the date of the Order Regarding Which Debtor Entities Have Liability
          for Customer Contract Claims Under the Terms of Use [Docket No. 2265] (“Account
          Holder Claim Order”), and account holders may not rely on such cross-references to assert
          cryptocurrency-related claims against any Debtor or non-Debtor affiliate. The Account
          Holder Claim Order is not a final, non-appealable order as of the date hereof, and is subject
          to appeal.

          The Account Holder Claim Opinion provides that “the terms of use do not limit Customers
          (or the Committee) from asserting non-contract claims against Celsius Network Ltd.
          (“CNL”), or against other Debtor or non-Debtor affiliates, such as claims for fraud,
          negligent misrepresentation, or other statutory or common law claims.” Account Holder
          Claim Opinion at 4. The Debtors have not scheduled any claims of account holders on
          account of fraud, negligent misrepresentation, or other statutory or common law claims,
          other than contract claims against Celsius Network LLC on account of the April 14, 2022
          General Terms of Use.

          Claims associated with the Debtors’ Borrow program are also scheduled at Celsius Lending
          LLC by cross reference to the Schedules of Celsius Network LLC.

          The Debtors reserve all rights to modify the Schedules and Statements including subject to
          a further order of the Court.




4    The Schedules were filed at the following docket entries: Celsius Network LLC (Case No. 22-10964) [Docket
     No. 974]; Celsius Lending LLC (Case No. 22-10970) [Docket No. 5]; Celsius Mining LLC (Case No. 22-10968)
     [Docket No. 5]; Celsius Network Inc. (Case No. 22-10965) [Docket No. 6]; Celsius Network Limited (Case No.
     22-10966) [Docket No. 7]; Celsius Networks Lending LLC (Case No. 22-10969) [Docket No. 5]; Celsius US
     Holding LLC (Case No. 22-10971) [Docket No. 5]; Celsius KeyFi LLC (Case No. 22-10967) [Docket No. 5];
     GK8 Ltd. (Case No. 22-11643) [Docket No. 4]; GK8 UK Limited (Case No. 22-11645) [Docket No. 4]; and GK8
     USA LLC (Case No. 22-11644) [Docket No. 4].



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          Pursuant to Bankruptcy Rule 3003(c)(2), if a claim is scheduled as contingent,
          unliquidated, or disputed, a creditor must file a proof of claim in order to preserve rights
          with respect to such claim. The Debtors have scheduled account holder contract claims
          related to the Debtors’ Earn, Custody, and Borrow programs at Celsius Network LLC (and
          Celsius Lending LLC, as applicable) and have not scheduled any such claims as contingent,
          unliquidated, or disputed. For the avoidance of doubt, nothing contained in these Global
          Notes is intended as, or should be construed as, an admission or stipulation of the validity
          of any claim against any Debtor or a waiver of any Debtor’s rights to dispute any claim or
          assert any cause of action or defense against any party.

3.        Reservation of Rights. Reasonable efforts have been made to prepare and file complete
          and accurate Schedules and Statements; however, inadvertent errors or omissions may
          exist. The Debtors reserve all rights available pursuant to the Bankruptcy Code,
          Bankruptcy Rules, or Local Rules for the Southern District of New York to: (i) amend
          and/or supplement the Schedules and Statements from time to time, in all respects, as may
          be necessary or appropriate, including the right to amend the Schedules and Statements
          with respect to the description, designation, or Debtor against which any claim (“Claim”) 5
          is asserted; (ii) dispute or otherwise assert offsets, setoffs, or other defenses to any Claim
          reflected in the Schedules and Statements as to amount, liability, priority, status, or
          classification; (iii) designate any Claim as “disputed,” “contingent,” or “unliquidated”; or
          (iv) object to the extent, validity, enforceability, priority, or avoidability of any Claim
          (regardless of whether of such Claim is designated in the Schedules and Statements as
          “disputed,” “contingent,” or “unliquidated”). Any failure to designate a Claim in the
          Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
          constitute an admission by the Debtors that such Claim or amount is not “disputed,”
          “contingent,” or “unliquidated” or a waiver of any right to later object to any claim on any
          grounds. Listing a Claim does not constitute an admission of (a) liability or (b) amounts
          due or owed, if any, in each case, by the Debtor against which the Claim is listed or against
          any of the Debtors. Furthermore, nothing contained in the Schedules and Statements shall
          constitute a waiver of rights with respect to the Debtors’ chapter 11 cases, including,
          without limitation, issues involving or defenses against Claims, substantive consolidation,
          defenses, statutory, or equitable subordination, and/or causes of action arising under the
          provisions of chapter 5 of the Bankruptcy Code and any other relevant non-bankruptcy
          laws to recover assets or avoid transfers. Any specific reservation or rights contained
          elsewhere in the Global Notes does not limit in any respect the general reservation of rights
          contained in this paragraph.

          (a)     No Admission. Nothing contained in the Schedules and Statements is intended as,
                  or should be construed as, an admission or stipulation of the validity of any Claim
                  against any Debtor, any assertion made therein or herein, or a waiver of any
                  Debtor’s rights to dispute any Claim or assert any cause of action or defense against
                  any party.



5    For the purposes of these Global Notes, “Claim” shall have the meaning as defined under section 101(5) of the
     Bankruptcy Code.



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     (b)   Recharacterization. The Debtors have made reasonable efforts to correctly
           characterize, classify, categorize, and designate the claims, assets, executory
           contracts, unexpired leases, and other items reported in the Schedules and
           Statements. Nevertheless, due to the complexity of the Debtors’ business, the
           Debtors may not have accurately characterized, classified, categorized, or
           designated certain items and/or may have omitted certain items. Accordingly, the
           Debtors reserve all of their rights available pursuant to the Bankruptcy Code,
           Bankruptcy Rules, or Local Rules for the Southern District of New York to
           recharacterize, reclassify, recategorize, or redesignate items reported in the
           Schedules and Statements at a later time as necessary or appropriate, including,
           without limitation, whether contracts or leases listed herein were deemed executory
           or unexpired as of the Petition Date and remain executory and unexpired
           postpetition.

     (c)   Classifications. Listing (i) a Claim on Schedule D as “secured,” (ii) a Claim on
           Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
           “executory” or “unexpired” does not constitute an admission by the Debtors of the
           legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
           rights to object to such claim, recharacterize or reclassify such Claim or contract or
           to setoff such Claims.

     (d)   Estimates and Assumptions. The preparation of the Schedules and Statements
           required the Debtors to make commercially reasonable estimates and assumptions
           with respect to the reported amounts of assets and liabilities on the date of the
           Schedules and Statements, and the reported amounts of revenues and expenses
           during the applicable reporting periods. Actual results could differ from such
           estimates.

     (e)   Causes of Action. Despite reasonable efforts, the Debtors may not have identified
           and/or set forth all of their causes of action (filed or potential) against third parties
           as assets in their Schedules and Statements, including, without limitation,
           avoidance actions arising under chapter 5 of the Bankruptcy Code and actions under
           other relevant bankruptcy and non-bankruptcy laws to recover assets, which the
           Debtors have not scheduled. The Debtors reserve all rights with respect to any
           causes of action (including avoidance actions), controversy, right of setoff, cross
           claim, counterclaim, or recoupment and any Claim on contracts or for breaches of
           duties imposed by law or in equity, demand, right, action, lien, indemnity, guaranty,
           suit, obligation, liability, damage, judgment, account, defense, power, privilege,
           license, and franchise of any kind or character whatsoever, known, unknown, fixed
           or contingent, matured or unmatured, suspected or unsuspected, liquidated or
           unliquidated, disputed or undisputed, secured or unsecured, assertable directly or
           derivatively, whether arising before, on, or after the Petition Date, in contract or in
           tort, in law or in equity, or pursuant to any other theory of law they may have
           (collectively, “Causes of Action”), and neither the Global Notes nor the Schedules
           and Statements shall be deemed a waiver of any such Claims, Causes of Action, or
           avoidance actions or in any way prejudice or impair the assertion of such Claims or
           Causes of Action.


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         (f)      Intellectual Property Rights. Exclusion of certain intellectual property shall not
                  be construed to be an admission that such intellectual property rights have been
                  abandoned, have been terminated, or otherwise have expired by their terms, or have
                  been assigned or otherwise transferred pursuant to a sale, acquisition, or other
                  transaction. Conversely, inclusion of certain intellectual property shall not be
                  construed to be an admission that such intellectual property rights have not been
                  abandoned, have not been terminated, or otherwise have not expired by their terms,
                  or have not been assigned or otherwise transferred pursuant to a sale, acquisition,
                  or other transaction.

         (g)      Cryptocurrency. Certain of the Debtors’ assets are cryptocurrencies, or digital
                  tokens, based on a publicly accessible blockchain. Cryptocurrencies are unique
                  assets. Certain laws and regulations that may be applicable to cryptocurrencies do
                  not contemplate or address unique issues associated with the cryptocurrency
                  economy, are subject to significant uncertainty, and vary widely across U.S.
                  federal, state, and local and international jurisdictions. The Debtors make no
                  representations or admissions concerning the status of cryptocurrency as a
                  “security” under any state, federal, or local domestic or international statute,
                  including United States federal securities laws, and reserve all rights to amend
                  and/or supplement the Schedules and Statements as they deem appropriate in this
                  regard. Furthermore, the Debtors have taken the position that, pursuant to the
                  Court’s ruling in the Memorandum Opinion and Order Regarding Ownership of
                  Earn Account Assets [Docket No. 1822] and consistent with the applicable terms
                  of use between the Debtors and their account holders, certain cryptocurrency held
                  on the Debtors’ platform, such as those coins held in “earn” accounts, is property
                  of the Debtors’ estates pursuant to section 541 of the Bankruptcy Code. The Court
                  further ruled in the Order (I) Authorizing the Debtors to Reopen Withdrawals for
                  Certain Customers with Respect to Certain Assets Held in the Custody Program
                  and Withhold Accounts and (II) Granting Related Relief [Docket No. 1767]
                  (the “Withdrawal Order”) that cryptocurrency held in Custody Wallets and
                  Ineligible Withhold Assets (both as defined in the Withdrawal Order) is not
                  property of the estate pursuant to section 541 of the Bankruptcy Code. Pursuant to
                  the Withdrawal Order and the Order (I) Approving (A) the Settlement By and
                  Among the Debtor, the Committee, and the Custody Ad Hoc Group and (B) the
                  Election Form and (II) Granting Related Relief [Docket No. 2291] (the “Settlement
                  Order”), certain claims related to “custody” accounts and Ineligible Withhold
                  Assets have been or will be satisfied by returning agreed-to cryptocurrency amounts
                  to respective claimants. The Debtors have taken the position that it is unclear
                  whether certain other cryptocurrency held on the Debtors’ platform, such as claims
                  associated with balances in “withhold” accounts, is property of the Debtors’ estate
                  pursuant to section 541 of the Bankruptcy Code. 6 The Debtors reserve all rights
                  available pursuant to the Bankruptcy Code, Bankruptcy Rules, or Local Rules for
                  the Southern District of New York with respect to these designations and to amend

6   There may be other legal theories as to whether such cryptocurrency assets may be property of the Debtors’ estates.
    The Debtors reserve all such rights.



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           and/or supplement the Schedules and Statements as they deem appropriate in this
           regard.

     (h)   Insiders. The Debtors have attempted to include all payments made on or within
           12 months before the Petition Date to any individual or entity deemed an “insider”
           (and their relatives). As to each Debtor, an individual or entity is designated as an
           insider for the purposes of the Schedules and Statements if such individual or entity,
           based on the totality of the circumstances, has at least a controlling interest in, or
           exercises sufficient authority over, the Debtor such that they dictate corporate
           policy and/or the disposition of corporate assets. Where an individual or entity was
           a “close call” with respect to being included in the Schedules and Statements as an
           insider, the Debtors have opted for increased disclosure and resolved such “close
           calls” in favor of treating such individuals or entities as insiders for purposes of the
           Schedules and Statements. Certain of the individuals or entities identified as
           insiders may not have been insiders for the entirety of the 12-month period before
           the Petition Date, but the Debtors have included them herein out of an abundance
           of caution.

           The listing or omission of a party as an insider for purposes of the Schedules and
           Statements is for informational purposes and is not intended to be, nor should it be,
           construed as an admission that those parties are insiders for purpose of
           section 101(31) of the Bankruptcy Code. Information regarding the individuals or
           entities listed as insiders in the Schedules and Statements may not be used for:
           (a) the purposes of determining (i) control of the Debtors; (ii) the extent to which
           any individual or entity exercised management responsibilities or functions;
           (iii) corporate decision-making authority over the Debtors; or (iv) whether such
           individual or entity could successfully argue that it is not an insider under applicable
           law, including the Bankruptcy Code and federal securities laws, or with respect to
           any theories of liability or (b) any other purpose. Furthermore, the listing or
           omission of a party as an insider for purposes of the Schedules and Statements is
           not intended to be, nor should it be, construed an admission of any fact, right, claim,
           or defense, and all such rights, claims, and defenses available pursuant to the
           Bankruptcy Code, Bankruptcy Rules, or Local Rules for the Southern District of
           New York are hereby expressly reserved.

4.   Methodology.

     (a)   Basis of Presentation. Information contained in the Schedules and Statements has
           been derived from the Debtors’ books and records and historical financial
           statements. The Schedules and Statements have not, however, been subject to
           procedures that would typically be applied to financial statements prepared in
           accordance with Generally Accepted Accounting Principles in the United States
           (“GAAP”) or International Financial Reporting Standards (“IFRS”) and are not
           intended to reconcile fully with any financial statements of each Debtor prepared
           under GAAP or IFRS. Therefore, combining the assets and liabilities set forth in
           the Schedules and Statements would result in amounts that are substantially
           different from financial information that would be prepared on a consolidated basis


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           under GAAP or IFRS. For financial reporting purposes, prior to the Petition Date,
           the Debtors prepared financial statements on a consolidated basis. Unlike the
           consolidated financial statements, the Schedules and Statements, except where
           otherwise indicated, reflect the assets and liabilities of each separate Debtor.
           Moreover, given, among other things, the uncertainty surrounding the valuation,
           collection, and ownership of certain assets and the valuation and nature of certain
           liabilities, to the extent that a Debtor shows more assets than liabilities, it is not an
           admission that the Debtor was solvent as of the Petition Date or at any time before
           the Petition Date. Likewise, to the extent a Debtor shows more liabilities than
           assets, it is not an admission that the Debtor was insolvent at the Petition Date or
           any time before the Petition Date. For the avoidance of doubt, nothing contained
           in the Schedules and Statements is indicative of the Debtors’ enterprise value. The
           Schedules and Statements contain unaudited information that is subject to further
           review and potential adjustment.

     (b)   Confidential or Sensitive Information. There may be instances in which certain
           information in the Schedules and Statements intentionally has been redacted due
           to, among other things, the nature of an agreement between a Debtor and a third
           party, local restrictions on disclosure, concerns about the confidential nature of
           certain information, or concerns for the privacy of an individual (including minors).
           The alterations will be limited to only what is necessary to protect the Debtor or
           applicable third party. The Debtors may also be authorized or required to redact
           certain information from the public record pursuant to orders of the Court sealing
           or otherwise protecting such information from public disclosure, including the
           Memorandum Opinion and Order on the Debtors’ Sealing Motion [Docket
           No. 910]. All such redacted information shall be made available as directed by
           orders of the Court or to the individual account holder or creditor scheduled, as
           applicable.

     (c)   Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
           may properly be disclosed in response to multiple parts of the Schedules and
           Statements. Except as otherwise discussed below, to the extent these disclosures
           would be duplicative, the Debtors have determined to only list such assets,
           liabilities, and prepetition payments once.

     (d)   Net Book Value. In certain instances, current market valuations for certain assets
           are neither maintained by, nor readily available to, the Debtors. Accordingly,
           unless otherwise indicated, the Debtors’ Schedules and Statements reflect net book
           values. Market values may vary, sometimes materially, from net book values. The
           Debtors believe that it would be an inefficient use of estate assets for the Debtors
           to obtain the current market values of their property. Accordingly, the Debtors have
           indicated in the Schedules and Statements that the values of certain assets and
           liabilities are undetermined or unknown.

           Certain other assets, such as investments in subsidiaries and other intangible assets,
           are listed at undetermined amounts, as the net book values may differ materially
           from fair market values. Amounts ultimately realized may vary from net book


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           value (or whatever value was ascribed) and such variance may be material.
           Accordingly, the Debtors reserve all of their rights to amend or adjust the value of
           each asset set forth herein. In addition, the amounts shown for total liabilities
           exclude items identified as “unknown” or “undetermined,” and, thus, ultimate
           liabilities may differ materially from those stated in the Schedules and Statements.

           In addition, assets that have been fully depreciated or that were expensed for
           accounting purposes either do not appear in these Schedules and Statements or are
           listed with a zero-dollar value, as such assets have no net book value. The omission
           of an asset from the Schedules and Statements does not constitute a representation
           regarding the ownership of such asset, and any such omission does not constitute a
           waiver of any rights of the Debtors with respect to such asset. Given, among other
           things, the current market valuation of certain assets and the valuation and nature
           of certain liabilities, nothing in the Schedules and Statements shall be, or shall be
           deemed to be, an admission that any Debtor was solvent or insolvent as of the
           Petition Date.

     (e)   Property. The Debtors’ office property leases are set forth on Schedule G.
           Nothing in the Schedules and Statements is or shall be construed as an admission
           as to the determination as to the legal status of any lease (including whether any
           lease is a true lease or a financing arrangement), and the Debtors reserve all of their
           rights with respect to same.

     (f)   Allocation of Liabilities. The Debtors, in consultation with their advisors, have
           sought to allocate liabilities between the prepetition and postpetition periods based
           on the information and research that was conducted in connection with the
           preparation of the Schedules and Statements. As additional information becomes
           available and further research is conducted, the allocation of liabilities between
           prepetition and postpetition periods may change. The Debtors reserve the right to
           amend and/or supplement the Schedules and Statements pursuant to the Bankruptcy
           Code, the Bankruptcy Rules, and the Local Rules as they deem appropriate in this
           regard.

     (g)   Undetermined Amounts. The description of an amount as “unknown” or
           “undetermined” is not intended to reflect upon the materiality of such amount.

     (h)   Unliquidated Claim Amounts. Claim amounts that could not be readily
           quantified by the Debtors are scheduled as “unliquidated.”

     (i)   Totals. All totals that are included in the Schedules and Statements represent totals
           of all the known amounts included in the Schedules and Statements. To the extent
           there are unknown or undetermined amounts, the actual total may be different than
           the listed total.

     (j)   Valuation of Cryptocurrency. Cryptocurrency amounts are generally listed by
           coin amount rather than a conversion to price in U.S. dollars. To the extent
           cryptocurrency values are presented in U.S. dollars, they reflect the valuation as set



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           forth in the Debtors’ books and records as of the Petition Date or the time of the
           relevant transaction, as applicable. Actual net realizable value may vary
           significantly. The Debtors reserve all rights available pursuant to the Bankruptcy
           Code, Bankruptcy Rules, or Local Rules for the Southern District of New York in
           this respect with such values presented in the Schedules and Statements.

     (k)   Paid Claims. Pursuant to certain orders of the Court entered in the Debtors’
           chapter 11 cases entered shortly after the Petition Date (collectively, the “First Day
           Orders”) as well as other orders of the Court, the Debtors have authority to pay
           certain outstanding prepetition payables pursuant to bankruptcy or other court
           order; as such, outstanding liabilities may have been reduced by any court-approved
           postpetition payments made on prepetition payables. Where and to the extent these
           liabilities have been satisfied, they are not listed in the Schedules and Statements,
           unless otherwise indicated. Regardless of whether such claims are listed in the
           Schedules and Statements, to the extent the Debtors have paid or later pay any
           amount of the claims listed in the Schedules and Statements pursuant to any orders
           entered by the Court, the Debtors reserve all rights to amend or supplement the
           Schedules and Statements or to take other action, such as filing claims objections,
           as is necessary and appropriate to avoid overpayment or duplicate payments for
           liabilities. Nothing contained herein should be deemed to alter the rights of any
           party in interest to contest a payment made pursuant to an order of the Court where
           such order preserves the right to contest such payment.

     (l)   Intercompany Receivables and Payables. Receivables and payables among the
           Debtors and among the Debtors and their non-Debtor affiliates are reported on
           Schedule A/B and Schedule E/F, respectively, per the Debtors’ books and records.
           The Debtor’s position with respect to certain intercompany claims is explained in
           the Debtors’ Statement with Respect to Intercompany Claims Held by Debtor
           Celsius Network LLC Against Its Debtor Affiliates [Docket No. 2092].
           Intercompany loan amounts scheduled may include accrued and unpaid interest.
           The listing of any amounts with respect to such receivables and payables is not, and
           should not be construed as, an admission or conclusion of the Debtors’ regarding
           the allowance, classification, validity, or priority of such account or
           characterization of such balances as debt, equity, or otherwise. For the avoidance
           of doubt, the Debtors reserve all rights, claims, and defenses available pursuant to
           the Bankruptcy Code, Bankruptcy Rules, or Local Rules for the Southern District
           of New York in connection with any and all intercompany receivables and
           payables, including with respect to the characterization of intercompany claims,
           loans, and notes.

           As described more fully in the Debtors’ Motion Seeking Entry of Interim and Final
           Orders (I) Authorizing the Debtors to (A) Continue to Operate Their Cash
           Management System, (B) Honor Certain Prepetition Obligations Related Thereto,
           (C) Maintain Existing Business Forms, and (D) Continue to Perform Intercompany
           Transactions, (II) Granting Superpriority Administrative Expense Status To
           Postpetition Intercompany Balances, And (III) Granting Related Relief [Docket
           No. 21] (the “Cash Management Motion”), the Debtors engage in a range of


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           intercompany transactions in the ordinary course of business. Pursuant to the third
           interim order granting certain of the relief requested in the Cash Management
           Motion on an interim basis [Docket No. 699] (the “Cash Management Order”), the
           Bankruptcy Court has granted the Debtors authority to continue these intercompany
           transactions in the ordinary course of business on an interim basis. Thus,
           intercompany balances as of the Petition Date, as set forth in Schedule E/F or
           Schedule A/B 77, may not accurately reflect current positions.

     (m)   Guarantees and Other Secondary Liability Claims. The Debtors have exercised
           reasonable efforts to locate and identify guarantees in their executory contracts,
           unexpired leases, and other such agreements. The Debtors may have inadvertently
           omitted guarantees embedded in their contractual agreements and may identify
           additional guarantees as they continue their review of their books and records and
           contractual agreements. The Debtors reserve their rights to amend the Schedules
           and Statements if additional guarantees are identified.

     (n)   Excluded Assets and Liabilities. The Debtors have excluded certain categories of
           assets, tax accruals, and liabilities from the Schedules and Statements, including
           without limitation, accrued salaries and employee benefit accruals. In addition and
           as set forth above, the Debtors may have excluded amounts for which the Debtors
           have paid or have been granted authority to pay pursuant to the First Day Orders or
           other order that may be entered by the Court. Additionally, certain immaterial or
           de minimis assets and liabilities may have been excluded.

     (o)   Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars or
           amount of cryptocurrency coins.

     (p)   Setoffs. The Debtors may incur certain setoffs and other similar rights during the
           ordinary course of business. Offsets in the ordinary course can result from various
           items, including, without limitation, margin call or other lending-related
           transactions, intercompany transactions, pricing discrepancies, returns, and other
           disputes between the Debtors and their account holders and/or suppliers. These
           offsets and other similar rights are consistent with the ordinary course of business
           in the Debtors’ industry and may not be tracked separately. Therefore, although
           such offsets and other similar rights may have been included in the Schedules, other
           offsets are not independently accounted for, and as such, may be excluded from the
           Schedules.

     (q)   Claims and Causes of Action. The Debtors believe that they may possess certain
           Claims and Causes of Action against various parties. Additionally, the Debtors
           may possess contingent claims in the form of various avoidance actions they could
           commence under the provisions of chapter 5 of the Bankruptcy Code and other
           relevant non-bankruptcy laws. These Schedules and Statements reflect both
           transfers of cryptocurrency from earn accounts into custody accounts as well as
           withdrawals of cryptocurrency fully off of the Debtors’ platform. As of the date
           hereof, the Debtors’ advisors and the special committee of the board of directors of
           Celsius Network Limited are continuing to analyze whether such transfers and


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           withdrawals give rise to any claims or causes of action under chapter 5 of the
           Bankruptcy Code.

           The Debtors, despite reasonable efforts, may not have identified and/or set forth all
           of their Causes of Action against third parties as assets in their Schedules and
           Statements, including, without limitation, avoidance actions arising under chapter
           5 of the Bankruptcy Code and actions under other relevant bankruptcy and non-
           bankruptcy laws to recover assets. The Debtors reserve all of their rights available
           pursuant to the Bankruptcy Code, Bankruptcy Rules, or Local Rules for the
           Southern District of New York with respect to any Claims, Causes of Action, or
           avoidance actions they may have and nothing contained in these Global Notes or
           the Schedules and Statements shall be deemed a waiver of any such claims,
           avoidance actions, or Causes of Action or in any way prejudice or impair the
           assertion of such claims. Additionally, prior to the Petition Date, each Debtor, as
           plaintiff, may have commenced various lawsuits in the ordinary course of its
           business against third parties seeking monetary damages.

     (r)   Executory Contracts. Although the Debtors made diligent efforts to attribute an
           executory contract to its rightful Debtor, in certain instances, the Debtors may have
           inadvertently failed to do so. Accordingly, the Debtors reserve all of their rights
           available pursuant to the Bankruptcy Code, Bankruptcy Rules, or Local Rules for
           the Southern District of New York with respect to the named parties of any and all
           executory contracts, including the right to amend Schedule G.

     (s)   Claims of Third-Party Related Entities. While the Debtors have made every
           effort to properly classify each claim listed in the Schedules as being either disputed
           or undisputed, liquidated or unliquidated, and contingent or noncontingent, the
           Debtors have not been able to fully reconcile all payments made to certain third
           parties and their related entities on account of the Debtors’ obligations to same.
           Therefore, to the extent that the Debtors have classified their estimate of claims of
           a creditor as disputed, all claims of such creditor’s affiliates listed in the Schedules
           and Statements shall similarly be considered as disputed, whether or not they are
           designated as such.

     (t)   Umbrella or Master Agreements. Contracts listed in the Schedules and
           Statements may be umbrella or master agreements that cover relationships with
           some or all of the Debtors. Where relevant, such agreements have been listed in
           the Schedules and Statements only of the Debtor that signed the original umbrella
           or master agreement. The master service agreements have been listed in
           Schedule G, but do not reflect any decision by the Debtor as to whether or not such
           agreements are executory in nature.

     (u)   Credits and Adjustments. The Claims of individual creditors for, among other
           things, goods, products, services, or taxes are listed as the amounts entered on the
           Debtors’ books and records and may either (i) not reflect credits, allowances, or
           other adjustments due from such creditors to the Debtors or (ii) be net of accrued
           credits, allowances, or other adjustments that are actually owed by a creditor to the


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            Debtors on a postpetition basis on account of such credits, allowances, or other
            adjustments earned from prepetition payments and vendor payments, if applicable.
            The Debtors reserve all of their rights available pursuant to the Bankruptcy Code,
            Bankruptcy Rules, or Local Rules for the Southern District of New York with
            regard to such credits, allowances, or other adjustments, including, but not limited
            to, the right to modify the Schedules, assert claims objections and/or setoffs with
            respect to the same, or apply such allowances in the ordinary course of business on
            a post-petition basis.

     (v)    Payments. The financial affairs and business of the Debtors are complex. Prior to
            the Petition Date, the Debtors maintained a cash management and disbursement
            system in the ordinary course of their businesses, as described in the Cash
            Management Motion, as defined herein. Although efforts have been made to
            attribute open payable amounts to the correct legal entity, the Debtors reserve all of
            their rights available pursuant to the Bankruptcy Code, Bankruptcy Rules, or Local
            Rules for the Southern District of New York to modify or amend their Schedules
            and Statements to attribute such payment to a different legal entity, if appropriate.

5.   Specific Schedules Disclosures.

     (a)    Schedule A/B, Question 3 – Checking, Savings, Money Market, or Financial
            Brokerage Accounts. Amounts listed are as of the Petition Date for the
            corresponding Debtor and reflect the actual bank balance, not the net book value.

     (b)    Schedule A/B, Questions 7 and 8 – Deposits and Prepayments. The Debtors are
            required to make deposits or prepayments from time to time with various vendors
            and other service providers in the ordinary course of business. The Debtors have
            exercised reasonable efforts to report the current value of any deposits or
            prepayments.     The Debtors may have inadvertently omitted deposits or
            prepayments and conversely may have reported deposits or prepayments that are
            no longer outstanding. The Debtors reserve their rights pursuant to the Bankruptcy
            Code, the Bankruptcy Rules, and the Local Rules to amend the Schedules and
            Statements if deposits or prepayments are incorrectly identified.

     (c)    Schedule A/B, Question 15 – Non-Publicly Traded Stock. Equity interests in
            subsidiaries and affiliates primarily arise from common stock ownership or member
            or partnership interests. For purposes of these Schedules, the Debtors have listed
            an undetermined value for the equity interests of all subsidiaries and affiliates.
            Nothing in these Schedules is an admission or conclusion of the Debtors regarding
            the value of such subsidiary and affiliate equity interests, which, under certain fair
            market or enterprise valuation analyses, may have value.

            Book values of assets prepared in accordance with GAAP generally do not reflect
            the current performance of the assets or the impact of the industry environment and
            may differ materially from the actual value and/or performance of the underlying
            assets. As such, the value listed in these Schedules and Statements cannot be, and
            was not, used to determine the Debtors’ enterprise valuation.



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     (d)   Schedule A/B, Question 55 – Real Property. The Debtors do not own any real
           property. The Debtors’ office and other property leases are set forth on Schedule
           G.

     (e)   Schedule A/B, Question 72 – Tax Refunds and Unused Net Operating Losses
           (NOLs). The Debtors’ response to the schedule questionnaire is indicative of
           certain gross non-tax effected net operating loss (“NOL”) values as compared to
           the GAAP net deferred tax assets associated with such NOLs. The actual tax
           savings from these NOLs is dependent upon, among other things, the timing,
           character, and amount of any future or previous years’ (provided NOLs are allowed
           to be carried back) income to which they can be applied. Amounts also do not
           reflect the consideration of any valuation allowances recorded pursuant to GAAP,
           which have the effect of reducing associated deferred tax assets. Additionally, the
           NOLs listed in Schedule A/B, Question 72 reflect the amounts listed in the Debtors’
           books and records, may reflect NOLs accumulated for more than one tax year, and
           may be subject to expiration or limitations on usability now or in the future. All
           figures set forth in Schedule A/B, Question 72 are preliminary, unreviewed, and
           unaudited and are subject to final adjustments.

     (f)   Schedule A/B, Question 73 – Interests in insurance policies or annuities. The
           Debtors have included a listing of their insurance policies in response to Question
           73, however, a determination as to the surrender or refund value of each of the
           insurance policies has not been made and, therefore, the balance is listed as
           undetermined.

     (g)   Schedule A/B, Question 77 – Other property of any kind not already listed.
           Schedule A/B, Question 77 lists, among other things, the Debtors’ cryptocurrency,
           or digital tokens, assets based on a publicly accessible blockchain. The current
           value shown reflects the valuation as booked in the Debtors’ books and records as
           of the Petition Date. All figures set forth in Schedule A/B, Question 77 are
           preliminary, unreviewed, and unaudited and are subject to final adjustments
           following, inter alia, completion of quarterly and year-end close procedures.

     (h)   Schedule D – Creditors Who Have Claims Secured by Property. Except as
           otherwise agreed pursuant to a stipulation, or agreed order, or general order entered
           by the Court that is or becomes final, the Debtors and their estates reserve their
           rights to dispute or challenge the validity, perfection, or immunity from avoidance
           of any lien purported to be granted or perfected in any specific asset to any creditor
           of any Debtor. The Debtors reserve all rights to dispute or challenge the secured
           nature of any such creditor’s Claim or the characterization of the structure of any
           such transaction or any document or instrument related to such creditor’s Claim.

           The Debtors have not included on Schedule D parties that may believe their Claims
           are secured through setoff rights or inchoate statutory lien rights.

     (i)   Schedule E/F – Creditors Who Have Unsecured Claims. The listing of any
           Claim on Schedule E/F does not constitute an admission by the Debtors that such



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          Claim or any portion thereof is entitled to priority treatment under section 507 of
          the Bankruptcy Code. The Debtors reserve all of their rights available pursuant to
          the Bankruptcy Code, Bankruptcy Rules, or Local Rules for the Southern District
          of New York to dispute the amount and/or the priority status of any Claim on any
          basis at any time.

          Part 1 - Creditors with Priority Unsecured Claims. Pursuant to the Final Order
          (I) Authorizing the Payment of Certain Taxes and Fees and (II) Granting Related
          Relief [Docket No. 526] (the “Taxes Order”), the Court granted the Debtors
          authority to pay, in their sole discretion, certain tax liabilities and regulatory fees,
          including certain business licensing fees, that accrued prepetition. Accordingly,
          any unsecured priority claims based upon prepetition tax accruals that have been or
          will be paid pursuant to the Taxes Order are not listed in Schedule E.

          Furthermore, pursuant to the Final Order Authorizing the Debtors to
          (I) Authorizing the Debtors to (A) Pay Prepetition Wages, Salaries, Other
          Compensation, and Reimbursable Expenses and (B) Continue Employee Benefits
          Programs and (II) Granting Related Relief [Docket No. 518] (the “Wages Order”),
          the Court granted the Debtors authority to pay or honor certain prepetition
          obligations for employee wages, salaries, and other compensation, reimbursable
          employee expenses, and employee medical and similar benefits, in the ordinary
          course of business. The Debtors believe that all such Claims have been, or will be,
          satisfied in the ordinary course during their chapter 11 cases pursuant to the
          authority granted in the Wages Order, and such satisfied amounts are not set forth
          on Schedule E.

          The listing of a claim on Schedule E/F, Part 1 does not constitute an admission by
          the Debtors that such claim or any portion thereof is entitled to priority status.

          Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities identified
          in Schedule E/F, Part 2 are derived from the Debtors’ books and records. The
          Debtors made a reasonable attempt to set forth their unsecured obligations,
          although the actual amount of Claims against the Debtors may vary from those
          liabilities represented on Schedule E/F, Part 2. The listed liabilities may not reflect
          the correct amount of any unsecured creditor’s allowed Claims or the correct
          amount of all unsecured Claims. Certain creditors listed on Schedule E/F may owe
          amounts to the Debtors and, as such, the Debtors may have valid setoff or
          recoupment rights with respect to such amounts, including on account of
          outstanding cryptocurrency or other loans. The amounts listed on Schedule E/F do
          not reflect any such right of setoff or recoupment and the Debtors reserve all rights
          to assert any such setoff or recoupment rights.

          Schedule E/F, Part 2 contains information regarding threatened or pending
          litigation involving the Debtors. The amounts for these potential claims are listed
          as “undetermined” and are marked as contingent, unliquidated, and disputed in the
          Schedules and Statements. In certain instances, the date on which a litigation claim
          arose is an open issue of fact. Determining the date upon which each claim in


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           Schedule E/F, Part 2 was incurred or arose would be unduly burdensome and
           prohibitively costly and, therefore, the Debtors do not list a date for each claim
           listed on Schedule E/F, Part 2.

           Schedule E/F, Part 2 reflects the prepetition amounts owing to counterparties to
           executory contracts and unexpired leases. Such prepetition amounts, however, may
           be paid in connection with the assumption, or assumption and assignment, of an
           executory contract or unexpired lease. In addition, Schedule E/F, Part 2 does not
           include rejection damage claims, to the extent such damage claims exist, of the
           counterparties to the executory contracts and unexpired leases that have been or
           may be rejected.

           Schedule E/F, Part 2 does not include certain deferred credits, deferred charges,
           deferred liabilities, accruals, or general reserves. Such amounts are general
           estimates of liabilities and do not represent specific claims as of the Petition Date;
           however, such amounts are reflected on the Debtors’ books and records as required
           in accordance with GAAP.

           The claims of individual creditors for, among other things, goods, services, or taxes
           listed on the Debtors’ books and records may not reflect credits or allowances due
           from such creditors. The Debtors reserve all of their rights in respect of such credits
           or allowances. The dollar amounts listed may be exclusive of contingent or
           unliquidated amounts.

     (j)   Schedule G – Executory Contracts and Unexpired Leases. While reasonable
           efforts have been made to ensure the accuracy of Schedule G, inadvertent errors or
           omissions may have occurred. The Debtors reserve all rights pursuant to the
           Bankruptcy Code, the Bankruptcy Rules, and the Local Rules to supplement or
           amend Schedule G as necessary.

           Certain relationships between the Debtors and their vendors and account holders
           may be governed by a master services agreement, under which counterparties may
           place purchase orders or other ancillary agreements which may be considered
           executory contracts.

           Listing a contract or agreement on Schedule G does not constitute an admission
           that such contract or agreement is an executory contract or unexpired lease or that
           such contract or agreement was in effect on the Petition Date or is valid or
           enforceable. The Debtors hereby reserve all of their rights to dispute the validity,
           status, or enforceability of any contracts, agreements, or leases set forth in
           Schedule G and to amend or supplement such Schedule as necessary. Certain of
           the leases and contracts listed on Schedule G may contain renewal options,
           guarantees of payment, indemnifications, options to purchase, rights of first refusal
           and other miscellaneous rights. Such rights, powers, duties, and obligations are not
           set forth separately on Schedule G. In addition, the Debtors may have entered into
           various other types of agreements in the ordinary course of their business, such as




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            supplemental agreements and letter agreement, which documents may not be set
            forth in Schedule G.

            The Debtors reserve all rights to dispute or challenge the characterization of any
            transaction or any document or instrument related to a creditor’s claim.

            In some cases, the same counterparty may appear multiple times in Schedule G.
            Multiple listings, if any, reflect distinct agreements between the applicable Debtor
            and such supplier or provider.

            The listing of any contract on Schedule G does not constitute an admission by the
            Debtors as to the validity of any such contract. The Debtors reserve the right to
            dispute the effectiveness of any such contract listed on Schedule G or to amend
            Schedule G at any time to remove any contract.

            Omission of a contract or agreement from Schedule G does not constitute an
            admission that such omitted contract or agreement is not an executory contract or
            unexpired lease. The Debtors’ rights under the Bankruptcy Code, the Bankruptcy
            Rules, or the Local Rules with respect to any such omitted contracts or agreements
            are not impaired by the omission.

6.   Specific Statements Disclosures.

     (a)    Statement Question 3 – Payments to Creditors. All accounts payable
            disbursements listed in Statement Question 3 are made through the Debtors’ cash
            management system, more fully described in the Cash Management Motion. Dates
            listed in Statement Questions 3 reflect the dates upon which the Debtor transferred
            funds to the relevant payee or disbursing agent. Certain disbursements may be
            excluded from Statement 3, such as disbursements to retained professionals
            (reported elsewhere). Certain payroll-related pass-through payments have been
            excluded from Statement 3.

            Statement Question 3 also includes details regarding certain cryptocurrency
            transactions, including earned interest or rewards, coin withdrawals and deposits,
            coin transfers, and other transactions, in order to provide a transparent transaction
            history. The Debtors recognize that not all listed transactions are directly
            responsive to Statement Question 3, however they believe that presenting the
            transaction history provides the most accurate view. Due to their voluminous
            nature, earned rewards are presented on an aggregated basis by transferee and by
            coin type. A table describing the transaction codes and their meanings is included
            following section (b) below.

            After the Debtors established custody accounts on April 15, 2022, certain
            withdrawals off of the Debtors’ platform may have moved through a custody
            account. As a result, coin transfers from a non-custody to a custody account listed
            in Statement Question 3 may also be reflected in coin withdrawals on Statement
            Question 3.



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           For the avoidance of doubt, any payments made in connection with the Debtors’
           bankruptcy within the 12-month period prior to the Petition Date are disclosed in
           response to Statement Question 11 and therefore are not listed in response to
           Statement Question 3. Further, any payments made to an insider within the
           12-month period prior to the Petition Date are disclosed in response to Statement
           Question 4 and therefore are not listed in response to Statement Question 3.

     (b)   Statement Question 4 – Payments to Insiders. The Debtors have responded to
           Statement Questions 4 and 30 in detailed format by insider in the attachment for
           Statement Question 4.

           Included in Statement Question 4 are expense reimbursements paid to insiders on
           account of charges to their corporate credit card. In addition to reimbursements for
           personal business expenses, responses to Statement Question 4 may also include
           payments for Debtor business expenses, such as vendor invoices, also charged to
           the insider’s corporate credit card. Such vendor payments are included to ensure
           completeness but do not represent transfers for the personal benefit of the insider.
           The response to Statement Question 4 excludes any charges related to certain
           employee training programs. Due to reporting constraints, certain expense line
           items may be duplicated. Additional detail is available upon request.

           Statement Question 4 also includes details regarding certain cryptocurrency
           transactions, including earned interest or rewards, coin withdrawals and deposits,
           coin transfers, and other transactions, in order to provide a transparent transaction
           history. The Debtors recognize that not all listed transactions are directly
           responsive to Statement Question 4, however they believe that presenting the
           transaction history provides the most accurate view. Due to their voluminous
           nature, earned rewards are presented on an aggregated basis by transferee and by
           coin type. A table describing the transaction codes and their meanings is included
           below. For the avoidance of doubt, insiders earned rewards on their cryptocurrency
           at the same rate as every other account holder in the earn program.

           After the Debtors established custody accounts on April 15, 2022, certain
           withdrawals off the Debtors’ platform may have moved through a custody account.
           As a result, coin transfers from a non-custody to a custody account listed in
           Statement Question 4 may also be reflected as coin withdrawals listed in Statement
           Question 4.

           The Debtors have also reported monthly intercompany positions in Statement
           Question 4. In addition, intercompany payables and receivables as of the Petition
           Date can be found on Schedule E/F and Schedule AB.

           To the extent: (i) a person qualified as an insider in the year prior to the
           Petition Date but later resigned their insider status or (ii) did not begin the year as
           an insider but later became an insider, the Debtors have listed in response to
           Statement Question 4 all payments or transfers made during the applicable 12-
           month period, irrespective of when such person was defined as an “insider.”



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                   As discussed above, the inclusion of a party as an insider is not intended to be, nor
                   should be, construed as a legal characterization of such party as an insider and does
                   not act as an admission of any fact, Claim, right, or defense, and any such rights,
                   Claims, and defenses are hereby expressly reserved.
  Descriptive Purpose        Definition
  Deposit                    Incoming transfer of funds into a user's account that results in an increase in the user account balance of coin that was
                             deposited.
  Withdrawal                 Coin withdrawals are reductions to a Celsius users balance and may include withdrawals for the purpose of moving coin between
                             a single users accounts.
  Inbound Transfer           CelPay is a crypto-remittance product where customers can initiate a crypto-asset transfers to other Celsius customers. Instead
                             of initiating a transfer to a crypto wallet address, a link is generated and can be shared with the proposed receiver. The receiver
                             needs to be registered with Celsius for the transfer to complete. This represents the inbound side of the transaction.
  Outbound Transfer          See above. This represents the outbound side of the transaction.
  Interest                   Rewards paid at a fixed rate, reset weekly, for holding coin in an "Earn" account.
  Internal Account Transfer Movement of funds between Celsius Earn, Custody or Withheld account types.
  Swap In                    Represents the funds received in a swap transaction (e.g. if you buy 1 BTC with 30,000 USDC, you will see a swap in transaction
                             for + 1 BTC).
  Swap Out                   Represents the funds paid in a swap transaction (e.g. if you buy 1 BTC with 30,000 USDC, you will see a swap out transaction
                             for -30,000 USDC).
  Loan Principal Payment     Represents the amounts funded for the loan and the amounts paid by the user to repay loan principal.
  Loan Interest Payment      Represents payments made to satisfy loan interest.
  Loan Principal Liquidation Represents the amount of collateral sold to pay off the borrowed principal (e.g. if a loan for $20K USD is liquidated, and the
                             price of BTC is $16K then this field will equal -1.25 (BTC); number should be a negative)). This transaction reduces the overall
                             user account balance (of the token held in collateral) by the amount of the token that was liquidated.
  Loan Interest Liquidation     The final interest charged on the liquidation of a loan.
  Collateral                    Coin pledged as security for repayment of a loan in the event of a borrowers default. Will include any initial collateral posted as
                                security, as well as any additional collateral provided in response to margin calls. Collateral transaction line items do not
                                represent actual coin movement. These line items reflect system designations that separately identify pledged coin from non-
                                pledged coin in a given account.
  Operation Cost                Represents the liquidation fee charged on the closing of a loan.
  Referred Award                Represents an award of coin to new users who are referred by an existing customer.
  Referrer Award                Represents an award of coin to a user for referring a new customer to Celsius.
  Bonus Token                   Represents coins rewarded as a bonus for achieving certain milestones.
  Promo Code Reward             Reward for entering a unique code on a users account and depositing a certain amount of coin on to the platform to qualify for
                                the promotion.


       (c)         Statement Question 11 – Payments Made Related to Bankruptcy. Although the
                   Debtors have made reasonable efforts to distinguish between payments made for
                   professional services related and unrelated to their restructuring efforts, some
                   amounts listed in response to Statement Question 11 may include payments for
                   professional services unrelated to bankruptcy.

       (d)         Statement Question 21 – Property Held for Another. Statement Question 21
                   details certain cryptocurrency held in custody and/or withhold accounts. Due to the
                   voluminous nature of this data, amounts held in custody and/or withhold accounts
                   are listed alongside amounts held in earn accounts on Schedule F. For the
                   avoidance of doubt, the listing of such amounts on Schedule F is purely for clerical
                   simplicity and efficiency, and does not amount to an assertion that such amounts
                   are general unsecured claims or property of the estate pursuant to section 541 of the
                   Bankruptcy Code.

       (e)         Statement Question 25 – Other Businesses. In addition to business interests listed
                   in Statement Question 25, the Debtors also have or had interests in various
                   decentralized autonomous organizations (DAOs). Due to the non-traditional
                   structure of DAOs, they have been excluded from Statement Question 25.



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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                )
    In re:                                                      ) Chapter 11
                                                                )
    CELSIUS NETWORK LIMITED, et al., 1                          ) Case No. 22-10966 (MG)
                                                                )
                                                Debtors.        ) (Jointly Administered)
                                                                )

      AMENDED SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENTS
    OF FINANCIAL AFFAIRS OF CELSIUS NETWORK LIMITED (CASE NO. 22-10966)




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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
      Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks
      Lending LLC (3390); Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK Limited (0893); and GK8
      USA LLC (9450). The location of Debtor Celsius Network LLC’s principal place of business and the Debtors’
      service address in these chapter 11 cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.
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                         Statement of Financial Affairs 3
    Debtor Name: Celsius Network Limited
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                                                                                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                    SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                              Main Document                             Case Number: 22-10966



          CELSIUS ENTITY                                                            COUNTERPARTY
                                                                                                               Pg 25 of 77           Non-Retail Coin Transactions
                                                                                                                                                      DATE          TYPE                          TRANSACTION TYPE               COIN   COIN QUANTITY                       COIN USD
Celsius Network Limited               0x0faa84c9bae87e090b51d15d6f547f91762813b8                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              258,124,749,549.35                   Undetermined
Celsius Network Limited               0x0faa84c9bae87e090b51d15d6f547f91762813b8                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            298,315,639,031.569                    Undetermined
Celsius Network Limited               0xc2024e21407637f9f7f18eaee507b3b918ec001d                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            256,829,144,727.608                    Undetermined
Celsius Network Limited               0xc2024e21407637f9f7f18eaee507b3b918ec001d                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            305,059,738,655.967                    Undetermined
Celsius Network Limited               0xc2024e21407637f9f7f18eaee507b3b918ec001d                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            241,539,881,914.377                    Undetermined
Celsius Network Limited               0x275524301b13c914e788f63365b75c798cbb7d2a                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                         999,540.0                 Undetermined
Celsius Network Limited               0xc2024e21407637f9f7f18eaee507b3b918ec001d                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            394,890,034,522.552                    Undetermined
Celsius Network Limited               0x79b1db6baf023eeea708ac85db1180ed38efe726                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            303,302,748,175.314                    Undetermined
Celsius Network Limited               0x79b1db6baf023eeea708ac85db1180ed38efe726                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            204,577,547,809.856                    Undetermined
Celsius Network Limited               FTX                                                                                                           4/14/2022       Outgoing             Exchange Activity           DOT                                        (1.0)                     ($18.25)
Celsius Network Limited               0xc2024e21407637f9f7f18eaee507b3b918ec001d                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            259,295,922,265.206                    Undetermined
Celsius Network Limited               FTX                                                                                                           4/14/2022       Outgoing             Exchange Activity           DOT                                (149,999.0)                ($2,742,918.16)
Celsius Network Limited               BITFINEX                                                                                                      4/14/2022       Outgoing             Exchange Activity           USDT_ERC20                      (14,200,000.0)               ($14,203,852.61)
Celsius Network Limited               0x79b1db6baf023eeea708ac85db1180ed38efe726                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              364,947,043,380.52                   Undetermined
Celsius Network Limited               0xc2024e21407637f9f7f18eaee507b3b918ec001d                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            328,582,044,415.152                    Undetermined
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                 4/14/2022       Incoming             Lending Activity            AAVE                                   11.7842                     $2,058.97
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                 4/14/2022       Incoming             Lending Activity            BADGER                                953.3052                     $8,605.27
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                 4/14/2022       Incoming             Lending Activity            BAT                                 5,095.8904                     $3,787.25
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                 4/14/2022       Incoming             Lending Activity            BNT                                 5,095.8905                    $11,844.73
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                 4/14/2022       Incoming             Lending Activity            COMP                                   20.3836                     $3,128.09
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                 4/14/2022       Incoming             Lending Activity            REN                                 4,246.5753                     $1,469.93
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                 4/14/2022       Incoming             Lending Activity            UNI                                    254.589                     $2,462.58
Celsius Network Limited               WINTERMUTE                                                                                                    4/14/2022       Incoming             OTC Transaction             TERRA_USD                              10,000.0                   $10,000.00
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                 4/14/2022       Incoming             Lending Activity            BNB_BSC                                78.7124                    $33,039.49
Celsius Network Limited               FTX                                                                                                           4/14/2022       Incoming             Exchange Activity           PAX                                1,000,000.0                 $1,000,402.73
Celsius Network Limited               0xa2162abdb0c97104f20d8e53ca85ee19ac3c9d57                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            345,809,404,653.978                    Undetermined
Celsius Network Limited               0xa2162abdb0c97104f20d8e53ca85ee19ac3c9d57                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            244,750,757,871.204                    Undetermined
Celsius Network Limited               0x4dff0e682868e14f77bc69ca8c0dc30d3bf5442f                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            316,583,304,489.449                    Undetermined
Celsius Network Limited               0x4dff0e682868e14f77bc69ca8c0dc30d3bf5442f                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            262,757,139,970.745                    Undetermined
Celsius Network Limited               0x4dff0e682868e14f77bc69ca8c0dc30d3bf5442f                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            371,857,762,536.535                    Undetermined
Celsius Network Limited               0x3d4eccf51876be3bb78a33c0ea3426f0b34512ef                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            340,737,462,152.309                    Undetermined
Celsius Network Limited               0x3d4eccf51876be3bb78a33c0ea3426f0b34512ef                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            249,219,566,306.872                    Undetermined
Celsius Network Limited               0x3d4eccf51876be3bb78a33c0ea3426f0b34512ef                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                282,435,686,341.9                  Undetermined
Celsius Network Limited               0xcb7704241dae3bbb3d09b8fc03ee6748ee7122a6                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              284,954,361,475.63                   Undetermined
Celsius Network Limited               0xcb7704241dae3bbb3d09b8fc03ee6748ee7122a6                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            302,977,058,847.863                    Undetermined
Celsius Network Limited               0x3d4eccf51876be3bb78a33c0ea3426f0b34512ef                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            304,456,283,807.175                    Undetermined
Celsius Network Limited               0xcb7704241dae3bbb3d09b8fc03ee6748ee7122a6                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            227,930,902,400.292                    Undetermined
Celsius Network Limited               0x3d4eccf51876be3bb78a33c0ea3426f0b34512ef                                                                    4/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            200,220,564,620.063                    Undetermined
Celsius Network Limited               0xcb7704241dae3bbb3d09b8fc03ee6748ee7122a6                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            391,058,844,547.719                    Undetermined
Celsius Network Limited               0x3d4eccf51876be3bb78a33c0ea3426f0b34512ef                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            293,369,847,383.888                    Undetermined
Celsius Network Limited               0xcb7704241dae3bbb3d09b8fc03ee6748ee7122a6                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              364,657,563,759.95                   Undetermined
Celsius Network Limited               0x1a24360ead9b4a5a8b0e48b4e5752f8b8718547f                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              282,742,690,699.53                   Undetermined
Celsius Network Limited               0x3d4eccf51876be3bb78a33c0ea3426f0b34512ef                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            336,539,665,423.725                    Undetermined
Celsius Network Limited               0x1a24360ead9b4a5a8b0e48b4e5752f8b8718547f                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            224,464,191,074.593                    Undetermined
Celsius Network Limited               0x1a24360ead9b4a5a8b0e48b4e5752f8b8718547f                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            259,844,926,005.545                    Undetermined
Celsius Network Limited               0x3d4eccf51876be3bb78a33c0ea3426f0b34512ef                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            340,697,973,525.427                    Undetermined
Celsius Network Limited               0x1a24360ead9b4a5a8b0e48b4e5752f8b8718547f                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            383,647,666,059.678                    Undetermined
Celsius Network Limited               0x06d8199a25f8f61a084f03b522aea9c38133a473                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            387,641,269,655.243                    Undetermined
Celsius Network Limited               0x06d8199a25f8f61a084f03b522aea9c38133a473                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            373,964,780,406.304                    Undetermined
Celsius Network Limited               0x06d8199a25f8f61a084f03b522aea9c38133a473                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            224,383,587,175.078                    Undetermined
Celsius Network Limited               0x06d8199a25f8f61a084f03b522aea9c38133a473                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            295,700,887,479.907                    Undetermined
Celsius Network Limited               0x8d77bb6f84e01a47419b18293af7c15dc1a79840                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            396,625,565,682.254                    Undetermined
Celsius Network Limited               0x8d77bb6f84e01a47419b18293af7c15dc1a79840                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            283,036,204,098.088                    Undetermined
Celsius Network Limited               0x8d77bb6f84e01a47419b18293af7c15dc1a79840                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                360,016,991,627.1                  Undetermined
Celsius Network Limited               0xa271b1ec4b12fb76d23248b9205bdbca26c40ce0                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            326,600,434,576.263                    Undetermined
Celsius Network Limited               0xa271b1ec4b12fb76d23248b9205bdbca26c40ce0                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            353,647,734,640.885                    Undetermined
Celsius Network Limited               0xa271b1ec4b12fb76d23248b9205bdbca26c40ce0                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            351,638,292,939.775                    Undetermined
Celsius Network Limited               0xa271b1ec4b12fb76d23248b9205bdbca26c40ce0                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            319,964,439,045.515                    Undetermined
Celsius Network Limited               0x244e5bd420a598b871737fe0f6ba1da921e74dba                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              365,209,070,712.59                   Undetermined
Celsius Network Limited               0xa271b1ec4b12fb76d23248b9205bdbca26c40ce0                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            220,292,654,968.845                    Undetermined
Celsius Network Limited               0x244e5bd420a598b871737fe0f6ba1da921e74dba                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            256,003,953,585.202                    Undetermined
Celsius Network Limited               0xa271b1ec4b12fb76d23248b9205bdbca26c40ce0                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            244,840,695,207.254                    Undetermined
Celsius Network Limited               0x244e5bd420a598b871737fe0f6ba1da921e74dba                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            323,068,103,135.452                    Undetermined
Celsius Network Limited               0x1bfb5aba157d41079170b49411bb28d39eb8ca7c                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            250,147,008,923.649                    Undetermined
Celsius Network Limited               0xa271b1ec4b12fb76d23248b9205bdbca26c40ce0                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            286,665,728,033.372                    Undetermined
Celsius Network Limited               0x1bfb5aba157d41079170b49411bb28d39eb8ca7c                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            303,144,148,875.649                    Undetermined
Celsius Network Limited               0x244e5bd420a598b871737fe0f6ba1da921e74dba                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            310,983,664,576.263                    Undetermined
Celsius Network Limited               0xa271b1ec4b12fb76d23248b9205bdbca26c40ce0                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              307,069,062,096.19                   Undetermined
Celsius Network Limited               0x1bfb5aba157d41079170b49411bb28d39eb8ca7c                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            269,479,060,667.143                    Undetermined
Celsius Network Limited               0x9e8ece298938f49ee39f66c9d799879bf2f01897                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            225,384,356,795.363                    Undetermined
Celsius Network Limited               0x244e5bd420a598b871737fe0f6ba1da921e74dba                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            275,668,720,693.362                    Undetermined
Celsius Network Limited               0x9e8ece298938f49ee39f66c9d799879bf2f01897                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            262,627,432,942.809                    Undetermined
Celsius Network Limited               0x1bfb5aba157d41079170b49411bb28d39eb8ca7c                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            351,136,863,725.659                    Undetermined
Celsius Network Limited               0x9e8ece298938f49ee39f66c9d799879bf2f01897                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              312,462,802,442.23                   Undetermined
Celsius Network Limited               0x0d31a41c93e483a69e10d067e353a9c489962f67                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,429,596.0240212                   Undetermined
Celsius Network Limited               0x1bfb5aba157d41079170b49411bb28d39eb8ca7c                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            229,681,321,310.296                    Undetermined
Celsius Network Limited               0x3d4eccf51876be3bb78a33c0ea3426f0b34512ef                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            354,841,837,073.057                    Undetermined
Celsius Network Limited               0xc70a9686bc3e166d3b5b16356dd547eacd846cf6                                                                    4/15/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN             1,872,367.25334653                    Undetermined
Celsius Network Limited               0x1bfb5aba157d41079170b49411bb28d39eb8ca7c                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            226,990,999,643.856                    Undetermined
Celsius Network Limited               0xc70a9686bc3e166d3b5b16356dd547eacd846cf6                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN             1,894,145.75711423                    Undetermined
Celsius Network Limited               0x3d4eccf51876be3bb78a33c0ea3426f0b34512ef                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            346,766,817,613.952                    Undetermined
Celsius Network Limited               0x37ef1e4224eed0aff3b6018eb98581f197219c5f                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            233,515,518,196.796                    Undetermined
Celsius Network Limited               0xc70a9686bc3e166d3b5b16356dd547eacd846cf6                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN             1,888,935.35346675                    Undetermined
Celsius Network Limited               0x37ef1e4224eed0aff3b6018eb98581f197219c5f                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            226,032,320,428.844                    Undetermined
Celsius Network Limited               0xb5accc19b96413e57a3c61fd8afff1a3931dab26                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            326,375,667,880.029                    Undetermined
Celsius Network Limited               0xb5accc19b96413e57a3c61fd8afff1a3931dab26                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              395,796,005,355.29                   Undetermined
Celsius Network Limited               0xb5accc19b96413e57a3c61fd8afff1a3931dab26                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            396,368,634,218.823                    Undetermined
Celsius Network Limited               0xa5025faba6e70b84f74e9b1113e5f7f4e7f4859f                                                                    4/16/2022       Incoming             Call                        ETH                                0.03858942                  Undetermined
Celsius Network Limited               0xb5accc19b96413e57a3c61fd8afff1a3931dab26                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            310,279,322,066.263                    Undetermined
Celsius Network Limited               0x33c934022797d35cbf7e4e39cb8883669a4c6b00                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            362,156,318,391.685                    Undetermined
Celsius Network Limited               0x33c934022797d35cbf7e4e39cb8883669a4c6b00                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            270,277,866,313.208                    Undetermined
Celsius Network Limited               0x33c934022797d35cbf7e4e39cb8883669a4c6b00                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            209,557,167,681.329                    Undetermined
Celsius Network Limited               0x7e3de3e2918d3d687b797e1485f8ce30a7c3afc7                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            249,813,760,072.573                    Undetermined
Celsius Network Limited               0x7e3de3e2918d3d687b797e1485f8ce30a7c3afc7                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            209,175,767,191.484                    Undetermined
Celsius Network Limited               0x7e3de3e2918d3d687b797e1485f8ce30a7c3afc7                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            319,486,804,280.033                    Undetermined
Celsius Network Limited               0x515fed16643f340b9db4acb2f311c66fee74d9a6                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            229,720,546,997.662                    Undetermined
Celsius Network Limited               0x7e3de3e2918d3d687b797e1485f8ce30a7c3afc7                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            220,254,745,055.178                    Undetermined
Celsius Network Limited               0x515fed16643f340b9db4acb2f311c66fee74d9a6                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            248,530,917,394.142                    Undetermined
Celsius Network Limited               0xd1280748085d09db80b6fd0016ac5e7f04fe8eb2                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            247,470,776,614.658                    Undetermined
Celsius Network Limited               0x7e3de3e2918d3d687b797e1485f8ce30a7c3afc7                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            360,606,285,493.316                    Undetermined
Celsius Network Limited               0xd1280748085d09db80b6fd0016ac5e7f04fe8eb2                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            237,982,806,013.383                    Undetermined
Celsius Network Limited               0x7e3de3e2918d3d687b797e1485f8ce30a7c3afc7                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            308,088,227,903.201                    Undetermined
Celsius Network Limited               0xd1280748085d09db80b6fd0016ac5e7f04fe8eb2                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            380,370,581,162.044                    Undetermined
Celsius Network Limited               0x7e3de3e2918d3d687b797e1485f8ce30a7c3afc7                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            320,127,651,653.235                    Undetermined
Celsius Network Limited               0xd1280748085d09db80b6fd0016ac5e7f04fe8eb2                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            382,747,223,304.197                    Undetermined
Celsius Network Limited               0x7f73482c16f5bd74f852dacebb22d65a65cfaf19                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            239,208,456,560.699                    Undetermined
Celsius Network Limited               0x7e3de3e2918d3d687b797e1485f8ce30a7c3afc7                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            253,330,566,438.279                    Undetermined
Celsius Network Limited               0xd1280748085d09db80b6fd0016ac5e7f04fe8eb2                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            279,697,355,514.196                    Undetermined
Celsius Network Limited               0xbd13eac296e1329bfc1a06074c15b1f9e3af4b2d                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            312,039,525,873.092                    Undetermined
Celsius Network Limited               0xbd13eac296e1329bfc1a06074c15b1f9e3af4b2d                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            277,049,409,402.252                    Undetermined
Celsius Network Limited               0x7082ca5058c358997063400ad78306b16a5c30d9                                                                    4/16/2022       Incoming             Blockchain Transaction      888CRYPTO.PRO                      1,500,000.0                 Undetermined
Celsius Network Limited               0x7e3de3e2918d3d687b797e1485f8ce30a7c3afc7                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            296,243,682,037.188                    Undetermined
Celsius Network Limited               0x009fd3286233652c7e28d0555c11b41793c9b828                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              323,249,128,292.31                   Undetermined
Celsius Network Limited               0x009fd3286233652c7e28d0555c11b41793c9b828                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            333,311,620,605.813                    Undetermined
Celsius Network Limited               0x7e3de3e2918d3d687b797e1485f8ce30a7c3afc7                                                                    4/16/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            343,077,560,633.719                    Undetermined
Celsius Network Limited               0x009fd3286233652c7e28d0555c11b41793c9b828                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            296,013,484,507.373                    Undetermined
Celsius Network Limited               0x67f7c76b59547aa988dc9208ee8bee663d295e0e                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            390,414,978,373.348                    Undetermined
Celsius Network Limited               0x67f7c76b59547aa988dc9208ee8bee663d295e0e                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            255,630,755,166.263                    Undetermined
Celsius Network Limited               0x67f7c76b59547aa988dc9208ee8bee663d295e0e                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            241,850,909,120.123                    Undetermined
Celsius Network Limited               0x08ddef7f897b676ad6efb9e67f6010017d52cc1e                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            311,572,910,749.483                    Undetermined
Celsius Network Limited               0x08ddef7f897b676ad6efb9e67f6010017d52cc1e                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            337,802,447,627.375                    Undetermined
Celsius Network Limited               0xeb0ac0bc8d9d7232a1e251b0278282e9fb9896e1                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            359,856,994,398.366                    Undetermined
Celsius Network Limited               0xeb0ac0bc8d9d7232a1e251b0278282e9fb9896e1                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            335,259,586,644.548                    Undetermined
Celsius Network Limited               0xeb0ac0bc8d9d7232a1e251b0278282e9fb9896e1                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            374,189,527,217.572                    Undetermined
Celsius Network Limited               0xfaa9c77bcfed6d6f92d04d52f593607ec8a96124                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            356,151,443,897.998                    Undetermined
Celsius Network Limited               0xfaa9c77bcfed6d6f92d04d52f593607ec8a96124                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            301,863,376,670.884                    Undetermined
Celsius Network Limited               0x851d7d76adc71263bd82039639d09d7679000808                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            253,301,526,635.814                    Undetermined
Celsius Network Limited               0x851d7d76adc71263bd82039639d09d7679000808                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            371,945,661,598.121                    Undetermined
Celsius Network Limited               0xaad9e32475142ed1107ad78fd42580b83277cd34                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            256,264,596,302.307                    Undetermined
Celsius Network Limited               0xaad9e32475142ed1107ad78fd42580b83277cd34                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            287,261,982,055.009                    Undetermined
Celsius Network Limited               0xaad9e32475142ed1107ad78fd42580b83277cd34                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            368,205,596,684.564                    Undetermined
Celsius Network Limited               0xfbb6e8be28b9cb454abe9bdfd3166ce91758b421                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            316,615,517,632.314                    Undetermined
Celsius Network Limited               0xaad9e32475142ed1107ad78fd42580b83277cd34                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            322,781,371,196.008                    Undetermined
Celsius Network Limited               0xfbb6e8be28b9cb454abe9bdfd3166ce91758b421                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              253,170,424,688.27                   Undetermined
Celsius Network Limited               0x2e088a0a19dda628b4304301d1ea70b114e4accd                                                                    4/17/2022       Incoming             Claim                       CVX                       1,620.66281475442                    Undetermined
Celsius Network Limited               0xaad9e32475142ed1107ad78fd42580b83277cd34                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            275,049,730,707.844                    Undetermined
Celsius Network Limited               0xfbb6e8be28b9cb454abe9bdfd3166ce91758b421                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            248,147,616,709.975                    Undetermined
Celsius Network Limited               0xa2e7d1954b8c64286c83ef1912cce22c0797e365                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            376,313,297,164.891                    Undetermined
Celsius Network Limited               0x85c4053a309f37fc7420e05a14e700097e280951                                                                    4/17/2022       Outgoing             Transfer                    ETH                   (0.0354896729997589)                     Undetermined
Celsius Network Limited               0xa2e7d1954b8c64286c83ef1912cce22c0797e365                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              333,596,001,346.32                   Undetermined
Celsius Network Limited               0xaad9e32475142ed1107ad78fd42580b83277cd34                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            286,192,644,981.038                    Undetermined
Celsius Network Limited               0xfbb6e8be28b9cb454abe9bdfd3166ce91758b421                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            212,684,991,089.814                    Undetermined
Celsius Network Limited               0xf2b301bd7c129e8ad31de06a30e86b9626ef964e                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            221,969,065,447.814                    Undetermined
Celsius Network Limited               0xaad9e32475142ed1107ad78fd42580b83277cd34                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            343,443,562,529.501                    Undetermined
Celsius Network Limited               0xa2e7d1954b8c64286c83ef1912cce22c0797e365                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            381,871,276,390.972                    Undetermined
Celsius Network Limited               0xfbb6e8be28b9cb454abe9bdfd3166ce91758b421                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            317,514,556,604.586                    Undetermined
Celsius Network Limited               0xf2b301bd7c129e8ad31de06a30e86b9626ef964e                                                                    4/17/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            350,130,298,310.949                    Undetermined
Celsius Network Limited               0xaad9e32475142ed1107ad78fd42580b83277cd34                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            348,148,764,530.817                    Undetermined
Celsius Network Limited               0xfbb6e8be28b9cb454abe9bdfd3166ce91758b421                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            328,206,851,991.784                    Undetermined
Celsius Network Limited               0xaad9e32475142ed1107ad78fd42580b83277cd34                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            280,007,389,643.203                    Undetermined
Celsius Network Limited               0xfbb6e8be28b9cb454abe9bdfd3166ce91758b421                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            315,124,303,145.399                    Undetermined
Celsius Network Limited               0xaad9e32475142ed1107ad78fd42580b83277cd34                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            342,775,631,846.815                    Undetermined
Celsius Network Limited               0xfbb6e8be28b9cb454abe9bdfd3166ce91758b421                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            216,471,844,659.685                    Undetermined
Celsius Network Limited               0x354217c95e4c87f398348c403e882d6e1462385f                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            241,580,166,286.559                    Undetermined
Celsius Network Limited               0xa99624dc1d60ae72abfaadd90fc54b8fa7ef8c1e                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            337,357,877,503.148                    Undetermined
Celsius Network Limited               0x354217c95e4c87f398348c403e882d6e1462385f                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            217,553,347,630.486                    Undetermined
Celsius Network Limited               0x8713e60cee6989778a8ebf49e3f74f40e2c187b0                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            235,122,838,407.789                    Undetermined
Celsius Network Limited               0xa99624dc1d60ae72abfaadd90fc54b8fa7ef8c1e                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            305,714,466,557.843                    Undetermined
Celsius Network Limited               0xa99624dc1d60ae72abfaadd90fc54b8fa7ef8c1e                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            200,432,232,389.494                    Undetermined
Celsius Network Limited               0x354217c95e4c87f398348c403e882d6e1462385f                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            322,575,306,154.498                    Undetermined
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                             Doc 15          Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                    SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                               Main Document                             Case Number: 22-10966



          CELSIUS ENTITY                                                            COUNTERPARTY
                                                                                                               Pg 26 of 77           Non-Retail Coin Transactions
                                                                                                                                                      DATE          TYPE                          TRANSACTION TYPE                  COIN   COIN QUANTITY                     COIN USD
Celsius Network Limited               0xa99624dc1d60ae72abfaadd90fc54b8fa7ef8c1e                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 260,746,566,846.95                 Undetermined
Celsius Network Limited               0x1bc5aaa299eb7eea3633d14bbfce0093867b32bd                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               211,280,693,131.695                  Undetermined
Celsius Network Limited               0x1bc5aaa299eb7eea3633d14bbfce0093867b32bd                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               382,408,068,160.246                  Undetermined
Celsius Network Limited               0x2fac5c7f7a7fcf8fb83a7b363c319ad155db2395                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               385,665,234,890.335                  Undetermined
Celsius Network Limited               0x2fac5c7f7a7fcf8fb83a7b363c319ad155db2395                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               299,316,260,474.355                  Undetermined
Celsius Network Limited               0x2fac5c7f7a7fcf8fb83a7b363c319ad155db2395                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 359,939,529,028.12                 Undetermined
Celsius Network Limited               0x2fac5c7f7a7fcf8fb83a7b363c319ad155db2395                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 272,797,724,198.69                 Undetermined
Celsius Network Limited               0x540dba6e568c91f9e2bbc7842a53c512e456105e                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               306,573,985,788.873                  Undetermined
Celsius Network Limited               0x540dba6e568c91f9e2bbc7842a53c512e456105e                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               374,711,306,413.658                  Undetermined
Celsius Network Limited               0x2fac5c7f7a7fcf8fb83a7b363c319ad155db2395                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               238,268,518,994.181                  Undetermined
Celsius Network Limited               0x540dba6e568c91f9e2bbc7842a53c512e456105e                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 365,533,329,432.06                 Undetermined
Celsius Network Limited               0x2fac5c7f7a7fcf8fb83a7b363c319ad155db2395                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               328,662,664,818.137                  Undetermined
Celsius Network Limited               0x540dba6e568c91f9e2bbc7842a53c512e456105e                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               259,750,259,698.943                  Undetermined
Celsius Network Limited               0xad4ba16d509c6cca78ff9add1558ba35ad184378                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               254,717,843,687.194                  Undetermined
Celsius Network Limited               0xad4ba16d509c6cca78ff9add1558ba35ad184378                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               288,575,705,224.016                  Undetermined
Celsius Network Limited               0x540dba6e568c91f9e2bbc7842a53c512e456105e                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 247,888,099,645.74                 Undetermined
Celsius Network Limited               0xad4ba16d509c6cca78ff9add1558ba35ad184378                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               254,793,842,969.048                  Undetermined
Celsius Network Limited               0x481eb34198ccb8c6b9c7e456fde39bf3a3af6609                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               347,964,279,768.897                  Undetermined
Celsius Network Limited               0x540dba6e568c91f9e2bbc7842a53c512e456105e                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               323,397,813,798.756                  Undetermined
Celsius Network Limited               0xad4ba16d509c6cca78ff9add1558ba35ad184378                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 304,664,427,418.52                 Undetermined
Celsius Network Limited               0x481eb34198ccb8c6b9c7e456fde39bf3a3af6609                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               303,390,819,424.437                  Undetermined
Celsius Network Limited               0xeab094c6e9395804e85016a479738ecb4032ec04                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               353,816,892,058.009                  Undetermined
Celsius Network Limited               0x481eb34198ccb8c6b9c7e456fde39bf3a3af6609                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               350,639,883,511.271                  Undetermined
Celsius Network Limited               0x540dba6e568c91f9e2bbc7842a53c512e456105e                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               377,043,352,556.607                  Undetermined
Celsius Network Limited               0xeab094c6e9395804e85016a479738ecb4032ec04                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 345,247,689,338.48                 Undetermined
Celsius Network Limited               0x481eb34198ccb8c6b9c7e456fde39bf3a3af6609                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               322,442,795,609.389                  Undetermined
Celsius Network Limited               0xeab094c6e9395804e85016a479738ecb4032ec04                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               233,539,761,530.276                  Undetermined
Celsius Network Limited               0xad4ba16d509c6cca78ff9add1558ba35ad184378                                                                    4/18/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               293,621,186,406.723                  Undetermined
Celsius Network Limited               0x540dba6e568c91f9e2bbc7842a53c512e456105e                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               328,776,169,720.959                  Undetermined
Celsius Network Limited               0x8b31d048957c05b0b028b0de30bf99e1d4848b81                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               292,859,974,572.757                  Undetermined
Celsius Network Limited               0x8b31d048957c05b0b028b0de30bf99e1d4848b81                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 393,565,494,175.26                 Undetermined
Celsius Network Limited               0x540dba6e568c91f9e2bbc7842a53c512e456105e                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               376,070,890,692.282                  Undetermined
Celsius Network Limited               0x8b31d048957c05b0b028b0de30bf99e1d4848b81                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               363,184,644,667.119                  Undetermined
Celsius Network Limited               0x540dba6e568c91f9e2bbc7842a53c512e456105e                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               323,663,471,155.412                  Undetermined
Celsius Network Limited               0x3cfd6371dda86a94d9cede65d263fe5d38e5a786                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               357,451,893,209.401                  Undetermined
Celsius Network Limited               0x3cfd6371dda86a94d9cede65d263fe5d38e5a786                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               342,287,828,620.635                  Undetermined
Celsius Network Limited               0x3cfd6371dda86a94d9cede65d263fe5d38e5a786                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               242,862,274,047.275                  Undetermined
Celsius Network Limited               0x4f8f5d129da84a7343222c5de014b01ec86fbfad                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               282,466,645,358.538                  Undetermined
Celsius Network Limited               0x4f8f5d129da84a7343222c5de014b01ec86fbfad                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               246,019,946,957.791                  Undetermined
Celsius Network Limited               0x4f8f5d129da84a7343222c5de014b01ec86fbfad                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               201,735,925,313.064                  Undetermined
Celsius Network Limited               0x2a6a4f5fe9c762ebc816161708ca939941040430                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               271,691,983,900.199                  Undetermined
Celsius Network Limited               0x2a6a4f5fe9c762ebc816161708ca939941040430                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               322,037,259,147.292                  Undetermined
Celsius Network Limited               0xb1adceddb2941033a090dd166a462fe1c2029484                                                                    4/19/2022       Outgoing             Transfer                    ETH                       (0.559020322876407)                   Undetermined
Celsius Network Limited               0x2a6a4f5fe9c762ebc816161708ca939941040430                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               331,199,806,064.338                  Undetermined
Celsius Network Limited               0x23581767a106ae21c074b2276d25e5c3e136a68b                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               232,996,264,907.392                  Undetermined
Celsius Network Limited               0xffc7a48cbb315d29b1c10086a3abee2dbec6e51b                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               325,876,147,011.454                  Undetermined
Celsius Network Limited               0xffc7a48cbb315d29b1c10086a3abee2dbec6e51b                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               264,576,302,863.088                  Undetermined
Celsius Network Limited               0x9892c1b185181098facd05c899928effb31c62f1                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               355,679,101,940.758                  Undetermined
Celsius Network Limited               0xffc7a48cbb315d29b1c10086a3abee2dbec6e51b                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               398,819,571,654.571                  Undetermined
Celsius Network Limited               0x9892c1b185181098facd05c899928effb31c62f1                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               306,307,936,677.206                  Undetermined
Celsius Network Limited               0x4f0de335c4fbedbb49a4d610e6aa67f35b52d619                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               340,788,432,107.189                  Undetermined
Celsius Network Limited               0x4f0de335c4fbedbb49a4d610e6aa67f35b52d619                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               344,626,797,042.728                  Undetermined
Celsius Network Limited               0x23581767a106ae21c074b2276d25e5c3e136a68b                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               205,904,524,974.179                  Undetermined
Celsius Network Limited               0x694f7b02b8b40d5aa9bfcb98f6bb9e63477c9134                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               340,749,428,304.623                  Undetermined
Celsius Network Limited               0x694f7b02b8b40d5aa9bfcb98f6bb9e63477c9134                                                                    4/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               241,834,593,175.296                  Undetermined
Celsius Network Limited               0x694f7b02b8b40d5aa9bfcb98f6bb9e63477c9134                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               301,953,647,414.749                  Undetermined
Celsius Network Limited               0xf50fbf46fd6ec8609c1219bbabf00539836f1a34                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               394,645,707,741.681                  Undetermined
Celsius Network Limited               0x757eda6e4c02d571d6a4352c812c8f071dc9e70e                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               329,088,735,027.232                  Undetermined
Celsius Network Limited               0x757eda6e4c02d571d6a4352c812c8f071dc9e70e                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               259,570,596,106.031                  Undetermined
Celsius Network Limited               0x1339e0c129aed67bdd5a7809d9ccbf1a78cf9dda                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               371,284,980,031.687                  Undetermined
Celsius Network Limited               0x1339e0c129aed67bdd5a7809d9ccbf1a78cf9dda                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               378,540,080,326.797                  Undetermined
Celsius Network Limited               0x1339e0c129aed67bdd5a7809d9ccbf1a78cf9dda                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               235,093,093,959.474                  Undetermined
Celsius Network Limited               0x1874c6c6a8b9e09770c28727cbb4909fa5fadd38                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               358,725,351,463.051                  Undetermined
Celsius Network Limited               0x1874c6c6a8b9e09770c28727cbb4909fa5fadd38                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               688,218,984,996.589                  Undetermined
Celsius Network Limited               0x1874c6c6a8b9e09770c28727cbb4909fa5fadd38                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               328,610,573,877.955                  Undetermined
Celsius Network Limited               0x1874c6c6a8b9e09770c28727cbb4909fa5fadd38                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               290,000,489,984.615                  Undetermined
Celsius Network Limited               0xe33c87f0a831ce6430f1caf7089eeeb5e2185e65                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               297,616,768,652.627                  Undetermined
Celsius Network Limited               0x1874c6c6a8b9e09770c28727cbb4909fa5fadd38                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               279,811,361,649.589                  Undetermined
Celsius Network Limited               0xe33c87f0a831ce6430f1caf7089eeeb5e2185e65                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               204,613,254,468.354                  Undetermined
Celsius Network Limited               0xe33c87f0a831ce6430f1caf7089eeeb5e2185e65                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               343,151,462,597.709                  Undetermined
Celsius Network Limited               0xe33c87f0a831ce6430f1caf7089eeeb5e2185e65                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                  193,486,973,375.9                 Undetermined
Celsius Network Limited               0x0be5ecf937432983b779056ab724b70a3440fe43                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               296,401,446,888.785                  Undetermined
Celsius Network Limited               0x0be5ecf937432983b779056ab724b70a3440fe43                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               266,185,126,530.382                  Undetermined
Celsius Network Limited               0x0be5ecf937432983b779056ab724b70a3440fe43                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               302,133,691,193.208                  Undetermined
Celsius Network Limited               0xe6421276f15d18f3e71aab3d73c0a7dd186a8741                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               235,848,591,633.285                  Undetermined
Celsius Network Limited               0xe6421276f15d18f3e71aab3d73c0a7dd186a8741                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               220,395,032,648.018                  Undetermined
Celsius Network Limited               0x0be5ecf937432983b779056ab724b70a3440fe43                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               342,229,695,862.197                  Undetermined
Celsius Network Limited               0xe6421276f15d18f3e71aab3d73c0a7dd186a8741                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               391,905,316,977.761                  Undetermined
Celsius Network Limited               0x23581767a106ae21c074b2276d25e5c3e136a68b                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               380,395,361,805.458                  Undetermined
Celsius Network Limited               0x0be5ecf937432983b779056ab724b70a3440fe43                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 290,966,600,967.71                 Undetermined
Celsius Network Limited               0xed5af388653567af2f388e6224dc7c4b3241c544                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               304,602,403,168.714                  Undetermined
Celsius Network Limited               0xe52a9eb2505a072324984c818c0f49c19c8b6abb                                                                    4/20/2022       Incoming             Blockchain Transaction      0CASINO.IO                           1,500,000.0                Undetermined
Celsius Network Limited               0x96a944802237c155e6badaec10116be9f200f9a1                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               281,905,138,049.163                  Undetermined
Celsius Network Limited               0x23581767a106ae21c074b2276d25e5c3e136a68b                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,288,074,732.45214                  Undetermined
Celsius Network Limited               0x74569ef41b82c8a723f9d7b43db4a70d6c7853c7                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               280,081,301,907.752                  Undetermined
Celsius Network Limited               0x74569ef41b82c8a723f9d7b43db4a70d6c7853c7                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               370,832,336,547.122                  Undetermined
Celsius Network Limited               0x23581767a106ae21c074b2276d25e5c3e136a68b                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 243,605,289,424.65                 Undetermined
Celsius Network Limited               0x74569ef41b82c8a723f9d7b43db4a70d6c7853c7                                                                    4/20/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               251,316,343,634.143                  Undetermined
Celsius Network Limited               0xc244de4ecd707f39bcabaa93eccac9626fabbb2a                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               343,703,543,757.458                  Undetermined
Celsius Network Limited               0x74569ef41b82c8a723f9d7b43db4a70d6c7853c7                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               362,817,155,928.826                  Undetermined
Celsius Network Limited               0xc244de4ecd707f39bcabaa93eccac9626fabbb2a                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               218,971,511,237.418                  Undetermined
Celsius Network Limited               0x9bf9cb3f82d2dfdeba9e349a371ada4f6721c474                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               388,764,786,418.561                  Undetermined
Celsius Network Limited               0x9bf9cb3f82d2dfdeba9e349a371ada4f6721c474                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               252,631,173,637.854                  Undetermined
Celsius Network Limited               0x74569ef41b82c8a723f9d7b43db4a70d6c7853c7                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               283,566,531,138.803                  Undetermined
Celsius Network Limited               0xc244de4ecd707f39bcabaa93eccac9626fabbb2a                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               303,498,436,936.613                  Undetermined
Celsius Network Limited               0x9bf9cb3f82d2dfdeba9e349a371ada4f6721c474                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               389,198,460,090.462                  Undetermined
Celsius Network Limited               0x74569ef41b82c8a723f9d7b43db4a70d6c7853c7                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               200,183,940,290.934                  Undetermined
Celsius Network Limited               0xc244de4ecd707f39bcabaa93eccac9626fabbb2a                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               309,642,964,017.747                  Undetermined
Celsius Network Limited               0x0bdfd4ad937ff179985276b7f5be7ae3de0229e6                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               390,474,163,777.004                  Undetermined
Celsius Network Limited               0x866682a6e49bc714527855868f58205b943003a2                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               340,831,293,984.295                  Undetermined
Celsius Network Limited               0x866682a6e49bc714527855868f58205b943003a2                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               362,331,577,909.352                  Undetermined
Celsius Network Limited               0x866682a6e49bc714527855868f58205b943003a2                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               291,974,483,301.725                  Undetermined
Celsius Network Limited               0x866682a6e49bc714527855868f58205b943003a2                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               71,824,343,980.6062                  Undetermined
Celsius Network Limited               0x2b3ab8e7bb14988616359b78709538b10900ab7d                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               268,074,315,443.275                  Undetermined
Celsius Network Limited               0x10ae13ff00b359dfed0c30735a0b8d90c625a33c                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               307,737,880,885.942                  Undetermined
Celsius Network Limited               0x10ae13ff00b359dfed0c30735a0b8d90c625a33c                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               273,693,859,668.316                  Undetermined
Celsius Network Limited               0x10ae13ff00b359dfed0c30735a0b8d90c625a33c                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               310,199,298,722.959                  Undetermined
Celsius Network Limited               0x10ae13ff00b359dfed0c30735a0b8d90c625a33c                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               209,072,784,742.226                  Undetermined
Celsius Network Limited               0x10ae13ff00b359dfed0c30735a0b8d90c625a33c                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               364,817,672,756.772                  Undetermined
Celsius Network Limited               0x33cb5295311b36931c62f00a7bce4bd12d2badfc                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                  255,511,848,547.9                 Undetermined
Celsius Network Limited               0x33cb5295311b36931c62f00a7bce4bd12d2badfc                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               332,404,542,397.903                  Undetermined
Celsius Network Limited               0xbc4ca0eda7647a8ab7c2061c2e118a18a936f13d                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                  392,703,596,564.7                 Undetermined
Celsius Network Limited               0x4ba3ebb4b05b36329872785470ff86498bd3d4c5                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               245,426,192,160.694                  Undetermined
Celsius Network Limited               0x23581767a106ae21c074b2276d25e5c3e136a68b                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               384,557,245,747.067                  Undetermined
Celsius Network Limited               0x27af3db51219e9b82d127a6fc1284755cda79b3b                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               215,436,129,045.363                  Undetermined
Celsius Network Limited               0x6adb2e268de2aa1abf6578e4a8119b960e02928f                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               280,926,418,929.533                  Undetermined
Celsius Network Limited               HUOBI                                                                                                         4/21/2022       Outgoing             Exchange Activity           CEL                                  (499,999.0)               ($1,088,741.72)
Celsius Network Limited               HUOBI                                                                                                         4/21/2022       Outgoing             Exchange Activity           USDT_ERC20                           (999,999.0)               ($1,000,188.24)
Celsius Network Limited               0x5e8e7ec3cc12daf687163e5f86313a5b0bf48cc0                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 221,344,011,645.22                 Undetermined
Celsius Network Limited               0xe785e82358879f061bc3dcac6f0444462d4b5330                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               395,461,635,824.352                  Undetermined
Celsius Network Limited               NASCENT LP                                                                                                    4/21/2022       Incoming             Lending Activity            ETH                                       198.85                  $597,696.28
Celsius Network Limited               0xf31cdb090d1d4b86a7af42b62dc5144be8e42906                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                         3,000,000.0                Undetermined
Celsius Network Limited               DUNAMIS TRADING (BAHAMAS) LTD                                                                                 4/21/2022       Outgoing             Lending Activity            USDC                               (2,542,000.0)               ($2,542,000.00)
Celsius Network Limited               0xdab489dfdd2ba60f3bd49119aad37f6d8f4895f3                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               287,307,039,188.827                  Undetermined
Celsius Network Limited               FTX                                                                                                           4/21/2022       Incoming             Exchange Activity           SUSHI                                   75,000.0                  $263,232.42
Celsius Network Limited               0xf31cdb090d1d4b86a7af42b62dc5144be8e42906                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                         3,000,000.0                Undetermined
Celsius Network Limited               NASCENT LP                                                                                                    4/21/2022       Outgoing             Lending Activity            SUSHI                               (143,266.48)                 ($502,831.76)
Celsius Network Limited               0xb25263593caf53707350ef8401ffb81ef089893d                                                                    4/21/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               322,747,891,924.825                  Undetermined
Celsius Network Limited               PROFLUENT TRADING INC                                                                                         4/22/2022       Incoming             Lending Activity            XLM                                    600,000.0                  $118,331.46
Celsius Network Limited               0x6f15646f0d41ff4a7efee18115d38a2ee471d43a                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               278,467,109,811.249                  Undetermined
Celsius Network Limited               0x6f15646f0d41ff4a7efee18115d38a2ee471d43a                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               233,589,912,071.668                  Undetermined
Celsius Network Limited               0x6f15646f0d41ff4a7efee18115d38a2ee471d43a                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               800,218,915,984.258                  Undetermined
Celsius Network Limited               0x6f15646f0d41ff4a7efee18115d38a2ee471d43a                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               201,103,921,335.919                  Undetermined
Celsius Network Limited               0x6f15646f0d41ff4a7efee18115d38a2ee471d43a                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 287,205,888,541.27                 Undetermined
Celsius Network Limited               0x6f15646f0d41ff4a7efee18115d38a2ee471d43a                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               264,362,284,466.705                  Undetermined
Celsius Network Limited               0xd8da6bf26964af9d7eed9e03e53415d37aa96045                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               304,144,495,900.585                  Undetermined
Celsius Network Limited               0x601ff50a41d05cd4d3ca5342b24ea15fc928d885                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               344,639,177,987.818                  Undetermined
Celsius Network Limited               0x6f15646f0d41ff4a7efee18115d38a2ee471d43a                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               252,576,101,454.644                  Undetermined
Celsius Network Limited               0x601ff50a41d05cd4d3ca5342b24ea15fc928d885                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               275,710,365,245.216                  Undetermined
Celsius Network Limited               0x6f15646f0d41ff4a7efee18115d38a2ee471d43a                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 270,856,343,608.46                 Undetermined
Celsius Network Limited               0x601ff50a41d05cd4d3ca5342b24ea15fc928d885                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               262,088,676,508.479                  Undetermined
Celsius Network Limited               MATRIXPORT                                                                                                    4/22/2022       Incoming             Lending Activity            XRP                                         20.0                       $14.54
Celsius Network Limited               TETHER                                                                                                        4/22/2022       Outgoing             Lending Activity            EURT_ERC20                        (13,000,000.0)              ($14,059,260.19)
Celsius Network Limited               0x2229ea76ef8a0b428a9d38bc328023123c663f49                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               362,271,916,375.971                  Undetermined
Celsius Network Limited               MATRIXPORT                                                                                                    4/22/2022       Incoming             Lending Activity            XRP                                  1,249,980.0                  $908,512.15
Celsius Network Limited               0xa1de9f57fbcf3917de102a117f4d2beb4413f488                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                  307,211,920,653.3                 Undetermined
Celsius Network Limited               0x6f15646f0d41ff4a7efee18115d38a2ee471d43a                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               384,510,740,867.449                  Undetermined
Celsius Network Limited               MATRIXPORT                                                                                                    4/22/2022       Outgoing             Lending Activity            BTC                                      (0.001)                      ($40.27)
Celsius Network Limited               0x601ff50a41d05cd4d3ca5342b24ea15fc928d885                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               397,132,453,682.059                  Undetermined
Celsius Network Limited               0xa1de9f57fbcf3917de102a117f4d2beb4413f488                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               239,485,370,235.018                  Undetermined
Celsius Network Limited               MATRIXPORT                                                                                                    4/22/2022       Outgoing             Lending Activity            BTC                                     (25.299)               ($1,024,272.14)
Celsius Network Limited               0x6f15646f0d41ff4a7efee18115d38a2ee471d43a                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               385,631,047,917.768                  Undetermined
Celsius Network Limited               0x46d80ee3e366cce73ceae9262e1ff2107215e5e3                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 282,604,357,086.78                 Undetermined
Celsius Network Limited               0x46d80ee3e366cce73ceae9262e1ff2107215e5e3                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               378,071,490,310.876                  Undetermined
Celsius Network Limited               0xa1de9f57fbcf3917de102a117f4d2beb4413f488                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               303,251,263,726.273                  Undetermined
Celsius Network Limited               FTX                                                                                                           4/22/2022       Outgoing             Exchange Activity           AVAX                                        (0.1)                      ($7.59)
Celsius Network Limited               FTX                                                                                                           4/22/2022       Outgoing             Exchange Activity           AVAX                       (29,899.8958082508)                 ($2,269,663.49)
Celsius Network Limited               0x6f15646f0d41ff4a7efee18115d38a2ee471d43a                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               398,659,974,290.805                  Undetermined
Celsius Network Limited               0x6f15646f0d41ff4a7efee18115d38a2ee471d43a                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               326,475,120,110.703                  Undetermined
Celsius Network Limited               0x46d80ee3e366cce73ceae9262e1ff2107215e5e3                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               366,132,745,919.433                  Undetermined
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                             Doc 15          Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                    SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                              Main Document                              Case Number: 22-10966



          CELSIUS ENTITY                                                            COUNTERPARTY
                                                                                                               Pg 27 of 77           Non-Retail Coin Transactions
                                                                                                                                                      DATE          TYPE                          TRANSACTION TYPE                  COIN   COIN QUANTITY                     COIN USD
Celsius Network Limited               0x6f15646f0d41ff4a7efee18115d38a2ee471d43a                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              281,481,468,228.164                   Undetermined
Celsius Network Limited               FTX                                                                                                           4/22/2022       Outgoing             Exchange Activity           BTC                                        (50.0)              ($1,981,320.40)
Celsius Network Limited               0xaba7161a7fb69c88e16ed9f455ce62b791ee4d03                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,338,839,591.74227                   Undetermined
Celsius Network Limited               B2C2 LTD                                                                                                      4/22/2022       Incoming             Lending Activity            USDC                               12,000,000.0                $12,000,000.00
Celsius Network Limited               B2C2 LTD                                                                                                      4/22/2022       Incoming             Lending Activity            USDC                               13,000,000.0                $13,000,000.00
Celsius Network Limited               0x3549690181fa6fcb0c24b8b9d09fdef17a04b6f3                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,507,139,938.25064                   Undetermined
Celsius Network Limited               B2C2 LTD                                                                                                      4/22/2022       Outgoing             Lending Activity            ETH                                        (0.39)                  ($1,153.93)
Celsius Network Limited               B2C2 LTD                                                                                                      4/22/2022       Outgoing             Lending Activity            ETH                                    (8,262.0)              ($24,445,649.60)
Celsius Network Limited               0x6f15646f0d41ff4a7efee18115d38a2ee471d43a                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                398,919,155,199.52                  Undetermined
Celsius Network Limited               0x6f15646f0d41ff4a7efee18115d38a2ee471d43a                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              221,913,193,266.159                   Undetermined
Celsius Network Limited               DUNAMIS TRADING (BAHAMAS) LTD                                                                                 4/22/2022       Incoming             Lending Activity            DOT                                   100,000.0                 $1,828,275.77
Celsius Network Limited               0x708b5d2003447d191fc9b47e085b3edfa6ededbf                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,960,702,971.01578                   Undetermined
Celsius Network Limited               0x708b5d2003447d191fc9b47e085b3edfa6ededbf                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                1,244,406,737.2958                  Undetermined
Celsius Network Limited               0xd152f549545093347a162dce210e7293f1452150                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                             1,000.0                Undetermined
Celsius Network Limited               0x6f15646f0d41ff4a7efee18115d38a2ee471d43a                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              376,703,158,144.989                   Undetermined
Celsius Network Limited               0x708b5d2003447d191fc9b47e085b3edfa6ededbf                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,132,539,824.22871                   Undetermined
Celsius Network Limited               BITFINEX                                                                                                      4/22/2022       Outgoing             Exchange Activity           MATIC                     (449,787.414626468)                    ($634,200.25)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            4/22/2022       Outgoing             Lending Activity            BTC                                      (500.0)              ($19,769,402.06)
Celsius Network Limited               DUNAMIS TRADING (BAHAMAS) LTD                                                                                 4/22/2022       Incoming             Lending Activity            DOT                                   200,000.0                 $3,667,535.02
Celsius Network Limited               DUNAMIS TRADING (BAHAMAS) LTD                                                                                 4/22/2022       Outgoing             Lending Activity            USDC                              (3,758,000.0)                ($3,758,000.00)
Celsius Network Limited               0x0dfc997d266d967af83cc8a7c68e5b07ef59b640                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,621,697,362.01142                   Undetermined
Celsius Network Limited               0x0dfc997d266d967af83cc8a7c68e5b07ef59b640                                                                    4/22/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                1,618,006,281.5906                  Undetermined
Celsius Network Limited               0x39f1701fb3fe17411497cb01ca353f6835b4bb80                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,958,915,530.62147                   Undetermined
Celsius Network Limited               0x39f1701fb3fe17411497cb01ca353f6835b4bb80                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,664,640,269.43362                   Undetermined
Celsius Network Limited               0x39f1701fb3fe17411497cb01ca353f6835b4bb80                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,745,089,625.26963                   Undetermined
Celsius Network Limited               0x2f319cdda2f9de723d0959cbde2546a6b0f65191                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              325,326,630,863.932                   Undetermined
Celsius Network Limited               0x2f319cdda2f9de723d0959cbde2546a6b0f65191                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              647,589,290,550.112                   Undetermined
Celsius Network Limited               0x2f319cdda2f9de723d0959cbde2546a6b0f65191                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              377,032,517,352.407                   Undetermined
Celsius Network Limited               0x2f319cdda2f9de723d0959cbde2546a6b0f65191                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              225,260,146,628.258                   Undetermined
Celsius Network Limited               0xb1c3cc0c7b1e38dff5e839416d5359f96c6a72b7                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              297,428,788,885.406                   Undetermined
Celsius Network Limited               0xb1c3cc0c7b1e38dff5e839416d5359f96c6a72b7                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              354,749,668,260.188                   Undetermined
Celsius Network Limited               0xb1c3cc0c7b1e38dff5e839416d5359f96c6a72b7                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              356,447,358,989.781                   Undetermined
Celsius Network Limited               0x784d338a55c11af910d2d9a4fc1cf4ee4723afb5                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              388,170,345,873.154                   Undetermined
Celsius Network Limited               0xb1c3cc0c7b1e38dff5e839416d5359f96c6a72b7                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              325,127,720,221.019                   Undetermined
Celsius Network Limited               0x784d338a55c11af910d2d9a4fc1cf4ee4723afb5                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              354,249,562,108.187                   Undetermined
Celsius Network Limited               0xb1c3cc0c7b1e38dff5e839416d5359f96c6a72b7                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              326,115,864,443.967                   Undetermined
Celsius Network Limited               0xeb1929a1fbad3d05f967ba3408e5e78e9cfe660d                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 1,731,166,474.602                  Undetermined
Celsius Network Limited               0x784d338a55c11af910d2d9a4fc1cf4ee4723afb5                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              287,520,213,627.674                   Undetermined
Celsius Network Limited               0xeb1929a1fbad3d05f967ba3408e5e78e9cfe660d                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,117,249,016.40601                   Undetermined
Celsius Network Limited               0xeb1929a1fbad3d05f967ba3408e5e78e9cfe660d                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,618,936,049.36495                   Undetermined
Celsius Network Limited               0xeb1929a1fbad3d05f967ba3408e5e78e9cfe660d                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,115,370,551.40835                   Undetermined
Celsius Network Limited               0x70db727dccdfdbeb927f1f10dd005cb1caa95170                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,733,385,939.42876                   Undetermined
Celsius Network Limited               0xeb1929a1fbad3d05f967ba3408e5e78e9cfe660d                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                1,512,000,782.4423                  Undetermined
Celsius Network Limited               0x70db727dccdfdbeb927f1f10dd005cb1caa95170                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                1,577,432,488.8619                  Undetermined
Celsius Network Limited               0x70db727dccdfdbeb927f1f10dd005cb1caa95170                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,322,345,248.46611                   Undetermined
Celsius Network Limited               0xe4517100ae62cbeefc363e59d0f8df5754dc7e40                                                                    4/23/2022       Incoming             Blockchain Transaction      4GAMBLING.IO                        3,000,000.0                 Undetermined
Celsius Network Limited               0x2933b3ea968d649e942b01420f8cc7eb43277467                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,700,285,099.69456                   Undetermined
Celsius Network Limited               0x2933b3ea968d649e942b01420f8cc7eb43277467                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,482,726,059.94529                   Undetermined
Celsius Network Limited               0x70db727dccdfdbeb927f1f10dd005cb1caa95170                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,860,417,634.12461                   Undetermined
Celsius Network Limited               0x2933b3ea968d649e942b01420f8cc7eb43277467                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,352,121,710.38582                   Undetermined
Celsius Network Limited               0x46c769391de79af999bba5ad49f02cc2c47a31e0                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,663,154,557.04778                   Undetermined
Celsius Network Limited               0x46c769391de79af999bba5ad49f02cc2c47a31e0                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,849,166,838.62309                   Undetermined
Celsius Network Limited               0x46c769391de79af999bba5ad49f02cc2c47a31e0                                                                    4/23/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,379,269,038.67544                   Undetermined
Celsius Network Limited               0x46c769391de79af999bba5ad49f02cc2c47a31e0                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,896,320,773.83907                   Undetermined
Celsius Network Limited               0xd093fa4fb80d09bb30817fdcd442d4d02ed3e5de                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                5,338.72566548566                   Undetermined
Celsius Network Limited               0x6ce6c8743b7f547e0e14aa2a6a5652b83d2459ec                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                1,590,366,536.5042                  Undetermined
Celsius Network Limited               0x6ce6c8743b7f547e0e14aa2a6a5652b83d2459ec                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,340,355,967.54729                   Undetermined
Celsius Network Limited               0x6ce6c8743b7f547e0e14aa2a6a5652b83d2459ec                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,024,085,019.97373                   Undetermined
Celsius Network Limited               0x6ce6c8743b7f547e0e14aa2a6a5652b83d2459ec                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,110,592,444.83428                   Undetermined
Celsius Network Limited               0x6ce6c8743b7f547e0e14aa2a6a5652b83d2459ec                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,870,146,182.70577                   Undetermined
Celsius Network Limited               0x296ccfac1d8ec4f6e5551363f3e3e1b38f1ad7bc                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,652,447,879.53047                   Undetermined
Celsius Network Limited               0x296ccfac1d8ec4f6e5551363f3e3e1b38f1ad7bc                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              756,400,006,393.606                   Undetermined
Celsius Network Limited               0x6ce6c8743b7f547e0e14aa2a6a5652b83d2459ec                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,864,771,057.94989                   Undetermined
Celsius Network Limited               0x296ccfac1d8ec4f6e5551363f3e3e1b38f1ad7bc                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,859,983,847.82564                   Undetermined
Celsius Network Limited               0xe3de58234fea446e226900727159998d7466bcec                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               2,452,411.29582233                   Undetermined
Celsius Network Limited               0xe3de58234fea446e226900727159998d7466bcec                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,447,539.63700971                   Undetermined
Celsius Network Limited               0x6ce6c8743b7f547e0e14aa2a6a5652b83d2459ec                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,547,980,800.95844                   Undetermined
Celsius Network Limited               0x296ccfac1d8ec4f6e5551363f3e3e1b38f1ad7bc                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,278,464,078.11444                   Undetermined
Celsius Network Limited               0xf8d6be39dd94fd5fd3941832c3e53876bcf6f5e2                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              301,425,929,981.193                   Undetermined
Celsius Network Limited               0x6ce6c8743b7f547e0e14aa2a6a5652b83d2459ec                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,735,094,880.43597                   Undetermined
Celsius Network Limited               0xf8d6be39dd94fd5fd3941832c3e53876bcf6f5e2                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              380,021,569,582.423                   Undetermined
Celsius Network Limited               0x296ccfac1d8ec4f6e5551363f3e3e1b38f1ad7bc                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,096,027,044.53572                   Undetermined
Celsius Network Limited               0xf8d6be39dd94fd5fd3941832c3e53876bcf6f5e2                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              395,692,515,077.567                   Undetermined
Celsius Network Limited               0x6ce6c8743b7f547e0e14aa2a6a5652b83d2459ec                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,489,934,966.26525                   Undetermined
Celsius Network Limited               0xfc7424814412e91acc4669773244fd300d72e57e                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,845,070,571.46797                   Undetermined
Celsius Network Limited               0x296ccfac1d8ec4f6e5551363f3e3e1b38f1ad7bc                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,245,840,217.50557                   Undetermined
Celsius Network Limited               0xf8d6be39dd94fd5fd3941832c3e53876bcf6f5e2                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              218,627,706,642.456                   Undetermined
Celsius Network Limited               0x6ce6c8743b7f547e0e14aa2a6a5652b83d2459ec                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,991,052,977.80048                   Undetermined
Celsius Network Limited               0xfc7424814412e91acc4669773244fd300d72e57e                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,818,612,726.94504                   Undetermined
Celsius Network Limited               0xfc7424814412e91acc4669773244fd300d72e57e                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,679,882,239.06731                   Undetermined
Celsius Network Limited               0x6ce6c8743b7f547e0e14aa2a6a5652b83d2459ec                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,095,662,221.55951                   Undetermined
Celsius Network Limited               0xa1f13fff8b5ea0064c347cd81b9dfa1932063239                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,341,411,518.28717                   Undetermined
Celsius Network Limited               0xa1f13fff8b5ea0064c347cd81b9dfa1932063239                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                1,200,380,387.8652                  Undetermined
Celsius Network Limited               0xfc7424814412e91acc4669773244fd300d72e57e                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                1,958,059,807.9724                  Undetermined
Celsius Network Limited               0x6ce6c8743b7f547e0e14aa2a6a5652b83d2459ec                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,187,122,265.63475                   Undetermined
Celsius Network Limited               0xa1f13fff8b5ea0064c347cd81b9dfa1932063239                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,579,516,582.85931                   Undetermined
Celsius Network Limited               0xfc7424814412e91acc4669773244fd300d72e57e                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,347,347,331.15554                   Undetermined
Celsius Network Limited               0x6ce6c8743b7f547e0e14aa2a6a5652b83d2459ec                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,632,662,776.88099                   Undetermined
Celsius Network Limited               FTX                                                                                                           4/24/2022       Outgoing             Exchange Activity           CRV                                 (207,644.3)                  ($549,586.69)
Celsius Network Limited               FTX                                                                                                           4/24/2022       Outgoing             Exchange Activity           BAL                                    (6,737.1)                  ($98,961.61)
Celsius Network Limited               FTX                                                                                                           4/24/2022       Outgoing             Exchange Activity           BNT                                   (66,606.5)                 ($146,300.37)
Celsius Network Limited               0x86bf997b12f950c10f8bdbd594a4fd2d79b974b3                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,838,583,453.04313                   Undetermined
Celsius Network Limited               0xa1f13fff8b5ea0064c347cd81b9dfa1932063239                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,629,617,010.74612                   Undetermined
Celsius Network Limited               0x86bf997b12f950c10f8bdbd594a4fd2d79b974b3                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,894,006,874.75636                   Undetermined
Celsius Network Limited               FTX                                                                                                           4/24/2022       Outgoing             Exchange Activity           UNI                                 (282,427.0)                ($2,492,951.73)
Celsius Network Limited               0xfc7424814412e91acc4669773244fd300d72e57e                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,754,736,706.94633                   Undetermined
Celsius Network Limited               0x86bf997b12f950c10f8bdbd594a4fd2d79b974b3                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                1,525,711,666.8188                  Undetermined
Celsius Network Limited               0xa1f13fff8b5ea0064c347cd81b9dfa1932063239                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,657,198,388.49467                   Undetermined
Celsius Network Limited               0x20e986a346105e96f75991f86523a61bd1e27e6a                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,921,583,956.19209                   Undetermined
Celsius Network Limited               0xfc7424814412e91acc4669773244fd300d72e57e                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,285,456,703.14335                   Undetermined
Celsius Network Limited               0x6ce6c8743b7f547e0e14aa2a6a5652b83d2459ec                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,138,742,300.57674                   Undetermined
Celsius Network Limited               0x20e986a346105e96f75991f86523a61bd1e27e6a                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,148,567,070.93431                   Undetermined
Celsius Network Limited               0x86bf997b12f950c10f8bdbd594a4fd2d79b974b3                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,461,307,505.44932                   Undetermined
Celsius Network Limited               0xfc7424814412e91acc4669773244fd300d72e57e                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,611,998,183.24359                   Undetermined
Celsius Network Limited               0x20e986a346105e96f75991f86523a61bd1e27e6a                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,611,998,183.24359                   Undetermined
Celsius Network Limited               0x6ce6c8743b7f547e0e14aa2a6a5652b83d2459ec                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,951,455,115.83485                   Undetermined
Celsius Network Limited               0x86bf997b12f950c10f8bdbd594a4fd2d79b974b3                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,010,564,928.32756                   Undetermined
Celsius Network Limited               0xaba7161a7fb69c88e16ed9f455ce62b791ee4d03                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,870,443,199.33388                   Undetermined
Celsius Network Limited               0x2bb8295e5d669f282ebc3099fb40391145c4f4a1                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                1,725,258,570.1006                  Undetermined
Celsius Network Limited               0xfc7424814412e91acc4669773244fd300d72e57e                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,672,599,341.92083                   Undetermined
Celsius Network Limited               0xaba7161a7fb69c88e16ed9f455ce62b791ee4d03                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,943,998,733.76297                   Undetermined
Celsius Network Limited               0x3f3b3e20b64a288a108eaedf2b64d5a43ff13f74                                                                    4/24/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                1,190,360,475.3574                  Undetermined
Celsius Network Limited               0x3f3b3e20b64a288a108eaedf2b64d5a43ff13f74                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,110,188,948.32344                   Undetermined
Celsius Network Limited               0x3f3b3e20b64a288a108eaedf2b64d5a43ff13f74                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,848,883,240.14486                   Undetermined
Celsius Network Limited               0xd6f4a923e2ecd9ab7391840ac78d04bfe40bd5e1                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,299,689,331.79314                   Undetermined
Celsius Network Limited               0xcb0c87e705cac8c94f7fb28959b88e053e9b5c83                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,420,947,108.75491                   Undetermined
Celsius Network Limited               0xcb0c87e705cac8c94f7fb28959b88e053e9b5c83                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,358,854,054.69675                   Undetermined
Celsius Network Limited               0x32124d259d3d222538656ea7bae41e903b587321                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,721,288,637.19417                   Undetermined
Celsius Network Limited               0x32124d259d3d222538656ea7bae41e903b587321                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                1,719,847,240.7828                  Undetermined
Celsius Network Limited               0x32124d259d3d222538656ea7bae41e903b587321                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,106,620,003.18864                   Undetermined
Celsius Network Limited               0x32124d259d3d222538656ea7bae41e903b587321                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              141,967,297,774.246                   Undetermined
Celsius Network Limited               FTX                                                                                                           4/25/2022       Incoming             Exchange Activity           PAX                                 1,000,000.0                 $1,002,463.50
Celsius Network Limited               0x32124d259d3d222538656ea7bae41e903b587321                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,633,005,131.69578                   Undetermined
Celsius Network Limited               0x3e328086dcd5555dfcbcf03d360be6105f37f0dd                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,430,712,883.13087                   Undetermined
Celsius Network Limited               0x3e328086dcd5555dfcbcf03d360be6105f37f0dd                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,805,628,399.61727                   Undetermined
Celsius Network Limited               0x32124d259d3d222538656ea7bae41e903b587321                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,646,082,446.80448                   Undetermined
Celsius Network Limited               0x3e328086dcd5555dfcbcf03d360be6105f37f0dd                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,632,355,328.40487                   Undetermined
Celsius Network Limited               KENETIC TRADING LTD                                                                                           4/25/2022       Incoming             Lending Activity            BTC                                          4.68                 $180,226.78
Celsius Network Limited               0xa5d04a3dfff20f18cb7e9e7530e3bcb3f43d648a                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,797,213,018.58238                   Undetermined
Celsius Network Limited               0x32124d259d3d222538656ea7bae41e903b587321                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,862,482,101.54462                   Undetermined
Celsius Network Limited               0xa5d04a3dfff20f18cb7e9e7530e3bcb3f43d648a                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                1,746,743,758.4466                  Undetermined
Celsius Network Limited               0xa5d04a3dfff20f18cb7e9e7530e3bcb3f43d648a                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,836,792,373.61485                   Undetermined
Celsius Network Limited               0x1f7e0c2077e84386da9e1863163995c12f4189cf                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                1,213,628,955.8296                  Undetermined
Celsius Network Limited               KENETIC TRADING LTD                                                                                           4/25/2022       Outgoing             Lending Activity            ZRX                                        (10.0)                      ($7.55)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           4/25/2022       Outgoing             Lending Activity            ZRX                               (1,199,990.0)                  ($898,709.18)
Celsius Network Limited               0x6a3412d7f312303daee38d057788383cf55fc850                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,517,467,428.92772                   Undetermined
Celsius Network Limited               0xa5d04a3dfff20f18cb7e9e7530e3bcb3f43d648a                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,212,479,046.93989                   Undetermined
Celsius Network Limited               BITFINEX                                                                                                      4/25/2022       Outgoing             Exchange Activity           USDT_ERC20                       (10,000,000.0)               ($10,003,437.94)
Celsius Network Limited               BITFINEX                                                                                                      4/25/2022       Incoming             Lending Activity            BTC                                        475.0               $18,614,010.20
Celsius Network Limited               0xa5d04a3dfff20f18cb7e9e7530e3bcb3f43d648a                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,622,182,978.54158                   Undetermined
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            4/25/2022       Outgoing             Lending Activity            BTC                                      (500.0)              ($19,637,027.43)
Celsius Network Limited               0xa5d04a3dfff20f18cb7e9e7530e3bcb3f43d648a                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 1,835,159,028.237                  Undetermined
Celsius Network Limited               0x6a3412d7f312303daee38d057788383cf55fc850                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,025,274,535.69081                   Undetermined
Celsius Network Limited               FTX                                                                                                           4/25/2022       Outgoing             Exchange Activity           BTC                             (250.70540401)                 ($9,880,997.27)
Celsius Network Limited               0xebfc939b434d45f9caaadbf7442a9cb917bcac4b                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,961,556,889.15647                   Undetermined
Celsius Network Limited               FTX                                                                                                           4/25/2022       Outgoing             Exchange Activity           BTC                             (252.99997596)                ($10,091,928.15)
Celsius Network Limited               0xebfc939b434d45f9caaadbf7442a9cb917bcac4b                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,405,032,262.52338                   Undetermined
Celsius Network Limited               FALCONX LIMITED                                                                                               4/25/2022       Incoming             Lending Activity            BCH                                           0.2                      $62.77
Celsius Network Limited               FALCONX LIMITED                                                                                               4/25/2022       Incoming             Lending Activity            BCH                                      1,499.8                  $471,095.95
Celsius Network Limited               0xebfc939b434d45f9caaadbf7442a9cb917bcac4b                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,290,509,445.28665                   Undetermined
Celsius Network Limited               0x7d21661d5fbfbb00038ff8fd97e5e77af2bdcc11                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,497,315,875.33267                   Undetermined
Celsius Network Limited               0x7d21661d5fbfbb00038ff8fd97e5e77af2bdcc11                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,744,561,172.78879                   Undetermined
Celsius Network Limited               0xebfc939b434d45f9caaadbf7442a9cb917bcac4b                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,198,120,569.23625                   Undetermined
Celsius Network Limited               0x333f0915b88f34f3fba40abd81a682583126e854                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,287,925,476.95456                   Undetermined
Celsius Network Limited               0x7d21661d5fbfbb00038ff8fd97e5e77af2bdcc11                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,382,735,812.39201                   Undetermined
Celsius Network Limited               0x333f0915b88f34f3fba40abd81a682583126e854                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,361,667,712.14592                   Undetermined
Celsius Network Limited               0xe722cfaa5607f3bc83410da972c7525de756119d                                                                    4/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,249,290,159.51361                   Undetermined
Celsius Network Limited               0xe722cfaa5607f3bc83410da972c7525de756119d                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,329,049,110.96229                   Undetermined
Celsius Network Limited               0x333f0915b88f34f3fba40abd81a682583126e854                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,161,139,595.27579                   Undetermined
Celsius Network Limited               0xe722cfaa5607f3bc83410da972c7525de756119d                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,323,820,141.72289                   Undetermined
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                             Doc 15          Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                    SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                               Main Document                               Case Number: 22-10966



          CELSIUS ENTITY                                                            COUNTERPARTY
                                                                                                               Pg 28 of 77           Non-Retail Coin Transactions
                                                                                                                                                      DATE          TYPE                          TRANSACTION TYPE                  COIN   COIN QUANTITY                       COIN USD
Celsius Network Limited               0x333f0915b88f34f3fba40abd81a682583126e854                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,122,806,519.13237                    Undetermined
Celsius Network Limited               0x029ef91289413e2b1f8088d1e32285946aef5ed0                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,113,217,187.56263                    Undetermined
Celsius Network Limited               0x029ef91289413e2b1f8088d1e32285946aef5ed0                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,263,226,228.71421                    Undetermined
Celsius Network Limited               0xe722cfaa5607f3bc83410da972c7525de756119d                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 1,464,665,426.8085                   Undetermined
Celsius Network Limited               0x029ef91289413e2b1f8088d1e32285946aef5ed0                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,188,899,956.53119                    Undetermined
Celsius Network Limited               0xe722cfaa5607f3bc83410da972c7525de756119d                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 1,441,366,887.4534                   Undetermined
Celsius Network Limited               MATRIXPORT                                                                                                    4/26/2022       Outgoing             Lending Activity            BTC                                     (11.6511)                  ($472,129.96)
Celsius Network Limited               0xb236280edcf24373e0573fe63683a9541a4e2994                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,474,026,816.58368                    Undetermined
Celsius Network Limited               0xb236280edcf24373e0573fe63683a9541a4e2994                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,509,725,203.82159                    Undetermined
Celsius Network Limited               BABEL HOLDING LIMITED                                                                                         4/26/2022       Outgoing             Lending Activity            USDT_ERC20                                   (10.0)                     ($10.00)
Celsius Network Limited               0xb236280edcf24373e0573fe63683a9541a4e2994                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,449,329,461.64097                    Undetermined
Celsius Network Limited               BABEL HOLDING LIMITED                                                                                         4/26/2022       Outgoing             Lending Activity            USDT_ERC20                        (14,999,990.0)                ($15,002,341.74)
Celsius Network Limited               0xb236280edcf24373e0573fe63683a9541a4e2994                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,371,871,402.75747                    Undetermined
Celsius Network Limited               0x6c36767cebd075219a06bb8c0b62a03323302650                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,795,151,480.75637                    Undetermined
Celsius Network Limited               0xb236280edcf24373e0573fe63683a9541a4e2994                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 1,027,332,063.8773                   Undetermined
Celsius Network Limited               0x6c36767cebd075219a06bb8c0b62a03323302650                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,151,698,753.06832                    Undetermined
Celsius Network Limited               0x6c36767cebd075219a06bb8c0b62a03323302650                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,252,347,197.53252                    Undetermined
Celsius Network Limited               0xcc0ecd808ce4fed81f0552b3889656b28aa2bae9                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,371,121,799.87713                    Undetermined
Celsius Network Limited               FTX                                                                                                           4/26/2022       Incoming             Exchange Activity           SNX                                             1.0                       $6.31
Celsius Network Limited               0xc3607f28547cf4d72060cfd493da001a9944da74                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,410,577,848.13929                    Undetermined
Celsius Network Limited               0x8561d0e8449e530c0ee05b21c1f72199c7e2b84c                                                                    4/26/2022       Incoming             Blockchain Transaction      PLAY888.IO                               95,000.0                 Undetermined
Celsius Network Limited               FTX                                                                                                           4/26/2022       Incoming             Exchange Activity           SNX                                   188,336.02                  $1,188,319.91
Celsius Network Limited               FTX                                                                                                           4/26/2022       Outgoing             Exchange Activity           XRP                                (5,000,000.0)                 ($3,298,332.79)
Celsius Network Limited               0xc3607f28547cf4d72060cfd493da001a9944da74                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,567,028,228.05581                    Undetermined
Celsius Network Limited               0x3324b8b9f955833c486c072bfb88fd64a4b4b8b1                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,388,117,050.47077                    Undetermined
Celsius Network Limited               0x3324b8b9f955833c486c072bfb88fd64a4b4b8b1                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,455,151,449.64612                    Undetermined
Celsius Network Limited               0xc3607f28547cf4d72060cfd493da001a9944da74                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,392,803,359.18326                    Undetermined
Celsius Network Limited               0x3324b8b9f955833c486c072bfb88fd64a4b4b8b1                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,175,205,832.50274                    Undetermined
Celsius Network Limited               FTX                                                                                                           4/26/2022       Incoming             Exchange Activity           BTC                                          800.0               $30,611,165.49
Celsius Network Limited               B2C2 LTD                                                                                                      4/26/2022       Incoming             Lending Activity            LTC                                      50,700.0                 $5,091,715.93
Celsius Network Limited               FTX                                                                                                           4/26/2022       Incoming             Exchange Activity           BTC                                          200.0                $7,652,791.37
Celsius Network Limited               0x62f0c4a95c17d29bc2d031247a018ffbeeeece94                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,547,303,801.95106                    Undetermined
Celsius Network Limited               0xc3607f28547cf4d72060cfd493da001a9944da74                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,875,666,659.88814                    Undetermined
Celsius Network Limited               0x62f0c4a95c17d29bc2d031247a018ffbeeeece94                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,284,653,056.60934                    Undetermined
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            4/26/2022       Outgoing             Lending Activity            BTC                                        (500.0)              ($19,193,777.25)
Celsius Network Limited               B2C2 LTD                                                                                                      4/26/2022       Outgoing             Lending Activity            BTC                                       (127.05)               ($4,877,138.80)
Celsius Network Limited               0x3324b8b9f955833c486c072bfb88fd64a4b4b8b1                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,931,286,292.65047                    Undetermined
Celsius Network Limited               BLOCKFILLS                                                                                                    4/26/2022       Incoming             Lending Activity            BTC                                             3.0                 $115,162.66
Celsius Network Limited               0x62f0c4a95c17d29bc2d031247a018ffbeeeece94                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,069,678,020.84835                    Undetermined
Celsius Network Limited               POWER BLOCK COIN                                                                                              4/26/2022       Incoming             Lending Activity            USDC                                 4,000,000.0                  $4,000,000.00
Celsius Network Limited               0xf31cdb090d1d4b86a7af42b62dc5144be8e42906                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                         3,000,000.0                  Undetermined
Celsius Network Limited               POWER BLOCK COIN                                                                                              4/26/2022       Outgoing             Lending Activity            BTC                                       (119.74)               ($4,573,515.90)
Celsius Network Limited               0xaba7161a7fb69c88e16ed9f455ce62b791ee4d03                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,409,490,119.22127                    Undetermined
Celsius Network Limited               0x62f0c4a95c17d29bc2d031247a018ffbeeeece94                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,309,793,799.64924                    Undetermined
Celsius Network Limited               RADKL                                                                                                         4/26/2022       Outgoing             Lending Activity            BTC                                          (8.15)                ($310,622.38)
Celsius Network Limited               0x3324b8b9f955833c486c072bfb88fd64a4b4b8b1                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,441,053,889.27168                    Undetermined
Celsius Network Limited               0x5256d7051a8e1451db45572938792c71dc394bdc                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,741,660,710.09413                    Undetermined
Celsius Network Limited               PHAROS                                                                                                        4/26/2022       Incoming             Lending Activity            USDC                                36,500,000.0                 $36,500,000.00
Celsius Network Limited               PHAROS                                                                                                        4/26/2022       Outgoing             Lending Activity            BTC                                       (951.56)              ($36,493,641.62)
Celsius Network Limited               FTX                                                                                                           4/26/2022       Incoming             Exchange Activity           BTC                               600.77796809                   $23,040,665.71
Celsius Network Limited               0x62f0c4a95c17d29bc2d031247a018ffbeeeece94                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,682,835,715.88362                    Undetermined
Celsius Network Limited               0xd45058bf25bbd8f586124c479d384c8c708ce23a                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 1,341,117,622.3041                   Undetermined
Celsius Network Limited               0x5256d7051a8e1451db45572938792c71dc394bdc                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,515,359,369.67331                    Undetermined
Celsius Network Limited               0x3324b8b9f955833c486c072bfb88fd64a4b4b8b1                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,717,433,989.63666                    Undetermined
Celsius Network Limited               0x9c109552c3f8e2434b31464d4e914064281cb75f                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,476,066,080.63309                    Undetermined
Celsius Network Limited               0x62f0c4a95c17d29bc2d031247a018ffbeeeece94                                                                    4/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,101,601,266.72753                    Undetermined
Celsius Network Limited               0x5256d7051a8e1451db45572938792c71dc394bdc                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,454,860,380.75132                    Undetermined
Celsius Network Limited               0x9c109552c3f8e2434b31464d4e914064281cb75f                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,385,758,363.99187                    Undetermined
Celsius Network Limited               0x3324b8b9f955833c486c072bfb88fd64a4b4b8b1                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,710,849,818.05402                    Undetermined
Celsius Network Limited               0x62f0c4a95c17d29bc2d031247a018ffbeeeece94                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,394,496,143.89471                    Undetermined
Celsius Network Limited               0x5256d7051a8e1451db45572938792c71dc394bdc                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,481,686,676.32794                    Undetermined
Celsius Network Limited               0x9c109552c3f8e2434b31464d4e914064281cb75f                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,905,628,183.69972                    Undetermined
Celsius Network Limited               0x5ddc0e24baa301997fb88f92f53d236a3b9a5ef2                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,031,287,964.74784                    Undetermined
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                            4/27/2022       Incoming             Lending Activity            DOT                                     41,924.07                   $701,594.96
Celsius Network Limited               0x5ddc0e24baa301997fb88f92f53d236a3b9a5ef2                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,795,623,254.60611                    Undetermined
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                            4/27/2022       Incoming             Lending Activity            ADA                                 2,142,436.24                  $1,782,592.58
Celsius Network Limited               0x5ddc0e24baa301997fb88f92f53d236a3b9a5ef2                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,682,888,506.87951                    Undetermined
Celsius Network Limited               0x62f0c4a95c17d29bc2d031247a018ffbeeeece94                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,451,599,780.47841                    Undetermined
Celsius Network Limited               0x9c109552c3f8e2434b31464d4e914064281cb75f                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,639,053,328.81357                    Undetermined
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             4/27/2022       Incoming             Lending Activity            ADA                                     749.7329                        $627.05
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             4/27/2022       Incoming             Lending Activity            UNI                                     123.0527                      $1,005.61
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             4/27/2022       Incoming             Lending Activity            COMP                                        8.5227                    $1,049.12
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             4/27/2022       Incoming             Lending Activity            AAVE                                      63.6986                    $10,770.88
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             4/27/2022       Incoming             Lending Activity            LINK                                    116.0498                      $1,457.80
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             4/27/2022       Incoming             Lending Activity            MATIC                               20,972.1053                      $26,424.85
Celsius Network Limited               0x5ddc0e24baa301997fb88f92f53d236a3b9a5ef2                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,675,692,507.69764                    Undetermined
Celsius Network Limited               0x62f0c4a95c17d29bc2d031247a018ffbeeeece94                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,809,347,921.92928                    Undetermined
Celsius Network Limited               0x9c109552c3f8e2434b31464d4e914064281cb75f                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,467,037,442.46366                    Undetermined
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             4/27/2022       Incoming             Lending Activity            SNX                                     334.3753                      $1,865.94
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             4/27/2022       Incoming             Lending Activity            FTT                                       31.9032                     $1,243.91
Celsius Network Limited               0xafd693214b5018d9dbc6713c49b5f8970ef51e57                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,160,837,315.28228                    Undetermined
Celsius Network Limited               0xafd693214b5018d9dbc6713c49b5f8970ef51e57                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,167,164,688.94102                    Undetermined
Celsius Network Limited               0xafd693214b5018d9dbc6713c49b5f8970ef51e57                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,801,049,821.24412                    Undetermined
Celsius Network Limited               FTX                                                                                                           4/27/2022       Outgoing             Exchange Activity           OMG                                           (1.0)                      ($4.25)
Celsius Network Limited               FTX                                                                                                           4/27/2022       Outgoing             Exchange Activity           BNB_BSC                                      (0.01)                      ($3.94)
Celsius Network Limited               0xb9b270b26c85fd641639a0cec1975f91a852e1d3                                                                    4/27/2022       Incoming             Blockchain Transaction      PKT                                     220,000.0                 Undetermined
Celsius Network Limited               FTX                                                                                                           4/27/2022       Outgoing             Exchange Activity           BNB_BSC                                  (5,000.0)               ($1,954,191.18)
Celsius Network Limited               FTX                                                                                                           4/27/2022       Outgoing             Exchange Activity           SOL                                           (0.1)                      ($9.95)
Celsius Network Limited               FTX                                                                                                           4/27/2022       Outgoing             Exchange Activity           SOL                                    (50,000.0)                ($4,971,601.33)
Celsius Network Limited               0x8c2b4e6f5694fc2acd3b866694948c3cd5ec103b                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,997,743,623.62233                    Undetermined
Celsius Network Limited               FTX                                                                                                           4/27/2022       Outgoing             Exchange Activity           OMG                                   (249,999.0)                ($1,054,293.53)
Celsius Network Limited               0x8c2b4e6f5694fc2acd3b866694948c3cd5ec103b                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 1,092,425,671.4035                   Undetermined
Celsius Network Limited               0x8c2b4e6f5694fc2acd3b866694948c3cd5ec103b                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,152,978,954.64651                    Undetermined
Celsius Network Limited               FTX                                                                                                           4/27/2022       Outgoing             Exchange Activity           AAVE                       (6,593.51032151831)                   ($1,127,508.10)
Celsius Network Limited               0xff99e7ab13a9c195a6c3b783094310f5084b9f55                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,478,372,156.76892                    Undetermined
Celsius Network Limited               0x8c2b4e6f5694fc2acd3b866694948c3cd5ec103b                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               9,823,862,658.36378                    Undetermined
Celsius Network Limited               0xff99e7ab13a9c195a6c3b783094310f5084b9f55                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 1,846,059,641.6523                   Undetermined
Celsius Network Limited               PHAROS                                                                                                        4/27/2022       Incoming             Lending Activity            USDC                                 5,400,000.0                  $5,400,000.00
Celsius Network Limited               0xb9b270b26c85fd641639a0cec1975f91a852e1d3                                                                    4/27/2022       Incoming             Blockchain Transaction      PKT                                     220,000.0                 Undetermined
Celsius Network Limited               0x6f7cc5954120b94980863432b4bc2199da9486f7                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,873,395,329.15373                    Undetermined
Celsius Network Limited               POWER BLOCK COIN                                                                                              4/27/2022       Incoming             Lending Activity            USDC                                 1,500,000.0                  $1,500,000.00
Celsius Network Limited               0x6f7cc5954120b94980863432b4bc2199da9486f7                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,843,298,051.44102                    Undetermined
Celsius Network Limited               FTX                                                                                                           4/27/2022       Incoming             Exchange Activity           BTC                                          550.0               $21,402,788.74
Celsius Network Limited               0x6f7cc5954120b94980863432b4bc2199da9486f7                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,375,674,454.60823                    Undetermined
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            4/27/2022       Outgoing             Lending Activity            BTC                                        (500.0)              ($19,378,741.35)
Celsius Network Limited               POWER BLOCK COIN                                                                                              4/27/2022       Outgoing             Lending Activity            BTC                                          (44.9)              ($1,740,210.97)
Celsius Network Limited               JANE STREET                                                                                                   4/27/2022       Outgoing             Lending Activity            XLM                                        (100.0)                      ($18.47)
Celsius Network Limited               NASCENT LP                                                                                                    4/27/2022       Incoming             Lending Activity            BNT                          889,890.533269109                    $1,886,398.45
Celsius Network Limited               JANE STREET                                                                                                   4/27/2022       Outgoing             Lending Activity            XLM                               (7,894,636.84)                 ($1,458,249.30)
Celsius Network Limited               NASCENT LP                                                                                                    4/27/2022       Incoming             Lending Activity            BNT                          425,190.164063982                      $904,861.30
Celsius Network Limited               PHAROS                                                                                                        4/27/2022       Outgoing             Lending Activity            BTC                                       (138.11)               ($5,385,398.89)
Celsius Network Limited               NASCENT LP                                                                                                    4/27/2022       Incoming             Lending Activity            BNT                                   219,894.31                    $467,964.38
Celsius Network Limited               0x8b17b24250a49053260bd8fcec056abfb80019a5                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,779,312,595.23653                    Undetermined
Celsius Network Limited               NASCENT LP                                                                                                    4/27/2022       Incoming             Lending Activity            BNT                                      10,000.0                    $21,280.10
Celsius Network Limited               FTX                                                                                                           4/27/2022       Outgoing             Exchange Activity           AAVE                                      (936.36)                 ($161,000.63)
Celsius Network Limited               FTX                                                                                                           4/27/2022       Outgoing             Exchange Activity           COMP                              (401.5293184)                     ($50,033.52)
Celsius Network Limited               NASCENT LP                                                                                                    4/27/2022       Outgoing             Lending Activity            WBTC                                      (136.08)               ($5,318,330.01)
Celsius Network Limited               0x8b17b24250a49053260bd8fcec056abfb80019a5                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,129,253,410.00076                    Undetermined
Celsius Network Limited               0x8b17b24250a49053260bd8fcec056abfb80019a5                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,071,877,574.72654                    Undetermined
Celsius Network Limited               STAKEHOUND                                                                                                    4/27/2022       Incoming             Staking Activity            STMATIC                            42,954.19524                   Undetermined
Celsius Network Limited               0x8b17b24250a49053260bd8fcec056abfb80019a5                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,282,271,505.74261                    Undetermined
Celsius Network Limited               GALAXY DIGITAL                                                                                                4/27/2022       Incoming             Lending Activity            SNX                                     123,225.0                   $726,444.94
Celsius Network Limited               0x90286c53cb72ab0e4381e83ff2d682f5df31f2d7                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,726,881,454.69098                    Undetermined
Celsius Network Limited               FTX                                                                                                           4/27/2022       Outgoing             Exchange Activity           BNT                       (1,544,975.05858357)                   ($3,293,174.70)
Celsius Network Limited               0x90286c53cb72ab0e4381e83ff2d682f5df31f2d7                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,577,004,775.00778                    Undetermined
Celsius Network Limited               0x90286c53cb72ab0e4381e83ff2d682f5df31f2d7                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,523,499,879.04005                    Undetermined
Celsius Network Limited               0xaba7161a7fb69c88e16ed9f455ce62b791ee4d03                                                                    4/27/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,287,238,841.14499                    Undetermined
Celsius Network Limited               0xb586529133d31f4890ae78b62e151671eb41585f                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,928,807,050.26354                    Undetermined
Celsius Network Limited               0x5825df8eb5bbb69a75e6c5b4fb5316b7f08c6952                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,617,600,349.02029                    Undetermined
Celsius Network Limited               0x5825df8eb5bbb69a75e6c5b4fb5316b7f08c6952                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,480,635,528.05389                    Undetermined
Celsius Network Limited               0xb586529133d31f4890ae78b62e151671eb41585f                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,938,281,042.23002                    Undetermined
Celsius Network Limited               0x5825df8eb5bbb69a75e6c5b4fb5316b7f08c6952                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,825,061,860.08929                    Undetermined
Celsius Network Limited               0x5825df8eb5bbb69a75e6c5b4fb5316b7f08c6952                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,138,914,423.44222                    Undetermined
Celsius Network Limited               0xb586529133d31f4890ae78b62e151671eb41585f                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,217,183,045.35043                    Undetermined
Celsius Network Limited               0x5825df8eb5bbb69a75e6c5b4fb5316b7f08c6952                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,853,681,613.13035                    Undetermined
Celsius Network Limited               0xb586529133d31f4890ae78b62e151671eb41585f                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 1,354,949,706.6703                   Undetermined
Celsius Network Limited               0x5825df8eb5bbb69a75e6c5b4fb5316b7f08c6952                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 1,796,592,596.6709                   Undetermined
Celsius Network Limited               0xb586529133d31f4890ae78b62e151671eb41585f                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 1,397,826,303.0825                   Undetermined
Celsius Network Limited               0x5825df8eb5bbb69a75e6c5b4fb5316b7f08c6952                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,564,543,962.27672                    Undetermined
Celsius Network Limited               0xb072126dce1747e0b7629e644f89a1348db21b49                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 1,221,448,226.9105                   Undetermined
Celsius Network Limited               0xb586529133d31f4890ae78b62e151671eb41585f                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,927,678,905.58024                    Undetermined
Celsius Network Limited               0xb072126dce1747e0b7629e644f89a1348db21b49                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,447,984,553.43956                    Undetermined
Celsius Network Limited               0x5825df8eb5bbb69a75e6c5b4fb5316b7f08c6952                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,683,446,526.25162                    Undetermined
Celsius Network Limited               0xb072126dce1747e0b7629e644f89a1348db21b49                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,574,988,099.58373                    Undetermined
Celsius Network Limited               0xb586529133d31f4890ae78b62e151671eb41585f                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,360,278,138.66393                    Undetermined
Celsius Network Limited               0x5825df8eb5bbb69a75e6c5b4fb5316b7f08c6952                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,525,898,583.04852                    Undetermined
Celsius Network Limited               0xb586529133d31f4890ae78b62e151671eb41585f                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,934,384,901.66001                    Undetermined
Celsius Network Limited               0x5825df8eb5bbb69a75e6c5b4fb5316b7f08c6952                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,581,834,233.65913                    Undetermined
Celsius Network Limited               FTX                                                                                                           4/28/2022       Incoming             Exchange Activity           BUSD                                 2,000,000.0                  $2,000,000.00
Celsius Network Limited               0x9d11324b6844b089e691d66181a792f6f01fe06a                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                 1,383,855,640.2871                   Undetermined
Celsius Network Limited               0x9d11324b6844b089e691d66181a792f6f01fe06a                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,740,768,071.27675                    Undetermined
Celsius Network Limited               MATRIXPORT                                                                                                    4/28/2022       Incoming             Lending Activity            BCH                                            0.01                       $3.12
Celsius Network Limited               DRUK HOLDING AND INVESTMENTS                                                                                  4/28/2022       Incoming             Lending Activity            USDT_ERC20                           2,000,000.0                  $2,000,084.46
Celsius Network Limited               0xb586529133d31f4890ae78b62e151671eb41585f                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,800,018,278.99819                    Undetermined
Celsius Network Limited               DRUK HOLDING AND INVESTMENTS                                                                                  4/28/2022       Outgoing             Lending Activity            BTC                                        (55.48)               ($2,200,650.23)
Celsius Network Limited               0x9d11324b6844b089e691d66181a792f6f01fe06a                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,134,200,403.98563                    Undetermined
Celsius Network Limited               0x5825df8eb5bbb69a75e6c5b4fb5316b7f08c6952                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,134,200,403.98563                    Undetermined
Celsius Network Limited               MATRIXPORT                                                                                                    4/28/2022       Incoming             Lending Activity            BCH                                     11,999.99                 $3,727,472.43
Celsius Network Limited               0x076068737412da262570fde7f1013088e55eceb6                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                               9,360.0                Undetermined
Celsius Network Limited               FLOW TRADERS                                                                                                  4/28/2022       Outgoing             Lending Activity            BNB_BSC                                (25,000.0)               ($10,080,801.36)
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                             Doc 15          Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                    SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                              Main Document                           Case Number: 22-10966



          CELSIUS ENTITY                                                            COUNTERPARTY
                                                                                                               Pg 29 of 77           Non-Retail Coin Transactions
                                                                                                                                                      DATE          TYPE                          TRANSACTION TYPE              COIN   COIN QUANTITY                      COIN USD
Celsius Network Limited               0x167fd30c1c12c01a2522b1c97ac95cb7582fe39e                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,084,183,534.72594                   Undetermined
Celsius Network Limited               0xb586529133d31f4890ae78b62e151671eb41585f                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,355,966,639.95204                   Undetermined
Celsius Network Limited               0x9d11324b6844b089e691d66181a792f6f01fe06a                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,501,664,402.07576                   Undetermined
Celsius Network Limited               0x5825df8eb5bbb69a75e6c5b4fb5316b7f08c6952                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,501,664,402.07576                   Undetermined
Celsius Network Limited               0x167fd30c1c12c01a2522b1c97ac95cb7582fe39e                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,268,000,500.14912                   Undetermined
Celsius Network Limited               0xac5e2ff1c025cb31136ad50f6215d333259287f8                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN           52,397,102.3101388                   Undetermined
Celsius Network Limited               0xb586529133d31f4890ae78b62e151671eb41585f                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,324,985,777.78038                   Undetermined
Celsius Network Limited               0x167fd30c1c12c01a2522b1c97ac95cb7582fe39e                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,815,904,249.13428                   Undetermined
Celsius Network Limited               0x5825df8eb5bbb69a75e6c5b4fb5316b7f08c6952                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,727,074,597.5388                  Undetermined
Celsius Network Limited               MATRIXPORT                                                                                                    4/28/2022       Outgoing             Lending Activity            BTC                                   (92.99)              ($3,664,194.02)
Celsius Network Limited               0xd2adc8090987c022d45859b42be0c6b10bf91ece                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,108,354,549.83325                   Undetermined
Celsius Network Limited               0xb586529133d31f4890ae78b62e151671eb41585f                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,578,184,966.62691                   Undetermined
Celsius Network Limited               0xd2adc8090987c022d45859b42be0c6b10bf91ece                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,276,318,782.9036                  Undetermined
Celsius Network Limited               0x167fd30c1c12c01a2522b1c97ac95cb7582fe39e                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,817,562,864.97866                   Undetermined
Celsius Network Limited               FTX                                                                                                           4/28/2022       Incoming             Exchange Activity           BTC                                     275.0              $10,736,409.12
Celsius Network Limited               PAUL JOSEPH BARBER                                                                                            4/28/2022       Outgoing             Customer Rewards            CEL                             (1,192.7709)                   ($2,521.35)
Celsius Network Limited               ARELYS PEREZ                                                                                                  4/28/2022       Outgoing             Customer Rewards            CEL                                 (413.526)                    ($874.14)
Celsius Network Limited               0x497a9a79e82e6fc0ff10a16f6f75e6fcd5ae65a8                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,213,292,038.46134                   Undetermined
Celsius Network Limited               FTX                                                                                                           4/28/2022       Outgoing             Exchange Activity           SUSHI                              (60,000.0)                ($176,844.52)
Celsius Network Limited               0xe15596e4c0195967fb6236338225f338ed2b853f                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,084,370,391.66288                   Undetermined
Celsius Network Limited               FTX                                                                                                           4/28/2022       Incoming             Exchange Activity           USDC                           35,000,000.0                $35,000,000.00
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            4/28/2022       Incoming             Lending Activity            PAXG                                   399.92                 $759,221.27
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    4/28/2022       Incoming             Lending Activity            BTC                                   2,495.0             $100,149,445.49
Celsius Network Limited               0xaba7161a7fb69c88e16ed9f455ce62b791ee4d03                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,424,564,064.31563                   Undetermined
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    4/28/2022       Outgoing             Lending Activity            USDC                        (100,000,000.0)              ($100,000,000.00)
Celsius Network Limited               0x91d4f808c0226fabd9ba3ea08d8c6292b4908961                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,599,581,667.2507                  Undetermined
Celsius Network Limited               FTX                                                                                                           4/28/2022       Outgoing             Exchange Activity           BTC                         (295.99998659)                ($11,829,537.15)
Celsius Network Limited               0x92592ecf8b4e9acf1d73147f69998809cdc13e92                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,750,931,550.24023                   Undetermined
Celsius Network Limited               0x92592ecf8b4e9acf1d73147f69998809cdc13e92                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,160,980,549.12416                   Undetermined
Celsius Network Limited               0xe15596e4c0195967fb6236338225f338ed2b853f                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,409,587,509.91572                   Undetermined
Celsius Network Limited               0x92592ecf8b4e9acf1d73147f69998809cdc13e92                                                                    4/28/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,310,682,346.41895                   Undetermined
Celsius Network Limited               0x0678f4333c70df574ae95ead6a2830640391a29e                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,177,450,549.45869                   Undetermined
Celsius Network Limited               0x0678f4333c70df574ae95ead6a2830640391a29e                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,819,534,249.92755                   Undetermined
Celsius Network Limited               0x0678f4333c70df574ae95ead6a2830640391a29e                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,533,971,870.64472                   Undetermined
Celsius Network Limited               0x9dacb54a59539a6f0117422baf0034ede639b03f                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,508,589,260.83433                   Undetermined
Celsius Network Limited               0x9dacb54a59539a6f0117422baf0034ede639b03f                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,636,988,537.37633                   Undetermined
Celsius Network Limited               0x9dacb54a59539a6f0117422baf0034ede639b03f                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,075,651,222.13554                   Undetermined
Celsius Network Limited               0x9dacb54a59539a6f0117422baf0034ede639b03f                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,587,411,394.75948                   Undetermined
Celsius Network Limited               0x0456b720768deae68e7fbb29f821d912bb8f45a8                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,579,730,417.17193                   Undetermined
Celsius Network Limited               0x0456b720768deae68e7fbb29f821d912bb8f45a8                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,984,589,239.67869                   Undetermined
Celsius Network Limited               0x9dacb54a59539a6f0117422baf0034ede639b03f                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,029,740,277.09835                   Undetermined
Celsius Network Limited               0x0456b720768deae68e7fbb29f821d912bb8f45a8                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,663,104,077.15718                   Undetermined
Celsius Network Limited               0x7aa2f724dd6e051fa985d6e88e12cc4c8626f728                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,220,131,775.88082                   Undetermined
Celsius Network Limited               0x9dacb54a59539a6f0117422baf0034ede639b03f                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,876,846,211.61829                   Undetermined
Celsius Network Limited               0x7aa2f724dd6e051fa985d6e88e12cc4c8626f728                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,359,154,146.01656                   Undetermined
Celsius Network Limited               0x7aa2f724dd6e051fa985d6e88e12cc4c8626f728                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,907,346,261.20853                   Undetermined
Celsius Network Limited               0x9dacb54a59539a6f0117422baf0034ede639b03f                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,017,175,919.47994                   Undetermined
Celsius Network Limited               BITFINEX                                                                                                      4/29/2022       Outgoing             Exchange Activity           ADA                            (1,500,000.0)               ($1,229,606.75)
Celsius Network Limited               0x7aa2f724dd6e051fa985d6e88e12cc4c8626f728                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,147,120,371.79595                   Undetermined
Celsius Network Limited               0x9dacb54a59539a6f0117422baf0034ede639b03f                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,898,455,968.89265                   Undetermined
Celsius Network Limited               EQUITIES FIRST HOLDINGS                                                                                       4/29/2022       Incoming             Lending Activity            BTC                                       0.05                  $1,949.54
Celsius Network Limited               0x446984f6f9e7f3047de693150d263eef6cd79d97                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,133,197,031.91056                   Undetermined
Celsius Network Limited               0x446984f6f9e7f3047de693150d263eef6cd79d97                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,463,069,161.61631                   Undetermined
Celsius Network Limited               KRAKEN                                                                                                        4/29/2022       Incoming             Exchange Activity           DOT                               709,999.95               $11,779,273.20
Celsius Network Limited               0x9dacb54a59539a6f0117422baf0034ede639b03f                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,314,618,913.59209                   Undetermined
Celsius Network Limited               EQUITIES FIRST HOLDINGS                                                                                       4/29/2022       Incoming             Lending Activity            BTC                                     29.95               $1,166,637.24
Celsius Network Limited               0x446984f6f9e7f3047de693150d263eef6cd79d97                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,271,869,710.60103                   Undetermined
Celsius Network Limited               0x9dacb54a59539a6f0117422baf0034ede639b03f                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,831,339,508.98107                   Undetermined
Celsius Network Limited               FLOW TRADERS                                                                                                  4/29/2022       Incoming             Lending Activity            BTC                                    1.4748                  $57,019.77
Celsius Network Limited               POWER BLOCK COIN                                                                                              4/29/2022       Incoming             Lending Activity            ETH                                    445.03               $1,260,592.96
Celsius Network Limited               0x446984f6f9e7f3047de693150d263eef6cd79d97                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,530,997,098.78231                   Undetermined
Celsius Network Limited               0xaba7161a7fb69c88e16ed9f455ce62b791ee4d03                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,610,838,249.92522                   Undetermined
Celsius Network Limited               POWER BLOCK COIN                                                                                              4/29/2022       Outgoing             Lending Activity            BTC                                  (373.38)             ($14,427,933.15)
Celsius Network Limited               FALCONX LIMITED                                                                                               4/29/2022       Outgoing             Lending Activity            DOT                                      (1.0)                    ($16.37)
Celsius Network Limited               FALCONX LIMITED                                                                                               4/29/2022       Outgoing             Lending Activity            DOT                              (999,999.0)              ($16,373,711.07)
Celsius Network Limited               0xd85c20d1a9c8e24eefe7eec1eee046d3df1b5290                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,333,442,961.89022                   Undetermined
Celsius Network Limited               0x446984f6f9e7f3047de693150d263eef6cd79d97                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,991,807,001.01894                   Undetermined
Celsius Network Limited               BITFINEX                                                                                                      4/29/2022       Outgoing             Exchange Activity           MATIC                 (392,666.062613756)                    ($455,492.63)
Celsius Network Limited               0x446984f6f9e7f3047de693150d263eef6cd79d97                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,382,189,920.95703                   Undetermined
Celsius Network Limited               0xd85c20d1a9c8e24eefe7eec1eee046d3df1b5290                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,715,638,475.16722                   Undetermined
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            4/29/2022       Outgoing             Lending Activity            MANA                               (50,000.0)                 ($82,386.95)
Celsius Network Limited               0x459d5789f64cdedebe99f12b8dec681ab2fc5dfe                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,725,369,459.10146                   Undetermined
Celsius Network Limited               0x446984f6f9e7f3047de693150d263eef6cd79d97                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,602,628,538.3415                  Undetermined
Celsius Network Limited               0xd85c20d1a9c8e24eefe7eec1eee046d3df1b5290                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,172,747,165.2097                  Undetermined
Celsius Network Limited               0x459d5789f64cdedebe99f12b8dec681ab2fc5dfe                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,504,827,153.46109                   Undetermined
Celsius Network Limited               0x446984f6f9e7f3047de693150d263eef6cd79d97                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,598,477,898.37519                   Undetermined
Celsius Network Limited               0x459d5789f64cdedebe99f12b8dec681ab2fc5dfe                                                                    4/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,766,545,243.58414                   Undetermined
Celsius Network Limited               0x446984f6f9e7f3047de693150d263eef6cd79d97                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,093,258,221.22057                   Undetermined
Celsius Network Limited               0x459d5789f64cdedebe99f12b8dec681ab2fc5dfe                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,399,947,400.59154                   Undetermined
Celsius Network Limited               0xa07371075534dcb6bd5d16111a7fbaa60226f5f8                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,186,320,556.71545                   Undetermined
Celsius Network Limited               0xa07371075534dcb6bd5d16111a7fbaa60226f5f8                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,123,597,325.76476                   Undetermined
Celsius Network Limited               0x446984f6f9e7f3047de693150d263eef6cd79d97                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,158,522,263.5985                  Undetermined
Celsius Network Limited               0x459d5789f64cdedebe99f12b8dec681ab2fc5dfe                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,704,549,018.84157                   Undetermined
Celsius Network Limited               0x446984f6f9e7f3047de693150d263eef6cd79d97                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,966,295,886.22368                   Undetermined
Celsius Network Limited               0xaa31953328615e5e0dfdedce1f647b2e28c72c1b                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,915,359,551.39876                   Undetermined
Celsius Network Limited               0xaa31953328615e5e0dfdedce1f647b2e28c72c1b                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,113,513,035.51403                   Undetermined
Celsius Network Limited               0xaa31953328615e5e0dfdedce1f647b2e28c72c1b                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,944,272,903.72617                   Undetermined
Celsius Network Limited               0xaa31953328615e5e0dfdedce1f647b2e28c72c1b                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,800,979,784.41649                   Undetermined
Celsius Network Limited               0xef6e5887d9c991260bec3254a546e48946198496                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,193,042,036.60627                   Undetermined
Celsius Network Limited               0xef6e5887d9c991260bec3254a546e48946198496                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,530,886,182.79075                   Undetermined
Celsius Network Limited               0xef6e5887d9c991260bec3254a546e48946198496                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,703,531,967.62132                   Undetermined
Celsius Network Limited               0xb3d8d0b01f95113d8c4a9067fe8e9ddbdaa30162                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,838,895,287.38593                   Undetermined
Celsius Network Limited               0xb3d8d0b01f95113d8c4a9067fe8e9ddbdaa30162                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN             1,198,038,733.274                  Undetermined
Celsius Network Limited               0xef6e5887d9c991260bec3254a546e48946198496                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,701,041,004.87973                   Undetermined
Celsius Network Limited               0xb3d8d0b01f95113d8c4a9067fe8e9ddbdaa30162                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,079,835,910.12399                   Undetermined
Celsius Network Limited               0xef6e5887d9c991260bec3254a546e48946198496                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,438,989,049.81273                   Undetermined
Celsius Network Limited               FTX                                                                                                           4/30/2022       Outgoing             Exchange Activity           LINK                               (80,000.0)                ($948,495.70)
Celsius Network Limited               0xef6e5887d9c991260bec3254a546e48946198496                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,455,170,826.36946                   Undetermined
Celsius Network Limited               KENETIC TRADING LTD                                                                                           4/30/2022       Incoming             Lending Activity            BTC                                       6.33                $243,129.92
Celsius Network Limited               KENETIC TRADING LTD                                                                                           4/30/2022       Outgoing             Lending Activity            ZRX                            (1,500,000.0)               ($1,194,480.34)
Celsius Network Limited               0xa858ddc0445d8131dac4d1de01f834ffcba52ef1                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,448,332,117.61778                   Undetermined
Celsius Network Limited               0xef6e5887d9c991260bec3254a546e48946198496                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,376,911,501.07725                   Undetermined
Celsius Network Limited               0x9f0656c3181ac73a89a5063be3fdd1f7aea61a21                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,202,553,194.01846                   Undetermined
Celsius Network Limited               0xef6e5887d9c991260bec3254a546e48946198496                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,958,525,556.28798                   Undetermined
Celsius Network Limited               FALCONX LIMITED                                                                                               4/30/2022       Incoming             Lending Activity            LINK                                      10.0                    $115.97
Celsius Network Limited               0x9f0656c3181ac73a89a5063be3fdd1f7aea61a21                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,121,214,292.00918                   Undetermined
Celsius Network Limited               FALCONX LIMITED                                                                                               4/30/2022       Incoming             Lending Activity            LINK                              281,116.66                $3,260,019.25
Celsius Network Limited               0xef6e5887d9c991260bec3254a546e48946198496                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,510,005,431.74233                   Undetermined
Celsius Network Limited               0x9f0656c3181ac73a89a5063be3fdd1f7aea61a21                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,645,636,668.12015                   Undetermined
Celsius Network Limited               0x9f0656c3181ac73a89a5063be3fdd1f7aea61a21                                                                    4/30/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,785,074,265.43665                   Undetermined
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                            5/1/2022        Incoming             Lending Activity            DOT                               112,528.32                $1,680,220.89
Celsius Network Limited               FTX                                                                                                           5/1/2022        Incoming             Exchange Activity           SNX                      226,821.63032118                   $1,006,583.12
Celsius Network Limited               0xd0c8e0df6bd9c70af51e1f6386555d0411e0827c                                                                    5/1/2022        Incoming             Blockchain Transaction      PCRM                           8.860277805                  Undetermined
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                            5/1/2022        Incoming             Lending Activity            ADA                            1,804,651.65                 $1,388,390.40
Celsius Network Limited               MENAI MARKETS UK                                                                                              5/1/2022        Incoming             Lending Activity            XRP                                       50.0                     $29.59
Celsius Network Limited               0x4d2c8e50b1757771e9830113e01eaf05364735df                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,622,674,913.80208                   Undetermined
Celsius Network Limited               0x4d2c8e50b1757771e9830113e01eaf05364735df                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,539,696,036.93827                   Undetermined
Celsius Network Limited               0x4d2c8e50b1757771e9830113e01eaf05364735df                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,830,093,966.25159                   Undetermined
Celsius Network Limited               0x9f0656c3181ac73a89a5063be3fdd1f7aea61a21                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,483,730,252.56731                   Undetermined
Celsius Network Limited               MENAI MARKETS UK                                                                                              5/1/2022        Incoming             Lending Activity            XRP                            2,054,360.94                 $1,216,245.01
Celsius Network Limited               0x4d2c8e50b1757771e9830113e01eaf05364735df                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,685,612,027.56165                   Undetermined
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/1/2022        Incoming             Lending Activity            BTC                                     10.67                 $405,618.27
Celsius Network Limited               0x9f0656c3181ac73a89a5063be3fdd1f7aea61a21                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,943,757,887.58225                   Undetermined
Celsius Network Limited               0x32372dd05a0341921d4c578652beedcd147cfa48                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,840,077,544.78574                   Undetermined
Celsius Network Limited               0x4d2c8e50b1757771e9830113e01eaf05364735df                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN             1,667,531,834.819                  Undetermined
Celsius Network Limited               0x32372dd05a0341921d4c578652beedcd147cfa48                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,788,282,499.10568                   Undetermined
Celsius Network Limited               0x9f0656c3181ac73a89a5063be3fdd1f7aea61a21                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,679,301,462.44176                   Undetermined
Celsius Network Limited               0x4d2c8e50b1757771e9830113e01eaf05364735df                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,585,685,243.90373                   Undetermined
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/1/2022        Outgoing             Lending Activity            ADA                            (1,000,000.0)                 ($772,576.77)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/1/2022        Outgoing             Lending Activity            MANA                             (500,000.0)                 ($730,786.77)
Celsius Network Limited               0x32372dd05a0341921d4c578652beedcd147cfa48                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,778,599,382.74666                   Undetermined
Celsius Network Limited               FTX                                                                                                           5/1/2022        Incoming             Exchange Activity           USDC                             6,000,000.0                $6,000,000.00
Celsius Network Limited               0x32372dd05a0341921d4c578652beedcd147cfa48                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,678,024,965.74867                   Undetermined
Celsius Network Limited               FTX                                                                                                           5/1/2022        Outgoing             Exchange Activity           MATIC_POLYGON          (814,239.53493017)                    ($908,246.52)
Celsius Network Limited               FTX                                                                                                           5/1/2022        Incoming             Exchange Activity           MATIC                    814,239.53493017                     $911,948.28
Celsius Network Limited               0xe53c9cbfc1314b6cf6ba508230457df130552bc6                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,458,855,724.79537                   Undetermined
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/1/2022        Incoming             Lending Activity            BNB_BSC                       108.21917809                     $41,990.38
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/1/2022        Incoming             Lending Activity            BSV                            12.32876712                        $912.75
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/1/2022        Incoming             Lending Activity            DOT                         1,068.49315068                     $16,363.45
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/1/2022        Incoming             Lending Activity            EOS                                 369.8619                      $772.61
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/1/2022        Incoming             Lending Activity            LUNA                             231.506849                    $18,975.66
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/1/2022        Incoming             Lending Activity            ETC                           102.73972603                      $2,829.71
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/1/2022        Incoming             Lending Activity            ADA                     54,246.5753419999                      $42,899.85
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/1/2022        Incoming             Lending Activity            USDC                         63,698.630137                     $63,698.63
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/1/2022        Incoming             Lending Activity            SNX                         3,493.15068493                     $16,590.82
Celsius Network Limited               0x0640aba3d9150823c46c806a2786c1235d1bcc3e                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,963,324,103.17335                   Undetermined
Celsius Network Limited               0x0640aba3d9150823c46c806a2786c1235d1bcc3e                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,468,905,508.51917                   Undetermined
Celsius Network Limited               0x2b3ab8e7bb14988616359b78709538b10900ab7d                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,552,698,993.96932                   Undetermined
Celsius Network Limited               0x0640aba3d9150823c46c806a2786c1235d1bcc3e                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,720,612,186.74101                   Undetermined
Celsius Network Limited               0x7d83567a83b9aa5ea314a8984b6f2f1c0b6b433a                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,390,078,551.14569                   Undetermined
Celsius Network Limited               0x0640aba3d9150823c46c806a2786c1235d1bcc3e                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,728,570,240.66905                   Undetermined
Celsius Network Limited               0x7d83567a83b9aa5ea314a8984b6f2f1c0b6b433a                                                                    5/1/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,416,408,810.27836                   Undetermined
Celsius Network Limited               0x0640aba3d9150823c46c806a2786c1235d1bcc3e                                                                    5/2/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,302,068,345.49424                   Undetermined
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                    5/2/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,361,426,060.85037                   Undetermined
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                    5/2/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,522,377,707.41579                   Undetermined
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                    5/2/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,638,058,344.10256                   Undetermined
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                    5/2/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          32,107,180,388.8319                   Undetermined
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                    5/2/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,470,292,336.30595                   Undetermined
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                    5/2/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,634,794,154.01599                   Undetermined
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                    5/2/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,070,750,134.90844                   Undetermined
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                             Doc 15          Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                    SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                              Main Document                           Case Number: 22-10966



          CELSIUS ENTITY                                                            COUNTERPARTY
                                                                                                               Pg 30 of 77           Non-Retail Coin Transactions
                                                                                                                                                      DATE          TYPE                          TRANSACTION TYPE              COIN   COIN QUANTITY                      COIN USD
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/2/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,715,198,038.41084                    Undetermined
Celsius Network Limited               0x0000000000000000000000000000000000000000                                                                     5/2/2022       Incoming             Blockchain Transaction      NDC                                   2,700.0                Undetermined
Celsius Network Limited               FTX                                                                                                            5/2/2022       Incoming             Exchange Activity           TERRA_USD                     110,664.3673                     $110,664.37
Celsius Network Limited               FTX                                                                                                            5/2/2022       Outgoing             Exchange Activity           CRV                   (58,238.3849135596)                     ($120,475.46)
Celsius Network Limited               FTX                                                                                                            5/2/2022       Outgoing             Exchange Activity           BAL                                      (1.0)                     ($12.70)
Celsius Network Limited               FTX                                                                                                            5/2/2022       Outgoing             Exchange Activity           BADGER                                   (1.0)                      ($7.81)
Celsius Network Limited               FTX                                                                                                            5/2/2022       Outgoing             Exchange Activity           BAL                                 (5,779.0)                  ($72,849.79)
Celsius Network Limited               FTX                                                                                                            5/2/2022       Outgoing             Exchange Activity           BADGER                (4,491.79223745702)                      ($34,938.00)
Celsius Network Limited               KENETIC TRADING LTD                                                                                            5/2/2022       Incoming             Lending Activity            BTC                                       3.14                 $122,453.19
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/2/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,397,297,757.76517                    Undetermined
Celsius Network Limited               KENETIC TRADING LTD                                                                                            5/2/2022       Outgoing             Lending Activity            MANA                             (400,000.0)                  ($601,488.21)
Celsius Network Limited               TETHER                                                                                                         5/2/2022       Outgoing             Lending Activity            EURT_ERC20                       (97,581.02)                  ($103,080.04)
Celsius Network Limited               TETHER                                                                                                         5/2/2022       Outgoing             Lending Activity            USDT_ERC20                   (2,789,566.67)                 ($2,789,797.54)
Celsius Network Limited               0x1ce05916f56fd76a6fa1027450ed3c36277bc847                                                                     5/2/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,362,253,048.61827                    Undetermined
Celsius Network Limited               0x1ce05916f56fd76a6fa1027450ed3c36277bc847                                                                     5/2/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,399,623,072.17309                    Undetermined
Celsius Network Limited               PHAROS                                                                                                         5/2/2022       Outgoing             Lending Activity            USDC                          (35,342.4658)                    ($35,342.47)
Celsius Network Limited               PHAROS                                                                                                         5/2/2022       Outgoing             Lending Activity            USDC                        (556,301.3698)                    ($556,301.37)
Celsius Network Limited               PHAROS                                                                                                         5/2/2022       Outgoing             Lending Activity            USDC                        (229,006.8493)                    ($229,006.85)
Celsius Network Limited               FLOW TRADERS                                                                                                   5/2/2022       Incoming             Lending Activity            USDC                              8,493.1507                     $8,493.15
Celsius Network Limited               0x1ce05916f56fd76a6fa1027450ed3c36277bc847                                                                     5/2/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,796,332,281.95555                    Undetermined
Celsius Network Limited               0xa858ddc0445d8131dac4d1de01f834ffcba52ef1                                                                     5/2/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,770,759,561.85742                    Undetermined
Celsius Network Limited               0x9e1c95d2435ffa5fa3adfe1b1ec758142b26db59                                                                     5/2/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,477,122,449.79599                    Undetermined
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/2/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,290,275,167.96551                    Undetermined
Celsius Network Limited               FLOW TRADERS                                                                                                   5/2/2022       Incoming             Lending Activity            BNB_BSC                                3.6986                    $1,436.99
Celsius Network Limited               FTX                                                                                                            5/2/2022       Outgoing             Exchange Activity           XRP                     (4,999,999.999985)                  ($3,074,734.58)
Celsius Network Limited               FTX                                                                                                            5/2/2022       Outgoing             Exchange Activity           USDC_AVAX                               (10.0)                      ($9.99)
Celsius Network Limited               DRUK HOLDING AND INVESTMENTS                                                                                   5/2/2022       Incoming             Lending Activity            USDT_ERC20                      225,660.274                    $225,671.98
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/2/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,981,522,599.24802                    Undetermined
Celsius Network Limited               FTX                                                                                                            5/2/2022       Incoming             Exchange Activity           USDC_AVAX                                 10.0                       $9.99
Celsius Network Limited               CMS HOLDINGS LLC                                                                                               5/2/2022       Incoming             Lending Activity            USDT_ERC20                      65,753.4247                     $65,764.67
Celsius Network Limited               CMS HOLDINGS LLC                                                                                               5/2/2022       Incoming             Lending Activity            LUNA                                660.0152                    $55,524.11
Celsius Network Limited               KRAKEN                                                                                                         5/2/2022       Outgoing             Exchange Activity           DOT                              (115,000.0)                ($1,733,335.79)
Celsius Network Limited               TDX SG PTE LTD                                                                                                 5/2/2022       Outgoing             Lending Activity            USDC                               (4,520.55)                   ($4,520.55)
Celsius Network Limited               FTX                                                                                                            5/2/2022       Outgoing             Exchange Activity           FTM                             (1,183.5617)                      ($924.24)
Celsius Network Limited               B2C2 LTD                                                                                                       5/2/2022       Outgoing             Lending Activity            BTC                                   (30.41)               ($1,176,468.05)
Celsius Network Limited               B2C2 LTD                                                                                                       5/2/2022       Outgoing             Lending Activity            ETH                                  (141.82)                 ($399,970.69)
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/2/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,133,538,077.52467                    Undetermined
Celsius Network Limited               FLOW TRADERS                                                                                                   5/2/2022       Outgoing             Lending Activity            SOL                                      (0.1)                      ($8.73)
Celsius Network Limited               FTX                                                                                                            5/2/2022       Outgoing             Exchange Activity           MATIC_POLYGON         (186,888.188279938)                     ($201,674.07)
Celsius Network Limited               FLOW TRADERS                                                                                                   5/2/2022       Outgoing             Lending Activity            SOL                                 (9,999.9)                 ($873,057.37)
Celsius Network Limited               FTX                                                                                                            5/2/2022       Incoming             Exchange Activity           MATIC                    186,888.18827994                      $201,652.36
Celsius Network Limited               168 TRADING LIMITED                                                                                            5/2/2022       Incoming             Lending Activity            DOT                                 520.2012                     $7,647.20
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                5/2/2022       Incoming             Lending Activity            USDT_ERC20                                20.0                      $20.00
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                         5/2/2022       Incoming             Lending Activity            LTC                            208.3333332                      $20,685.08
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                         5/2/2022       Incoming             Lending Activity            ETC                            125.0000001                       $3,358.37
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                         5/2/2022       Incoming             Lending Activity            EOS                                    693.75                    $1,432.02
Celsius Network Limited               JANE STREET                                                                                                    5/2/2022       Incoming             Lending Activity            LINK                           287.0274999                       $3,117.82
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                         5/2/2022       Incoming             Lending Activity            ZRX                          9,041.6666667                       $6,255.15
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                         5/2/2022       Incoming             Lending Activity            BCH                                 35.15625                     $9,883.74
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                5/2/2022       Incoming             Lending Activity            USDT_ERC20                       4,999,980.0                 $5,000,212.58
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                         5/2/2022       Incoming             Lending Activity            USDT_ERC20                         442,500.0                   $442,520.58
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                5/2/2022       Incoming             Lending Activity            USDT_ERC20                       5,000,000.0                 $5,000,232.58
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                         5/2/2022       Incoming             Lending Activity            ADA                                  25,000.0                   $19,155.29
Celsius Network Limited               FTX                                                                                                            5/2/2022       Outgoing             Exchange Activity           USDC                           (6,500,000.0)                ($6,500,000.00)
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                5/2/2022       Incoming             Lending Activity            USDT_ERC20                       5,000,000.0                 $5,000,232.58
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                         5/2/2022       Incoming             Lending Activity            XLM                             36,640.2307                      $6,290.26
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                5/2/2022       Outgoing             Lending Activity            USDC                                    (20.0)                     ($20.00)
Celsius Network Limited               FTX                                                                                                            5/2/2022       Incoming             Exchange Activity           USDC_AVAX                      25,000,000.0                 $25,025,000.00
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                5/2/2022       Outgoing             Lending Activity            USDC                           (7,499,980.0)                ($7,499,980.00)
Celsius Network Limited               NASCENT LP                                                                                                     5/2/2022       Incoming             Lending Activity            SNX                                  50,000.0                  $222,957.57
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/2/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,634,197,602.36544                    Undetermined
Celsius Network Limited               NASCENT LP                                                                                                     5/2/2022       Incoming             Lending Activity            SNX                                590,000.0                 $2,630,899.33
Celsius Network Limited               FTX                                                                                                            5/2/2022       Incoming             Exchange Activity           CEL                              5,034,178.0                $10,610,729.15
Celsius Network Limited               FTX                                                                                                            5/2/2022       Incoming             Exchange Activity           ETH                       27,120.87676292                   $76,295,978.52
Celsius Network Limited               NASCENT LP                                                                                                     5/2/2022       Outgoing             Lending Activity            WBTC                                  (96.97)               ($3,716,584.33)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                     5/2/2022       Outgoing             Lending Activity            BTC                                   (375.0)              ($14,418,092.99)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                     5/2/2022       Incoming             Lending Activity            TRX                           220,000,000.0                 $14,597,141.96
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/2/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,903,993,212.29274                    Undetermined
Celsius Network Limited               REDRIVERTRADING                                                                                                5/2/2022       Incoming             Lending Activity            USDC                            10,356.1644                     $10,356.16
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/2/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,593,907,637.23496                    Undetermined
Celsius Network Limited               0x625f2c0144b5fe24ee9c6f68aecd5c3c40d052a1                                                                     5/2/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,794,055,659.65772                    Undetermined
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/2/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,153,004,218.16114                    Undetermined
Celsius Network Limited               0x625f2c0144b5fe24ee9c6f68aecd5c3c40d052a1                                                                     5/2/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,107,159,046.27932                    Undetermined
Celsius Network Limited               0x625f2c0144b5fe24ee9c6f68aecd5c3c40d052a1                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,446,003,941.98813                    Undetermined
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,283,573,495.88457                    Undetermined
Celsius Network Limited               THREE ARROWS CAPITAL                                                                                           5/3/2022       Incoming             Lending Activity            BTC                                    7.3973                  $284,695.31
Celsius Network Limited               0x625f2c0144b5fe24ee9c6f68aecd5c3c40d052a1                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN           17,330,603.0335407                    Undetermined
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,588,180,293.57644                    Undetermined
Celsius Network Limited               PARALLEL CAPITAL                                                                                               5/3/2022       Incoming             Lending Activity            BTC                                    0.1562                    $5,996.92
Celsius Network Limited               PARALLEL CAPITAL                                                                                               5/3/2022       Incoming             Lending Activity            ETH                                    3.5754                   $10,135.49
Celsius Network Limited               FOLKVANG                                                                                                       5/3/2022       Incoming             Lending Activity            ETH                                    1.1507                    $3,261.99
Celsius Network Limited               FOLKVANG                                                                                                       5/3/2022       Incoming             Lending Activity            USDC                          104,712.3288                     $104,712.33
Celsius Network Limited               FOLKVANG                                                                                                       5/3/2022       Incoming             Lending Activity            BTC                                    0.0486                    $1,865.88
Celsius Network Limited               0x625f2c0144b5fe24ee9c6f68aecd5c3c40d052a1                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,748,028,361.05632                    Undetermined
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,969,988,803.72208                    Undetermined
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                  5/3/2022       Incoming             Lending Activity            USDT_ERC20                        3,747.9452                     $3,747.94
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,325,705,473.16803                    Undetermined
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,549,717,975.96563                    Undetermined
Celsius Network Limited               0xb90f3d2f48c4683fa426148a65470b8c6a59f753                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,842,330,834.87432                    Undetermined
Celsius Network Limited               0xb90f3d2f48c4683fa426148a65470b8c6a59f753                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,435,156,162.59574                    Undetermined
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,298,568,110.79604                    Undetermined
Celsius Network Limited               0xb90f3d2f48c4683fa426148a65470b8c6a59f753                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,508,876,278.55874                    Undetermined
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,362,415,194.1914                   Undetermined
Celsius Network Limited               0xb90f3d2f48c4683fa426148a65470b8c6a59f753                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,948,769,432.74077                    Undetermined
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                          5/3/2022       Incoming             Lending Activity            USDT_ERC20                     10,000,000.0                 $10,000,023.31
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,707,036,200.69305                    Undetermined
Celsius Network Limited               KEYROCK                                                                                                        5/3/2022       Incoming             Lending Activity            BTC                              0.07319998                      $2,822.70
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,312,824,025.45108                    Undetermined
Celsius Network Limited               0xb90f3d2f48c4683fa426148a65470b8c6a59f753                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,358,789,462.05475                    Undetermined
Celsius Network Limited               0x542b73701cc57060d308ec603781baff0184424b                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,262,755,006.38841                    Undetermined
Celsius Network Limited               NICKEL                                                                                                         5/3/2022       Outgoing             Lending Activity            USDT_ERC20                       (98,630.14)                   ($98,637.03)
Celsius Network Limited               0x542b73701cc57060d308ec603781baff0184424b                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,441,676,346.94506                    Undetermined
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                          5/3/2022       Outgoing             Lending Activity            BTC                                   (61.58)               ($2,369,144.54)
Celsius Network Limited               BITFINEX                                                                                                       5/3/2022       Outgoing             Exchange Activity           USDT_ERC20                   (10,000,000.0)                ($10,000,152.30)
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,703,566,319.99422                    Undetermined
Celsius Network Limited               0x542b73701cc57060d308ec603781baff0184424b                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,046,611,791.91317                    Undetermined
Celsius Network Limited               VEXIL CAPITAL                                                                                                  5/3/2022       Incoming             Lending Activity            BNB_BSC                              17.3492                     $6,717.33
Celsius Network Limited               VEXIL CAPITAL                                                                                                  5/3/2022       Incoming             Lending Activity            XRP                               4,214.9631                     $2,599.87
Celsius Network Limited               VEXIL CAPITAL                                                                                                  5/3/2022       Incoming             Lending Activity            DOGE                              8,693.3614                     $1,134.67
Celsius Network Limited               VEXIL CAPITAL                                                                                                  5/3/2022       Incoming             Lending Activity            MANA                                220.1565                       $335.44
Celsius Network Limited               0xc511f0ff214c6f0991166846b61945a875606cc3                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,235,885,411.77308                    Undetermined
Celsius Network Limited               0xfa9a736d3a48a9f0beaac151363f5c8f6aabecd4                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,902,046,858.61371                    Undetermined
Celsius Network Limited               0xfa9a736d3a48a9f0beaac151363f5c8f6aabecd4                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,575,308,930.55353                    Undetermined
Celsius Network Limited               FTX                                                                                                            5/3/2022       Outgoing             Exchange Activity           UNI                   (51,000.0548842479)                     ($358,677.45)
Celsius Network Limited               WINTERMUTE                                                                                                     5/3/2022       Incoming             Lending Activity            ADA                               12,580.274                     $9,951.90
Celsius Network Limited               WINTERMUTE                                                                                                     5/3/2022       Incoming             Lending Activity            BAT                               2,741.9178                     $1,637.94
Celsius Network Limited               WINTERMUTE                                                                                                     5/3/2022       Incoming             Lending Activity            BTC                                    1.1888                   $45,574.04
Celsius Network Limited               WINTERMUTE                                                                                                     5/3/2022       Incoming             Lending Activity            ETH                                  24.1781                    $68,467.42
Celsius Network Limited               WINTERMUTE                                                                                                     5/3/2022       Incoming             Lending Activity            KNC                               1,541.0959                     $5,874.27
Celsius Network Limited               WINTERMUTE                                                                                                     5/3/2022       Incoming             Lending Activity            LINK                                164.3835                     $1,844.20
Celsius Network Limited               WINTERMUTE                                                                                                     5/3/2022       Incoming             Lending Activity            MANA                                493.1507                       $753.54
Celsius Network Limited               WINTERMUTE                                                                                                     5/3/2022       Incoming             Lending Activity            SNX                                 688.3562                     $3,284.00
Celsius Network Limited               WINTERMUTE                                                                                                     5/3/2022       Incoming             Lending Activity            UMA                                  11.5068                        $62.75
Celsius Network Limited               WINTERMUTE                                                                                                     5/3/2022       Incoming             Lending Activity            UNI                               3,698.6301                    $26,075.40
Celsius Network Limited               WINTERMUTE                                                                                                     5/3/2022       Incoming             Lending Activity            OMG                               1,339.0411                     $5,191.16
Celsius Network Limited               WINTERMUTE                                                                                                     5/3/2022       Incoming             Lending Activity            BNB_BSC                              92.0548                    $35,507.84
Celsius Network Limited               WINTERMUTE                                                                                                     5/3/2022       Incoming             Lending Activity            EOS                               1,697.2603                     $3,539.60
Celsius Network Limited               0xfa9a736d3a48a9f0beaac151363f5c8f6aabecd4                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,712,856,428.90653                    Undetermined
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                             5/3/2022       Incoming             Lending Activity            USDC                              177,510.26                   $177,510.26
Celsius Network Limited               BITFINEX                                                                                                       5/3/2022       Incoming             Exchange Activity           ETH                             7,999.99874                 $22,636,750.95
Celsius Network Limited               NASCENT LP                                                                                                     5/3/2022       Incoming             Lending Activity            WBTC                                    15.51                  $595,185.69
Celsius Network Limited               NASCENT LP                                                                                                     5/3/2022       Outgoing             Lending Activity            UMA                                (90,000.0)                 ($492,439.44)
Celsius Network Limited               0xfa9a736d3a48a9f0beaac151363f5c8f6aabecd4                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,771,666,189.39559                    Undetermined
Celsius Network Limited               FTX                                                                                                            5/3/2022       Incoming             Exchange Activity           KNC                                  35,000.0                  $129,504.59
Celsius Network Limited               BLOCKFILLS                                                                                                     5/3/2022       Incoming             Lending Activity            BTC                                        3.0                 $114,024.93
Celsius Network Limited               0xf18f95563c1b7a1db7a53a636a017a4331df0978                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,570,915,331.19338                    Undetermined
Celsius Network Limited               0xf18f95563c1b7a1db7a53a636a017a4331df0978                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,816,823,772.55064                    Undetermined
Celsius Network Limited               TNMZkTXj2PKKCqbeUzw7xC685Zn4xocGGy                                                                             5/3/2022       Incoming             Dust                        TRX                                 0.000001                         $0.00
Celsius Network Limited               TXxD1oN9y4V89mpeqVpTAqm37Hb2oiyR8e                                                                             5/3/2022       Incoming             Dust                        TRX                                 0.000001                         $0.00
Celsius Network Limited               TAWQKFJFHYzxppPT5SJ1d2fSyGrtH8twL2                                                                             5/3/2022       Incoming             Dust                        TRX                                 0.000001                         $0.00
Celsius Network Limited               TNMZkTXj2PKKCqbeUzw7xC685Zn4xocGGy                                                                             5/3/2022       Incoming             Dust                        TRX                                 0.000001                         $0.00
Celsius Network Limited               WINTERMUTE                                                                                                     5/3/2022       Incoming             Lending Activity            USDT_ERC20                    221,917.8082                     $221,937.83
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                     5/3/2022       Outgoing             Lending Activity            TRX                    (76,999,998.800001)                  ($5,488,813.93)
Celsius Network Limited               WINTERMUTE                                                                                                     5/3/2022       Outgoing             OTC Transaction             BETH_BSC                            (1,800.0)               ($4,864,866.06)
Celsius Network Limited               TAz1J3rXYoGEBVDPvDCkebq5quGi651Qpw                                                                             5/3/2022       Incoming             Dust                        TRX                                 0.000001                         $0.00
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                     5/3/2022       Incoming             Lending Activity            BTC                                     147.0                $5,540,306.07
Celsius Network Limited               MEMETIC CAPITAL LP                                                                                             5/3/2022       Incoming             Lending Activity            USDC                            59,178.0822                     $59,178.08
Celsius Network Limited               BITFINEX                                                                                                       5/3/2022       Outgoing             Exchange Activity           BTC                                (1,633.35)              ($61,565,020.45)
Celsius Network Limited               0xf18f95563c1b7a1db7a53a636a017a4331df0978                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,737,102,414.07894                    Undetermined
Celsius Network Limited               FALCONX LIMITED                                                                                                5/3/2022       Incoming             Lending Activity            BNB_BSC                                 0.033                       $12.62
Celsius Network Limited               FALCONX LIMITED                                                                                                5/3/2022       Incoming             Lending Activity            BNB_BSC                              540.417                   $206,735.89
Celsius Network Limited               FTX                                                                                                            5/3/2022       Incoming             Exchange Activity           DOGE                             6,000,000.0                   $770,272.26
Celsius Network Limited               FALCONX LIMITED                                                                                                5/3/2022       Incoming             Lending Activity            BNB_BSC                                   0.09                      $34.43
Celsius Network Limited               0x21d0d2a20d0bf1a4bc4bfd6b82bf6baca52a5c80                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,738,632,349.23468                    Undetermined
Celsius Network Limited               WINTERMUTE                                                                                                     5/3/2022       Incoming             OTC Transaction             ETH                                   1,740.6                $4,839,239.52
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                              5/3/2022       Incoming             Lending Activity            BNB_BSC                                    1.0                     $383.58
Celsius Network Limited               POWER BLOCK COIN                                                                                               5/3/2022       Outgoing             Lending Activity            BTC                                   (89.81)               ($3,399,831.61)
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                              5/3/2022       Incoming             Lending Activity            BNB_BSC                               3,999.0                $1,533,920.38
Celsius Network Limited               JANE STREET                                                                                                    5/3/2022       Outgoing             Lending Activity            EOS                                  (9.5034)                      ($19.54)
Celsius Network Limited               JANE STREET                                                                                                    5/3/2022       Outgoing             Lending Activity            LINK                                 (3.9319)                      ($43.45)
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                             Doc 15          Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                    SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                              Main Document                            Case Number: 22-10966



          CELSIUS ENTITY                                                            COUNTERPARTY
                                                                                                               Pg 31 of 77           Non-Retail Coin Transactions
                                                                                                                                                      DATE          TYPE                          TRANSACTION TYPE              COIN   COIN QUANTITY                       COIN USD
Celsius Network Limited               JANE STREET                                                                                                    5/3/2022       Outgoing             Lending Activity            LTC                                   (2.8538)                    ($281.61)
Celsius Network Limited               JANE STREET                                                                                                    5/3/2022       Outgoing             Lending Activity            ADA                               (342.4658)                      ($263.55)
Celsius Network Limited               JANE STREET                                                                                                    5/3/2022       Outgoing             Lending Activity            ZRX                               (123.8585)                       ($85.34)
Celsius Network Limited               JANE STREET                                                                                                    5/3/2022       Outgoing             Lending Activity            USDT_ERC20                          (61.6438)                      ($61.65)
Celsius Network Limited               JANE STREET                                                                                                    5/3/2022       Outgoing             Lending Activity            ETC                                   (1.7123)                     ($46.28)
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                              5/3/2022       Outgoing             Lending Activity            BTC                                    (44.12)              ($1,667,219.49)
Celsius Network Limited               0x21d0d2a20d0bf1a4bc4bfd6b82bf6baca52a5c80                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,755,151,220.22052                    Undetermined
Celsius Network Limited               FTX                                                                                                            5/3/2022       Incoming             Exchange Activity           BTC                         1,550.56906327                  $58,593,358.27
Celsius Network Limited               0xf18f95563c1b7a1db7a53a636a017a4331df0978                                                                     5/3/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,909,124,182.96348                    Undetermined
Celsius Network Limited               0xf18f95563c1b7a1db7a53a636a017a4331df0978                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,578,597,700.37801                    Undetermined
Celsius Network Limited               KENETIC TRADING LTD                                                                                            5/4/2022       Incoming             Lending Activity            BTC                                        15.0                $568,523.37
Celsius Network Limited               FTX                                                                                                            5/4/2022       Incoming             Exchange Activity           FTT                                  15,000.0                  $569,550.00
Celsius Network Limited               0x8750d3ff80519b2b8b272a751fab31dfb8c4bf69                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,081,336,151.46186                    Undetermined
Celsius Network Limited               0x8750d3ff80519b2b8b272a751fab31dfb8c4bf69                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,325,259,997.10556                    Undetermined
Celsius Network Limited               0x8750d3ff80519b2b8b272a751fab31dfb8c4bf69                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,353,627,552.69238                    Undetermined
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Outgoing             Lending Activity            FTT                                (15,000.0)                 ($571,200.00)
Celsius Network Limited               0x8750d3ff80519b2b8b272a751fab31dfb8c4bf69                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,512,223,658.70952                    Undetermined
Celsius Network Limited               BABEL LENDING                                                                                                  5/4/2022       Incoming             Lending Activity            USDT_ERC20                      13,972.6027                     $13,972.77
Celsius Network Limited               DRUK HOLDING AND INVESTMENTS                                                                                   5/4/2022       Incoming             Lending Activity            ETH                                         0.1                    $279.62
Celsius Network Limited               DRUK HOLDING AND INVESTMENTS                                                                                   5/4/2022       Incoming             Lending Activity            ETH                                     857.04               $2,396,412.61
Celsius Network Limited               0x4b5aa23e1755f3904ef9d0a7af6b4d56333e80ba                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,318,422,262.76567                    Undetermined
Celsius Network Limited               0x4b5aa23e1755f3904ef9d0a7af6b4d56333e80ba                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               1,453,084,887.57                  Undetermined
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                     5/4/2022       Incoming             Lending Activity            EOS                                  1,499.85                    $3,134.73
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                     5/4/2022       Incoming             Lending Activity            BTC                                   17.0254                  $655,130.64
Celsius Network Limited               DRUK HOLDING AND INVESTMENTS                                                                                   5/4/2022       Outgoing             Lending Activity            USDT_ERC20                               (10.0)                    ($10.00)
Celsius Network Limited               FTX                                                                                                            5/4/2022       Incoming             Exchange Activity           BUSD                             1,000,000.0                 $1,002,000.00
Celsius Network Limited               FTX                                                                                                            5/4/2022       Incoming             Exchange Activity           PAX                              1,000,000.0                 $1,003,589.71
Celsius Network Limited               WINTERMUTE                                                                                                     5/4/2022       Incoming             Lending Activity            BNB_BSC                              14,000.0                $5,459,367.77
Celsius Network Limited               MATRIXPORT                                                                                                     5/4/2022       Incoming             Lending Activity            BCH                                   27.6164                    $7,985.59
Celsius Network Limited               MATRIXPORT                                                                                                     5/4/2022       Incoming             Lending Activity            USDT_ERC20                      17,671.2329                     $17,671.39
Celsius Network Limited               MATRIXPORT                                                                                                     5/4/2022       Incoming             Lending Activity            XRP                                        20.0                     $12.31
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                5/4/2022       Incoming             Lending Activity            USDT_ERC20                         65,753.43                    $65,754.88
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                     5/4/2022       Incoming             Lending Activity            ADA                             54,246.5753                     $43,454.59
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                     5/4/2022       Incoming             Lending Activity            XRP                             41,095.8904                     $25,433.94
Celsius Network Limited               0x8d29a9b98fcfdb15db3e23ac48d6e8801664b765                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,135,198,033.77886                    Undetermined
Celsius Network Limited               0x8d29a9b98fcfdb15db3e23ac48d6e8801664b765                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,098,946,931.77519                    Undetermined
Celsius Network Limited               DRUK HOLDING AND INVESTMENTS                                                                                   5/4/2022       Outgoing             Lending Activity            USDT_ERC20                     (1,999,990.0)                ($2,000,106.79)
Celsius Network Limited               0x8d29a9b98fcfdb15db3e23ac48d6e8801664b765                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,266,127,795.93734                    Undetermined
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                     5/4/2022       Incoming             Lending Activity            ETH                                     28.297                  $80,898.31
Celsius Network Limited               FTX                                                                                                            5/4/2022       Outgoing             Exchange Activity           BNB_BSC                              (8,000.0)              ($3,129,044.78)
Celsius Network Limited               0x8d29a9b98fcfdb15db3e23ac48d6e8801664b765                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,941,386,912.67086                    Undetermined
Celsius Network Limited               FTX                                                                                                            5/4/2022       Outgoing             Exchange Activity           ETH                                       (2.0)                 ($5,711.90)
Celsius Network Limited               WINTERMUTE                                                                                                     5/4/2022       Outgoing             OTC Transaction             BETH_BSC                             (1,800.0)              ($4,995,704.81)
Celsius Network Limited               0xe78d8b4fd7ca0d6db1f0e6705b15b7d3c9a100f2                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,771,337,890.94269                    Undetermined
Celsius Network Limited               WINTERMUTE                                                                                                     5/4/2022       Incoming             OTC Transaction             ETH                                    1,742.4               $4,987,253.09
Celsius Network Limited               0xe78d8b4fd7ca0d6db1f0e6705b15b7d3c9a100f2                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,371,832,396.12264                    Undetermined
Celsius Network Limited               FTX                                                                                                            5/4/2022       Outgoing             Exchange Activity           MATIC_POLYGON         (64,849.9964135667)                      ($71,028.34)
Celsius Network Limited               JANE STREET                                                                                                    5/4/2022       Outgoing             Lending Activity            USDT_ERC20                           (6,000.0)                  ($6,000.41)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                     5/4/2022       Incoming             Lending Activity            SNX                                100,000.0                   $468,255.46
Celsius Network Limited               0xe78d8b4fd7ca0d6db1f0e6705b15b7d3c9a100f2                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,561,699,929.5308                   Undetermined
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                     5/4/2022       Outgoing             Lending Activity            BTC                                    (16.16)                ($626,590.00)
Celsius Network Limited               FTX                                                                                                            5/4/2022       Outgoing             Exchange Activity           COMP                                (407.433)                  ($43,392.38)
Celsius Network Limited               0xb0d22695fe49deee288a9834d4126fc7531c3037                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,939,918,319.31968                    Undetermined
Celsius Network Limited               FTX                                                                                                            5/4/2022       Incoming             Exchange Activity           BTC                         1,000.82402731                  $38,968,486.57
Celsius Network Limited               0xb0d22695fe49deee288a9834d4126fc7531c3037                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,756,429,202.85171                    Undetermined
Celsius Network Limited               AUROS ARIL                                                                                                     5/4/2022       Incoming             Lending Activity            AVAX                                    30.274                   $1,842.69
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Incoming             Lending Activity            BCH                                   71.9178                   $20,585.44
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Incoming             Lending Activity            ADA                             21,658.9039                     $17,976.71
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Incoming             Lending Activity            BNB_BSC                               39.4109                   $15,494.05
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Incoming             Lending Activity            BTC                                     1.6502                  $64,681.35
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Incoming             Lending Activity            DOT                              1,047.9452                     $15,996.28
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Incoming             Lending Activity            EOS                              4,912.3051                     $10,479.66
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Incoming             Lending Activity            ETH                                   23.0137                   $65,796.89
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Incoming             Lending Activity            FTT                                   86.3014                    $3,345.91
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Incoming             Lending Activity            LINK                                394.1096                     $4,483.90
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Incoming             Lending Activity            LTC                                 244.9315                    $25,269.68
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Incoming             Lending Activity            MANA                             2,014.6434                      $3,075.10
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Incoming             Lending Activity            XRP                             27,575.3424                     $17,070.84
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Incoming             Lending Activity            UNI                                 217.8082                     $1,558.34
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Incoming             Lending Activity            SOL                                      223.4                  $19,616.09
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Incoming             Lending Activity            XLM                            101,095.8904                     $17,879.29
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Incoming             Lending Activity            ZRX                                 657.5342                       $486.57
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Incoming             Lending Activity            ZEC                                   32.0548                    $3,958.10
Celsius Network Limited               AUROS TECH LIMITED                                                                                             5/4/2022       Incoming             Lending Activity            XTZ                              1,273.9725                      $3,268.97
Celsius Network Limited               FTX                                                                                                            5/4/2022       Incoming             Exchange Activity           MATIC                      64,849.99641356                      $71,983.50
Celsius Network Limited               0xe78d8b4fd7ca0d6db1f0e6705b15b7d3c9a100f2                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,764,250,595.3615                   Undetermined
Celsius Network Limited               FTX                                                                                                            5/4/2022       Outgoing             Exchange Activity           KNC                                       (1.0)                     ($3.37)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                     5/4/2022       Outgoing             Lending Activity            BTC                                  (1,924.0)             ($74,971,985.37)
Celsius Network Limited               FTX                                                                                                            5/4/2022       Outgoing             Exchange Activity           KNC                   (791,934.829588128)                   ($2,671,493.96)
Celsius Network Limited               DUNAMIS TRADING (BAHAMAS) LTD                                                                                  5/4/2022       Incoming             Lending Activity            ETH                                      200.0                 $568,820.40
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                     5/4/2022       Incoming             Lending Activity            TERRA_USD                       75,000,000.0                $75,000,000.00
Celsius Network Limited               0xe78d8b4fd7ca0d6db1f0e6705b15b7d3c9a100f2                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,823,321,594.51972                    Undetermined
Celsius Network Limited               0xe3e0ea28329b4f465a0ebf78a9610d0091cb895c                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,111,926,158.772                  Undetermined
Celsius Network Limited               0xe78d8b4fd7ca0d6db1f0e6705b15b7d3c9a100f2                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,455,203,601.80613                    Undetermined
Celsius Network Limited               0xe3e0ea28329b4f465a0ebf78a9610d0091cb895c                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,671,212,644.77904                    Undetermined
Celsius Network Limited               FTX                                                                                                            5/4/2022       Incoming             Exchange Activity           BTC                                  1,750.01               $69,738,774.86
Celsius Network Limited               0xb0d22695fe49deee288a9834d4126fc7531c3037                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,255,171,802.80193                    Undetermined
Celsius Network Limited               0xe3e0ea28329b4f465a0ebf78a9610d0091cb895c                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,618,779,558.37262                    Undetermined
Celsius Network Limited               0xe78d8b4fd7ca0d6db1f0e6705b15b7d3c9a100f2                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,777,589,786.83925                    Undetermined
Celsius Network Limited               0xb0d22695fe49deee288a9834d4126fc7531c3037                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,222,382,871.33264                    Undetermined
Celsius Network Limited               0xe3e0ea28329b4f465a0ebf78a9610d0091cb895c                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,839,575,532.52778                    Undetermined
Celsius Network Limited               0xe78d8b4fd7ca0d6db1f0e6705b15b7d3c9a100f2                                                                     5/4/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,444,027,117.4938                   Undetermined
Celsius Network Limited               DIGITAL ASSET FUNDS MANAGEMENT PTY LTD                                                                         5/4/2022       Incoming             Lending Activity            ETH                                     1.2329                   $3,626.22
Celsius Network Limited               0xb0d22695fe49deee288a9834d4126fc7531c3037                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,713,603,564.11182                    Undetermined
Celsius Network Limited               0x4b3f07a9df9c8c11dfd616458aa3523f21cb2564                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN             698,781,515.58846                   Undetermined
Celsius Network Limited               0xe3e0ea28329b4f465a0ebf78a9610d0091cb895c                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,204,163,521.29318                    Undetermined
Celsius Network Limited               0xe78d8b4fd7ca0d6db1f0e6705b15b7d3c9a100f2                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,798,521,701.58183                    Undetermined
Celsius Network Limited               0x8caaa7557d4e30be00194bd86af7e88e443a5906                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,261,333,805.15721                    Undetermined
Celsius Network Limited               0x8caaa7557d4e30be00194bd86af7e88e443a5906                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,582,017,168.59779                    Undetermined
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            SUSHI                                       1.2                      $3.11
Celsius Network Limited               0x4b3f07a9df9c8c11dfd616458aa3523f21cb2564                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN             611,835,725.16962                   Undetermined
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            COMP                                     0.012                       $1.38
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            UNI                                        0.88                      $7.02
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            XRP                                         1.4                      $0.91
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            LTC                                        0.08                      $8.50
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            AAVE                                     0.013                       $2.10
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            SOL                                        0.09                      $8.43
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            DOT                                        0.33                      $5.38
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            CRV                                        1.66                      $4.36
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            ADA                                        1.88                      $1.68
Celsius Network Limited               0x8caaa7557d4e30be00194bd86af7e88e443a5906                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          42,956,208,322.5394                    Undetermined
Celsius Network Limited               0x8caaa7557d4e30be00194bd86af7e88e443a5906                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,339,850,151.10764                    Undetermined
Celsius Network Limited               0xaac31df8b6bbbca619bcc25911ffc0f4d4721542                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,695,238,063.47825                    Undetermined
Celsius Network Limited               0xaac31df8b6bbbca619bcc25911ffc0f4d4721542                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,770,123,402.59812                    Undetermined
Celsius Network Limited               0xaac31df8b6bbbca619bcc25911ffc0f4d4721542                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          141,972,390,002.277                    Undetermined
Celsius Network Limited               0xaac31df8b6bbbca619bcc25911ffc0f4d4721542                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,688,180,256.5826                   Undetermined
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            SUSHI                               459.3574                     $1,189.29
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            COMP                                     3.998                     $458.01
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            UNI                                 603.4713                     $4,799.00
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            AAVE                                    33.217                   $5,276.13
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            XRP                                  5,938.11                    $3,791.20
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            LTC                                     197.18                  $20,703.91
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            CRV                                  9,279.09                   $24,003.12
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            ADA                                29,340.59                    $25,576.73
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            DOT                                  2,688.16                   $43,297.03
Celsius Network Limited               0x4edf4ef45049ed367308f6c474b2daf10f8ba730                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,535,936,385.23762                    Undetermined
Celsius Network Limited               0x4edf4ef45049ed367308f6c474b2daf10f8ba730                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,441,301,579.85751                    Undetermined
Celsius Network Limited               0x4edf4ef45049ed367308f6c474b2daf10f8ba730                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,749,295,416.12618                    Undetermined
Celsius Network Limited               MATRIXPORT                                                                                                     5/5/2022       Incoming             Lending Activity            XRP                              1,486.8493                        $947.99
Celsius Network Limited               0x4edf4ef45049ed367308f6c474b2daf10f8ba730                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,394,211,350.08819                    Undetermined
Celsius Network Limited               0xaac31df8b6bbbca619bcc25911ffc0f4d4721542                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,446,998,302.62043                    Undetermined
Celsius Network Limited               0x4edf4ef45049ed367308f6c474b2daf10f8ba730                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,106,824,873.49295                    Undetermined
Celsius Network Limited               0xd45058bf25bbd8f586124c479d384c8c708ce23a                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,962,206,694.07335                    Undetermined
Celsius Network Limited               0x4edf4ef45049ed367308f6c474b2daf10f8ba730                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,859,682,730.03728                    Undetermined
Celsius Network Limited               0x1096aca5bbe0a8b3b1da3eca09d4bde260711f16                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,932,201,502.65868                    Undetermined
Celsius Network Limited               FTX                                                                                                            5/5/2022       Outgoing             Exchange Activity           USDC                   (13,326,357.705995)                 ($13,326,357.71)
Celsius Network Limited               FTX                                                                                                            5/5/2022       Outgoing             Exchange Activity           USDT_ERC20             (18,215,285.640375)                 ($18,216,580.20)
Celsius Network Limited               FTX                                                                                                            5/5/2022       Incoming             Exchange Activity           BTC                                    1,550.0              $61,077,782.12
Celsius Network Limited               BITFINEX                                                                                                       5/5/2022       Outgoing             Exchange Activity           BTC                                  (3,288.0)            ($128,591,460.52)
Celsius Network Limited               0x4edf4ef45049ed367308f6c474b2daf10f8ba730                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,673,839,245.18196                    Undetermined
Celsius Network Limited               0x55110c24859411822932a5263c6e44318cc3e682                                                                     5/5/2022       Incoming             Blockchain Transaction      SWAPQ.ORG                            95,000.0                Undetermined
Celsius Network Limited               0xdc8fa3fab8421ff44cc6ca7f966673ff6c0b3b58                                                                     5/5/2022       Incoming             Blockchain Transaction      DRAF.IO                            288,101.0                 Undetermined
Celsius Network Limited               FTX                                                                                                            5/5/2022       Outgoing             Exchange Activity           USDT_ERC20             (13,432,994.153681)                 ($13,433,668.91)
Celsius Network Limited               FLOW TRADERS                                                                                                   5/5/2022       Incoming             Lending Activity            BNB_BSC                              10,000.0                $3,920,618.66
Celsius Network Limited               FTX                                                                                                            5/5/2022       Incoming             Exchange Activity           KNC                                         1.0                      $3.30
Celsius Network Limited               FLOW TRADERS                                                                                                   5/5/2022       Incoming             Lending Activity            BNB_BSC                              10,000.0                $3,920,618.66
Celsius Network Limited               FLOW TRADERS                                                                                                   5/5/2022       Incoming             Lending Activity            BNB_BSC                                5,000.0               $1,960,309.33
Celsius Network Limited               FTX                                                                                                            5/5/2022       Incoming             Exchange Activity           KNC                        49,999.00008377                     $164,957.87
Celsius Network Limited               0x4edf4ef45049ed367308f6c474b2daf10f8ba730                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,814,620,243.73296                    Undetermined
Celsius Network Limited               FTX                                                                                                            5/5/2022       Outgoing             Exchange Activity           USDT_ERC20             (14,402,896.309958)                 ($14,405,054.96)
Celsius Network Limited               FTX                                                                                                            5/5/2022       Outgoing             Exchange Activity           XRP                    (10,702,165.336271)                  ($6,452,587.39)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                     5/5/2022       Incoming             Lending Activity            SNX                                150,000.0                   $678,513.74
Celsius Network Limited               FTX                                                                                                            5/5/2022       Outgoing             Exchange Activity           BNB_BSC                     (21,000.088929)                 ($8,004,504.59)
Celsius Network Limited               BITFINEX                                                                                                       5/5/2022       Incoming             Lending Activity            USDT_ERC20                    100,000,000.0                $100,005,947.23
Celsius Network Limited               FTX                                                                                                            5/5/2022       Outgoing             Exchange Activity           USDT_ERC20                    (57,400,000.0)               ($57,403,413.71)
Celsius Network Limited               GALAXY DIGITAL                                                                                                 5/5/2022       Incoming             Lending Activity            USDC                            25,000,000.0                $25,000,000.00
Celsius Network Limited               0xebe4899e7d123cc6b51b2d51e3c148b5ab045db2                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,378,692,194.17502                    Undetermined
Celsius Network Limited               FTX                                                                                                            5/5/2022       Incoming             Exchange Activity           BTC                                    2,000.0              $73,717,367.40
Celsius Network Limited               DRUK HOLDING AND INVESTMENTS                                                                                   5/5/2022       Incoming             Lending Activity            BTC                                     0.0008                      $29.49
Celsius Network Limited               DRUK HOLDING AND INVESTMENTS                                                                                   5/5/2022       Incoming             Lending Activity            BTC                                 200.3292                 $7,278,761.17
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                             Doc 15          Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                    SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                             Main Document                             Case Number: 22-10966



          CELSIUS ENTITY                                                            COUNTERPARTY
                                                                                                               Pg 32 of 77           Non-Retail Coin Transactions
                                                                                                                                                      DATE          TYPE                          TRANSACTION TYPE              COIN   COIN QUANTITY                       COIN USD
Celsius Network Limited               FTX                                                                                                            5/5/2022       Outgoing             Exchange Activity           USDC                          (25,000,000.0)               ($25,000,000.00)
Celsius Network Limited               0xebe4899e7d123cc6b51b2d51e3c148b5ab045db2                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,066,981,147.00645                    Undetermined
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            BCH                                      0.033                       $9.12
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            BNB_BSC                                    0.02                      $7.52
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            LINK                                        0.9                      $9.76
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            BCH                                      0.787                     $217.44
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            BNB_BSC                                    3.31                  $1,245.18
Celsius Network Limited               FALCONX LIMITED                                                                                                5/5/2022       Incoming             Lending Activity            LINK                                 1,163.39                   $12,616.91
Celsius Network Limited               0xebe4899e7d123cc6b51b2d51e3c148b5ab045db2                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,149,744,798.13476                    Undetermined
Celsius Network Limited               TETHER                                                                                                         5/5/2022       Outgoing             Lending Activity            EURT_ERC20                     (7,451,552.0)                ($7,852,613.91)
Celsius Network Limited               0xb2f5e3c84d769cc7ea33c4db874ee04f00587ba6                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,399,390,177.63886                    Undetermined
Celsius Network Limited               0xebe4899e7d123cc6b51b2d51e3c148b5ab045db2                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,752,073,596.07972                    Undetermined
Celsius Network Limited               0xb2f5e3c84d769cc7ea33c4db874ee04f00587ba6                                                                     5/5/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,679,241,328.77038                    Undetermined
Celsius Network Limited               0xb2f5e3c84d769cc7ea33c4db874ee04f00587ba6                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,592,293,396.59153                    Undetermined
Celsius Network Limited               0xb2f5e3c84d769cc7ea33c4db874ee04f00587ba6                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,613,679,436.76836                    Undetermined
Celsius Network Limited               0xebe4899e7d123cc6b51b2d51e3c148b5ab045db2                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,424,139,073.05998                    Undetermined
Celsius Network Limited               0xb2f5e3c84d769cc7ea33c4db874ee04f00587ba6                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,898,804,351.7028                   Undetermined
Celsius Network Limited               REDRIVERTRADING                                                                                                5/6/2022       Incoming             Lending Activity            BTC                                        3.14                $114,163.01
Celsius Network Limited               0xb2f5e3c84d769cc7ea33c4db874ee04f00587ba6                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,025,421,017.1332                   Undetermined
Celsius Network Limited               DRUK HOLDING AND INVESTMENTS                                                                                   5/6/2022       Incoming             Lending Activity            ETH                                      14.69                  $40,261.70
Celsius Network Limited               0xb2f5e3c84d769cc7ea33c4db874ee04f00587ba6                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,071,329,093.38821                    Undetermined
Celsius Network Limited               0x91c2a0f21867bd297744bfde02667d7e4052aec5                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,016,774,422.70461                    Undetermined
Celsius Network Limited               0x91c2a0f21867bd297744bfde02667d7e4052aec5                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,627,457,012.54131                    Undetermined
Celsius Network Limited               0xb2f5e3c84d769cc7ea33c4db874ee04f00587ba6                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,305,509,011.50126                    Undetermined
Celsius Network Limited               FALCONX LIMITED                                                                                                5/6/2022       Incoming             Lending Activity            SOL                                     225.94                  $19,012.98
Celsius Network Limited               0x91c2a0f21867bd297744bfde02667d7e4052aec5                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,384,673,749.85643                    Undetermined
Celsius Network Limited               0x91c2a0f21867bd297744bfde02667d7e4052aec5                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,300,702,834.47216                    Undetermined
Celsius Network Limited               KENETIC TRADING LTD                                                                                            5/6/2022       Incoming             Lending Activity            BTC                                        4.15                $151,217.75
Celsius Network Limited               KENETIC TRADING LTD                                                                                            5/6/2022       Outgoing             Lending Activity            BNB_BSC                              (2,000.0)                ($757,047.59)
Celsius Network Limited               0xe131a4e196893cc4b3a0b059858bdf14c8ac7ef0                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,669,823,834.3168                   Undetermined
Celsius Network Limited               0xe131a4e196893cc4b3a0b059858bdf14c8ac7ef0                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,484,538,265.66545                    Undetermined
Celsius Network Limited               GALAXY DIGITAL                                                                                                 5/6/2022       Incoming             Lending Activity            LTC                                     2.4658                     $238.94
Celsius Network Limited               0xe131a4e196893cc4b3a0b059858bdf14c8ac7ef0                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,315,781,836.36191                    Undetermined
Celsius Network Limited               GALAXY DIGITAL                                                                                                 5/6/2022       Incoming             Lending Activity            USDT_ERC20                     464,589.0411                    $464,566.34
Celsius Network Limited               GALAXY DIGITAL                                                                                                 5/6/2022       Incoming             Lending Activity            USDC                           832,191.7808                    $832,191.78
Celsius Network Limited               GALAXY DIGITAL                                                                                                 5/6/2022       Incoming             Lending Activity            DOT                               6,652.6028                    $96,207.41
Celsius Network Limited               GALAXY DIGITAL                                                                                                 5/6/2022       Incoming             Lending Activity            ADA                            149,326.8789                    $118,601.19
Celsius Network Limited               0xe131a4e196893cc4b3a0b059858bdf14c8ac7ef0                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,664,632,914.49944                    Undetermined
Celsius Network Limited               FTX                                                                                                            5/6/2022       Outgoing             Exchange Activity           CRV                   (79,010.7063624473)                     ($188,249.12)
Celsius Network Limited               FTX                                                                                                            5/6/2022       Outgoing             Exchange Activity           BNT                   (43,690.5856677138)                      ($84,579.86)
Celsius Network Limited               FTX                                                                                                            5/6/2022       Outgoing             Exchange Activity           BAL                   (1,453.43289352311)                      ($19,564.42)
Celsius Network Limited               FTX                                                                                                            5/6/2022       Outgoing             Exchange Activity           BADGER                (1,459.05371475275)                      ($10,527.19)
Celsius Network Limited               0x6adb363bdf6c388d8b7522bbc12741e2718f5379                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,987,395,139.7469                   Undetermined
Celsius Network Limited               GALAXY DIGITAL                                                                                                 5/6/2022       Incoming             Lending Activity            SNX                               1,294.2247                     $5,737.38
Celsius Network Limited               0x6adb363bdf6c388d8b7522bbc12741e2718f5379                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,136,844,665.04459                    Undetermined
Celsius Network Limited               0x55110c24859411822932a5263c6e44318cc3e682                                                                     5/6/2022       Incoming             Blockchain Transaction      SWAPQ.ORG                            95,000.0                Undetermined
Celsius Network Limited               0xdc8fa3fab8421ff44cc6ca7f966673ff6c0b3b58                                                                     5/6/2022       Incoming             Blockchain Transaction      DRAF.IO                             288,101.0                Undetermined
Celsius Network Limited               0x55110c24859411822932a5263c6e44318cc3e682                                                                     5/6/2022       Incoming             Blockchain Transaction      SWAPQ.ORG                            95,000.0                Undetermined
Celsius Network Limited               0xdc8fa3fab8421ff44cc6ca7f966673ff6c0b3b58                                                                     5/6/2022       Incoming             Blockchain Transaction      DRAF.IO                             288,101.0                Undetermined
Celsius Network Limited               FTX                                                                                                            5/6/2022       Outgoing             Exchange Activity           ALCX                                      (0.1)                     ($5.87)
Celsius Network Limited               FTX                                                                                                            5/6/2022       Incoming             Exchange Activity           USDT_ERC20                   81,663.952317                      $81,663.61
Celsius Network Limited               FTX                                                                                                            5/6/2022       Outgoing             Exchange Activity           ALCX                   (447.202768666719)                      ($26,229.04)
Celsius Network Limited               0x6adb363bdf6c388d8b7522bbc12741e2718f5379                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,953,196,948.79955                    Undetermined
Celsius Network Limited               0x6adb363bdf6c388d8b7522bbc12741e2718f5379                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,378,605,009.92051                    Undetermined
Celsius Network Limited               0xe79fcba3ad9836b19ed919863a37d46c9c173bba                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,014,241,319.44201                    Undetermined
Celsius Network Limited               0xe79fcba3ad9836b19ed919863a37d46c9c173bba                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,437,240,184.13031                    Undetermined
Celsius Network Limited               0x6adb363bdf6c388d8b7522bbc12741e2718f5379                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,018,367,106.15876                    Undetermined
Celsius Network Limited               DV CHAIN                                                                                                       5/6/2022       Incoming             Lending Activity            BTC                                      0.411                  $14,847.80
Celsius Network Limited               DV CHAIN                                                                                                       5/6/2022       Incoming             Lending Activity            ETH                                     3.0822                   $8,344.68
Celsius Network Limited               DV CHAIN                                                                                                       5/6/2022       Incoming             Lending Activity            USDT_ERC20                      34,520.5479                     $34,521.46
Celsius Network Limited               FTX                                                                                                            5/6/2022       Outgoing             Exchange Activity           USDC                      (10,832,191.7808)                ($10,832,191.78)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           5/6/2022       Incoming             Lending Activity            MSOL_SOL                                    1.0                     $84.82
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           5/6/2022       Incoming             Lending Activity            SOL_SRM_R62M                                1.0                      $1.74
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           5/6/2022       Incoming             Lending Activity            ETH                                         1.0                  $2,673.32
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           5/6/2022       Incoming             Lending Activity            FTT                                         1.0                     $35.58
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                             5/6/2022       Outgoing             Lending Activity            MANA                              (100,000.0)                 ($142,913.28)
Celsius Network Limited               FTX                                                                                                            5/6/2022       Outgoing             Exchange Activity           BTC                                    (200.0)              ($7,187,574.25)
Celsius Network Limited               0xd6ff657c4dd5ef0c03e592e0b9fd68fd61c0e81d                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,862,572,531.93603                    Undetermined
Celsius Network Limited               0xd6ff657c4dd5ef0c03e592e0b9fd68fd61c0e81d                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,054,525,521.23597                    Undetermined
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           5/6/2022       Incoming             Lending Activity            ETH                                     433.73               $1,173,926.93
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           5/6/2022       Incoming             Lending Activity            FTT                             1,112,518.09                $39,972,774.97
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           5/6/2022       Incoming             Lending Activity            MSOL_SOL                            20,177.56                $1,729,620.44
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           5/6/2022       Incoming             Lending Activity            SOL_SRM_R62M                  36,175,148.33                 $63,672,002.83
Celsius Network Limited               0xd6ff657c4dd5ef0c03e592e0b9fd68fd61c0e81d                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,529,358,241.71849                    Undetermined
Celsius Network Limited               BITFINEX                                                                                                       5/6/2022       Incoming             Lending Activity            BTC                                      250.0               $9,037,546.41
Celsius Network Limited               FTX                                                                                                            5/6/2022       Outgoing             Exchange Activity           BTC                                      (96.0)             ($3,461,001.10)
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                              5/6/2022       Incoming             Lending Activity            SNX                                         5.0                     $22.83
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                              5/6/2022       Outgoing             Lending Activity            BTC                                      (5.12)               ($183,999.93)
Celsius Network Limited               B2C2 LTD                                                                                                       5/6/2022       Incoming             Lending Activity            MATIC                                    100.0                     $104.30
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                              5/6/2022       Incoming             Lending Activity            SNX                                  39,365.0                  $179,720.18
Celsius Network Limited               KRAKEN                                                                                                         5/6/2022       Incoming             Exchange Activity           SOL                                        4.99                    $407.17
Celsius Network Limited               PROFLUENT TRADING INC                                                                                          5/6/2022       Incoming             Lending Activity            BTC                                     34.121               $1,232,154.10
Celsius Network Limited               KRAKEN                                                                                                         5/6/2022       Incoming             Exchange Activity           SOL                                 54,999.99                $4,512,905.01
Celsius Network Limited               PROFLUENT TRADING INC                                                                                          5/6/2022       Outgoing             Lending Activity            SOL                                (50,000.0)               ($4,102,641.66)
Celsius Network Limited               KRAKEN                                                                                                         5/6/2022       Outgoing             Exchange Activity           SOL                          (10,005.18988)                   ($820,954.18)
Celsius Network Limited               BITFINEX                                                                                                       5/6/2022       Outgoing             Exchange Activity           MATIC                 (387,689.820775673)                     ($407,849.69)
Celsius Network Limited               B2C2 LTD                                                                                                       5/6/2022       Incoming             Lending Activity            MATIC                           2,272,627.27                 $2,390,803.89
Celsius Network Limited               FTX                                                                                                            5/6/2022       Outgoing             Exchange Activity           FTT                           (1,112,519.09)               ($39,995,061.29)
Celsius Network Limited               B2C2 LTD                                                                                                       5/6/2022       Outgoing             Lending Activity            ETH                                   (871.93)              ($2,339,496.73)
Celsius Network Limited               DUNAMIS TRADING (BAHAMAS) LTD                                                                                  5/6/2022       Incoming             Lending Activity            ETH                                     0.4932                   $1,330.10
Celsius Network Limited               DUNAMIS TRADING (BAHAMAS) LTD                                                                                  5/6/2022       Incoming             Lending Activity            DOT                               1,504.7945                    $21,470.93
Celsius Network Limited               PROFLUENT TRADING INC                                                                                          5/6/2022       Incoming             Lending Activity            BTC                                      0.427                  $15,348.55
Celsius Network Limited               PROFLUENT TRADING INC                                                                                          5/6/2022       Incoming             Lending Activity            BAT                                 821.9178                       $474.18
Celsius Network Limited               PROFLUENT TRADING INC                                                                                          5/6/2022       Incoming             Lending Activity            DOT                         2,790.29743444                      $39,797.66
Celsius Network Limited               PROFLUENT TRADING INC                                                                                          5/6/2022       Incoming             Lending Activity            ETH                              3.26689664                      $8,783.00
Celsius Network Limited               PROFLUENT TRADING INC                                                                                          5/6/2022       Incoming             Lending Activity            FTT                                 232.6768                     $8,336.81
Celsius Network Limited               0xd8fbea0c59265b08f9ca4a816e75cabf22f9250b                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN             1,538,819,484.215                   Undetermined
Celsius Network Limited               0xd8fbea0c59265b08f9ca4a816e75cabf22f9250b                                                                     5/6/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,577,732,600.6865                   Undetermined
Celsius Network Limited               0xd8fbea0c59265b08f9ca4a816e75cabf22f9250b                                                                     5/7/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,307,828,511.03816                    Undetermined
Celsius Network Limited               0x992f2978ebaa4750c13ba3c4a741946b194f2dfd                                                                     5/7/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,815,486,899.53644                    Undetermined
Celsius Network Limited               0x992f2978ebaa4750c13ba3c4a741946b194f2dfd                                                                     5/7/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,443,997,570.49075                    Undetermined
Celsius Network Limited               0x992f2978ebaa4750c13ba3c4a741946b194f2dfd                                                                     5/7/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,814,071,968.02031                    Undetermined
Celsius Network Limited               0xbe54345ef1c48df7ccbfabf2b9f2458e9279e286                                                                     5/7/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,213,289,617.2527                   Undetermined
Celsius Network Limited               0xbe54345ef1c48df7ccbfabf2b9f2458e9279e286                                                                     5/7/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,406,942,762.29814                    Undetermined
Celsius Network Limited               0xbe54345ef1c48df7ccbfabf2b9f2458e9279e286                                                                     5/7/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,237,403,912.85983                    Undetermined
Celsius Network Limited               TOWERBC                                                                                                        5/7/2022       Incoming             Lending Activity            BTC                                     0.1727                   $6,218.34
Celsius Network Limited               0x416564111d8fa84e3de5785716f1708a17f78094                                                                     5/7/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,329,130,825.21197                    Undetermined
Celsius Network Limited               0x416564111d8fa84e3de5785716f1708a17f78094                                                                     5/7/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,837,615,088.23615                    Undetermined
Celsius Network Limited               0x416564111d8fa84e3de5785716f1708a17f78094                                                                     5/7/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,963,874,144.18562                    Undetermined
Celsius Network Limited               TDX SG PTE LTD                                                                                                 5/7/2022       Outgoing             Lending Activity            BTC                                       (4.8)               ($172,961.87)
Celsius Network Limited               0x416564111d8fa84e3de5785716f1708a17f78094                                                                     5/7/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,239,912,877.39846                    Undetermined
Celsius Network Limited               0x9487fea1eaa6336ec2e606a51a7886233687d812                                                                     5/7/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,057,134,747.2835                   Undetermined
Celsius Network Limited               0x9487fea1eaa6336ec2e606a51a7886233687d812                                                                     5/7/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,543,662,384.8098                   Undetermined
Celsius Network Limited               0x9487fea1eaa6336ec2e606a51a7886233687d812                                                                     5/7/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,201,549,866.21988                    Undetermined
Celsius Network Limited               0xb43dad5d210ae45f1123a5cb689a721c1d83ccb9                                                                     5/7/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          258,265,620,577.501                    Undetermined
Celsius Network Limited               0xb43dad5d210ae45f1123a5cb689a721c1d83ccb9                                                                     5/7/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            315,931,375,238.71                   Undetermined
Celsius Network Limited               0xb43dad5d210ae45f1123a5cb689a721c1d83ccb9                                                                     5/7/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          365,240,020,368.056                    Undetermined
Celsius Network Limited               0xb43dad5d210ae45f1123a5cb689a721c1d83ccb9                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          363,844,014,089.782                    Undetermined
Celsius Network Limited               0x3226791fd4d9d680e9c209e192c3e714c0359c93                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,685,584,786.5118                   Undetermined
Celsius Network Limited               0x3226791fd4d9d680e9c209e192c3e714c0359c93                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,020,062,812.49277                    Undetermined
Celsius Network Limited               BITFINEX                                                                                                       5/8/2022       Outgoing             Exchange Activity           BTC                                  (2,044.0)             ($71,011,842.43)
Celsius Network Limited               0xb43dad5d210ae45f1123a5cb689a721c1d83ccb9                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          271,617,644,617.853                    Undetermined
Celsius Network Limited               0x3226791fd4d9d680e9c209e192c3e714c0359c93                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,872,937,104.35753                    Undetermined
Celsius Network Limited               0x3226791fd4d9d680e9c209e192c3e714c0359c93                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,818,608,324.22209                    Undetermined
Celsius Network Limited               0x362c9326194da1b04908c494f97289d32cf83610                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,453,894,321.15005                    Undetermined
Celsius Network Limited               0x362c9326194da1b04908c494f97289d32cf83610                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,296,829,015.18568                    Undetermined
Celsius Network Limited               0x362c9326194da1b04908c494f97289d32cf83610                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,176,093,956.50273                    Undetermined
Celsius Network Limited               0x362c9326194da1b04908c494f97289d32cf83610                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,748,767,526.00523                    Undetermined
Celsius Network Limited               0xb43dad5d210ae45f1123a5cb689a721c1d83ccb9                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          379,704,815,711.461                    Undetermined
Celsius Network Limited               0x362c9326194da1b04908c494f97289d32cf83610                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,281,835,713.24715                    Undetermined
Celsius Network Limited               0x362c9326194da1b04908c494f97289d32cf83610                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,159,053,697.51321                    Undetermined
Celsius Network Limited               0x362c9326194da1b04908c494f97289d32cf83610                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          2,788,121,085.83398                    Undetermined
Celsius Network Limited               REDRIVERTRADING                                                                                                5/8/2022       Incoming             Lending Activity            BTC                                        3.06                $106,070.04
Celsius Network Limited               0xd2822d1095024b79f9a5e34f24d9e7206c668187                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,413,061,611.55483                    Undetermined
Celsius Network Limited               0x362c9326194da1b04908c494f97289d32cf83610                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,601,199,118.65571                    Undetermined
Celsius Network Limited               0xd2822d1095024b79f9a5e34f24d9e7206c668187                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,902,311,269.50369                    Undetermined
Celsius Network Limited               0x362c9326194da1b04908c494f97289d32cf83610                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,620,256,476.9361                   Undetermined
Celsius Network Limited               0xd2822d1095024b79f9a5e34f24d9e7206c668187                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,647,003,977.20679                    Undetermined
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           5/8/2022       Incoming             Lending Activity            BTC                                   10.4385                  $355,770.88
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           5/8/2022       Incoming             Lending Activity            LTC                                 240.3569                    $22,297.71
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           5/8/2022       Incoming             Lending Activity            ETH                                   75.7338                  $190,928.96
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           5/8/2022       Incoming             Lending Activity            MATIC                           20,547.9452                     $20,068.27
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           5/8/2022       Incoming             Lending Activity            USDC                         2,122,761.6438                  $2,122,761.64
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           5/8/2022       Incoming             Lending Activity            XRP                            329,628.3853                    $186,720.61
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                  5/8/2022       Incoming             Lending Activity            BTC                                     0.0018                      $61.10
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           5/8/2022       Incoming             Lending Activity            EOS                               10,177.875                    $19,820.22
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           5/8/2022       Incoming             Lending Activity            ADA                            208,874.3299                    $153,124.38
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                  5/8/2022       Incoming             Lending Activity            BTC                                     5.8982                 $200,211.31
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                     5/8/2022       Incoming             Lending Activity            USDC                          100,000,000.0                $100,000,000.00
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                     5/8/2022       Outgoing             Lending Activity            TERRA_USD                     (75,000,000.0)               ($75,000,000.00)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                     5/8/2022       Incoming             Lending Activity            BTC                                    1,924.0              $65,320,960.34
Celsius Network Limited               0xd2822d1095024b79f9a5e34f24d9e7206c668187                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,941,504,553.7234                   Undetermined
Celsius Network Limited               FTX                                                                                                            5/8/2022       Outgoing             Exchange Activity           USDC                        (100,000,000.0)               ($100,000,000.00)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                     5/8/2022       Outgoing             Lending Activity            BTC                                  (2,495.0)             ($86,244,025.08)
Celsius Network Limited               FTX                                                                                                            5/8/2022       Incoming             Exchange Activity           BTC                                    3,000.0             $103,709,308.62
Celsius Network Limited               JUMP TRADING                                                                                                   5/8/2022       Outgoing             Lending Activity            BTC                                    (0.001)                     ($34.56)
Celsius Network Limited               0xd2822d1095024b79f9a5e34f24d9e7206c668187                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,464,966,257.0753                   Undetermined
Celsius Network Limited               JUMP TRADING                                                                                                   5/8/2022       Outgoing             Lending Activity            BTC                                    (0.001)                     ($34.36)
Celsius Network Limited               0x09969679ad810fd2433656eea24643f875b572df                                                                     5/8/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,858,549,523.51376                    Undetermined
Celsius Network Limited               JUMP TRADING                                                                                                   5/8/2022       Outgoing             Lending Activity            BTC                               (1,999.998)              ($68,679,346.57)
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                             Doc 15          Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                    SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                               Main Document                                  Case Number: 22-10966



          CELSIUS ENTITY                                                            COUNTERPARTY
                                                                                                               Pg 33 of 77           Non-Retail Coin Transactions
                                                                                                                                                      DATE          TYPE                          TRANSACTION TYPE                  COIN   COIN QUANTITY                          COIN USD
Celsius Network Limited               0x09969679ad810fd2433656eea24643f875b572df                                                                    5/8/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,617,245,073.56881                        Undetermined
Celsius Network Limited               0xd2822d1095024b79f9a5e34f24d9e7206c668187                                                                    5/8/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,976,623,435.83813                        Undetermined
Celsius Network Limited               0xb43dad5d210ae45f1123a5cb689a721c1d83ccb9                                                                    5/8/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN                216,121,435,869.76                       Undetermined
Celsius Network Limited               0x09969679ad810fd2433656eea24643f875b572df                                                                    5/8/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,130,256,044.03811                        Undetermined
Celsius Network Limited               0xb43dad5d210ae45f1123a5cb689a721c1d83ccb9                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              235,783,187,509.267                        Undetermined
Celsius Network Limited               0x09969679ad810fd2433656eea24643f875b572df                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,568,834,787.05343                        Undetermined
Celsius Network Limited               0x94b41ed14eda9b8db0501d34dbde919b9898d97a                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,262,394,303.65726                        Undetermined
Celsius Network Limited               0x94b41ed14eda9b8db0501d34dbde919b9898d97a                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,027,049,742.87351                        Undetermined
Celsius Network Limited               0xb43dad5d210ae45f1123a5cb689a721c1d83ccb9                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              231,922,525,252.924                        Undetermined
Celsius Network Limited               0x94b41ed14eda9b8db0501d34dbde919b9898d97a                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN                590,625,972,482.66                       Undetermined
Celsius Network Limited               B‐BRICK INC                                                                                                   5/9/2022        Incoming             Lending Activity            USDC                                 6,154,432.67                    $6,154,432.67
Celsius Network Limited               DIGITAL ASSET FUNDS MANAGEMENT PTY LTD                                                                        5/9/2022        Incoming             Lending Activity            BTC                                           0.0822                     $2,783.74
Celsius Network Limited               0x94b41ed14eda9b8db0501d34dbde919b9898d97a                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,722,890,357.12027                        Undetermined
Celsius Network Limited               0xb43dad5d210ae45f1123a5cb689a721c1d83ccb9                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              358,720,893,964.904                        Undetermined
Celsius Network Limited               0x94b41ed14eda9b8db0501d34dbde919b9898d97a                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,712,805,168.96778                        Undetermined
Celsius Network Limited               0x94b41ed14eda9b8db0501d34dbde919b9898d97a                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,217,919,220.11373                        Undetermined
Celsius Network Limited               0xb43dad5d210ae45f1123a5cb689a721c1d83ccb9                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              257,618,368,654.451                        Undetermined
Celsius Network Limited               0x94b41ed14eda9b8db0501d34dbde919b9898d97a                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,608,060,016.25151                        Undetermined
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/9/2022        Incoming             Lending Activity            BTC                                              8.88                  $296,950.53
Celsius Network Limited               0x94b41ed14eda9b8db0501d34dbde919b9898d97a                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,617,687,278.78856                        Undetermined
Celsius Network Limited               0xb43dad5d210ae45f1123a5cb689a721c1d83ccb9                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              344,009,415,434.381                        Undetermined
Celsius Network Limited               0x1dd31870532111fe1da2ab5759bbe3f06fc71778                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,177,007,450.30899                        Undetermined
Celsius Network Limited               0x1dd31870532111fe1da2ab5759bbe3f06fc71778                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,833,677,534.76934                        Undetermined
Celsius Network Limited               0x1dd31870532111fe1da2ab5759bbe3f06fc71778                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              195,764,568,539.719                        Undetermined
Celsius Network Limited               0x1dd31870532111fe1da2ab5759bbe3f06fc71778                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,428,878,297.14867                        Undetermined
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/9/2022        Outgoing             Lending Activity            MANA                                    (600,000.0)                   ($751,933.75)
Celsius Network Limited               0xb43dad5d210ae45f1123a5cb689a721c1d83ccb9                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN                308,066,350,284.19                       Undetermined
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/9/2022        Outgoing             Lending Activity            ADA                                  (1,000,000.0)                    ($686,836.47)
Celsius Network Limited               B2C2 LTD                                                                                                      5/9/2022        Incoming             Lending Activity            BTC                                             11.54                  $385,290.08
Celsius Network Limited               B2C2 LTD                                                                                                      5/9/2022        Incoming             Lending Activity            ETH                                         1,148.82                 $2,799,409.16
Celsius Network Limited               FTX                                                                                                           5/9/2022        Outgoing             Exchange Activity           USDC                           (8,277,204.3138)                     ($8,277,204.31)
Celsius Network Limited               0x1dd31870532111fe1da2ab5759bbe3f06fc71778                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,356,246,261.06442                        Undetermined
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/9/2022        Incoming             Lending Activity            BTC                                              3.45                  $115,890.81
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/9/2022        Outgoing             Lending Activity            ZRX                                  (1,000,000.0)                    ($578,846.76)
Celsius Network Limited               0x1dd31870532111fe1da2ab5759bbe3f06fc71778                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,012,579,839.83543                        Undetermined
Celsius Network Limited               0xb43dad5d210ae45f1123a5cb689a721c1d83ccb9                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              398,812,816,340.695                        Undetermined
Celsius Network Limited               FTX                                                                                                           5/9/2022        Outgoing             Exchange Activity           TERRA_USD                                      (10.0)                      ($10.00)
Celsius Network Limited               FTX                                                                                                           5/9/2022        Outgoing             Exchange Activity           USDC                               (12,500,000.0)                  ($12,500,000.00)
Celsius Network Limited               FTX                                                                                                           5/9/2022        Outgoing             Exchange Activity           TERRA_USD                    (5,499,989.74749)                      ($5,499,989.83)
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                            5/9/2022        Incoming             Lending Activity            DOT                                     132,472.43                   $1,589,987.20
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                            5/9/2022        Incoming             Lending Activity            ADA                                  1,632,056.13                    $1,107,042.62
Celsius Network Limited               FTX                                                                                                           5/9/2022        Outgoing             Exchange Activity           ETH                                              (0.1)                    ($238.21)
Celsius Network Limited               0xb43dad5d210ae45f1123a5cb689a721c1d83ccb9                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              326,643,419,690.823                        Undetermined
Celsius Network Limited               0x1dd31870532111fe1da2ab5759bbe3f06fc71778                                                                    5/9/2022        Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,107,013,070.11601                        Undetermined
Celsius Network Limited               FTX                                                                                                           5/9/2022        Outgoing             Exchange Activity           ETH                                        (2,000.0)                ($4,764,187.55)
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                 5/9/2022        Incoming             Lending Activity            BNT                                             100.0                      $172.61
Celsius Network Limited               FTX                                                                                                           5/9/2022        Outgoing             Exchange Activity           USDC                       (51,071,633.917825)                     ($51,071,633.92)
Celsius Network Limited               REDRIVERTRADING                                                                                               5/9/2022        Incoming             Lending Activity            BTC                                              4.27                  $140,700.21
Celsius Network Limited               FTX                                                                                                           5/9/2022        Incoming             Exchange Activity           USDC                                 14,000,000.0                   $14,000,000.00
Celsius Network Limited               FTX                                                                                                           5/9/2022        Outgoing             Exchange Activity           BTC                                           (175.0)               ($5,695,402.17)
Celsius Network Limited               RADKL                                                                                                         5/9/2022        Outgoing             Lending Activity            BTC                                           (12.88)                 ($419,181.60)
Celsius Network Limited               FTX                                                                                                           5/9/2022        Incoming             Exchange Activity           BTC                                          2,500.0                $80,714,043.23
Celsius Network Limited               COINFLEX                                                                                                      5/9/2022        Incoming             Lending Activity            BCH                                       81,957.14                 $19,860,324.78
Celsius Network Limited               BITFINEX                                                                                                      5/9/2022        Outgoing             Exchange Activity           BTC                                        (2,214.0)               ($71,480,356.68)
Celsius Network Limited               COINFLEX                                                                                                      5/9/2022        Outgoing             Lending Activity            USDC                               (20,000,000.0)                  ($20,000,000.00)
Celsius Network Limited               FTX                                                                                                           5/9/2022        Incoming             Exchange Activity           KNC                           22,000.00000001                           $52,677.49
Celsius Network Limited               FTX                                                                                                           5/9/2022        Incoming             Exchange Activity           FTT                                         93,000.0                 $3,010,410.00
Celsius Network Limited               PHAROS                                                                                                        5/9/2022        Outgoing             Lending Activity            BTC                                           (50.66)               ($1,603,207.30)
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                 5/9/2022        Incoming             Lending Activity            BNT                                       799,900.0                  $1,327,665.56
Celsius Network Limited               PHAROS                                                                                                        5/9/2022        Outgoing             Lending Activity            BTC                                         (386.34)               ($12,226,275.32)
Celsius Network Limited               FASANARA CAPITAL                                                                                              5/9/2022        Outgoing             Lending Activity            FTT                                       (92,279.3)                ($2,932,636.15)
Celsius Network Limited               FASANARA CAPITAL                                                                                              5/9/2022        Outgoing             Lending Activity            ADA                                  (7,500,000.0)                  ($4,866,137.07)
Celsius Network Limited               BITFINEX                                                                                                      5/9/2022        Outgoing             Exchange Activity           ADA                                (2,377,956.81)                   ($1,542,861.84)
Celsius Network Limited               BITFINEX                                                                                                      5/9/2022        Outgoing             Exchange Activity           BTC                                            (39.0)               ($1,241,828.93)
Celsius Network Limited               KRAKEN                                                                                                        5/9/2022        Incoming             Exchange Activity           SOL                                       16,999.99                  $1,145,925.68
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                 5/9/2022        Outgoing             Lending Activity            ETH                                       (3,931.54)                ($9,082,764.12)
Celsius Network Limited               REDRIVERTRADING                                                                                               5/9/2022        Incoming             Lending Activity            BTC                                              3.41                  $105,509.31
Celsius Network Limited               FTX                                                                                                           5/9/2022        Outgoing             Exchange Activity           USDC                       (14,528,486.565954)                     ($14,528,486.57)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/9/2022        Incoming             Lending Activity            ETH                                         27,300.0                $62,269,362.74
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/9/2022        Outgoing             Lending Activity            BTC                                        (2,000.0)               ($61,882,293.64)
Celsius Network Limited               FTX                                                                                                           5/9/2022        Outgoing             Exchange Activity           ETH                       (42,126.9960492103)                      ($96,156,232.33)
Celsius Network Limited               FTX                                                                                                           5/9/2022        Outgoing             Exchange Activity           BNT                       (38,310.8708543202)                          ($60,932.65)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/9/2022        Incoming             Lending Activity            BTC                                          2,000.0                $62,497,978.06
Celsius Network Limited               FTX                                                                                                           5/9/2022        Outgoing             Exchange Activity           BNT                              (347.39213907)                           ($561.51)
Celsius Network Limited               FTX                                                                                                           5/9/2022        Incoming             Exchange Activity           USDC                                 15,000,000.0                   $15,000,000.00
Celsius Network Limited               FTX                                                                                                           5/9/2022        Incoming             Exchange Activity           BTC                                          2,000.0                $62,082,057.48
Celsius Network Limited               FTX                                                                                                           5/9/2022        Outgoing             Exchange Activity           BNT                                              (1.0)                      ($1.62)
Celsius Network Limited               B2C2 LTD                                                                                                      5/9/2022        Outgoing             Lending Activity            BTC                                            (74.4)               ($2,333,308.68)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/9/2022        Incoming             Lending Activity            BTC                                           222.72                 $6,984,872.44
Celsius Network Limited               FTX                                                                                                           5/9/2022        Outgoing             Exchange Activity           LTC                                       (36,441.5)                ($2,916,517.69)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/10/2022       Incoming             Lending Activity            USDC                                    908,679.71                     $908,679.71
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/10/2022       Outgoing             Lending Activity            BTC                                           (150.0)               ($4,532,542.23)
Celsius Network Limited               FTX                                                                                                           5/10/2022       Incoming             Exchange Activity           FTT                                         40,000.0                 $1,268,000.00
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                            5/10/2022       Incoming             Lending Activity            DOT                                     126,701.68                   $1,389,785.67
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                            5/10/2022       Incoming             Lending Activity            ADA                                  2,209,751.09                    $1,397,729.83
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/10/2022       Incoming             Lending Activity            BTC                                              8.13                  $251,025.36
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/10/2022       Outgoing             Lending Activity            FTT                                              (0.1)                      ($3.23)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/10/2022       Outgoing             Lending Activity            FTT                                       (39,999.9)                ($1,289,996.78)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/10/2022       Outgoing             Lending Activity            LUNA                                    (250,000.0)                 ($8,361,874.41)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/10/2022       Incoming             Lending Activity            BTC                                             430.0               $13,365,207.37
Celsius Network Limited               ONCHAIN                                                                                                       5/10/2022       Incoming             Lending Activity            USDC                                             40.0                       $40.00
Celsius Network Limited               ONCHAIN                                                                                                       5/10/2022       Incoming             Lending Activity            USDC                                   4,999,960.0                   $4,999,960.00
Celsius Network Limited               COINFLEX                                                                                                      5/10/2022       Incoming             Lending Activity            BCH                                       89,285.71                 $19,938,575.93
Celsius Network Limited               COINFLEX                                                                                                      5/10/2022       Outgoing             Lending Activity            USDC                               (20,000,000.0)                  ($20,000,000.00)
Celsius Network Limited               ONCHAIN                                                                                                       5/10/2022       Outgoing             Lending Activity            BTC                                            (0.66)                  ($20,308.40)
Celsius Network Limited               ONCHAIN                                                                                                       5/10/2022       Outgoing             Lending Activity            BTC                                           (101.0)               ($3,107,800.09)
Celsius Network Limited               0xabc2d109eb69461f8006cd3ddd2a5ae6e7a12fe4                                                                    5/10/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,706,523,818.89066                        Undetermined
Celsius Network Limited               0xabc2d109eb69461f8006cd3ddd2a5ae6e7a12fe4                                                                    5/10/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,733,954,191.26302                        Undetermined
Celsius Network Limited               0xabc2d109eb69461f8006cd3ddd2a5ae6e7a12fe4                                                                    5/10/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,593,602,452.66636                        Undetermined
Celsius Network Limited               0xabc2d109eb69461f8006cd3ddd2a5ae6e7a12fe4                                                                    5/10/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              78,663,490,510.7181                        Undetermined
Celsius Network Limited               FTX                                                                                                           5/10/2022       Incoming             Exchange Activity           XRP                                  10,000,000.0                    $5,186,239.02
Celsius Network Limited               FTX                                                                                                           5/10/2022       Incoming             Exchange Activity           USDT_ERC20                             3,000,000.0                   $2,999,760.04
Celsius Network Limited               GSR MARKETS LIMITED                                                                                           5/10/2022       Incoming             Lending Activity            BTC                                              0.01                      $318.50
Celsius Network Limited               GSR MARKETS LIMITED                                                                                           5/10/2022       Incoming             Lending Activity            BTC                                             40.36                $1,285,461.49
Celsius Network Limited               GSR MARKETS LIMITED                                                                                           5/10/2022       Outgoing             Lending Activity            XRP                                (10,000,000.0)                   ($5,227,848.43)
Celsius Network Limited               DRUK HOLDING AND INVESTMENTS                                                                                  5/10/2022       Incoming             Lending Activity            BTC                                           227.97                 $7,260,819.04
Celsius Network Limited               0xabc2d109eb69461f8006cd3ddd2a5ae6e7a12fe4                                                                    5/10/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,492,098,416.07341                        Undetermined
Celsius Network Limited               FTX                                                                                                           5/10/2022       Outgoing             Exchange Activity           LINK                                             (1.0)                      ($8.93)
Celsius Network Limited               FALCONX LIMITED                                                                                               5/10/2022       Outgoing             Lending Activity            SOL                                              (0.1)                      ($7.01)
Celsius Network Limited               FTX                                                                                                           5/10/2022       Outgoing             Exchange Activity           LINK                                (25,209.4021)                     ($225,115.02)
Celsius Network Limited               FALCONX LIMITED                                                                                               5/10/2022       Outgoing             Lending Activity            SOL                                       (16,999.9)                ($1,181,173.97)
Celsius Network Limited               FTX                                                                                                           5/10/2022       Incoming             Exchange Activity           ETH                                          8,000.0                $19,095,600.88
Celsius Network Limited               0x2e10d80a094ecd55e5a5d656e5c924c5769e64f6                                                                    5/10/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,382,006,424.18415                        Undetermined
Celsius Network Limited               0x2e10d80a094ecd55e5a5d656e5c924c5769e64f6                                                                    5/10/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,301,155,282.94582                        Undetermined
Celsius Network Limited               0xabc2d109eb69461f8006cd3ddd2a5ae6e7a12fe4                                                                    5/10/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,159,412,836.80506                        Undetermined
Celsius Network Limited               MENAI MARKETS UK                                                                                              5/10/2022       Incoming             Lending Activity            XRP                                    2,333,274.8                   $1,209,896.77
Celsius Network Limited               GSR MARKETS LIMITED                                                                                           5/10/2022       Incoming             Lending Activity            XRP                                 155,801.0959                        $81,717.89
Celsius Network Limited               0x67f13be8bd2b4e3b5fe310fb5bbf730e021d8a40                                                                    5/10/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,358,188,100.87349                        Undetermined
Celsius Network Limited               0xabc2d109eb69461f8006cd3ddd2a5ae6e7a12fe4                                                                    5/10/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,551,338,921.16472                        Undetermined
Celsius Network Limited               POWER BLOCK COIN                                                                                              5/10/2022       Incoming             Lending Activity            ETH                                           778.58                 $1,907,772.97
Celsius Network Limited               0x67f13be8bd2b4e3b5fe310fb5bbf730e021d8a40                                                                    5/10/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,997,783,012.42656                        Undetermined
Celsius Network Limited               DRUK HOLDING AND INVESTMENTS                                                                                  5/10/2022       Incoming             Lending Activity            ETH                                           0.0084                        $20.58
Celsius Network Limited               FTX                                                                                                           5/10/2022       Incoming             Exchange Activity           XRP                                    7,500,000.0                   $4,012,603.58
Celsius Network Limited               DRUK HOLDING AND INVESTMENTS                                                                                  5/10/2022       Incoming             Lending Activity            ETH                                        227.9616                    $558,579.70
Celsius Network Limited               FTX                                                                                                           5/10/2022       Incoming             Exchange Activity           BNB_BSC                                      5,000.0                 $1,630,704.67
Celsius Network Limited               FTX                                                                                                           5/10/2022       Incoming             Exchange Activity           AAVE                                         9,120.0                 $1,038,898.65
Celsius Network Limited               FTX                                                                                                           5/10/2022       Incoming             Exchange Activity           UNI                                557.65112164                          $3,616.83
Celsius Network Limited               0xabc2d109eb69461f8006cd3ddd2a5ae6e7a12fe4                                                                    5/10/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN              1,431,663,312.05587                        Undetermined
Celsius Network Limited               FTX                                                                                                           5/10/2022       Incoming             Exchange Activity           LTC                                         36,441.5                 $3,030,154.00
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/10/2022       Incoming             Lending Activity            UNI                                         66,250.0                   $426,683.38
Celsius Network Limited               FTX                                                                                                           5/10/2022       Incoming             Exchange Activity           BTC                                          2,750.0                $86,754,732.35
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/10/2022       Outgoing             Lending Activity            BTC                                            (4.25)                 ($134,075.50)
Celsius Network Limited               FTX                                                                                                           5/10/2022       Incoming             Exchange Activity           TERRA_USD                              5,500,000.0                   $5,500,000.00
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/10/2022       Outgoing             Lending Activity            USDC                                    (105,800.0)                   ($105,800.00)
Celsius Network Limited               BITFINEX                                                                                                      5/10/2022       Outgoing             Exchange Activity           USDT_ERC20                           (9,300,000.0)                  ($9,300,734.94)
Celsius Network Limited               MATRIXPORT                                                                                                    5/10/2022       Outgoing             Lending Activity            LUNA                                     (728.7671)                    ($20,944.25)
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             5/10/2022       Incoming             Lending Activity            BNB_BSC                                       57.274                    $18,386.93
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             5/10/2022       Incoming             Lending Activity            LINK                                        26.8182                        $239.66
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             5/10/2022       Incoming             Lending Activity            ZRX                                         739.726                        $397.05
Celsius Network Limited               AKUNA CAPITAL                                                                                                 5/10/2022       Incoming             Lending Activity            BTC                                           0.3699                    $11,587.30
Celsius Network Limited               AKUNA CAPITAL                                                                                                 5/10/2022       Incoming             Lending Activity            XRP                                     6,966.0447                       $3,598.16
Celsius Network Limited               LUOJI                                                                                                         5/10/2022       Incoming             Lending Activity            ETH                                         20.4068                     $48,247.84
Celsius Network Limited               LUOJI                                                                                                         5/10/2022       Incoming             Lending Activity            USDT_ERC20                            111,780.822                      $111,787.86
Celsius Network Limited               DRUK HOLDING AND INVESTMENTS                                                                                  5/10/2022       Outgoing             Lending Activity            ETH                                            (0.01)                      ($23.41)
Celsius Network Limited               FTX                                                                                                           5/10/2022       Incoming             Exchange Activity           BUSD                                   3,500,000.0                   $3,490,872.00
Celsius Network Limited               LUOJI                                                                                                         5/10/2022       Incoming             Lending Activity            BTC                                           0.5918                    $18,429.27
Celsius Network Limited               FTX                                                                                                           5/10/2022       Outgoing             Exchange Activity           LTC                                   (1,751.4234)                    ($141,726.16)
Celsius Network Limited               FTX                                                                                                           5/10/2022       Outgoing             Exchange Activity           DOT                               (13,130.39018)                      ($152,079.57)
Celsius Network Limited               FLOW TRADERS                                                                                                  5/10/2022       Outgoing             Lending Activity            AVAX                                    (10,416.67)                   ($492,947.73)
Celsius Network Limited               CMS HOLDINGS LLC                                                                                              5/10/2022       Incoming             Lending Activity            LUNA                                      65,735.18                  $1,991,197.88
Celsius Network Limited               FTX                                                                                                           5/10/2022       Outgoing             Exchange Activity           BTC                                    (141.42993)                  ($4,435,365.16)
Celsius Network Limited               CMS HOLDINGS LLC                                                                                              5/10/2022       Outgoing             Lending Activity            BTC                                           (72.55)               ($2,275,230.87)
Celsius Network Limited               BLOCKFILLS                                                                                                    5/10/2022       Incoming             Lending Activity            BTC                                                3.0                  $94,082.60
Celsius Network Limited               FTX                                                                                                           5/10/2022       Outgoing             Exchange Activity           MATIC                           (232,816.23848)                       ($216,285.12)
Celsius Network Limited               FTX                                                                                                           5/10/2022       Outgoing             Exchange Activity           MANA                                           (10.0)                      ($11.68)
Celsius Network Limited               FTX                                                                                                           5/10/2022       Outgoing             Exchange Activity           MANA                                  (167,571.98)                    ($195,671.14)
Celsius Network Limited               TETHER                                                                                                        5/10/2022       Outgoing             Lending Activity            EURT_ERC20                           (3,809,470.0)                  ($4,026,792.48)
Celsius Network Limited               FTX                                                                                                           5/10/2022       Incoming             Exchange Activity           MATIC                             232,816.23848                        $219,238.16
Celsius Network Limited               DRUK HOLDING AND INVESTMENTS                                                                                  5/10/2022       Outgoing             Lending Activity            ETH                                           (42.91)                 ($102,997.63)
Celsius Network Limited               FTX                                                                                                           5/10/2022       Incoming             Exchange Activity           USDC                                 10,000,000.0                   $10,000,000.00
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                             Doc 15          Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                    SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                              Main Document                              Case Number: 22-10966



          CELSIUS ENTITY                                                            COUNTERPARTY
                                                                                                               Pg 34 of 77           Non-Retail Coin Transactions
                                                                                                                                                      DATE          TYPE                          TRANSACTION TYPE              COIN   COIN QUANTITY                         COIN USD
Celsius Network Limited               FTX                                                                                                           5/10/2022       Incoming             Exchange Activity           MATIC                         934,603.76152                      $875,877.93
Celsius Network Limited               LUOJI                                                                                                         5/10/2022       Incoming             Lending Activity            LUNA                                  394.5205                    $11,722.16
Celsius Network Limited               FTX                                                                                                           5/10/2022       Outgoing             Exchange Activity           MATIC_POLYGON         (225,254.995025985)                       ($209,838.14)
Celsius Network Limited               PROFLUENT TRADING INC                                                                                         5/10/2022       Incoming             Lending Activity            XLM                                1,265.7534                        $190.79
Celsius Network Limited               FTX                                                                                                           5/10/2022       Incoming             Exchange Activity           MATIC                    225,254.99502599                        $209,453.13
Celsius Network Limited               KRAKEN                                                                                                        5/10/2022       Incoming             Exchange Activity           SOL                                  40,000.99                 $2,716,954.04
Celsius Network Limited               FTX                                                                                                           5/10/2022       Outgoing             Exchange Activity           LUNA                        (22,049.997231)                     ($546,698.30)
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             5/10/2022       Incoming             Lending Activity            FTT                                    30.8741                     $1,028.11
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             5/10/2022       Incoming             Lending Activity            AAVE                                   61.6438                     $6,634.39
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             5/10/2022       Incoming             Lending Activity            COMP                                   38.0274                     $3,379.95
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             5/10/2022       Incoming             Lending Activity            SNX                                    323.089                     $1,077.46
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             5/10/2022       Incoming             Lending Activity            UNI                                   118.5833                       $735.94
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             5/10/2022       Incoming             Lending Activity            MATIC                             23,847.9655                     $21,803.88
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             5/10/2022       Incoming             Lending Activity            ADA                                   725.5479                       $471.59
Celsius Network Limited               FTX                                                                                                           5/10/2022       Outgoing             Exchange Activity           TERRA_USD                       (5,000,000.0)                 ($5,000,000.00)
Celsius Network Limited               FTX                                                                                                           5/10/2022       Incoming             Exchange Activity           BTC                            333.99999999                   $10,202,702.82
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/10/2022       Incoming             Lending Activity            BTC                               6.60273973                     $201,198.07
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/10/2022       Incoming             Lending Activity            BCH                                      2.2126                      $497.86
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/10/2022       Incoming             Lending Activity            MANA                             130.4109589                         $140.37
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/10/2022       Incoming             Lending Activity            USDT_ERC20                    79,166.666666                       $79,154.19
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/10/2022       Incoming             Lending Activity            LINK                             35.41666667                         $296.10
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/10/2022       Incoming             Lending Activity            XLM                                           1.0                      $0.14
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/10/2022       Incoming             Lending Activity            LTC                                           1.0                     $78.87
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/10/2022       Incoming             Lending Activity            SOL                                           1.0                     $64.08
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/10/2022       Incoming             Lending Activity            PAXG                       1.340485269316                          $2,463.40
Celsius Network Limited               0xe81397ba5dc43d08c6ac89a8b1c531b21c028648                                                                    5/11/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,804,715,108.66572                      Undetermined
Celsius Network Limited               0xe81397ba5dc43d08c6ac89a8b1c531b21c028648                                                                    5/11/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,686,227,669.05902                      Undetermined
Celsius Network Limited               0xe81397ba5dc43d08c6ac89a8b1c531b21c028648                                                                    5/11/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            104,961,977,031.06                     Undetermined
Celsius Network Limited               0xe81397ba5dc43d08c6ac89a8b1c531b21c028648                                                                    5/11/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,764,201,328.97591                      Undetermined
Celsius Network Limited               0xe81397ba5dc43d08c6ac89a8b1c531b21c028648                                                                    5/11/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN            1,977,230,948.8743                     Undetermined
Celsius Network Limited               0xe81397ba5dc43d08c6ac89a8b1c531b21c028648                                                                    5/11/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN          1,424,466,661.84458                      Undetermined
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/11/2022       Outgoing             Lending Activity            SOL                                  (20,000.0)               ($1,270,241.60)
Celsius Network Limited               FTX                                                                                                           5/11/2022       Incoming             Exchange Activity           USDT_ERC20                         5,000,000.0                 $4,999,193.49
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/11/2022       Incoming             Lending Activity            BTC                                        13.28                 $419,520.01
Celsius Network Limited               FTX                                                                                                           5/11/2022       Incoming             Exchange Activity           USDT_ERC20                         5,000,000.0                 $4,999,193.49
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/11/2022       Outgoing             Lending Activity            AVAX                                 (18,000.0)                 ($712,126.56)
Celsius Network Limited               NICKEL                                                                                                        5/11/2022       Outgoing             Lending Activity            USDT_ERC20                     (20,000,000.0)                ($19,996,773.97)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/11/2022       Outgoing             Lending Activity            MANA                               (800,000.0)                  ($847,417.78)
Celsius Network Limited               FTX                                                                                                           5/11/2022       Outgoing             Exchange Activity           MKR                    (3.37256390018393)                         ($5,609.79)
Celsius Network Limited               TDX SG PTE LTD                                                                                                5/11/2022       Outgoing             Lending Activity            BTC                                         (5.1)               ($162,424.92)
Celsius Network Limited               CMS HOLDINGS LLC                                                                                              5/11/2022       Incoming             Lending Activity            USDT_ERC20                                    1.0                      $1.00
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/11/2022       Outgoing             Lending Activity            ZRX                             (1,100,000.0)                   ($518,472.35)
Celsius Network Limited               CMS HOLDINGS LLC                                                                                              5/11/2022       Incoming             Lending Activity            USDT_ERC20                         4,999,999.0                 $4,999,788.42
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/11/2022       Incoming             Lending Activity            EOS                                  750,000.0                 $1,251,200.78
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/11/2022       Outgoing             Lending Activity            BTC                                       (6.06)                ($190,985.73)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/11/2022       Outgoing             Lending Activity            USDC                             (205,458.62)                   ($205,458.62)
Celsius Network Limited               FTX                                                                                                           5/11/2022       Incoming             Exchange Activity           TERRA_USD                       1,915.987727                       $1,915.99
Celsius Network Limited               BITFINEX                                                                                                      5/11/2022       Outgoing             Exchange Activity           BTC                                  (2,398.29)              ($70,796,361.32)
Celsius Network Limited               FTX                                                                                                           5/11/2022       Incoming             Exchange Activity           USDT_ERC20                         5,000,000.0                 $4,968,312.86
Celsius Network Limited               REDRIVERTRADING                                                                                               5/11/2022       Incoming             Lending Activity            BTC                                         4.09                 $122,321.03
Celsius Network Limited               FLOW TRADERS                                                                                                  5/11/2022       Outgoing             Lending Activity            USDT_ERC20                     (10,000,000.0)                 ($9,999,360.00)
Celsius Network Limited               FTX                                                                                                           5/11/2022       Outgoing             Exchange Activity           ETH                                   (3,000.0)               ($7,008,921.03)
Celsius Network Limited               FTX                                                                                                           5/11/2022       Incoming             Exchange Activity           LUNA                        540,000.997231                     $1,217,624.24
Celsius Network Limited               FTX                                                                                                           5/11/2022       Outgoing             Exchange Activity           BTC                                      (500.0)             ($15,611,444.78)
Celsius Network Limited               FTX                                                                                                           5/11/2022       Outgoing             Exchange Activity           AAVE                          (1,222.958388)                    ($116,193.28)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/11/2022       Outgoing             Lending Activity            LUNA                               (150,000.0)                  ($628,354.19)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/11/2022       Incoming             Lending Activity            BTC                                      173.21                $5,383,788.06
Celsius Network Limited               FTX                                                                                                           5/11/2022       Outgoing             Exchange Activity           XRP                     (2,496,041.933149)                    ($1,177,125.23)
Celsius Network Limited               FTX                                                                                                           5/11/2022       Incoming             Exchange Activity           DOGE                               5,000,000.0                   $473,182.46
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                            5/11/2022       Incoming             Lending Activity            DOT                                  173,000.0                 $1,764,509.47
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                            5/11/2022       Incoming             Lending Activity            ADA                         364,480.164295                       $221,449.91
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                            5/11/2022       Incoming             Lending Activity            BTC                                        77.59               $2,440,671.30
Celsius Network Limited               COINFLEX                                                                                                      5/11/2022       Incoming             Lending Activity            BCH                                  46,082.95                $10,009,596.92
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/11/2022       Incoming             Lending Activity            LTC                               4.50273973                         $341.23
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/11/2022       Incoming             Lending Activity            XLM                           2,407.9841095                          $323.22
Celsius Network Limited               KEYROCK                                                                                                       5/11/2022       Incoming             Lending Activity            AAVE                                        0.01                       $0.92
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/11/2022       Incoming             Lending Activity            SOL                              36.58465753                       $2,069.97
Celsius Network Limited               FTX                                                                                                           5/11/2022       Incoming             Exchange Activity           TERRA_USD                     250,006.98001                      $250,006.98
Celsius Network Limited               NASCENT LP                                                                                                    5/11/2022       Incoming             Lending Activity            UMA                                    90,000.0                  $281,700.00
Celsius Network Limited               BITFINEX                                                                                                      5/11/2022       Outgoing             Exchange Activity           ADA                     (2,660,874.341673)                    ($1,525,239.91)
Celsius Network Limited               BITFINEX                                                                                                      5/11/2022       Incoming             Exchange Activity           MATIC                                    6.7657                        $5.20
Celsius Network Limited               KRAKEN                                                                                                        5/11/2022       Incoming             Exchange Activity           SOL                                  50,000.99                 $2,785,323.13
Celsius Network Limited               FTX                                                                                                           5/11/2022       Incoming             Exchange Activity           XRP                       2,496,041.933149                     $1,122,407.84
Celsius Network Limited               COINFLEX                                                                                                      5/11/2022       Outgoing             Lending Activity            USDC                           (10,000,000.0)                ($10,000,000.00)
Celsius Network Limited               FTX                                                                                                           5/11/2022       Incoming             Exchange Activity           XRP                         702,165.336271                       $315,746.25
Celsius Network Limited               FTX                                                                                                           5/11/2022       Incoming             Exchange Activity           BUSD                               8,000,000.0                 $8,000,000.00
Celsius Network Limited               FTX                                                                                                           5/11/2022       Incoming             Exchange Activity           PAX                                2,000,000.0                 $2,000,000.00
Celsius Network Limited               KEYROCK                                                                                                       5/11/2022       Incoming             Lending Activity            AAVE                                    4,403.7                  $405,712.88
Celsius Network Limited               FTX                                                                                                           5/11/2022       Outgoing             Exchange Activity           UNI                         (19,115.497317)                     ($103,032.53)
Celsius Network Limited               FTX                                                                                                           5/11/2022       Outgoing             Exchange Activity           DOT                                (289,000.0)                ($2,776,740.98)
Celsius Network Limited               FTX                                                                                                           5/11/2022       Outgoing             Exchange Activity           DOT                         (13,343.851691)                     ($128,209.06)
Celsius Network Limited               KRAKEN                                                                                                        5/11/2022       Incoming             Exchange Activity           DOT                                159,999.95                  $1,537,295.56
Celsius Network Limited               PROFLUENT TRADING INC                                                                                         5/11/2022       Incoming             Lending Activity            ETH                            302.68972624                      $681,025.60
Celsius Network Limited               PROFLUENT TRADING INC                                                                                         5/11/2022       Outgoing             Lending Activity            XRP                             (5,000,000.0)                 ($2,151,885.96)
Celsius Network Limited               NASCENT LP                                                                                                    5/11/2022       Outgoing             Lending Activity            WBTC                                     (15.51)                ($471,072.90)
Celsius Network Limited               WINTERMUTE                                                                                                    5/11/2022       Incoming             Lending Activity            USDT_ERC20                       15,000,000.0                 $15,075,000.00
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          5/11/2022       Incoming             Lending Activity            USDC                                        10.0                      $10.00
Celsius Network Limited               GALAXY DIGITAL                                                                                                5/11/2022       Incoming             Lending Activity            USDT_ERC20                       20,000,000.0                 $20,020,000.00
Celsius Network Limited               DUNAMIS TRADING (BAHAMAS) LTD                                                                                 5/11/2022       Outgoing             Lending Activity            DOT                                (156,250.0)                ($1,422,853.90)
Celsius Network Limited               KRAKEN                                                                                                        5/11/2022       Incoming             Exchange Activity           SOL                                  39,999.99                 $2,030,392.91
Celsius Network Limited               FTX                                                                                                           5/11/2022       Outgoing             Exchange Activity           USDT_ERC20                     (15,000,000.0)                ($15,015,000.00)
Celsius Network Limited               DUNAMIS TRADING (BAHAMAS) LTD                                                                                 5/11/2022       Outgoing             Lending Activity            SOL                                (37,037.04)                ($1,824,546.29)
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             5/11/2022       Incoming             Lending Activity            MATIC                                       10.0                       $6.81
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          5/11/2022       Incoming             Lending Activity            USDC                           246,999,990.0                 $246,999,990.00
Celsius Network Limited               FTX                                                                                                           5/11/2022       Outgoing             Exchange Activity           USDC                         (247,000,000.0)                ($247,000,000.00)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          5/11/2022       Outgoing             Lending Activity            FTT                                         (1.0)                    ($28.31)
Celsius Network Limited               168 TRADING LIMITED                                                                                           5/11/2022       Outgoing             Lending Activity            USDC                                      (10.0)                     ($10.00)
Celsius Network Limited               168 TRADING LIMITED                                                                                           5/11/2022       Outgoing             Lending Activity            USDC                           (1,623,787.45)                 ($1,623,787.45)
Celsius Network Limited               FTX                                                                                                           5/11/2022       Incoming             Exchange Activity           BTC                                     3,000.0               $88,162,075.57
Celsius Network Limited               FTX                                                                                                           5/11/2022       Outgoing             Exchange Activity           ETH                             (337.782565)                    ($714,223.89)
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             5/11/2022       Incoming             Lending Activity            MATIC                                129,990.0                    $86,089.26
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             5/11/2022       Outgoing             Lending Activity            BTC                                       (8.05)                ($236,568.24)
Celsius Network Limited               FTX                                                                                                           5/11/2022       Incoming             Exchange Activity           FTT                                6,807,811.0               $191,639,879.65
Celsius Network Limited               DUNAMIS TRADING (BAHAMAS) LTD                                                                                 5/11/2022       Outgoing             Lending Activity            BTC                                      (100.0)              ($2,938,735.85)
Celsius Network Limited               FTX                                                                                                           5/11/2022       Outgoing             Exchange Activity           UNI                                  (20,675.0)                 ($102,341.25)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          5/11/2022       Outgoing             Lending Activity            FTT                            (6,807,809.58)               ($191,639,839.68)
Celsius Network Limited               BITFINEX                                                                                                      5/11/2022       Outgoing             Exchange Activity           USDT_ERC20                     (10,000,000.0)                 ($9,988,970.00)
Celsius Network Limited               BITFINEX                                                                                                      5/11/2022       Outgoing             Exchange Activity           ADA                         (972,776.71137)                     ($505,732.12)
Celsius Network Limited               RADKL                                                                                                         5/11/2022       Outgoing             Lending Activity            BTC                                      (10.75)                ($313,211.47)
Celsius Network Limited               BITFINEX                                                                                                      5/11/2022       Outgoing             Exchange Activity           BTC                                      (42.52)              ($1,238,860.62)
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 5/11/2022       Incoming             Lending Activity            BTC                                         7.22                 $205,819.03
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/11/2022       Incoming             Lending Activity            BTC                                      158.03                $4,459,029.63
Celsius Network Limited               B2C2 LTD                                                                                                      5/11/2022       Incoming             Lending Activity            ETH                                    1,211.36                $2,451,345.24
Celsius Network Limited               AKUNA CAPITAL                                                                                                 5/11/2022       Incoming             Lending Activity            XRP                              2,825,118.13                  $1,149,353.43
Celsius Network Limited               B2C2 LTD                                                                                                      5/11/2022       Outgoing             Lending Activity            BTC                                      (17.51)                ($504,725.92)
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             5/11/2022       Incoming             Lending Activity            MATIC                                500,000.0                   $337,224.00
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             5/11/2022       Outgoing             Lending Activity            BTC                                      (45.17)              ($1,302,025.68)
Celsius Network Limited               JUMP TRADING                                                                                                  5/11/2022       Incoming             Lending Activity            BTC                                         0.01                     $288.41
Celsius Network Limited               JUMP TRADING                                                                                                  5/11/2022       Incoming             Lending Activity            BTC                                        500.0              $14,345,953.70
Celsius Network Limited               JUMP TRADING                                                                                                  5/12/2022       Incoming             Lending Activity            BTC                                        498.0              $14,288,569.88
Celsius Network Limited               JUMP TRADING                                                                                                  5/12/2022       Incoming             Lending Activity            BTC                                        497.0              $14,259,877.98
Celsius Network Limited               JUMP TRADING                                                                                                  5/12/2022       Incoming             Lending Activity            BTC                                        499.0              $14,317,261.79
Celsius Network Limited               JUMP TRADING                                                                                                  5/12/2022       Incoming             Lending Activity            BTC                                         6.99                 $200,556.43
Celsius Network Limited               FTX                                                                                                           5/12/2022       Outgoing             Exchange Activity           TERRA_USD               (3,100,009.557379)                    ($3,100,009.57)
Celsius Network Limited               KRAKEN                                                                                                        5/12/2022       Incoming             Exchange Activity           SOL                                  59,999.99                 $3,160,431.10
Celsius Network Limited               FTX                                                                                                           5/12/2022       Outgoing             Exchange Activity           ETH                                      (579.8)              ($1,250,926.00)
Celsius Network Limited               FTX                                                                                                           5/12/2022       Outgoing             Exchange Activity           UNI                                   (1,266.0)                   ($6,481.92)
Celsius Network Limited               FTX                                                                                                           5/12/2022       Outgoing             Exchange Activity           LINK                             (138,371.05)                 ($1,005,957.53)
Celsius Network Limited               FTX                                                                                                           5/12/2022       Outgoing             Exchange Activity           BTC                         (1,750.1497934)                  ($52,377,911.39)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/12/2022       Incoming             Lending Activity            BTC                                         3.57                 $104,205.11
Celsius Network Limited               FTX                                                                                                           5/12/2022       Incoming             Exchange Activity           ETH                        34,127.09604921                    $71,098,710.37
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/12/2022       Outgoing             Lending Activity            MANA                               (650,000.0)                  ($498,857.45)
Celsius Network Limited               PARALLEL CAPITAL                                                                                              5/12/2022       Incoming             Lending Activity            USDC                                 410,000.0                   $410,000.00
Celsius Network Limited               PARALLEL CAPITAL                                                                                              5/12/2022       Outgoing             Lending Activity            ETH                                   (1,000.0)               ($2,018,987.65)
Celsius Network Limited               PROFLUENT TRADING INC                                                                                         5/12/2022       Incoming             Lending Activity            USDC                               1,200,000.0                 $1,200,000.00
Celsius Network Limited               BITFINEX                                                                                                      5/12/2022       Outgoing             Exchange Activity           BTC                                  (2,598.15)              ($72,355,216.40)
Celsius Network Limited               MATRIXPORT                                                                                                    5/12/2022       Incoming             Lending Activity            BTC                                         0.01                     $273.71
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/12/2022       Outgoing             Lending Activity            USDT_ERC20                     (10,000,000.0)                 ($9,953,150.00)
Celsius Network Limited               DUNAMIS TRADING (BAHAMAS) LTD                                                                                 5/12/2022       Incoming             Lending Activity            BTC                                        13.48                 $368,366.93
Celsius Network Limited               MATRIXPORT                                                                                                    5/12/2022       Incoming             Lending Activity            BTC                                        27.85                 $754,556.59
Celsius Network Limited               PROFLUENT TRADING INC                                                                                         5/12/2022       Outgoing             Lending Activity            ETH                                   (2,000.0)               ($3,651,277.65)
Celsius Network Limited               DUNAMIS TRADING (BAHAMAS) LTD                                                                                 5/12/2022       Outgoing             Lending Activity            ETH                                   (1,000.0)               ($1,825,638.83)
Celsius Network Limited               MENAI MARKETS UK                                                                                              5/12/2022       Incoming             Lending Activity            XRP                                        100.0                      $37.50
Celsius Network Limited               MENAI MARKETS UK                                                                                              5/12/2022       Incoming             Lending Activity            XRP                              2,844,599.21                  $1,066,845.92
Celsius Network Limited               FTX                                                                                                           5/12/2022       Outgoing             Exchange Activity           BADGER                                      (1.0)                     ($4.54)
Celsius Network Limited               FTX                                                                                                           5/12/2022       Outgoing             Exchange Activity           BADGER                (603,049.282058165)                     ($2,713,721.77)
Celsius Network Limited               FTX                                                                                                           5/12/2022       Incoming             Exchange Activity           WBTC                                    1,500.0               $41,300,192.39
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                            5/12/2022       Incoming             Lending Activity            BTC                                      114.61                $3,183,567.05
Celsius Network Limited               FTX                                                                                                           5/12/2022       Outgoing             Exchange Activity           WBTC                                  (1,500.0)              ($41,666,089.98)
Celsius Network Limited               PHAROS                                                                                                        5/12/2022       Outgoing             Lending Activity            USDC                            (6,000,000.0)                 ($6,000,000.00)
Celsius Network Limited               FTX                                                                                                           5/12/2022       Outgoing             Exchange Activity           USDT_ERC20              (3,001,000.007082)                    ($2,983,243.09)
Celsius Network Limited               REDRIVERTRADING                                                                                               5/12/2022       Incoming             Lending Activity            USDC                                 350,000.0                   $350,000.00
Celsius Network Limited               KRAKEN                                                                                                        5/12/2022       Incoming             Exchange Activity           DOT                                249,999.95                  $2,022,889.95
Celsius Network Limited               TOWERBC                                                                                                       5/12/2022       Outgoing             Lending Activity            USDT_ERC20                                (10.0)                      ($9.97)
Celsius Network Limited               TOWERBC                                                                                                       5/12/2022       Outgoing             Lending Activity            USDT_ERC20                       (349,997.92)                   ($349,042.08)
Celsius Network Limited               FTX                                                                                                           5/12/2022       Incoming             Exchange Activity           BTC                                     2,500.0               $70,191,191.00
Celsius Network Limited               REDRIVERTRADING                                                                                               5/12/2022       Outgoing             Lending Activity            BTC                                      (0.001)                     ($28.51)
Celsius Network Limited               REDRIVERTRADING                                                                                               5/12/2022       Outgoing             Lending Activity            BTC                                    (10.269)                 ($292,721.50)
Celsius Network Limited               FTX                                                                                                           5/12/2022       Incoming             Exchange Activity           USDT_ERC20                        271.062918                         $270.85
Celsius Network Limited               FTX                                                                                                           5/12/2022       Incoming             Exchange Activity           LINK                     117,009.76957192                        $745,352.23
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                                   Doc 15                        Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                                             SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                                                       Main Document                               Case Number: 22-10966



          CELSIUS ENTITY                                                                       COUNTERPARTY
                                                                                                                                   Pg 35 of 77                Non-Retail Coin Transactions
                                                                                                                                                                               DATE          TYPE                          TRANSACTION TYPE              COIN   COIN QUANTITY                          COIN USD
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Incoming             Exchange Activity           KNC                           120,003.349887                      $148,804.15
Celsius Network Limited               GALAXY DIGITAL                                                                                                                         5/12/2022       Incoming             Lending Activity            USDT_ERC20                        23,000,000.0                 $23,023,000.00
Celsius Network Limited               GALAXY DIGITAL                                                                                                                         5/12/2022       Incoming             Lending Activity            USDT_ERC20                        23,500,000.0                 $23,523,500.00
Celsius Network Limited               OKX                                                                                                                                    5/12/2022       Incoming             Exchange Activity           BTC                                         0.001                      $28.40
Celsius Network Limited               PHAROS                                                                                                                                 5/12/2022       Outgoing             Lending Activity            USDC                            (15,000,000.0)                ($15,000,000.00)
Celsius Network Limited               PHAROS                                                                                                                                 5/12/2022       Outgoing             Lending Activity            USDC                             (7,500,000.0)                 ($7,500,000.00)
Celsius Network Limited               OKX                                                                                                                                    5/12/2022       Incoming             Exchange Activity           BTC                                     303.021                 $8,481,016.58
Celsius Network Limited               THREE ARROWS CAPITAL                                                                                                                   5/12/2022       Incoming             Lending Activity            BTC                                      1,250.0               $35,301,012.87
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                                          5/12/2022       Incoming             Lending Activity            AAVE                                    11.7842                       $896.31
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Outgoing             Exchange Activity           XRP                       (2,844,699.209933)                   ($1,073,824.61)
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                                          5/12/2022       Incoming             Lending Activity            BADGER                                 953.3052                     $3,908.55
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                                          5/12/2022       Incoming             Lending Activity            BAT                                 5,095.8904                      $1,818.90
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                                          5/12/2022       Outgoing             Lending Activity            ETH                                   (1,596.67)               ($3,195,701.41)
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Outgoing             Exchange Activity           LTC                        (14,373.54407676)                     ($950,012.77)
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                                                      5/12/2022       Incoming             Lending Activity            MATIC                               1,013,486.5                   $633,665.20
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Outgoing             Exchange Activity           MATIC_POLYGON          (274,660.550772099)                       ($170,323.48)
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                                                      5/12/2022       Outgoing             Lending Activity            BTC                                       (27.12)                ($797,775.66)
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Outgoing             Exchange Activity           BTC                         (1,676.84136834)                  ($49,326,816.26)
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Incoming             Exchange Activity           MATIC                        274,660.5507721                      $171,726.84
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Outgoing             Exchange Activity           MANA                           (262,578.2814)                    ($212,558.17)
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Outgoing             Exchange Activity           AAVE                           (1,531.078763)                    ($124,354.22)
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Incoming             Exchange Activity           PAX                               37,000,000.0                 $37,074,000.00
Celsius Network Limited               BITFINEX                                                                                                                               5/12/2022       Incoming             Exchange Activity           USDT_ERC20                        10,000,000.0                  $9,997,420.00
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Outgoing             Exchange Activity           ETH                                   (50,000.0)             ($100,181,264.79)
Celsius Network Limited               PHAROS                                                                                                                                 5/12/2022       Outgoing             Lending Activity            USDC                            (24,500,000.0)                ($24,500,000.00)
Celsius Network Limited               PHAROS                                                                                                                                 5/12/2022       Outgoing             Lending Activity            USDC                            (12,000,000.0)                ($12,000,000.00)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                                             5/12/2022       Outgoing             Lending Activity            TRX                   (142,999,995.800003)                    ($10,319,704.78)
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Incoming             Exchange Activity           USDC                        1,287,199.691382                    $1,287,199.69
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                                             5/12/2022       Incoming             Lending Activity            BTC                                       354.39               $10,303,335.94
Celsius Network Limited               MATRIXPORT                                                                                                                             5/12/2022       Outgoing             Lending Activity            USDT_ERC20                        (1,575.3425)                     ($1,581.64)
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Incoming             Exchange Activity           USDC                              10,000,000.0                 $10,000,000.00
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Incoming             Exchange Activity           BNB_BSC                                  1,000.0                  $271,668.50
Celsius Network Limited               COINFLEX                                                                                                                               5/12/2022       Incoming             Lending Activity            BCH                                     70,757.0               $14,904,826.07
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Incoming             Exchange Activity           BTC                                      1,500.0               $42,461,384.63
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                                                   5/12/2022       Incoming             Lending Activity            BTC                                            0.1                  $2,830.76
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Incoming             Exchange Activity           XRP                                   265,670.0                   $100,937.34
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                                          5/12/2022       Incoming             Lending Activity            BNT                                 5,095.8905                      $6,879.45
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                                          5/12/2022       Incoming             Lending Activity            COMP                                    20.3836                     $1,275.81
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                                          5/12/2022       Incoming             Lending Activity            REN                                 4,246.5753                        $623.49
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                                          5/12/2022       Incoming             Lending Activity            UNI                                     254.589                     $1,204.21
Celsius Network Limited               BITFINEX                                                                                                                               5/12/2022       Outgoing             Exchange Activity           XLM                                       (7.685)                      ($0.95)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                                             5/12/2022       Outgoing             Lending Activity            BTC                                    (1,765.0)              ($50,357,518.40)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                                             5/12/2022       Incoming             Lending Activity            USDC                              50,000,000.0                 $50,000,000.00
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Incoming             Exchange Activity           BTC                                      1,200.0               $34,237,406.27
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Incoming             Exchange Activity           USDC                                5,000,000.0                 $5,000,000.00
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                                                   5/12/2022       Incoming             Lending Activity            BTC                                     2,614.25               $74,363,649.20
Celsius Network Limited               BITFINEX                                                                                                                               5/12/2022       Outgoing             Exchange Activity           XLM                              (1,157,190.0)                   ($140,504.91)
Celsius Network Limited               0x2df6b30b6e6d8ceafeffe9dee12417d485623065                                                                                             5/12/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN             1,210,149,917.2754                     Undetermined
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Incoming             Exchange Activity           FTT                                   881,000.0                $25,460,900.00
Celsius Network Limited               FTX                                                                                                                                    5/12/2022       Incoming             Exchange Activity           LUNA                                  150,004.5                     $1,982.25
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                                                   5/12/2022       Outgoing             Lending Activity            FTT                               (880,344.76)                ($25,529,998.04)
Celsius Network Limited               JANE STREET                                                                                                                            5/12/2022       Incoming             Lending Activity            TRX_USDT_S2UZ                               510.0                     $558.96
Celsius Network Limited               JANE STREET                                                                                                                            5/13/2022       Incoming             Lending Activity            TRX_USDT_S2UZ                     14,900,500.0                 $16,345,848.50
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                                             5/13/2022       Incoming             Lending Activity            BTC                                      1,225.0               $37,273,547.23
Celsius Network Limited               TNeoQiEHhtTiamfRbtK7q2uTT7YdwdPjZa                                                                                                     5/13/2022       Incoming             Dust                        TRX                                    0.000001                         $0.00
Celsius Network Limited               0x68b6994c61d91e387a788cda3a528b8ad2351653                                                                                             5/13/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN           1,044,073,421.30412                      Undetermined
Celsius Network Limited               0x68b6994c61d91e387a788cda3a528b8ad2351653                                                                                             5/13/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN           1,217,508,181.12028                      Undetermined
Celsius Network Limited               BABEL HOLDING LIMITED                                                                                                                  5/13/2022       Incoming             Lending Activity            USDT_ERC20                                  100.0                     $100.20
Celsius Network Limited               FTX                                                                                                                                    5/13/2022       Incoming             Exchange Activity           DOGE                              39,999,500.0                  $3,654,959.19
Celsius Network Limited               BABEL HOLDING LIMITED                                                                                                                  5/13/2022       Incoming             Lending Activity            USDT_ERC20                        14,999,900.0                 $14,999,900.00
Celsius Network Limited               SHAWN HOPKINSON                                                                                                                        5/13/2022       Incoming             Gas fees                    TRX                              1,071.689618                          $77.91
Celsius Network Limited               TSXx6ZShh9VzB1bLnUJP7oqEuUog4f3QGY                                                                                                     5/13/2022       Incoming             Dust                        TRX                                    0.000001                         $0.00
Celsius Network Limited               TUcvQhmT9KadTsQtCpDTuq3frcqDUswzuN                                                                                                     5/13/2022       Incoming             Dust                        TRX                                    0.000001                         $0.00
Celsius Network Limited               JANE STREET                                                                                                                            5/13/2022       Incoming             Lending Activity            TRX                                    0.000001                         $0.00
Celsius Network Limited               TUm3XN62m6HSRYsg4ADzmw8rSHU9RSzseK                                                                                                     5/13/2022       Incoming             Dust                        TRX                                    0.000001                         $0.00
Celsius Network Limited               TCiqRssczmR1z7e4WGbenwDJaDspL1yABw                                                                                                     5/13/2022       Incoming             Dust                        TRX                                    0.000001                         $0.00
Celsius Network Limited               TSxyq5exFApJo9NovqgXLZcPYY2WGZwV32                                                                                                     5/13/2022       Incoming             Dust                        TRX                                    0.000001                         $0.00
Celsius Network Limited               JANE STREET                                                                                                                            5/13/2022       Incoming             Lending Activity            TRX                                    0.000001                         $0.00
Celsius Network Limited               JANE STREET                                                                                                                            5/13/2022       Incoming             Lending Activity            TRX                                    0.000001                         $0.00
Celsius Network Limited               FTX                                                                                                                                    5/13/2022       Incoming             Exchange Activity           LTC                                     49,994.0                $3,478,553.93
Celsius Network Limited               FTX                                                                                                                                    5/13/2022       Outgoing             Exchange Activity           TRX_USDT_S2UZ                              (10.0)                      ($9.89)
Celsius Network Limited               FTX                                                                                                                                    5/13/2022       Outgoing             Exchange Activity           TRX_USDT_S2UZ                   (14,901,000.0)                ($14,741,127.17)
Celsius Network Limited               MATRIXPORT                                                                                                                             5/13/2022       Outgoing             Lending Activity            LTC                                          (0.1)                     ($6.92)
Celsius Network Limited               FTX                                                                                                                                    5/13/2022       Incoming             Exchange Activity           USDT_ERC20                        14,901,010.0                 $14,930,812.02
Celsius Network Limited               MATRIXPORT                                                                                                                             5/13/2022       Incoming             Lending Activity            BTC                                          0.01                     $304.74
Celsius Network Limited               BITFINEX                                                                                                                               5/13/2022       Incoming             Exchange Activity           MATIC                          5,000,002.4534                   $3,579,421.76
Celsius Network Limited               BITFINEX                                                                                                                               5/13/2022       Incoming             Exchange Activity           MATIC                          4,999,996.4534                   $3,579,417.46
Celsius Network Limited               BITFINEX                                                                                                                               5/13/2022       Incoming             Exchange Activity           MATIC                          4,999,996.4534                   $3,579,417.46
Celsius Network Limited               BITFINEX                                                                                                                               5/13/2022       Incoming             Exchange Activity           MATIC                          4,999,996.4534                   $3,579,417.46
Celsius Network Limited               MATRIXPORT                                                                                                                             5/13/2022       Incoming             Lending Activity            BTC                                       112.39                $3,412,692.97
Celsius Network Limited               MATRIXPORT                                                                                                                             5/13/2022       Incoming             Lending Activity            BTC                                          0.01                     $303.65
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                                                 5/13/2022       Incoming             Lending Activity            USDT_ERC20                                  708.0                     $708.00
Celsius Network Limited               168 TRADING LIMITED                                                                                                                    5/13/2022       Incoming             Lending Activity            USDC                                        100.0                     $100.00
Celsius Network Limited               MATRIXPORT                                                                                                                             5/13/2022       Incoming             Lending Activity            BTC                                       123.65                $3,793,316.22
Celsius Network Limited               MATRIXPORT                                                                                                                             5/13/2022       Outgoing             Lending Activity            LTC                        (49,999.89999718)                   ($3,573,066.47)
Celsius Network Limited               FTX                                                                                                                                    5/13/2022       Outgoing             Exchange Activity           SNX                           (18,988.653758)                     ($55,256.98)
Celsius Network Limited               168 TRADING LIMITED                                                                                                                    5/13/2022       Incoming             Lending Activity            USDC                                275,955.88                    $275,955.88
Celsius Network Limited               addr1q95vqvy2072r0mr2f4neps0pny4v9y5e6hdvdtvdmepdqt2r954r95uefzakhvt2ssfc395fs4vfhy2czj6vwntj74gqutnzpq                                5/13/2022       Incoming             Blockchain Transaction      ADA                                          10.0                       $5.79
Celsius Network Limited               FTX                                                                                                                                    5/13/2022       Incoming             Exchange Activity           USDC                              30,000,000.0                 $30,000,000.00
Celsius Network Limited               THREE ARROWS CAPITAL                                                                                                                   5/13/2022       Incoming             Lending Activity            BTC                                         335.0              $10,353,822.87
Celsius Network Limited               THREE ARROWS CAPITAL                                                                                                                   5/13/2022       Incoming             Lending Activity            BTC                                         665.0              $20,553,111.08
Celsius Network Limited               FTX                                                                                                                                    5/13/2022       Outgoing             Exchange Activity           TERRA_USD                 (7,435,878.882199)                   ($7,435,882.15)
Celsius Network Limited               BITFINEX                                                                                                                               5/13/2022       Outgoing             Exchange Activity           ADA                     (11,100,522.301631)                    ($6,486,259.34)
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                                          5/13/2022       Incoming             Lending Activity            BNB_BSC                                 78.7124                    $24,350.36
Celsius Network Limited               FOLKVANG                                                                                                                               5/13/2022       Incoming             Lending Activity            USDC                                        500.0                     $500.00
Celsius Network Limited               FTX                                                                                                                                    5/13/2022       Outgoing             Exchange Activity           MATIC                   (10,001,784.417623)                    ($7,353,161.88)
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                                        5/13/2022       Incoming             Lending Activity            USDC                                         20.0                      $20.00
Celsius Network Limited               FOLKVANG                                                                                                                               5/13/2022       Incoming             Lending Activity            USDC                              14,999,500.0                 $14,999,500.00
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                                        5/13/2022       Incoming             Lending Activity            USDC                                  249,980.0                   $249,980.00
Celsius Network Limited               PROFLUENT TRADING INC                                                                                                                  5/13/2022       Incoming             Lending Activity            SOL                               108.4907231                       $5,861.44
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                                        5/13/2022       Outgoing             Lending Activity            BNB_BSC                                    (0.05)                     ($15.09)
Celsius Network Limited               FTX                                                                                                                                    5/13/2022       Incoming             Exchange Activity           BUSD                                1,000,000.0                   $999,508.00
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                                        5/13/2022       Outgoing             Lending Activity            BNB_BSC                                   (806.4)                ($243,321.55)
Celsius Network Limited               DUNAMIS TRADING (BAHAMAS) LTD                                                                                                          5/13/2022       Incoming             Lending Activity            ETH                                      1,000.0                $2,070,458.37
Celsius Network Limited               JANE STREET                                                                                                                            5/13/2022       Incoming             Lending Activity            USDT_ERC20                                  150.0                     $150.00
Celsius Network Limited               PROFLUENT TRADING INC                                                                                                                  5/13/2022       Incoming             Lending Activity            XRP                                 2,910.9589                      $1,256.10
Celsius Network Limited               JANE STREET                                                                                                                            5/13/2022       Incoming             Lending Activity            USDT_ERC20                        24,999,542.0                 $24,999,542.00
Celsius Network Limited               JANE STREET                                                                                                                            5/13/2022       Incoming             Lending Activity            USDT_ERC20                        19,098,590.0                 $19,098,590.00
Celsius Network Limited               KRAKEN                                                                                                                                 5/13/2022       Incoming             Exchange Activity           DOT                        750,494.04939422                     $8,302,744.81
Celsius Network Limited               FLOW TRADERS                                                                                                                           5/13/2022       Incoming             Lending Activity            BTC                                         0.002                      $59.98
Celsius Network Limited               FLOW TRADERS                                                                                                                           5/13/2022       Incoming             Lending Activity            BTC                                     117.998                 $3,551,192.67
Celsius Network Limited               WINTERMUTE                                                                                                                             5/13/2022       Incoming             Lending Activity            ETH                                     6,326.18               $12,915,080.87
Celsius Network Limited               DUNAMIS TRADING (BAHAMAS) LTD                                                                                                          5/13/2022       Outgoing             Lending Activity            BTC                                       (13.48)                ($400,615.50)
Celsius Network Limited               POWER BLOCK COIN                                                                                                                       5/13/2022       Incoming             Lending Activity            USDC                               30,681.5069                     $30,681.51
Celsius Network Limited               JANE STREET                                                                                                                            5/13/2022       Incoming             Lending Activity            LINK                                  114,811.0                   $830,083.53
Celsius Network Limited               HUDSON RIVER                                                                                                                           5/13/2022       Incoming             Lending Activity            ADA                                          10.0                       $5.47
Celsius Network Limited               FLOW TRADERS                                                                                                                           5/13/2022       Incoming             Lending Activity            BTC                                    0.000975                        $29.04
Celsius Network Limited               0x491791611aea5531e5be9d9abecb428939bd26e3                                                                                             5/13/2022       Incoming             Blockchain Transaction      HMC                                            1.0              Undetermined
Celsius Network Limited               FTX                                                                                                                                    5/13/2022       Incoming             Exchange Activity           SUSHI                            2,242.941573                       $2,960.68
Celsius Network Limited               FTX                                                                                                                                    5/14/2022       Incoming             Exchange Activity           XRP                                   750,000.0                   $319,207.22
Celsius Network Limited               FLOW TRADERS                                                                                                                           5/14/2022       Incoming             Lending Activity            BTC                                    166.0891                 $4,887,074.15
Celsius Network Limited               HUDSON RIVER                                                                                                                           5/14/2022       Incoming             Lending Activity            ADA                                 571,418.57                    $306,146.50
Celsius Network Limited               HUDSON RIVER                                                                                                                           5/14/2022       Incoming             Lending Activity            ADA                                 4,000,000.0                 $2,143,063.04
Celsius Network Limited               HUDSON RIVER                                                                                                                           5/14/2022       Incoming             Lending Activity            ADA                                 2,000,000.0                 $1,101,496.75
Celsius Network Limited               HUDSON RIVER                                                                                                                           5/14/2022       Incoming             Lending Activity            ADA                                 2,000,000.0                 $1,101,496.75
Celsius Network Limited               MEMETIC CAPITAL LP                                                                                                                     5/14/2022       Incoming             Lending Activity            USDC                                         1.11                       $1.11
Celsius Network Limited               MEMETIC CAPITAL LP                                                                                                                     5/14/2022       Incoming             Lending Activity            USDC                                4,000,000.0                 $4,000,000.00
Celsius Network Limited               0x7c8dcd4bb1096e68edec4568b8a12629e7febf3e                                                                                             5/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN           1,363,981,740.43265                      Undetermined
Celsius Network Limited               0x7c8dcd4bb1096e68edec4568b8a12629e7febf3e                                                                                             5/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN           1,696,550,467.02619                      Undetermined
Celsius Network Limited               0x7c8dcd4bb1096e68edec4568b8a12629e7febf3e                                                                                             5/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN             1,314,858,225.5972                     Undetermined
Celsius Network Limited               0x7c8dcd4bb1096e68edec4568b8a12629e7febf3e                                                                                             5/14/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN           1,604,928,097.78595                      Undetermined
Celsius Network Limited               KENETIC TRADING LTD                                                                                                                    5/14/2022       Incoming             Lending Activity            BTC                                          5.45                 $159,843.21
Celsius Network Limited               KENETIC TRADING LTD                                                                                                                    5/14/2022       Outgoing             Lending Activity            XLM                     (5,999,999.9949995)                      ($797,700.32)
Celsius Network Limited               FTX                                                                                                                                    5/14/2022       Incoming             Exchange Activity           XRP                                 1,800,000.0                   $748,520.26
Celsius Network Limited               MEMETIC CAPITAL LP                                                                                                                     5/14/2022       Incoming             Lending Activity            USDC                                4,000,000.0                 $4,000,000.00
Celsius Network Limited               0xd0c8e0df6bd9c70af51e1f6386555d0411e0827c                                                                                             5/15/2022       Incoming             Blockchain Transaction      BIZAUTOPOLYGON                    2.087214595                   Undetermined
Celsius Network Limited               FTX                                                                                                                                    5/15/2022       Incoming             Exchange Activity           USDC                              16,000,000.0                 $16,000,000.00
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                                             5/15/2022       Outgoing             Lending Activity            USDC                            (50,000,000.0)                ($50,000,000.00)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                                             5/15/2022       Incoming             Lending Activity            BTC                                      1,765.0               $52,915,724.17
Celsius Network Limited               FTX                                                                                                                                    5/16/2022       Incoming             Exchange Activity           BTC                                      1,500.0               $46,962,287.04
Celsius Network Limited               FTX                                                                                                                                    5/16/2022       Incoming             Exchange Activity           BNB_BSC                       28,015.9405379                    $8,744,354.96
Celsius Network Limited               FTX                                                                                                                                    5/16/2022       Incoming             Exchange Activity           XRP                         1,456,784.057771                      $651,720.74
Celsius Network Limited               FTX                                                                                                                                    5/16/2022       Incoming             Exchange Activity           BUSD                                1,000,000.0                 $1,006,000.00
Celsius Network Limited               FTX                                                                                                                                    5/16/2022       Incoming             Exchange Activity           USDC                                5,000,000.0                 $5,000,000.00
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                                        5/16/2022       Incoming             Lending Activity            USDC                                         30.0                      $30.00
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                                        5/16/2022       Incoming             Lending Activity            USDC                                  249,970.0                   $249,970.00
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                                        5/16/2022       Outgoing             Lending Activity            BNB_BSC                                      (0.1)                    ($29.40)
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                                        5/16/2022       Outgoing             Lending Activity            BNB_BSC                                 (847.36)                 ($249,112.43)
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                                                  5/16/2022       Incoming             Lending Activity            ETH                                      3,000.0                $6,039,712.77
Celsius Network Limited               FTX                                                                                                                                    5/16/2022       Outgoing             Exchange Activity           WBTC                               (0.3663718)                    ($10,867.99)
Celsius Network Limited               FTX                                                                                                                                    5/16/2022       Incoming             Exchange Activity           LTC                                      6,000.0                  $400,530.32
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                                                  5/16/2022       Outgoing             Lending Activity            BTC                                        (56.1)              ($1,674,106.36)
Celsius Network Limited               FTX                                                                                                                                    5/16/2022       Outgoing             Exchange Activity           BNB_BSC                  (22,999.999649363)                    ($6,896,626.39)
Celsius Network Limited               FTX                                                                                                                                    5/16/2022       Incoming             Exchange Activity           USDC                              10,000,000.0                 $10,000,000.00
Celsius Network Limited               FTX                                                                                                                                    5/16/2022       Incoming             Exchange Activity           USDC                              14,000,000.0                 $14,000,000.00
Celsius Network Limited               FTX                                                                                                                                    5/16/2022       Incoming             Exchange Activity           XRP                         2,000,021.088976                      $839,104.32
Celsius Network Limited               BITFINEX                                                                                                                               5/16/2022       Incoming             Exchange Activity           USDT_ERC20                          6,000,000.0                 $6,012,000.00
Celsius Network Limited               FTX                                                                                                                                    5/16/2022       Incoming             Exchange Activity           USDC                                5,000,000.0                 $5,000,000.00
Celsius Network Limited               KRAKEN                                                                                                                                 5/16/2022       Incoming             Exchange Activity           SOL                             128,409.92201                   $6,983,453.79
Celsius Network Limited               FTX                                                                                                                                    5/16/2022       Incoming             Exchange Activity           USDC                                  500,000.0                   $500,000.00
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                                 Doc 15             Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                           SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                                     Main Document                            Case Number: 22-10966



          CELSIUS ENTITY                                                                   COUNTERPARTY
                                                                                                                      Pg 36 of 77           Non-Retail Coin Transactions
                                                                                                                                                             DATE          TYPE                          TRANSACTION TYPE              COIN   COIN QUANTITY                       COIN USD
Celsius Network Limited               FTX                                                                                                                  5/16/2022       Incoming             Exchange Activity           BUSD                                500,000.0                  $501,500.00
Celsius Network Limited               FTX                                                                                                                  5/16/2022       Outgoing             Exchange Activity           DOT                               (293,465.0)               ($3,123,366.52)
Celsius Network Limited               FTX                                                                                                                  5/16/2022       Outgoing             Exchange Activity           MANA                              (580,992.0)                 ($703,000.32)
Celsius Network Limited               FTX                                                                                                                  5/16/2022       Outgoing             Exchange Activity           UNI                               (394,536.0)               ($1,992,406.80)
Celsius Network Limited               FTX                                                                                                                  5/16/2022       Incoming             Exchange Activity           LUNA                             1,000,030.0                       $187.93
Celsius Network Limited               FTX                                                                                                                  5/16/2022       Outgoing             Exchange Activity           BNT                               (645,524.0)                 ($910,188.84)
Celsius Network Limited               FTX                                                                                                                  5/16/2022       Outgoing             Exchange Activity           BAT                                      (10.0)                     ($3.95)
Celsius Network Limited               FTX                                                                                                                  5/16/2022       Outgoing             Exchange Activity           BAT                               (895,148.0)                 ($355,841.92)
Celsius Network Limited               BITFINEX                                                                                                             5/16/2022       Incoming             Exchange Activity           ETH                            79,999.99874                $161,321,007.71
Celsius Network Limited               BITFINEX                                                                                                             5/16/2022       Incoming             Exchange Activity           USDT_ERC20                                  2.0                      $2.00
Celsius Network Limited               FTX                                                                                                                  5/16/2022       Incoming             Exchange Activity           CRV                                    9,590.0                  $13,042.40
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                                   5/16/2022       Outgoing             OTC Transaction             AAVE                                      (1.0)                    ($82.94)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                                   5/16/2022       Outgoing             OTC Transaction             CRV                           (25.92967142)                        ($35.01)
Celsius Network Limited               FTX                                                                                                                  5/16/2022       Incoming             Exchange Activity           BTC                                    1,000.0              $29,393,405.12
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                                   5/16/2022       Outgoing             OTC Transaction             CRV                                (15,000.0)                  ($20,250.00)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                                   5/16/2022       Outgoing             OTC Transaction             AAVE                                     (19.0)                 ($1,575.86)
Celsius Network Limited               FTX                                                                                                                  5/17/2022       Outgoing             Exchange Activity           LINK                              (500,000.0)               ($3,870,000.00)
Celsius Network Limited               FTX                                                                                                                  5/17/2022       Outgoing             Exchange Activity           MATIC                                     (1.0)                     ($0.71)
Celsius Network Limited               FTX                                                                                                                  5/17/2022       Outgoing             Exchange Activity           MATIC                          (5,999,999.0)                ($4,238,867.29)
Celsius Network Limited               FTX                                                                                                                  5/17/2022       Incoming             Exchange Activity           XRP                                         1.0                      $0.43
Celsius Network Limited               FTX                                                                                                                  5/17/2022       Incoming             Exchange Activity           XRP                              3,000,000.0                 $1,289,531.18
Celsius Network Limited               FALCONX LIMITED                                                                                                      5/17/2022       Incoming             Lending Activity            XRP                                        2.32                      $1.00
Celsius Network Limited               FALCONX LIMITED                                                                                                      5/17/2022       Incoming             Lending Activity            SOL                                      0.018                       $1.02
Celsius Network Limited               FALCONX LIMITED                                                                                                      5/17/2022       Incoming             Lending Activity            XRP                               987,661.23                   $424,984.33
Celsius Network Limited               FTX                                                                                                                  5/17/2022       Incoming             Exchange Activity           LTC                         4,696.08257443                     $332,549.14
Celsius Network Limited               FTX                                                                                                                  5/17/2022       Incoming             Exchange Activity           BCH                         2,353.11325965                     $483,345.48
Celsius Network Limited               FTX                                                                                                                  5/17/2022       Incoming             Exchange Activity           BUSD                             1,000,000.0                 $1,002,000.00
Celsius Network Limited               FTX                                                                                                                  5/17/2022       Incoming             Exchange Activity           XRP                              5,000,000.0                 $2,158,011.26
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                                   5/17/2022       Outgoing             Lending Activity            BTC                                    (0.001)                     ($30.44)
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                                5/17/2022       Incoming             Lending Activity            LUNA                                 40,000.0                        $7.48
Celsius Network Limited               FTX                                                                                                                  5/17/2022       Incoming             Exchange Activity           LUNA                           1,229.144659                          $0.23
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                                   5/17/2022       Outgoing             Lending Activity            BTC                                 (101.299)               ($3,075,933.67)
Celsius Network Limited               FTX                                                                                                                  5/17/2022       Outgoing             Exchange Activity           BTC                                    (500.0)             ($15,243,924.36)
Celsius Network Limited               GSR MARKETS LIMITED                                                                                                  5/17/2022       Incoming             Lending Activity            XRP                              4,000,000.0                 $1,737,005.37
Celsius Network Limited               GSR MARKETS LIMITED                                                                                                  5/17/2022       Outgoing             Lending Activity            BTC                                    (16.15)                ($492,908.45)
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                               5/17/2022       Incoming             Lending Activity            ZRX                              6,200,000.0                 $2,600,931.00
Celsius Network Limited               FTX                                                                                                                  5/17/2022       Outgoing             Exchange Activity           DOT                               (400,000.0)               ($4,444,247.03)
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                        5/17/2022       Outgoing             Lending Activity            AAVE                                  (0.3801)                     ($35.13)
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                        5/17/2022       Outgoing             Lending Activity            BADGER                              (30.7518)                     ($164.83)
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                        5/17/2022       Outgoing             Lending Activity            BAT                                   (164.38)                     ($68.40)
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                        5/17/2022       Outgoing             Lending Activity            BNT                                   (164.38)                    ($244.93)
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                        5/17/2022       Outgoing             Lending Activity            COMP                                  (0.6576)                     ($47.60)
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                        5/17/2022       Outgoing             Lending Activity            REN                                   (136.99)                     ($21.75)
Celsius Network Limited               FOLKVANG                                                                                                             5/17/2022       Incoming             Lending Activity            ETH                                        0.01                     $20.89
Celsius Network Limited               FOLKVANG                                                                                                             5/17/2022       Incoming             Lending Activity            BTC                                        0.02                    $607.94
Celsius Network Limited               FOLKVANG                                                                                                             5/17/2022       Outgoing             Lending Activity            USDC                                     (10.0)                    ($10.00)
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                                5/17/2022       Outgoing             Lending Activity            BTC                                    (22.65)                ($688,487.55)
Celsius Network Limited               FOLKVANG                                                                                                             5/17/2022       Outgoing             Lending Activity            USDC                              (809,990.0)                 ($809,990.00)
Celsius Network Limited               FOLKVANG                                                                                                             5/17/2022       Incoming             Lending Activity            ETH                                     999.99               $2,089,205.38
Celsius Network Limited               FOLKVANG                                                                                                             5/17/2022       Outgoing             Lending Activity            USDC                           (1,250,000.0)                ($1,250,000.00)
Celsius Network Limited               FOLKVANG                                                                                                             5/17/2022       Incoming             Lending Activity            BTC                           118.31998748                   $3,596,549.17
Celsius Network Limited               FLOW TRADERS                                                                                                         5/17/2022       Incoming             Lending Activity            SOL                             9,999.99999                    $550,518.43
Celsius Network Limited               PHAROS                                                                                                               5/17/2022       Incoming             Lending Activity            USDC                            27,581,200.0                $27,581,200.00
Celsius Network Limited               TETHER                                                                                                               5/17/2022       Outgoing             Lending Activity            EURT_ERC20                     (5,332,296.0)                ($5,614,907.69)
Celsius Network Limited               WINTERMUTE                                                                                                           5/17/2022       Outgoing             OTC Transaction             BETH_BSC                             (2,430.0)              ($4,864,957.20)
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                        5/17/2022       Outgoing             Lending Activity            BNB_BSC                             (28.9864)                   ($8,702.73)
Celsius Network Limited               WINTERMUTE                                                                                                           5/17/2022       Incoming             OTC Transaction             ETH                                  2,342.52                $4,797,378.73
Celsius Network Limited               FTX                                                                                                                  5/17/2022       Outgoing             Exchange Activity           USDC                           (7,581,200.0)                ($7,581,200.00)
Celsius Network Limited               FTX                                                                                                                  5/17/2022       Outgoing             Exchange Activity           AVAX                      (54,131.9989185)                  ($1,794,611.90)
Celsius Network Limited               PROFLUENT TRADING INC                                                                                                5/17/2022       Outgoing             Lending Activity            BTC                                      (14.6)               ($440,186.96)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                                   5/17/2022       Incoming             Lending Activity            USDC                                        1.0                      $1.00
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                                   5/17/2022       Incoming             Lending Activity            USDC                            29,999,999.0                $29,999,999.00
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                                   5/17/2022       Outgoing             Lending Activity            USDT_ERC20                    (30,000,000.0)               ($30,060,000.00)
Celsius Network Limited               FTX                                                                                                                  5/17/2022       Outgoing             Exchange Activity           SUSHI                 (130,391.141952315)                     ($174,724.13)
Celsius Network Limited               FTX                                                                                                                  5/17/2022       Outgoing             Exchange Activity           AAVE                               (16,800.0)               ($1,453,536.00)
Celsius Network Limited               FTX                                                                                                                  5/17/2022       Incoming             Exchange Activity           BNB_BSC                                5,000.0               $1,504,624.83
Celsius Network Limited               KEYROCK                                                                                                              5/17/2022       Outgoing             Lending Activity            AAVE                                  (662.71)                 ($58,868.53)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                                   5/17/2022       Outgoing             OTC Transaction             XLM                                  (3,470.0)                    ($475.44)
Celsius Network Limited               FASANARA CAPITAL                                                                                                     5/17/2022       Incoming             Lending Activity            USDC                             1,507,300.0                 $1,507,300.00
Celsius Network Limited               FASANARA CAPITAL                                                                                                     5/17/2022       Outgoing             Lending Activity            BNB_BSC                              (5,000.0)              ($1,510,417.00)
Celsius Network Limited               FTX                                                                                                                  5/18/2022       Incoming             Exchange Activity           LTC                                    4,000.0                 $290,071.80
Celsius Network Limited               FTX                                                                                                                  5/18/2022       Incoming             Exchange Activity           BCH                                    4,000.0                 $802,908.61
Celsius Network Limited               BLOCKFILLS                                                                                                           5/18/2022       Incoming             Lending Activity            BTC                                         3.0                 $89,615.28
Celsius Network Limited               FTX                                                                                                                  5/18/2022       Incoming             Exchange Activity           CEL                        10,055,823.7561                   $8,032,320.51
Celsius Network Limited               FTX                                                                                                                  5/18/2022       Outgoing             Exchange Activity           USDC                          (11,507,300.0)               ($11,507,300.00)
Celsius Network Limited               FTX                                                                                                                  5/18/2022       Outgoing             Exchange Activity           MATIC_POLYGON         (198,875.672663511)                     ($133,701.48)
Celsius Network Limited               FTX                                                                                                                  5/18/2022       Outgoing             Exchange Activity           MATIC                 (800,259.725951834)                     ($536,613.36)
Celsius Network Limited               AKUNA CAPITAL                                                                                                        5/18/2022       Incoming             Lending Activity            BTC                           149.99998157                   $4,347,978.76
Celsius Network Limited               FTX                                                                                                                  5/18/2022       Incoming             Exchange Activity           PAX                                 500,000.0                  $502,000.00
Celsius Network Limited               FTX                                                                                                                  5/18/2022       Incoming             Exchange Activity           BNB_BSC                      5,700.0022987                   $1,660,202.26
Celsius Network Limited               GRAPEFRUIT                                                                                                           5/18/2022       Outgoing             OTC Transaction             WBTC                                   (0.001)                     ($28.98)
Celsius Network Limited               GRAPEFRUIT                                                                                                           5/18/2022       Outgoing             OTC Transaction             WBTC                              (2,499.999)              ($72,344,306.58)
Celsius Network Limited               FTX                                                                                                                  5/18/2022       Incoming             Exchange Activity           BTC                         1,180.42450052                  $34,158,810.45
Celsius Network Limited               FTX                                                                                                                  5/18/2022       Outgoing             Exchange Activity           TERRA_USD               (3,210,121.198569)                  ($3,210,122.20)
Celsius Network Limited               FTX                                                                                                                  5/18/2022       Outgoing             Exchange Activity           SOL                                (30,000.0)               ($1,526,054.17)
Celsius Network Limited               FTX                                                                                                                  5/18/2022       Outgoing             Exchange Activity           MANA                           (2,500,000.0)                ($2,667,500.00)
Celsius Network Limited               GEMINI                                                                                                               5/18/2022       Outgoing             Exchange Activity           USDC                             (31.087732)                       ($31.09)
Celsius Network Limited               CMS HOLDINGS LLC                                                                                                     5/18/2022       Incoming             Lending Activity            USDT_ERC20                       5,000,000.0                 $5,000,000.00
Celsius Network Limited               FTX                                                                                                                  5/18/2022       Outgoing             Exchange Activity           SOL                   (142,229.869492828)                   ($7,201,354.03)
Celsius Network Limited               POWER BLOCK COIN                                                                                                     5/18/2022       Outgoing             Lending Activity            ETH                                   (617.82)              ($1,212,425.60)
Celsius Network Limited               FLOW TRADERS                                                                                                         5/18/2022       Incoming             Lending Activity            BTC                                        90.0              $2,629,485.19
Celsius Network Limited               FLOW TRADERS                                                                                                         5/18/2022       Incoming             Lending Activity            BTC                                      140.0               $4,090,310.29
Celsius Network Limited               FLOW TRADERS                                                                                                         5/18/2022       Incoming             Lending Activity            BTC                                      120.0               $3,505,980.25
Celsius Network Limited               LIQUID                                                                                                               5/18/2022       Incoming             Exchange Activity           ETH                                 0.498549                       $983.78
Celsius Network Limited               0x5e3ef299fddf15eaa0432e6e66473ace8c13d908                                                                           5/18/2022       Incoming             Sell Voucher_new            MATIC                   6,915.41949419314                        $4,339.96
Celsius Network Limited               0x3dfd23a6c5e8bbcfc9581d2e864a68feb6a076d3                                                                           5/18/2022       Incoming             Redeem                      ETH                       1.2488651031172                    Undetermined
Celsius Network Limited               0x0000000000000000000000000000000000000000                                                                           5/18/2022       Incoming             Redeem                      AETH                  0.0012518292680608                             $2.45
Celsius Network Limited               0x0000000000000000000000000000000000000000                                                                           5/18/2022       Outgoing             Redeem                      AETH                    (1.2488651031172)                       ($2,443.01)
Celsius Network Limited               0x0000000000000000000000000000000000000000                                                                           5/18/2022       Outgoing             Withdraw                    WETH                   (57.8158302167714)                     ($118,184.85)
Celsius Network Limited               0x0000000000000000000000000000000000000000                                                                           5/18/2022       Outgoing             Withdraw                    WBTC                                     (2.88)                ($85,971.66)
Celsius Network Limited               FASANARA CAPITAL                                                                                                     5/18/2022       Incoming             Lending Activity            USDC                             2,000,000.0                 $2,000,000.00
Celsius Network Limited               FASANARA CAPITAL                                                                                                     5/18/2022       Outgoing             Lending Activity            ADA                           (3,636,363.64)                ($1,909,345.19)
Celsius Network Limited               GALAXY DIGITAL                                                                                                       5/18/2022       Incoming             Lending Activity            DOT                                 674,500.0                $6,681,464.40
Celsius Network Limited               LIQUID                                                                                                               5/18/2022       Incoming             Exchange Activity           ETH                            1,262.998423                  $2,444,916.61
Celsius Network Limited               0x99c9fc46f92e8a1c0dec1b1747d010903e884be1                                                                           5/19/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                         22,818.0                Undetermined
Celsius Network Limited               FALCONX LIMITED                                                                                                      5/19/2022       Incoming             Lending Activity            SOL                                  50,000.0                $2,497,640.64
Celsius Network Limited               ONCHAIN CUSTODIAN PTE LTD                                                                                            5/19/2022       Incoming             Lending Activity            USDC                            92,294.5205                     $92,294.52
Celsius Network Limited               ONCHAIN CUSTODIAN PTE LTD                                                                                            5/19/2022       Incoming             Lending Activity            ETH                                     1.7671                   $3,428.47
Celsius Network Limited               FTX                                                                                                                  5/19/2022       Incoming             Exchange Activity           LTC                                    1,500.0                 $102,482.77
Celsius Network Limited               FTX                                                                                                                  5/19/2022       Outgoing             Exchange Activity           USDC                    (2,994,342.009531)                  ($2,994,342.01)
Celsius Network Limited               GRAPEFRUIT                                                                                                           5/19/2022       Incoming             OTC Transaction             BTC                                      0.001                      $29.41
Celsius Network Limited               FTX                                                                                                                  5/19/2022       Outgoing             Exchange Activity           AAVE                  (3,253.37592138638)                     ($275,951.35)
Celsius Network Limited               0x40ec5b33f54e0e8a33a975908c5ba1c14e5bbbdf                                                                           5/19/2022       Incoming             Exit                        WBTC                                       2.88                 $87,423.56
Celsius Network Limited               0x8484ef722627bf18ca5ae6bcf031c23e6e922b30                                                                           5/19/2022       Incoming             Exit                        ETH                      57.8158302167714                    Undetermined
Celsius Network Limited               LIQUID                                                                                                               5/19/2022       Incoming             Exchange Activity           USDC                           2,223.286976                      $2,223.29
Celsius Network Limited               LIQUID                                                                                                               5/19/2022       Incoming             Exchange Activity           CEL                               2,009.8082                     $1,594.08
Celsius Network Limited               FTX                                                                                                                  5/19/2022       Incoming             Exchange Activity           USDT_ERC20                      12,500,000.0                $12,500,000.00
Celsius Network Limited               TETHER                                                                                                               5/19/2022       Outgoing             Lending Activity            USDT_ERC20                    (12,250,000.0)               ($12,250,000.00)
Celsius Network Limited               POWER BLOCK COIN                                                                                                     5/19/2022       Outgoing             Lending Activity            ETH                                (3,063.77)               ($6,015,497.69)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                                   5/19/2022       Incoming             Lending Activity            SOL                                        0.01                      $0.52
Celsius Network Limited               GRAPEFRUIT                                                                                                           5/19/2022       Incoming             OTC Transaction             BTC                                 2,497.749               $74,451,003.76
Celsius Network Limited               FTX                                                                                                                  5/19/2022       Incoming             Exchange Activity           TERRA_USD                        1,000,000.0                 $1,000,000.00
Celsius Network Limited               FTX                                                                                                                  5/19/2022       Incoming             Exchange Activity           TUSD                             1,000,000.0                 $1,001,000.00
Celsius Network Limited               FTX                                                                                                                  5/19/2022       Incoming             Exchange Activity           BUSD                             4,000,000.0                 $3,994,036.00
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                                   5/19/2022       Incoming             Lending Activity            SOL                                 19,999.99                $1,060,151.45
Celsius Network Limited               ROY G. NIEDERHOFFER OPTIMAL ALPHA MASTER FUND LTD.                                                                   5/19/2022       Incoming             Lending Activity            WBTC                                    0.1641                   $4,952.54
Celsius Network Limited               FALCONX LIMITED                                                                                                      5/20/2022       Incoming             Lending Activity            SOL                               16,999.982                   $891,246.69
Celsius Network Limited               BITFINEX                                                                                                             5/20/2022       Incoming             Lending Activity            BTC                           510.24794978                  $15,502,560.73
Celsius Network Limited               BITFINEX                                                                                                             5/20/2022       Incoming             Lending Activity            BTC                                      350.0              $10,606,239.55
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                                   5/20/2022       Incoming             Lending Activity            USDC                            13,687,500.0                $13,687,500.00
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                                   5/20/2022       Outgoing             Lending Activity            ADA                                      (10.0)                     ($5.35)
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                                   5/20/2022       Outgoing             Lending Activity            BTC                                    (0.001)                     ($30.30)
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                                   5/20/2022       Outgoing             Lending Activity            BTC                                   (22.539)                ($683,011.52)
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                                   5/20/2022       Outgoing             Lending Activity            ADA                         (22,411,177.78)                ($11,995,560.61)
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                      5/20/2022       Incoming             Lending Activity            USDC                                       25.0                     $25.00
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                      5/20/2022       Incoming             Lending Activity            USDC                                304,975.0                  $304,975.00
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                      5/20/2022       Outgoing             Lending Activity            BNB_BSC                                   (0.1)                    ($30.81)
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                        5/20/2022       Incoming             Lending Activity            BTC                                      41.25               $1,250,021.09
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                      5/20/2022       Outgoing             Lending Activity            BNB_BSC                                (999.9)                ($308,100.50)
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                        5/20/2022       Outgoing             Lending Activity            SOL                                       (0.1)                     ($5.24)
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                        5/20/2022       Outgoing             Lending Activity            SOL                               (19,230.67)               ($1,008,193.48)
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                                   5/20/2022       Incoming             Lending Activity            USDC                            11,720,832.0                $11,720,832.00
Celsius Network Limited               FTX                                                                                                                  5/20/2022       Outgoing             Exchange Activity           USDC                   (15,715,555.286976)                 ($15,715,555.29)
Celsius Network Limited               FTX                                                                                                                  5/20/2022       Incoming             Exchange Activity           BUSD                             1,000,000.0                 $1,003,000.00
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                                   5/20/2022       Outgoing             Lending Activity            BTC                                    (68.37)              ($2,071,853.14)
Celsius Network Limited               FTX                                                                                                                  5/20/2022       Incoming             Exchange Activity           BUSD                             1,000,000.0                 $1,003,000.00
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                                   5/20/2022       Outgoing             Lending Activity            DOT                                       (1.0)                    ($10.06)
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                                   5/20/2022       Outgoing             Lending Activity            DOT                               (499,999.0)               ($5,030,792.13)
Celsius Network Limited               FTX                                                                                                                  5/20/2022       Incoming             Exchange Activity           USDT_ERC20                      25,000,000.0                $25,025,000.00
Celsius Network Limited               GRAPEFRUIT                                                                                                           5/20/2022       Outgoing             OTC Transaction             WBTC                                 (2,500.0)             ($75,904,822.27)
Celsius Network Limited               FTX                                                                                                                  5/20/2022       Incoming             Exchange Activity           USDC                            24,000,000.0                $24,000,000.00
Celsius Network Limited               FTX                                                                                                                  5/20/2022       Outgoing             Exchange Activity           USDC                           (3,600,135.0)                ($3,600,135.00)
Celsius Network Limited               FTX                                                                                                                  5/20/2022       Outgoing             Exchange Activity           BTC                                      (50.0)             ($1,468,016.73)
Celsius Network Limited               FTX                                                                                                                  5/20/2022       Outgoing             Exchange Activity           USDC                          (10,000,000.0)               ($10,000,000.00)
Celsius Network Limited               DERIBIT                                                                                                              5/20/2022       Incoming             Exchange Activity           BTC                                     0.0001                       $2.88
Celsius Network Limited               DERIBIT                                                                                                              5/20/2022       Incoming             Exchange Activity           BTC                                   73.9999                $2,142,743.58
Celsius Network Limited               GRAPEFRUIT                                                                                                           5/20/2022       Incoming             OTC Transaction             BTC                                  2,497.75               $72,995,231.87
Celsius Network Limited               BITFINEX                                                                                                             5/20/2022       Outgoing             Exchange Activity           MATIC                 (420,642.334448419)                     ($266,645.60)
Celsius Network Limited               FTX                                                                                                                  5/22/2022       Incoming             Exchange Activity           DOT                         610,663.209229                   $6,143,996.07
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                                   5/22/2022       Outgoing             Lending Activity            DOT                             (738,870.91)                ($7,430,089.94)
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                             Doc 15          Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                    SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                              Main Document                              Case Number: 22-10966



          CELSIUS ENTITY                                                            COUNTERPARTY
                                                                                                               Pg 37 of 77           Non-Retail Coin Transactions
                                                                                                                                                      DATE          TYPE                          TRANSACTION TYPE              COIN   COIN QUANTITY                         COIN USD
Celsius Network Limited               FTX                                                                                                           5/22/2022       Outgoing             Exchange Activity           MATIC_POLYGON           (66,794.998210737)                        ($44,115.77)
Celsius Network Limited               FTX                                                                                                           5/22/2022       Incoming             Exchange Activity           MATIC                       66,794.99821074                        $44,166.86
Celsius Network Limited               THREE ARROWS CAPITAL                                                                                          5/22/2022       Incoming             Lending Activity            BTC                                        700.0               $21,104,693.71
Celsius Network Limited               THREE ARROWS CAPITAL                                                                                          5/22/2022       Outgoing             Lending Activity            USDC                           (20,000,000.0)                 ($20,000,000.00)
Celsius Network Limited               FTX                                                                                                           5/22/2022       Incoming             Exchange Activity           USDC                             10,000,000.0                  $10,000,000.00
Celsius Network Limited               THREE ARROWS CAPITAL                                                                                          5/22/2022       Incoming             Lending Activity            BTC                                        700.0               $21,014,829.58
Celsius Network Limited               THREE ARROWS CAPITAL                                                                                          5/22/2022       Outgoing             Lending Activity            USDC                           (20,000,000.0)                 ($20,000,000.00)
Celsius Network Limited               THREE ARROWS CAPITAL                                                                                          5/22/2022       Incoming             Lending Activity            BTC                                      297.79                 $8,940,008.71
Celsius Network Limited               THREE ARROWS CAPITAL                                                                                          5/22/2022       Outgoing             Lending Activity            USDC                           (10,000,000.0)                 ($10,000,000.00)
Celsius Network Limited               BITFINEX                                                                                                      5/22/2022       Incoming             Exchange Activity           LTC                                39,999.999                   $2,872,911.83
Celsius Network Limited               FTX                                                                                                           5/22/2022       Outgoing             Exchange Activity           LTC                       (39,999.99899697)                    ($2,872,911.83)
Celsius Network Limited               BITFINEX                                                                                                      5/22/2022       Outgoing             Exchange Activity           ADA                             (2,000,000.0)                  ($1,069,773.03)
Celsius Network Limited               FTX                                                                                                           5/22/2022       Outgoing             Exchange Activity           USDC                            (5,000,000.0)                  ($5,000,000.00)
Celsius Network Limited               BITFINEX                                                                                                      5/23/2022       Incoming             Exchange Activity           ETH                             14,999.99874                   $30,973,710.69
Celsius Network Limited               FTX                                                                                                           5/23/2022       Outgoing             Exchange Activity           BTC                                   (2,800.0)               ($85,095,729.55)
Celsius Network Limited               FTX                                                                                                           5/23/2022       Incoming             Exchange Activity           USDT_ERC20                       15,000,000.0                  $15,015,000.00
Celsius Network Limited               RADKL                                                                                                         5/23/2022       Incoming             Lending Activity            BTC                                        0.001                       $30.37
Celsius Network Limited               RADKL                                                                                                         5/23/2022       Incoming             Lending Activity            BTC                                    102.289                  $3,106,297.18
Celsius Network Limited               FTX                                                                                                           5/23/2022       Incoming             Exchange Activity           PAX                                2,500,000.0                  $2,500,000.00
Celsius Network Limited               FTX                                                                                                           5/23/2022       Incoming             Exchange Activity           LTC                                    32,500.0                 $2,341,178.12
Celsius Network Limited               FALCONX LIMITED                                                                                               5/23/2022       Incoming             Lending Activity            DOT                                           5.0                      $51.71
Celsius Network Limited               FTX                                                                                                           5/23/2022       Outgoing             Exchange Activity           XRP                             (6,000,000.0)                  ($2,537,947.54)
Celsius Network Limited               FTX                                                                                                           5/23/2022       Outgoing             Exchange Activity           BNB_BSC                       (1,619.999748)                     ($531,894.60)
Celsius Network Limited               FALCONX LIMITED                                                                                               5/23/2022       Incoming             Lending Activity            DOT                                  216,995.0                  $2,264,876.16
Celsius Network Limited               FTX                                                                                                           5/23/2022       Outgoing             Exchange Activity           SUSHI                 (3,040.82144716014)                          ($4,986.95)
Celsius Network Limited               FALCONX LIMITED                                                                                               5/23/2022       Incoming             Lending Activity            DOT                                  185,000.0                  $1,930,929.69
Celsius Network Limited               FALCONX LIMITED                                                                                               5/23/2022       Incoming             Lending Activity            DOT                                  170,000.0                  $1,801,881.28
Celsius Network Limited               FTX                                                                                                           5/23/2022       Outgoing             Exchange Activity           DOT                   (572,000.472219987)                      ($6,062,805.72)
Celsius Network Limited               FTX                                                                                                           5/23/2022       Incoming             Exchange Activity           PAX                                2,000,000.0                  $2,004,000.00
Celsius Network Limited               PAXOS                                                                                                         5/23/2022       Outgoing             Exchange Activity           PAX                                      (100.0)                     ($100.10)
Celsius Network Limited               PAXOS                                                                                                         5/23/2022       Outgoing             Exchange Activity           PAX                             (1,869,900.0)                  ($1,871,769.90)
Celsius Network Limited               GEMINI                                                                                                        5/23/2022       Outgoing             Exchange Activity           USDC                                      (10.0)                      ($10.00)
Celsius Network Limited               FALCONX LIMITED                                                                                               5/23/2022       Incoming             Lending Activity            DOT                                  145,000.0                  $1,531,268.17
Celsius Network Limited               0x5e3ef299fddf15eaa0432e6e66473ace8c13d908                                                                    5/23/2022       Incoming             Unstake Claim Tokens_new    MATIC                                  50,000.0                    $32,096.94
Celsius Network Limited               GEMINI                                                                                                        5/23/2022       Outgoing             Exchange Activity           USDC                            (2,000,990.0)                  ($2,000,990.00)
Celsius Network Limited               CIRCLE / PAXOS                                                                                                5/23/2022       Incoming             Coin Minting / Redemption   PAXG                        0.996219706202                          $1,843.83
Celsius Network Limited               CIRCLE / PAXOS                                                                                                5/23/2022       Incoming             Coin Minting / Redemption   USDC                                       200.0                      $200.00
Celsius Network Limited               CIRCLE / PAXOS                                                                                                5/23/2022       Incoming             Coin Minting / Redemption   USDC                               2,000,000.0                  $2,000,000.00
Celsius Network Limited               FTX                                                                                                           5/23/2022       Outgoing             Exchange Activity           MATIC_POLYGON         (27,987.1055910905)                         ($18,468.30)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/23/2022       Outgoing             OTC Transaction             XLM                                (144,157.0)                    ($18,927.23)
Celsius Network Limited               FTX                                                                                                           5/23/2022       Incoming             Exchange Activity           MATIC                       27,987.10559109                        $18,475.13
Celsius Network Limited               CIRCLE / PAXOS                                                                                                5/23/2022       Incoming             Coin Minting / Redemption   PAXG                    1,002.55554351105                       $1,860,291.94
Celsius Network Limited               FTX                                                                                                           5/23/2022       Incoming             Exchange Activity           TUSD                               1,000,000.0                  $1,001,000.00
Celsius Network Limited               FTX                                                                                                           5/23/2022       Incoming             Exchange Activity           1INCH                                115,000.0                    $110,986.39
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/24/2022       Incoming             OTC Transaction             ETH                                        0.001                        $1.99
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/24/2022       Incoming             OTC Transaction             BTC                                      0.0001                         $2.92
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/24/2022       Incoming             OTC Transaction             ETH                                  1,316.759                  $2,616,767.49
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/24/2022       Incoming             OTC Transaction             BTC                            133.51771816                     $3,906,808.85
Celsius Network Limited               LUOJI2017 LIMITED                                                                                             5/24/2022       Incoming             Lending Activity            BNB_BSC                               309.9452                    $101,269.47
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                         5/24/2022       Incoming             Lending Activity            ETH                                         6.16                   $12,240.45
Celsius Network Limited               FTX                                                                                                           5/24/2022       Outgoing             Exchange Activity           AVAX                               (106,429.0)                 ($3,044,289.06)
Celsius Network Limited               FTX                                                                                                           5/24/2022       Outgoing             Exchange Activity           BADGER                           (5,566.0723)                     ($32,283.22)
Celsius Network Limited               FTX                                                                                                           5/24/2022       Outgoing             Exchange Activity           LTC                       (19,999.99999777)                    ($1,390,732.10)
Celsius Network Limited               FTX                                                                                                           5/24/2022       Incoming             Exchange Activity           BNB_BSC                                10,003.7                 $3,235,197.57
Celsius Network Limited               FTX                                                                                                           5/24/2022       Outgoing             Exchange Activity           USDC                            (7,000,000.0)                  ($7,000,000.00)
Celsius Network Limited               NASCENT LP                                                                                                    5/24/2022       Incoming             Lending Activity            SUSHI                              143,266.48                     $230,659.03
Celsius Network Limited               NASCENT LP                                                                                                    5/24/2022       Outgoing             Lending Activity            ETH                                    (198.85)                  ($385,228.84)
Celsius Network Limited               NASCENT LP                                                                                                    5/24/2022       Incoming             Lending Activity            WBTC                                       27.42                  $795,911.71
Celsius Network Limited               FTX                                                                                                           5/24/2022       Incoming             Exchange Activity           AAVE                                    7,000.0                   $662,550.00
Celsius Network Limited               FTX                                                                                                           5/24/2022       Outgoing             Exchange Activity           COMP                  (1,802.69055401937)                        ($118,508.88)
Celsius Network Limited               NASCENT LP                                                                                                    5/24/2022       Outgoing             Lending Activity            AAVE                                  (7,000.0)                  ($662,550.00)
Celsius Network Limited               FTX                                                                                                           5/24/2022       Incoming             Exchange Activity           USDT_ERC20                         4,400,000.0                  $4,396,686.80
Celsius Network Limited               FASANARA CAPITAL                                                                                              5/24/2022       Incoming             Lending Activity            USDC                               2,284,700.0                  $2,284,700.00
Celsius Network Limited               FASANARA CAPITAL                                                                                              5/24/2022       Outgoing             Lending Activity            BNB_BSC                               (7,000.0)                ($2,215,761.17)
Celsius Network Limited               FTX                                                                                                           5/24/2022       Incoming             Exchange Activity           BNB_BSC                          28.15519432                        $9,053.81
Celsius Network Limited               FTX                                                                                                           5/24/2022       Incoming             Exchange Activity           XRP                                2,000,000.0                    $808,838.16
Celsius Network Limited               FASANARA CAPITAL                                                                                              5/24/2022       Incoming             Lending Activity            FTT                                   305.1675                      $8,965.82
Celsius Network Limited               BLOCKFILLS                                                                                                    5/24/2022       Incoming             Lending Activity            BTC                                           3.0                  $87,604.67
Celsius Network Limited               FTX                                                                                                           5/24/2022       Incoming             Exchange Activity           LTC                         12,115.25977531                       $845,047.57
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/24/2022       Outgoing             OTC Transaction             XLM                            (10,881,407.0)                  ($1,414,278.48)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/24/2022       Outgoing             OTC Transaction             LTC                                (12,113.07)                   ($847,360.22)
Celsius Network Limited               NASCENT LP                                                                                                    5/24/2022       Incoming             Lending Activity            BNT                                8,000.0075                      $10,880.01
Celsius Network Limited               NASCENT LP                                                                                                    5/24/2022       Incoming             Lending Activity            CEL                                1,338.6284                       $1,035.19
Celsius Network Limited               NASCENT LP                                                                                                    5/24/2022       Incoming             Lending Activity            LINK                                   90.4785                        $645.11
Celsius Network Limited               NASCENT LP                                                                                                    5/24/2022       Incoming             Lending Activity            DOGE                              14,780.5308                       $1,232.21
Celsius Network Limited               NASCENT LP                                                                                                    5/24/2022       Incoming             Lending Activity            SNX                          7,364.13136986                        $19,073.10
Celsius Network Limited               NASCENT LP                                                                                                    5/24/2022       Incoming             Lending Activity            SUSHI                                 353.2598                        $575.81
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/24/2022       Outgoing             OTC Transaction             AVAX                                 (3,477.26)                  ($100,731.11)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/25/2022       Incoming             OTC Transaction             BTC                              78.06435247                    $2,311,877.15
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/25/2022       Incoming             OTC Transaction             ETH                                        52.11                  $102,780.16
Celsius Network Limited               DERIBIT                                                                                                       5/25/2022       Outgoing             Exchange Activity           BTC                                      (0.001)                      ($29.76)
Celsius Network Limited               DERIBIT                                                                                                       5/25/2022       Outgoing             Exchange Activity           BTC                            (95.07869919)                   ($2,829,950.21)
Celsius Network Limited               FTX                                                                                                           5/25/2022       Incoming             Exchange Activity           USDC                               8,000,000.0                  $8,000,000.00
Celsius Network Limited               BITFINEX                                                                                                      5/25/2022       Incoming             Exchange Activity           XLM                                3,500,000.0                    $458,499.09
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                         5/25/2022       Incoming             Lending Activity            BTC                                        300.0                $8,939,249.75
Celsius Network Limited               FTX                                                                                                           5/25/2022       Outgoing             Exchange Activity           AVAX                                 (79,535.0)                ($2,274,533.94)
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                         5/25/2022       Outgoing             Lending Activity            ETH                                       (0.01)                      ($19.70)
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                         5/25/2022       Outgoing             Lending Activity            ETH                                  (1,075.06)                ($2,118,112.59)
Celsius Network Limited               NASCENT LP                                                                                                    5/25/2022       Incoming             Lending Activity            ADA                             4,709.833707                        $2,436.00
Celsius Network Limited               0xaf0b2fbedd5d1fda457580fb3dabad1f5c8bbc36                                                                    5/25/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                         258,542.0                  Undetermined
Celsius Network Limited               BITFINEX                                                                                                      5/25/2022       Outgoing             Exchange Activity           BTC                                      (250.0)               ($7,407,217.97)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/25/2022       Outgoing             OTC Transaction             AVAX                                 (3,603.63)                  ($100,177.25)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/25/2022       Outgoing             OTC Transaction             XLM                             (1,302,488.0)                    ($170,229.21)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/25/2022       Incoming             OTC Transaction             LTC                                         0.01                        $0.69
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/25/2022       Incoming             OTC Transaction             LTC                              99.46003737                        $6,806.48
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/25/2022       Incoming             OTC Transaction             ETH                                        721.1                $1,410,835.85
Celsius Network Limited               BITFINEX                                                                                                      5/25/2022       Incoming             Lending Activity            EURT_ERC20                         5,000,000.0                  $5,337,066.54
Celsius Network Limited               PARALLEL CAPITAL                                                                                              5/26/2022       Outgoing             Lending Activity            USDC                               (810,030.2)                   ($810,030.20)
Celsius Network Limited               PARALLEL CAPITAL                                                                                              5/26/2022       Outgoing             Lending Activity            ETH                                      (10.85)                  ($21,242.99)
Celsius Network Limited               0xc6821958f8d73ad0819502c35e383db8d3077ea2                                                                    5/26/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN           2,452,411.29582233                       Undetermined
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          5/26/2022       Outgoing             OTC Transaction             HBTC                                     (0.001)                      ($29.00)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          5/26/2022       Outgoing             OTC Transaction             HBTC                                   (99.999)                ($2,906,963.66)
Celsius Network Limited               BITFINEX                                                                                                      5/26/2022       Outgoing             Exchange Activity           MATIC                          (17,000,000.0)                 ($10,310,296.00)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          5/26/2022       Incoming             Lending Activity            BTC                              99.92006395                    $2,914,261.75
Celsius Network Limited               FASANARA CAPITAL                                                                                              5/26/2022       Incoming             Lending Activity            BTC                                        33.86                  $983,134.18
Celsius Network Limited               FASANARA CAPITAL                                                                                              5/26/2022       Outgoing             Lending Activity            ADA                             (2,000,000.0)                    ($969,874.18)
Celsius Network Limited               FTX                                                                                                           5/26/2022       Outgoing             Exchange Activity           BAT                                         (1.0)                      ($0.37)
Celsius Network Limited               FTX                                                                                                           5/26/2022       Outgoing             Exchange Activity           BAT                             (2,758,577.0)                  ($1,018,213.93)
Celsius Network Limited               FTX                                                                                                           5/26/2022       Outgoing             Exchange Activity           USDT_ERC20                      (4,000,000.0)                  ($3,996,012.53)
Celsius Network Limited               FTX                                                                                                           5/26/2022       Outgoing             Exchange Activity           BTC                          (1,294.9999095)                  ($36,636,861.18)
Celsius Network Limited               B2C2 LTD                                                                                                      5/26/2022       Incoming             Lending Activity            ETH                                    1,080.32                 $1,908,554.35
Celsius Network Limited               FTX                                                                                                           5/26/2022       Outgoing             Exchange Activity           USDT_ERC20               (3,518,059.054514)                    ($3,514,552.02)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          5/26/2022       Outgoing             OTC Transaction             HBTC                                     (100.0)               ($2,913,846.19)
Celsius Network Limited               FTX                                                                                                           5/26/2022       Incoming             Exchange Activity           USDC                             11,191,951.4                  $11,191,951.40
Celsius Network Limited               B2C2 LTD                                                                                                      5/26/2022       Incoming             Lending Activity            XTZ                                    1,208.22                     $2,301.98
Celsius Network Limited               B2C2 LTD                                                                                                      5/26/2022       Incoming             Lending Activity            USDT_ERC20                         117,123.29                     $117,004.79
Celsius Network Limited               B2C2 LTD                                                                                                      5/26/2022       Incoming             Lending Activity            EOS                                     1,027.4                     $1,287.52
Celsius Network Limited               B2C2 LTD                                                                                                      5/26/2022       Incoming             Lending Activity            ETC                                   248.6301                      $5,513.55
Celsius Network Limited               CIRCLE                                                                                                        5/26/2022       Outgoing             Coin Minting / Redemption   USDC                   (15,000,000.007033)                    ($15,000,000.01)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          5/26/2022       Incoming             Lending Activity            BTC                                        99.92                $2,934,416.22
Celsius Network Limited               PHAROS                                                                                                        5/26/2022       Outgoing             Lending Activity            BTC                                    (127.14)                ($3,733,803.83)
Celsius Network Limited               B2C2 LTD                                                                                                      5/26/2022       Incoming             Lending Activity            MATIC                                15,877.96                     $10,041.14
Celsius Network Limited               B2C2 LTD                                                                                                      5/26/2022       Incoming             Lending Activity            LTC                                   126.4027                      $8,251.74
Celsius Network Limited               B2C2 LTD                                                                                                      5/26/2022       Incoming             Lending Activity            USDC                                        1.37                        $1.37
Celsius Network Limited               B2C2 LTD                                                                                                      5/26/2022       Incoming             Lending Activity            UNI                                   271.2329                      $1,407.91
Celsius Network Limited               B2C2 LTD                                                                                                      5/26/2022       Incoming             Lending Activity            UNI                                   194.3836                      $1,009.00
Celsius Network Limited               FTX                                                                                                           5/26/2022       Outgoing             Exchange Activity           DOT                                (106,250.0)                 ($1,000,052.98)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/26/2022       Incoming             Lending Activity            XLM                                         10.0                        $1.25
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/26/2022       Incoming             Lending Activity            XLM                                2,198,188.0                    $274,461.69
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          5/27/2022       Outgoing             OTC Transaction             HBTC                                     (100.0)               ($2,902,151.52)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          5/27/2022       Outgoing             OTC Transaction             HBTC                                   (223.54)                ($6,473,037.50)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          5/27/2022       Incoming             Lending Activity            BTC                                   323.2814                  $9,392,490.16
Celsius Network Limited               FTX                                                                                                           5/27/2022       Outgoing             Exchange Activity           BTC                                       (30.0)                 ($876,293.83)
Celsius Network Limited               B2C2 LTD                                                                                                      5/27/2022       Incoming             Lending Activity            USDC                                   86,300.0                    $86,300.00
Celsius Network Limited               FTX                                                                                                           5/27/2022       Incoming             Exchange Activity           USDC                               4,000,000.0                  $4,000,000.00
Celsius Network Limited               BITFINEX                                                                                                      5/27/2022       Incoming             Exchange Activity           XLM                                  405,000.0                     $49,627.57
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/27/2022       Incoming             Lending Activity            ETH                                     3,842.7                 $6,803,755.01
Celsius Network Limited               PHAROS                                                                                                        5/27/2022       Outgoing             Lending Activity            BTC                                      (18.73)                 ($539,313.53)
Celsius Network Limited               FLOW TRADERS                                                                                                  5/27/2022       Incoming             Lending Activity            BNB_BSC                                15.0685                      $4,556.67
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    5/27/2022       Outgoing             Lending Activity            BTC                                       (9.48)                 ($272,754.95)
Celsius Network Limited               FTX                                                                                                           5/27/2022       Incoming             Exchange Activity           USDC                               8,500,000.0                  $8,500,000.00
Celsius Network Limited               FTX                                                                                                           5/27/2022       Incoming             Exchange Activity           ETH                          9,510.16038119                    $16,426,634.35
Celsius Network Limited               BITFINEX                                                                                                      5/27/2022       Outgoing             Exchange Activity           MATIC                 (323,296.536258854)                        ($188,405.58)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          5/27/2022       Incoming             Lending Activity            USDC                                          1.0                       $1.00
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          5/27/2022       Incoming             Lending Activity            USDC                             63,199,999.0                  $63,199,999.00
Celsius Network Limited               FTX                                                                                                           5/27/2022       Outgoing             Exchange Activity           USDC                           (50,000,000.0)                 ($50,000,000.00)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          5/27/2022       Outgoing             Lending Activity            FTT                                       (20.0)                     ($528.40)
Celsius Network Limited               FTX                                                                                                           5/27/2022       Incoming             Exchange Activity           FTT                                1,205,260.0                 $31,842,969.20
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          5/27/2022       Outgoing             Lending Activity            FTT                            (1,205,232.37)                 ($31,842,239.22)
Celsius Network Limited               FTX                                                                                                           5/28/2022       Incoming             Exchange Activity           MSOL_SOL                  980,010.98152269                     $43,466,997.17
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          5/28/2022       Outgoing             Lending Activity            MSOL_SOL                                  (7.56)                     ($335.31)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          5/28/2022       Outgoing             Lending Activity            MSOL_SOL                        (1,020,170.0)                 ($45,335,745.53)
Celsius Network Limited               FTX                                                                                                           5/28/2022       Outgoing             Exchange Activity           USDC                            (5,000,000.0)                  ($5,000,000.00)
Celsius Network Limited               0x0bcb03907dbba9c6eea8f4494def35ea5d0bfb36                                                                    5/29/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                     76,542,720.0                   Undetermined
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                 5/29/2022       Outgoing             Lending Activity            ETH                                   (1,512.0)                ($2,724,071.95)
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                         5/30/2022       Incoming             Lending Activity            BTC                                        300.0                $9,099,259.17
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                         5/30/2022       Outgoing             Lending Activity            ETH                                  (1,129.75)                ($2,120,678.18)
Celsius Network Limited               FTX                                                                                                           5/30/2022       Incoming             Exchange Activity           AAVE                                       700.0                   $71,379.76
Celsius Network Limited               FTX                                                                                                           5/30/2022       Incoming             Exchange Activity           SOL                                        900.0                   $41,467.36
Celsius Network Limited               FTX                                                                                                           5/30/2022       Incoming             Exchange Activity           AAVE                                    1,000.0                   $106,565.55
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                             Doc 15          Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                    SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                               Main Document                               Case Number: 22-10966



          CELSIUS ENTITY                                                            COUNTERPARTY
                                                                                                               Pg 38 of 77           Non-Retail Coin Transactions
                                                                                                                                                      DATE          TYPE                          TRANSACTION TYPE                  COIN   COIN QUANTITY                       COIN USD
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/30/2022       Incoming             Lending Activity            XTZ                                       75,000.0                  $160,228.51
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/30/2022       Outgoing             Lending Activity            BTC                                          (1.18)                 ($36,186.20)
Celsius Network Limited               BITFINEX                                                                                                      5/30/2022       Incoming             Exchange Activity           LINK                             459,999.69171                    $3,308,734.20
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/30/2022       Incoming             Lending Activity            SOL                                             5.0                     $229.01
Celsius Network Limited               FTX                                                                                                           5/30/2022       Incoming             Exchange Activity           AAVE                            3,300.00000089                      $359,087.31
Celsius Network Limited               FTX                                                                                                           5/30/2022       Incoming             Exchange Activity           AAVE                            4,804.28265748                      $522,774.83
Celsius Network Limited               KEYROCK                                                                                                       5/30/2022       Incoming             Lending Activity            BTC                                            0.01                     $306.32
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/30/2022       Incoming             Lending Activity            DOT                                     100,000.0                 $1,031,259.05
Celsius Network Limited               KEYROCK                                                                                                       5/30/2022       Incoming             Lending Activity            BTC                                          35.59                $1,090,179.17
Celsius Network Limited               FTX                                                                                                           5/30/2022       Outgoing             Exchange Activity           USDC                               (1,200,000.0)                 ($1,200,000.00)
Celsius Network Limited               FTX                                                                                                           5/30/2022       Incoming             Exchange Activity           MATIC                                 2,000,110.0                 $1,278,518.31
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/30/2022       Incoming             Lending Activity            DOT                                     100,000.0                 $1,031,433.46
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/30/2022       Incoming             Lending Activity            ETH                                         301.78                  $581,426.47
Celsius Network Limited               KEYROCK                                                                                                       5/30/2022       Outgoing             Lending Activity            AAVE                                          (0.1)                     ($10.97)
Celsius Network Limited               KEYROCK                                                                                                       5/30/2022       Outgoing             Lending Activity            BTC                                        (0.001)                      ($30.69)
Celsius Network Limited               KEYROCK                                                                                                       5/30/2022       Outgoing             Lending Activity            AAVE                                     (8,099.9)                 ($887,698.25)
Celsius Network Limited               KEYROCK                                                                                                       5/30/2022       Outgoing             Lending Activity            BTC                                       (22.289)                 ($683,839.57)
Celsius Network Limited               TETHER                                                                                                        5/30/2022       Outgoing             Lending Activity            USDT_ERC20                        (3,517,108.34)                 ($3,514,835.38)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/30/2022       Incoming             Lending Activity            DOT                                     100,000.0                 $1,034,550.82
Celsius Network Limited               FTX                                                                                                           5/30/2022       Incoming             Exchange Activity           XRP                             601,613.170765                      $244,855.80
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/30/2022       Outgoing             Lending Activity            BTC                                        (27.69)                 ($864,468.66)
Celsius Network Limited               FTX                                                                                                           5/31/2022       Outgoing             Exchange Activity           DOT                       (295,002.948599995)                    ($3,054,446.26)
Celsius Network Limited               FTX                                                                                                           5/31/2022       Incoming             Exchange Activity           BNB_BSC                                    2,600.0                  $830,891.52
Celsius Network Limited               FTX                                                                                                           5/31/2022       Incoming             Exchange Activity           XRP                                     452,099.0                   $189,179.26
Celsius Network Limited               FTX                                                                                                           5/31/2022       Incoming             Exchange Activity           LTC                                             1.0                      $68.89
Celsius Network Limited               FTX                                                                                                           5/31/2022       Incoming             Exchange Activity           SOL                             6,322.21714783                      $295,168.62
Celsius Network Limited               FTX                                                                                                           5/31/2022       Incoming             Exchange Activity           LTC                                        1,022.0                   $70,377.68
Celsius Network Limited               FTX                                                                                                           5/31/2022       Incoming             Exchange Activity           BUSD                                  1,000,000.0                   $999,527.00
Celsius Network Limited               BITFINEX                                                                                                      5/31/2022       Incoming             Exchange Activity           ETH                              22,999.998866                   $45,176,628.84
Celsius Network Limited               FTX                                                                                                           5/31/2022       Incoming             Exchange Activity           MATIC                                   750,000.0                   $494,237.25
Celsius Network Limited               BITFINEX                                                                                                      5/31/2022       Incoming             Exchange Activity           MATIC                            6,000,001.6179                   $3,957,199.07
Celsius Network Limited               FTX                                                                                                           5/31/2022       Outgoing             Exchange Activity           MATIC                                        (24.0)                     ($16.03)
Celsius Network Limited               FTX                                                                                                           5/31/2022       Incoming             Exchange Activity           LTC                                            13.0                     $892.29
Celsius Network Limited               FTX                                                                                                           5/31/2022       Incoming             Exchange Activity           DOT                                       50,000.0                  $518,355.31
Celsius Network Limited               FTX                                                                                                           5/31/2022       Incoming             Exchange Activity           BCH                                             1.0                     $198.99
Celsius Network Limited               FTX                                                                                                           5/31/2022       Incoming             Exchange Activity           BTC                                          750.0               $23,766,974.94
Celsius Network Limited               COINFLEX                                                                                                      5/31/2022       Incoming             Lending Activity            USDC                                10,000,000.0                 $10,000,000.00
Celsius Network Limited               FTX                                                                                                           5/31/2022       Incoming             Exchange Activity           BCH                                       65,999.0               $12,943,249.91
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/31/2022       Incoming             Lending Activity            SOL                                     26,224.51                 $1,211,573.02
Celsius Network Limited               ANTUN DEBAK                                                                                                   5/31/2022       Outgoing             Vendors or Suppliers        CEL                                     (56,886.0)                  ($44,009.64)
Celsius Network Limited               NIKOLA GAVRILOVICH                                                                                            5/31/2022       Outgoing             Vendors or Suppliers        CEL                                     (85,329.0)                  ($66,014.46)
Celsius Network Limited               MALISA PUSONJA                                                                                                5/31/2022       Outgoing             Vendors or Suppliers        CEL                                     (85,329.0)                  ($66,014.46)
Celsius Network Limited               FASANARA CAPITAL                                                                                              5/31/2022       Incoming             Lending Activity            BTC                                         194.56                $6,134,426.84
Celsius Network Limited               FASANARA CAPITAL                                                                                              5/31/2022       Outgoing             Lending Activity            USDC                               (5,792,000.0)                 ($5,792,000.00)
Celsius Network Limited               BLOCKFILLS                                                                                                    5/31/2022       Incoming             Lending Activity            BTC                                             3.0                  $94,929.74
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/31/2022       Outgoing             Lending Activity            BTC                                        (13.56)                 ($429,082.41)
Celsius Network Limited               DUNAMIS TRADING (BAHAMAS) LTD                                                                                 5/31/2022       Incoming             Lending Activity            SOL                                     37,037.04                 $1,706,344.50
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/31/2022       Incoming             Lending Activity            BNB_BSC                                         1.0                     $321.52
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/31/2022       Incoming             Lending Activity            BNB_BSC                                    9,999.0                $3,214,835.72
Celsius Network Limited               FTX                                                                                                           5/31/2022       Outgoing             Exchange Activity           BNB_BSC                                 (6,600.05)               ($2,132,140.25)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/31/2022       Outgoing             Lending Activity            BTC                                        (18.97)                 ($606,494.84)
Celsius Network Limited               FTX                                                                                                           5/31/2022       Incoming             Exchange Activity           USDC                                10,000,000.0                 $10,000,000.00
Celsius Network Limited               FTX                                                                                                           5/31/2022       Incoming             Exchange Activity           AAVE                                      15,000.0                $1,748,073.26
Celsius Network Limited               THREE ARROWS CAPITAL                                                                                          5/31/2022       Outgoing             Lending Activity            USDC                              (25,000,000.0)                ($25,000,000.00)
Celsius Network Limited               KEYROCK                                                                                                       5/31/2022       Incoming             Lending Activity            BTC                                          22.29                  $714,366.81
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/31/2022       Incoming             Lending Activity            USDT_ERC20                          20,000,000.0                 $19,987,144.91
Celsius Network Limited               KEYROCK                                                                                                       5/31/2022       Outgoing             Lending Activity            AAVE                                    (8,790.22)                 ($999,086.27)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/31/2022       Outgoing             Lending Activity            USDC                                       (100.0)                     ($100.00)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            5/31/2022       Outgoing             Lending Activity            USDC                               (9,999,900.0)                 ($9,999,900.00)
Celsius Network Limited               FTX                                                                                                           5/31/2022       Incoming             Exchange Activity           AAVE                            5,058.40375905                      $575,589.47
Celsius Network Limited               0xc91b8070142ae9914634264ed55271e13e8463a3                                                                    5/31/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN               2,452,411.29582233                     Undetermined
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             5/31/2022       Incoming             Lending Activity            AAVE                                       9,000.0                $1,016,539.09
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/31/2022       Incoming             Lending Activity            MANA                                    150,000.0                   $161,259.69
Celsius Network Limited               KENETIC TRADING LTD                                                                                           5/31/2022       Outgoing             Lending Activity            BTC                                          (4.28)                ($136,051.26)
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                             5/31/2022       Outgoing             Lending Activity            BTC                                          (27.8)                ($883,697.44)
Celsius Network Limited               BITFINEX                                                                                                      5/31/2022       Incoming             Exchange Activity           MATIC                              999,996.6179                     $665,921.75
Celsius Network Limited               FTX                                                                                                           5/31/2022       Incoming             Exchange Activity           DOT                                        5,922.0                   $62,441.23
Celsius Network Limited               FLOW TRADERS                                                                                                  6/1/2022        Incoming             Lending Activity            BTC                                         1.3211                   $41,693.77
Celsius Network Limited               FTX                                                                                                           6/1/2022        Incoming             Exchange Activity           WBTC                                         800.0               $25,247,909.68
Celsius Network Limited               FTX                                                                                                           6/1/2022        Outgoing             Exchange Activity           USDT_ERC20                                   (10.0)                      ($9.99)
Celsius Network Limited               FTX                                                                                                           6/1/2022        Outgoing             Exchange Activity           USDT_ERC20                         (9,999,990.0)                 ($9,993,563.96)
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/1/2022        Incoming             Lending Activity            BTC                                          15.82                  $500,920.14
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/1/2022        Outgoing             Lending Activity            ADA                                 (833,333.33)                   ($513,317.96)
Celsius Network Limited               FASANARA CAPITAL                                                                                              6/1/2022        Incoming             Lending Activity            ADA                           3,504,369.537421                    $2,143,793.47
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/1/2022        Incoming             Lending Activity            USDT_ERC20                                     40.0                      $39.97
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                               6/1/2022        Incoming             Lending Activity            USDC                                           25.0                      $25.00
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                               6/1/2022        Incoming             Lending Activity            USDC                                    249,975.0                   $249,975.00
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            6/1/2022        Incoming             OTC Transaction             BTC                                 59.31675883                   $1,881,766.87
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/1/2022        Incoming             Lending Activity            USDT_ERC20                              999,960.0                   $999,258.57
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                               6/1/2022        Outgoing             Lending Activity            BNB_BSC                                       (0.1)                     ($31.78)
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/1/2022        Outgoing             Lending Activity            BTC                                        (0.001)                      ($31.72)
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                               6/1/2022        Outgoing             Lending Activity            BNB_BSC                                   (788.54)                 ($250,622.32)
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/1/2022        Outgoing             Lending Activity            BTC                                       (43.869)               ($1,396,117.54)
Celsius Network Limited               FTX                                                                                                           6/1/2022        Incoming             Exchange Activity           WBTC                                         190.0                $6,027,919.10
Celsius Network Limited               BITFINEX                                                                                                      6/1/2022        Outgoing             Exchange Activity           ADA                                          (10.0)                      ($5.85)
Celsius Network Limited               BITFINEX                                                                                                      6/1/2022        Outgoing             Exchange Activity           ADA                                   (730,816.0)                  ($427,868.75)
Celsius Network Limited               PHAROS                                                                                                        6/1/2022        Incoming             Lending Activity            BTC                                         776.47               $24,259,478.39
Celsius Network Limited               FTX                                                                                                           6/1/2022        Incoming             Exchange Activity           XRP                                   2,000,000.0                   $824,658.58
Celsius Network Limited               FTX                                                                                                           6/1/2022        Outgoing             Exchange Activity           USDT_ERC20                         (1,000,000.0)                   ($999,250.29)
Celsius Network Limited               TETHER                                                                                                        6/1/2022        Outgoing             Lending Activity            EURT_ERC20                              (34,692.4)                  ($37,038.57)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    6/1/2022        Incoming             Lending Activity            ADA                              56,054.794521                       $32,354.60
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    6/1/2022        Incoming             Lending Activity            BSV                                 12.73972603                         $683.37
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    6/1/2022        Incoming             Lending Activity            BTC                                  2.52054795                      $77,925.43
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    6/1/2022        Incoming             Lending Activity            BNB_BSC                             52.65753425                      $16,238.22
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    6/1/2022        Incoming             Lending Activity            ETC                               106.16438356                        $2,437.64
Celsius Network Limited               FASANARA CAPITAL                                                                                              6/1/2022        Outgoing             Lending Activity            BTC                                        (66.73)               ($2,063,029.25)
Celsius Network Limited               FTX                                                                                                           6/1/2022        Incoming             Exchange Activity           USDC                                18,000,000.0                 $18,000,000.00
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    6/1/2022        Incoming             Lending Activity            SNX                               423.28767123                        $1,328.39
Celsius Network Limited               FASANARA CAPITAL                                                                                              6/1/2022        Outgoing             Lending Activity            ADA                                (369.703714)                        ($213.39)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    6/1/2022        Incoming             Lending Activity            USDC                            148,630.136986                      $148,630.14
Celsius Network Limited               PHAROS                                                                                                        6/1/2022        Outgoing             Lending Activity            USDC                              (25,000,000.0)                ($25,000,000.00)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    6/1/2022        Incoming             Lending Activity            EOS                                      382.1918                       $504.15
Celsius Network Limited               PHAROS                                                                                                        6/1/2022        Outgoing             Lending Activity            USDC                              (33,000,000.0)                ($33,000,000.00)
Celsius Network Limited               MATRIXPORT                                                                                                    6/1/2022        Outgoing             Lending Activity            DOGE                             (168,357.4085)                     ($13,878.07)
Celsius Network Limited               FTX                                                                                                           6/1/2022        Incoming             Exchange Activity           BTC                                          500.0               $15,079,091.75
Celsius Network Limited               CMS HOLDINGS LLC                                                                                              6/1/2022        Incoming             Lending Activity            USDT_ERC20                       33,013.616395                       $32,981.06
Celsius Network Limited               WINTERMUTE                                                                                                    6/1/2022        Incoming             Lending Activity            ADA                                  12,999.6164                      $7,163.79
Celsius Network Limited               WINTERMUTE                                                                                                    6/1/2022        Incoming             Lending Activity            BAT                                   6,321.6438                      $2,417.41
Celsius Network Limited               WINTERMUTE                                                                                                    6/1/2022        Incoming             Lending Activity            BTC                                         1.0946                   $32,752.89
Celsius Network Limited               WINTERMUTE                                                                                                    6/1/2022        Incoming             Lending Activity            EOS                                   1,753.8356                      $2,235.39
Celsius Network Limited               WINTERMUTE                                                                                                    6/1/2022        Incoming             Lending Activity            ETH                                         9.0126                   $16,308.94
Celsius Network Limited               WINTERMUTE                                                                                                    6/1/2022        Incoming             Lending Activity            LINK                                     114.6575                       $796.20
Celsius Network Limited               WINTERMUTE                                                                                                    6/1/2022        Incoming             Lending Activity            MANA                                     936.9863                       $929.00
Celsius Network Limited               WINTERMUTE                                                                                                    6/1/2022        Incoming             Lending Activity            SNX                                      711.3014                     $2,061.72
Celsius Network Limited               WINTERMUTE                                                                                                    6/1/2022        Incoming             Lending Activity            USDT_ERC20                         188,219.1781                     $188,054.26
Celsius Network Limited               WINTERMUTE                                                                                                    6/1/2022        Incoming             Lending Activity            BNB_BSC                                     12.274                    $3,678.78
Celsius Network Limited               WINTERMUTE                                                                                                    6/1/2022        Incoming             Lending Activity            KNC                                      764.3836                     $1,494.10
Celsius Network Limited               WINTERMUTE                                                                                                    6/1/2022        Incoming             Lending Activity            OMG                                   1,061.6438                      $2,648.74
Celsius Network Limited               WINTERMUTE                                                                                                    6/1/2022        Incoming             Lending Activity            UNI                                   3,821.9178                     $19,820.41
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            6/1/2022        Incoming             OTC Transaction             BTC                                 135.5913159                   $4,020,971.13
Celsius Network Limited               FTX                                                                                                           6/2/2022        Outgoing             Exchange Activity           1INCH                                        (10.0)                      ($9.58)
Celsius Network Limited               FTX                                                                                                           6/2/2022        Outgoing             Exchange Activity           1INCH                             (2,222,212.23)                 ($2,128,349.55)
Celsius Network Limited               THREE ARROWS CAPITAL                                                                                          6/2/2022        Incoming             Lending Activity            BTC                                         3.0685                   $91,763.49
Celsius Network Limited               THREE ARROWS CAPITAL                                                                                          6/2/2022        Incoming             Lending Activity            USDC                               135,616.4384                     $135,616.44
Celsius Network Limited               PARALLEL CAPITAL                                                                                              6/2/2022        Incoming             Lending Activity            BTC                                         0.1909                    $5,669.23
Celsius Network Limited               PARALLEL CAPITAL                                                                                              6/2/2022        Incoming             Lending Activity            ETH                                         6.0315                   $10,956.97
Celsius Network Limited               PROFLUENT TRADING INC                                                                                         6/2/2022        Incoming             Lending Activity            DOT                                             1.0                       $9.47
Celsius Network Limited               PROFLUENT TRADING INC                                                                                         6/2/2022        Incoming             Lending Activity            DOT                                       52,999.0                  $502,121.45
Celsius Network Limited               POINT95 GLOBAL (HONG KONG) LIMITED                                                                            6/2/2022        Incoming             Lending Activity            USDC                                  122,516.89                    $122,516.89
Celsius Network Limited               PROFLUENT TRADING INC                                                                                         6/2/2022        Incoming             Lending Activity            DOT                          129,999.29849672                     $1,232,350.51
Celsius Network Limited               FTX                                                                                                           6/2/2022        Outgoing             Exchange Activity           BTC                                        (250.0)               ($7,433,802.16)
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/2/2022        Incoming             Lending Activity            XRP                                   4,355.4619                      $1,718.57
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/2/2022        Incoming             Lending Activity            DOGE                                  8,983.1401                        $724.42
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/2/2022        Incoming             Lending Activity            MANA                                     227.4951                       $219.16
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/2/2022        Incoming             Lending Activity            BNB_BSC                                   17.9275                     $5,383.68
Celsius Network Limited               BABEL HOLDING LIMITED                                                                                         6/2/2022        Incoming             Lending Activity            USDT_ERC20                           45,410.9589                     $45,380.50
Celsius Network Limited               FOLKVANG                                                                                                      6/2/2022        Incoming             Lending Activity            BTC                                         0.0276                      $826.60
Celsius Network Limited               DRUK HOLDING AND INVESTMENTS                                                                                  6/2/2022        Incoming             Lending Activity            USDT_ERC20                           193,860.274                    $193,739.96
Celsius Network Limited               FOLKVANG                                                                                                      6/2/2022        Incoming             Lending Activity            ETH                                         0.8151                    $1,486.80
Celsius Network Limited               FOLKVANG                                                                                                      6/2/2022        Incoming             Lending Activity            USDC                                 45,375.3425                     $45,375.34
Celsius Network Limited               FTX                                                                                                           6/2/2022        Outgoing             Exchange Activity           USDC                       (12,184,639.715886)                  ($12,184,639.72)
Celsius Network Limited               DV CHAIN                                                                                                      6/2/2022        Incoming             Lending Activity            BTC                                         0.4247                   $12,785.93
Celsius Network Limited               DV CHAIN                                                                                                      6/2/2022        Incoming             Lending Activity            ETH                                         3.1849                    $5,836.60
Celsius Network Limited               DV CHAIN                                                                                                      6/2/2022        Incoming             Lending Activity            USDT_ERC20                           35,671.2329                     $35,646.37
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                    6/2/2022        Incoming             Lending Activity            BTC                                       14.8468                   $446,974.57
Celsius Network Limited               168 TRADING LIMITED                                                                                           6/2/2022        Incoming             Lending Activity            DOT                                      537.5412                     $5,153.42
Celsius Network Limited               PHAROS                                                                                                        6/2/2022        Outgoing             Lending Activity            USDC                                (610,712.33)                   ($610,712.33)
Celsius Network Limited               PHAROS                                                                                                        6/2/2022        Outgoing             Lending Activity            USDC                                  (11,835.62)                   ($11,835.62)
Celsius Network Limited               PHAROS                                                                                                        6/2/2022        Outgoing             Lending Activity            USDC                                (281,937.19)                   ($281,937.19)
Celsius Network Limited               FTX                                                                                                           6/2/2022        Incoming             Exchange Activity           XRP                           2,298,845.665502                      $917,496.96
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          6/2/2022        Incoming             Lending Activity            XRP                                             1.0                       $0.39
Celsius Network Limited               FTX                                                                                                           6/2/2022        Incoming             Exchange Activity           LTC                                       20,000.0                $1,258,840.80
Celsius Network Limited               FTX                                                                                                           6/2/2022        Incoming             Exchange Activity           LTC                             12,000.6604077                      $755,346.05
Celsius Network Limited               PROFLUENT TRADING INC                                                                                         6/2/2022        Outgoing             Lending Activity            BTC                                        (23.01)                 ($686,772.37)
Celsius Network Limited               FTX                                                                                                           6/2/2022        Incoming             Exchange Activity           UNI                          257,382.95528401                     $1,328,695.90
Celsius Network Limited               FTX                                                                                                           6/2/2022        Incoming             Exchange Activity           BCH                             7,096.63696736                    $1,307,856.51
Celsius Network Limited               FTX                                                                                                           6/2/2022        Incoming             Exchange Activity           BNB_BSC                                    1,778.0                  $534,421.78
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                    6/2/2022        Incoming             Lending Activity            ADA                                  56,054.7945                     $32,024.64
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                    6/2/2022        Incoming             Lending Activity            XRP                                  42,465.7534                     $16,842.00
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                    6/2/2022        Incoming             Lending Activity            EOS                                     1,549.845                     $1,981.63
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                             Doc 15          Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                    SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                              Main Document                              Case Number: 22-10966



          CELSIUS ENTITY                                                            COUNTERPARTY
                                                                                                               Pg 39 of 77           Non-Retail Coin Transactions
                                                                                                                                                      DATE          TYPE                          TRANSACTION TYPE              COIN   COIN QUANTITY                         COIN USD
Celsius Network Limited               KEYROCK                                                                                                        6/2/2022       Incoming             Lending Activity            BTC                                      0.0913                    $2,764.02
Celsius Network Limited               CMS HOLDINGS LLC                                                                                               6/2/2022       Incoming             Lending Activity            LUNA                                    1,000.0                        $0.10
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                     6/2/2022       Incoming             Lending Activity            ETH                                    29.2402                    $53,192.37
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           6/2/2022       Incoming             Lending Activity            XRP                                4,099,999.0                 $1,641,678.31
Celsius Network Limited               KENETIC TRADING LTD                                                                                            6/2/2022       Incoming             Lending Activity            BTC                                        33.06                 $999,093.51
Celsius Network Limited               KENETIC TRADING LTD                                                                                            6/2/2022       Outgoing             Lending Activity            ZRX                             (2,500,000.0)                 ($1,004,955.60)
Celsius Network Limited               FTX                                                                                                            6/2/2022       Incoming             Exchange Activity           BTC                                        500.0              $15,112,483.53
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/2/2022       Incoming             Lending Activity            ADA                               29,836.6439                     $17,379.55
Celsius Network Limited               DV CHAIN                                                                                                       6/2/2022       Incoming             Lending Activity            BTC                                        26.01                 $784,035.00
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/2/2022       Incoming             Lending Activity            AVAX                                  119.3151                     $2,887.86
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/2/2022       Incoming             Lending Activity            BCH                                      74.315                   $13,865.77
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/2/2022       Incoming             Lending Activity            BNB_BSC                                52.4657                    $15,962.39
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/2/2022       Incoming             Lending Activity            BTC                                      2.0874                   $62,921.75
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/2/2022       Incoming             Lending Activity            EOS                                3,630.8134                      $4,642.81
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/2/2022       Incoming             Lending Activity            DOT                                1,047.9452                     $10,188.56
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/2/2022       Incoming             Lending Activity            ETH                                    23.7808                    $43,028.80
Celsius Network Limited               DUNAMIS TRADING (BAHAMAS) LTD                                                                                  6/2/2022       Incoming             Lending Activity            DOT                                  156,250.0                 $1,519,127.63
Celsius Network Limited               PROFLUENT TRADING INC                                                                                          6/2/2022       Incoming             Lending Activity            DOT                       152,380.30874039                     $1,510,751.48
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                             6/2/2022       Incoming             OTC Transaction             ETH                              65.18399865                     $118,915.86
Celsius Network Limited               PROFLUENT TRADING INC                                                                                          6/2/2022       Outgoing             Lending Activity            BTC                                      (20.37)                ($617,025.95)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           6/2/2022       Incoming             Lending Activity            BTC                                      8.4049                  $256,327.27
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           6/2/2022       Incoming             Lending Activity            ETH                                    48.5323                    $89,139.46
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           6/2/2022       Incoming             Lending Activity            LTC                                   248.3688                    $15,984.68
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           6/2/2022       Incoming             Lending Activity            MATIC                             21,232.8767                     $13,129.07
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           6/2/2022       Incoming             Lending Activity            USDC                          1,031,756.1644                   $1,031,756.16
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           6/2/2022       Incoming             Lending Activity            XRP                             340,615.9982                     $137,897.16
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           6/2/2022       Incoming             Lending Activity            EOS                                10,517.137                     $13,644.89
Celsius Network Limited               MATRIX PORT TECHNOLOGIES LIMITED                                                                               6/3/2022       Incoming             Lending Activity            LTC                                           1.0                     $64.64
Celsius Network Limited               FTX                                                                                                            6/3/2022       Outgoing             Exchange Activity           USDC                        (1,031,756.1644)                  ($1,031,756.16)
Celsius Network Limited               FTX                                                                                                            6/3/2022       Incoming             Exchange Activity           BUSD                               1,000,000.0                 $1,002,000.00
Celsius Network Limited               MATRIXPORT                                                                                                     6/3/2022       Incoming             Lending Activity            LTC                                   122.2877                     $7,820.71
Celsius Network Limited               FTX                                                                                                            6/3/2022       Outgoing             Exchange Activity           DOT                     (5,925.1679999984)                       ($58,135.83)
Celsius Network Limited               FTX                                                                                                            6/3/2022       Incoming             Exchange Activity           KNC                        621,918.7036475                     $1,163,555.05
Celsius Network Limited               FTX                                                                                                            6/3/2022       Incoming             Exchange Activity           BCH                          3,895.57268394                      $708,918.70
Celsius Network Limited               FTX                                                                                                            6/3/2022       Incoming             Exchange Activity           UNI                          137,085.739301                      $685,151.10
Celsius Network Limited               FTX                                                                                                            6/3/2022       Incoming             Exchange Activity           MATIC                           433,263.8282                     $252,240.14
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/3/2022       Incoming             Lending Activity            DOGE                              16,438.3562                      $1,315.99
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/3/2022       Incoming             Lending Activity            FTT                                   208.5616                     $5,418.43
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/3/2022       Incoming             Lending Activity            LINK                                  363.0822                     $2,458.14
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/3/2022       Incoming             Lending Activity            MANA                               7,729.2868                      $7,625.84
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/3/2022       Incoming             Lending Activity            LTC                                   253.0958                    $15,728.06
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/3/2022       Incoming             Lending Activity            UNI                                    72.6028                       $364.28
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/3/2022       Incoming             Lending Activity            XRP                               28,494.5205                     $11,150.07
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/3/2022       Incoming             Lending Activity            XLM                             112,849.3149                      $16,111.38
Celsius Network Limited               FTX                                                                                                            6/3/2022       Outgoing             Exchange Activity           BTC                                      (250.0)              ($7,408,146.03)
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/3/2022       Incoming             Lending Activity            XTZ                                1,308.2191                      $2,469.89
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/3/2022       Incoming             Lending Activity            ZRX                               13,843.8356                      $5,385.37
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/3/2022       Incoming             Lending Activity            ZEC                                    33.1233                     $2,911.06
Celsius Network Limited               KENETIC TRADING LTD                                                                                            6/3/2022       Incoming             Lending Activity            USDC                                   4,103.45                    $4,103.45
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                  6/3/2022       Incoming             Lending Activity            USDT_ERC20                         7,265.7534                      $7,260.71
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/3/2022       Incoming             Lending Activity            EOS                                    35.6007                        $44.29
Celsius Network Limited               FTX                                                                                                            6/3/2022       Outgoing             Exchange Activity           USDC                            (5,800,000.0)                 ($5,800,000.00)
Celsius Network Limited               FTX                                                                                                            6/3/2022       Outgoing             Exchange Activity           BTC                                       (50.0)              ($1,479,125.03)
Celsius Network Limited               BITFINEX                                                                                                       6/3/2022       Outgoing             Exchange Activity           MATIC                 (293,899.138405922)                       ($173,707.62)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           6/4/2022       Incoming             Lending Activity            ADA                             215,836.8076                     $120,952.01
Celsius Network Limited               AUROS TECH LIMITED                                                                                             6/4/2022       Incoming             Lending Activity            SOL                                   230.8466                     $8,911.54
Celsius Network Limited               PROFLUENT TRADING INC                                                                                          6/5/2022       Incoming             Lending Activity            BTC                                    0.44131                    $13,213.09
Celsius Network Limited               PROFLUENT TRADING INC                                                                                          6/5/2022       Incoming             Lending Activity            DOT                          3,133.27210891                       $29,526.50
Celsius Network Limited               PROFLUENT TRADING INC                                                                                          6/5/2022       Incoming             Lending Activity            ETH                                      5.7039                   $10,313.29
Celsius Network Limited               PROFLUENT TRADING INC                                                                                          6/5/2022       Incoming             Lending Activity            FTT                                   240.4327                     $6,270.48
Celsius Network Limited               PROFLUENT TRADING INC                                                                                          6/5/2022       Incoming             Lending Activity            BAT                                   849.3151                       $326.45
Celsius Network Limited               PROFLUENT TRADING INC                                                                                          6/5/2022       Incoming             Lending Activity            SOL                            511.77622744                       $20,329.25
Celsius Network Limited               DIGITAL ASSET FUNDS MANAGEMENT PTY LTD                                                                         6/6/2022       Incoming             Lending Activity            BTC                                      0.2082                    $6,412.89
Celsius Network Limited               DIGITAL ASSET FUNDS MANAGEMENT PTY LTD                                                                         6/6/2022       Incoming             Lending Activity            ETH                                      2.3013                    $4,283.91
Celsius Network Limited               FTX                                                                                                            6/6/2022       Outgoing             Exchange Activity           USDT_ERC20               (5,003,441.013695)                   ($5,000,120.90)
Celsius Network Limited               FTX                                                                                                            6/6/2022       Incoming             Exchange Activity           USDC                               4,000,000.0                 $4,000,000.00
Celsius Network Limited               KENETIC TRADING LTD                                                                                            6/6/2022       Incoming             Lending Activity            EOS                                  670,000.0                   $887,884.34
Celsius Network Limited               KENETIC TRADING LTD                                                                                            6/6/2022       Incoming             Lending Activity            EOS                                  13,678.16                    $18,094.28
Celsius Network Limited               KENETIC TRADING LTD                                                                                            6/6/2022       Outgoing             Lending Activity            BTC                                       (8.94)                ($280,740.20)
Celsius Network Limited               KENETIC TRADING LTD                                                                                            6/6/2022       Outgoing             Lending Activity            USDC                                 (4,103.45)                   ($4,103.45)
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                6/6/2022       Incoming             Lending Activity            BNB_BSC                                  2.6869                      $833.03
Celsius Network Limited               FALCONX LIMITED                                                                                                6/6/2022       Incoming             Lending Activity            SUSHI                                 475.9093                       $796.90
Celsius Network Limited               FALCONX LIMITED                                                                                                6/6/2022       Incoming             Lending Activity            UNI                                   624.4964                     $3,374.48
Celsius Network Limited               FALCONX LIMITED                                                                                                6/6/2022       Incoming             Lending Activity            COMP                                       4.143                     $254.57
Celsius Network Limited               FALCONX LIMITED                                                                                                6/6/2022       Incoming             Lending Activity            AAVE                                   34.3384                     $3,790.28
Celsius Network Limited               FALCONX LIMITED                                                                                                6/6/2022       Incoming             Lending Activity            LTC                                   203.8356                    $13,486.56
Celsius Network Limited               FALCONX LIMITED                                                                                                6/6/2022       Incoming             Lending Activity            ADA                               30,320.5479                     $19,313.14
Celsius Network Limited               FALCONX LIMITED                                                                                                6/6/2022       Incoming             Lending Activity            BNB_BSC                                  0.3332                      $103.30
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                                6/6/2022       Incoming             Lending Activity            USDT_ERC20                             22,054.8                   $22,040.53
Celsius Network Limited               JANE STREET                                                                                                    6/6/2022       Incoming             Lending Activity            XLM                               49,930.7859                      $7,445.53
Celsius Network Limited               JANE STREET                                                                                                    6/6/2022       Incoming             Lending Activity            LTC                                   212.3288                    $14,048.51
Celsius Network Limited               JANE STREET                                                                                                    6/6/2022       Incoming             Lending Activity            ADA                               25,479.4521                     $16,229.53
Celsius Network Limited               JANE STREET                                                                                                    6/6/2022       Incoming             Lending Activity            BCH                                    35.8305                     $6,736.19
Celsius Network Limited               FALCONX LIMITED                                                                                                6/6/2022       Incoming             Lending Activity            CRV                                  9,590.109                    $12,463.10
Celsius Network Limited               JANE STREET                                                                                                    6/6/2022       Incoming             Lending Activity            ETC                                   127.3973                     $2,949.50
Celsius Network Limited               JANE STREET                                                                                                    6/6/2022       Incoming             Lending Activity            EOS                                   707.0548                       $938.31
Celsius Network Limited               JANE STREET                                                                                                    6/6/2022       Incoming             Lending Activity            ZRX                                5,053.4247                      $2,181.76
Celsius Network Limited               JANE STREET                                                                                                    6/6/2022       Incoming             Lending Activity            LINK                                  122.6748                       $990.77
Celsius Network Limited               FALCONX LIMITED                                                                                                6/6/2022       Incoming             Lending Activity            XRP                                         10.0                       $4.06
Celsius Network Limited               FALCONX LIMITED                                                                                                6/6/2022       Incoming             Lending Activity            DOT                                         10.0                      $98.28
Celsius Network Limited               FALCONX LIMITED                                                                                                6/6/2022       Incoming             Lending Activity            SOL                                           1.0                     $44.05
Celsius Network Limited               FALCONX LIMITED                                                                                                6/6/2022       Incoming             Lending Activity            DOT                                  11,808.71                   $116,058.26
Celsius Network Limited               FALCONX LIMITED                                                                                                6/6/2022       Incoming             Lending Activity            XRP                                    4,328.05                    $1,756.26
Celsius Network Limited               FALCONX LIMITED                                                                                                6/6/2022       Incoming             Lending Activity            SOL                                      175.45                    $7,727.81
Celsius Network Limited               GALAXY DIGITAL                                                                                                 6/6/2022       Incoming             Lending Activity            ADA                               84,618.5647                     $52,842.41
Celsius Network Limited               GALAXY DIGITAL                                                                                                 6/6/2022       Incoming             Lending Activity            LTC                                      1.3151                       $86.62
Celsius Network Limited               GALAXY DIGITAL                                                                                                 6/6/2022       Incoming             Lending Activity            USDC                            708,561.6438                     $708,561.64
Celsius Network Limited               GALAXY DIGITAL                                                                                                 6/6/2022       Incoming             Lending Activity            USDT_ERC20                      181,178.0822                     $181,064.17
Celsius Network Limited               GALAXY DIGITAL                                                                                                 6/6/2022       Incoming             Lending Activity            DOT                                3,991.5616                     $39,088.61
Celsius Network Limited               NICKEL                                                                                                         6/6/2022       Outgoing             Lending Activity            USDT_ERC20                         (32,876.71)                   ($32,855.40)
Celsius Network Limited               TDX SG PTE LTD                                                                                                 6/6/2022       Outgoing             Lending Activity            USDC                                 (4,671.23)                   ($4,671.23)
Celsius Network Limited               FTX                                                                                                            6/6/2022       Incoming             Exchange Activity           USDC                               7,500,000.0                 $7,500,000.00
Celsius Network Limited               FTX                                                                                                            6/6/2022       Outgoing             Exchange Activity           MATIC_POLYGON         (244,955.403533619)                       ($155,595.15)
Celsius Network Limited               FTX                                                                                                            6/6/2022       Incoming             Exchange Activity           MATIC                     244,955.40353362                       $155,393.83
Celsius Network Limited               FTX                                                                                                            6/6/2022       Incoming             Exchange Activity           USDC                               5,000,000.0                 $5,000,000.00
Celsius Network Limited               BITFINEX                                                                                                       6/6/2022       Incoming             Lending Activity            BTC                                     4,400.0              $137,657,908.34
Celsius Network Limited               CIRCLE                                                                                                         6/6/2022       Outgoing             Coin Minting / Redemption   USDC                            (7,500,000.0)                 ($7,500,000.00)
Celsius Network Limited               FTX                                                                                                            6/6/2022       Outgoing             Exchange Activity           BTC                        (3,201.00655669)                 ($100,728,715.94)
Celsius Network Limited               PROFLUENT TRADING INC                                                                                          6/6/2022       Incoming             Lending Activity            XRP                               14,897.2603                      $5,951.30
Celsius Network Limited               0x5e93941a8f3aede7788188b6cb8092b6e57d02a6                                                                     6/6/2022       Incoming             Blockchain Transaction      BEAN                                    7,958.0                Undetermined
Celsius Network Limited               CIRCLE                                                                                                         6/6/2022       Outgoing             Coin Minting / Redemption   USDC                            (1,500,000.0)                 ($1,500,000.00)
Celsius Network Limited               REDRIVERTRADING                                                                                                6/6/2022       Incoming             Lending Activity            USDC                              13,865.7535                     $13,865.75
Celsius Network Limited               JANE STREET                                                                                                    6/6/2022       Incoming             Lending Activity            USDT_ERC20                      189,123.2877                     $188,997.86
Celsius Network Limited               DUNAMIS TRADING III LTD                                                                                        6/6/2022       Incoming             Lending Activity            BTC                                      0.1644                    $5,164.52
Celsius Network Limited               DUNAMIS TRADING III LTD                                                                                        6/6/2022       Incoming             Lending Activity            ETH                                      0.1822                      $339.57
Celsius Network Limited               DV CHAIN                                                                                                       6/6/2022       Incoming             Lending Activity            USDT_ERC20                         3,000,000.0                 $2,998,124.51
Celsius Network Limited               DV CHAIN                                                                                                       6/6/2022       Outgoing             Lending Activity            BTC                                      (99.09)              ($3,114,534.33)
Celsius Network Limited               BITFINEX                                                                                                       6/7/2022       Incoming             Exchange Activity           ETH                           25,999.998866                   $45,900,075.91
Celsius Network Limited               FTX                                                                                                            6/7/2022       Incoming             Exchange Activity           SOL                        200,369.6419148                     $7,569,229.04
Celsius Network Limited               BITFINEX                                                                                                       6/7/2022       Outgoing             Exchange Activity           ADA                                       (25.0)                     ($14.67)
Celsius Network Limited               FTX                                                                                                            6/7/2022       Incoming             Exchange Activity           BUSD                               1,000,000.0                 $1,002,000.00
Celsius Network Limited               BITFINEX                                                                                                       6/7/2022       Outgoing             Exchange Activity           ADA                    (25,313,060.905015)                   ($14,894,579.03)
Celsius Network Limited               B2C2 LTD                                                                                                       6/7/2022       Incoming             Lending Activity            BSV                                    15.7123                       $880.17
Celsius Network Limited               B2C2 LTD                                                                                                       6/7/2022       Incoming             Lending Activity            XTZ                                1,248.4932                      $2,580.71
Celsius Network Limited               B2C2 LTD                                                                                                       6/7/2022       Incoming             Lending Activity            ETC                                   256.9178                     $5,475.58
Celsius Network Limited               B2C2 LTD                                                                                                       6/7/2022       Incoming             Lending Activity            EOS                                1,061.6438                      $1,325.52
Celsius Network Limited               B2C2 LTD                                                                                                       6/7/2022       Incoming             Lending Activity            UNI                                    280.274                     $1,431.43
Celsius Network Limited               B2C2 LTD                                                                                                       6/7/2022       Incoming             Lending Activity            USDT_ERC20                      114,657.5342                     $114,575.65
Celsius Network Limited               B2C2 LTD                                                                                                       6/7/2022       Incoming             Lending Activity            MATIC                              3,175.5915                      $1,900.66
Celsius Network Limited               B2C2 LTD                                                                                                       6/7/2022       Incoming             Lending Activity            UNI                                    200.863                     $1,025.86
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                             6/7/2022       Incoming             Lending Activity            LTC                                           1.0                     $62.54
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                             6/7/2022       Incoming             Lending Activity            BCH                                     1,346.0                  $237,874.67
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                             6/7/2022       Incoming             Lending Activity            LTC                                     4,016.0                  $250,341.85
Celsius Network Limited               DUNAMIS TRADING III LTD                                                                                        6/7/2022       Incoming             Lending Activity            SOL                                   202.9427                     $7,956.27
Celsius Network Limited               DUNAMIS TRADING III LTD                                                                                        6/7/2022       Incoming             Lending Activity            DOT                                1,284.2466                     $11,691.42
Celsius Network Limited               COINFLEX                                                                                                       6/7/2022       Incoming             Lending Activity            BCH                                    16,877.7                $2,993,032.60
Celsius Network Limited               COINFLEX                                                                                                       6/7/2022       Outgoing             Lending Activity            BTC                                      (100.0)              ($2,988,474.84)
Celsius Network Limited               FTX                                                                                                            6/7/2022       Incoming             Exchange Activity           ETH                        20,521.89836292                    $36,569,237.41
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                             6/7/2022       Incoming             Lending Activity            SOL                                    11,432.0                  $447,216.19
Celsius Network Limited               BLOCKFILLS                                                                                                     6/7/2022       Incoming             Lending Activity            BTC                                           3.0                 $89,734.09
Celsius Network Limited               FTX                                                                                                            6/7/2022       Outgoing             Exchange Activity           COMP                  (1,751.40752942308)                       ($100,954.51)
Celsius Network Limited               0xc16e82feac54a0970ddaa435b994ed562900cd19                                                                     6/7/2022       Incoming             Blockchain Transaction      PMC                              50,000,000.0                  Undetermined
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           6/7/2022       Incoming             Lending Activity            FTT                                           1.0                     $27.23
Celsius Network Limited               REDRIVERTRADING                                                                                                6/7/2022       Incoming             Lending Activity            USDC                               1,750,000.0                 $1,750,000.00
Celsius Network Limited               REDRIVERTRADING                                                                                                6/8/2022       Outgoing             Lending Activity            BTC                                       (62.5)              ($1,947,217.42)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                           6/8/2022       Incoming             Lending Activity            FTT                              3,683,422.05                 $99,783,903.33
Celsius Network Limited               FTX                                                                                                            6/8/2022       Outgoing             Exchange Activity           FTT                            (3,683,423.05)               ($100,373,278.11)
Celsius Network Limited               BITFINEX                                                                                                       6/8/2022       Incoming             Exchange Activity           ADA                                         25.0                      $16.10
Celsius Network Limited               FTX                                                                                                            6/8/2022       Incoming             Exchange Activity           WBTC                                    1,000.0               $31,085,164.73
Celsius Network Limited               FTX                                                                                                            6/8/2022       Incoming             Exchange Activity           WBTC                           704.21896977                   $21,143,241.80
Celsius Network Limited               FTX                                                                                                            6/8/2022       Incoming             Exchange Activity           BUSD                                 500,000.0                   $499,816.50
Celsius Network Limited               FTX                                                                                                            6/8/2022       Incoming             Exchange Activity           USDC                               4,000,000.0                 $4,000,000.00
Celsius Network Limited               BITFINEX                                                                                                       6/8/2022       Incoming             Exchange Activity           USDT_ERC20                         4,999,995.0                 $4,997,448.21
Celsius Network Limited               BITFINEX                                                                                                       6/8/2022       Incoming             Exchange Activity           ETH                             3,999.998866                   $7,171,887.09
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                          6/8/2022       Incoming             Lending Activity            BNB_BSC                               320.2767                    $93,030.20
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                          6/8/2022       Incoming             Lending Activity            USDT_ERC20                         6,575.3425                      $6,571.62
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                          6/8/2022       Incoming             Lending Activity            ETH                                    16.1556                    $29,153.24
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                          6/8/2022       Incoming             Lending Activity            BTC                                      0.7865                   $23,857.01
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                          6/8/2022       Incoming             Lending Activity            USDT_ERC20                                    1.0                      $1.00
Celsius Network Limited               AKUNA CAPITAL                                                                                                  6/8/2022       Incoming             Lending Activity            BTC                                      0.2219                    $6,828.91
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                  Doc 15          Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                         SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                  Main Document                               Case Number: 22-10966



          CELSIUS ENTITY                                                 COUNTERPARTY
                                                                                                    Pg 40 of 77           Non-Retail Coin Transactions
                                                                                                                                           DATE          TYPE                          TRANSACTION TYPE              COIN   COIN QUANTITY                         COIN USD
Celsius Network Limited               AKUNA CAPITAL                                                                                      6/8/2022        Incoming             Lending Activity            XRP                                 2,554.2164                     $1,028.78
Celsius Network Limited               GSR MARKETS LIMITED                                                                                6/8/2022        Incoming             Lending Activity            XRP                              178,216.4384                     $71,393.13
Celsius Network Limited               FLOW TRADERS                                                                                       6/8/2022        Incoming             Lending Activity            BTC                                      0.5684                   $17,287.10
Celsius Network Limited               FLOW TRADERS                                                                                       6/8/2022        Incoming             Lending Activity            BNB_BSC                                37.6712                    $10,974.67
Celsius Network Limited               FLOW TRADERS                                                                                       6/8/2022        Incoming             Lending Activity            USDT_ERC20                        60,273.9726                     $60,239.65
Celsius Network Limited               FLOW TRADERS                                                                                       6/8/2022        Incoming             Lending Activity            SOL                                    24.6575                       $983.50
Celsius Network Limited               FTX                                                                                                6/8/2022        Outgoing             Exchange Activity           STETH_ETH                                 (0.01)                     ($17.64)
Celsius Network Limited               FTX                                                                                                6/8/2022        Outgoing             Exchange Activity           STETH_ETH                             (5,000.0)               ($8,818,536.61)
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                      6/8/2022        Incoming             Lending Activity            SOL                                         0.09                       $3.50
Celsius Network Limited               FTX                                                                                                6/8/2022        Incoming             Exchange Activity           USDC                              14,000,000.0                $14,000,000.00
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                      6/8/2022        Incoming             Lending Activity            SOL                                    57.8657                     $2,250.65
Celsius Network Limited               BITFINEX                                                                                           6/8/2022        Incoming             Exchange Activity           ADA                                         99.7                      $64.62
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                 6/8/2022        Incoming             Lending Activity            LINK                             36.59722222                         $315.57
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                 6/8/2022        Incoming             Lending Activity            BTC                                7.59043469                    $229,336.72
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                 6/8/2022        Incoming             Lending Activity            SOL                              135.2527123                       $5,260.56
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                 6/8/2022        Incoming             Lending Activity            MANA                            381.91780822                         $374.94
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                 6/8/2022        Incoming             Lending Activity            USDT_ERC20                   170,047.564721                      $169,935.68
Celsius Network Limited               CIRCLE                                                                                             6/8/2022        Outgoing             Coin Minting / Redemption   USDC                           (14,000,000.0)                ($14,000,000.00)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                 6/8/2022        Incoming             Lending Activity            LTC                                8.52924658                        $527.81
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                 6/8/2022        Incoming             Lending Activity            XLM                              3,011.230137                        $420.15
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                 6/8/2022        Incoming             Lending Activity            BCH                                3.42953425                        $605.99
Celsius Network Limited               BITFINEX                                                                                           6/8/2022        Incoming             Exchange Activity           ETC                          4,994.01392983                      $106,751.58
Celsius Network Limited               BITFINEX                                                                                           6/8/2022        Incoming             Exchange Activity           ADA                       19,999,874.401979                   $12,984,489.03
Celsius Network Limited               FTX                                                                                                6/9/2022        Outgoing             Exchange Activity           STETH_ETH                            (4,638.39)               ($8,146,868.04)
Celsius Network Limited               FTX                                                                                                6/9/2022        Incoming             Exchange Activity           BUSD                               2,000,000.0                 $2,006,000.00
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                               6/9/2022        Incoming             Lending Activity            XRP                             65,797,594.71                 $26,550,640.91
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                               6/9/2022        Incoming             Lending Activity            BTC                                        290.0               $8,848,845.70
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                               6/9/2022        Incoming             Lending Activity            ADA                               15,999,999.0                $10,444,150.10
Celsius Network Limited               FTX                                                                                                6/9/2022        Outgoing             Exchange Activity           STETH_ETH                             (3,783.0)               ($6,694,594.76)
Celsius Network Limited               FTX                                                                                                6/9/2022        Outgoing             Exchange Activity           STETH_ETH                             (5,428.0)               ($9,605,672.85)
Celsius Network Limited               FTX                                                                                                6/9/2022        Outgoing             Exchange Activity           STETH_ETH                             (3,129.0)               ($5,518,841.51)
Celsius Network Limited               FTX                                                                                                6/9/2022        Outgoing             Exchange Activity           STETH_ETH                             (4,838.6)               ($8,534,185.53)
Celsius Network Limited               FTX                                                                                                6/9/2022        Outgoing             Exchange Activity           STETH_ETH                             (4,921.0)               ($8,691,040.68)
Celsius Network Limited               FTX                                                                                                6/9/2022        Outgoing             Exchange Activity           STETH_ETH                             (3,817.0)               ($6,741,252.24)
Celsius Network Limited               FTX                                                                                                6/9/2022        Outgoing             Exchange Activity           STETH_ETH                             (4,298.0)               ($7,574,565.56)
Celsius Network Limited               FTX                                                                                                6/9/2022        Outgoing             Exchange Activity           STETH_ETH                             (5,611.0)               ($9,888,526.61)
Celsius Network Limited               FTX                                                                                                6/9/2022        Outgoing             Exchange Activity           STETH_ETH                             (1,059.0)               ($1,866,325.02)
Celsius Network Limited               FTX                                                                                                6/9/2022        Outgoing             Exchange Activity           STETH_ETH                             (3,480.0)               ($6,132,966.07)
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                    6/9/2022        Incoming             Lending Activity            BNB_BSC                                       0.1                     $29.12
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                    6/9/2022        Incoming             Lending Activity            BNB_BSC                             3,444.5181                 $1,001,722.17
Celsius Network Limited               BITFINEX                                                                                           6/9/2022        Incoming             Exchange Activity           ETC                             696.00132023                      $14,899.61
Celsius Network Limited               FTX                                                                                                6/9/2022        Outgoing             Exchange Activity           XRP                     (64,999,999.999985)                  ($26,055,980.34)
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                    6/9/2022        Outgoing             Lending Activity            USDC                                      (10.0)                     ($10.00)
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                    6/9/2022        Outgoing             Lending Activity            USDC                             (1,054,990.0)                ($1,054,990.00)
Celsius Network Limited               FASANARA CAPITAL                                                                                   6/9/2022        Incoming             Lending Activity            BNB_BSC                                29.3424                     $8,482.74
Celsius Network Limited               FASANARA CAPITAL                                                                                   6/9/2022        Incoming             Lending Activity            FTT                                   628.6995                    $17,949.37
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                         6/9/2022        Incoming             Lending Activity            BTC                                     2,000.0               $60,226,628.55
Celsius Network Limited               FTX                                                                                                6/9/2022        Incoming             Exchange Activity           BTC                                     3,500.0              $105,580,225.23
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                         6/9/2022        Outgoing             Lending Activity            ETH                                  (30,800.0)              ($55,388,078.30)
Celsius Network Limited               BITFINEX                                                                                           6/9/2022        Outgoing             Exchange Activity           BTC                                   (4,317.0)             ($130,225,666.38)
Celsius Network Limited               KENETIC TRADING LTD                                                                                6/9/2022        Incoming             Lending Activity            BNB_BSC                                 1,000.0                  $290,148.04
Celsius Network Limited               FTX                                                                                                6/9/2022        Outgoing             Exchange Activity           SOL                                (200,000.0)                ($8,059,730.58)
Celsius Network Limited               KENETIC TRADING LTD                                                                                6/9/2022        Incoming             Lending Activity            BNB_BSC                                 1,000.0                  $290,444.07
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                               6/9/2022        Incoming             Lending Activity            ADA                                 739,131.43                   $472,180.59
Celsius Network Limited               FTX                                                                                                6/9/2022        Outgoing             Exchange Activity           BNB_BSC                   (7,499.999873916)                   ($2,173,562.44)
Celsius Network Limited               MEMETIC CAPITAL LP                                                                                 6/9/2022        Incoming             Lending Activity            USDC                              27,616.4384                     $27,616.44
Celsius Network Limited               FTX                                                                                                6/9/2022        Incoming             Exchange Activity           USDC                              10,000,000.0                $10,000,000.00
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                               6/9/2022        Incoming             Lending Activity            BTC                                      352.93               $10,640,312.99
Celsius Network Limited               FTX                                                                                                6/9/2022        Outgoing             Exchange Activity           DOT                    (352,229.655308897)                    ($3,243,855.26)
Celsius Network Limited               FTX                                                                                                6/9/2022        Outgoing             Exchange Activity           BTC                           (999.99999042)                 ($30,148,508.17)
Celsius Network Limited               KENETIC TRADING LTD                                                                                6/9/2022        Outgoing             Lending Activity            BTC                                       (4.15)                ($125,776.97)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                               6/9/2022        Outgoing             Lending Activity            SOL_SRM_R62M                             (10.06)                     ($10.36)
Celsius Network Limited               BITFINEX                                                                                           6/9/2022        Incoming             Lending Activity            USDT_ERC20                      100,000,000.0                 $99,940,219.11
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                               6/9/2022        Outgoing             Lending Activity            SOL_SRM_R62M                     (5,944,890.0)                ($6,123,236.70)
Celsius Network Limited               FTX                                                                                                6/9/2022        Incoming             Exchange Activity           FTT                                2,750,000.0                $78,485,000.00
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                               6/9/2022        Outgoing             Lending Activity            FTT                                         (1.0)                    ($28.54)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                               6/9/2022        Outgoing             Lending Activity            FTT                            (2,573,963.31)                ($73,460,912.87)
Celsius Network Limited               FTX                                                                                                6/9/2022        Outgoing             Exchange Activity           LINK                             (1,000,000.0)                ($9,488,596.27)
Celsius Network Limited               FTX                                                                                                6/9/2022        Outgoing             Exchange Activity           BTC                           (120.99998695)                  ($3,663,585.90)
Celsius Network Limited               BITFINEX                                                                                           6/9/2022        Incoming             Exchange Activity           ETC                                  25,009.99                   $533,890.16
Celsius Network Limited               TRUST TOKEN                                                                                        6/9/2022        Incoming             Coin Minting / Redemption   TAUD                                        10.0                       $7.10
Celsius Network Limited               TRUST TOKEN                                                                                        6/9/2022        Incoming             Coin Minting / Redemption   TCAD                                        11.0                       $8.66
Celsius Network Limited               TRUST TOKEN                                                                                        6/9/2022        Incoming             Coin Minting / Redemption   TGBP                                        12.0                      $15.00
Celsius Network Limited               TRUST TOKEN                                                                                        6/9/2022        Incoming             Coin Minting / Redemption   TAUD                               5,209,990.0                 $3,699,091.92
Celsius Network Limited               TRUST TOKEN                                                                                        6/9/2022        Incoming             Coin Minting / Redemption   TCAD                               1,434,989.0                 $1,129,867.61
Celsius Network Limited               TRUST TOKEN                                                                                        6/9/2022        Incoming             Coin Minting / Redemption   TGBP                               7,689,988.0                 $9,609,662.95
Celsius Network Limited               COINFLEX                                                                                           6/9/2022        Incoming             Lending Activity            BCH                                  17,278.72                 $3,010,096.45
Celsius Network Limited               COINFLEX                                                                                           6/9/2022        Outgoing             Lending Activity            BTC                                      (100.0)              ($3,003,154.63)
Celsius Network Limited               VEXIL CAPITAL                                                                                      6/10/2022       Incoming             Lending Activity            BNB_BSC                     1,688.519873916                      $487,381.99
Celsius Network Limited               VEXIL CAPITAL                                                                                      6/10/2022       Outgoing             Lending Activity            BTC                                      (15.58)                ($466,233.50)
Celsius Network Limited               FTX                                                                                                6/10/2022       Incoming             Exchange Activity           BTC                             500.00098695                  $14,984,326.57
Celsius Network Limited               FTX                                                                                                6/10/2022       Outgoing             Exchange Activity           ETH                                  (42,000.0)              ($72,510,029.36)
Celsius Network Limited               BITFINEX                                                                                           6/10/2022       Incoming             Exchange Activity           USDT_ERC20                 9,939,804.366817                    $9,932,770.25
Celsius Network Limited               BITFINEX                                                                                           6/10/2022       Incoming             Exchange Activity           ETH                          5,973.33904724                   $10,312,547.37
Celsius Network Limited               FTX                                                                                                6/10/2022       Outgoing             Exchange Activity           USDT_ERC20               (9,939,804.366817)                   ($9,933,472.66)
Celsius Network Limited               TDX SG PTE LTD                                                                                     6/10/2022       Outgoing             Lending Activity            USDC                             (1,000,000.0)                ($1,000,000.00)
Celsius Network Limited               TDX SG PTE LTD                                                                                     6/10/2022       Incoming             Lending Activity            BTC                                         0.01                     $294.63
Celsius Network Limited               TDX SG PTE LTD                                                                                     6/10/2022       Incoming             Lending Activity            BTC                                        32.86                 $968,168.61
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                         6/10/2022       Incoming             Lending Activity            BNB_BSC                                 5,000.0                $1,482,387.18
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                         6/10/2022       Incoming             Lending Activity            ADA                                6,500,000.0                 $3,843,947.38
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                         6/10/2022       Incoming             Lending Activity            ETC                                    25,000.0                  $514,006.13
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                         6/10/2022       Incoming             Lending Activity            BSV                                     3,000.0                  $176,115.69
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                         6/10/2022       Outgoing             OTC Transaction             ETH                                   (3,666.0)               ($6,384,092.00)
Celsius Network Limited               WINTERMUTE                                                                                         6/10/2022       Outgoing             OTC Transaction             BETH_BSC                                  (0.01)                     ($16.74)
Celsius Network Limited               NASCENT LP                                                                                         6/10/2022       Incoming             Lending Activity            AAVE                                    7,000.0                  $623,369.56
Celsius Network Limited               WINTERMUTE                                                                                         6/10/2022       Outgoing             OTC Transaction             BETH_BSC                              (8,847.0)              ($14,808,199.43)
Celsius Network Limited               WINTERMUTE                                                                                         6/10/2022       Outgoing             OTC Transaction             BETH_BSC                              (9,399.0)              ($15,732,142.69)
Celsius Network Limited               WINTERMUTE                                                                                         6/10/2022       Outgoing             OTC Transaction             BETH_BSC                   (9,290.22912539)                  ($15,507,848.72)
Celsius Network Limited               NASCENT LP                                                                                         6/10/2022       Outgoing             Lending Activity            WBTC                                     (27.42)                ($807,491.45)
Celsius Network Limited               CIRCLE / PAXOS                                                                                     6/10/2022       Incoming             Coin Minting / Redemption   USDC                              10,000,000.0                $10,000,000.00
Celsius Network Limited               FTX                                                                                                6/10/2022       Outgoing             Exchange Activity           DOGE                  (25,983,621.9030769)                    ($1,999,829.11)
Celsius Network Limited               WINTERMUTE                                                                                         6/10/2022       Incoming             OTC Transaction             ETH                                           0.1                    $172.91
Celsius Network Limited               BITFINEX                                                                                           6/10/2022       Outgoing             Exchange Activity           ADA                                (658,000.0)                  ($386,684.93)
Celsius Network Limited               BITFINEX                                                                                           6/10/2022       Outgoing             Exchange Activity           BTC                                  (2,807.75)              ($82,204,098.51)
Celsius Network Limited               FTX                                                                                                6/10/2022       Incoming             Exchange Activity           TUSD                               2,000,000.0                 $2,002,000.00
Celsius Network Limited               WINTERMUTE                                                                                         6/10/2022       Incoming             OTC Transaction             ETH                                    20,000.0               $34,349,687.49
Celsius Network Limited               NASCENT LP                                                                                         6/10/2022       Incoming             Lending Activity            LINK                                 20,014.93                   $168,367.43
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                  6/10/2022       Outgoing             Lending Activity            BTC                                      (28.53)                ($830,232.67)
Celsius Network Limited               NASCENT LP                                                                                         6/10/2022       Outgoing             Lending Activity            WBTC                                     (12.47)                ($363,139.29)
Celsius Network Limited               FTX                                                                                                6/10/2022       Incoming             Exchange Activity           BTC                                        500.0              $14,560,516.74
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                         6/10/2022       Incoming             Lending Activity            BNB_BSC                                 1,000.0                  $284,116.56
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                         6/10/2022       Incoming             Lending Activity            ADA                                5,500,000.0                 $3,189,451.81
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                         6/10/2022       Incoming             Lending Activity            EOS                                  100,000.0                   $118,453.15
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                         6/10/2022       Outgoing             Lending Activity            ETH                                      (788.0)              ($1,322,989.82)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                         6/10/2022       Outgoing             Lending Activity            BTC                                      (76.37)              ($2,217,763.94)
Celsius Network Limited               FTX                                                                                                6/10/2022       Outgoing             Exchange Activity           USDT_ERC20              (15,497,327.789884)                  ($15,484,805.02)
Celsius Network Limited               FTX                                                                                                6/10/2022       Outgoing             Exchange Activity           WBTC                          (536.10681926)                 ($15,600,103.78)
Celsius Network Limited               GSR MARKETS LIMITED                                                                                6/10/2022       Incoming             Lending Activity            XRP                               24,000,000.0                 $9,202,684.35
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                               6/10/2022       Incoming             Lending Activity            BTC                                           0.1                  $2,909.89
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                               6/10/2022       Incoming             Lending Activity            BTC                                     1,999.9               $58,020,302.68
Celsius Network Limited               FTX                                                                                                6/10/2022       Incoming             Exchange Activity           FTT                     1,655,717.78507703                    $45,499,124.73
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                               6/10/2022       Outgoing             Lending Activity            SOL_SRM_R62M                   (30,000,000.0)                ($28,320,720.00)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                               6/10/2022       Outgoing             Lending Activity            FTT                            (1,742,638.84)                ($47,887,715.32)
Celsius Network Limited               GSR MARKETS LIMITED                                                                                6/10/2022       Outgoing             Lending Activity            BTC                                    (108.78)               ($3,155,882.06)
Celsius Network Limited               FTX                                                                                                6/10/2022       Outgoing             Exchange Activity           XRP                     (24,002,574.216325)                   ($9,173,320.84)
Celsius Network Limited               BITFINEX                                                                                           6/10/2022       Outgoing             Exchange Activity           MATIC                  (279,449.744467779)                      ($168,812.24)
Celsius Network Limited               FTX                                                                                                6/10/2022       Incoming             Exchange Activity           BTC                                        500.0              $14,588,241.42
Celsius Network Limited               FTX                                                                                                6/11/2022       Incoming             Exchange Activity           BTC                                        480.0              $13,960,226.27
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                 6/11/2022       Incoming             Lending Activity            BTC                                        500.0              $14,364,925.44
Celsius Network Limited               BITFINEX                                                                                           6/11/2022       Incoming             Exchange Activity           USDC                          3,995,762.9447                   $3,995,762.94
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                         6/11/2022       Incoming             Lending Activity            BTC                                    3,055.77               $87,416,033.89
Celsius Network Limited               FTX                                                                                                6/11/2022       Incoming             Exchange Activity           USDC                              12,000,000.0                $12,000,000.00
Celsius Network Limited               FTX                                                                                                6/11/2022       Outgoing             Exchange Activity           BTC                        (3,041.73006805)                  ($86,610,448.66)
Celsius Network Limited               B2C2 LTD                                                                                           6/11/2022       Incoming             Lending Activity            ETH                                    1,459.98                $2,244,757.67
Celsius Network Limited               FTX                                                                                                6/11/2022       Incoming             Exchange Activity           USDC                              20,000,000.0                $20,000,000.00
Celsius Network Limited               FTX                                                                                                6/11/2022       Incoming             Exchange Activity           ETH                                    30,000.0               $46,125,789.52
Celsius Network Limited               FTX                                                                                                6/11/2022       Incoming             Exchange Activity           BUSD                               2,000,000.0                 $1,997,642.00
Celsius Network Limited               BITFINEX                                                                                           6/11/2022       Incoming             Exchange Activity           XLM                                  303,000.0                    $37,691.38
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                         6/11/2022       Outgoing             Lending Activity            ETH                                (21,186.44)               ($32,202,475.42)
Celsius Network Limited               FTX                                                                                                6/11/2022       Outgoing             Exchange Activity           AAVE                                 (15,819.0)               ($1,209,023.04)
Celsius Network Limited               FTX                                                                                                6/11/2022       Outgoing             Exchange Activity           ETH                                (12,198.94)               ($18,423,677.91)
Celsius Network Limited               FTX                                                                                                6/11/2022       Outgoing             Exchange Activity           SOL                                  (5,160.95)                 ($173,271.48)
Celsius Network Limited               FTX                                                                                                6/11/2022       Outgoing             Exchange Activity           AVAX                                 (7,408.97)                 ($147,137.09)
Celsius Network Limited               FTX                                                                                                6/11/2022       Outgoing             Exchange Activity           USDT_ERC20               (2,424,444.849106)                   ($2,422,170.75)
Celsius Network Limited               BITFINEX                                                                                           6/11/2022       Incoming             Exchange Activity           ETH                              2,865.033466                  $4,392,395.44
Celsius Network Limited               BITFINEX                                                                                           6/11/2022       Incoming             Exchange Activity           USDT_ERC20                14,379,959.236807                   $14,366,853.75
Celsius Network Limited               BITFINEX                                                                                           6/11/2022       Incoming             Exchange Activity           BTC                              72.40231195                   $2,056,156.39
Celsius Network Limited               FTX                                                                                                6/11/2022       Outgoing             Exchange Activity           BNB_BSC                                     (1.0)                   ($271.18)
Celsius Network Limited               FTX                                                                                                6/11/2022       Outgoing             Exchange Activity           SOL                                   (7,070.0)                 ($240,143.26)
Celsius Network Limited               FTX                                                                                                6/11/2022       Outgoing             Exchange Activity           BNB_BSC                   (5,678.999873916)                   ($1,540,026.23)
Celsius Network Limited               FTX                                                                                                6/11/2022       Outgoing             Exchange Activity           USDT_ERC20              (14,379,959.236807)                  ($14,366,853.75)
Celsius Network Limited               FTX                                                                                                6/11/2022       Outgoing             Exchange Activity           ETH                                   (2,865.0)               ($4,392,344.13)
Celsius Network Limited               FTX                                                                                                6/11/2022       Outgoing             Exchange Activity           AAVE                                 (50,110.0)               ($3,945,756.42)
Celsius Network Limited               BITFINEX                                                                                           6/11/2022       Incoming             Exchange Activity           BTC                                4.24378257                    $120,927.10
Celsius Network Limited               GALAXY DIGITAL                                                                                     6/11/2022       Incoming             Lending Activity            USDC                              35,000,000.0                $35,000,000.00
Celsius Network Limited               GALAXY DIGITAL                                                                                     6/11/2022       Incoming             Lending Activity            USDC                              40,000,000.0                $40,000,000.00
Celsius Network Limited               BITFINEX                                                                                           6/11/2022       Outgoing             Exchange Activity           ZRX                                       (50.0)                     ($16.70)
Celsius Network Limited               GALAXY DIGITAL                                                                                     6/11/2022       Incoming             Lending Activity            USDC                              25,000,000.0                $25,000,000.00
Celsius Network Limited               BITFINEX                                                                                           6/11/2022       Outgoing             Exchange Activity           EOS                                       (50.0)                     ($56.27)
Celsius Network Limited               BITFINEX                                                                                           6/11/2022       Outgoing             Exchange Activity           ZRX                              (1,749,948.0)                  ($586,825.16)
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                             Doc 15          Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                    SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                              Main Document                             Case Number: 22-10966



          CELSIUS ENTITY                                                            COUNTERPARTY
                                                                                                               Pg 41 of 77           Non-Retail Coin Transactions
                                                                                                                                                      DATE          TYPE                          TRANSACTION TYPE              COIN   COIN QUANTITY                        COIN USD
Celsius Network Limited               FTX                                                                                                           6/11/2022       Outgoing             Exchange Activity           USDC                           (35,000,000.0)                ($35,000,000.00)
Celsius Network Limited               BITFINEX                                                                                                      6/11/2022       Outgoing             Exchange Activity           EOS                           (805,981.2391)                    ($906,775.54)
Celsius Network Limited               FTX                                                                                                           6/11/2022       Incoming             Exchange Activity           DOT                                   50,000.0                   $411,712.98
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                 6/11/2022       Outgoing             Lending Activity            ETH                                 (2,545.25)                ($3,952,164.35)
Celsius Network Limited               FTX                                                                                                           6/11/2022       Incoming             Exchange Activity           CEL                               1,200,000.0                    $354,275.79
Celsius Network Limited               BITFINEX                                                                                                      6/11/2022       Outgoing             Exchange Activity           ETC                                        (5.0)                     ($92.22)
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/11/2022       Outgoing             Lending Activity            BTC                                     (11.88)                 ($340,583.60)
Celsius Network Limited               OPTIMAL ALPHA FUND                                                                                            6/11/2022       Incoming             Lending Activity            WBTC                                        0.01                     $286.69
Celsius Network Limited               OPTIMAL ALPHA FUND                                                                                            6/11/2022       Incoming             Lending Activity            WBTC                                      15.49                  $443,174.57
Celsius Network Limited               OPTIMAL ALPHA FUND                                                                                            6/11/2022       Outgoing             Lending Activity            BTC                                        (0.5)                 ($14,305.18)
Celsius Network Limited               OPTIMAL ALPHA FUND                                                                                            6/11/2022       Outgoing             Lending Activity            BTC                                       (15.0)                ($429,155.50)
Celsius Network Limited               BITFINEX                                                                                                      6/11/2022       Incoming             Exchange Activity           USDT_ERC20                    1,960,032.2119                   $1,958,352.69
Celsius Network Limited               FTX                                                                                                           6/11/2022       Incoming             Exchange Activity           BUSD                              1,000,000.0                  $1,005,000.00
Celsius Network Limited               FTX                                                                                                           6/11/2022       Incoming             Exchange Activity           LTC                          3,225.45369356                      $170,544.23
Celsius Network Limited               FTX                                                                                                           6/11/2022       Incoming             Exchange Activity           XRP                               1,000,000.0                    $365,356.17
Celsius Network Limited               FTX                                                                                                           6/11/2022       Incoming             Exchange Activity           BTC                                     1,500.0               $42,890,889.90
Celsius Network Limited               FTX                                                                                                           6/11/2022       Incoming             Exchange Activity           MATIC                             5,000,000.0                  $2,755,585.00
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           AAVE                                  5,237.11                   $404,242.84
Celsius Network Limited               BITFINEX                                                                                                      6/12/2022       Outgoing             Exchange Activity           ADA                                       (25.0)                     ($13.93)
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           DOGE                    4,888,175.79839675                       $338,752.60
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           DOT                                  150,000.0                 $1,171,348.29
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           BNB_BSC                                 1,200.0                  $308,304.59
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           BNB_BSC                                 1,300.0                  $333,996.64
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           XRP                              10,721,187.0                  $3,679,846.63
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           DOT                          50,016.2539089                      $384,453.31
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           BTC                                     1,010.0               $27,862,855.27
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           XRP                      33,002,574.216325                    $11,399,806.23
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/12/2022       Incoming             Lending Activity            DOGE                             1,923,076.92                    $126,653.10
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/12/2022       Incoming             Lending Activity            XLM                               6,000,000.0                    $729,069.31
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/12/2022       Incoming             Lending Activity            MANA                                 400,000.0                   $317,492.99
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/12/2022       Outgoing             Lending Activity            BTC                                       (5.61)                ($154,685.83)
Celsius Network Limited               MATRIXPORT                                                                                                    6/12/2022       Incoming             Lending Activity            DOGE                                    5,000.0                      $331.04
Celsius Network Limited               MATRIXPORT                                                                                                    6/12/2022       Incoming             Lending Activity            DOGE                              3,995,000.0                    $264,498.27
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/12/2022       Outgoing             Lending Activity            BTC                                     (10.98)                 ($302,754.09)
Celsius Network Limited               MATRIXPORT                                                                                                    6/12/2022       Outgoing             Lending Activity            DOGE                  (4,999,998.96704553)                      ($331,237.52)
Celsius Network Limited               MATRIXPORT                                                                                                    6/12/2022       Outgoing             Lending Activity            BTC                                       (4.99)                ($137,149.83)
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           BUSD                                 200,000.0                   $200,200.00
Celsius Network Limited               DUNAMIS TRADING (BAHAMAS) LTD                                                                                 6/12/2022       Incoming             Lending Activity            BTC                                       100.0                $2,748,493.64
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                    6/12/2022       Incoming             Lending Activity            BTC                                     1,650.0               $45,350,145.04
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           BNB_BSC                                   500.0                  $128,280.40
Celsius Network Limited               FTX                                                                                                           6/12/2022       Outgoing             Exchange Activity           BTC                        (1,649.99997867)                  ($45,413,450.50)
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           ETH                                   12,000.0                $17,575,262.90
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                    6/12/2022       Outgoing             Lending Activity            ETH                                 (7,073.71)               ($10,360,192.74)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          6/12/2022       Incoming             Lending Activity            USDC                             39,800,000.0                 $39,800,000.00
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          6/12/2022       Incoming             Lending Activity            ETH                                   6,656.71                 $9,698,545.36
Celsius Network Limited               BITFINEX                                                                                                      6/12/2022       Incoming             Exchange Activity           USDT_ERC20                  19,999,998.2119                   $19,981,638.76
Celsius Network Limited               FTX                                                                                                           6/12/2022       Outgoing             Exchange Activity           USDC                     (2,000,000.409351)                   ($2,000,000.41)
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           BUSD                                 649,999.0                   $651,299.00
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           TUSD                                 449,999.0                   $450,899.00
Celsius Network Limited               BITFINEX                                                                                                      6/12/2022       Incoming             Exchange Activity           USDT_ERC20                  19,000,001.2119                   $18,982,677.68
Celsius Network Limited               FTX                                                                                                           6/12/2022       Outgoing             Exchange Activity           USDT_ERC20                (19,000,001.2119)                  ($18,981,197.90)
Celsius Network Limited               DV CHAIN                                                                                                      6/12/2022       Incoming             Lending Activity            ETH                                     1,000.0                $1,464,688.63
Celsius Network Limited               BITFINEX                                                                                                      6/12/2022       Incoming             Exchange Activity           MATIC                         4,999,996.6179                   $2,572,973.26
Celsius Network Limited               DV CHAIN                                                                                                      6/12/2022       Incoming             Lending Activity            BTC                                       46.81                $1,283,065.96
Celsius Network Limited               BITFINEX                                                                                                      6/12/2022       Incoming             Exchange Activity           MATIC                         9,999,996.6179                   $5,145,948.26
Celsius Network Limited               FTX                                                                                                           6/12/2022       Outgoing             Exchange Activity           MATIC                           (5,004,000.0)                 ($2,551,679.71)
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           USDC                              9,999,999.0                  $9,999,999.00
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           LTC                          5,020.13756445                      $250,466.77
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           BTC                                       300.0                $8,220,861.15
Celsius Network Limited               PROFLUENT TRADING INC                                                                                         6/12/2022       Incoming             Lending Activity            BTC                                  173.1901                  $4,820,848.31
Celsius Network Limited               FTX                                                                                                           6/12/2022       Outgoing             Exchange Activity           MATIC_POLYGON          (92,937.5739689654)                       ($49,615.05)
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           MATIC                      92,932.57396897                        $49,377.86
Celsius Network Limited               BITFINEX                                                                                                      6/12/2022       Incoming             Exchange Activity           LINK                         23,602.9573643                      $164,528.16
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           BUSD                                 249,999.0                   $251,998.99
Celsius Network Limited               FASANARA CAPITAL                                                                                              6/12/2022       Incoming             Lending Activity            FTT                                  150,000.0                 $4,345,500.00
Celsius Network Limited               PROFLUENT TRADING INC                                                                                         6/12/2022       Incoming             Lending Activity            FTT                                   54,000.0                 $1,567,620.00
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           LTC                          3,443.43051585                      $176,927.52
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           BNB_BSC                                 1,000.0                  $264,834.84
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           SOL                                   25,000.0                   $840,999.42
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            6/12/2022       Incoming             Lending Activity            BTC                                     2,250.0               $62,719,575.08
Celsius Network Limited               FTX                                                                                                           6/12/2022       Outgoing             Exchange Activity           BTC                                    (602.68)              ($16,944,930.57)
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           LTC                          1,271.05448535                       $65,073.16
Celsius Network Limited               0xa7f09e7be9e7b777126003dab2fa4161f5325343                                                                    6/12/2022       Incoming             Blockchain Transaction      APE‐PEG                           1,500,000.0                  Undetermined
Celsius Network Limited               FASANARA CAPITAL                                                                                              6/12/2022       Incoming             Lending Activity            FTT                                   41,289.2                 $1,187,890.28
Celsius Network Limited               FTX                                                                                                           6/12/2022       Outgoing             Exchange Activity           ETH                                     (999.0)               ($1,476,121.80)
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           USDC                             39,999,997.5                 $39,999,997.50
Celsius Network Limited               FTX                                                                                                           6/12/2022       Outgoing             Exchange Activity           ETH                                   (3,750.0)               ($5,540,997.73)
Celsius Network Limited               FTX                                                                                                           6/12/2022       Outgoing             Exchange Activity           BTC                        (1,647.31991072)                  ($44,939,187.36)
Celsius Network Limited               FTX                                                                                                           6/12/2022       Outgoing             Exchange Activity           WBTC                                  (3,500.0)              ($95,480,636.64)
Celsius Network Limited               FTX                                                                                                           6/12/2022       Incoming             Exchange Activity           USDC                             99,999,999.0                 $99,999,999.00
Celsius Network Limited               FTX                                                                                                           6/12/2022       Outgoing             Exchange Activity           WBTC                                  (1,250.0)              ($33,815,198.21)
Celsius Network Limited               FTX                                                                                                           6/12/2022       Outgoing             Exchange Activity           WBTC                                  (1,250.0)              ($33,815,198.21)
Celsius Network Limited               FTX                                                                                                           6/12/2022       Outgoing             Exchange Activity           ETH                                 (10,000.0)               ($14,614,522.47)
Celsius Network Limited               FTX                                                                                                           6/12/2022       Outgoing             Exchange Activity           ETH                                 (10,000.0)               ($14,590,931.34)
Celsius Network Limited               BITFINEX                                                                                                      6/13/2022       Outgoing             Exchange Activity           BTC                                 (3,041.73)               ($81,404,752.46)
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           ETH                                 (10,000.0)               ($14,066,395.09)
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           ETH                                 (10,000.0)               ($14,066,395.09)
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           ETH                           (9,999.997375)                 ($14,066,395.09)
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           WBTC                                  (3,500.0)              ($91,079,104.47)
Celsius Network Limited               FTX                                                                                                           6/13/2022       Incoming             Exchange Activity           USDC                             49,999,995.0                 $49,999,995.00
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           PAX                   (1,939,067.20524807)                    ($1,936,640.96)
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           WBTC                                      (15.5)                ($403,350.32)
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           FTT                                 (41,289.2)                ($1,099,118.50)
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           FTT                     (242,054.83947703)                    ($6,443,499.83)
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           TUSD                    (299,837.88629822)                      ($299,163.55)
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           FTT                                 (54,000.0)                ($1,437,480.00)
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           MATIC                 (2,466,812.66438056)                    ($1,169,789.70)
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           UNI                    (259,470.080775713)                    ($1,010,268.15)
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           KNC                    (602,614.054799833)                      ($807,428.34)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/13/2022       Incoming             Lending Activity            FTT                                   40,000.0                 $1,058,000.00
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           FTT                                 (38,000.0)                ($1,003,960.00)
Celsius Network Limited               PROFLUENT TRADING INC                                                                                         6/13/2022       Incoming             Lending Activity            FTT                                   8,908.91                   $235,373.40
Celsius Network Limited               FTX                                                                                                           6/13/2022       Incoming             Exchange Activity           FTT                                  591,999.9                $15,640,637.36
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          6/13/2022       Outgoing             Lending Activity            FTT                                (600,000.0)               ($15,852,000.00)
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/13/2022       Incoming             Lending Activity            SOL                                          0.2                       $5.73
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                 6/13/2022       Outgoing             Lending Activity            ETH                                   (1,500.0)               ($2,016,973.83)
Celsius Network Limited               SYMBOLIC CAPITAL PARTNERS LTD                                                                                 6/13/2022       Outgoing             Lending Activity            ETH                                     (500.0)                 ($690,151.72)
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                    6/13/2022       Incoming             Lending Activity            BTC                                       400.0                $9,455,622.32
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                    6/13/2022       Outgoing             Lending Activity            ETH                                 (1,954.29)                ($2,337,706.13)
Celsius Network Limited               GSR MARKETS LIMITED                                                                                           6/13/2022       Incoming             Lending Activity            XRP                              15,800,000.0                  $4,862,567.72
Celsius Network Limited               TETHER                                                                                                        6/13/2022       Outgoing             Lending Activity            EURT_ERC20               (5,000,572.970037)                   ($5,282,138.84)
Celsius Network Limited               FTX                                                                                                           6/13/2022       Incoming             Exchange Activity           WBTC                                    2,000.0               $47,670,320.21
Celsius Network Limited               GSR MARKETS LIMITED                                                                                           6/13/2022       Outgoing             Lending Activity            BTC                                     (71.92)               ($1,690,170.10)
Celsius Network Limited               GSR MARKETS LIMITED                                                                                           6/13/2022       Incoming             Lending Activity            XRP                               6,000,000.0                  $1,888,015.92
Celsius Network Limited               GSR MARKETS LIMITED                                                                                           6/13/2022       Outgoing             Lending Activity            BTC                                     (24.22)                 ($566,280.48)
Celsius Network Limited               DERIBIT                                                                                                       6/13/2022       Incoming             Exchange Activity           BTC                                       200.0                $4,584,034.20
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/13/2022       Incoming             Lending Activity            FTT                                   20,000.0                   $485,800.00
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/13/2022       Incoming             Lending Activity            FTT                                     8,000.0                  $198,240.00
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/13/2022       Incoming             Lending Activity            FTT                                     8,000.0                  $198,240.00
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            6/13/2022       Incoming             Lending Activity            USDT_ERC20                       10,000,000.0                  $9,986,414.24
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/13/2022       Incoming             Lending Activity            FTT                                     9,000.0                  $223,020.00
Celsius Network Limited               HUDSON RIVER                                                                                                  6/13/2022       Incoming             Lending Activity            BTC                                          1.0                  $23,093.22
Celsius Network Limited               HUDSON RIVER                                                                                                  6/13/2022       Incoming             Lending Activity            BTC                                      0.9998                   $23,883.14
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           USDT_ERC20                     (10,000,000.0)                 ($9,988,248.14)
Celsius Network Limited               DERIBIT                                                                                                       6/13/2022       Incoming             Exchange Activity           BTC                                       187.5                $4,478,984.32
Celsius Network Limited               HUDSON RIVER                                                                                                  6/13/2022       Incoming             Lending Activity            BTC                                  945.6478                 $22,433,119.79
Celsius Network Limited               WINTERMUTE                                                                                                    6/13/2022       Incoming             Lending Activity            BTC                                      361.58                $8,445,693.86
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/13/2022       Outgoing             Lending Activity            BTC                                     (29.56)                 ($694,771.42)
Celsius Network Limited               HUDSON RIVER                                                                                                  6/13/2022       Incoming             Lending Activity            BTC                                  328.2724                  $7,715,638.73
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           BTC                        (2,038.77347324)                  ($48,351,796.59)
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           MATIC_POLYGON          (809,915.156149197)                      ($356,478.09)
Celsius Network Limited               FTX                                                                                                           6/13/2022       Incoming             Exchange Activity           MATIC                                576,900.0                   $253,468.51
Celsius Network Limited               FTX                                                                                                           6/13/2022       Incoming             Exchange Activity           MATIC                                        7.5                       $3.30
Celsius Network Limited               FTX                                                                                                           6/13/2022       Incoming             Exchange Activity           MANA                                         7.5                       $6.25
Celsius Network Limited               AUROS TECH LIMITED                                                                                            6/13/2022       Incoming             Lending Activity            BNB_BSC                                51.3836                    $11,648.59
Celsius Network Limited               FTX                                                                                                           6/13/2022       Incoming             Exchange Activity           MANA                          229,191.43573                      $190,918.87
Celsius Network Limited               FTX                                                                                                           6/13/2022       Incoming             Exchange Activity           MATIC                                499,995.0                   $219,238.31
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            6/13/2022       Outgoing             OTC Transaction             ETH                                     (440.0)                 ($539,825.39)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    6/13/2022       Incoming             Lending Activity            BTC                                         3.65                  $86,078.23
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            6/13/2022       Incoming             Lending Activity            LINK                                  10,000.0                    $62,050.44
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            6/13/2022       Incoming             OTC Transaction             XLM                                          5.0                       $0.57
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            6/13/2022       Incoming             Lending Activity            MANA                                 102,000.0                    $88,423.82
Celsius Network Limited               MENAI MARKETS UK                                                                                              6/13/2022       Outgoing             Lending Activity            XRP                                     (23.59)                       ($7.59)
Celsius Network Limited               MENAI MARKETS UK                                                                                              6/13/2022       Outgoing             Lending Activity            XRP                                (572,200.0)                  ($184,218.82)
Celsius Network Limited               MENAI MARKETS UK                                                                                              6/13/2022       Outgoing             Lending Activity            XRP                              (572,223.59)                   ($184,226.42)
Celsius Network Limited               GSR MARKETS LIMITED                                                                                           6/13/2022       Incoming             Lending Activity            XRP                              20,000,000.0                  $6,410,622.70
Celsius Network Limited               MENAI MARKETS UK                                                                                              6/13/2022       Outgoing             Lending Activity            XRP                              (572,223.59)                   ($183,415.48)
Celsius Network Limited               GSR MARKETS LIMITED                                                                                           6/13/2022       Outgoing             Lending Activity            BTC                                     (92.33)               ($2,148,788.39)
Celsius Network Limited               MENAI MARKETS UK                                                                                              6/13/2022       Outgoing             Lending Activity            XRP                              (572,223.59)                   ($183,415.48)
Celsius Network Limited               MENAI MARKETS UK                                                                                              6/13/2022       Outgoing             Lending Activity            XRP                              (572,223.59)                   ($183,415.48)
Celsius Network Limited               MENAI MARKETS UK                                                                                              6/13/2022       Outgoing             Lending Activity            XRP                              (572,223.59)                   ($183,415.48)
Celsius Network Limited               MENAI MARKETS UK                                                                                              6/13/2022       Outgoing             Lending Activity            XRP                              (572,223.59)                   ($183,415.48)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            6/13/2022       Incoming             Lending Activity            USDT_ERC20                       20,000,000.0                 $19,973,988.45
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           USDT_ERC20                     (20,000,000.0)                ($19,974,638.66)
Celsius Network Limited               FTX                                                                                                           6/13/2022       Incoming             Exchange Activity           USDC                             19,999,997.5                 $19,999,997.50
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            6/13/2022       Incoming             OTC Transaction             XLM                               1,999,995.0                    $219,435.62
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            6/13/2022       Outgoing             Lending Activity            USDC                           (20,000,000.0)                ($20,000,000.00)
Celsius Network Limited               WINTERMUTE                                                                                                    6/13/2022       Outgoing             OTC Transaction             BBTC                                    (0.001)                      ($22.93)
Celsius Network Limited               WINTERMUTE                                                                                                    6/13/2022       Outgoing             OTC Transaction             BBTC                         (802.81524895)                  ($18,233,539.93)
Celsius Network Limited               FTX                                                                                                           6/13/2022       Outgoing             Exchange Activity           MATIC                 (25,170,690.9054832)                   ($10,626,436.43)
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                         Doc 15          Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                           Main Document                                  Case Number: 22-10966



          CELSIUS ENTITY                                                        COUNTERPARTY
                                                                                                           Pg 42 of 77           Non-Retail Coin Transactions
                                                                                                                                                  DATE          TYPE                           TRANSACTION TYPE                COIN   COIN QUANTITY                           COIN USD
Celsius Network Limited               WINTERMUTE                                                                                                6/13/2022       Incoming             OTC Transaction              BTC                                   801.611026                   $17,853,684.53
Celsius Network Limited               FTX                                                                                                       6/14/2022       Outgoing             Exchange Activity            BTC                              (805.26096341)                   ($17,934,978.26)
Celsius Network Limited               FTX                                                                                                       6/14/2022       Incoming             Exchange Activity            WBTC                                  1,499.99995                  $33,521,336.54
Celsius Network Limited               FTX                                                                                                       6/14/2022       Incoming             Exchange Activity            WBTC                                      499.9999                 $10,694,218.95
Celsius Network Limited               FTX                                                                                                       6/14/2022       Outgoing             Exchange Activity            XRP                       (19,999,999.999985)                      ($6,024,044.96)
Celsius Network Limited               FTX                                                                                                       6/14/2022       Outgoing             Exchange Activity            XRP                         (13,226,434.87997)                     ($3,983,831.92)
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                         6/14/2022       Incoming             Lending Activity             FTT                                             0.01                        $0.23
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                         6/14/2022       Incoming             Lending Activity             FTT                                      10,152.27                    $228,933.69
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                         6/14/2022       Outgoing             Lending Activity             BTC                                             (9.6)                ($202,681.69)
Celsius Network Limited               DIGITAL ASSET FUNDS MANAGEMENT PTY LTD                                                                    6/14/2022       Incoming             Lending Activity             ETH                                          311.39                   $386,563.28
Celsius Network Limited               DIGITAL ASSET FUNDS MANAGEMENT PTY LTD                                                                    6/14/2022       Incoming             Lending Activity             BTC                                            63.62                $1,421,907.46
Celsius Network Limited               BITFINEX                                                                                                  6/14/2022       Incoming             Exchange Activity            USDT_ERC20                           2,882,899.67                   $2,879,491.28
Celsius Network Limited               DERIBIT                                                                                                   6/14/2022       Incoming             Exchange Activity            BTC                                            0.001                       $22.06
Celsius Network Limited               DERIBIT                                                                                                   6/14/2022       Incoming             Exchange Activity            BTC                                            200.0                $4,391,620.38
Celsius Network Limited               DERIBIT                                                                                                   6/14/2022       Incoming             Exchange Activity            ETH                                             0.01                       $11.70
Celsius Network Limited               TETHER                                                                                                    6/14/2022       Outgoing             Lending Activity             EURT_ERC20                          (1,958,886.0)                  ($2,052,588.71)
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                    6/14/2022       Incoming             Lending Activity             ADA                                    6,000,000.0                  $2,905,594.24
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                    6/14/2022       Incoming             Lending Activity             ADA                                   10,684.9315                       $5,174.35
Celsius Network Limited               BITFINEX                                                                                                  6/14/2022       Incoming             Exchange Activity            MATIC                     34,833,723.9545021                       $14,702,409.20
Celsius Network Limited               DERIBIT                                                                                                   6/14/2022       Incoming             Exchange Activity            BTC                                186.17170065                     $4,131,392.62
Celsius Network Limited               DERIBIT                                                                                                   6/14/2022       Incoming             Exchange Activity            ETH                                 5,677.352044                    $6,809,919.71
Celsius Network Limited               FTX                                                                                                       6/14/2022       Outgoing             Exchange Activity            BTC                                (472.9038128)                  ($10,494,354.37)
Celsius Network Limited               BITFINEX                                                                                                  6/14/2022       Incoming             Lending Activity             BTC                                  374.9998164                    $8,321,734.55
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                    6/14/2022       Incoming             Lending Activity             EOS                                 150,296.5068                      $139,306.94
Celsius Network Limited               FLOW TRADERS                                                                                              6/14/2022       Incoming             Lending Activity             USDT_ERC20                             3,000,000.0                  $2,996,287.27
Celsius Network Limited               FTX                                                                                                       6/14/2022       Outgoing             Exchange Activity            BTC                              (374.99977139)                    ($8,321,734.55)
Celsius Network Limited               BITFINEX                                                                                                  6/14/2022       Incoming             Exchange Activity            USDT_ERC20                       5,789,998.6843                     $5,783,515.35
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                     6/14/2022       Incoming             Lending Activity             BNB_BSC                                    11,900.0                 $2,649,027.53
Celsius Network Limited               FTX                                                                                                       6/14/2022       Incoming             Exchange Activity            USDT_ERC20                           15,000,000.0                  $14,984,524.55
Celsius Network Limited               MENAI MARKETS UK                                                                                          6/14/2022       Outgoing             Lending Activity             XRP                                  (785,977.79)                    ($246,859.29)
Celsius Network Limited               MENAI MARKETS UK                                                                                          6/14/2022       Outgoing             Lending Activity             XRP                                (1,571,955.58)                    ($493,718.59)
Celsius Network Limited               FTX                                                                                                       6/14/2022       Incoming             Exchange Activity            BTC                                             20.0                  $443,387.30
Celsius Network Limited               MENAI MARKETS UK                                                                                          6/14/2022       Outgoing             Lending Activity             XRP                                (1,571,955.58)                    ($493,718.59)
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                     6/14/2022       Outgoing             Lending Activity             BTC                                          (19.62)                 ($434,962.94)
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                    6/14/2022       Incoming             Lending Activity             LTC                                 100,089.0411                    $4,520,698.88
Celsius Network Limited               MATRIX PORT TECHNOLOGIES LIMITED                                                                          6/14/2022       Incoming             Lending Activity             LTC                                               1.0                      $45.61
Celsius Network Limited               FTX                                                                                                       6/14/2022       Outgoing             Exchange Activity            MATIC                              (6,599,862.78)                  ($2,842,118.71)
Celsius Network Limited               BITFINEX                                                                                                  6/14/2022       Outgoing             Exchange Activity            XLM                                             (1.0)                      ($0.11)
Celsius Network Limited               BITFINEX                                                                                                  6/14/2022       Outgoing             Exchange Activity            XLM                          (892,650.2349405)                       ($101,193.02)
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                    6/14/2022       Incoming             Lending Activity             ETC                                   30,089.0411                     $444,436.24
Celsius Network Limited               WINTERMUTE                                                                                                6/14/2022       Incoming             Lending Activity             USDT_ERC20                           15,000,000.0                  $14,984,926.51
Celsius Network Limited               FTX                                                                                                       6/14/2022       Incoming             Exchange Activity            UNI                                         1,469.5                     $5,472.06
Celsius Network Limited               BLOCKFILLS                                                                                                6/14/2022       Incoming             Lending Activity             BTC                                               3.0                  $67,536.43
Celsius Network Limited               FTX                                                                                                       6/14/2022       Incoming             Exchange Activity            BTC                                            100.0                $2,251,214.29
Celsius Network Limited               MATRIXPORT                                                                                                6/14/2022       Outgoing             Lending Activity             DOGE                               (5,018,842.25)                    ($283,778.46)
Celsius Network Limited               MATRIX PORT TECHNOLOGIES LIMITED                                                                          6/14/2022       Incoming             Lending Activity             LTC                                        24,999.0                 $1,132,047.10
Celsius Network Limited               MATRIXPORT                                                                                                6/14/2022       Outgoing             Lending Activity             BTC                                        (39.575)                  ($896,183.13)
Celsius Network Limited               FALCONX LIMITED                                                                                           6/14/2022       Incoming             Lending Activity             LTC                                   25,095.8904                   $1,136,434.65
Celsius Network Limited               MATRIXPORT                                                                                                6/14/2022       Outgoing             Lending Activity             BTC                                        (39.575)                  ($896,183.13)
Celsius Network Limited               MENAI MARKETS UK                                                                                          6/14/2022       Outgoing             Lending Activity             XRP                                 (1,593,879.5)                    ($506,529.01)
Celsius Network Limited               MENAI MARKETS UK                                                                                          6/14/2022       Outgoing             Lending Activity             XRP                                 (1,593,879.5)                    ($506,529.01)
Celsius Network Limited               MENAI MARKETS UK                                                                                          6/14/2022       Outgoing             Lending Activity             XRP                                 (1,593,879.5)                    ($506,529.01)
Celsius Network Limited               MENAI MARKETS UK                                                                                          6/14/2022       Outgoing             Lending Activity             XRP                                 (1,593,879.5)                    ($506,529.01)
Celsius Network Limited               MENAI MARKETS UK                                                                                          6/14/2022       Outgoing             Lending Activity             XRP                                 (1,593,879.5)                    ($506,529.01)
Celsius Network Limited               MENAI MARKETS UK                                                                                          6/14/2022       Outgoing             Lending Activity             XRP                                 (1,326,743.9)                    ($421,634.30)
Celsius Network Limited               FTX                                                                                                       6/14/2022       Incoming             Exchange Activity            USDT_ERC20                  14,999,999.008711                      $14,985,441.93
Celsius Network Limited               NASCENT LP                                                                                                6/14/2022       Incoming             Lending Activity             AAVE                                    8.3999916                         $504.23
Celsius Network Limited               NASCENT LP                                                                                                6/14/2022       Incoming             Lending Activity             CEL                                        1,383.25                       $837.03
Celsius Network Limited               NASCENT LP                                                                                                6/14/2022       Incoming             Lending Activity             LINK                                            93.5                      $605.13
Celsius Network Limited               NASCENT LP                                                                                                6/14/2022       Incoming             Lending Activity             SNX                                          490.96                       $896.48
Celsius Network Limited               NASCENT LP                                                                                                6/14/2022       Incoming             Lending Activity             SUSHI                                          942.1                      $922.96
Celsius Network Limited               NASCENT LP                                                                                                6/14/2022       Incoming             Lending Activity             UMA                                          100.17                       $323.96
Celsius Network Limited               FTX                                                                                                       6/14/2022       Outgoing             Exchange Activity            MATIC                   (28,233,861.1745021)                      ($11,429,151.71)
Celsius Network Limited               FTX                                                                                                       6/14/2022       Outgoing             Exchange Activity            BTC                                (84.81994327)                   ($1,837,759.76)
Celsius Network Limited               FTX                                                                                                       6/14/2022       Outgoing             Exchange Activity            DOGE                    (28,063,000.8108894)                       ($1,519,373.39)
Celsius Network Limited               FTX                                                                                                       6/14/2022       Outgoing             Exchange Activity            USDC                        (1,700,539.027925)                     ($1,700,539.03)
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                         6/14/2022       Incoming             Lending Activity             FTT                                        31.9032                        $738.88
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                         6/14/2022       Incoming             Lending Activity             BNB_BSC                                      2.6301                       $566.23
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                         6/14/2022       Incoming             Lending Activity             AAVE                                       63.6986                      $3,715.26
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                         6/14/2022       Incoming             Lending Activity             COMP                                       85.4534                      $2,867.75
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                         6/14/2022       Incoming             Lending Activity             LINK                                       27.7121                        $174.87
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                         6/14/2022       Incoming             Lending Activity             ZRX                                       764.3836                        $182.39
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                         6/14/2022       Incoming             Lending Activity             UNI                                       123.0527                        $447.47
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                         6/14/2022       Incoming             Lending Activity             MATIC                                 16,551.8334                       $6,590.06
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                         6/14/2022       Incoming             Lending Activity             SNX                                        64.7178                        $114.75
Celsius Network Limited               BLOCKCHAIN ACCESS                                                                                         6/14/2022       Incoming             Lending Activity             ADA                                       749.7329                        $347.30
Celsius Network Limited               FTX                                                                                                       6/14/2022       Outgoing             Exchange Activity            LTC                        (100,097.57033723)                      ($4,460,279.74)
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                    6/15/2022       Incoming             Lending Activity             XLM                                    3,950,000.0                    $445,659.27
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                    6/15/2022       Incoming             Lending Activity             XLM                                    3,900,000.0                    $440,018.02
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                    6/15/2022       Incoming             Lending Activity             XLM                                    3,850,000.0                    $434,376.76
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                    6/15/2022       Incoming             Lending Activity             XLM                                    3,800,000.0                    $428,735.50
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                    6/15/2022       Incoming             Lending Activity             XLM                                    3,750,000.0                    $423,094.25
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                    6/15/2022       Incoming             Lending Activity             XLM                                    3,700,000.0                    $417,452.99
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                    6/15/2022       Incoming             Lending Activity             XLM                                    3,650,000.0                    $411,811.73
Celsius Network Limited               JSCT HONG KONG LIMITED                                                                                    6/15/2022       Incoming             Lending Activity             XLM                              2,815,675.5567                       $317,678.97
Celsius Network Limited               FTX                                                                                                       6/15/2022       Incoming             Exchange Activity            USDC                          3,203,158.638105                      $3,203,158.64
Celsius Network Limited               FTX                                                                                                       6/15/2022       Outgoing             Exchange Activity            DOT                      (25,504.9829999984)                         ($182,938.63)
Celsius Network Limited               FTX                                                                                                       6/15/2022       Outgoing             Exchange Activity            SNX                                             (1.0)                      ($1.72)
Celsius Network Limited               FTX                                                                                                       6/15/2022       Outgoing             Exchange Activity            SNX                           (100,694.826603)                       ($173,167.81)
Celsius Network Limited               FTX                                                                                                       6/15/2022       Outgoing             Exchange Activity            XRP                       (24,610,790.654616)                      ($7,652,962.98)
Celsius Network Limited               FTX                                                                                                       6/15/2022       Outgoing             Exchange Activity            BUSD                          (64,302.4104743)                        ($64,559.62)
Celsius Network Limited               FTX                                                                                                       6/15/2022       Outgoing             Exchange Activity            PAX                             (25,406.301513)                       ($25,454.69)
Celsius Network Limited               FTX                                                                                                       6/15/2022       Outgoing             Exchange Activity            TUSD                         (60,014.86056972)                        ($60,254.92)
Celsius Network Limited               FTX                                                                                                       6/15/2022       Outgoing             Exchange Activity            BTC                                 (359.649825)                   ($7,655,104.40)
Celsius Network Limited               FTX                                                                                                       6/15/2022       Outgoing             Exchange Activity            MATIC                              (1,027,366.93)                    ($402,238.81)
Celsius Network Limited               FTX                                                                                                       6/15/2022       Outgoing             Exchange Activity            LINK                              (72,720.12229)                     ($459,371.12)
Celsius Network Limited               FLOW TRADERS                                                                                              6/15/2022       Incoming             Lending Activity             USDT_ERC20                             4,000,000.0                  $3,995,153.57
Celsius Network Limited               FLOW TRADERS                                                                                              6/15/2022       Incoming             Lending Activity             USDT_ERC20                             3,000,000.0                  $2,996,365.18
Celsius Network Limited               JANE STREET                                                                                               6/15/2022       Incoming             Lending Activity             BCH                                             4.01                      $487.32
Celsius Network Limited               JANE STREET                                                                                               6/15/2022       Incoming             Lending Activity             BCH                                    6,762.1715                     $838,979.85
Celsius Network Limited               JANE STREET                                                                                               6/15/2022       Incoming             Lending Activity             BCH                                          1.1158                       $138.44
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                        6/15/2022       Outgoing             OTC Transaction              MATIC                                        (100.0)                      ($40.85)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                        6/15/2022       Outgoing             OTC Transaction              MATIC                                    (20,900.0)                    ($8,538.63)
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                6/16/2022       Incoming             Lending Activity             ETH                                        9,307.09                $11,356,333.02
Celsius Network Limited               FALCONX LIMITED                                                                                           6/16/2022       Incoming             Lending Activity             XRP                                      390,000.0                    $131,734.07
Celsius Network Limited               FALCONX LIMITED                                                                                           6/16/2022       Incoming             Lending Activity             UNI                                    117,647.06                     $506,615.48
Celsius Network Limited               FALCONX LIMITED                                                                                           6/16/2022       Incoming             Lending Activity             SUSHI                                    34,482.76                     $37,372.20
Celsius Network Limited               FALCONX LIMITED                                                                                           6/16/2022       Incoming             Lending Activity             AAVE                                       4,620.65                   $301,774.38
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                6/16/2022       Outgoing             Lending Activity             BTC                                          (81.97)               ($1,829,407.21)
Celsius Network Limited               FALCONX LIMITED                                                                                           6/16/2022       Incoming             Lending Activity             ADA                                    5,000,000.0                  $2,613,820.80
Celsius Network Limited               FALCONX LIMITED                                                                                           6/16/2022       Incoming             Lending Activity             COMP                                         609.76                    $21,277.59
Celsius Network Limited               FTX                                                                                                       6/16/2022       Outgoing             Exchange Activity            TUSD                    (1,000,612.98920351)                       ($1,000,612.99)
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                6/16/2022       Incoming             Lending Activity             BTC                                            64.55                $1,357,027.10
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                6/16/2022       Incoming             Lending Activity             EOS                                             10.0                        $9.25
Celsius Network Limited               FTX                                                                                                       6/16/2022       Incoming             Exchange Activity            USDC                                   2,658,000.0                  $2,658,000.00
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                           6/16/2022       Incoming             Lending Activity             USDT_ERC20                                      20.0                       $19.98
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                           6/16/2022       Outgoing             Lending Activity             USDC                                          (20.0)                      ($20.00)
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                           6/16/2022       Incoming             Lending Activity             USDT_ERC20                             2,499,980.0                  $2,497,327.07
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                           6/16/2022       Outgoing             Lending Activity             USDC                                (1,249,980.0)                  ($1,249,980.00)
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                           6/16/2022       Incoming             Lending Activity             USDT_ERC20                             1,250,000.0                  $1,248,673.53
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                           6/16/2022       Outgoing             Lending Activity             USDC                                   (625,000.0)                   ($625,000.00)
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                           6/16/2022       Outgoing             Lending Activity             USDC                                   (312,500.0)                   ($312,500.00)
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                           6/16/2022       Incoming             Lending Activity             USDT_ERC20                               625,000.0                    $624,341.59
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                           6/16/2022       Outgoing             Lending Activity             USDC                                   (156,250.0)                   ($156,250.00)
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                           6/16/2022       Incoming             Lending Activity             USDT_ERC20                               312,500.0                    $312,170.80
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                6/16/2022       Incoming             Lending Activity             EOS                                      364,953.5                    $342,695.80
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                6/16/2022       Outgoing             Lending Activity             USDC                                          (10.0)                      ($10.00)
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                           6/16/2022       Incoming             Lending Activity             USDT_ERC20                               156,250.0                    $156,085.40
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                6/16/2022       Outgoing             Lending Activity             USDC                                (2,657,990.0)                  ($2,657,990.00)
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                           6/16/2022       Outgoing             Lending Activity             USDC                                     (78,125.0)                   ($78,125.00)
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                           6/16/2022       Incoming             Lending Activity             USDT_ERC20                               156,250.0                    $156,104.84
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                           6/16/2022       Outgoing             Lending Activity             USDC                                     (78,125.0)                   ($78,125.00)
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                6/16/2022       Incoming             Lending Activity             XRP                                             50.0                       $15.83
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                6/16/2022       Incoming             Lending Activity             XRP                                    9,999,950.0                  $3,155,820.11
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                6/16/2022       Outgoing             Lending Activity             ETH                                        (466.28)                  ($515,722.70)
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                6/16/2022       Incoming             Lending Activity             ADA                                             50.0                       $24.22
Celsius Network Limited               FALCONX LIMITED                                                                                           6/16/2022       Incoming             Lending Activity             LTC                                        30,000.0                 $1,372,357.95
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                6/16/2022       Incoming             Lending Activity             ADA                                  10,999,950.0                   $5,345,135.83
Celsius Network Limited               FTX                                                                                                       6/16/2022       Outgoing             Exchange Activity            BTC                              (163.21175146)                    ($3,383,663.65)
Celsius Network Limited               FTX                                                                                                       6/16/2022       Outgoing             Exchange Activity            MATIC                   (128,806,125.329706)                      ($50,891,171.31)
Celsius Network Limited               FALCONX LIMITED                                                                                           6/16/2022       Incoming             Lending Activity             CRV                                    1,129,158.0                    $747,558.61
Celsius Network Limited               FTX                                                                                                       6/17/2022       Outgoing             Exchange Activity            XRP                         (9,999,999.999985)                     ($3,172,255.22)
Celsius Network Limited               FTX                                                                                                       6/17/2022       Outgoing             Exchange Activity            LTC                          (50,095.96720574)                     ($2,272,728.13)
Celsius Network Limited               FTX                                                                                                       6/17/2022       Outgoing             Exchange Activity            LTC                          (29,999.99999808)                     ($1,361,024.60)
Celsius Network Limited               FTX                                                                                                       6/17/2022       Outgoing             Exchange Activity            BNB_BSC                  (12,957.7123113155)                       ($2,749,311.07)
Celsius Network Limited               FTX                                                                                                       6/17/2022       Outgoing             Exchange Activity            BTC                                (64.54989781)                   ($1,325,294.33)
Celsius Network Limited               FTX                                                                                                       6/17/2022       Incoming             Exchange Activity            WBTC                               999.99994999                    $20,365,556.59
Celsius Network Limited               FALCONX LIMITED                                                                                           6/17/2022       Incoming             Lending Activity             DOT                                      241,700.0                  $1,724,011.53
Celsius Network Limited               FTX                                                                                                       6/17/2022       Incoming             Exchange Activity            BTC                                             60.0                $1,265,237.48
Celsius Network Limited               FTX                                                                                                       6/17/2022       Outgoing             Exchange Activity            DOT                      (241,702.888156994)                       ($1,777,238.67)
Celsius Network Limited               FTX                                                                                                       6/17/2022       Outgoing             Exchange Activity            DOT                      (11,983.8255337716)                          ($88,166.69)
Celsius Network Limited               ONCHAIN                                                                                                   6/17/2022       Incoming             Lending Activity             USDC                                     300,000.0                    $300,000.00
Celsius Network Limited               ONCHAIN                                                                                                   6/17/2022       Outgoing             Lending Activity             BTC                                        (12.096)                  ($248,911.00)
Celsius Network Limited               ONCHAIN                                                                                                   6/17/2022       Incoming             Lending Activity             USDC                                     450,000.0                    $450,000.00
Celsius Network Limited               ONCHAIN                                                                                                   6/17/2022       Outgoing             Lending Activity             BTC                                        (12.096)                  ($249,373.32)
Celsius Network Limited               FTX                                                                                                       6/17/2022       Outgoing             Exchange Activity            TUSD                             (418.22025606)                          ($419.06)
Celsius Network Limited               FTX                                                                                                       6/17/2022       Outgoing             Exchange Activity            BUSD                      (357.820300992942)                             ($358.54)
Celsius Network Limited               ONCHAIN                                                                                                   6/17/2022       Incoming             Lending Activity             USDC                                     375,000.0                    $375,000.00
Celsius Network Limited               ONCHAIN                                                                                                   6/17/2022       Outgoing             Lending Activity             BTC                                        (26.448)                  ($544,857.93)
Celsius Network Limited               BITFINEX                                                                                                  6/17/2022       Incoming             Exchange Activity            USDT_ERC20                       5,980,591.7683                     $5,973,880.12
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                             Doc 15          Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                    SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                              Main Document                                Case Number: 22-10966



          CELSIUS ENTITY                                                            COUNTERPARTY
                                                                                                               Pg 43 of 77           Non-Retail Coin Transactions
                                                                                                                                                      DATE          TYPE                          TRANSACTION TYPE              COIN   COIN QUANTITY                           COIN USD
Celsius Network Limited               FTX                                                                                                           6/17/2022       Outgoing             Exchange Activity           ETH                             (3,979.999265)                   ($4,352,021.86)
Celsius Network Limited               FTX                                                                                                           6/18/2022       Outgoing             Exchange Activity           BTC                              (44.35745478)                     ($837,952.97)
Celsius Network Limited               FTX                                                                                                           6/18/2022       Outgoing             Exchange Activity           BTC                                (9.61947532)                    ($181,720.83)
Celsius Network Limited               FTX                                                                                                           6/18/2022       Incoming             Exchange Activity           USDC                               20,000,000.0                  $20,000,000.00
Celsius Network Limited               GALAXY DIGITAL                                                                                                6/18/2022       Outgoing             OTC Transaction             ADA                              (10,000,000.0)                  ($4,371,789.09)
Celsius Network Limited               FTX                                                                                                           6/18/2022       Incoming             Exchange Activity           USDC                               14,999,995.0                  $14,999,995.00
Celsius Network Limited               FTX                                                                                                           6/18/2022       Incoming             Exchange Activity           USDC                               19,999,995.0                  $19,999,995.00
Celsius Network Limited               FTX                                                                                                           6/18/2022       Outgoing             Exchange Activity           AAVE                            (3,138.295161)                     ($148,767.63)
Celsius Network Limited               GALAXY DIGITAL                                                                                                6/18/2022       Incoming             OTC Transaction             USDC                                 4,200,000.0                  $4,200,000.00
Celsius Network Limited               FTX                                                                                                           6/18/2022       Outgoing             Exchange Activity           LINK                  (6,706,859.97846256)                      ($37,040,222.45)
Celsius Network Limited               FTX                                                                                                           6/18/2022       Outgoing             Exchange Activity           BNT                    (84,191.9648742296)                          ($37,078.30)
Celsius Network Limited               FTX                                                                                                           6/18/2022       Outgoing             Exchange Activity           XRP                         (389,999.999985)                       ($119,210.72)
Celsius Network Limited               GALAXY DIGITAL                                                                                                6/18/2022       Outgoing             OTC Transaction             ADA                              (10,000,000.0)                  ($4,523,718.30)
Celsius Network Limited               FTX                                                                                                           6/18/2022       Incoming             Exchange Activity           BTC                                             8.5                 $161,848.23
Celsius Network Limited               GALAXY DIGITAL                                                                                                6/18/2022       Incoming             OTC Transaction             USDC                                 4,350,000.0                  $4,350,000.00
Celsius Network Limited               FTX                                                                                                           6/18/2022       Outgoing             Exchange Activity           PAX                       (395,033.9408404)                        ($396,767.22)
Celsius Network Limited               PARALLEL CAPITAL                                                                                              6/19/2022       Incoming             Lending Activity            BTC                                            30.0                 $551,142.46
Celsius Network Limited               PARALLEL CAPITAL                                                                                              6/19/2022       Outgoing             Lending Activity            ETH                                        (90.64)                  ($86,932.99)
Celsius Network Limited               FTX                                                                                                           6/19/2022       Incoming             Exchange Activity           LINK                    5,806,860.00075256                       $38,451,742.47
Celsius Network Limited               FTX                                                                                                           6/19/2022       Outgoing             Exchange Activity           XAUT2                                        (0.01)                     ($18.39)
Celsius Network Limited               PARALLEL CAPITAL                                                                                              6/20/2022       Incoming             Lending Activity            ETH                                            0.01                      $11.11
Celsius Network Limited               PARALLEL CAPITAL                                                                                              6/20/2022       Incoming             Lending Activity            ETH                                        1,100.0                $1,190,184.25
Celsius Network Limited               PARALLEL CAPITAL                                                                                              6/20/2022       Outgoing             Lending Activity            USDC                                  (431,508.0)                  ($431,508.00)
Celsius Network Limited               PARALLEL CAPITAL                                                                                              6/20/2022       Incoming             Lending Activity            ETH                                        1,100.0                $1,193,959.81
Celsius Network Limited               PARALLEL CAPITAL                                                                                              6/20/2022       Outgoing             Lending Activity            USDC                                  (431,508.0)                  ($431,508.00)
Celsius Network Limited               PARALLEL CAPITAL                                                                                              6/20/2022       Incoming             Lending Activity            BTC                                  0.00099999                          $19.98
Celsius Network Limited               FTX                                                                                                           6/20/2022       Outgoing             Exchange Activity           XAUT2                              (589.021005)                  ($1,085,881.53)
Celsius Network Limited               PARALLEL CAPITAL                                                                                              6/20/2022       Incoming             Lending Activity            ETH                                  0.00999997                          $10.82
Celsius Network Limited               PARALLEL CAPITAL                                                                                              6/20/2022       Incoming             Lending Activity            ETH                           1,099.99023802                      $1,180,413.72
Celsius Network Limited               PARALLEL CAPITAL                                                                                              6/20/2022       Outgoing             Lending Activity            USDC                                  (431,508.0)                  ($431,508.00)
Celsius Network Limited               FTX                                                                                                           6/20/2022       Incoming             Exchange Activity           FTT                        213,777.05152132                       $5,397,870.55
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          6/20/2022       Outgoing             Lending Activity            FTT                                   (272,319.0)                ($6,876,054.75)
Celsius Network Limited               FTX                                                                                                           6/20/2022       Outgoing             Exchange Activity           TUSD                        (3,087.42891409)                         ($3,099.78)
Celsius Network Limited               FTX                                                                                                           6/20/2022       Outgoing             Exchange Activity           PAX                         (3,552.98666113)                         ($3,557.53)
Celsius Network Limited               FTX                                                                                                           6/20/2022       Outgoing             Exchange Activity           BUSD                   (6,266.88961560906)                           ($6,285.69)
Celsius Network Limited               FTX                                                                                                           6/20/2022       Outgoing             Exchange Activity           MKR                     (44.2520346396319)                          ($40,577.41)
Celsius Network Limited               FTX                                                                                                           6/20/2022       Outgoing             Exchange Activity           PAXG                    (16.6497480765208)                          ($30,716.52)
Celsius Network Limited               FTX                                                                                                           6/20/2022       Outgoing             Exchange Activity           USDC                        (592,600.104948)                       ($592,600.10)
Celsius Network Limited               FTX                                                                                                           6/20/2022       Outgoing             Exchange Activity           DOGE                  (9,012,389.24306845)                         ($548,061.47)
Celsius Network Limited               FTX                                                                                                           6/20/2022       Outgoing             Exchange Activity           LTC                         (1,651.22267293)                        ($86,504.93)
Celsius Network Limited               FTX                                                                                                           6/20/2022       Outgoing             Exchange Activity           DOT                    (65,954.6572248528)                         ($521,079.92)
Celsius Network Limited               BITFINEX                                                                                                      6/20/2022       Incoming             Exchange Activity           OMG                               58,529.31634                      $109,156.12
Celsius Network Limited               FTX                                                                                                           6/20/2022       Outgoing             Exchange Activity           AVAX                   (130,916.392006962)                       ($2,275,354.02)
Celsius Network Limited               FTX                                                                                                           6/20/2022       Incoming             Exchange Activity           UNI                        257,999.83077571                       $1,112,827.22
Celsius Network Limited               FTX                                                                                                           6/20/2022       Outgoing             Exchange Activity           OMG                    (75,960.5226429046)                         ($140,106.50)
Celsius Network Limited               FTX                                                                                                           6/20/2022       Incoming             Exchange Activity           USDT_ERC20                    159,605.947742                        $159,450.71
Celsius Network Limited               FTX                                                                                                           6/20/2022       Outgoing             Exchange Activity           USDC                          (30,645.711625)                       ($30,645.71)
Celsius Network Limited               FTX                                                                                                           6/20/2022       Outgoing             Exchange Activity           LINK                    (524.542058338103)                           ($3,726.18)
Celsius Network Limited               FTX                                                                                                           6/20/2022       Outgoing             Exchange Activity           MATIC                             (16,551.8334)                      ($6,633.73)
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/20/2022       Incoming             Lending Activity            SOL                                          500.0                   $17,314.87
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/20/2022       Outgoing             Lending Activity            BTC                                          (0.76)                 ($15,605.88)
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/20/2022       Incoming             Lending Activity            SOL                                        3,000.0                  $103,356.95
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/20/2022       Outgoing             Lending Activity            BTC                                          (4.58)                 ($92,961.10)
Celsius Network Limited               FTX                                                                                                           6/20/2022       Incoming             Exchange Activity           OMG                                      15,699.5                    $29,413.26
Celsius Network Limited               FTX                                                                                                           6/20/2022       Incoming             Exchange Activity           BNT                                      10,997.5                     $5,819.08
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/20/2022       Incoming             Lending Activity            SOL                                        3,000.0                  $104,735.09
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/20/2022       Outgoing             Lending Activity            BTC                                          (4.58)                 ($93,208.36)
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/20/2022       Incoming             Lending Activity            SOL                                        3,000.0                  $104,017.19
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/20/2022       Outgoing             Lending Activity            BTC                                          (4.58)                 ($91,986.22)
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/20/2022       Incoming             Lending Activity            SOL                                        3,000.0                  $103,722.26
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/20/2022       Outgoing             Lending Activity            BTC                                          (4.58)                 ($91,777.28)
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/20/2022       Incoming             Lending Activity            SOL                                        3,300.0                  $113,582.22
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/20/2022       Outgoing             Lending Activity            BTC                                          (5.04)                ($100,852.51)
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/20/2022       Incoming             Lending Activity            SOL                                      3,430.57                   $118,302.29
Celsius Network Limited               MOUNTAIN CLOUD GLOBAL LIMITED                                                                                 6/20/2022       Outgoing             Lending Activity            BTC                                          (5.25)                ($105,155.79)
Celsius Network Limited               FTX                                                                                                           6/20/2022       Outgoing             Exchange Activity           SOL                       (19,232.01791072)                        ($665,874.56)
Celsius Network Limited               FTX                                                                                                           6/20/2022       Outgoing             Exchange Activity           USDC                          (59,444.001846)                       ($59,444.00)
Celsius Network Limited               PARALLEL CAPITAL                                                                                              6/21/2022       Incoming             Lending Activity            BTC                                    49.999715                  $1,042,597.53
Celsius Network Limited               FTX                                                                                                           6/21/2022       Incoming             Exchange Activity           USDC                                    573,640.4                   $573,640.40
Celsius Network Limited               PARALLEL CAPITAL                                                                                              6/21/2022       Outgoing             Lending Activity            USDC                                  (296,300.0)                  ($296,300.00)
Celsius Network Limited               PARALLEL CAPITAL                                                                                              6/21/2022       Incoming             Lending Activity            BTC                                    49.999715                  $1,066,279.32
Celsius Network Limited               PARALLEL CAPITAL                                                                                              6/21/2022       Outgoing             Lending Activity            USDC                                  (296,300.0)                  ($296,300.00)
Celsius Network Limited               AUROS TECH LIMITED                                                                                            6/21/2022       Incoming             Lending Activity            SOL                                      40,000.0                 $1,519,547.62
Celsius Network Limited               FTX                                                                                                           6/21/2022       Outgoing             Exchange Activity           SOL                      (46,639.968308747)                      ($1,771,312.21)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/21/2022       Incoming             Lending Activity            XTZ                                     200,000.0                   $300,099.53
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/21/2022       Incoming             Lending Activity            LTC                                      24,000.0                 $1,277,017.62
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/21/2022       Incoming             Lending Activity            AVAX                                     28,000.0                   $497,182.29
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/21/2022       Incoming             Lending Activity            MANA                               3,494,827.59                   $3,036,254.51
Celsius Network Limited               FTX                                                                                                           6/21/2022       Outgoing             Exchange Activity           AVAX                   (28,000.3249599318)                         ($498,575.91)
Celsius Network Limited               FTX                                                                                                           6/21/2022       Outgoing             Exchange Activity           LTC                       (23,999.99999697)                      ($1,273,463.91)
Celsius Network Limited               FTX                                                                                                           6/21/2022       Outgoing             Exchange Activity           USDC_AVAX                            (96.133445)                        ($96.23)
Celsius Network Limited               FTX                                                                                                           6/21/2022       Outgoing             Exchange Activity           COMP                                     (2,113.0)                  ($87,576.87)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/21/2022       Incoming             Lending Activity            BCH                                        6,000.0                  $699,014.77
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/21/2022       Incoming             Lending Activity            ADA                                  2,850,000.0                  $1,422,819.44
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/21/2022       Incoming             Lending Activity            LINK                                     95,000.0                   $689,831.83
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/21/2022       Incoming             Lending Activity            XLM                                  8,000,000.0                    $925,735.99
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/21/2022       Incoming             Lending Activity            ZRX                                  2,500,000.0                    $716,759.26
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/21/2022       Incoming             Lending Activity            ZRX                                  2,000,000.0                    $573,407.41
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/21/2022       Incoming             Lending Activity            ZRX                                  1,500,000.0                    $438,297.12
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/21/2022       Incoming             Lending Activity            ZRX                                     500,000.0                   $145,235.75
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/21/2022       Incoming             Lending Activity            ZRX                                     500,000.0                   $145,436.84
Celsius Network Limited               FASANARA CAPITAL                                                                                              6/21/2022       Incoming             Lending Activity            ADA                                   30,886.675                     $15,120.72
Celsius Network Limited               FTX                                                                                                           6/21/2022       Incoming             Exchange Activity           MATIC                               538,961.525                     $235,877.59
Celsius Network Limited               BLOCKFILLS                                                                                                    6/21/2022       Incoming             Lending Activity            BTC                                             3.0                  $63,522.90
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            6/21/2022       Outgoing             OTC Transaction             MATIC                             (538,971.525)                    ($229,697.81)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/22/2022       Incoming             Lending Activity            XLM                                13,000,000.0                   $1,471,093.11
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/22/2022       Incoming             Lending Activity            BCH                                      10,000.0                 $1,167,961.04
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/22/2022       Incoming             Lending Activity            ZEC                                        4,000.0                  $261,855.13
Celsius Network Limited               BITFINEX                                                                                                      6/22/2022       Incoming             Exchange Activity           COMP                          3,887.74102055                        $150,278.77
Celsius Network Limited               ONCHAIN CUSTODIAN PTE LTD                                                                                     6/22/2022       Incoming             Lending Activity            ETH                                          1.826                    $1,976.12
Celsius Network Limited               ONCHAIN CUSTODIAN PTE LTD                                                                                     6/22/2022       Incoming             Lending Activity            USDC                                25,578.7671                      $25,578.77
Celsius Network Limited               FTX                                                                                                           6/22/2022       Outgoing             Exchange Activity           COMP                                     (3,887.0)                 ($147,709.01)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/22/2022       Incoming             Lending Activity            LTC                                      36,000.0                 $1,834,937.90
Celsius Network Limited               FTX                                                                                                           6/22/2022       Incoming             Exchange Activity           FTT                                     231,048.0                 $5,931,002.16
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          6/22/2022       Outgoing             Lending Activity            FTT                                   (231,048.0)                ($5,931,002.16)
Celsius Network Limited               0x2240AA95B78A8F2e8ed607bc3b8c88Ec84de0BE8                                                                    6/22/2022       Incoming             Dust                        MATIC_POLYGON                              0.0001                         $0.00
Celsius Network Limited               FTX                                                                                                           6/22/2022       Outgoing             Exchange Activity           USDC                        (135,905.981202)                       ($135,905.98)
Celsius Network Limited               FTX                                                                                                           6/22/2022       Outgoing             Exchange Activity           LTC                       (35,999.99999697)                      ($1,859,662.87)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/22/2022       Incoming             Lending Activity            XRP                                  8,700,000.0                  $2,800,396.17
Celsius Network Limited               FTX                                                                                                           6/22/2022       Outgoing             Exchange Activity           XRP                     (11,237,838.498193)                      ($3,607,369.21)
Celsius Network Limited               FTX                                                                                                           6/22/2022       Incoming             Exchange Activity           USDC                               1,199,055.83                   $1,199,055.83
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/22/2022       Outgoing             Lending Activity            USDC                               (1,200,000.0)                 ($1,200,000.00)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/22/2022       Incoming             Lending Activity            ADA                                  2,000,000.0                    $959,724.36
Celsius Network Limited               FTX                                                                                                           6/22/2022       Outgoing             Exchange Activity           XAUT2                                (261.02091)                   ($479,648.55)
Celsius Network Limited               BITFINEX                                                                                                      6/22/2022       Incoming             Exchange Activity           USDT_ERC20                    459,928.229551                        $459,465.33
Celsius Network Limited               FTX                                                                                                           6/22/2022       Incoming             Exchange Activity           FTT                        177,976.45839996                       $4,566,875.92
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          6/22/2022       Outgoing             Lending Activity            FTT                                 (177,101.35)                 ($4,544,420.64)
Celsius Network Limited               FTX                                                                                                           6/22/2022       Outgoing             Exchange Activity           DOT                          (1,100,000.9486)                    ($8,403,797.55)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/23/2022       Incoming             Lending Activity            ADA                                  2,700,000.0                  $1,269,374.66
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/23/2022       Incoming             Lending Activity            ZRX                                     300,000.0                    $83,736.12
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/23/2022       Incoming             Lending Activity            ETH                                        3,000.0                $3,236,333.55
Celsius Network Limited               FLOW TRADERS                                                                                                  6/23/2022       Incoming             Lending Activity            AVAX                                      44.9486                       $783.78
Celsius Network Limited               0x9Bf0eED0046eDbA91A42c4204460Eddb80Abb497                                                                    6/23/2022       Incoming             Dust                        MATIC_POLYGON                              0.0001                         $0.00
Celsius Network Limited               DERIBIT                                                                                                       6/23/2022       Incoming             Exchange Activity           BTC                              179.33447076                     $3,699,206.14
Celsius Network Limited               FTX                                                                                                           6/23/2022       Outgoing             Exchange Activity           BUSD                           (487.23969328)                          ($487.24)
Celsius Network Limited               0x617cd479B8b36B5Bb3A690F9323265467f4Ac3A4                                                                    6/23/2022       Incoming             Dust                        MATIC_POLYGON                              0.0001                         $0.00
Celsius Network Limited               FTX                                                                                                           6/23/2022       Outgoing             Exchange Activity           USDC                        (153,324.802607)                       ($153,324.80)
Celsius Network Limited               FTX                                                                                                           6/23/2022       Outgoing             Exchange Activity           USDC_POLYGON                                 (10.0)                     ($10.01)
Celsius Network Limited               FTX                                                                                                           6/23/2022       Outgoing             Exchange Activity           USDC_POLYGON                  (21,450.801667)                       ($21,424.16)
Celsius Network Limited               FTX                                                                                                           6/23/2022       Incoming             Exchange Activity           USDC                               9,726,737.82                   $9,726,737.82
Celsius Network Limited               CIRCLE                                                                                                        6/23/2022       Outgoing             Coin Minting / Redemption   USDC                             (9,726,737.82)                  ($9,726,737.82)
Celsius Network Limited               FTX                                                                                                           6/23/2022       Incoming             Exchange Activity           USDC                                 3,999,999.0                  $3,999,999.00
Celsius Network Limited               CIRCLE                                                                                                        6/23/2022       Outgoing             Coin Minting / Redemption   USDC                               (3,999,999.0)                 ($3,999,999.00)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/24/2022       Incoming             Lending Activity            ETH                                      1,562.79                 $1,799,519.52
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/24/2022       Incoming             Lending Activity            LTC                                      28,000.0                 $1,579,071.27
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/24/2022       Incoming             Lending Activity            BTC                                          100.0                $2,105,622.09
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/24/2022       Incoming             Lending Activity            ZEC                                        3,000.0                  $198,460.52
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/24/2022       Incoming             Lending Activity            MANA                                    89,285.71                    $82,184.69
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/24/2022       Outgoing             Lending Activity            BTC                                          (5.61)                ($118,128.95)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/24/2022       Incoming             Lending Activity            BTC                                          150.0                $3,155,979.22
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/24/2022       Incoming             Lending Activity            XRP                                   641,025.64                    $235,636.05
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/24/2022       Outgoing             Lending Activity            BTC                                     (11.2225)                  ($234,651.74)
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/24/2022       Outgoing             Lending Activity            BTC                                     (11.2225)                  ($234,878.70)
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/24/2022       Incoming             Lending Activity            XRP                                   641,025.64                    $244,196.18
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/24/2022       Outgoing             Lending Activity            BTC                                     (11.2225)                  ($233,409.04)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/24/2022       Incoming             Lending Activity            XLM                                20,000,000.0                   $2,543,538.97
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/24/2022       Incoming             Lending Activity            XRP                                   641,025.64                    $240,307.17
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/24/2022       Incoming             Lending Activity            BCH                                        9,000.0                $1,059,469.96
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/24/2022       Incoming             Lending Activity            XRP                                   641,025.64                    $239,401.09
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/24/2022       Outgoing             Lending Activity            BTC                                     (11.2225)                  ($234,497.86)
Celsius Network Limited               FTX                                                                                                           6/24/2022       Incoming             Exchange Activity           USDC                                740,419.038                     $740,419.04
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/24/2022       Incoming             Lending Activity            ADA                                 416,666.665                     $208,217.38
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/24/2022       Outgoing             Lending Activity            BTC                                          (7.91)                ($167,420.39)
Celsius Network Limited               FLOW TRADERS                                                                                                  6/24/2022       Incoming             Lending Activity            AVAX                                10,468.0399                     $205,305.56
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                         6/24/2022       Incoming             Lending Activity            BNB_BSC                                  30,000.0                 $7,110,269.63
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                         6/24/2022       Outgoing             Lending Activity            BTC                                        (76.68)               ($1,622,982.99)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/24/2022       Outgoing             Lending Activity            USDC                                  (800,000.0)                  ($800,000.00)
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/24/2022       Incoming             Lending Activity            ADA                                 416,666.665                     $209,384.46
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/24/2022       Outgoing             Lending Activity            BTC                                          (7.91)                ($168,635.32)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/24/2022       Incoming             Lending Activity            ZEC                                        6,000.0                  $405,351.28
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                             Doc 15          Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                    SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                              Main Document                                Case Number: 22-10966



          CELSIUS ENTITY                                                            COUNTERPARTY
                                                                                                               Pg 44 of 77           Non-Retail Coin Transactions
                                                                                                                                                      DATE          TYPE                          TRANSACTION TYPE                COIN   COIN QUANTITY                         COIN USD
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/24/2022       Outgoing             Lending Activity            BTC                                         (9.12)                 ($193,205.09)
Celsius Network Limited               FTX                                                                                                           6/24/2022       Outgoing             Exchange Activity           LTC                         (28,000.36455685)                    ($1,578,412.37)
Celsius Network Limited               FTX                                                                                                           6/24/2022       Outgoing             Exchange Activity           XRP                        (2,564,102.559958)                      ($952,590.49)
Celsius Network Limited               VEXIL CAPITAL                                                                                                 6/24/2022       Incoming             Lending Activity            BNB_BSC                                      950.0                  $226,707.73
Celsius Network Limited               FTX                                                                                                           6/24/2022       Outgoing             Exchange Activity           BTC                                        (500.0)              ($10,592,384.49)
Celsius Network Limited               FTX                                                                                                           6/24/2022       Outgoing             Exchange Activity           BNB_BSC                 (30,974.0066611527)                      ($7,391,628.31)
Celsius Network Limited               CIRCLE / PAXOS                                                                                                6/24/2022       Incoming             Coin Minting / Redemption   USDC                              13,726,736.82                  $13,726,736.82
Celsius Network Limited               FTX                                                                                                           6/24/2022       Outgoing             Exchange Activity           USDC                       (3,640,380.399293)                    ($3,640,380.40)
Celsius Network Limited               FTX                                                                                                           6/26/2022       Incoming             Exchange Activity           USDC_AVAX                                       5.0                       $5.02
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/27/2022       Incoming             Lending Activity            BTC                                          100.0                $2,104,078.27
Celsius Network Limited               FTX                                                                                                           6/27/2022       Outgoing             Exchange Activity           USDC                           (76,011.853396)                      ($76,011.85)
Celsius Network Limited               FTX                                                                                                           6/27/2022       Incoming             Exchange Activity           USDC                               1,394,669.71                   $1,394,669.71
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/27/2022       Outgoing             Lending Activity            USDC                             (1,394,669.71)                  ($1,394,669.71)
Celsius Network Limited               WINTERMUTE                                                                                                    6/27/2022       Incoming             Lending Activity            MANA                                   600,000.0                    $594,894.99
Celsius Network Limited               WINTERMUTE                                                                                                    6/27/2022       Incoming             Lending Activity            BAT                                  2,780,000.0                  $1,117,328.15
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/27/2022       Incoming             Lending Activity            BTC                                        132.72                 $2,828,100.92
Celsius Network Limited               WINTERMUTE                                                                                                    6/27/2022       Incoming             Lending Activity            LINK                                     30,000.0                   $204,709.67
Celsius Network Limited               WINTERMUTE                                                                                                    6/27/2022       Incoming             Lending Activity            ADA                                  2,551,000.0                  $1,276,837.99
Celsius Network Limited               WINTERMUTE                                                                                                    6/27/2022       Incoming             Lending Activity            OMG                                    250,000.0                    $492,875.58
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/27/2022       Incoming             Lending Activity            BTC                                           50.0                $1,059,288.00
Celsius Network Limited               FTX                                                                                                           6/27/2022       Incoming             Exchange Activity           USDC                                   700,000.0                    $700,000.00
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/27/2022       Outgoing             Lending Activity            USDC                                 (700,000.0)                   ($700,000.00)
Celsius Network Limited               FTX                                                                                                           6/27/2022       Outgoing             Exchange Activity           USDC                            (7,649.252403)                       ($7,649.25)
Celsius Network Limited               FTX                                                                                                           6/27/2022       Outgoing             Exchange Activity           SNX                                (1,000,000.0)                 ($2,649,738.64)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/27/2022       Incoming             Lending Activity            BTC                                           50.0                $1,035,124.02
Celsius Network Limited               FTX                                                                                                           6/27/2022       Incoming             Exchange Activity           USDC                                   250,000.0                    $250,000.00
Celsius Network Limited               WINTERMUTE                                                                                                    6/27/2022       Incoming             Lending Activity            EOS                                    295,000.0                    $288,907.04
Celsius Network Limited               WINTERMUTE                                                                                                    6/27/2022       Incoming             Lending Activity            SNX                                      67,000.0                   $176,661.39
Celsius Network Limited               WINTERMUTE                                                                                                    6/27/2022       Incoming             Lending Activity            KNC                                    300,000.0                    $420,555.61
Celsius Network Limited               BITFINEX                                                                                                      6/27/2022       Outgoing             Exchange Activity           ADA                                (5,000,000.0)                 ($2,443,416.88)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/27/2022       Outgoing             Lending Activity            USDC                                 (250,000.0)                   ($250,000.00)
Celsius Network Limited               FTX                                                                                                           6/27/2022       Incoming             Exchange Activity           USDC                               30,000,000.0                  $30,000,000.00
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/27/2022       Incoming             Lending Activity            BTC                                           40.0                  $831,951.17
Celsius Network Limited               FTX                                                                                                           6/27/2022       Incoming             Exchange Activity           USDC                                   200,000.0                    $200,000.00
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/27/2022       Outgoing             Lending Activity            USDC                                 (200,000.0)                   ($200,000.00)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/27/2022       Incoming             Lending Activity            BTC                                           30.0                  $622,548.56
Celsius Network Limited               WINTERMUTE                                                                                                    6/27/2022       Incoming             Lending Activity            UNI                                    450,000.0                  $2,439,578.01
Celsius Network Limited               FTX                                                                                                           6/27/2022       Incoming             Exchange Activity           USDC                                   350,000.0                    $350,000.00
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/27/2022       Outgoing             Lending Activity            USDC                                 (190,000.0)                   ($190,000.00)
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/27/2022       Incoming             Lending Activity            BTC                                          29.98                  $627,472.35
Celsius Network Limited               KENETIC TRADING LTD                                                                                           6/27/2022       Outgoing             Lending Activity            USDC                                 (160,000.0)                   ($160,000.00)
Celsius Network Limited               FALCONX LIMITED                                                                                               6/27/2022       Incoming             Lending Activity            DOT                                             1.5                      $11.72
Celsius Network Limited               FALCONX LIMITED                                                                                               6/27/2022       Incoming             Lending Activity            DOT                                    258,998.5                  $2,017,316.58
Celsius Network Limited               BITFINEX                                                                                                      6/28/2022       Outgoing             Exchange Activity           ADA                                (5,000,000.0)                 ($2,445,275.23)
Celsius Network Limited               FTX                                                                                                           6/28/2022       Outgoing             Exchange Activity           SNX                     (200,414.096784442)                        ($490,457.92)
Celsius Network Limited               FTX                                                                                                           6/28/2022       Outgoing             Exchange Activity           BNT                     (43,507.3486936055)                         ($22,193.11)
Celsius Network Limited               FTX                                                                                                           6/28/2022       Outgoing             Exchange Activity           LINK                    (975,004.279827197)                      ($6,455,986.81)
Celsius Network Limited               FTX                                                                                                           6/28/2022       Outgoing             Exchange Activity           SNX                                  (650,000.0)                 ($1,584,586.71)
Celsius Network Limited               FTX                                                                                                           6/28/2022       Outgoing             Exchange Activity           BTC                                        (80.38)               ($1,686,240.50)
Celsius Network Limited               FTX                                                                                                           6/28/2022       Outgoing             Exchange Activity           OMG                       (263,095.97180569)                       ($532,486.29)
Celsius Network Limited               FTX                                                                                                           6/28/2022       Outgoing             Exchange Activity           MKR                      (1.00372141232133)                          ($1,018.48)
Celsius Network Limited               FTX                                                                                                           6/28/2022       Incoming             Exchange Activity           BTC                                        473.71                 $9,976,034.96
Celsius Network Limited               FTX                                                                                                           6/28/2022       Incoming             Exchange Activity           ETH                                      10,097.6                $12,399,113.20
Celsius Network Limited               FTX                                                                                                           6/28/2022       Outgoing             Exchange Activity           SNX                                 (949,921.08)                 ($2,454,057.23)
Celsius Network Limited               FTX                                                                                                           6/28/2022       Incoming             Exchange Activity           MATIC                           1,658,960.5001                      $938,321.33
Celsius Network Limited               FTX                                                                                                           6/28/2022       Incoming             Exchange Activity           USDC                                 1,914,844.5                  $1,914,844.50
Celsius Network Limited               FTX                                                                                                           6/28/2022       Incoming             Exchange Activity           USDT_ERC20                             130,182.5                    $130,068.00
Celsius Network Limited               FTX                                                                                                           6/28/2022       Incoming             Exchange Activity           SOL                                    130,180.0                  $5,156,313.10
Celsius Network Limited               BITFINEX                                                                                                      6/28/2022       Outgoing             Exchange Activity           ADA                        (7,757,353.180475)                    ($3,845,314.32)
Celsius Network Limited               FTX                                                                                                           6/28/2022       Outgoing             Exchange Activity           LINK                                 (607,500.0)                 ($4,260,422.34)
Celsius Network Limited               FTX                                                                                                           6/28/2022       Outgoing             Exchange Activity           SOL                            (102,686.99999)                   ($4,005,232.88)
Celsius Network Limited               FTX                                                                                                           6/28/2022       Incoming             Exchange Activity           DOGE                                   198,640.0                     $13,902.95
Celsius Network Limited               FTX                                                                                                           6/28/2022       Incoming             Exchange Activity           LTC                                       3,389.0                   $187,592.74
Celsius Network Limited               FTX                                                                                                           6/28/2022       Incoming             Exchange Activity           BUSD                                     20,922.0                    $20,828.33
Celsius Network Limited               FTX                                                                                                           6/28/2022       Outgoing             Exchange Activity           USDC_AVAX                                     (5.0)                      ($4.99)
Celsius Network Limited               FTX                                                                                                           6/28/2022       Outgoing             Exchange Activity           AVAX                    (177,760.489405661)                      ($3,530,683.31)
Celsius Network Limited               FTX                                                                                                           6/28/2022       Incoming             Exchange Activity           BCH                              473.95068532                        $51,784.92
Celsius Network Limited               FTX                                                                                                           6/28/2022       Incoming             Exchange Activity           TUSD                                   15,119.01                     $15,149.25
Celsius Network Limited               FTX                                                                                                           6/28/2022       Incoming             Exchange Activity           PAX                                   113,266.07                    $112,964.90
Celsius Network Limited               FTX                                                                                                           6/28/2022       Incoming             Exchange Activity           USDC                                 2,675,000.0                  $2,675,000.00
Celsius Network Limited               BLOCKFILLS                                                                                                    6/28/2022       Incoming             Lending Activity            BTC                                             3.0                  $62,104.98
Celsius Network Limited               FTX                                                                                                           6/28/2022       Outgoing             Exchange Activity           USDT_ERC20                     (13,931.745736)                      ($13,916.50)
Celsius Network Limited               FTX                                                                                                           6/29/2022       Incoming             Exchange Activity           BNT                                          997.5                      $492.77
Celsius Network Limited               FTX                                                                                                           6/29/2022       Incoming             Exchange Activity           OMG                                           99.5                      $183.50
Celsius Network Limited               FTX                                                                                                           6/29/2022       Incoming             Exchange Activity           LTC                                           10.0                      $521.90
Celsius Network Limited               BITFINEX                                                                                                      6/29/2022       Outgoing             Exchange Activity           ADA                        (9,999,999.617958)                    ($4,667,552.62)
Celsius Network Limited               BITFINEX                                                                                                      6/29/2022       Outgoing             Exchange Activity           ETC                       (64,302.599709834)                       ($979,753.16)
Celsius Network Limited               FTX                                                                                                           6/29/2022       Incoming             Exchange Activity           PAX                                    730,000.0                    $728,205.38
Celsius Network Limited               PAXOS                                                                                                         6/29/2022       Outgoing             Exchange Activity           PAX                       (732,939.94214917)                       ($731,138.09)
Celsius Network Limited               FTX                                                                                                           6/29/2022       Outgoing             Exchange Activity           USDT_ERC20                      (5,219.911817)                       ($5,214.27)
Celsius Network Limited               CIRCLE / PAXOS                                                                                                6/29/2022       Incoming             Coin Minting / Redemption   PAXG                       400.317703683352                         $730,883.61
Celsius Network Limited               FASANARA CAPITAL                                                                                              6/29/2022       Incoming             Lending Activity            ADA                                  2,000,000.0                    $933,245.14
Celsius Network Limited               BITFINEX                                                                                                      6/29/2022       Incoming             Exchange Activity           USDT_ERC20                   2,529,069.958242                     $2,526,485.99
Celsius Network Limited               FTX                                                                                                           6/29/2022       Outgoing             Exchange Activity           USDT_ERC20                          (111,041.83)                   ($110,928.38)
Celsius Network Limited               FTX                                                                                                           6/29/2022       Outgoing             Exchange Activity           SNX                                  (500,000.0)                 ($1,288,842.99)
Celsius Network Limited               FTX                                                                                                           6/29/2022       Outgoing             Exchange Activity           ETH                     (4,999.99842654638)                      ($5,478,300.38)
Celsius Network Limited               FTX                                                                                                           6/29/2022       Outgoing             Exchange Activity           USDC                                 (480,583.0)                   ($480,583.00)
Celsius Network Limited               FTX                                                                                                           6/30/2022       Outgoing             Exchange Activity           USDT_ERC20                         (1,000,000.0)                   ($998,886.53)
Celsius Network Limited               BITFINEX                                                                                                      6/30/2022       Outgoing             Exchange Activity           ADA                        (9,999,999.829835)                    ($4,372,911.07)
Celsius Network Limited               FTX                                                                                                           6/30/2022       Outgoing             Exchange Activity           PAX                          (5,102.55127564)                        ($5,087.65)
Celsius Network Limited               FTX                                                                                                           6/30/2022       Outgoing             Exchange Activity           UNI                     (429,427.376216186)                      ($2,041,637.04)
Celsius Network Limited               FTX                                                                                                           6/30/2022       Outgoing             Exchange Activity           SUSHI                     (159,205.35502296)                       ($154,437.37)
Celsius Network Limited               FTX                                                                                                           6/30/2022       Outgoing             Exchange Activity           BUSD                                   (1,141.09)                    ($1,142.23)
Celsius Network Limited               FTX                                                                                                           7/1/2022        Incoming             Exchange Activity           AAVE                                2,068.07238                     $117,132.32
Celsius Network Limited               FTX                                                                                                           7/1/2022        Incoming             Exchange Activity           USDC                               40,000,000.0                  $40,000,000.00
Celsius Network Limited               FTX                                                                                                           7/1/2022        Outgoing             Exchange Activity           LINK                                 (350,000.0)                 ($2,105,609.61)
Celsius Network Limited               FTX                                                                                                           7/1/2022        Outgoing             Exchange Activity           USDC                           (40,442.135081)                      ($40,442.14)
Celsius Network Limited               BITFINEX                                                                                                      7/1/2022        Outgoing             Exchange Activity           XLM                                        (100.0)                      ($10.92)
Celsius Network Limited               BITFINEX                                                                                                      7/1/2022        Outgoing             Exchange Activity           XLM                      (25,199,899.994998)                     ($2,760,547.09)
Celsius Network Limited               FTX                                                                                                           7/1/2022        Incoming             Exchange Activity           USDC                               20,000,000.0                  $20,000,000.00
Celsius Network Limited               FTX                                                                                                           7/1/2022        Outgoing             Exchange Activity           SNX                                  (330,000.0)                   ($722,424.55)
Celsius Network Limited               FTX                                                                                                           7/1/2022        Outgoing             Exchange Activity           BTC                              (58.94914147)                   ($1,136,764.39)
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    7/1/2022        Incoming             Lending Activity            BSV                                  3.69863014                         $192.24
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    7/1/2022        Incoming             Lending Activity            BNB_BSC                            15.28767123                        $3,316.93
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    7/1/2022        Incoming             Lending Activity            EOS                                     110.9589                        $101.04
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    7/1/2022        Incoming             Lending Activity            BTC                                  0.87671233                      $17,014.87
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    7/1/2022        Incoming             Lending Activity            ETC                                30.82191781                          $449.80
Celsius Network Limited               GENESIS GLOBAL CAPITAL LLC                                                                                    7/1/2022        Incoming             Lending Activity            ADA                              16,273.972603                        $7,303.83
Celsius Network Limited               WINTERMUTE                                                                                                    7/1/2022        Incoming             OTC Transaction             ETH                                      5,773.92                 $6,135,799.65
Celsius Network Limited               SPARTAN PROTOCOL (UNSLASHED FINANCE)                                                                          7/2/2022        Outgoing             DeFi Protocol               ETH                                         (0.01)                      ($10.52)
Celsius Network Limited               FTX                                                                                                           7/2/2022        Outgoing             Exchange Activity           ETH                                     (8,000.0)                ($8,433,055.75)
Celsius Network Limited               FTX                                                                                                           7/2/2022        Incoming             Exchange Activity           USDC                               15,000,000.0                  $15,000,000.00
Celsius Network Limited               SPARTAN PROTOCOL (UNSLASHED FINANCE)                                                                          7/2/2022        Outgoing             DeFi Protocol               ETH                                        (19.99)                  ($21,072.10)
Celsius Network Limited               FTX                                                                                                           7/3/2022        Incoming             Exchange Activity           USDC                               50,000,000.0                  $50,000,000.00
Celsius Network Limited               FTX                                                                                                           7/3/2022        Outgoing             Exchange Activity           LINK                    (459,157.218153924)                      ($2,795,704.52)
Celsius Network Limited               DRUK HOLDING AND INVESTMENTS                                                                                  7/3/2022        Incoming             Lending Activity            USDT_ERC20                                    50.0                       $49.95
Celsius Network Limited               DRUK HOLDING AND INVESTMENTS                                                                                  7/3/2022        Incoming             Lending Activity            USDT_ERC20                           6,299,950.0                  $6,294,162.39
Celsius Network Limited               FASANARA CAPITAL                                                                                              7/4/2022        Incoming             Lending Activity            BNB_BSC                                   6,000.0                 $1,300,877.99
Celsius Network Limited               BITFINEX                                                                                                      7/4/2022        Outgoing             Exchange Activity           ADA                              (10,000,000.0)                  ($4,524,016.94)
Celsius Network Limited               BITFINEX                                                                                                      7/4/2022        Outgoing             Exchange Activity           ADA                              (10,000,000.0)                  ($4,524,016.94)
Celsius Network Limited               BITFINEX                                                                                                      7/4/2022        Outgoing             Exchange Activity           ADA                              (10,000,000.0)                  ($4,524,016.94)
Celsius Network Limited               BITFINEX                                                                                                      7/4/2022        Outgoing             Exchange Activity           ADA                              (10,000,000.0)                  ($4,524,016.94)
Celsius Network Limited               FTX                                                                                                           7/4/2022        Incoming             Exchange Activity           USDC                               74,000,000.0                  $74,000,000.00
Celsius Network Limited               FTX                                                                                                           7/4/2022        Outgoing             Exchange Activity           USDC_BSC                                    (10.0)                      ($10.01)
Celsius Network Limited               FTX                                                                                                           7/4/2022        Incoming             Exchange Activity           CEL                             1,801,863.0977                    $1,590,444.78
Celsius Network Limited               FTX                                                                                                           7/4/2022        Outgoing             Exchange Activity           ETH                                    (17,000.0)               ($18,233,479.34)
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                         7/4/2022        Incoming             Lending Activity            ETH                                       2,565.0                 $2,751,110.27
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                         7/4/2022        Outgoing             Lending Activity            BTC                                         (61.7)               ($1,201,168.61)
Celsius Network Limited               FTX                                                                                                           7/4/2022        Outgoing             Exchange Activity           SNX                                  (700,000.0)                 ($2,002,123.88)
Celsius Network Limited               FTX                                                                                                           7/4/2022        Outgoing             Exchange Activity           ETH                                    (15,000.0)               ($16,405,281.95)
Celsius Network Limited               BITFINEX                                                                                                      7/4/2022        Incoming             Exchange Activity           USDT_ERC20                                    50.0                       $49.95
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                         7/4/2022        Incoming             Lending Activity            ETH                                       1,197.0                 $1,322,089.82
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                         7/4/2022        Outgoing             Lending Activity            BTC                                         (16.4)                 ($323,490.56)
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                         7/4/2022        Incoming             Lending Activity            ETH                                          359.0                  $397,215.53
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                         7/4/2022        Outgoing             Lending Activity            BTC                                           (4.9)                 ($96,539.04)
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                         7/4/2022        Incoming             Lending Activity            ETH                                          108.0                  $119,291.34
Celsius Network Limited               FTX                                                                                                           7/4/2022        Outgoing             Exchange Activity           ETH                                    (15,000.0)               ($16,568,242.27)
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                         7/4/2022        Outgoing             Lending Activity            BTC                                           (1.5)                 ($29,529.36)
Celsius Network Limited               FTX                                                                                                           7/4/2022        Outgoing             Exchange Activity           ETH                     (10,699.9990263654)                     ($11,718,150.48)
Celsius Network Limited               FTX                                                                                                           7/4/2022        Outgoing             Exchange Activity           ETH                                    (10,000.0)               ($10,925,732.22)
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                         7/4/2022        Incoming             Lending Activity            ETH                                          47.11                   $51,471.12
Celsius Network Limited               ANTELOPE TECHNOLOGIES                                                                                         7/4/2022        Outgoing             Lending Activity            BTC                                         (0.67)                  ($13,117.65)
Celsius Network Limited               0xb1adceddb2941033a090dd166a462fe1c2029484                                                                    7/4/2022        Outgoing             Transfer                    ETH                                         (0.04)                Undetermined
Celsius Network Limited               FTX                                                                                                           7/4/2022        Incoming             Exchange Activity           USDC                               77,000,000.0                  $77,000,000.00
Celsius Network Limited               FASANARA CAPITAL                                                                                              7/4/2022        Incoming             Lending Activity            BNB_BSC                                   5,500.0                 $1,241,973.37
Celsius Network Limited               FTX                                                                                                           7/4/2022        Incoming             Exchange Activity           BTC                                        156.38                 $3,106,695.40
Celsius Network Limited               FASANARA CAPITAL                                                                                              7/4/2022        Incoming             Lending Activity            BNB_BSC                                      500.0                  $113,790.76
Celsius Network Limited               FASANARA CAPITAL                                                                                              7/4/2022        Outgoing             Lending Activity            BTC                              (41.13992287)                     ($815,559.09)
Celsius Network Limited               FTX                                                                                                           7/4/2022        Outgoing             Exchange Activity           BNB_BSC                 (12,015.2861057125)                      ($2,730,694.48)
Celsius Network Limited               BITFINEX                                                                                                      7/4/2022        Incoming             Exchange Activity           USDT_ERC20                         23,012,349.0                  $22,991,542.12
Celsius Network Limited               FASANARA CAPITAL                                                                                              7/5/2022        Outgoing             Lending Activity            BTC                                        (73.85)               ($1,439,770.78)
Celsius Network Limited               FASANARA CAPITAL                                                                                              7/5/2022        Outgoing             Lending Activity            BTC                                         (32.5)                 ($629,519.55)
Celsius Network Limited               FTX                                                                                                           7/5/2022        Outgoing             Exchange Activity           SUSHI                   (197,530.457067603)                        ($205,943.61)
Celsius Network Limited               FTX                                                                                                           7/5/2022        Incoming             Exchange Activity           AVAX                                          68.0                    $1,145.21
Celsius Network Limited               FTX                                                                                                           7/5/2022        Incoming             Exchange Activity           USDC                                      4,000.0                     $4,000.00
Celsius Network Limited               FTX                                                                                                           7/5/2022        Incoming             Exchange Activity           USDC                               30,000,000.0                  $30,000,000.00
Celsius Network Limited               FTX                                                                                                           7/5/2022        Outgoing             Exchange Activity           ETH                     (35,999.9984212484)                     ($39,686,727.51)
Celsius Network Limited               FTX                                                                                                           7/5/2022        Incoming             Exchange Activity           USDC                                         999.0                      $999.00
Celsius Network Limited               DIGITAL ASSET FUNDS MANAGEMENT PTY LTD                                                                        7/6/2022        Incoming             Lending Activity            BTC                                        0.1534                     $3,052.31
Celsius Network Limited               DIGITAL ASSET FUNDS MANAGEMENT PTY LTD                                                                        7/6/2022        Incoming             Lending Activity            ETH                                        1.5342                     $1,730.04
    Debtor Name: Celsius Network Limited
                                           22-10966-mg                             Doc 15          Filed 03/24/23 Entered 03/24/23 23:49:09
                                                                                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                    SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                                             Main Document                               Case Number: 22-10966



          CELSIUS ENTITY                                                            COUNTERPARTY
                                                                                                               Pg 45 of 77           Non-Retail Coin Transactions
                                                                                                                                                      DATE          TYPE                          TRANSACTION TYPE              COIN   COIN QUANTITY                         COIN USD
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                    7/6/2022        Incoming             Lending Activity            EOS                                      799.92                      $784.37
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                    7/6/2022        Incoming             Lending Activity            XRP                               21,917.8082                      $7,056.86
Celsius Network Limited               FASANARA CAPITAL                                                                                              7/6/2022        Outgoing             Lending Activity            BTC                                       (14.2)                ($286,998.80)
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                    7/6/2022        Incoming             Lending Activity            BTC                                      5.0052                  $101,016.08
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                    7/6/2022        Incoming             Lending Activity            ETH                                    15.0917                    $17,216.53
Celsius Network Limited               FTX                                                                                                           7/6/2022        Outgoing             Exchange Activity           ETH                                  (20,000.0)              ($22,967,357.75)
Celsius Network Limited               AMBER TECHNOLOGIES LIMITED                                                                                    7/6/2022        Incoming             Lending Activity            ADA                               28,931.5068                     $13,258.54
Celsius Network Limited               FTX                                                                                                           7/6/2022        Outgoing             Exchange Activity           BAT                             (1,365,760.8)                   ($590,361.22)
Celsius Network Limited               FTX                                                                                                           7/6/2022        Outgoing             Exchange Activity           UNI                       (24,088.05222158)                     ($129,826.57)
Celsius Network Limited               DV CHAIN                                                                                                      7/6/2022        Incoming             Lending Activity            ETH‐AETH                                 1.2329                    $1,398.15
Celsius Network Limited               DV CHAIN                                                                                                      7/6/2022        Incoming             Lending Activity            USDT_ERC20                         6,082.1918                      $6,076.62
Celsius Network Limited               FTX                                                                                                           7/6/2022        Outgoing             Exchange Activity           WBTC                         (205.17430421)                   ($4,124,873.78)
Celsius Network Limited               FTX                                                                                                           7/6/2022        Incoming             Exchange Activity           USDC                                   14,999.0                   $14,999.00
Celsius Network Limited               FTX                                                                                                           7/6/2022        Incoming             Exchange Activity           AVAX                             37.99999999                         $696.27
Celsius Network Limited               FTX                                                                                                           7/6/2022        Outgoing             Exchange Activity           COMP                                 (2,915.42)                 ($134,455.21)
Celsius Network Limited               FTX                                                                                                           7/7/2022        Outgoing             Exchange Activity           BNT                   (1,280,908.37156246)                      ($639,481.41)
Celsius Network Limited               FTX                                                                                                           7/7/2022        Incoming             Exchange Activity           USDC                             50,000,000.0                 $50,000,000.00
Celsius Network Limited               FTX                                                                                                           7/7/2022        Outgoing             Exchange Activity           ZRX                             (4,000,000.0)                 ($1,221,121.89)
Celsius Network Limited               FTX                                                                                                           7/7/2022        Outgoing             Exchange Activity           WBTC                                     (0.001)                     ($20.43)
Celsius Network Limited               BITFINEX                                                                                                      7/7/2022        Incoming             Exchange Activity           USDT_ERC20                           502,500.0                   $502,117.61
Celsius Network Limited               AUROS TECH LIMITED                                                                                            7/7/2022        Incoming             Lending Activity            AVAX                                  104.7124                     $2,069.95
Celsius Network Limited               AUROS TECH LIMITED                                                                                            7/7/2022        Incoming             Lending Activity            ADA                                22,056.507                     $10,363.57
Celsius Network Limited               AUROS TECH LIMITED                                                                                            7/7/2022        Incoming             Lending Activity            BNB_BSC                                  2.8356                      $678.00
Celsius Network Limited               AUROS TECH LIMITED                                                                                            7/7/2022        Incoming             Lending Activity            BCH                                    53.8904                     $5,803.01
Celsius Network Limited               FASANARA CAPITAL                                                                                              7/7/2022        Incoming             Lending Activity            BNB_BSC                                93.6992                    $22,403.70
Celsius Network Limited               BITFINEX                                                                                                      7/7/2022        Incoming             Exchange Activity           USDT_ERC20                       11,595,490.0                 $11,586,755.72
Celsius Network Limited               AUROS TECH LIMITED                                                                                            7/7/2022        Incoming             Lending Activity            LINK                                  245.9589                     $1,637.69
Celsius Network Limited               0xA83DB6BeACdb367645F5B1ac3Be20fA6C40Af1ca                                                                    7/7/2022        Incoming             Blockchain Transaction      CEL                                      4.2069                        $3.53
Celsius Network Limited               AUROS TECH LIMITED                                                                                            7/7/2022        Incoming             Lending Activity            DOGE                               6,575.3425                        $462.21
Celsius Network Limited               AUROS TECH LIMITED                                                                                            7/7/2022        Incoming             Lending Activity            FTT                                   105.9589                     $2,884.20
Celsius Network Limited               FTX                                                                                                           7/7/2022        Outgoing             Exchange Activity           WBTC                      (24,462.63012349)                 ($511,092,764.75)
Celsius Network Limited               AUROS TECH LIMITED                                                                                            7/7/2022        Incoming             Lending Activity            SOL                                   103.5616                     $3,970.57
Celsius Network Limited               AUROS TECH LIMITED                                                                                            7/7/2022        Incoming             Lending Activity            ZEC                                    24.9863                     $1,475.91
Celsius Network Limited               AUROS TECH LIMITED                                                                                            7/7/2022        Incoming             Lending Activity            EOS                                   496.4336                       $504.88
Celsius Network Limited               AUROS TECH LIMITED                                                                                            7/7/2022        Incoming             Lending Activity            XRP                               20,221.9178                      $6,768.84
Celsius Network Limited               AUROS TECH LIMITED                                                                                            7/7/2022        Incoming             Lending Activity            MANA                               6,188.3325                      $5,736.79
Celsius Network Limited               FTX                                                                                                           7/7/2022        Outgoing             Exchange Activity           BTC                                      (69.92)              ($1,459,872.36)
Celsius Network Limited               LUOJI2017 LIMITED                                                                                             7/7/2022        Incoming             Lending Activity            BNB_BSC                               218.6137                    $52,821.11
Celsius Network Limited               LUOJI2017 LIMITED                                                                                             7/7/2022        Incoming             Lending Activity            ETH                                    10.5438                    $12,845.31
Celsius Network Limited               AUROS TECH LIMITED                                                                                            7/7/2022        Incoming             Lending Activity            LTC                                   179.5069                     $9,200.66
Celsius Network Limited               AUROS TECH LIMITED                                                                                            7/7/2022        Incoming             Lending Activity            ETH                                      18.411                   $22,627.99
Celsius Network Limited               AUROS TECH LIMITED                                                                                            7/7/2022        Incoming             Lending Activity            ZRX                               14,858.2191                      $4,644.13
Celsius Network Limited               B2C2 LTD                                                                                                      7/7/2022        Incoming             Lending Activity            XTZ                                1,208.2192                      $1,876.38
Celsius Network Limited               B2C2 LTD                                                                                                      7/7/2022        Incoming             Lending Activity            ETC                                   248.6301                     $3,941.22
Celsius Network Limited               B2C2 LTD                                                                                                      7/7/2022        Incoming             Lending Activity            EOS                                1,027.3973                      $1,055.35
Celsius Network Limited               B2C2 LTD                                                                                                      7/7/2022        Incoming             Lending Activity            USDT_ERC20                      110,958.9041                     $110,878.56
Celsius Network Limited               B2C2 LTD                                                                                                      7/7/2022        Incoming             Lending Activity            UNI                                   465.6165                     $2,671.01
Celsius Network Limited               AUROS TECH LIMITED                                                                                            7/7/2022        Incoming             Lending Activity            XTZ                                    719.178                     $1,124.07
Celsius Network Limited               FALCONX LIMITED                                                                                               7/8/2022        Incoming             Lending Activity            CRV                                    4,949.73                    $5,137.59
Celsius Network Limited               FALCONX LIMITED                                                                                               7/8/2022        Incoming             Lending Activity            XRP                                    1,111.23                      $389.83
Celsius Network Limited               FALCONX LIMITED                                                                                               7/8/2022        Incoming             Lending Activity            ADA                                15,649.315                      $7,474.50
Celsius Network Limited               FALCONX LIMITED                                                                                               7/8/2022        Incoming             Lending Activity            LTC                                   105.2054                     $5,563.06
Celsius Network Limited               FALCONX LIMITED                                                                                               7/8/2022        Incoming             Lending Activity            COMP                                       2.138                     $102.63
Celsius Network Limited               FALCONX LIMITED                                                                                               7/8/2022        Incoming             Lending Activity            UNI                                      322.32                    $1,860.55
Celsius Network Limited               FALCONX LIMITED                                                                                               7/8/2022        Incoming             Lending Activity            SUSHI                                    245.63                      $291.76
Celsius Network Limited               FALCONX LIMITED                                                                                               7/8/2022        Incoming             Lending Activity            DOT                                           3.0                     $21.66
Celsius Network Limited               FALCONX LIMITED                                                                                               7/8/2022        Incoming             Lending Activity            AAVE                                       17.72                   $1,266.09
Celsius Network Limited               FTX                                                                                                           7/8/2022        Outgoing             Exchange Activity           ETH                                  (24,000.0)              ($29,135,645.03)
Celsius Network Limited               FTX                                                                                                           7/8/2022        Outgoing             Exchange Activity           SNX                             (1,000,000.0)                 ($2,540,191.19)
Celsius Network Limited               FTX                                                                                                           7/8/2022        Outgoing             Exchange Activity           LINK                            (2,000,000.0)                ($12,865,899.75)
Celsius Network Limited               FTX                                                                                                           7/8/2022        Outgoing             Exchange Activity           BAT                             (2,000,000.0)                   ($871,738.71)
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                               7/8/2022        Incoming             Lending Activity            BNB_BSC                                    2.068                     $494.65
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                               7/8/2022        Incoming             Lending Activity            USDT_ERC20                               8.9041                        $8.90
Celsius Network Limited               WINCENT INVESTMENT FUND PCC LTD                                                                               7/8/2022        Incoming             Lending Activity            USDT_ERC20                             10,950.0                   $10,943.57
Celsius Network Limited               FTX                                                                                                           7/8/2022        Incoming             Exchange Activity           USDC                             10,000,000.0                 $10,000,000.00
Celsius Network Limited               BITFINEX                                                                                                      7/8/2022        Outgoing             Exchange Activity           ADA                     (14,337,109.616867)                   ($6,732,050.16)
Celsius Network Limited               FASANARA CAPITAL                                                                                              7/8/2022        Incoming             Lending Activity            FTT                                        283.3                   $7,654.77
Celsius Network Limited               FTX                                                                                                           7/8/2022        Outgoing             Exchange Activity           DOT                    (223,194.181799994)                    ($1,569,692.22)
Celsius Network Limited               WINTERMUTE                                                                                                    7/8/2022        Incoming             Lending Activity            BAT                                  10,282.19                     $4,472.15
Celsius Network Limited               WINTERMUTE                                                                                                    7/8/2022        Incoming             Lending Activity            EOS                                    1,527.53                    $1,576.37
Celsius Network Limited               WINTERMUTE                                                                                                    7/8/2022        Incoming             Lending Activity            KNC                                      665.75                      $934.51
Celsius Network Limited               WINTERMUTE                                                                                                    7/8/2022        Incoming             Lending Activity            LINK                                       99.86                     $647.12
Celsius Network Limited               WINTERMUTE                                                                                                    7/8/2022        Incoming             Lending Activity            MANA                                   1,331.51                    $1,218.46
Celsius Network Limited               WINTERMUTE                                                                                                    7/8/2022        Incoming             Lending Activity            OMG                                      924.66                    $1,777.73
Celsius Network Limited               WINTERMUTE                                                                                                    7/8/2022        Incoming             Lending Activity            SNX                                      619.52                    $1,588.29
Celsius Network Limited               WINTERMUTE                                                                                                    7/8/2022        Incoming             Lending Activity            UNI                                    3,328.77                   $19,477.43
Celsius Network Limited               WINTERMUTE                                                                                                    7/8/2022        Incoming             Lending Activity            USDT_ERC20                           74,794.52                    $74,751.39
Celsius Network Limited               FALCONX LIMITED                                                                                               7/8/2022        Incoming             Lending Activity            DOT                                5,411.2666                     $38,389.28
Celsius Network Limited               FTX                                                                                                           7/9/2022        Outgoing             Exchange Activity           SOL_SRM_R62M                     (230,249.27)                   ($217,853.11)
Celsius Network Limited               0xC7bfA9c041E3eF9D515383d71B63f025CE09D0B7                                                                    7/9/2022        Incoming             Blockchain Transaction      CEL                                           1.0                      $0.96
Celsius Network Limited               WINTERMUTE                                                                                                    7/9/2022        Outgoing             OTC Transaction             WBTC                                     (0.001)                     ($21.61)
Celsius Network Limited               WINTERMUTE                                                                                                    7/10/2022       Outgoing             OTC Transaction             WBTC                               (1,999.999)               ($43,184,390.56)
Celsius Network Limited               GALAXY DIGITAL                                                                                                7/10/2022       Outgoing             OTC Transaction             WBTC                                  (2,000.0)              ($42,843,093.44)
Celsius Network Limited               FTX                                                                                                           7/10/2022       Outgoing             Exchange Activity           BTC                          (199.99995507)                   ($4,241,891.16)
Celsius Network Limited               BITFINEX                                                                                                      7/10/2022       Outgoing             Exchange Activity           ADA                     (10,011,317.861314)                   ($4,682,204.09)
Celsius Network Limited               BITFINEX                                                                                                      7/10/2022       Outgoing             Exchange Activity           XLM                            (10,000,000.0)                 ($1,109,060.87)
Celsius Network Limited               FTX                                                                                                           7/10/2022       Outgoing             Exchange Activity           BTC                                      (750.0)             ($15,922,999.88)
Celsius Network Limited               FTX                                                                                                           7/10/2022       Outgoing             Exchange Activity           BTC                        (1,049.99995815)                  ($21,861,323.18)
Celsius Network Limited               FTX                                                                                                           7/10/2022       Incoming             Exchange Activity           USDC                             20,000,000.0                 $20,000,000.00
Celsius Network Limited               FTX                                                                                                           7/11/2022       Outgoing             Exchange Activity           BTC                                   (1,400.0)              ($29,204,629.15)
Celsius Network Limited               FTX                                                                                                           7/11/2022       Outgoing             Exchange Activity           BTC                          (519.99995931)                  ($10,822,609.24)
Celsius Network Limited               FTX                                                                                                           7/11/2022       Incoming             Exchange Activity           USDC                             75,000,000.0                 $75,000,000.00
Celsius Network Limited               BITFINEX                                                                                                      7/11/2022       Outgoing             Exchange Activity           ADA                     (34,999,999.611314)                  ($15,943,836.95)
Celsius Network Limited               BITFINEX                                                                                                      7/11/2022       Incoming             Exchange Activity           USDT_ERC20                         8,538,650.0                 $8,533,545.30
Celsius Network Limited               WINTERMUTE                                                                                                    7/11/2022       Outgoing             OTC Transaction             WBTC                                  (1,000.0)              ($20,380,054.73)
Celsius Network Limited               DUNAMIS TRADING III LTD                                                                                       7/11/2022       Incoming             Lending Activity            BTC                                      0.0986                    $2,009.47
Celsius Network Limited               DUNAMIS TRADING III LTD                                                                                       7/11/2022       Incoming             Lending Activity            DOT                                   128.4247                       $871.67
Celsius Network Limited               FTX                                                                                                           7/11/2022       Outgoing             Exchange Activity           BNB_BSC                     (317.216048206)                      ($73,256.68)
Celsius Network Limited               0xc36442b4a4522e871399cd717abdd847ab11fe88                                                                    7/11/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                               400.0               Undetermined
Celsius Network Limited               BITFINEX                                                                                                      7/11/2022       Incoming             Exchange Activity           USDT_ERC20                       12,108,000.0                 $12,099,490.64
Celsius Network Limited               FTX                                                                                                           7/11/2022       Outgoing             Exchange Activity           USDT_ERC20                      (2,600,000.0)                 ($2,598,172.75)
Celsius Network Limited               AUROS TECH LIMITED                                                                                            7/11/2022       Incoming             Lending Activity            BTC                                      2.6926                   $55,041.72
Celsius Network Limited               AUROS TECH LIMITED                                                                                            7/11/2022       Incoming             Lending Activity            XLM                               82,684.9315                      $8,712.08
Celsius Network Limited               FTX                                                                                                           7/12/2022       Outgoing             Exchange Activity           BTC                                   (1,000.0)              ($19,908,180.91)
Celsius Network Limited               FTX                                                                                                           7/12/2022       Incoming             Exchange Activity           USDC                             63,500,000.0                 $63,500,000.00
Celsius Network Limited               BITFINEX                                                                                                      7/12/2022       Outgoing             Exchange Activity           XLM                            (10,000,000.0)                 ($1,024,364.61)
Celsius Network Limited               BITFINEX                                                                                                      7/12/2022       Outgoing             Exchange Activity           EOS                           (751,154.6641)                    ($700,421.61)
Celsius Network Limited               FTX                                                                                                           7/12/2022       Outgoing             Exchange Activity           COMP                   (14,847.3007769941)                      ($723,254.43)
Celsius Network Limited               FTX                                                                                                           7/12/2022       Outgoing             Exchange Activity           UNI                                (208,000.0)                ($1,184,253.08)
Celsius Network Limited               FTX                                                                                                           7/12/2022       Outgoing             Exchange Activity           MANA                            (1,016,430.0)                   ($823,661.11)
Celsius Network Limited               FTX                                                                                                           7/12/2022       Incoming             Exchange Activity           AVAX                           246.50000001                        $4,362.56
Celsius Network Limited               FTX                                                                                                           7/12/2022       Outgoing             Exchange Activity           CRV                    (173,705.903442724)                      ($156,863.69)
Celsius Network Limited               FTX                                                                                                           7/12/2022       Outgoing             Exchange Activity           SUSHI                              (127,030.0)                  ($147,584.65)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            7/12/2022       Incoming             Lending Activity            SOL                              22.55079452                         $765.55
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            7/12/2022       Incoming             Lending Activity            MANA                           167.67123288                          $135.97
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            7/12/2022       Incoming             Lending Activity            LTC                               1.65082192                          $80.16
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            7/12/2022       Incoming             Lending Activity            BCH                               0.66378082                          $66.31
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            7/12/2022       Incoming             Lending Activity            USDT_ERC20                    51,666.666666                       $51,629.95
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            7/12/2022       Incoming             Lending Activity            LINK                             14.16666667                          $87.87
Celsius Network Limited               FTX                                                                                                           7/12/2022       Incoming             Exchange Activity           USDC                               8,499,999.0                 $8,499,999.00
Celsius Network Limited               FTX                                                                                                           7/12/2022       Incoming             Exchange Activity           PAX                                2,599,999.0                 $2,597,090.94
Celsius Network Limited               PAXOS                                                                                                         7/12/2022       Outgoing             Exchange Activity           PAX                             (2,599,999.0)                 ($2,597,090.94)
Celsius Network Limited               CUMBERLAND DRW LLC                                                                                            7/12/2022       Incoming             Lending Activity            BTC                               2.43749999                      $47,359.59
Celsius Network Limited               CIRCLE / PAXOS                                                                                                7/12/2022       Incoming             Coin Minting / Redemption   PAXG                     1,501.77748465995                     $2,595,706.86
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          7/13/2022       Incoming             Lending Activity            BTC                                        0.001                      $19.41
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          7/13/2022       Incoming             Lending Activity            BTC                                    199.999                 $3,903,037.16
Celsius Network Limited               FTX                                                                                                           7/13/2022       Outgoing             Exchange Activity           BTC                          (200.00469362)                   ($3,955,761.69)
Celsius Network Limited               FTX                                                                                                           7/13/2022       Incoming             Exchange Activity           FTT                                587,874.69                 $14,438,202.39
Celsius Network Limited               FTX                                                                                                           7/13/2022       Incoming             Exchange Activity           USDC                             29,000,000.0                 $29,000,000.00
Celsius Network Limited               0xc36442b4a4522e871399cd717abdd847ab11fe88                                                                    7/13/2022       Incoming             Blockchain Transaction      ERC‐20 TOKEN                               400.0               Undetermined
Celsius Network Limited               FTX                                                                                                           7/13/2022       Incoming             Exchange Activity           USDC                             13,000,000.0                 $13,000,000.00
Celsius Network Limited               BITFINEX                                                                                                      7/13/2022       Incoming             Exchange Activity           USDT_ERC20                       15,716,090.0                 $15,705,676.62
Celsius Network Limited               BITFINEX                                                                                                      7/13/2022       Incoming             Exchange Activity           USDT_ERC20                 9,189,542.124183                    $9,183,453.19
Celsius Network Limited               FTX                                                                                                           7/13/2022       Outgoing             Exchange Activity           COMP                    (62.6359544855135)                        ($2,878.00)
Celsius Network Limited               B2C2 LTD                                                                                                      7/13/2022       Incoming             Lending Activity            BTC                                         0.34                   $6,617.44
Celsius Network Limited               B2C2 LTD                                                                                                      7/13/2022       Incoming             Lending Activity            ETC                                         0.74                      $10.23
Celsius Network Limited               B2C2 LTD                                                                                                      7/13/2022       Incoming             Lending Activity            UNI                                         0.53                       $2.93
Celsius Network Limited               B2C2 LTD                                                                                                      7/13/2022       Incoming             Lending Activity            EOS                                         0.21                       $0.19
Celsius Network Limited               B2C2 LTD                                                                                                      7/13/2022       Incoming             Lending Activity            USDT_ERC20                                  2.19                       $2.19
Celsius Network Limited               B2C2 LTD                                                                                                      7/13/2022       Incoming             Lending Activity            BTC                                         62.0               $1,199,945.96
Celsius Network Limited               B2C2 LTD                                                                                                      7/13/2022       Outgoing             Lending Activity            USDC                            (1,230,000.0)                 ($1,230,000.00)
Celsius Network Limited               FALCONX LIMITED                                                                                               7/13/2022       Outgoing             OTC Transaction             WBTC                                     (0.001)                     ($19.58)
Celsius Network Limited               B2C2 LTD                                                                                                      7/13/2022       Incoming             Lending Activity            BTC                                         61.0               $1,194,561.33
Celsius Network Limited               B2C2 LTD                                                                                                      7/13/2022       Outgoing             Lending Activity            USDC                            (1,210,000.0)                 ($1,210,000.00)
Celsius Network Limited               GSR MARKETS LIMITED                                                                                           7/13/2022       Incoming             Lending Activity            XRP                               70,621.9178                     $22,328.07
Celsius Network Limited               B2C2 LTD                                                                                                      7/13/2022       Incoming             Lending Activity            BTC                                         60.0               $1,187,802.12
Celsius Network Limited               B2C2 LTD                                                                                                      7/13/2022       Outgoing             Lending Activity            USDC                            (1,190,000.0)                 ($1,190,000.00)
Celsius Network Limited               B2C2 LTD                                                                                                      7/13/2022       Incoming             Lending Activity            BTC                                         59.0               $1,168,005.42
Celsius Network Limited               FTX                                                                                                           7/13/2022       Outgoing             Exchange Activity           USDC                     (7,007,584.150068)                   ($7,007,584.15)
Celsius Network Limited               B2C2 LTD                                                                                                      7/13/2022       Outgoing             Lending Activity            USDC                            (1,170,000.0)                 ($1,170,000.00)
Celsius Network Limited               B2C2 LTD                                                                                                      7/13/2022       Incoming             Lending Activity            BTC                                         58.0               $1,151,640.28
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          7/13/2022       Incoming             Lending Activity            BTC                                     1,800.0               $35,740,560.33
Celsius Network Limited               B2C2 LTD                                                                                                      7/13/2022       Outgoing             Lending Activity            USDC                            (1,150,000.0)                 ($1,150,000.00)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          7/13/2022       Outgoing             Lending Activity            FTT                                         (1.0)                    ($24.48)
Celsius Network Limited               B2C2 LTD                                                                                                      7/13/2022       Incoming             Lending Activity            BTC                                         19.0                 $377,261.47
Celsius Network Limited               FALCONX LIMITED                                                                                               7/13/2022       Outgoing             OTC Transaction             WBTC                               (2,999.999)               ($59,567,580.70)
Celsius Network Limited               B2C2 LTD                                                                                                      7/13/2022       Outgoing             Lending Activity            USDC                            (1,030,000.0)                 ($1,030,000.00)
Celsius Network Limited               B2C2 LTD                                                                                                      7/13/2022       Outgoing             Lending Activity            USDC                            (1,250,000.0)                 ($1,250,000.00)
Celsius Network Limited               ALAMEDA RESEARCH LTD                                                                                          7/13/2022       Outgoing             Lending Activity            FTT                              (150,169.77)                 ($3,655,132.20)
Celsius Network Limited               FTX                                                                                                           7/13/2022       Incoming             Exchange Activity           ETH                          8,408.02566355                    $9,125,968.29
    Debtor Name: Celsius Network Limited
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                                                                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                          SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case
                                                                                                                                                                                                     Main Document                             Case Number: 22-10966



          CELSIUS ENTITY                                  COUNTERPARTY
                                                                                     Pg 46 of 77           Non-Retail Coin Transactions
                                                                                                                            DATE          TYPE                           TRANSACTION TYPE                COIN   COIN QUANTITY                      COIN USD
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            USDC                                   21,729.0                  $21,729.00
Celsius Network Limited               B2C2 LTD                                                                            7/13/2022       Outgoing             Lending Activity             USDC                           (1,791,726.03)                ($1,791,726.03)
Celsius Network Limited               B2C2 LTD                                                                            7/13/2022       Incoming             Lending Activity             USDT_ERC20                         4,000,000.0                $3,997,275.43
Celsius Network Limited               B2C2 LTD                                                                            7/13/2022       Outgoing             Lending Activity             ETH                                   (3,700.0)              ($4,025,784.80)
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            REN                                         90.0                     $11.07
Celsius Network Limited               B2C2 LTD                                                                            7/13/2022       Incoming             Lending Activity             USDT_ERC20                         3,900,000.0                $3,897,212.80
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            BTC                          4,113.06819957                  $81,229,395.28
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            WBTC                        10,628.43002797                 $209,901,927.74
Celsius Network Limited               B2C2 LTD                                                                            7/13/2022       Outgoing             Lending Activity             ETH                                   (3,610.0)              ($3,917,886.33)
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            MATIC                     7,503,020.7538755                   $4,339,161.97
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            DOGE                     12,301,957.0539578                     $742,218.81
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            AVAX                        34,064.97637255                     $610,169.20
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            REN                        599,887.72338659                      $73,813.79
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            UNI                                  10,829.75                   $62,111.99
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            BTC                              10.65010496                    $210,329.99
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            DOT                        251,082.68505283                   $1,585,751.86
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            LINK                       608,922.99003946                   $3,662,515.83
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            BNB_BSC                     12,597.09684476                   $2,837,465.41
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            BCH                               51,241.7111                 $5,097,957.24
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            LTC                         61,699.19055027                   $2,980,786.78
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            KNC                        737,454.70055476                     $917,250.78
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            PAXG                       11.083700946374                       $19,254.72
Celsius Network Limited               B2C2 LTD                                                                            7/13/2022       Incoming             Lending Activity             USDT_ERC20                         3,800,000.0                $3,797,015.02
Celsius Network Limited               B2C2 LTD                                                                            7/13/2022       Outgoing             Lending Activity             ETH                                  (2,547.91)              ($2,745,043.28)
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            CEL                             227,190.7194                    $198,274.23
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            XAUT2                             850.051415                  $1,480,443.10
Celsius Network Limited               B2C2 LTD                                                                            7/13/2022       Incoming             Lending Activity             USDT_ERC20                         3,348,080.0                $3,345,450.02
Celsius Network Limited               B2C2 LTD                                                                            7/13/2022       Incoming             Lending Activity             EOS                                  250,445.0                  $230,211.17
Celsius Network Limited               B2C2 LTD                                                                            7/13/2022       Outgoing             Lending Activity             BTC                                     (12.03)                ($236,544.50)
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            XRP                          247,537.440908                      $78,642.81
Celsius Network Limited               B2C2 LTD                                                                            7/13/2022       Outgoing             Lending Activity             BTC                                     (12.48)                ($244,966.57)
Celsius Network Limited               B2C2 LTD                                                                            7/13/2022       Incoming             Lending Activity             UNI                                  120,117.0                  $684,924.05
Celsius Network Limited               BITFINEX                                                                            7/13/2022       Incoming             Exchange Activity            USDT_ERC20                         1,601,220.0                $1,600,108.74
Celsius Network Limited               B2C2 LTD                                                                            7/13/2022       Outgoing             Lending Activity             BTC                                     (20.05)                ($394,175.46)
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            SUSHI                      157,431.81209056                     $184,674.00
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            ZRX                                3,999,995.0                $1,088,437.55
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            USDC                            9,498.238844                      $9,498.24
Celsius Network Limited               B2C2 LTD                                                                            7/13/2022       Incoming             Lending Activity             UNI                                  86,084.23                  $490,355.98
Celsius Network Limited               B2C2 LTD                                                                            7/13/2022       Outgoing             Lending Activity             BTC                                     (15.37)                ($303,596.33)
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            BTC                                 6.9099606                   $137,734.64
Celsius Network Limited               FTX                                                                                 7/13/2022       Incoming             Exchange Activity            BNT                      1,273,754.81347048                     $578,041.50
Celsius Network Limited               B2C2 LTD                                                                            7/14/2022       Outgoing             Lending Activity             BTC                                       (0.71)                ($14,042.75)
Celsius Network Limited               B2C2 LTD                                                                            7/14/2022       Outgoing             Lending Activity             BTC                                     (10.63)                ($210,245.75)
Celsius Network Limited               B2C2 LTD                                                                            7/14/2022       Outgoing             Lending Activity             BTC                                     (10.62)                ($209,865.83)
Celsius Network Limited               B2C2 LTD                                                                            7/14/2022       Outgoing             Lending Activity             BTC                                       (9.55)               ($197,395.37)
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                         Statement of Financial Affairs 4
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                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                      Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
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                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN       COIN QUANTITY                  COIN USD
   Celsius Network Limited             Celsius Network LLC                               7/13/2021   Outgoing      Intercompany Coin Movement     1INCH                 (40,152.2614460997)                 ($95,426.74)
   Celsius Network Limited             Celsius Network LLC                               7/13/2021   Outgoing      Intercompany Coin Movement     1INCH                 (6,615.00006497519)                 ($15,721.35)
   Celsius Network Limited             Celsius Network LLC                               7/13/2021   Outgoing      Intercompany Coin Movement     UNI                                 (35,000.0)           ($664,617.17)
   Celsius Network Limited             Celsius Network LLC                               7/13/2021   Outgoing      Intercompany Coin Movement     ZRX                   (437,399.619111404)                ($318,584.84)
   Celsius Network Limited             Celsius Network LLC                               7/13/2021   Outgoing      Intercompany Coin Movement     LINK                                (60,000.0)         ($1,038,102.33)
   Celsius Network Limited             Celsius Network LLC                               7/13/2021   Incoming      Intercompany Coin Movement     1INCH                   40,152.2614460997                  $94,560.69
   Celsius Network Limited             Celsius Network LLC                               7/13/2021   Incoming      Intercompany Coin Movement     ALPHA                  1,513,086.75473983               $1,075,040.48
   Celsius Network Limited             Celsius Network LLC                               7/13/2021   Incoming      Intercompany Coin Movement     SNX                                  300,000.0          $3,436,546.94
   Celsius Network Limited             Celsius Network LLC                               7/13/2021   Incoming      Intercompany Coin Movement     BTC                                     1,000.0        $32,519,354.70
   Celsius Network Limited             Celsius Network LLC                               7/13/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                        2,000,000.0           $2,001,191.52
   Celsius Network Limited             Celsius Network LLC                               7/13/2021   Incoming      Intercompany Coin Movement     CREAM                   3,677.10383514073                 $590,436.00
   Celsius Network Limited             Celsius Network LLC                               7/13/2021   Incoming      Intercompany Coin Movement     ETH                                     1,050.0         $2,072,716.33
   Celsius Network Limited             Celsius Network LLC                               7/13/2021   Incoming      Intercompany Coin Movement     BCHA                         4,887.62192971               $125,336.11
   Celsius Network Limited             Celsius Network LLC                               7/13/2021   Incoming      Intercompany Coin Movement     KNC                                  300,000.0            $594,846.41
   Celsius Network Limited             Celsius Network LLC                               7/13/2021   Incoming      Intercompany Coin Movement     BCHA                           999.99999806                $25,652.36
   Celsius Network Limited             Celsius Network LLC                               7/13/2021   Incoming      Intercompany Coin Movement     BSV                                       825.0           $113,536.27
   Celsius Network Limited             Celsius Network LLC                               7/14/2021   Outgoing      Intercompany Coin Movement     USDC                      (34,898,846.6212)           ($34,907,866.48)
   Celsius Network Limited             Celsius Network LLC                               7/14/2021   Incoming      Intercompany Coin Movement     USDC                             30,000,000.0          $30,009,534.35
   Celsius Network Limited             Celsius Network LLC                               7/14/2021   Incoming      Intercompany Coin Movement     GUSD                             12,000,000.0          $11,989,301.18
   Celsius Network Limited             Celsius Network LLC                               7/14/2021   Incoming      Intercompany Coin Movement     USDT_ERC20               33,992,237.094454             $33,997,836.50
   Celsius Network Limited             Celsius Network EU UAB (LT)                       7/14/2021   Incoming      Intercompany Coin Movement     USDC                              4,000,000.0           $4,000,793.19
   Celsius Network Limited             Celsius Network LLC                               7/15/2021   Outgoing      Intercompany Coin Movement     WBTC                       (1,867.78114776)           ($59,185,195.38)
   Celsius Network Limited             Celsius Network LLC                               7/15/2021   Outgoing      Intercompany Coin Movement     MANA                          (962,523.6282)             ($632,962.98)
   Celsius Network Limited             Celsius Network LLC                               7/15/2021   Incoming      Intercompany Coin Movement     BNB_BSC                                 1,600.0           $502,533.44
   Celsius Network Limited             Celsius Network LLC                               7/15/2021   Incoming      Intercompany Coin Movement     BTC                                     1,500.0        $47,653,153.01
   Celsius Network Limited             Celsius Network LLC                               7/15/2021   Incoming      Intercompany Coin Movement     WBTC                                      520.0        $16,417,532.64
   Celsius Network Limited             Celsius Network LLC                               7/16/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       14,000,000.0          $14,002,667.34
   Celsius Network Limited             Celsius Network LLC                               7/16/2021   Incoming      Intercompany Coin Movement     USDC                             11,000,000.0          $11,002,285.84
   Celsius Network Limited             Celsius Network LLC                               7/16/2021   Incoming      Intercompany Coin Movement     ETH                                     5,000.0         $9,498,992.27
   Celsius Network Limited             Celsius Network LLC                               7/16/2021   Incoming      Intercompany Coin Movement     DOT                                  305,000.0          $3,780,646.18
   Celsius Network Limited             Celsius Network EU UAB (LT)                       7/16/2021   Incoming      Intercompany Coin Movement     USDC                              3,600,000.0           $3,600,806.82
   Celsius Network Limited             Celsius Network LLC                               7/19/2021   Incoming      Intercompany Coin Movement     LINK                                  35,000.0            $513,946.87
   Celsius Network Limited             Celsius Network LLC                               7/19/2021   Incoming      Intercompany Coin Movement     ETC                                   10,000.0            $407,889.39
   Celsius Network Limited             Celsius Network LLC                               7/19/2021   Incoming      Intercompany Coin Movement     USDC                             32,000,000.0          $32,015,078.29
   Celsius Network Limited             Celsius Network LLC                               7/19/2021   Incoming      Intercompany Coin Movement     DOT                                  100,000.0          $1,151,365.85
   Celsius Network Limited             Celsius Network EU UAB (LT)                       7/19/2021   Incoming      Intercompany Coin Movement     USDC                                 364,489.0            $364,660.75
   Celsius Network Limited             Celsius Network LLC                               7/20/2021   Outgoing      Intercompany Coin Movement     USDC                           (20,000,000.0)         ($20,003,888.16)
   Celsius Network Limited             Celsius Network LLC                               7/20/2021   Incoming      Intercompany Coin Movement     COMP                                    1,000.0           $320,510.91
   Celsius Network Limited             Celsius Network LLC                               7/20/2021   Incoming      Intercompany Coin Movement     EOS                                  144,000.0            $460,229.61
   Celsius Network Limited             Celsius Network LLC                               7/20/2021   Incoming      Intercompany Coin Movement     ETH                                     2,750.0         $4,855,286.29
   Celsius Network Limited             Celsius Network LLC                               7/20/2021   Incoming      Intercompany Coin Movement     USDT_ERC20               17,507,278.551411             $17,511,623.33
   Celsius Network Limited             Celsius Network LLC                               7/21/2021   Outgoing      Intercompany Coin Movement     USDC                            (8,000,000.0)          ($8,000,237.75)
   Celsius Network Limited             Celsius Network LLC                               7/21/2021   Outgoing      Intercompany Coin Movement     USDC                            (2,000,000.0)          ($2,000,059.44)
   Celsius Network Limited             Celsius Network LLC                               7/21/2021   Incoming      Intercompany Coin Movement     BTC                                       336.0        $10,322,941.72
   Celsius Network Limited             Celsius Network LLC                               7/21/2021   Incoming      Intercompany Coin Movement     ETH                                   20,000.0         $38,042,617.58
   Celsius Network Limited             Celsius Network LLC                               7/21/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       24,999,997.5          $25,003,217.01
   Celsius Network Limited             Celsius Network LLC                               7/22/2021   Outgoing      Intercompany Coin Movement     USDC                      (3,734,858.85996)            ($3,736,069.91)
   Celsius Network Limited             Celsius Network LLC                               7/22/2021   Outgoing      Intercompany Coin Movement     USDC                               (300,000.0)           ($300,097.28)
   Celsius Network Limited             Celsius Network LLC                               7/22/2021   Incoming      Intercompany Coin Movement     ZRX                                  500,000.0            $311,477.92
   Celsius Network Limited             Celsius Network LLC                               7/22/2021   Incoming      Intercompany Coin Movement     BNB_BSC                                   600.0           $176,455.71
   Celsius Network Limited             Celsius Network LLC                               7/22/2021   Incoming      Intercompany Coin Movement     BNB_ERC20                                 200.0                 $0.00
   Celsius Network Limited             Celsius Network LLC                               7/22/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       14,999,999.0          $14,996,465.16
   Celsius Network Limited             Celsius Network LLC                               7/22/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                        2,500,000.0           $2,499,411.03
   Celsius Network Limited             Celsius Network LLC                               7/22/2021   Incoming      Intercompany Coin Movement     USDC                     51,028,984.123279             $51,023,298.21
   Celsius Network Limited             Celsius Network LLC                               7/23/2021   Incoming      Intercompany Coin Movement     MANA                                 200,000.0            $125,001.07
   Celsius Network Limited             Celsius Network LLC                               7/23/2021   Incoming      Intercompany Coin Movement     SNX                                  225,000.0          $1,837,054.25
   Celsius Network Limited             Celsius Network LLC                               7/25/2021   Incoming      Intercompany Coin Movement     EOS                                  100,000.0            $363,421.80
   Celsius Network Limited             Celsius Network LLC                               7/26/2021   Outgoing      Intercompany Coin Movement     BTC                                   (6,000.0)      ($223,194,873.11)
   Celsius Network Limited             Celsius Network LLC                               7/26/2021   Outgoing      Intercompany Coin Movement     USDC                     (9,598,984.123279)            ($9,600,644.54)
   Celsius Network Limited             Celsius Network LLC                               7/26/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       12,000,000.0          $11,998,657.97
   Celsius Network Limited             Celsius Network LLC                               7/26/2021   Incoming      Intercompany Coin Movement     XLM                                          1.0                $0.26
   Celsius Network Limited             Celsius Network EU UAB (LT)                       7/26/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                 1,651,464.005962             $1,651,332.73
   Celsius Network Limited             Celsius Network EU UAB (LT)                       7/26/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                        1,500,000.0           $1,499,880.77
   Celsius Network Limited             Celsius Network LLC                               7/27/2021   Outgoing      Intercompany Coin Movement     ETH                                   (7,950.0)       ($18,408,600.61)
   Celsius Network Limited             Celsius Network LLC                               7/27/2021   Outgoing      Intercompany Coin Movement     USDC                           (49,999,985.0)         ($50,028,830.22)
   Celsius Network Limited             Celsius Network LLC                               7/27/2021   Outgoing      Intercompany Coin Movement     WBTC                                  (1,998.6)       ($76,002,499.42)
   Celsius Network Limited             Celsius Network LLC                               7/27/2021   Incoming      Intercompany Coin Movement     USDC                       5,523,785.032857             $5,523,885.57
   Celsius Network Limited             Celsius Network LLC                               7/27/2021   Incoming      Intercompany Coin Movement     DOT                                  200,000.0          $2,845,383.93
   Celsius Network Limited             Celsius Network LLC                               7/28/2021   Outgoing      Intercompany Coin Movement     GUSD                           (12,000,000.0)         ($11,933,234.18)
   Celsius Network Limited             Celsius Network LLC                               7/28/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20             (55,729,304.030069)            ($55,759,479.02)
   Celsius Network Limited             Celsius Network LLC                               7/28/2021   Outgoing      Intercompany Coin Movement     USDC                   (65,523,785.032857)            ($65,547,913.79)
   Celsius Network Limited             Celsius Network LLC                               7/28/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       50,000,000.0          $50,004,564.23
   Celsius Network Limited             Celsius Network LLC                               7/28/2021   Incoming      Intercompany Coin Movement     USDC                             50,000,000.0          $49,994,018.98
   Celsius Network Limited             Celsius Network LLC                               7/28/2021   Incoming      Intercompany Coin Movement     USDC                             10,000,000.0          $10,002,505.95
   Celsius Network Limited             Celsius Network LLC                               7/29/2021   Outgoing      Intercompany Coin Movement     WBTC                                    (999.3)       ($39,619,955.59)
   Celsius Network Limited             Celsius Network LLC                               7/29/2021   Outgoing      Intercompany Coin Movement     FTT                              (210,505.48)          ($6,718,900.57)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       7/29/2021   Outgoing      Intercompany Coin Movement     CEL                                (800,000.0)         ($4,825,169.53)
   Celsius Network Limited             Celsius Network LLC                               7/29/2021   Incoming      Intercompany Coin Movement     ETH                                     5,000.0        $11,542,195.75
   Celsius Network Limited             Celsius Network LLC                               7/29/2021   Incoming      Intercompany Coin Movement     1INCH                   46,767.2615110749                 $104,464.66
   Celsius Network Limited             Celsius Network LLC                               7/29/2021   Incoming      Intercompany Coin Movement     LUNA                                  70,001.0            $781,311.49
   Celsius Network Limited             Celsius Network EU UAB (LT)                        8/2/2021   Outgoing      Intercompany Coin Movement     CEL                                (200,000.0)         ($1,196,436.81)
   Celsius Network Limited             Celsius Network LLC                                8/2/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       4,718,733.33           $4,720,727.40
   Celsius Network Limited             Celsius Network LLC                                8/2/2021   Incoming      Intercompany Coin Movement     USDC                             13,717,893.0          $13,722,489.44
   Celsius Network Limited             Celsius Network LLC                                8/2/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       17,000,000.0          $17,009,333.54
   Celsius Network Limited             Celsius Network LLC                                8/3/2021   Incoming      Intercompany Coin Movement     ETH                                     5,000.0        $12,444,111.99
   Celsius Network Limited             Celsius Network LLC                                8/3/2021   Incoming      Intercompany Coin Movement     DOT                                  229,230.0          $4,018,433.75
   Celsius Network Limited             Celsius Network LLC                                8/4/2021   Incoming      Intercompany Coin Movement     LUNA                                  12,505.0            $180,298.43
   Celsius Network Limited             Celsius Network LLC                                8/4/2021   Incoming      Intercompany Coin Movement     ETH                                     5,000.0        $12,373,147.82
   Celsius Network Limited             Celsius Network LLC                                8/4/2021   Incoming      Intercompany Coin Movement     LTC                                   10,000.0          $1,366,616.71
   Celsius Network Limited             Celsius Network LLC                                8/4/2021   Incoming      Intercompany Coin Movement     ETH                                   20,000.0         $53,823,754.51
   Celsius Network Limited             Celsius Network LLC                                8/5/2021   Outgoing      Intercompany Coin Movement     FTT                             (1,000,000.0)         ($36,966,731.20)
   Celsius Network Limited             Celsius Network LLC                                8/5/2021   Outgoing      Intercompany Coin Movement     TRU                     (105,193.39756362)                ($67,275.37)
   Celsius Network Limited             Celsius Network LLC                                8/5/2021   Incoming      Intercompany Coin Movement     USDC                             25,000,000.0          $25,001,111.32
   Celsius Network Limited             Celsius Network LLC                                8/5/2021   Incoming      Intercompany Coin Movement     EOS                                  225,000.0            $927,617.74
   Celsius Network Limited             Celsius Network LLC                                8/5/2021   Incoming      Intercompany Coin Movement     USDC                     63,047,522.256813             $63,053,736.43
   Celsius Network Limited             Celsius Network LLC                                8/5/2021   Incoming      Intercompany Coin Movement     USDC                              6,000,000.0           $6,000,591.38
   Celsius Network Limited             Celsius Network LLC                                8/5/2021   Outgoing      Intercompany Coin Movement     TRU                     (105,193.39756362)                ($64,145.52)
   Celsius Network Limited             Celsius Network LLC                                8/6/2021   Incoming      Intercompany Coin Movement     PAXG                                 5,003.999          $8,860,356.87
   Celsius Network Limited             Celsius Network LLC                                8/6/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       10,000,000.0          $10,002,035.30
   Celsius Network Limited             Celsius Network LLC                                8/6/2021   Outgoing      Intercompany Coin Movement     PAXG                                  (5,005.0)        ($8,860,356.87)
   Celsius Network Limited             Celsius Network LLC                                8/7/2021   Incoming      Intercompany Coin Movement     USDC                              5,000,000.0           $4,999,705.12
   Celsius Network Limited             Celsius Network LLC                                8/7/2021   Incoming      Intercompany Coin Movement     USDC                             90,000,000.0          $89,978,467.17
   Celsius Network Limited             Celsius Network LLC                                8/7/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                        1,500,000.0           $1,500,451.58
   Celsius Network Limited             Celsius Network LLC                                8/9/2021   Incoming      Intercompany Coin Movement     ETH                                       500.0         $1,469,589.03
   Celsius Network Limited             Celsius Network LLC                                8/9/2021   Incoming      Intercompany Coin Movement     ETH                                     5,000.0        $14,695,890.28
   Celsius Network Limited             Celsius Network LLC                                8/9/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                        7,500,000.0           $7,502,194.92
   Celsius Network Limited             Celsius Network LLC                                8/9/2021   Incoming      Intercompany Coin Movement     SNX                                   33,150.0            $339,185.21
   Celsius Network Limited             Celsius Network LLC                                8/9/2021   Incoming      Intercompany Coin Movement     ETH                                   20,000.0         $62,870,246.39
   Celsius Network Limited             Celsius Network LLC                                8/9/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                        3,000,000.0           $3,000,333.77
   Celsius Network Limited             Celsius Network LLC                               8/10/2021   Outgoing      Intercompany Coin Movement     DOT                                        (1.0)              ($20.86)
   Celsius Network Limited             Celsius Network LLC                               8/10/2021   Outgoing      Intercompany Coin Movement     DOT                                        (1.0)              ($20.98)
   Celsius Network Limited             Celsius Network LLC                               8/10/2021   Outgoing      Intercompany Coin Movement     DOT                                (103,000.0)         ($2,121,372.73)
   Celsius Network Limited             Celsius Network LLC                               8/10/2021   Incoming      Intercompany Coin Movement     USDC                              5,000,000.0           $4,998,654.80
   Celsius Network Limited             Celsius Network LLC                               8/11/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                   (100,000,000.0)         ($100,009,037.07)
   Celsius Network Limited             Celsius Network LLC                               8/11/2021   Incoming      Intercompany Coin Movement     USDC                             40,000,000.0          $39,992,124.52
   Celsius Network Limited             Celsius Network LLC                               8/12/2021   Outgoing      Intercompany Coin Movement     USDC                   (17,170,166.325813)            ($17,173,805.98)
   Celsius Network Limited             Celsius Network LLC                               8/12/2021   Outgoing      Intercompany Coin Movement     USDC                               (95,643.74)            ($95,664.01)
   Celsius Network Limited             Celsius Network LLC                               8/12/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20             (14,391,824.502814)            ($14,400,082.50)
   Celsius Network Limited             Celsius Network LLC                               8/12/2021   Outgoing      Intercompany Coin Movement     XRP                            (10,000,000.0)          ($9,335,502.52)
   Celsius Network Limited             Celsius Network LLC                               8/12/2021   Outgoing      Intercompany Coin Movement     CEL                            (7,262,740.57)         ($45,063,187.04)
   Celsius Network Limited             Celsius Network LLC                               8/12/2021   Incoming      Intercompany Coin Movement     UNI                                  101,000.0          $2,903,412.06
   Celsius Network Limited             Celsius Network LLC                               8/12/2021   Incoming      Intercompany Coin Movement     GUSD                             10,000,000.0           $9,917,866.03
   Celsius Network Limited             Celsius Network LLC                               8/12/2021   Incoming      Intercompany Coin Movement     DOT                                   75,000.0          $1,529,986.15
   Celsius Network Limited             Celsius Network LLC                               8/12/2021   Incoming      Intercompany Coin Movement     SNX                                  100,000.0          $1,011,972.14
   Celsius Network Limited             Celsius Network LLC                               8/12/2021   Incoming      Intercompany Coin Movement     BNB_BSC                                 6,000.0         $2,259,462.02
   Celsius Network Limited             Celsius Network LLC                               8/13/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (4,000,000.0)          ($4,001,572.11)
   Celsius Network Limited             Celsius Network LLC                               8/13/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (1,000,000.0)          ($1,000,393.03)
   Celsius Network Limited             Celsius Network LLC                               8/13/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (4,000,000.0)          ($4,001,572.11)
   Celsius Network Limited             Celsius Network LLC                               8/13/2021   Incoming      Intercompany Coin Movement     USDC                              2,000,000.0           $2,000,031.94
   Celsius Network Limited             Celsius Network LLC                               8/13/2021   Incoming      Intercompany Coin Movement     USDC                                 500,000.0            $500,000.00
   Celsius Network Limited             Celsius Network LLC                               8/13/2021   Incoming      Intercompany Coin Movement     USDC                             20,000,000.0          $20,000,000.00
   Celsius Network Limited             Celsius Network LLC                               8/14/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                   (100,000,000.0)         ($100,080,181.32)
   Celsius Network Limited             Celsius Network LLC                               8/15/2021   Incoming      Intercompany Coin Movement     USDC                              5,000,000.0           $5,000,000.00
   Celsius Network Limited             Celsius Network LLC                               8/15/2021   Incoming      Intercompany Coin Movement     USDC                       2,496,520.151667             $2,496,520.15
   Celsius Network Limited             Celsius Network LLC                               8/15/2021   Incoming      Intercompany Coin Movement     USDC                              2,500,000.0           $2,500,000.00
   Celsius Network Limited             Celsius Network LLC                               8/16/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                   (175,000,000.0)         ($175,068,383.10)
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                    Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
                                                                                                    Pg       49    of   77
                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN       COIN QUANTITY                COIN USD
   Celsius Network Limited             Celsius Network LLC                               8/16/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                      20,000,000.0         $20,008,689.19
   Celsius Network Limited             Celsius Network LLC                               8/16/2021   Incoming      Intercompany Coin Movement     USDT_ERC20               65,015,819.449101           $65,042,006.07
   Celsius Network Limited             Celsius Network LLC                               8/16/2021   Incoming      Intercompany Coin Movement     MATIC                            5,000,000.0          $7,419,625.12
   Celsius Network Limited             Celsius Network LLC                               8/16/2021   Incoming      Intercompany Coin Movement     BTC                                    6,000.0      $277,712,232.89
   Celsius Network Limited             Celsius Network LLC                               8/16/2021   Incoming      Intercompany Coin Movement     LUNA                                 48,000.0         $1,047,980.79
   Celsius Network Limited             Celsius Network LLC                               8/16/2021   Incoming      Intercompany Coin Movement     GUSD                             7,000,000.0          $6,930,354.32
   Celsius Network Limited             Celsius Network LLC                               8/16/2021   Incoming      Intercompany Coin Movement     GUSD                             4,500,000.0          $4,455,227.78
   Celsius Network Limited             Celsius Network EU UAB (LT)                       8/16/2021   Incoming      Intercompany Coin Movement     USDC                      3,456,179.492773            $3,456,179.49
   Celsius Network Limited             Celsius Network LLC                               8/17/2021   Outgoing      Intercompany Coin Movement     ETH                                  (1,500.0)       ($4,859,679.65)
   Celsius Network Limited             Celsius Network LLC                               8/17/2021   Outgoing      Intercompany Coin Movement     GUSD                           (2,700,000.0)         ($2,703,443.57)
   Celsius Network Limited             Celsius Network LLC                               8/17/2021   Incoming      Intercompany Coin Movement     USDC                             4,500,000.0          $4,500,000.00
   Celsius Network Limited             Celsius Network LLC                               8/17/2021   Incoming      Intercompany Coin Movement     TUSD                             5,000,000.0          $4,999,032.08
   Celsius Network Limited             Celsius Network LLC                               8/17/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                      23,000,000.0         $23,006,837.40
   Celsius Network Limited             Celsius Network LLC                               8/17/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       7,000,000.0          $7,002,080.95
   Celsius Network Limited             Celsius Network LLC                               8/17/2021   Incoming      Intercompany Coin Movement     MKR                                      109.0          $400,969.67
   Celsius Network Limited             Celsius Network LLC                               8/17/2021   Incoming      Intercompany Coin Movement     YFI                                       25.6        $1,035,157.98
   Celsius Network Limited             Celsius Network LLC                               8/17/2021   Incoming      Intercompany Coin Movement     BAL                                  10,600.0           $313,349.64
   Celsius Network Limited             Celsius Network LLC                               8/17/2021   Incoming      Intercompany Coin Movement     REN                                 200,393.0           $112,668.30
   Celsius Network Limited             Celsius Network LLC                               8/17/2021   Incoming      Intercompany Coin Movement     USDC                            10,000,000.0         $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                               8/17/2021   Incoming      Intercompany Coin Movement     LUNA                                 88,000.0         $2,281,823.05
   Celsius Network Limited             Celsius Network LLC                               8/18/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                    (50,000,000.0)        ($50,014,130.57)
   Celsius Network Limited             Celsius Network LLC                               8/18/2021   Outgoing      Intercompany Coin Movement     SUSHI                           (3,088.4013)            ($40,572.60)
   Celsius Network Limited             Celsius Network LLC                               8/18/2021   Incoming      Intercompany Coin Movement     XLM                              3,000,000.0          $1,023,618.20
   Celsius Network Limited             Celsius Network LLC                               8/18/2021   Incoming      Intercompany Coin Movement     DASH                                   3,010.0          $587,266.26
   Celsius Network Limited             Celsius Network LLC                               8/18/2021   Incoming      Intercompany Coin Movement     USDC                             5,000,000.0          $5,000,000.00
   Celsius Network Limited             Celsius Network LLC                               8/18/2021   Incoming      Intercompany Coin Movement     DOT                                 350,000.0         $8,410,108.37
   Celsius Network Limited             Celsius Network LLC                               8/18/2021   Incoming      Intercompany Coin Movement     USDC                          110,000,000.0         $110,000,000.00
   Celsius Network Limited             Celsius Network LLC                               8/18/2021   Incoming      Intercompany Coin Movement     BNB_BSC                                5,500.0        $2,248,985.13
   Celsius Network Limited             Celsius Network LLC                               8/18/2021   Incoming      Intercompany Coin Movement     LUNA                                 25,000.0           $738,233.39
   Celsius Network Limited             Celsius Network LLC                               8/19/2021   Incoming      Intercompany Coin Movement     USDC                             5,000,000.0          $5,000,000.00
   Celsius Network Limited             Celsius Network LLC                               8/19/2021   Incoming      Intercompany Coin Movement     USDC                            10,000,000.0         $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                               8/19/2021   Incoming      Intercompany Coin Movement     USDC                            20,000,000.0         $20,000,000.00
   Celsius Network Limited             Celsius Network LLC                               8/20/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                    (20,000,000.0)        ($19,996,386.94)
   Celsius Network Limited             Celsius Network LLC                               8/20/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                    (80,000,000.0)        ($79,985,547.78)
   Celsius Network Limited             Celsius Network LLC                               8/20/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       2,500,000.0          $2,499,548.37
   Celsius Network Limited             Celsius Network LLC                               8/20/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                      13,000,000.0         $12,997,651.51
   Celsius Network Limited             Celsius Network LLC                               8/20/2021   Incoming      Intercompany Coin Movement     BTC                                  10,000.0       $455,358,711.40
   Celsius Network Limited             Celsius Network LLC                               8/20/2021   Incoming      Intercompany Coin Movement     USDC                            30,000,000.0         $30,000,000.00
   Celsius Network Limited             Celsius Network LLC                               8/20/2021   Incoming      Intercompany Coin Movement     USDC                                100,000.0           $100,000.00
   Celsius Network Limited             Celsius Network LLC                               8/20/2021   Incoming      Intercompany Coin Movement     UNI                                  50,000.0         $1,440,889.47
   Celsius Network Limited             Celsius Network LLC                               8/20/2021   Incoming      Intercompany Coin Movement     AAVE                                   2,500.0        $1,031,450.07
   Celsius Network Limited             Celsius Network LLC                               8/23/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                      35,000,000.0         $35,008,475.55
   Celsius Network Limited             Celsius Network LLC                               8/23/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                      25,000,000.0         $25,014,750.93
   Celsius Network Limited             Celsius Network LLC                               8/23/2021   Incoming      Intercompany Coin Movement     BTC                                    6,000.0      $295,478,435.57
   Celsius Network Limited             Celsius Network LLC                               8/24/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                  (200,000,000.0)        ($200,184,720.76)
   Celsius Network Limited             Celsius Network LLC                               8/24/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                    (35,000,000.0)        ($35,038,618.18)
   Celsius Network Limited             Celsius Network LLC                               8/24/2021   Outgoing      Intercompany Coin Movement     ETH                   (30,050.2178934338)           ($97,724,507.10)
   Celsius Network Limited             Celsius Network LLC                               8/24/2021   Outgoing      Intercompany Coin Movement     BTC                                  (1,000.0)      ($48,260,391.34)
   Celsius Network Limited             Celsius Network LLC                               8/24/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                    (20,000,000.0)        ($20,007,776.06)
   Celsius Network Limited             Celsius Network LLC                               8/24/2021   Incoming      Intercompany Coin Movement     USDC                            12,000,000.0         $12,000,000.00
   Celsius Network Limited             Celsius Network LLC                               8/24/2021   Incoming      Intercompany Coin Movement     USDC                            1,706,352.46          $1,706,352.46
   Celsius Network Limited             Celsius Network LLC                               8/24/2021   Incoming      Intercompany Coin Movement     USDC                             1,500,000.0          $1,500,000.00
   Celsius Network Limited             Celsius Network LLC                               8/24/2021   Incoming      Intercompany Coin Movement     USDC                             5,000,000.0          $5,000,000.00
   Celsius Network Limited             Celsius Network EU UAB (LT)                       8/24/2021   Incoming      Intercompany Coin Movement     USDC                             2,180,625.0          $2,180,625.00
   Celsius Network Limited             Celsius Network LLC                               8/25/2021   Outgoing      Intercompany Coin Movement     XRP                            (2,500,000.0)         ($2,861,320.46)
   Celsius Network Limited             Celsius Network LLC                               8/25/2021   Outgoing      Intercompany Coin Movement     UNI                                (35,000.0)          ($928,119.22)
   Celsius Network Limited             Celsius Network LLC                               8/25/2021   Outgoing      Intercompany Coin Movement     LINK                              (100,000.0)        ($2,624,080.33)
   Celsius Network Limited             Celsius Network LLC                               8/25/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       3,000,000.0          $3,000,558.18
   Celsius Network Limited             Celsius Network LLC                               8/25/2021   Incoming      Intercompany Coin Movement     USDC                          100,000,000.0         $100,000,000.00
   Celsius Network Limited             Celsius Network LLC                               8/25/2021   Incoming      Intercompany Coin Movement     SUSHI                                16,874.0           $207,940.81
   Celsius Network Limited             Celsius Network LLC                               8/26/2021   Outgoing      Intercompany Coin Movement     ETH                                  (1,000.0)       ($3,098,500.17)
   Celsius Network Limited             Celsius Network LLC                               8/26/2021   Outgoing      Intercompany Coin Movement     UNI                   (45,518.3116917809)            ($1,185,341.51)
   Celsius Network Limited             Celsius Network LLC                               8/26/2021   Outgoing      Intercompany Coin Movement     ETH                                  (5,000.0)      ($15,589,723.63)
   Celsius Network Limited             Celsius Network LLC                               8/26/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       7,000,000.0          $7,002,704.42
   Celsius Network Limited             Celsius Network LLC                               8/26/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       1,510,000.0          $1,510,485.04
   Celsius Network Limited             Celsius Network LLC                               8/26/2021   Incoming      Intercompany Coin Movement     ADA                                  17,368.0            $44,831.65
   Celsius Network Limited             Celsius Network LLC                               8/26/2021   Incoming      Intercompany Coin Movement     BNT                                 250,000.0         $1,088,324.36
   Celsius Network Limited             Celsius Network LLC                               8/26/2021   Incoming      Intercompany Coin Movement     BAT                                 120,000.0            $98,079.80
   Celsius Network Limited             Celsius Network LLC                               8/26/2021   Incoming      Intercompany Coin Movement     AAVE                                   2,420.0          $868,900.94
   Celsius Network Limited             Celsius Network LLC                               8/26/2021   Incoming      Intercompany Coin Movement     AAVE                                   2,420.0          $861,867.73
   Celsius Network Limited             Celsius Network LLC                               8/26/2021   Incoming      Intercompany Coin Movement     BAT                                 100,000.0            $80,741.25
   Celsius Network Limited             Celsius Network LLC                               8/26/2021   Incoming      Intercompany Coin Movement     BAT                              1,000,000.0            $807,412.50
   Celsius Network Limited             Celsius Network LLC                               8/26/2021   Incoming      Intercompany Coin Movement     BAT                                  50,000.0            $40,249.71
   Celsius Network Limited             Celsius Network LLC                               8/26/2021   Incoming      Intercompany Coin Movement     BAT                                  50,000.0            $39,870.32
   Celsius Network Limited             Celsius Network LLC                               8/28/2021   Incoming      Intercompany Coin Movement     USDC                             5,000,000.0          $5,000,000.00
   Celsius Network Limited             Celsius Network LLC                               8/30/2021   Incoming      Intercompany Coin Movement     XLM                              1,000,000.0            $342,239.36
   Celsius Network Limited             Celsius Network LLC                               8/30/2021   Incoming      Intercompany Coin Movement     USDC                            80,000,000.0         $80,000,000.00
   Celsius Network Limited             Celsius Network LLC                               8/30/2021   Incoming      Intercompany Coin Movement     BNT                                 118,205.0           $492,764.13
   Celsius Network Limited             Celsius Network LLC                               8/31/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20             (94,305,670.583901)          ($94,353,100.90)
   Celsius Network Limited             Celsius Network LLC                               8/31/2021   Outgoing      Intercompany Coin Movement     SUSHI                              (16,910.0)          ($202,247.58)
   Celsius Network Limited             Celsius Network LLC                               8/31/2021   Incoming      Intercompany Coin Movement     ADA                             20,000,000.0         $56,132,064.96
   Celsius Network Limited             Celsius Network LLC                               8/31/2021   Incoming      Intercompany Coin Movement     KNC                                 700,000.0         $1,336,867.79
   Celsius Network Limited             Celsius Network LLC                               8/31/2021   Incoming      Intercompany Coin Movement     KNC                     354,758.471712436               $667,023.51
   Celsius Network Limited             Celsius Network LLC                               8/31/2021   Incoming      Intercompany Coin Movement     KNC                     728,271.335720601             $1,373,849.25
   Celsius Network Limited             Celsius Network LLC                               8/31/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                      20,000,000.0         $20,009,166.82
   Celsius Network Limited             Celsius Network LLC                               8/31/2021   Incoming      Intercompany Coin Movement     USDC                            10,000,000.0         $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                                9/1/2021   Outgoing      Intercompany Coin Movement     USDC                          (13,750,000.0)        ($13,750,000.00)
   Celsius Network Limited             Celsius Network LLC                                9/1/2021   Outgoing      Intercompany Coin Movement     USDC                          (15,000,000.0)        ($15,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                9/1/2021   Incoming      Intercompany Coin Movement     BADGER                                    10.0             $246.25
   Celsius Network Limited             Celsius Network LLC                                9/1/2021   Incoming      Intercompany Coin Movement     ETH                                    4,000.0       $14,171,171.28
   Celsius Network Limited             Celsius Network LLC                                9/1/2021   Incoming      Intercompany Coin Movement     BSV                                    1,969.0          $330,495.91
   Celsius Network Limited             Celsius Network LLC                                9/1/2021   Incoming      Intercompany Coin Movement     ADA                              4,200,000.0         $11,878,346.38
   Celsius Network Limited             Celsius Network LLC                                9/1/2021   Incoming      Intercompany Coin Movement     BADGER                  25,151.3207894728               $629,188.95
   Celsius Network Limited             Celsius Network LLC                                9/1/2021   Incoming      Intercompany Coin Movement     ADA                                 620,000.0         $1,755,135.05
   Celsius Network Limited             Celsius Network LLC                                9/1/2021   Incoming      Intercompany Coin Movement     ADA                              3,000,000.0          $8,492,588.97
   Celsius Network Limited             Celsius Network LLC                                9/1/2021   Incoming      Intercompany Coin Movement     ADA                              1,025,000.0          $2,961,450.89
   Celsius Network Limited             Celsius Network LLC                                9/1/2021   Incoming      Intercompany Coin Movement     ADA                              4,000,000.0         $11,365,452.89
   Celsius Network Limited             Celsius Network LLC                                9/1/2021   Incoming      Intercompany Coin Movement     BTC                                    5,500.0      $266,207,964.39
   Celsius Network Limited             Celsius Network LLC                                9/1/2021   Incoming      Intercompany Coin Movement     ETH                                    5,000.0       $18,814,593.77
   Celsius Network Limited             Celsius Network LLC                                9/2/2021   Outgoing      Intercompany Coin Movement     DAI                               (100,000.0)          ($100,028.79)
   Celsius Network Limited             Celsius Network LLC                                9/2/2021   Outgoing      Intercompany Coin Movement     DAI                               (400,000.0)          ($400,230.19)
   Celsius Network Limited             Celsius Network LLC                                9/2/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                  (180,000,000.0)        ($180,071,271.07)
   Celsius Network Limited             Celsius Network LLC                                9/2/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                    (20,000,000.0)        ($20,007,919.01)
   Celsius Network Limited             Celsius Network LLC                                9/2/2021   Outgoing      Intercompany Coin Movement     ETH                                  (7,358.0)      ($27,920,120.61)
   Celsius Network Limited             Celsius Network LLC                                9/2/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       1,200,000.0          $1,200,416.12
   Celsius Network Limited             Celsius Network LLC                                9/2/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                          600,000.0           $600,328.91
   Celsius Network Limited             Celsius Network LLC                                9/2/2021   Incoming      Intercompany Coin Movement     USDC                            14,000,000.0         $14,000,000.00
   Celsius Network Limited             Celsius Network LLC                                9/2/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       9,800,000.0          $9,803,713.21
   Celsius Network Limited             Celsius Network LLC                                9/2/2021   Incoming      Intercompany Coin Movement     BTC                         4,999.99998876          $249,489,028.55
   Celsius Network Limited             Celsius Network LLC                                9/2/2021   Incoming      Intercompany Coin Movement     ADA                             10,000,000.0         $30,322,097.76
   Celsius Network Limited             Celsius Network LLC                                9/2/2021   Incoming      Intercompany Coin Movement     ADA                              1,000,000.0          $3,032,209.78
   Celsius Network Limited             Celsius Network LLC                                9/2/2021   Incoming      Intercompany Coin Movement     ADA                              2,000,000.0          $6,087,019.65
   Celsius Network Limited             Celsius Network LLC                                9/2/2021   Incoming      Intercompany Coin Movement     ADA                              2,000,000.0          $6,087,019.65
   Celsius Network Limited             Celsius Network LLC                                9/2/2021   Incoming      Intercompany Coin Movement     ADA                              2,000,000.0          $6,087,019.65
   Celsius Network Limited             Celsius Network LLC                                9/2/2021   Incoming      Intercompany Coin Movement     ADA                              6,000,000.0         $18,261,058.95
   Celsius Network Limited             Celsius Network LLC                                9/2/2021   Incoming      Intercompany Coin Movement     ADA                              3,500,000.0         $10,652,284.38
   Celsius Network Limited             Celsius Network LLC                                9/2/2021   Incoming      Intercompany Coin Movement     USDC                            22,000,000.0         $22,000,000.00
   Celsius Network Limited             Celsius Network EU UAB (LT)                        9/2/2021   Incoming      Intercompany Coin Movement     USDC                             5,893,255.0          $5,893,255.00
   Celsius Network Limited             Celsius Network EU UAB (LT)                        9/2/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       2,326,160.0          $2,326,660.39
   Celsius Network Limited             Celsius Network EU UAB (LT)                        9/2/2021   Incoming      Intercompany Coin Movement     TUSD                             1,505,000.0          $1,504,658.39
   Celsius Network Limited             Celsius Network LLC                                9/3/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                     (3,000,000.0)         ($3,001,071.00)
   Celsius Network Limited             Celsius Network LLC                                9/3/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       2,000,000.0          $2,000,714.00
   Celsius Network Limited             Celsius Network LLC                                9/3/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                2,997,470.898516            $2,998,540.99
   Celsius Network Limited             Celsius Network LLC                                9/3/2021   Incoming      Intercompany Coin Movement     USDC                             4,750,000.0          $4,750,000.00
   Celsius Network Limited             Celsius Network LLC                                9/3/2021   Incoming      Intercompany Coin Movement     USDC                            10,000,000.0         $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                                9/3/2021   Incoming      Intercompany Coin Movement     USDC                            10,000,000.0         $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                                9/3/2021   Incoming      Intercompany Coin Movement     LUNA                                 29,500.0           $960,195.39
   Celsius Network Limited             Celsius Network LLC                                9/3/2021   Incoming      Intercompany Coin Movement     ETH                                    1,689.0        $6,659,726.35
   Celsius Network Limited             Celsius Network LLC                                9/6/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                (816,875.646922)             ($817,229.65)
   Celsius Network Limited             Celsius Network LLC                                9/6/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (125,000.0)          ($125,054.17)
   Celsius Network Limited             Celsius Network LLC                                9/6/2021   Outgoing      Intercompany Coin Movement     BAT                               (150,000.0)          ($147,128.79)
   Celsius Network Limited             Celsius Network LLC                                9/6/2021   Outgoing      Intercompany Coin Movement     USDC                          (30,000,000.0)        ($30,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                9/6/2021   Outgoing      Intercompany Coin Movement     USDC                           (1,900,000.0)         ($1,900,000.00)
   Celsius Network Limited             Celsius Network LLC                                9/6/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       4,400,000.0          $4,401,667.53
   Celsius Network Limited             Celsius Network LLC                                9/6/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                          500,000.0           $500,189.49
   Celsius Network Limited             Celsius Network LLC                                9/6/2021   Incoming      Intercompany Coin Movement     ETH                                  20,000.0        $78,984,289.32
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                       Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
                                                                                                    Pg       50    of   77
                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN       COIN QUANTITY                   COIN USD
   Celsius Network Limited             Celsius Network LLC                                9/6/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                         5,500,000.0           $5,502,630.01
   Celsius Network Limited             Celsius Network LLC                                9/6/2021   Incoming      Intercompany Coin Movement     DOT                                  295,000.0          $10,117,452.36
   Celsius Network Limited             Celsius Network LLC                                9/6/2021   Incoming      Intercompany Coin Movement     ETH                                      1,020.0         $4,005,491.77
   Celsius Network Limited             Celsius Network LLC                                9/6/2021   Incoming      Intercompany Coin Movement     USDC                      15,089,323.908547             $15,089,323.91
   Celsius Network Limited             Celsius Network EU UAB (LT)                        9/7/2021   Outgoing      Intercompany Coin Movement     LINK                                   (2,400.0)           ($82,603.79)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        9/7/2021   Outgoing      Intercompany Coin Movement     DOT                                    (2,000.0)           ($69,552.29)
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                   (45,295.282016)               ($45,315.20)
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Outgoing      Intercompany Coin Movement     USDC                         (57,376.550527)               ($57,376.55)
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                     (14,500,000.0)          ($14,505,141.50)
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                     (30,000,000.0)          ($30,014,565.16)
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Outgoing      Intercompany Coin Movement     BAT                    (15,984.4055927181)                 ($14,223.65)
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Outgoing      Intercompany Coin Movement     USDC                           (20,000,000.0)          ($20,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Outgoing      Intercompany Coin Movement     USDC                           (64,999,985.0)          ($64,999,985.00)
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Outgoing      Intercompany Coin Movement     BADGER                 (117,094.020474478)              ($2,305,145.80)
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Incoming      Intercompany Coin Movement     UNI                                    21,110.0            $571,765.49
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       14,500,000.0           $14,505,141.50
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Incoming      Intercompany Coin Movement     USDC                               5,000,000.0           $5,000,000.00
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Incoming      Intercompany Coin Movement     USDC                             10,000,000.0           $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Incoming      Intercompany Coin Movement     USDC                             10,000,000.0           $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Incoming      Intercompany Coin Movement     BTC                                      3,000.0       $143,677,927.75
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Incoming      Intercompany Coin Movement     BTC                            3,622.3299842           $173,482,956.01
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Incoming      Intercompany Coin Movement     USDC                             10,000,000.0           $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Incoming      Intercompany Coin Movement     UNI                                    50,000.0          $1,237,955.21
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Incoming      Intercompany Coin Movement     ETH                                      1,100.0         $3,763,486.18
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Incoming      Intercompany Coin Movement     REN                                  230,000.0             $156,982.68
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Incoming      Intercompany Coin Movement     ETH                                    35,000.0        $120,461,639.85
   Celsius Network Limited             Celsius Network LLC                                9/7/2021   Outgoing      Intercompany Coin Movement     BADGER                 (117,094.020474478)              ($2,213,814.26)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        9/8/2021   Outgoing      Intercompany Coin Movement     ADA                                  (24,362.0)            ($58,953.77)
   Celsius Network Limited             Celsius Network LLC                                9/8/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (5,000,000.0)          ($5,001,528.16)
   Celsius Network Limited             Celsius Network LLC                                9/8/2021   Outgoing      Intercompany Coin Movement     REN                                (430,650.0)            ($289,151.56)
   Celsius Network Limited             Celsius Network LLC                                9/8/2021   Outgoing      Intercompany Coin Movement     BADGER                 (121,847.341263951)              ($2,409,453.31)
   Celsius Network Limited             Celsius Network LLC                                9/8/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                       10,000,000.0           $10,005,088.40
   Celsius Network Limited             Celsius Network LLC                                9/8/2021   Incoming      Intercompany Coin Movement     USDC                             35,000,000.0           $35,000,000.00
   Celsius Network Limited             Celsius Network LLC                                9/8/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                         5,000,000.0           $5,002,477.61
   Celsius Network Limited             Celsius Network LLC                                9/8/2021   Incoming      Intercompany Coin Movement     ETH                                      5,000.0        $16,639,898.30
   Celsius Network Limited             Celsius Network LLC                                9/8/2021   Incoming      Intercompany Coin Movement     USDC                               8,000,000.0           $8,000,000.00
   Celsius Network Limited             Celsius Network LLC                                9/8/2021   Incoming      Intercompany Coin Movement     BADGER                   117,094.020474478               $2,321,124.84
   Celsius Network Limited             Celsius Network LLC                                9/9/2021   Outgoing      Intercompany Coin Movement     DOT                                (250,000.0)          ($7,316,861.79)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        9/9/2021   Outgoing      Intercompany Coin Movement     ADA                                  (17,921.0)            ($46,226.48)
   Celsius Network Limited             Celsius Network LLC                                9/9/2021   Outgoing      Intercompany Coin Movement     USDC                           (13,000,000.0)          ($13,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                9/9/2021   Outgoing      Intercompany Coin Movement     TUSD                  (6,505,009.65625146)              ($6,505,009.66)
   Celsius Network Limited             Celsius Network LLC                                9/9/2021   Outgoing      Intercompany Coin Movement     REN                    (69,889.0456027488)                 ($52,911.18)
   Celsius Network Limited             Celsius Network LLC                                9/9/2021   Outgoing      Intercompany Coin Movement     USDC                           (39,999,985.0)          ($39,999,985.00)
   Celsius Network Limited             Celsius Network LLC                                9/9/2021   Outgoing      Intercompany Coin Movement     KNC                                  (19,890.0)            ($36,815.59)
   Celsius Network Limited             Celsius Network LLC                                9/9/2021   Incoming      Intercompany Coin Movement     USDC                             13,000,000.0           $13,000,000.00
   Celsius Network Limited             Celsius Network LLC                                9/9/2021   Incoming      Intercompany Coin Movement     LUNA                                   29,700.0            $866,379.40
   Celsius Network Limited             Celsius Network LLC                                9/9/2021   Incoming      Intercompany Coin Movement     ETH                                    10,000.0         $35,480,563.75
   Celsius Network Limited             Celsius Network LLC                                9/9/2021   Incoming      Intercompany Coin Movement     GUSD                             10,000,000.0           $10,027,614.59
   Celsius Network Limited             Celsius Network LLC                                9/9/2021   Incoming      Intercompany Coin Movement     LUNA                                 100,000.0           $2,930,129.66
   Celsius Network Limited             Celsius Network LLC                                9/9/2021   Incoming      Intercompany Coin Movement     AAVE                                     2,900.0         $1,010,713.80
   Celsius Network Limited             Celsius Network LLC                               9/10/2021   Outgoing      Intercompany Coin Movement     USDC                           (10,000,000.0)          ($10,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               9/10/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (5,000,000.0)          ($5,000,855.48)
   Celsius Network Limited             Celsius Network LLC                               9/10/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                                 (10.0)              ($10.00)
   Celsius Network Limited             Celsius Network LLC                               9/10/2021   Outgoing      Intercompany Coin Movement     USDC                             (6,000,000.0)          ($6,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               9/10/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20              (15,251,291.626983)            ($15,252,658.37)
   Celsius Network Limited             Celsius Network LLC                               9/10/2021   Incoming      Intercompany Coin Movement     UNI                      1,023.16843152326                  $23,720.12
   Celsius Network Limited             Celsius Network LLC                               9/10/2021   Incoming      Intercompany Coin Movement     UNI                                    75,000.0          $1,740,574.50
   Celsius Network Limited             Celsius Network LLC                               9/10/2021   Incoming      Intercompany Coin Movement     LUNA                                   40,005.0          $1,486,711.15
   Celsius Network Limited             Celsius Network LLC                               9/10/2021   Incoming      Intercompany Coin Movement     ADA                                7,100,000.0          $17,516,263.52
   Celsius Network Limited             Celsius Network LLC                               9/10/2021   Incoming      Intercompany Coin Movement     BTC                                      1,500.0        $68,462,188.62
   Celsius Network Limited             Celsius Network LLC                               9/10/2021   Incoming      Intercompany Coin Movement     LINK                         13,763.9099396                $367,019.44
   Celsius Network Limited             Celsius Network LLC                               9/10/2021   Incoming      Intercompany Coin Movement     LINK                                   12,000.0            $319,984.17
   Celsius Network Limited             Celsius Network LLC                               9/10/2021   Incoming      Intercompany Coin Movement     USDC                               5,000,000.0           $5,000,000.00
   Celsius Network Limited             Celsius Network EU UAB (LT)                       9/11/2021   Outgoing      Intercompany Coin Movement     ADA                                  (25,000.0)            ($68,493.12)
   Celsius Network Limited             Celsius Network LLC                               9/11/2021   Incoming      Intercompany Coin Movement     USDC                               6,000,000.0           $6,000,000.00
   Celsius Network Limited             Celsius Network LLC                               9/12/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (8,000,000.0)          ($8,002,300.55)
   Celsius Network Limited             Celsius Network LLC                               9/12/2021   Incoming      Intercompany Coin Movement     USDC                               9,200,000.0           $9,200,000.00
   Celsius Network Limited             Celsius Network LLC                               9/13/2021   Outgoing      Intercompany Coin Movement     UNI                     (480.511824727037)                 ($10,510.91)
   Celsius Network Limited             Celsius Network LLC                               9/13/2021   Outgoing      Intercompany Coin Movement     FTT                              (2,400,000.0)        ($158,904,000.00)
   Celsius Network Limited             Celsius Network LLC                               9/13/2021   Outgoing      Intercompany Coin Movement     FTT                            (3,891,090.88)         ($260,313,979.87)
   Celsius Network Limited             Celsius Network LLC                               9/13/2021   Outgoing      Intercompany Coin Movement     LINK                   (150,158.504682312)              ($4,004,198.11)
   Celsius Network Limited             Celsius Network LLC                               9/13/2021   Incoming      Intercompany Coin Movement     USDC                               5,000,000.0           $5,000,000.00
   Celsius Network Limited             Celsius Network LLC                               9/13/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                         8,500,000.0           $8,502,197.58
   Celsius Network Limited             Celsius Network LLC                               9/13/2021   Incoming      Intercompany Coin Movement     ADA                              18,000,000.0           $43,249,219.76
   Celsius Network Limited             Celsius Network EU UAB (LT)                       9/13/2021   Incoming      Intercompany Coin Movement     USDC                               1,000,000.0           $1,000,000.00
   Celsius Network Limited             Celsius Network LLC                               9/14/2021   Outgoing      Intercompany Coin Movement     LUNA                               (47,999.96)          ($1,753,471.68)
   Celsius Network Limited             Celsius Network LLC                               9/14/2021   Outgoing      Intercompany Coin Movement     LUNA                                (50.94444)              ($1,860.10)
   Celsius Network Limited             Celsius Network LLC                               9/14/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (2,000,000.0)          ($2,001,528.60)
   Celsius Network Limited             Celsius Network LLC                               9/14/2021   Outgoing      Intercompany Coin Movement     LUNA                               (59,999.96)          ($2,180,486.49)
   Celsius Network Limited             Celsius Network LLC                               9/14/2021   Outgoing      Intercompany Coin Movement     ADA                     (38,000,002.232123)            ($91,219,882.36)
   Celsius Network Limited             Celsius Network LLC                               9/14/2021   Outgoing      Intercompany Coin Movement     COMP                   (1,245.75960239526)                ($540,281.80)
   Celsius Network Limited             Celsius Network LLC                               9/14/2021   Outgoing      Intercompany Coin Movement     GUSD                             (3,799,950.0)          ($3,814,848.20)
   Celsius Network Limited             Celsius Network LLC                               9/14/2021   Outgoing      Intercompany Coin Movement     WBTC                                    (335.41)       ($15,557,365.19)
   Celsius Network Limited             Celsius Network LLC                               9/14/2021   Outgoing      Intercompany Coin Movement     YFI                     (3.81878447690564)                ($131,838.93)
   Celsius Network Limited             Celsius Network LLC                               9/14/2021   Outgoing      Intercompany Coin Movement     YFI                                     (9.6427)          ($333,995.41)
   Celsius Network Limited             Celsius Network LLC                               9/14/2021   Outgoing      Intercompany Coin Movement     MKR                                   (112.385)           ($322,163.67)
   Celsius Network Limited             Celsius Network LLC                               9/14/2021   Outgoing      Intercompany Coin Movement     BAL                               (2,262.9851)             ($59,831.93)
   Celsius Network Limited             Celsius Network LLC                               9/14/2021   Incoming      Intercompany Coin Movement     BNT                                    95,000.0            $378,521.28
   Celsius Network Limited             Celsius Network LLC                               9/14/2021   Incoming      Intercompany Coin Movement     USDC                               5,000,000.0           $5,000,000.00
   Celsius Network Limited             Celsius Network LLC                               9/15/2021   Outgoing      Intercompany Coin Movement     USDC                           (10,000,000.0)          ($10,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               9/15/2021   Incoming      Intercompany Coin Movement     USDC                             50,000,000.0           $50,000,000.00
   Celsius Network Limited             Celsius Network LLC                               9/15/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                             50,000.0             $50,003.09
   Celsius Network Limited             Celsius Network LLC                               9/15/2021   Incoming      Intercompany Coin Movement     DOT                                  200,000.0           $7,303,350.69
   Celsius Network Limited             Celsius Network LLC                               9/17/2021   Incoming      Intercompany Coin Movement     USDT_ERC20                         1,200,000.0           $1,200,168.03
   Celsius Network Limited             Celsius Network LLC                               9/19/2021   Incoming      Intercompany Coin Movement     BNB_BSC                                15,000.0          $6,078,312.74
   Celsius Network Limited             Celsius Network LLC                               9/20/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (8,000,000.0)          ($7,999,794.86)
   Celsius Network Limited             Celsius Network LLC                               9/20/2021   Outgoing      Intercompany Coin Movement     LINK                          (878.98385071)               ($21,664.88)
   Celsius Network Limited             Celsius Network LLC                               9/20/2021   Outgoing      Intercompany Coin Movement     TUSD                            (42,534.2466)              ($42,534.25)
   Celsius Network Limited             Celsius Network LLC                               9/20/2021   Incoming      Intercompany Coin Movement     EOS                                  230,000.0           $1,041,986.82
   Celsius Network Limited             Celsius Network LLC                               9/20/2021   Incoming      Intercompany Coin Movement     XLM                                      6,000.0             $1,709.83
   Celsius Network Limited             Celsius Network LLC                               9/20/2021   Incoming      Intercompany Coin Movement     EOS                                  113,000.0             $494,063.57
   Celsius Network Limited             Celsius Network LLC                               9/20/2021   Incoming      Intercompany Coin Movement     ADA                              18,000,000.0           $37,114,895.43
   Celsius Network Limited             Celsius Network LLC                               9/20/2021   Incoming      Intercompany Coin Movement     XRP                        7,399,427.486656              $6,783,899.65
   Celsius Network Limited             Celsius Network EU UAB (LT)                       9/20/2021   Incoming      Intercompany Coin Movement     XLM                         104,353.1036064                 $29,737.62
   Celsius Network Limited             Celsius Network EU UAB (LT)                       9/20/2021   Incoming      Intercompany Coin Movement     EOS                               16,579.6597               $72,654.36
   Celsius Network Limited             Celsius Network LLC                               9/21/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (7,000,000.0)          ($6,999,409.05)
   Celsius Network Limited             Celsius Network LLC                               9/21/2021   Outgoing      Intercompany Coin Movement     USDC                             (5,500,000.0)          ($5,500,000.00)
   Celsius Network Limited             Celsius Network LLC                               9/21/2021   Outgoing      Intercompany Coin Movement     SUSHI                  (6,595.00181409737)                 ($66,466.92)
   Celsius Network Limited             Celsius Network LLC                               9/21/2021   Outgoing      Intercompany Coin Movement     SUSHI                               (475.9093)              ($4,796.39)
   Celsius Network Limited             Celsius Network LLC                               9/21/2021   Outgoing      Intercompany Coin Movement     BAL                                 (140.5053)              ($2,896.64)
   Celsius Network Limited             Celsius Network LLC                               9/21/2021   Outgoing      Intercompany Coin Movement     ETH                      (7,886.4655462192)            ($22,500,153.14)
   Celsius Network Limited             Celsius Network LLC                               9/21/2021   Outgoing      Intercompany Coin Movement     ETH                     (434.131017104173)              ($1,238,593.38)
   Celsius Network Limited             Celsius Network LLC                               9/21/2021   Incoming      Intercompany Coin Movement     YFI                                          10.0          $282,694.01
   Celsius Network Limited             Celsius Network LLC                               9/21/2021   Incoming      Intercompany Coin Movement     LTC                                    10,000.0          $1,548,261.30
   Celsius Network Limited             Celsius Network LLC                               9/21/2021   Incoming      Intercompany Coin Movement     DASH                                     3,000.0           $495,141.23
   Celsius Network Limited             Celsius Network LLC                               9/21/2021   Incoming      Intercompany Coin Movement     ADA                                1,100,000.0           $2,286,521.29
   Celsius Network Limited             Celsius Network LLC                               9/21/2021   Incoming      Intercompany Coin Movement     GUSD                                       33.58                $33.26
   Celsius Network Limited             Celsius Network EU UAB (LT)                       9/21/2021   Incoming      Intercompany Coin Movement     ETH                                           2.5            $6,798.30
   Celsius Network Limited             Celsius Network LLC                               9/22/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                         (700,000.0)            ($700,173.53)
   Celsius Network Limited             Celsius Network LLC                               9/22/2021   Outgoing      Intercompany Coin Movement     ZRX                      (293,710.64426892)               ($262,031.29)
   Celsius Network Limited             Celsius Network LLC                               9/22/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                     (10,000,000.0)          ($10,006,700.36)
   Celsius Network Limited             Celsius Network LLC                               9/22/2021   Incoming      Intercompany Coin Movement     LTC                         31,159.60011996              $4,787,651.22
   Celsius Network Limited             Celsius Network LLC                               9/22/2021   Incoming      Intercompany Coin Movement     LTC                          1,025.85764095                $157,622.32
   Celsius Network Limited             Celsius Network LLC                               9/22/2021   Incoming      Intercompany Coin Movement     LTC                                    42,000.0          $6,453,271.23
   Celsius Network Limited             Celsius Network LLC                               9/22/2021   Incoming      Intercompany Coin Movement     LUNA                                   75,000.0          $2,022,061.80
   Celsius Network Limited             Celsius Network LLC                               9/22/2021   Incoming      Intercompany Coin Movement     BAT                      5,085.16052095006                   $3,306.82
   Celsius Network Limited             Celsius Network LLC                               9/22/2021   Incoming      Intercompany Coin Movement     RENBTC                             4.78734558              $203,593.18
   Celsius Network Limited             Celsius Network LLC                               9/22/2021   Incoming      Intercompany Coin Movement     COMP                      34.6062329740586                  $11,472.01
   Celsius Network Limited             Celsius Network LLC                               9/22/2021   Incoming      Intercompany Coin Movement     UMA                      1,712.53179861769                  $16,660.01
   Celsius Network Limited             Celsius Network LLC                               9/22/2021   Incoming      Intercompany Coin Movement     YFL                      3,994.03038038894                 $387,711.73
   Celsius Network Limited             Celsius Network LLC                               9/22/2021   Incoming      Intercompany Coin Movement     ETH                                        230.0           $677,809.48
   Celsius Network Limited             Celsius Network LLC                               9/22/2021   Incoming      Intercompany Coin Movement     ETH                                    49,000.0        $144,402,888.79
   Celsius Network Limited             Celsius Network LLC                               9/22/2021   Incoming      Intercompany Coin Movement     DOT                                    29,999.0            $924,430.17
   Celsius Network Limited             Celsius Network LLC                               9/22/2021   Incoming      Intercompany Coin Movement     ETH                       375.030396449317               $1,133,663.74
   Celsius Network Limited             Celsius Network LLC                               9/23/2021   Outgoing      Intercompany Coin Movement     USDC                             (1,999,995.0)          ($1,999,995.00)
   Celsius Network Limited             Celsius Network LLC                               9/23/2021   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (2,000,000.0)          ($2,002,594.95)
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                        Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
                                                                                                    Pg       51    of   77
                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE             TYPE             TRANSACTION TYPE              COIN       COIN QUANTITY                    COIN USD
   Celsius Network Limited             Celsius Network LLC                               9/23/2021    Outgoing     Intercompany Coin Movement     USDT_ERC20                        (8,002,000.0)          ($8,007,371.41)
   Celsius Network Limited             Celsius Network LLC                               9/23/2021    Incoming     Intercompany Coin Movement     OMG                                   380,000.0           $3,638,989.27
   Celsius Network Limited             Celsius Network LLC                               9/23/2021    Incoming     Intercompany Coin Movement     BAL                          619.5481594706                  $13,383.81
   Celsius Network Limited             Celsius Network LLC                               9/23/2021    Incoming     Intercompany Coin Movement     COMP                      30.0108223777388                   $10,676.38
   Celsius Network Limited             Celsius Network LLC                               9/23/2021    Incoming     Intercompany Coin Movement     BUSD                     2,860.68583386841                    $2,860.69
   Celsius Network Limited             Celsius Network LLC                               9/23/2021    Incoming     Intercompany Coin Movement     BNB_BSC                                 12,000.0          $4,490,905.38
   Celsius Network Limited             Celsius Network LLC                               9/23/2021    Incoming     Intercompany Coin Movement     UNI                     0.932885120738371                        $20.16
   Celsius Network Limited             Celsius Network LLC                               9/24/2021    Outgoing     Intercompany Coin Movement     ETH                                   (20,000.0)        ($57,352,082.04)
   Celsius Network Limited             Celsius Network LLC                               9/24/2021    Outgoing     Intercompany Coin Movement     USDT_ERC20                              (6,300.0)            ($6,304.80)
   Celsius Network Limited             Celsius Network LLC                               9/24/2021    Outgoing     Intercompany Coin Movement     LINK                                         (2.0)              ($45.22)
   Celsius Network Limited             Celsius Network LLC                               9/24/2021    Outgoing     Intercompany Coin Movement     USDC                                    (3,300.0)            ($3,300.00)
   Celsius Network Limited             Celsius Network LLC                               9/24/2021    Outgoing     Intercompany Coin Movement     XLM                                       (450.0)              ($125.53)
   Celsius Network Limited             Celsius Network LLC                               9/24/2021    Outgoing     Intercompany Coin Movement     ZRX                                     (3,000.0)            ($2,773.64)
   Celsius Network Limited             Celsius Network LLC                               9/24/2021    Outgoing     Intercompany Coin Movement     EOS                                         (51.0)             ($207.31)
   Celsius Network Limited             Celsius Network LLC                               9/24/2021    Incoming     Intercompany Coin Movement     UNI                                       5,000.0           $105,382.71
   Celsius Network Limited             Celsius Network LLC                               9/24/2021    Incoming     Intercompany Coin Movement     USDT_ERC20                        10,000,000.0           $10,007,316.16
   Celsius Network Limited             Celsius Network LLC                               9/24/2021    Incoming     Intercompany Coin Movement     ADA                                   260,000.0             $567,133.68
   Celsius Network Limited             Celsius Network LLC                               9/24/2021    Incoming     Intercompany Coin Movement     UNI                                     20,000.0            $377,512.44
   Celsius Network Limited             Celsius Network LLC                               9/24/2021    Incoming     Intercompany Coin Movement     ZRX                                       3,000.0             $2,773.64
   Celsius Network Limited             Celsius Network LLC                               9/27/2021    Incoming     Intercompany Coin Movement     LTC                         12,853.38071689               $1,951,832.13
   Celsius Network Limited             Celsius Network LLC                               9/27/2021    Incoming     Intercompany Coin Movement     BCH                            3,233.1904004              $1,643,968.35
   Celsius Network Limited             Celsius Network LLC                               9/27/2021    Incoming     Intercompany Coin Movement     ETH                         22,053.18862542              $68,242,963.28
   Celsius Network Limited             Celsius Network LLC                               9/27/2021    Incoming     Intercompany Coin Movement     USDC                      15,157,541.057498              $15,157,541.06
   Celsius Network Limited             Celsius Network LLC                               9/27/2021    Incoming     Intercompany Coin Movement     USDC                              15,000,000.0           $15,000,000.00
   Celsius Network Limited             Celsius Network LLC                               9/28/2021    Outgoing     Intercompany Coin Movement     USDT_ERC20                              (5,000.0)            ($5,001.18)
   Celsius Network Limited             Celsius Network LLC                               9/28/2021    Outgoing     Intercompany Coin Movement     CEL                                     (1,000.0)            ($4,990.11)
   Celsius Network Limited             Celsius Network LLC                               9/28/2021    Outgoing     Intercompany Coin Movement     USDC                                    (5,000.0)            ($5,000.00)
   Celsius Network Limited             Celsius Network LLC                               9/28/2021    Incoming     Intercompany Coin Movement     XLM                                 2,000,000.0             $535,080.06
   Celsius Network Limited             Celsius Network LLC                               9/28/2021    Incoming     Intercompany Coin Movement     DOT                                       2,000.0            $55,151.49
   Celsius Network Limited             Celsius Network LLC                               9/28/2021    Incoming     Intercompany Coin Movement     ADA                               10,000,000.0           $21,074,903.66
   Celsius Network Limited             Celsius Network LLC                               9/28/2021    Incoming     Intercompany Coin Movement     UNI                                       1,000.0            $24,265.87
   Celsius Network Limited             Celsius Network LLC                               9/29/2021    Outgoing     Intercompany Coin Movement     SUSHI                  (88,507.7357688992)                 ($875,781.95)
   Celsius Network Limited             Celsius Network LLC                               9/29/2021    Outgoing     Intercompany Coin Movement     USDT_ERC20                      (21,020,000.0)          ($21,029,600.89)
   Celsius Network Limited             Celsius Network LLC                               9/29/2021    Incoming     Intercompany Coin Movement     BNB_BSC                                 14,600.0          $5,309,432.21
   Celsius Network Limited             Celsius Network LLC                               9/29/2021    Incoming     Intercompany Coin Movement     LINK                                      9,100.0           $215,106.10
   Celsius Network Limited             Celsius Network LLC                               9/29/2021    Incoming     Intercompany Coin Movement     LINK                                    80,000.0          $1,891,042.62
   Celsius Network Limited             Celsius Network LLC                               9/29/2021    Incoming     Intercompany Coin Movement     USDT_ERC20                        10,000,000.0           $10,002,572.00
   Celsius Network Limited             Celsius Network LLC                               9/30/2021    Outgoing     Intercompany Coin Movement     USDC                            (25,000,020.0)          ($25,000,020.00)
   Celsius Network Limited             Celsius Network LLC                               9/30/2021    Outgoing     Intercompany Coin Movement     USDC                              (3,200,000.0)          ($3,200,000.00)
   Celsius Network Limited             Celsius Network LLC                               9/30/2021    Outgoing     Intercompany Coin Movement     USDC                       (1,684,748.60315)             ($1,684,748.60)
   Celsius Network Limited             Celsius Network LLC                               9/30/2021    Incoming     Intercompany Coin Movement     SUSHI                                   90,000.0            $896,328.62
   Celsius Network Limited             Celsius Network LLC                               9/30/2021    Incoming     Intercompany Coin Movement     USDT_ERC20                 4,999,560.331683               $5,000,444.38
   Celsius Network Limited             Celsius Network LLC                               9/30/2021    Incoming     Intercompany Coin Movement     USDT_ERC20                70,001,365.734064              $70,024,210.24
   Celsius Network Limited             Celsius Network LLC                               9/30/2021    Incoming     Intercompany Coin Movement     USDT_ERC20                        85,054,634.0           $85,082,391.05
   Celsius Network Limited             Celsius Network LLC                               9/30/2021    Incoming     Intercompany Coin Movement     USDC                                2,500,000.0           $2,500,000.00
   Celsius Network Limited             Celsius Network LLC                               9/30/2021    Incoming     Intercompany Coin Movement     USDC                                  33,442.05              $33,442.05
   Celsius Network Limited             Celsius Network LLC                               9/30/2021    Incoming     Intercompany Coin Movement     USDC                                          10.0               $10.00
   Celsius Network Limited             Celsius Network LLC                               9/30/2021    Incoming     Intercompany Coin Movement     COMP                                     216.039             $66,663.45
   Celsius Network Limited             Celsius Network LLC                               9/30/2021    Outgoing     Intercompany Coin Movement     ETH                                          (0.5)           ($1,494.90)
   Celsius Network Limited             Celsius Network LLC                               9/30/2021    Incoming     Intercompany Coin Movement     ETH                                            0.5         Undetermined
   Celsius Network Limited             Celsius Network LLC                               10/1/2021    Outgoing     Intercompany Coin Movement     ETH                                   (10,000.0)        ($32,269,109.58)
   Celsius Network Limited             Celsius Network LLC                               10/1/2021    Outgoing     Intercompany Coin Movement     ETH                                   (30,000.0)        ($96,301,650.76)
   Celsius Network Limited             Celsius Network LLC                               10/1/2021    Outgoing     Intercompany Coin Movement     KNC                   (1,193,818.27242059)               ($1,891,555.16)
   Celsius Network Limited             Celsius Network LLC                               10/1/2021    Incoming     Intercompany Coin Movement     USDC                              20,000,000.0           $20,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/1/2021    Incoming     Intercompany Coin Movement     KNC                                   537,500.0             $856,562.74
   Celsius Network Limited             Celsius Network LLC                               10/1/2021    Incoming     Intercompany Coin Movement     BNB_BSC                                 1,909.31            $801,448.90
   Celsius Network Limited             Celsius Network LLC                               10/1/2021    Outgoing     Intercompany Coin Movement     CEL                                   (52,682.0)           ($305,130.60)
   Celsius Network Limited             Celsius Network LLC                               10/1/2021    Incoming     Intercompany Coin Movement     CEL                                     52,682.0            $310,940.39
   Celsius Network Limited             Celsius Network LLC                               10/3/2021    Incoming     Intercompany Coin Movement     DASH                                          10.0            $1,785.88
   Celsius Network Limited             Celsius Network LLC                               10/3/2021    Incoming     Intercompany Coin Movement     DASH                                        100.0            $17,858.83
   Celsius Network Limited             Celsius Network LLC                               10/3/2021    Incoming     Intercompany Coin Movement     DASH                                        500.0            $89,294.14
   Celsius Network Limited             Celsius Network LLC                               10/3/2021    Incoming     Intercompany Coin Movement     DASH                                      1,000.0           $178,588.29
   Celsius Network Limited             Celsius Network LLC                               10/3/2021    Incoming     Intercompany Coin Movement     DASH                                    25,000.0          $4,464,707.15
   Celsius Network Limited             Celsius Network LLC                               10/3/2021    Incoming     Intercompany Coin Movement     DASH                                      3,500.0           $625,059.00
   Celsius Network Limited             Celsius Network LLC                               10/4/2021    Outgoing     Intercompany Coin Movement     BNB_BSC                     (1,095.52989656)               ($461,078.24)
   Celsius Network Limited             Celsius Network LLC                               10/4/2021    Incoming     Intercompany Coin Movement     ADA                                 8,000,000.0          $17,525,502.50
   Celsius Network Limited             Celsius Network LLC                               10/4/2021    Incoming     Intercompany Coin Movement     USDC                                5,000,000.0           $5,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/4/2021    Incoming     Intercompany Coin Movement     USDC                                7,000,000.0           $7,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/5/2021    Outgoing     Intercompany Coin Movement     ETH                                     (3,000.0)       ($10,292,563.44)
   Celsius Network Limited             Celsius Network LLC                               10/5/2021    Outgoing     Intercompany Coin Movement     WBTC                                      (999.3)       ($50,125,903.78)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       10/5/2021    Outgoing     Intercompany Coin Movement     BTC                                    (9.48727)           ($476,382.28)
   Celsius Network Limited             Celsius Network LLC                               10/5/2021    Outgoing     Intercompany Coin Movement     OMG                              (27,499.5318)             ($428,596.84)
   Celsius Network Limited             Celsius Network LLC                               10/5/2021    Outgoing     Intercompany Coin Movement     OMG                    (12,632.1211337012)                 ($193,082.96)
   Celsius Network Limited             Celsius Network LLC                               10/5/2021    Outgoing     Intercompany Coin Movement     OMG                              (10,302.0565)             ($157,467.74)
   Celsius Network Limited             Celsius Network LLC                               10/5/2021    Outgoing     Intercompany Coin Movement     1INCH                  (46,767.2615110749)                 ($149,124.30)
   Celsius Network Limited             Celsius Network LLC                               10/5/2021    Outgoing     Intercompany Coin Movement     STKAAVE                                     (59.0)                $0.00
   Celsius Network Limited             Celsius Network LLC                               10/5/2021    Incoming     Intercompany Coin Movement     LINK                                    74,405.0          $2,022,101.81
   Celsius Network Limited             Celsius Network LLC                               10/6/2021    Outgoing     Intercompany Coin Movement     WBTC                                      (999.3)       ($54,020,492.31)
   Celsius Network Limited             Celsius Network LLC                               10/6/2021    Outgoing     Intercompany Coin Movement     SUSHI                                 (90,000.0)           ($975,923.30)
   Celsius Network Limited             Celsius Network LLC                               10/6/2021    Outgoing     Intercompany Coin Movement     LINK                                 (169.3443)              ($4,673.69)
   Celsius Network Limited             Celsius Network LLC                               10/6/2021    Outgoing     Intercompany Coin Movement     UNI                                       (100.0)            ($2,565.01)
   Celsius Network Limited             Celsius Network LLC                               10/6/2021    Outgoing     Intercompany Coin Movement     USDT_ERC20                              (1,000.0)            ($1,000.16)
   Celsius Network Limited             Celsius Network LLC                               10/6/2021    Outgoing     Intercompany Coin Movement     USDC                                    (1,000.0)            ($1,000.00)
   Celsius Network Limited             Celsius Network LLC                               10/6/2021    Outgoing     Intercompany Coin Movement     DOT                    (250,171.188699974)               ($8,118,496.86)
   Celsius Network Limited             Celsius Network LLC                               10/6/2021    Incoming     Intercompany Coin Movement     USDC                              30,000,000.0           $30,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/6/2021    Incoming     Intercompany Coin Movement     DOT                                   250,000.0           $8,123,497.23
   Celsius Network Limited             Celsius Network LLC                               10/6/2021    Incoming     Intercompany Coin Movement     DOT                                   125,000.0           $4,056,470.46
   Celsius Network Limited             Celsius Network LLC                               10/6/2021    Incoming     Intercompany Coin Movement     USDC                                3,600,000.0           $3,600,000.00
   Celsius Network Limited             Celsius Network LLC                               10/6/2021    Incoming     Intercompany Coin Movement     USDC                          616,949.090204                $616,949.09
   Celsius Network Limited             Celsius Network LLC                               10/6/2021    Incoming     Intercompany Coin Movement     USDC                                2,000,000.0           $2,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/6/2021    Outgoing     Intercompany Coin Movement     CEL                               (2,000,000.0)         ($11,176,197.99)
   Celsius Network Limited             Celsius Network LLC                               10/6/2021    Incoming     Intercompany Coin Movement     CEL                                 2,000,000.0          $11,754,955.34
   Celsius Network Limited             Celsius Network LLC                               10/7/2021    Outgoing     Intercompany Coin Movement     OMG                                (2,499.9999)             ($36,471.36)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       10/7/2021    Outgoing     Intercompany Coin Movement     BTC                                          (2.0)         ($108,150.68)
   Celsius Network Limited             Celsius Network LLC                               10/7/2021    Outgoing     Intercompany Coin Movement     OMG                            (139,933.8663)            ($1,969,789.14)
   Celsius Network Limited             Celsius Network LLC                               10/7/2021    Outgoing     Intercompany Coin Movement     WBTC                                      (999.3)       ($54,034,348.08)
   Celsius Network Limited             Celsius Network LLC                               10/7/2021    Outgoing     Intercompany Coin Movement     WBTC                                      (999.3)       ($54,253,484.07)
   Celsius Network Limited             Celsius Network LLC                               10/7/2021    Incoming     Intercompany Coin Movement     USDT_ERC20                        36,000,000.0           $36,010,692.60
   Celsius Network Limited             Celsius Network LLC                               10/7/2021    Incoming     Intercompany Coin Movement     USDC                              15,000,000.0           $15,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/7/2021    Incoming     Intercompany Coin Movement     USDT_ERC20                 1,000,970.771779               $1,001,235.94
   Celsius Network Limited             Celsius Network LLC                               10/7/2021    Incoming     Intercompany Coin Movement     USDC                                    50,000.0             $50,000.00
   Celsius Network Limited             Celsius Network LLC                               10/8/2021    Incoming     Intercompany Coin Movement     ADA                                 6,000,000.0          $13,623,473.51
   Celsius Network Limited             Celsius Network LLC                               10/8/2021    Incoming     Intercompany Coin Movement     USDT_ERC20                          1,700,000.0           $1,700,345.35
   Celsius Network Limited             Celsius Network LLC                               10/8/2021    Incoming     Intercompany Coin Movement     USDT_ERC20                          2,400,000.0           $2,400,571.65
   Celsius Network Limited             Celsius Network LLC                               10/11/2021   Outgoing     Intercompany Coin Movement     BAT                       (26,833.10562095)                 ($19,609.27)
   Celsius Network Limited             Celsius Network LLC                               10/11/2021   Outgoing     Intercompany Coin Movement     OMG                           (383.26571573)                 ($5,309.45)
   Celsius Network Limited             Celsius Network LLC                               10/11/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                        10,000,000.0           $10,006,750.95
   Celsius Network Limited             Celsius Network LLC                               10/11/2021   Incoming     Intercompany Coin Movement     DOT                                   100,000.0           $3,462,905.30
   Celsius Network Limited             Celsius Network LLC                               10/12/2021   Outgoing     Intercompany Coin Movement     OMG                          (388,009.45989)             ($5,573,125.32)
   Celsius Network Limited             Celsius Network LLC                               10/12/2021   Outgoing     Intercompany Coin Movement     USDC                              (3,000,000.0)          ($3,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               10/12/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20              (51,541,704.798651)             ($51,549,106.83)
   Celsius Network Limited             Celsius Network LLC                               10/12/2021   Outgoing     Intercompany Coin Movement     WBTC                                    (1,004.3)       ($55,904,161.78)
   Celsius Network Limited             Celsius Network LLC                               10/12/2021   Incoming     Intercompany Coin Movement     XLM                               30,000,000.0            $9,880,339.05
   Celsius Network Limited             Celsius Network LLC                               10/12/2021   Incoming     Intercompany Coin Movement     LINK                                  500,000.0          $12,054,276.11
   Celsius Network Limited             Celsius Network LLC                               10/12/2021   Incoming     Intercompany Coin Movement     KNC                                  641,975.31           $1,039,970.37
   Celsius Network Limited             Celsius Network LLC                               10/13/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                          (500,000.0)            ($500,292.22)
   Celsius Network Limited             Celsius Network LLC                               10/13/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                        (2,500,000.0)          ($2,501,678.25)
   Celsius Network Limited             Celsius Network LLC                               10/13/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                       (171,630.137)             ($171,745.35)
   Celsius Network Limited             Celsius Network LLC                               10/13/2021   Outgoing     Intercompany Coin Movement     BNB_BSC                                   (928.0)          ($419,048.61)
   Celsius Network Limited             Celsius Network LLC                               10/13/2021   Outgoing     Intercompany Coin Movement     BADGER                               (891.8016)             ($29,962.01)
   Celsius Network Limited             Celsius Network LLC                               10/13/2021   Incoming     Intercompany Coin Movement     LTC                                     44,000.0          $7,643,100.14
   Celsius Network Limited             Celsius Network LLC                               10/13/2021   Incoming     Intercompany Coin Movement     BNB_BSC                                   8,000.0         $3,672,835.74
   Celsius Network Limited             Celsius Network LLC                               10/13/2021   Incoming     Intercompany Coin Movement     ETH                                     26,207.0         $90,628,072.27
   Celsius Network Limited             Celsius Network LLC                               10/13/2021   Incoming     Intercompany Coin Movement     USDC                                2,499,000.0           $2,499,000.00
   Celsius Network Limited             Celsius Network LLC                               10/13/2021   Incoming     Intercompany Coin Movement     USDC                         10,001,894.7279             $10,001,894.73
   Celsius Network Limited             Celsius Network LLC                               10/13/2021   Incoming     Intercompany Coin Movement     SNX                                   100,000.0             $928,486.44
   Celsius Network Limited             Celsius Network LLC                               10/13/2021   Incoming     Intercompany Coin Movement     UNI                                     50,000.0          $1,201,270.85
   Celsius Network Limited             Celsius Network LLC                               10/13/2021   Incoming     Intercompany Coin Movement     LINK                                  150,000.0           $3,682,004.13
   Celsius Network Limited             Celsius Network LLC                               10/13/2021   Incoming     Intercompany Coin Movement     TUSD                    6,522,870.55076482                $6,522,870.55
   Celsius Network Limited             Celsius Network LLC                               10/13/2021   Incoming     Intercompany Coin Movement     BUSD                      1,255,323.2146184               $1,255,323.21
   Celsius Network Limited             Celsius Network LLC                               10/13/2021   Incoming     Intercompany Coin Movement     USDC                       7,769,043.397005               $7,769,043.40
   Celsius Network Limited             Celsius Network LLC                               10/13/2021   Incoming     Intercompany Coin Movement     USDC                              10,000,000.0           $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/14/2021   Outgoing     Intercompany Coin Movement     LINK                                (100,000.0)          ($2,733,513.47)
   Celsius Network Limited             Celsius Network LLC                               10/14/2021   Outgoing     Intercompany Coin Movement     CEL                                     (1,000.0)            ($5,712.21)
   Celsius Network Limited             Celsius Network LLC                               10/14/2021   Outgoing     Intercompany Coin Movement     MATIC                                   (2,100.0)            ($2,688.00)
   Celsius Network Limited             Celsius Network LLC                               10/14/2021   Incoming     Intercompany Coin Movement     ETH                                         256.0           $957,127.18
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                       Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
                                                                                                    Pg       52    of   77
                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE             TYPE             TRANSACTION TYPE              COIN       COIN QUANTITY                   COIN USD
   Celsius Network Limited             Celsius Network LLC                               10/14/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                15,002,493.259782             $15,002,907.69
   Celsius Network Limited             Celsius Network LLC                               10/14/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                      160,000,000.0          $160,000,324.07
   Celsius Network Limited             Celsius Network LLC                               10/14/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                        75,000,000.0          $75,000,151.91
   Celsius Network Limited             Celsius Network LLC                               10/14/2021   Incoming     Intercompany Coin Movement     USDC                              15,000,000.0          $15,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/14/2021   Incoming     Intercompany Coin Movement     ADA                               30,000,000.0          $66,122,081.50
   Celsius Network Limited             Celsius Network LLC                               10/15/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                      (50,000,000.0)         ($50,012,838.99)
   Celsius Network Limited             Celsius Network LLC                               10/15/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20               (2,344,688.863682)             ($2,345,290.93)
   Celsius Network Limited             Celsius Network LLC                               10/15/2021   Outgoing     Intercompany Coin Movement     USDC                     (1,330,122.835578)             ($1,330,122.84)
   Celsius Network Limited             Celsius Network LLC                               10/15/2021   Incoming     Intercompany Coin Movement     UNI                                   560,000.0         $14,476,937.27
   Celsius Network Limited             Celsius Network LLC                               10/15/2021   Incoming     Intercompany Coin Movement     LINK                                  250,000.0          $6,563,727.89
   Celsius Network Limited             Celsius Network LLC                               10/15/2021   Incoming     Intercompany Coin Movement     ETH                                     10,000.0        $37,641,491.25
   Celsius Network Limited             Celsius Network LLC                               10/15/2021   Incoming     Intercompany Coin Movement     USDC                              15,000,000.0          $15,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/15/2021   Incoming     Intercompany Coin Movement     USDC                              15,000,000.0          $15,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/15/2021   Incoming     Intercompany Coin Movement     KNC                      31,248.0944351782                  $51,784.73
   Celsius Network Limited             Celsius Network LLC                               10/15/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                          2,500,000.0          $2,500,178.85
   Celsius Network Limited             Celsius Network LLC                               10/15/2021   Incoming     Intercompany Coin Movement     CRV                      866,804.269416445               $2,499,678.92
   Celsius Network Limited             Celsius Network LLC                               10/15/2021   Incoming     Intercompany Coin Movement     USDC                              15,000,000.0          $15,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/15/2021   Incoming     Intercompany Coin Movement     ETH                                        200.0           $774,216.92
   Celsius Network Limited             Celsius Network LLC                               10/16/2021   Outgoing     Intercompany Coin Movement     WBTC                                     (999.3)       ($61,444,236.17)
   Celsius Network Limited             Celsius Network LLC                               10/16/2021   Incoming     Intercompany Coin Movement     USDC                       23,001,780.27921             $23,001,780.28
   Celsius Network Limited             Celsius Network LLC                               10/16/2021   Incoming     Intercompany Coin Movement     USDC                                  340,069.0            $340,069.00
   Celsius Network Limited             Celsius Network LLC                               10/17/2021   Incoming     Intercompany Coin Movement     MATIC                             43,123,256.0          $64,684,884.00
   Celsius Network Limited             Celsius Network LLC                               10/17/2021   Incoming     Intercompany Coin Movement     SNX                                   192,000.0          $1,874,366.56
   Celsius Network Limited             Celsius Network LLC                               10/17/2021   Incoming     Intercompany Coin Movement     BNT                                     51,900.0           $212,837.64
   Celsius Network Limited             Celsius Network LLC                               10/18/2021   Outgoing     Intercompany Coin Movement     MATIC                             (6,514,223.0)         ($9,966,761.19)
   Celsius Network Limited             Celsius Network LLC                               10/18/2021   Outgoing     Intercompany Coin Movement     BTC                               (0.11400965)              ($7,072.20)
   Celsius Network Limited             Celsius Network LLC                               10/18/2021   Outgoing     Intercompany Coin Movement     BTC                               (1.23621336)             ($76,673.78)
   Celsius Network Limited             Celsius Network LLC                               10/18/2021   Incoming     Intercompany Coin Movement     USDC                                6,000,000.0          $6,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/18/2021   Incoming     Intercompany Coin Movement     USDC                            108,000,000.0          $108,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/18/2021   Incoming     Intercompany Coin Movement     CRV                      5,564.97191911948                  $15,482.77
   Celsius Network Limited             Celsius Network LLC                               10/18/2021   Incoming     Intercompany Coin Movement     CRV                      1,104.89518892662                   $3,074.02
   Celsius Network Limited             Celsius Network LLC                               10/18/2021   Incoming     Intercompany Coin Movement     CRV                      5,842.70454342908                  $16,255.47
   Celsius Network Limited             Celsius Network LLC                               10/18/2021   Incoming     Intercompany Coin Movement     CRV                      8,044.68219886635                  $22,054.39
   Celsius Network Limited             Celsius Network LLC                               10/18/2021   Incoming     Intercompany Coin Movement     CRV                         14,102.94653751                 $38,663.04
   Celsius Network Limited             Celsius Network LLC                               10/19/2021   Outgoing     Intercompany Coin Movement     USDC                            (21,000,000.0)         ($21,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               10/19/2021   Outgoing     Intercompany Coin Movement     USDC                              (9,000,000.0)         ($9,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               10/19/2021   Outgoing     Intercompany Coin Movement     EOS                                (97,655.998)           ($433,360.45)
   Celsius Network Limited             Celsius Network LLC                               10/19/2021   Outgoing     Intercompany Coin Movement     EOS                              (68,827.9628)            ($305,432.51)
   Celsius Network Limited             Celsius Network LLC                               10/19/2021   Outgoing     Intercompany Coin Movement     EOS                                  (684.2455)             ($3,036.43)
   Celsius Network Limited             Celsius Network LLC                               10/19/2021   Outgoing     Intercompany Coin Movement     USDC                     (3,914,598.645508)             ($3,914,598.65)
   Celsius Network Limited             Celsius Network LLC                               10/19/2021   Incoming     Intercompany Coin Movement     ADA                               10,000,000.0          $21,312,749.75
   Celsius Network Limited             Celsius Network LLC                               10/19/2021   Incoming     Intercompany Coin Movement     LUNA                                  150,000.0          $5,472,415.67
   Celsius Network Limited             Celsius Network LLC                               10/19/2021   Incoming     Intercompany Coin Movement     SNX                                   265,000.0          $2,510,504.87
   Celsius Network Limited             Celsius Network LLC                               10/19/2021   Incoming     Intercompany Coin Movement     GUSD                              4,533,102.04           $4,513,310.07
   Celsius Network Limited             Celsius Network LLC                               10/20/2021   Outgoing     Intercompany Coin Movement     USDC                         (470,828.73131)              ($470,828.73)
   Celsius Network Limited             Celsius Network LLC                               10/20/2021   Outgoing     Intercompany Coin Movement     EOS                            (145,299.9977)             ($654,652.82)
   Celsius Network Limited             Celsius Network LLC                               10/20/2021   Outgoing     Intercompany Coin Movement     USDC                              (1,000,000.0)         ($1,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               10/20/2021   Outgoing     Intercompany Coin Movement     USDC                              (6,000,000.0)         ($6,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               10/20/2021   Outgoing     Intercompany Coin Movement     EOS                            (332,599.9989)           ($1,511,867.56)
   Celsius Network Limited             Celsius Network LLC                               10/20/2021   Outgoing     Intercompany Coin Movement     EOS                                    (79.3696)              ($360.78)
   Celsius Network Limited             Celsius Network LLC                               10/20/2021   Outgoing     Intercompany Coin Movement     WBTC                                     (999.3)       ($66,533,340.93)
   Celsius Network Limited             Celsius Network LLC                               10/20/2021   Outgoing     Intercompany Coin Movement     WBTC                                     (999.3)       ($66,545,736.22)
   Celsius Network Limited             Celsius Network LLC                               10/20/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                19,996,538.398815             $19,994,845.71
   Celsius Network Limited             Celsius Network LLC                               10/20/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                     15,264.629738                $15,263.34
   Celsius Network Limited             Celsius Network EU UAB (LT)                       10/21/2021   Outgoing     Intercompany Coin Movement     BTC                                         (2.5)         ($162,599.39)
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Outgoing     Intercompany Coin Movement     UNI                                   (75,000.0)        ($2,005,983.78)
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Outgoing     Intercompany Coin Movement     BTC                                         (1.0)          ($63,358.67)
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Outgoing     Intercompany Coin Movement     LINK                                     (250.0)            ($7,181.64)
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Outgoing     Intercompany Coin Movement     LTC                                        (10.0)           ($2,000.38)
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                          (32,501.59)            ($32,491.19)
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Outgoing     Intercompany Coin Movement     USDC                              (5,000,000.0)         ($5,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Outgoing     Intercompany Coin Movement     COMP                                (8,122.868)         ($2,568,165.20)
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Outgoing     Intercompany Coin Movement     CEL                                      (400.0)            ($2,106.13)
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Outgoing     Intercompany Coin Movement     BNB_BSC                        (5,999.999874)           ($2,839,359.01)
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Outgoing     Intercompany Coin Movement     BNB_BSC                (2,066.07639844466)                ($982,227.34)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       10/21/2021   Outgoing     Intercompany Coin Movement     LTC                                      (300.0)           ($59,666.42)
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Outgoing     Intercompany Coin Movement     OMG                                   (25,000.0)          ($368,250.00)
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Outgoing     Intercompany Coin Movement     OMG                            (211,998.8913)           ($3,171,503.41)
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Outgoing     Intercompany Coin Movement     COMP                                        (5.0)           ($1,591.50)
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Outgoing     Intercompany Coin Movement     USDC                    (24,927,081.009573)            ($24,927,081.01)
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                      (25,000,000.0)         ($24,986,426.10)
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Outgoing     Intercompany Coin Movement     USDC                              (5,000,000.0)         ($5,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                      (18,500,000.0)         ($18,491,419.92)
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Incoming     Intercompany Coin Movement     WBTC                                         7.69          $500,155.73
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Incoming     Intercompany Coin Movement     USDC                              40,000,000.0          $40,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                            32,501.59             $32,491.19
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Incoming     Intercompany Coin Movement     WBTC                                         20.0        $1,261,868.35
   Celsius Network Limited             Celsius Network LLC                               10/21/2021   Incoming     Intercompany Coin Movement     WBTC                              27.22399432            $1,724,318.24
   Celsius Network Limited             Celsius Network EU UAB (LT)                       10/21/2021   Incoming     Intercompany Coin Movement     USDC                                  416,850.0            $416,850.00
   Celsius Network Limited             Celsius Network LLC                               10/22/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                        (5,000,000.0)         ($5,001,613.79)
   Celsius Network Limited             Celsius Network LLC                               10/22/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                      (75,000,000.0)         ($75,027,051.21)
   Celsius Network Limited             Celsius Network LLC                               10/22/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                        (1,511,803.0)         ($1,512,348.28)
   Celsius Network Limited             Celsius Network LLC                               10/22/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20            (100,000,000.028553)            ($100,015,474.66)
   Celsius Network Limited             Celsius Network LLC                               10/22/2021   Outgoing     Intercompany Coin Movement     USDC                            (12,000,000.0)         ($12,000,000.00)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       10/22/2021   Outgoing     Intercompany Coin Movement     BTC                                         (3.0)         ($190,661.74)
   Celsius Network Limited             Celsius Network LLC                               10/22/2021   Incoming     Intercompany Coin Movement     ETH                                        500.0         $2,065,994.11
   Celsius Network Limited             Celsius Network LLC                               10/22/2021   Incoming     Intercompany Coin Movement     ETH                                          70.0          $281,603.69
   Celsius Network Limited             Celsius Network LLC                               10/22/2021   Incoming     Intercompany Coin Movement     WBTC                                     1,000.0        $61,480,592.22
   Celsius Network Limited             Celsius Network LLC                               10/22/2021   Incoming     Intercompany Coin Movement     LINK                                    40,000.0         $1,138,865.96
   Celsius Network Limited             Celsius Network LLC                               10/22/2021   Incoming     Intercompany Coin Movement     COMP                                     1,000.0           $316,543.42
   Celsius Network Limited             Celsius Network LLC                               10/22/2021   Incoming     Intercompany Coin Movement     ETH                                      1,500.0         $5,929,981.69
   Celsius Network Limited             Celsius Network LLC                               10/22/2021   Incoming     Intercompany Coin Movement     LINK                                  180,000.0          $5,102,880.62
   Celsius Network Limited             Celsius Network LLC                               10/22/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                        48,740,000.0          $48,732,194.01
   Celsius Network Limited             Celsius Network LLC                               10/22/2021   Incoming     Intercompany Coin Movement     TUSD                              12,220,000.0          $12,220,000.00
   Celsius Network Limited             Celsius Network LLC                               10/24/2021   Incoming     Intercompany Coin Movement     WBTC                                     1,250.0        $75,635,279.25
   Celsius Network Limited             Celsius Network LLC                               10/24/2021   Incoming     Intercompany Coin Movement     ETH                                     20,000.0        $81,232,763.61
   Celsius Network Limited             Celsius Network LLC                               10/25/2021   Outgoing     Intercompany Coin Movement     EOS                            (185,856.6833)             ($893,787.23)
   Celsius Network Limited             Celsius Network LLC                               10/25/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                        (2,500,000.0)         ($2,501,770.01)
   Celsius Network Limited             Celsius Network LLC                               10/25/2021   Outgoing     Intercompany Coin Movement     TUSD                            (12,220,000.0)         ($12,220,000.00)
   Celsius Network Limited             Celsius Network LLC                               10/25/2021   Outgoing     Intercompany Coin Movement     TUSD                              (1,500,000.0)         ($1,500,000.00)
   Celsius Network Limited             Celsius Network LLC                               10/25/2021   Outgoing     Intercompany Coin Movement     MATIC                 (1,200,476.42185659)              ($2,004,795.62)
   Celsius Network Limited             Celsius Network LLC                               10/25/2021   Incoming     Intercompany Coin Movement     USDC                              30,000,000.0          $30,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/25/2021   Incoming     Intercompany Coin Movement     USDC                            13,397,071.31           $13,397,071.31
   Celsius Network Limited             Celsius Network LLC                               10/25/2021   Incoming     Intercompany Coin Movement     USDC                                1,000,000.0          $1,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/25/2021   Incoming     Intercompany Coin Movement     USDC                                6,000,000.0          $6,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/25/2021   Incoming     Intercompany Coin Movement     ADA                               10,000,000.0          $21,574,402.58
   Celsius Network Limited             Celsius Network LLC                               10/25/2021   Incoming     Intercompany Coin Movement     ETH                                      2,794.0        $11,778,954.91
   Celsius Network Limited             Celsius Network LLC                               10/26/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                        (1,240,000.0)         ($1,240,254.06)
   Celsius Network Limited             Celsius Network LLC                               10/26/2021   Incoming     Intercompany Coin Movement     USDC                              40,000,000.0          $40,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/26/2021   Incoming     Intercompany Coin Movement     ETH                                      9,000.0        $37,913,289.19
   Celsius Network Limited             Celsius Network LLC                               10/26/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                          2,000,000.0          $2,000,114.78
   Celsius Network Limited             Celsius Network EU UAB (LT)                       10/27/2021   Outgoing     Intercompany Coin Movement     ETH                                      (600.0)        ($2,485,339.62)
   Celsius Network Limited             Celsius Network LLC                               10/27/2021   Outgoing     Intercompany Coin Movement     USDC                          (30,397,071.31)          ($30,397,071.31)
   Celsius Network Limited             Celsius Network LLC                               10/27/2021   Outgoing     Intercompany Coin Movement     DAI                             (16,029,251.0)         ($16,035,949.53)
   Celsius Network Limited             Celsius Network LLC                               10/27/2021   Incoming     Intercompany Coin Movement     1INCH                                 200,000.0          $1,127,644.06
   Celsius Network Limited             Celsius Network LLC                               10/27/2021   Incoming     Intercompany Coin Movement     WBTC                                         80.0        $4,715,914.92
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                        (2,100,000.0)         ($2,101,265.98)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     USDC                              (5,000,000.0)         ($5,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     DAI                   (7,887,339.54118181)              ($7,894,366.46)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20               (8,207,823.585015)             ($8,213,246.63)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     USDC                            (4,275,043.57)          ($4,275,043.57)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     USDC                            (10,750,000.0)         ($10,750,000.00)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     AAVE                                       (10.0)           ($3,390.32)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     BCH                                         (1.0)             ($571.42)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     COMP                                        (1.0)             ($315.34)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     MATIC                               (1,630.676)             ($3,277.66)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     GUSD                                  (2,994.17)            ($2,983.72)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     DOT                                 (335,000.0)        ($14,269,274.05)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     BAT                                     (130.52)               ($89.59)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     SUSD                              (4,807,650.0)         ($4,792,599.45)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     LINK                   (35,492.9036896673)              ($1,050,032.94)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     WBTC                          (125.50255697)            ($7,497,147.82)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     WBTC                                     (999.3)       ($59,695,196.60)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     XLM                                   (1,838.14)              ($637.46)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Outgoing     Intercompany Coin Movement     ZRX                                      (500.0)              ($490.05)
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Incoming     Intercompany Coin Movement     BNB_BSC                                    500.0           $234,400.67
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                         Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
                                                                                                    Pg       53    of   77
                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE             TYPE             TRANSACTION TYPE              COIN       COIN QUANTITY                     COIN USD
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                           2,500,000.0           $2,501,643.54
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Incoming     Intercompany Coin Movement     USDC                               10,000,000.0           $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Incoming     Intercompany Coin Movement     USDC                               23,000,000.0           $23,000,000.00
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                             250,000.0             $250,105.75
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Incoming     Intercompany Coin Movement     BAT                                        130.52                 $89.59
   Celsius Network Limited             Celsius Network LLC                               10/28/2021   Incoming     Intercompany Coin Movement     USDC                               10,000,000.0           $10,000,000.00
   Celsius Network Limited             Celsius Network EU UAB (LT)                       10/28/2021   Incoming     Intercompany Coin Movement     GUSD                                     2,994.17              $2,983.72
   Celsius Network Limited             Celsius Network LLC                               10/29/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                       (10,000,000.0)          ($10,007,924.76)
   Celsius Network Limited             Celsius Network LLC                               10/29/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                     (200,000,000.0)          ($199,994,587.03)
   Celsius Network Limited             Celsius Network LLC                               10/29/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                       (50,000,000.0)          ($50,003,076.13)
   Celsius Network Limited             Celsius Network LLC                               10/29/2021   Outgoing     Intercompany Coin Movement     UNI                                         (50.0)            ($1,274.39)
   Celsius Network Limited             Celsius Network LLC                               10/29/2021   Outgoing     Intercompany Coin Movement     USDC                             (15,000,000.0)          ($15,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               10/29/2021   Outgoing     Intercompany Coin Movement     USDC                           (140,000,000.0)          ($140,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               10/29/2021   Incoming     Intercompany Coin Movement     ADA                                  4,000,000.0           $7,996,928.81
   Celsius Network Limited             Celsius Network LLC                               10/29/2021   Incoming     Intercompany Coin Movement     BNB_BSC                                   9,195.0          $4,622,779.41
   Celsius Network Limited             Celsius Network LLC                               10/29/2021   Incoming     Intercompany Coin Movement     BTC                                       5,500.0        $344,851,007.99
   Celsius Network Limited             Celsius Network EU UAB (LT)                       10/31/2021   Outgoing     Intercompany Coin Movement     BTC                                           (3.8)         ($230,426.87)
   Celsius Network Limited             Celsius Network LLC                               10/31/2021   Incoming     Intercompany Coin Movement     LINK                                 2,330,000.0          $68,242,225.16
   Celsius Network Limited             Celsius Network LLC                               11/1/2021    Outgoing     Intercompany Coin Movement     USDT_ERC20               (4,774,147.722433)               ($4,778,380.00)
   Celsius Network Limited             Celsius Network LLC                               11/1/2021    Outgoing     Intercompany Coin Movement     KNC                   (1,760,228.56153517)                ($3,415,712.79)
   Celsius Network Limited             Celsius Network LLC                               11/1/2021    Outgoing     Intercompany Coin Movement     MATIC                  (345,693.510091492)                  ($656,817.67)
   Celsius Network Limited             Celsius Network LLC                               11/1/2021    Outgoing     Intercompany Coin Movement     MATIC                  (289,779.513438197)                  ($550,581.08)
   Celsius Network Limited             Celsius Network LLC                               11/1/2021    Outgoing     Intercompany Coin Movement     MATIC                  (218,834.510670976)                  ($415,785.57)
   Celsius Network Limited             Celsius Network LLC                               11/1/2021    Outgoing     Intercompany Coin Movement     MATIC                  (115,794.784631701)                  ($220,010.09)
   Celsius Network Limited             Celsius Network LLC                               11/1/2021    Outgoing     Intercompany Coin Movement     BAL                        (775.4556594706)                  ($20,276.92)
   Celsius Network Limited             Celsius Network LLC                               11/1/2021    Outgoing     Intercompany Coin Movement     USDC                           (100,000,000.0)          ($100,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               11/1/2021    Outgoing     Intercompany Coin Movement     WBTC                                       (999.3)       ($60,544,948.59)
   Celsius Network Limited             Celsius Network LLC                               11/1/2021    Incoming     Intercompany Coin Movement     USDT_ERC20               10,000,381.052433                $10,005,638.54
   Celsius Network Limited             Celsius Network LLC                               11/1/2021    Incoming     Intercompany Coin Movement     ETH                                       1,100.0          $4,781,043.52
   Celsius Network Limited             Celsius Network LLC                               11/1/2021    Incoming     Intercompany Coin Movement     USDC                                 3,000,000.0           $3,000,000.00
   Celsius Network Limited             Celsius Network LLC                               11/2/2021    Outgoing     Intercompany Coin Movement     USDC                            (644,383.5617)              ($644,383.56)
   Celsius Network Limited             Celsius Network LLC                               11/2/2021    Outgoing     Intercompany Coin Movement     SUSHI                  (27,701.5004213443)                  ($347,197.29)
   Celsius Network Limited             Celsius Network LLC                               11/2/2021    Outgoing     Intercompany Coin Movement     USDC                     (1,897,945.205479)               ($1,897,945.21)
   Celsius Network Limited             Celsius Network LLC                               11/2/2021    Outgoing     Intercompany Coin Movement     USDT_ERC20                  (694,171.232812)                ($694,390.56)
   Celsius Network Limited             Celsius Network LLC                               11/2/2021    Incoming     Intercompany Coin Movement     USDT_ERC20                           1,500,000.0           $1,501,539.50
   Celsius Network Limited             Celsius Network LLC                               11/2/2021    Incoming     Intercompany Coin Movement     USDT_ERC20                         13,500,000.0           $13,513,855.48
   Celsius Network Limited             Celsius Network LLC                               11/2/2021    Incoming     Intercompany Coin Movement     ADA                                  6,500,000.0          $12,814,449.75
   Celsius Network Limited             Celsius Network LLC                               11/2/2021    Incoming     Intercompany Coin Movement     ETH                                    100,000.0         $449,072,311.51
   Celsius Network Limited             Celsius Network LLC                               11/2/2021    Incoming     Intercompany Coin Movement     USDC                               38,499,000.0           $38,499,000.00
   Celsius Network Limited             Celsius Network LLC                               11/2/2021    Incoming     Intercompany Coin Movement     USDC                               21,500,000.0           $21,500,000.00
   Celsius Network Limited             Celsius Network EU UAB (LT)                       11/2/2021    Incoming     Intercompany Coin Movement     USDC                                      1,000.0              $1,000.00
   Celsius Network Limited             Celsius Network LLC                               11/3/2021    Outgoing     Intercompany Coin Movement     WBTC                           (145.18749432)             ($8,991,092.12)
   Celsius Network Limited             Celsius Network LLC                               11/3/2021    Outgoing     Intercompany Coin Movement     BNB_BSC                   (4,122.220805929)               ($2,239,943.68)
   Celsius Network Limited             Celsius Network LLC                               11/3/2021    Outgoing     Intercompany Coin Movement     BTC                                     (3,343.0)       ($208,493,773.79)
   Celsius Network Limited             Celsius Network LLC                               11/3/2021    Outgoing     Intercompany Coin Movement     ETH                                    (66,801.0)       ($302,618,478.43)
   Celsius Network Limited             Celsius Network LLC                               11/3/2021    Outgoing     Intercompany Coin Movement     ETC                           (25,000.999979)             ($1,358,211.73)
   Celsius Network Limited             Celsius Network LLC                               11/3/2021    Outgoing     Intercompany Coin Movement     WBTC                                       (999.3)       ($61,909,437.61)
   Celsius Network Limited             Celsius Network LLC                               11/3/2021    Outgoing     Intercompany Coin Movement     USDC                               (1,129,793.3)          ($1,129,793.30)
   Celsius Network Limited             Celsius Network LLC                               11/3/2021    Outgoing     Intercompany Coin Movement     USDC                                (955,904.54)            ($955,904.54)
   Celsius Network Limited             Celsius Network LLC                               11/3/2021    Incoming     Intercompany Coin Movement     USDT_ERC20                           5,000,000.0           $5,004,499.60
   Celsius Network Limited             Celsius Network LLC                               11/3/2021    Incoming     Intercompany Coin Movement     ETC                                      25,001.0          $1,342,567.74
   Celsius Network Limited             Celsius Network LLC                               11/3/2021    Incoming     Intercompany Coin Movement     USDC                               20,000,000.0           $20,000,000.00
   Celsius Network Limited             Celsius Network LLC                               11/3/2021    Incoming     Intercompany Coin Movement     USDT_ERC20                         16,000,000.0           $16,014,912.25
   Celsius Network Limited             Celsius Network LLC                               11/3/2021    Incoming     Intercompany Coin Movement     ETC                             25,000.999958              $1,388,828.55
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Outgoing     Intercompany Coin Movement     BNB_BSC                     (17,499.9998425)              ($9,771,556.32)
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Outgoing     Intercompany Coin Movement     UNI                    (3,524.02878512073)                   ($92,761.93)
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Outgoing     Intercompany Coin Movement     UNI                                 (3,291.0465)             ($86,629.21)
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Outgoing     Intercompany Coin Movement     SUSHI                                 (641.0959)              ($8,075.78)
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Outgoing     Intercompany Coin Movement     SUSHI                                (1,063.179)             ($13,392.69)
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Outgoing     Intercompany Coin Movement     USDC                         (5,049,498.4383)             ($5,049,498.44)
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Outgoing     Intercompany Coin Movement     LINK                                  (326.1507)              ($9,934.92)
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Outgoing     Intercompany Coin Movement     MANA                                       (500.0)            ($1,258.23)
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Outgoing     Intercompany Coin Movement     UMA                                      (92.921)             ($1,075.20)
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Outgoing     Intercompany Coin Movement     XLM                                    (1,261.22)               ($465.83)
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Outgoing     Intercompany Coin Movement     FTT                                  (850,000.0)         ($49,997,000.00)
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Outgoing     Intercompany Coin Movement     AAVE                                        (20.0)            ($6,557.90)
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Outgoing     Intercompany Coin Movement     BAT                                     (1,600.0)             ($1,544.40)
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Outgoing     Intercompany Coin Movement     KNC                                        (100.0)              ($198.78)
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Outgoing     Intercompany Coin Movement     MATIC                                   (1,100.0)             ($2,123.00)
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Outgoing     Intercompany Coin Movement     UNI                                         (50.0)            ($1,286.05)
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Incoming     Intercompany Coin Movement     USDT_ERC20                           3,500,000.0           $3,502,302.93
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Incoming     Intercompany Coin Movement     WBTC                                         400.0        $24,866,460.60
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Incoming     Intercompany Coin Movement     COMP                                      2,500.0            $904,727.65
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Incoming     Intercompany Coin Movement     AAVE                                          20.0             $6,488.42
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Incoming     Intercompany Coin Movement     BAT                                       1,600.0              $1,538.48
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Incoming     Intercompany Coin Movement     KNC                                          100.0               $199.76
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Incoming     Intercompany Coin Movement     MATIC                                     1,100.0              $2,101.00
   Celsius Network Limited             Celsius Network LLC                               11/4/2021    Incoming     Intercompany Coin Movement     UNI                                           50.0             $1,284.15
   Celsius Network Limited             Celsius Network LLC                               11/5/2021    Incoming     Intercompany Coin Movement     USDC                                 3,000,000.0           $3,000,000.00
   Celsius Network Limited             Celsius Network LLC                               11/5/2021    Incoming     Intercompany Coin Movement     USDC                               12,000,000.0           $12,000,000.00
   Celsius Network Limited             Celsius Network LLC                               11/5/2021    Incoming     Intercompany Coin Movement     BNB_BSC                                  15,001.0          $9,097,339.31
   Celsius Network Limited             Celsius Network LLC                               11/6/2021    Incoming     Intercompany Coin Movement     USDC                                 1,000,000.0           $1,000,000.00
   Celsius Network Limited             Celsius Network LLC                               11/8/2021    Outgoing     Intercompany Coin Movement     DOT                                     (8,127.0)           ($432,108.47)
   Celsius Network Limited             Celsius Network LLC                               11/8/2021    Outgoing     Intercompany Coin Movement     UNI                                 (3,821.9178)             ($97,789.21)
   Celsius Network Limited             Celsius Network LLC                               11/8/2021    Outgoing     Intercompany Coin Movement     USDC                               (4,000,000.0)          ($4,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               11/8/2021    Outgoing     Intercompany Coin Movement     USDC                             (10,000,000.0)          ($10,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               11/8/2021    Outgoing     Intercompany Coin Movement     MATIC                  (319,607.259609864)                  ($607,253.79)
   Celsius Network Limited             Celsius Network LLC                               11/8/2021    Outgoing     Intercompany Coin Movement     MATIC                  (226,270.561366165)                  ($429,914.07)
   Celsius Network Limited             Celsius Network LLC                               11/8/2021    Outgoing     Intercompany Coin Movement     MATIC                  (146,074.424286714)                  ($277,541.41)
   Celsius Network Limited             Celsius Network LLC                               11/8/2021    Outgoing     Intercompany Coin Movement     MATIC                  (87,215.3703760614)                  ($165,709.20)
   Celsius Network Limited             Celsius Network LLC                               11/8/2021    Outgoing     Intercompany Coin Movement     MATIC                   (87,151.445350193)                  ($165,587.75)
   Celsius Network Limited             Celsius Network LLC                               11/8/2021    Outgoing     Intercompany Coin Movement     WBTC                                       (999.5)       ($66,071,456.67)
   Celsius Network Limited             Celsius Network LLC                               11/8/2021    Incoming     Intercompany Coin Movement     USDT_ERC20                           9,000,000.0           $9,008,092.53
   Celsius Network Limited             Celsius Network LLC                               11/9/2021    Outgoing     Intercompany Coin Movement     1INCH                   (200,054.34057056)                  ($900,901.06)
   Celsius Network Limited             Celsius Network LLC                               11/9/2021    Incoming     Intercompany Coin Movement     ADA                                  7,500,000.0          $15,820,346.39
   Celsius Network Limited             Celsius Network LLC                               11/9/2021    Incoming     Intercompany Coin Movement     ETH                                       8,100.0         $39,011,908.78
   Celsius Network Limited             Celsius Network LLC                               11/9/2021    Incoming     Intercompany Coin Movement     USDT_ERC20                           9,000,000.0           $9,010,253.73
   Celsius Network Limited             Celsius Network LLC                               11/9/2021    Incoming     Intercompany Coin Movement     USDC                                 6,000,000.0           $6,000,000.00
   Celsius Network Limited             Celsius Network LLC                               11/9/2021    Incoming     Intercompany Coin Movement     USDC                                 4,000,000.0           $4,000,000.00
   Celsius Network Limited             Celsius Network LLC                               11/9/2021    Incoming     Intercompany Coin Movement     USDC                               20,000,000.0           $20,000,000.00
   Celsius Network Limited             Celsius Network EU UAB (LT)                       11/9/2021    Incoming     Intercompany Coin Movement     USDT_ERC20                                5,493.0              $5,499.26
   Celsius Network Limited             Celsius Network LLC                               11/10/2021   Outgoing     Intercompany Coin Movement     USDC                            (963,965.7534)              ($963,965.75)
   Celsius Network Limited             Celsius Network LLC                               11/10/2021   Outgoing     Intercompany Coin Movement     USDC                               (5,000,000.0)          ($5,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               11/10/2021   Outgoing     Intercompany Coin Movement     OMG                         (5,145.26611523)                 ($83,147.50)
   Celsius Network Limited             Celsius Network LLC                               11/10/2021   Outgoing     Intercompany Coin Movement     ALPHA                              (1,000,000.0)          ($1,220,573.36)
   Celsius Network Limited             Celsius Network LLC                               11/10/2021   Outgoing     Intercompany Coin Movement     BNT                               (15,546.5605)              ($75,299.85)
   Celsius Network Limited             Celsius Network LLC                               11/10/2021   Outgoing     Intercompany Coin Movement     WBTC                                       (999.3)       ($68,105,903.57)
   Celsius Network Limited             Celsius Network LLC                               11/10/2021   Outgoing     Intercompany Coin Movement     MANA                                 (100,000.0)            ($260,983.36)
   Celsius Network Limited             Celsius Network LLC                               11/10/2021   Outgoing     Intercompany Coin Movement     OMG                                    (75,000.0)         ($1,212,750.00)
   Celsius Network Limited             Celsius Network LLC                               11/10/2021   Outgoing     Intercompany Coin Movement     DOT                    (50,037.9828999986)                ($2,555,753.21)
   Celsius Network Limited             Celsius Network LLC                               11/10/2021   Incoming     Intercompany Coin Movement     XRP                        6,871,816.999988                $8,477,784.05
   Celsius Network Limited             Celsius Network LLC                               11/10/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                           1,000,000.0             $999,998.59
   Celsius Network Limited             Celsius Network LLC                               11/10/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                 8,004,417.995528                $8,019,289.59
   Celsius Network Limited             Celsius Network LLC                               11/10/2021   Incoming     Intercompany Coin Movement     PAXG                                      7,998.4         $14,883,457.50
   Celsius Network Limited             Celsius Network LLC                               11/10/2021   Incoming     Intercompany Coin Movement     XTZ                                      11,000.1             $69,633.41
   Celsius Network Limited             Celsius Network LLC                               11/10/2021   Incoming     Intercompany Coin Movement     USDC                               10,000,000.0           $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                               11/10/2021   Outgoing     Intercompany Coin Movement     PAXG                                    (8,000.0)        ($14,883,457.50)
   Celsius Network Limited             Celsius Network LLC                               11/11/2021   Outgoing     Intercompany Coin Movement     SUSHI                                 (662.4658)              ($7,510.78)
   Celsius Network Limited             Celsius Network LLC                               11/11/2021   Outgoing     Intercompany Coin Movement     OMG                                  (224,997.0)          ($4,074,695.67)
   Celsius Network Limited             Celsius Network LLC                               11/11/2021   Outgoing     Intercompany Coin Movement     OMG                                    (75,000.0)         ($1,358,250.00)
   Celsius Network Limited             Celsius Network LLC                               11/11/2021   Outgoing     Intercompany Coin Movement     XRP                      (3,255,720.879144)               ($3,919,158.96)
   Celsius Network Limited             Celsius Network LLC                               11/11/2021   Outgoing     Intercompany Coin Movement     UMA                    (65,228.1444507115)                ($1,196,656.30)
   Celsius Network Limited             Celsius Network LLC                               11/11/2021   Outgoing     Intercompany Coin Movement     UMA                                    (15,000.0)           ($275,185.58)
   Celsius Network Limited             Celsius Network LLC                               11/11/2021   Outgoing     Intercompany Coin Movement     UMA                                 (2,049.0641)             ($37,591.53)
   Celsius Network Limited             Celsius Network LLC                               11/11/2021   Incoming     Intercompany Coin Movement     ADA                                  3,500,000.0           $7,347,123.04
   Celsius Network Limited             Celsius Network LLC                               11/12/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                 (1,638,003.11205)              ($1,638,444.46)
   Celsius Network Limited             Celsius Network LLC                               11/12/2021   Outgoing     Intercompany Coin Movement     DOT                     (2,545.0358273852)                  ($117,207.50)
   Celsius Network Limited             Celsius Network LLC                               11/12/2021   Outgoing     Intercompany Coin Movement     DOT                    (124,999.982899998)                ($5,686,872.84)
   Celsius Network Limited             Celsius Network LLC                               11/12/2021   Outgoing     Intercompany Coin Movement     ALPHA                 (1,777,301.88567039)                ($2,035,578.34)
   Celsius Network Limited             Celsius Network LLC                               11/12/2021   Outgoing     Intercompany Coin Movement     BADGER                                (953.3052)             ($29,230.69)
   Celsius Network Limited             Celsius Network LLC                               11/12/2021   Outgoing     Intercompany Coin Movement     CREAM                  (3,077.10383514073)                  ($260,647.38)
   Celsius Network Limited             Celsius Network LLC                               11/12/2021   Outgoing     Intercompany Coin Movement     CRV                    (11,268.0580264753)                   ($44,895.24)
   Celsius Network Limited             Celsius Network LLC                               11/12/2021   Outgoing     Intercompany Coin Movement     CRV                                 (5,639.2024)             ($22,468.23)
   Celsius Network Limited             Celsius Network LLC                               11/12/2021   Outgoing     Intercompany Coin Movement     YFL                    (3,994.03038038894)                ($2,519,663.24)
   Celsius Network Limited             Celsius Network LLC                               11/12/2021   Outgoing     Intercompany Coin Movement     YFI                                      (0.4442)            ($14,478.54)
   Celsius Network Limited             Celsius Network LLC                               11/12/2021   Outgoing     Intercompany Coin Movement     YFI                                      (0.2131)             ($6,945.92)
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                         Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
                                                                                                    Pg       54    of   77
                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE             TYPE             TRANSACTION TYPE              COIN       COIN QUANTITY                     COIN USD
   Celsius Network Limited             Celsius Network LLC                               11/12/2021   Outgoing     Intercompany Coin Movement     BAL                                    (161.1045)             ($3,879.67)
   Celsius Network Limited             Celsius Network LLC                               11/12/2021   Outgoing     Intercompany Coin Movement     OMG                                   (150,000.0)         ($1,978,500.00)
   Celsius Network Limited             Celsius Network LLC                               11/12/2021   Incoming     Intercompany Coin Movement     DOT                                             5.0             $227.67
   Celsius Network Limited             Celsius Network LLC                               11/12/2021   Incoming     Intercompany Coin Movement     DOT                                           100.0            $4,553.33
   Celsius Network Limited             Celsius Network LLC                               11/13/2021   Incoming     Intercompany Coin Movement     DOT                      112,599.982899999                 $5,224,729.18
   Celsius Network Limited             Celsius Network LLC                               11/13/2021   Incoming     Intercompany Coin Movement     DOT                                           100.0            $4,640.08
   Celsius Network Limited             Celsius Network LLC                               11/13/2021   Incoming     Intercompany Coin Movement     DOT                                            10.0             $464.01
   Celsius Network Limited             Celsius Network LLC                               11/13/2021   Incoming     Intercompany Coin Movement     DOT                      24,999.9829999986                 $1,160,019.80
   Celsius Network Limited             Celsius Network LLC                               11/14/2021   Outgoing     Intercompany Coin Movement     BNB_BSC                            (131.049496)              ($84,748.45)
   Celsius Network Limited             Celsius Network LLC                               11/14/2021   Outgoing     Intercompany Coin Movement     BNB_BSC                              (31.107974)             ($20,117.29)
   Celsius Network Limited             Celsius Network LLC                               11/15/2021   Outgoing     Intercompany Coin Movement     BNB_BSC                                  (5,000.0)        ($3,232,381.18)
   Celsius Network Limited             Celsius Network LLC                               11/15/2021   Outgoing     Intercompany Coin Movement     DOT                    (44,999.9328999986)                ($2,071,463.07)
   Celsius Network Limited             Celsius Network LLC                               11/15/2021   Outgoing     Intercompany Coin Movement     MATIC                  (28,404.0929981255)                   ($49,139.08)
   Celsius Network Limited             Celsius Network LLC                               11/15/2021   Outgoing     Intercompany Coin Movement     MATIC                  (28,383.2744752887)                   ($49,103.06)
   Celsius Network Limited             Celsius Network LLC                               11/15/2021   Outgoing     Intercompany Coin Movement     MATIC                  (115,092.606068637)                  ($199,110.21)
   Celsius Network Limited             Celsius Network LLC                               11/15/2021   Outgoing     Intercompany Coin Movement     MATIC                  (143,006.234894769)                  ($247,400.79)
   Celsius Network Limited             Celsius Network LLC                               11/15/2021   Outgoing     Intercompany Coin Movement     MATIC                  (221,517.909151494)                  ($383,225.98)
   Celsius Network Limited             Celsius Network LLC                               11/15/2021   Outgoing     Intercompany Coin Movement     MATIC                  (312,894.136430964)                  ($541,306.86)
   Celsius Network Limited             Celsius Network LLC                               11/15/2021   Outgoing     Intercompany Coin Movement     COMP                   (3,560.37067039483)                ($1,211,756.28)
   Celsius Network Limited             Celsius Network LLC                               11/15/2021   Outgoing     Intercompany Coin Movement     BNB_BSC                               (1,429.029)           ($909,352.50)
   Celsius Network Limited             Celsius Network LLC                               11/15/2021   Incoming     Intercompany Coin Movement     KNC                                       50,000.0            $96,861.26
   Celsius Network Limited             Celsius Network LLC                               11/15/2021   Incoming     Intercompany Coin Movement     BNB_BSC                           2,689.999874             $1,720,214.19
   Celsius Network Limited             Celsius Network LLC                               11/15/2021   Incoming     Intercompany Coin Movement     ETH                                        1,800.0         $8,267,411.22
   Celsius Network Limited             Celsius Network LLC                               11/15/2021   Incoming     Intercompany Coin Movement     USDC                                 3,000,000.0           $3,000,000.00
   Celsius Network Limited             Celsius Network LLC                               11/15/2021   Incoming     Intercompany Coin Movement     XRP                       14,999,991.001082               $17,604,476.45
   Celsius Network Limited             Celsius Network EU UAB (LT)                       11/15/2021   Incoming     Intercompany Coin Movement     BNB_BSC                                  9.090874              $5,813.56
   Celsius Network Limited             Celsius Network LLC                               11/16/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                        (133,954.452)             ($133,976.66)
   Celsius Network Limited             Celsius Network LLC                               11/16/2021   Outgoing     Intercompany Coin Movement     USDC                             (50,000,000.0)          ($50,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               11/16/2021   Outgoing     Intercompany Coin Movement     KNC                                 (6,661.0685)             ($11,690.67)
   Celsius Network Limited             Celsius Network LLC                               11/16/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                       (11,000,000.0)          ($11,003,666.54)
   Celsius Network Limited             Celsius Network LLC                               11/16/2021   Outgoing     Intercompany Coin Movement     USDC                             (12,000,000.0)          ($12,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               11/16/2021   Outgoing     Intercompany Coin Movement     XRP                         (514,623.999976)                ($570,201.29)
   Celsius Network Limited             Celsius Network LLC                               11/16/2021   Outgoing     Intercompany Coin Movement     XRP                       (1,102,824.740423)              ($1,214,359.31)
   Celsius Network Limited             Celsius Network LLC                               11/16/2021   Incoming     Intercompany Coin Movement     DOT                      108,999.932899999                 $4,532,869.45
   Celsius Network Limited             Celsius Network LLC                               11/16/2021   Incoming     Intercompany Coin Movement     ETH                                       20,000.0        $82,977,233.87
   Celsius Network Limited             Celsius Network LLC                               11/16/2021   Incoming     Intercompany Coin Movement     KNC                                       50,000.0            $84,579.67
   Celsius Network Limited             Celsius Network LLC                               11/16/2021   Incoming     Intercompany Coin Movement     UNI                                       76,753.0         $1,655,229.10
   Celsius Network Limited             Celsius Network LLC                               11/16/2021   Incoming     Intercompany Coin Movement     USDC                                    600,000.0            $600,000.00
   Celsius Network Limited             Celsius Network LLC                               11/16/2021   Incoming     Intercompany Coin Movement     ADA                                     500,000.0            $955,644.90
   Celsius Network Limited             Celsius Network LLC                               11/16/2021   Incoming     Intercompany Coin Movement     USDC                                 5,000,000.0           $5,000,000.00
   Celsius Network Limited             Celsius Network LLC                               11/16/2021   Incoming     Intercompany Coin Movement     ADA                                  2,600,000.0           $5,025,784.79
   Celsius Network Limited             Celsius Network LLC                               11/16/2021   Incoming     Intercompany Coin Movement     BNB_BSC                                    1,685.0           $998,017.78
   Celsius Network Limited             Celsius Network LLC                               11/16/2021   Incoming     Intercompany Coin Movement     UNI                                       46,000.0         $1,006,658.47
   Celsius Network Limited             Celsius Network LLC                               11/16/2021   Incoming     Intercompany Coin Movement     ETH                                        1,750.0         $7,483,533.15
   Celsius Network Limited             Celsius Network LLC                               11/17/2021   Outgoing     Intercompany Coin Movement     USDC                             (30,000,000.0)          ($30,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               11/17/2021   Outgoing     Intercompany Coin Movement     UNI                                    (401.1271)             ($8,755.50)
   Celsius Network Limited             Celsius Network LLC                               11/17/2021   Outgoing     Intercompany Coin Movement     USDC                         (1,333,234.5478)             ($1,333,234.55)
   Celsius Network Limited             Celsius Network LLC                               11/17/2021   Incoming     Intercompany Coin Movement     OMG                      99,998.5232000099                 $1,046,984.54
   Celsius Network Limited             Celsius Network LLC                               11/17/2021   Incoming     Intercompany Coin Movement     ETH                                       25,000.0       $106,415,746.49
   Celsius Network Limited             Celsius Network LLC                               11/17/2021   Incoming     Intercompany Coin Movement     UNI                                     100,000.0          $2,182,725.72
   Celsius Network Limited             Celsius Network LLC                               11/18/2021   Outgoing     Intercompany Coin Movement     XRP                       (1,999,998.999988)              ($2,157,906.65)
   Celsius Network Limited             Celsius Network LLC                               11/18/2021   Outgoing     Intercompany Coin Movement     USDC                           (130,000,000.0)          ($130,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               11/18/2021   Outgoing     Intercompany Coin Movement     WBTC                                        (999.5)      ($59,056,865.74)
   Celsius Network Limited             Celsius Network LLC                               11/18/2021   Outgoing     Intercompany Coin Movement     USDC                                    (80,000.0)           ($80,000.00)
   Celsius Network Limited             Celsius Network LLC                               11/18/2021   Incoming     Intercompany Coin Movement     ADA                                  2,500,000.0           $4,726,343.78
   Celsius Network Limited             Celsius Network LLC                               11/18/2021   Incoming     Intercompany Coin Movement     BTC                           3,999.99987825             $242,288,116.58
   Celsius Network Limited             Celsius Network LLC                               11/18/2021   Incoming     Intercompany Coin Movement     USDC                                 7,000,000.0           $7,000,000.00
   Celsius Network Limited             Celsius Network LLC                               11/18/2021   Incoming     Intercompany Coin Movement     XRP                                  1,080,000.0           $1,137,832.58
   Celsius Network Limited             Celsius Network LLC                               11/18/2021   Incoming     Intercompany Coin Movement     UNI                      232,358.872485568                 $4,725,369.66
   Celsius Network Limited             Celsius Network LLC                               11/19/2021   Outgoing     Intercompany Coin Movement     OMG                                   (300,000.0)         ($3,036,000.00)
   Celsius Network Limited             Celsius Network LLC                               11/19/2021   Incoming     Intercompany Coin Movement     ADA                                     400,000.0            $711,016.66
   Celsius Network Limited             Celsius Network LLC                               11/19/2021   Incoming     Intercompany Coin Movement     ZEC                                        5,000.0           $802,309.04
   Celsius Network Limited             Celsius Network LLC                               11/22/2021   Outgoing     Intercompany Coin Movement     XRP                           (14,644.979964)                ($15,418.60)
   Celsius Network Limited             Celsius Network LLC                               11/22/2021   Outgoing     Intercompany Coin Movement     USDC                           (9,643,920.548)            ($9,643,920.55)
   Celsius Network Limited             Celsius Network LLC                               11/22/2021   Outgoing     Intercompany Coin Movement     MATIC                  (305,131.070995528)                  ($479,055.78)
   Celsius Network Limited             Celsius Network LLC                               11/22/2021   Outgoing     Intercompany Coin Movement     MATIC                  (139,458.176206848)                  ($218,949.34)
   Celsius Network Limited             Celsius Network LLC                               11/22/2021   Outgoing     Intercompany Coin Movement     MATIC                  (216,021.935198516)                  ($339,154.44)
   Celsius Network Limited             Celsius Network LLC                               11/22/2021   Outgoing     Intercompany Coin Movement     MATIC                  (28,097.0726290251)                   ($44,112.40)
   Celsius Network Limited             Celsius Network LLC                               11/22/2021   Outgoing     Intercompany Coin Movement     MATIC                      (56,149.87245558)                 ($88,155.30)
   Celsius Network Limited             Celsius Network LLC                               11/22/2021   Outgoing     Intercompany Coin Movement     MATIC                  (28,117.6812289485)                   ($44,144.76)
   Celsius Network Limited             Celsius Network LLC                               11/22/2021   Outgoing     Intercompany Coin Movement     WBTC                                        (107.9)       ($6,048,492.00)
   Celsius Network Limited             Celsius Network LLC                               11/22/2021   Incoming     Intercompany Coin Movement     OMG                                       40,000.0           $370,000.00
   Celsius Network Limited             Celsius Network LLC                               11/22/2021   Incoming     Intercompany Coin Movement     XAUT2                                         100.0          $186,122.29
   Celsius Network Limited             Celsius Network LLC                               11/22/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                101,136,436.94709              $101,193,385.78
   Celsius Network Limited             Celsius Network LLC                               11/22/2021   Incoming     Intercompany Coin Movement     BTC                           1,099.99975322              $64,003,664.06
   Celsius Network Limited             Celsius Network LLC                               11/22/2021   Incoming     Intercompany Coin Movement     USDC                               15,000,000.0           $15,000,000.00
   Celsius Network Limited             Celsius Network LLC                               11/22/2021   Incoming     Intercompany Coin Movement     ADA                                  3,500,000.0           $6,226,062.38
   Celsius Network Limited             Celsius Network LLC                               11/22/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                         30,000,000.0           $30,029,355.68
   Celsius Network Limited             Celsius Network LLC                               11/23/2021   Outgoing     Intercompany Coin Movement     USDC                             (45,000,000.0)          ($45,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               11/23/2021   Outgoing     Intercompany Coin Movement     AAVE                                 (611.64941)            ($167,353.75)
   Celsius Network Limited             Celsius Network LLC                               11/23/2021   Outgoing     Intercompany Coin Movement     AAVE                           (196.52158999)                ($53,770.39)
   Celsius Network Limited             Celsius Network LLC                               11/23/2021   Outgoing     Intercompany Coin Movement     AAVE                    (5.61159423992361)                    ($1,535.39)
   Celsius Network Limited             Celsius Network LLC                               11/23/2021   Outgoing     Intercompany Coin Movement     ETH                    (5,862.80735195453)               ($25,167,301.94)
   Celsius Network Limited             Celsius Network LLC                               11/23/2021   Incoming     Intercompany Coin Movement     ETH                      5,862.80735195454                $25,167,301.94
   Celsius Network Limited             Celsius Network LLC                               11/23/2021   Incoming     Intercompany Coin Movement     ETH                                        6,000.0        $24,683,560.95
   Celsius Network Limited             Celsius Network LLC                               11/23/2021   Incoming     Intercompany Coin Movement     1INCH                                   540,000.0          $2,083,606.38
   Celsius Network Limited             Celsius Network LLC                               11/23/2021   Incoming     Intercompany Coin Movement     USDC                               10,000,000.0           $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                               11/23/2021   Incoming     Intercompany Coin Movement     DAI                                10,000,000.0           $10,007,409.58
   Celsius Network Limited             Celsius Network LLC                               11/23/2021   Incoming     Intercompany Coin Movement     BTC                                        2,000.0       $114,682,820.56
   Celsius Network Limited             Celsius Network LLC                               11/24/2021   Outgoing     Intercompany Coin Movement     FTT                                   (200,000.0)         ($9,660,000.00)
   Celsius Network Limited             Celsius Network LLC                               11/24/2021   Outgoing     Intercompany Coin Movement     EOS                               (16,072.9313)              ($65,673.32)
   Celsius Network Limited             Celsius Network LLC                               11/24/2021   Outgoing     Intercompany Coin Movement     EOS                             (317,733.6779)            ($1,298,246.23)
   Celsius Network Limited             Celsius Network LLC                               11/24/2021   Outgoing     Intercompany Coin Movement     BAT                               (21,623.5616)              ($22,921.59)
   Celsius Network Limited             Celsius Network LLC                               11/24/2021   Outgoing     Intercompany Coin Movement     OMG                         (6,266.51865287)                 ($54,017.39)
   Celsius Network Limited             Celsius Network LLC                               11/24/2021   Outgoing     Intercompany Coin Movement     EOS                             (404,862.2816)            ($1,655,951.95)
   Celsius Network Limited             Celsius Network LLC                               11/24/2021   Outgoing     Intercompany Coin Movement     OMG                      (185,915.36675451)               ($1,591,435.54)
   Celsius Network Limited             Celsius Network LLC                               11/24/2021   Incoming     Intercompany Coin Movement     ETH                                       30,000.0       $128,434,384.81
   Celsius Network Limited             Celsius Network LLC                               11/24/2021   Incoming     Intercompany Coin Movement     ETH                                       30,500.0       $130,468,562.56
   Celsius Network Limited             Celsius Network LLC                               11/25/2021   Outgoing     Intercompany Coin Movement     USDC                                  (120,000.0)           ($120,000.00)
   Celsius Network Limited             Celsius Network LLC                               11/25/2021   Incoming     Intercompany Coin Movement     ZEC                                        3,000.0           $783,495.92
   Celsius Network Limited             Celsius Network LLC                               11/25/2021   Incoming     Intercompany Coin Movement     ADA                                            20.0               $33.82
   Celsius Network Limited             Celsius Network LLC                               11/26/2021   Outgoing     Intercompany Coin Movement     MATIC                  (342,466.372386508)                  ($558,220.19)
   Celsius Network Limited             Celsius Network LLC                               11/26/2021   Outgoing     Intercompany Coin Movement     MATIC                             (42,917.1671)              ($69,954.98)
   Celsius Network Limited             Celsius Network LLC                               11/26/2021   Outgoing     Intercompany Coin Movement     USDC                             (30,000,000.0)          ($30,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               11/26/2021   Outgoing     Intercompany Coin Movement     ETC                                (544.465879)              ($25,402.12)
   Celsius Network Limited             Celsius Network LLC                               11/26/2021   Outgoing     Intercompany Coin Movement     SNX                    (267,419.191607995)                ($1,983,142.30)
   Celsius Network Limited             Celsius Network LLC                               11/26/2021   Outgoing     Intercompany Coin Movement     SNX                         (2,579.09410959)                 ($19,126.19)
   Celsius Network Limited             Celsius Network LLC                               11/26/2021   Outgoing     Intercompany Coin Movement     ETC                           (12,499.989979)               ($584,136.94)
   Celsius Network Limited             Celsius Network LLC                               11/26/2021   Outgoing     Intercompany Coin Movement     USDC                               (1,270,000.0)          ($1,270,000.00)
   Celsius Network Limited             Celsius Network LLC                               11/26/2021   Incoming     Intercompany Coin Movement     BTC                                        1,500.0        $81,921,250.64
   Celsius Network Limited             Celsius Network LLC                               11/26/2021   Incoming     Intercompany Coin Movement     ETH                                        1,000.0         $4,117,802.79
   Celsius Network Limited             Celsius Network LLC                               11/26/2021   Incoming     Intercompany Coin Movement     ETH                                        2,000.0         $8,187,898.86
   Celsius Network Limited             Celsius Network LLC                               11/27/2021   Outgoing     Intercompany Coin Movement     MANA                            (100,768.4207)              ($480,624.46)
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Outgoing     Intercompany Coin Movement     BNB_BSC                                  (2,500.0)        ($1,533,937.82)
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Outgoing     Intercompany Coin Movement     UNI                    (97,495.8724855686)                ($1,935,067.38)
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Outgoing     Intercompany Coin Movement     XRP                              (15,000,000.0)          ($14,609,703.79)
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Outgoing     Intercompany Coin Movement     MATIC                            (10,000,000.0)          ($17,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Outgoing     Intercompany Coin Movement     MATIC                 (11,161,164.4272893)               ($18,973,979.53)
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Outgoing     Intercompany Coin Movement     MATIC                  (299,219.030100187)                  ($508,672.35)
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Outgoing     Intercompany Coin Movement     MATIC                  (211,836.420721024)                  ($360,121.92)
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Outgoing     Intercompany Coin Movement     MATIC                  (136,493.188709724)                  ($232,038.42)
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Outgoing     Intercompany Coin Movement     MATIC                  (27,213.7195685923)                   ($46,263.32)
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Outgoing     Intercompany Coin Movement     MATIC                    (27,233.680247999)                  ($46,297.26)
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Outgoing     Intercompany Coin Movement     MATIC                 (4,224,990.94109802)                ($7,393,734.15)
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Incoming     Intercompany Coin Movement     ETH                                       6,480.86        $28,242,752.80
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Incoming     Intercompany Coin Movement     ETH                                             1.0            $4,357.87
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Incoming     Intercompany Coin Movement     MATIC                                3,981,736.0           $6,609,681.76
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Incoming     Intercompany Coin Movement     ETH                                       30,500.0       $131,567,718.13
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Incoming     Intercompany Coin Movement     BTC                           1,999.99988159             $114,220,646.94
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Incoming     Intercompany Coin Movement     ADA                                  5,000,001.0           $7,890,808.98
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Incoming     Intercompany Coin Movement     MATIC_POLYGON                                   2.5                $4.37
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Incoming     Intercompany Coin Movement     ETH                                       2,516.24        $11,167,105.08
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Incoming     Intercompany Coin Movement     MATIC                                4,250,000.0           $7,480,000.00
   Celsius Network Limited             Celsius Network LLC                               11/29/2021   Incoming     Intercompany Coin Movement     ETH                                        2,500.0        $11,125,167.38
   Celsius Network Limited             Celsius Network EU UAB (LT)                       11/29/2021   Incoming     Intercompany Coin Movement     MATIC                           212,113.04703                $356,349.92
   Celsius Network Limited             Celsius Network LLC                               11/30/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                    (536,428.77029)               ($537,352.04)
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                             Doc 15         Filed    03/24/23
                                                                               Statement of Financial Affairs forEntered          03/24/23
                                                                                                                 Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                           Case Number: 22-10966
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                 CELSIUS ENTITY                              COUNTERPARTY                   DATE             TYPE             TRANSACTION TYPE              COIN       COIN QUANTITY                       COIN USD
   Celsius Network Limited             Celsius Network LLC                                11/30/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                            8,000,000.0            $8,007,006.21
   Celsius Network Limited             Celsius Network LLC                                11/30/2021   Incoming     Intercompany Coin Movement     LTC                                        23,000.0          $4,954,289.58
   Celsius Network Limited             Celsius Network LLC                                11/30/2021   Incoming     Intercompany Coin Movement     LUNA                                     950,000.0          $54,415,264.85
   Celsius Network Limited             Celsius Network LLC                                11/30/2021   Incoming     Intercompany Coin Movement     USDC                                18,000,000.0            $18,000,000.00
   Celsius Network Limited             Celsius Network LLC                                12/1/2021    Outgoing     Intercompany Coin Movement     MATIC                 (10,596,691.4932992)                 ($21,829,184.48)
   Celsius Network Limited             Celsius Network LLC                                12/1/2021    Incoming     Intercompany Coin Movement     ETH                                        25,000.0        $118,270,203.92
   Celsius Network Limited             Celsius Network LLC                                12/1/2021    Incoming     Intercompany Coin Movement     USDC                                12,000,000.0            $12,000,000.00
   Celsius Network Limited             Celsius Network LLC                                12/1/2021    Incoming     Intercompany Coin Movement     USDC                                11,000,000.0            $11,000,000.00
   Celsius Network Limited             Celsius Network LLC                                12/1/2021    Incoming     Intercompany Coin Movement     UMA                                      57,295.65             $749,640.09
   Celsius Network Limited             Celsius Network LLC                                12/1/2021    Incoming     Intercompany Coin Movement     MATIC_POLYGON                                  100.0               $198.25
   Celsius Network Limited             Celsius Network LLC                                12/2/2021    Outgoing     Intercompany Coin Movement     USDC                                 (107,784.09)             ($107,784.09)
   Celsius Network Limited             Celsius Network LLC                                12/2/2021    Outgoing     Intercompany Coin Movement     ADA                            (31,798.852707)                 ($54,999.42)
   Celsius Network Limited             Celsius Network LLC                                12/2/2021    Outgoing     Intercompany Coin Movement     ADA                                   (99.833883)                 ($172.02)
   Celsius Network Limited             Celsius Network LLC                                12/2/2021    Outgoing     Intercompany Coin Movement     USDT_ERC20                     (94,444.769729)                 ($94,511.45)
   Celsius Network Limited             Celsius Network LLC                                12/2/2021    Incoming     Intercompany Coin Movement     MATIC                                 7,501,000.0           $15,677,090.00
   Celsius Network Limited             Celsius Network LLC                                12/2/2021    Incoming     Intercompany Coin Movement     USDT_ERC20                46,250,883.125829                 $46,309,066.79
   Celsius Network Limited             Celsius Network LLC                                12/2/2021    Incoming     Intercompany Coin Movement     ADA                                    31,799.019               $54,999.42
   Celsius Network Limited             Celsius Network LLC                                12/2/2021    Incoming     Intercompany Coin Movement     ADA                                            100.0               $172.02
   Celsius Network Limited             Celsius Network LLC                                12/2/2021    Incoming     Intercompany Coin Movement     BADGER                                           10.0              $218.52
   Celsius Network Limited             Celsius Network LLC                                12/3/2021    Outgoing     Intercompany Coin Movement     STKAAVE                 (780.293476147496)                    ($190,112.04)
   Celsius Network Limited             Celsius Network LLC                                12/3/2021    Outgoing     Intercompany Coin Movement     DASH                         (1,545.59182662)                 ($277,996.02)
   Celsius Network Limited             Celsius Network LLC                                12/3/2021    Outgoing     Intercompany Coin Movement     UMA                    (2,678.24099861769)                     ($32,321.60)
   Celsius Network Limited             Celsius Network LLC                                12/3/2021    Incoming     Intercompany Coin Movement     USDC                                50,000,000.0            $50,000,000.00
   Celsius Network Limited             Celsius Network LLC                                12/3/2021    Incoming     Intercompany Coin Movement     BTC                               100.68697772               $5,433,606.02
   Celsius Network Limited             Celsius Network LLC                                12/4/2021    Outgoing     Intercompany Coin Movement     BCH                        (24,999.99999656)               ($11,383,947.44)
   Celsius Network Limited             Celsius Network LLC                                12/4/2021    Outgoing     Intercompany Coin Movement     USDT_ERC20                        (10,000,000.0)           ($10,009,236.87)
   Celsius Network Limited             Celsius Network LLC                                12/4/2021    Outgoing     Intercompany Coin Movement     BTC                                        (1,000.0)       ($47,594,059.37)
   Celsius Network Limited             Celsius Network LLC                                12/4/2021    Outgoing     Intercompany Coin Movement     BUSD                                (1,500,000.0)           ($1,515,000.00)
   Celsius Network Limited             Celsius Network LLC                                12/4/2021    Outgoing     Intercompany Coin Movement     BSV                                        (1,000.0)          ($122,171.35)
   Celsius Network Limited             Celsius Network LLC                                12/4/2021    Outgoing     Intercompany Coin Movement     EOS                                  (8,599.1405)              ($26,124.51)
   Celsius Network Limited             Celsius Network LLC                                12/4/2021    Incoming     Intercompany Coin Movement     USDC                                  7,000,000.0            $7,000,000.00
   Celsius Network Limited             Celsius Network LLC                                12/4/2021    Incoming     Intercompany Coin Movement     ADA                                      350,000.0             $501,755.14
   Celsius Network Limited             Celsius Network LLC                                12/5/2021    Outgoing     Intercompany Coin Movement     BTC                          (1,000.00000659)              ($48,558,243.41)
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Outgoing     Intercompany Coin Movement     EOS                                    (900,000.0)          ($2,647,650.98)
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Outgoing     Intercompany Coin Movement     AAVE                                      (33.2307)             ($5,954.09)
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Outgoing     Intercompany Coin Movement     AAVE                                     (2,123.68)           ($380,509.18)
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Outgoing     Intercompany Coin Movement     XRP                     (14,251,235.269634)                ($11,316,454.77)
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Outgoing     Intercompany Coin Movement     XRP                       (9,231,754.462033)                ($7,330,643.97)
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Outgoing     Intercompany Coin Movement     XRP                          (476,347.333454)                 ($378,252.35)
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Outgoing     Intercompany Coin Movement     XRP                         (5,603,653.20215)               ($4,449,683.61)
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Outgoing     Intercompany Coin Movement     DOT                      (9,999.9329999986)                   ($271,970.78)
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Outgoing     Intercompany Coin Movement     COMP                   (12,315.0045015463)                  ($2,703,428.23)
   Celsius Network Limited             Celsius Mining LLC                                 12/6/2021    Outgoing     Intercompany Coin Movement     BTC                                            (64.0)       ($3,132,858.11)
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Outgoing     Intercompany Coin Movement     MATIC                  (217,149.416327387)                    ($492,929.18)
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Outgoing     Intercompany Coin Movement     MATIC                  (26,677.9387170052)                     ($60,558.92)
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Outgoing     Intercompany Coin Movement     MATIC                    (307,008.82508818)                   ($696,910.03)
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Outgoing     Intercompany Coin Movement     MATIC                  (140,448.976438284)                    ($318,819.18)
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Incoming     Intercompany Coin Movement     DASH                                         5,000.0           $636,587.09
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Incoming     Intercompany Coin Movement     EOS                                      150,000.0             $437,721.60
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Incoming     Intercompany Coin Movement     ZEC                                          3,000.0           $510,373.42
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Incoming     Intercompany Coin Movement     BNB_BSC                                      6,000.0         $3,253,534.48
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Incoming     Intercompany Coin Movement     KNC                                      100,000.0             $128,130.19
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Incoming     Intercompany Coin Movement     ETH                                        35,000.0        $144,294,505.68
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Incoming     Intercompany Coin Movement     EOS                                      136,825.0             $439,858.57
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Incoming     Intercompany Coin Movement     AVAX                                              1.0               $90.13
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Incoming     Intercompany Coin Movement     XRP                                   3,000,000.0            $2,395,461.73
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Incoming     Intercompany Coin Movement     BNB_BSC                                    1,164.96            $665,812.53
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Incoming     Intercompany Coin Movement     UNI                                      200,000.0           $3,314,963.93
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Incoming     Intercompany Coin Movement     BNB_BSC                                        238.0           $136,024.74
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Incoming     Intercompany Coin Movement     UNI                                        19,697.0            $327,646.78
   Celsius Network Limited             Celsius Network LLC                                12/6/2021    Incoming     Intercompany Coin Movement     LINK                                       48,153.0            $894,518.79
   Celsius Network Limited             Celsius Network LLC                                12/7/2021    Outgoing     Intercompany Coin Movement     DOT                                      (25,000.0)           ($722,043.75)
   Celsius Network Limited             Celsius Network LLC                                12/7/2021    Incoming     Intercompany Coin Movement     LTC                                        50,000.0          $8,098,059.92
   Celsius Network Limited             Celsius Network LLC                                12/7/2021    Incoming     Intercompany Coin Movement     BNB_BSC                                      1,800.1         $1,057,536.18
   Celsius Network Limited             Celsius Network LLC                                12/7/2021    Incoming     Intercompany Coin Movement     PAX                                   8,500,000.0            $8,504,039.08
   Celsius Network Limited             Celsius Network LLC                                12/8/2021    Outgoing     Intercompany Coin Movement     MATIC                           (10,588,924.74)            ($27,107,647.33)
   Celsius Network Limited             Celsius Network LLC                                12/8/2021    Outgoing     Intercompany Coin Movement     USDT_ERC20                          (7,600,000.0)           ($7,613,348.90)
   Celsius Network Limited             Celsius Network LLC                                12/8/2021    Outgoing     Intercompany Coin Movement     MATIC                  (49,278.5887305049)                    ($126,153.19)
   Celsius Network Limited             Celsius Network LLC                                12/8/2021    Outgoing     Intercompany Coin Movement     ETC                              (7,509.989979)               ($304,111.29)
   Celsius Network Limited             Celsius Network LLC                                12/8/2021    Incoming     Intercompany Coin Movement     LUNA                                  1,050,000.0           $71,743,046.13
   Celsius Network Limited             Celsius Network LLC                                12/8/2021    Incoming     Intercompany Coin Movement     KNC                                      200,000.0             $304,602.95
   Celsius Network Limited             Celsius Network LLC                                12/9/2021    Outgoing     Intercompany Coin Movement     USDC                          (17,355,105.137)             ($17,355,105.14)
   Celsius Network Limited             Celsius Network LLC                                12/9/2021    Outgoing     Intercompany Coin Movement     MATIC                             (35,000,000.0)           ($74,900,000.00)
   Celsius Network Limited             Celsius Network LLC                                12/9/2021    Outgoing     Intercompany Coin Movement     MATIC                  (21,662.5742264366)                     ($45,491.41)
   Celsius Network Limited             Celsius Network LLC                                12/9/2021    Outgoing     Intercompany Coin Movement     MATIC                              (106,981.672)              ($224,661.51)
   Celsius Network Limited             Celsius Network LLC                                12/9/2021    Incoming     Intercompany Coin Movement     USDT_ERC20              165,248,113.500596                 $165,352,503.58
   Celsius Network Limited             Celsius Network LLC                                12/10/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                          (2,000,000.0)           ($2,000,424.85)
   Celsius Network Limited             Celsius Network LLC                                12/10/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20              (39,809,224.740412)                ($39,805,942.73)
   Celsius Network Limited             Celsius Network LLC                                12/10/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                          (7,500,000.0)           ($7,499,381.67)
   Celsius Network Limited             Celsius Network LLC                                12/10/2021   Outgoing     Intercompany Coin Movement     ETH                                        (5,000.0)       ($20,004,325.00)
   Celsius Network Limited             Celsius Network LLC                                12/10/2021   Incoming     Intercompany Coin Movement     ETH                                          1,100.0         $4,383,154.10
   Celsius Network Limited             Celsius Network LLC                                12/10/2021   Incoming     Intercompany Coin Movement     XTZ                                      100,000.0             $442,675.64
   Celsius Network Limited             Celsius Network LLC                                12/10/2021   Incoming     Intercompany Coin Movement     XTZ                                            100.0               $451.65
   Celsius Network Limited             Celsius Network LLC                                12/10/2021   Incoming     Intercompany Coin Movement     ETH                                        20,000.0         $79,414,513.89
   Celsius Network Limited             Celsius Network LLC                                12/11/2021   Outgoing     Intercompany Coin Movement     ETH                                      (10,000.0)        ($39,098,086.37)
   Celsius Network Limited             Celsius Network LLC                                12/11/2021   Incoming     Intercompany Coin Movement     BCH                                        21,000.0          $9,507,291.78
   Celsius Network Limited             Celsius Network LLC                                12/11/2021   Incoming     Intercompany Coin Movement     BCH                          13,451.26296204                 $6,136,860.59
   Celsius Network Limited             Celsius Network LLC                                12/11/2021   Incoming     Intercompany Coin Movement     LUNA                                     236,000.0          $14,848,419.28
   Celsius Network Limited             Celsius Network LLC                                12/12/2021   Outgoing     Intercompany Coin Movement     MATIC                 (47,029,886.8888369)                 ($97,822,164.73)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     MATIC                           (5,283,673.768)            ($10,144,653.63)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     TUSD                               (22,654.1096)               ($22,654.11)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     BCH                          (1,999.99999806)                 ($894,193.49)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     BCH                             (268.67469506)                ($120,123.58)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     LUNA                             (2,074.743507)               ($119,637.93)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     MATIC                  (131,591.499563837)                    ($248,707.93)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     YFI                       (0.3773421167835)                     ($7,920.24)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     MATIC                  (287,633.788795557)                    ($543,627.86)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     BAL                                       (76.5826)             ($1,121.44)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                        (20,000,000.0)           ($20,032,497.94)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     USDC                              (25,000,000.0)           ($25,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     USDC                          (6,561,506.8493)              ($6,561,506.85)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     USDC                             (669,794.5294)               ($669,794.53)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                       (235,068.4931)               ($235,450.46)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                   (771,400.309222)                 ($772,653.76)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     USDC                                (5,000,000.0)           ($5,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     LUNA                                   (49,999.96)          ($2,644,635.22)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     LTC                                          (395.0)           ($57,097.01)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     ADA                                      (89,000.0)           ($107,552.97)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Outgoing     Intercompany Coin Movement     ADA                                      (31,000.0)            ($37,462.27)
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Incoming     Intercompany Coin Movement     XRP                                      200,000.0             $165,556.31
   Celsius Network Limited             Celsius Mining LLC                                 12/13/2021   Incoming     Intercompany Coin Movement     BTC                                       92.76397           $4,505,903.33
   Celsius Network Limited             Celsius Mining LLC                                 12/13/2021   Incoming     Intercompany Coin Movement     BTC                                 12.13491349                $589,445.27
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Incoming     Intercompany Coin Movement     PAX                                 25,000,000.0            $24,997,715.64
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Incoming     Intercompany Coin Movement     USDC                                  5,000,000.0            $5,000,000.00
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Incoming     Intercompany Coin Movement     LINK                                     200,000.0           $3,758,431.31
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Incoming     Intercompany Coin Movement     XLM                                   4,500,000.0            $1,163,867.75
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Incoming     Intercompany Coin Movement     MATIC                                 2,750,000.0            $5,032,500.00
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                  2,554,739.951251                 $2,555,885.10
   Celsius Network Limited             Celsius Network LLC                                12/13/2021   Incoming     Intercompany Coin Movement     BUSD                                  5,000,000.0            $5,000,000.00
   Celsius Network Limited             Celsius Network LLC                                12/14/2021   Outgoing     Intercompany Coin Movement     ETH                    (4,759.91850422269)                 ($17,930,083.01)
   Celsius Network Limited             Celsius Network LLC                                12/14/2021   Incoming     Intercompany Coin Movement     SUSD                                  3,000,000.0            $3,001,470.83
   Celsius Network Limited             Celsius Network LLC                                12/14/2021   Incoming     Intercompany Coin Movement     MATIC                                      43,300.0             $79,239.00
   Celsius Network Limited             Celsius Network LLC                                12/14/2021   Incoming     Intercompany Coin Movement     XTZ                                        99,901.0            $448,464.12
   Celsius Network Limited             Celsius Network LLC                                12/14/2021   Incoming     Intercompany Coin Movement     COMP                                         2,489.0           $451,546.72
   Celsius Network Limited             Celsius Network LLC                                12/14/2021   Incoming     Intercompany Coin Movement     ETH                                          1,000.0         $3,789,850.36
   Celsius Network Limited             Celsius Network LLC                                12/14/2021   Incoming     Intercompany Coin Movement     ETH                                          3,000.0        $11,435,423.74
   Celsius Network Limited             Celsius Network LLC                                12/14/2021   Incoming     Intercompany Coin Movement     XRP                                   1,214,755.0              $984,909.99
   Celsius Network Limited             Celsius Network LLC                                12/14/2021   Incoming     Intercompany Coin Movement     LUNA                                     34,608.06           $2,019,968.67
   Celsius Network Limited             Celsius Network LLC                                12/14/2021   Incoming     Intercompany Coin Movement     LUNA                                              2.0              $116.97
   Celsius Network Limited             Celsius Network LLC                                12/14/2021   Incoming     Intercompany Coin Movement     XRP                                            100.0                $81.08
   Celsius Network Limited             Celsius Network LLC                                12/15/2021   Outgoing     Intercompany Coin Movement     MATIC                             (30,000,000.0)           ($60,600,000.00)
   Celsius Network Limited             Celsius Network LLC                                12/15/2021   Outgoing     Intercompany Coin Movement     MATIC                 (22,956,374.1268152)                 ($46,371,875.74)
   Celsius Network Limited             Celsius Network LLC                                12/15/2021   Outgoing     Intercompany Coin Movement     LUNA                                   (49,999.96)          ($2,991,203.45)
   Celsius Network Limited             Celsius Network LLC                                12/15/2021   Outgoing     Intercompany Coin Movement     UMA                                     (115.0685)              ($1,107.26)
   Celsius Network Limited             Celsius Network LLC                                12/15/2021   Outgoing     Intercompany Coin Movement     UMA                                     (172.6027)              ($1,660.89)
   Celsius Network Limited             Celsius Network LLC                                12/15/2021   Outgoing     Intercompany Coin Movement     ETH                                          (190.0)          ($739,395.98)
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Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                        Case Number: 22-10966
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                 CELSIUS ENTITY                             COUNTERPARTY                   DATE             TYPE             TRANSACTION TYPE              COIN       COIN QUANTITY                    COIN USD
   Celsius Network Limited             Celsius Network LLC                               12/15/2021   Outgoing     Intercompany Coin Movement     ETH                                        (0.01)               ($38.92)
   Celsius Network Limited             Celsius Network LLC                               12/15/2021   Incoming     Intercompany Coin Movement     ETH                                      5,500.0         $21,403,567.73
   Celsius Network Limited             Celsius Network LLC                               12/15/2021   Incoming     Intercompany Coin Movement     BCH                          4,600.99999806               $2,030,262.81
   Celsius Network Limited             Celsius Network LLC                               12/15/2021   Incoming     Intercompany Coin Movement     BCH                                         448.0           $197,686.97
   Celsius Network Limited             Celsius Network LLC                               12/15/2021   Incoming     Intercompany Coin Movement     GUSD                                5,000,000.0           $4,993,213.61
   Celsius Network Limited             Celsius Network LLC                               12/15/2021   Outgoing     Intercompany Coin Movement     ETH                                        (0.01)          Undetermined
   Celsius Network Limited             Celsius Network LLC                               12/15/2021   Outgoing     Intercompany Coin Movement     ETH                                       (190.0)          Undetermined
   Celsius Network Limited             Celsius Network LLC                               12/16/2021   Outgoing     Intercompany Coin Movement     DASH                          (911.74948357)               ($122,631.90)
   Celsius Network Limited             Celsius Network LLC                               12/16/2021   Outgoing     Intercompany Coin Movement     DASH                            (133.6490252)               ($17,976.06)
   Celsius Network Limited             Celsius Network LLC                               12/16/2021   Outgoing     Intercompany Coin Movement     USDC                            (30,000,000.0)          ($30,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               12/16/2021   Outgoing     Intercompany Coin Movement     DOT                   (250,000.932899998)                ($6,831,097.39)
   Celsius Network Limited             Celsius Network LLC                               12/16/2021   Outgoing     Intercompany Coin Movement     UNI                                (6,091.1259)             ($90,374.31)
   Celsius Network Limited             Celsius Network LLC                               12/16/2021   Outgoing     Intercompany Coin Movement     EOS                                (19,364.661)             ($63,899.54)
   Celsius Network Limited             Celsius Network LLC                               12/16/2021   Outgoing     Intercompany Coin Movement     LUNA                               (113,999.96)          ($7,568,787.15)
   Celsius Network Limited             Celsius Network LLC                               12/16/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20             (27,798,868.876907)              ($27,835,420.05)
   Celsius Network Limited             Celsius Network LLC                               12/16/2021   Incoming     Intercompany Coin Movement     XTZ                                          10.0                $45.70
   Celsius Network Limited             Celsius Network LLC                               12/16/2021   Incoming     Intercompany Coin Movement     BCH                                      5,382.0          $2,411,654.68
   Celsius Network Limited             Celsius Network LLC                               12/16/2021   Incoming     Intercompany Coin Movement     COMP                                     4,061.0            $784,237.97
   Celsius Network Limited             Celsius Network LLC                               12/16/2021   Incoming     Intercompany Coin Movement     EOS                                  19,364.661              $64,240.55
   Celsius Network Limited             Celsius Network LLC                               12/16/2021   Incoming     Intercompany Coin Movement     FTT                                 1,049,990.0          $40,876,110.70
   Celsius Network Limited             Celsius Network LLC                               12/17/2021   Outgoing     Intercompany Coin Movement     YFI                             (11.38882012)              ($317,770.15)
   Celsius Network Limited             Celsius Network LLC                               12/17/2021   Incoming     Intercompany Coin Movement     USDC                              10,000,000.0           $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                               12/17/2021   Incoming     Intercompany Coin Movement     USDC                                7,000,000.0           $7,000,000.00
   Celsius Network Limited             Celsius Network LLC                               12/17/2021   Incoming     Intercompany Coin Movement     USDC                                3,000,000.0           $3,000,000.00
   Celsius Network Limited             Celsius Network LLC                               12/17/2021   Incoming     Intercompany Coin Movement     PAX                                 5,000,000.0           $5,001,019.77
   Celsius Network Limited             Celsius Network LLC                               12/17/2021   Incoming     Intercompany Coin Movement     BNB_BSC                                  1,000.0            $525,608.46
   Celsius Network Limited             Celsius Network LLC                               12/20/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                      (10,000,000.0)          ($10,002,839.66)
   Celsius Network Limited             Celsius Network LLC                               12/20/2021   Outgoing     Intercompany Coin Movement     ETH                                    (2,000.0)         ($7,607,807.39)
   Celsius Network Limited             Celsius Network LLC                               12/20/2021   Outgoing     Intercompany Coin Movement     ETH                                    (1,000.0)         ($3,820,216.41)
   Celsius Network Limited             Celsius Network LLC                               12/20/2021   Outgoing     Intercompany Coin Movement     LUNA                               (241,628.65)         ($18,494,114.30)
   Celsius Network Limited             Celsius Network LLC                               12/20/2021   Outgoing     Intercompany Coin Movement     LUNA                                (29,999.96)          ($2,296,181.92)
   Celsius Network Limited             Celsius Network LLC                               12/20/2021   Outgoing     Intercompany Coin Movement     BCH                               (1.65244889)                 ($703.41)
   Celsius Network Limited             Celsius Network LLC                               12/20/2021   Outgoing     Intercompany Coin Movement     BTC                                          (2.0)          ($93,085.23)
   Celsius Network Limited             Celsius Network LLC                               12/20/2021   Outgoing     Intercompany Coin Movement     BCH                           (128.14139806)                ($55,496.24)
   Celsius Network Limited             Celsius Network LLC                               12/20/2021   Incoming     Intercompany Coin Movement     XRP                               17,650,000.0           $15,915,394.69
   Celsius Network Limited             Celsius Network LLC                               12/20/2021   Incoming     Intercompany Coin Movement     USDC                                9,000,000.0           $9,000,000.00
   Celsius Network Limited             Celsius Mining LLC                                12/20/2021   Incoming     Intercompany Coin Movement     BTC                                     98.3268           $4,503,220.79
   Celsius Network Limited             Celsius Network LLC                               12/20/2021   Incoming     Intercompany Coin Movement     CRV                     110,452.547985703                   $425,589.63
   Celsius Network Limited             Celsius Network LLC                               12/20/2021   Incoming     Intercompany Coin Movement     BNT                                  104,903.42             $334,475.46
   Celsius Network Limited             Celsius Network LLC                               12/20/2021   Incoming     Intercompany Coin Movement     USDC                                    10,000.0             $10,000.00
   Celsius Network Limited             Celsius Network LLC                               12/20/2021   Incoming     Intercompany Coin Movement     BCH                                    128.1414              $54,927.54
   Celsius Network Limited             Celsius Network LLC                               12/21/2021   Outgoing     Intercompany Coin Movement     UNI                              (43,207.8969)             ($639,684.91)
   Celsius Network Limited             Celsius Network LLC                               12/21/2021   Outgoing     Intercompany Coin Movement     UNI                                 (150,000.0)          ($2,220,722.21)
   Celsius Network Limited             Celsius Network LLC                               12/21/2021   Outgoing     Intercompany Coin Movement     XLM                                 (308,000.0)             ($81,284.32)
   Celsius Network Limited             Celsius Network LLC                               12/21/2021   Outgoing     Intercompany Coin Movement     UNI                                        (20.0)              ($293.27)
   Celsius Network Limited             Celsius Network LLC                               12/21/2021   Outgoing     Intercompany Coin Movement     ADA                                (52,721.678)             ($66,532.84)
   Celsius Network Limited             Celsius Network LLC                               12/21/2021   Outgoing     Intercompany Coin Movement     XRP                       (11,868,384.1385)             ($10,950,539.78)
   Celsius Network Limited             Celsius Network LLC                               12/21/2021   Incoming     Intercompany Coin Movement     ZEC                                      6,000.0            $950,212.19
   Celsius Network Limited             Celsius Network LLC                               12/21/2021   Incoming     Intercompany Coin Movement     LTC                        50,004.99899809                $7,659,315.86
   Celsius Network Limited             Celsius Network LLC                               12/21/2021   Incoming     Intercompany Coin Movement     CRV                     53,072.0638435741                   $227,181.05
   Celsius Network Limited             Celsius Network LLC                               12/21/2021   Incoming     Intercompany Coin Movement     CRV                     23,491.8874288521                   $100,559.72
   Celsius Network Limited             Celsius Network LLC                               12/21/2021   Incoming     Intercompany Coin Movement     MKR                      3.37256390018393                     $8,093.44
   Celsius Network Limited             Celsius Network LLC                               12/21/2021   Incoming     Intercompany Coin Movement     CRV                        12,489.37025812                   $53,159.14
   Celsius Network Limited             Celsius Network LLC                               12/21/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                          5,000,000.0           $4,994,379.20
   Celsius Network Limited             Celsius Network LLC                               12/21/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                        10,000,000.0            $9,996,869.81
   Celsius Network Limited             Celsius Network LLC                               12/21/2021   Incoming     Intercompany Coin Movement     USDC                            100,000,000.0           $100,000,000.00
   Celsius Network Limited             Celsius Network LLC                               12/22/2021   Outgoing     Intercompany Coin Movement     MATIC                (116,153,787.323083)              ($285,738,316.81)
   Celsius Network Limited             Celsius Network LLC                               12/22/2021   Outgoing     Intercompany Coin Movement     XRP                    (20,000,401.415813)              ($18,813,455.00)
   Celsius Network Limited             Celsius Network LLC                               12/22/2021   Outgoing     Intercompany Coin Movement     SGB_LEGACY            (151,094.995273186)                   ($28,734.93)
   Celsius Network Limited             Celsius Network LLC                               12/22/2021   Outgoing     Intercompany Coin Movement     BNB_BSC                     (517.915382393)                ($276,618.64)
   Celsius Network Limited             Celsius Network LLC                               12/22/2021   Outgoing     Intercompany Coin Movement     USDC                     (1,434,309.612048)              ($1,434,309.61)
   Celsius Network Limited             Celsius Network LLC                               12/22/2021   Outgoing     Intercompany Coin Movement     GUSD                            (10,000,000.0)           ($9,977,136.77)
   Celsius Network Limited             Celsius Network LLC                               12/22/2021   Incoming     Intercompany Coin Movement     MATIC                  116,153,787.323084               $285,738,316.81
   Celsius Network Limited             Celsius Network LLC                               12/22/2021   Incoming     Intercompany Coin Movement     ETH                                         110.0           $445,354.17
   Celsius Network Limited             Celsius Network LLC                               12/22/2021   Incoming     Intercompany Coin Movement     BNB_BSC                                  2,001.0          $1,081,840.85
   Celsius Network Limited             Celsius Network LLC                               12/22/2021   Incoming     Intercompany Coin Movement     CRV                     23,134.1531921216                   $118,745.08
   Celsius Network Limited             Celsius Network LLC                               12/23/2021   Outgoing     Intercompany Coin Movement     BTC                                          (1.5)          ($73,596.89)
   Celsius Network Limited             Celsius Network LLC                               12/23/2021   Outgoing     Intercompany Coin Movement     MATIC                               (110,000.0)            ($282,700.00)
   Celsius Network Limited             Celsius Network LLC                               12/23/2021   Incoming     Intercompany Coin Movement     USDC                                  324,000.0             $324,000.00
   Celsius Network Limited             Celsius Network LLC                               12/23/2021   Incoming     Intercompany Coin Movement     USDC                                  216,000.0             $216,000.00
   Celsius Network Limited             Celsius Network LLC                               12/23/2021   Incoming     Intercompany Coin Movement     USDC                                3,000,000.0           $3,000,000.00
   Celsius Network Limited             Celsius Network LLC                               12/23/2021   Incoming     Intercompany Coin Movement     CRV                     37,323.0846916839                   $190,896.71
   Celsius Network Limited             Celsius Network LLC                               12/23/2021   Incoming     Intercompany Coin Movement     ADA                                 5,000,000.0           $7,233,894.87
   Celsius Network Limited             Celsius Network LLC                               12/24/2021   Outgoing     Intercompany Coin Movement     XRP                       (6,000,000.99244)              ($5,845,566.36)
   Celsius Network Limited             Celsius Network LLC                               12/24/2021   Outgoing     Intercompany Coin Movement     XRP                      (1,234,722.894285)              ($1,202,942.24)
   Celsius Network Limited             Celsius Network LLC                               12/24/2021   Incoming     Intercompany Coin Movement     CRV                     23,440.3258542662                   $121,256.15
   Celsius Network Limited             Celsius Network LLC                               12/24/2021   Incoming     Intercompany Coin Movement     AAVE                     530.004533946904                   $132,241.16
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Outgoing     Intercompany Coin Movement     AAVE                                      (190.0)           ($54,401.86)
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Outgoing     Intercompany Coin Movement     ADA                                   (81,775.0)           ($126,978.90)
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Outgoing     Intercompany Coin Movement     BTC                                  (4.277766)            ($220,248.21)
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Outgoing     Intercompany Coin Movement     LINK                               (3,062.1165)             ($73,810.89)
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Outgoing     Intercompany Coin Movement     MATIC                              (48,959.284)            ($138,065.18)
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Outgoing     Intercompany Coin Movement     LTC                                  (537.7472)             ($86,077.09)
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Outgoing     Intercompany Coin Movement     BCH                           (112.68669806)                ($52,852.77)
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Outgoing     Intercompany Coin Movement     LTC                                        (10.0)            ($1,602.18)
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Outgoing     Intercompany Coin Movement     UNI                                    (4,120.0)            ($80,956.00)
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Outgoing     Intercompany Coin Movement     WBTC                                      (500.0)       ($25,828,863.87)
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Outgoing     Intercompany Coin Movement     WBTC                                      (999.3)       ($51,472,323.20)
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Incoming     Intercompany Coin Movement     USDC                              10,000,000.0           $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Incoming     Intercompany Coin Movement     BNB_BSC                                  2,000.0          $1,102,477.46
   Celsius Network Limited             Celsius Mining LLC                                12/27/2021   Incoming     Intercompany Coin Movement     BTC                                     33.7562           $1,736,528.99
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Incoming     Intercompany Coin Movement     USDC                              20,000,000.0           $20,000,000.00
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Incoming     Intercompany Coin Movement     1INCH                                 169,000.0             $494,036.89
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Incoming     Intercompany Coin Movement     BCH                                    112.6867              $53,220.62
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Incoming     Intercompany Coin Movement     LTC                                    537.7472              $85,487.75
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Incoming     Intercompany Coin Movement     UNI                                      4,120.0             $81,582.69
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Incoming     Intercompany Coin Movement     ETH                                         200.0           $819,475.33
   Celsius Network Limited             Celsius Network LLC                               12/27/2021   Incoming     Intercompany Coin Movement     BTC                                          50.0         $2,582,886.39
   Celsius Network Limited             Celsius Network LLC                               12/28/2021   Outgoing     Intercompany Coin Movement     BCH                        (2,804.33999772)              ($1,274,079.80)
   Celsius Network Limited             Celsius Network LLC                               12/28/2021   Outgoing     Intercompany Coin Movement     1INCH                        (150,000.19161)               ($401,913.93)
   Celsius Network Limited             Celsius Network LLC                               12/28/2021   Outgoing     Intercompany Coin Movement     BTC                                  (1.135137)             ($55,109.45)
   Celsius Network Limited             Celsius Network LLC                               12/28/2021   Outgoing     Intercompany Coin Movement     CEL                                (22,073.291)             ($84,690.13)
   Celsius Network Limited             Celsius Network LLC                               12/28/2021   Outgoing     Intercompany Coin Movement     GUSD                            (15,000,000.0)          ($14,954,144.89)
   Celsius Network Limited             Celsius Network LLC                               12/28/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                     (863,098.0821)              ($863,485.55)
   Celsius Network Limited             Celsius Network LLC                               12/28/2021   Incoming     Intercompany Coin Movement     XRP                               20,000,000.0           $17,773,201.22
   Celsius Network Limited             Celsius Network LLC                               12/28/2021   Incoming     Intercompany Coin Movement     BCH                                          0.08                $36.37
   Celsius Network Limited             Celsius Network LLC                               12/28/2021   Incoming     Intercompany Coin Movement     ADA                                 8,000,000.0          $11,239,142.72
   Celsius Network Limited             Celsius Network LLC                               12/28/2021   Incoming     Intercompany Coin Movement     SNX                                   133,000.0             $792,280.22
   Celsius Network Limited             Celsius Network EU UAB (LT)                       12/28/2021   Incoming     Intercompany Coin Movement     SNX                     13,445.0830769659                    $79,185.14
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Outgoing     Intercompany Coin Movement     BCH                                    (3,663.0)         ($1,617,173.86)
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                      (15,000,000.0)          ($15,004,428.99)
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Outgoing     Intercompany Coin Movement     BNT                   (393,128.973568136)                ($1,307,319.69)
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Incoming     Intercompany Coin Movement     ETH                                      3,904.5         $14,891,551.16
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Incoming     Intercompany Coin Movement     OMG                                     31,273.0            $197,019.90
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Incoming     Intercompany Coin Movement     BSV                                     1,095.54            $138,944.03
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Incoming     Intercompany Coin Movement     CEL                           9,266,369.9511             $36,598,503.77
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Incoming     Intercompany Coin Movement     CEL                               98,189,636.0          $387,810,305.66
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Incoming     Intercompany Coin Movement     CEL                           53,799,026.914            $212,484,921.24
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Incoming     Intercompany Coin Movement     CEL                           1,613,596.1505              $6,373,067.89
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Incoming     Intercompany Coin Movement     CEL                           6,208,146.9167             $24,519,729.90
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Incoming     Intercompany Coin Movement     CEL                             117,000,000.0           $462,103,818.80
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Incoming     Intercompany Coin Movement     BNT                     180,363.007832937                   $600,278.74
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Incoming     Intercompany Coin Movement     WBTC                                         17.0           $806,883.21
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Incoming     Intercompany Coin Movement     CEL                             117,000,000.0           $462,103,818.80
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Incoming     Intercompany Coin Movement     CEL                           1,613,596.1505              $6,352,087.63
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Incoming     Intercompany Coin Movement     CEL                           9,266,369.9511             $36,478,020.82
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Incoming     Intercompany Coin Movement     CEL                           6,208,146.9167             $24,439,010.50
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Incoming     Intercompany Coin Movement     CEL                           53,799,026.914            $211,785,416.99
   Celsius Network Limited             Celsius Network LLC                               12/29/2021   Incoming     Intercompany Coin Movement     CEL                               98,189,636.0          $386,533,627.05
   Celsius Network Limited             Celsius Network LLC                               12/30/2021   Outgoing     Intercompany Coin Movement     SNX                     (300,687.13448704)               ($1,632,242.13)
   Celsius Network Limited             Celsius Network LLC                               12/30/2021   Outgoing     Intercompany Coin Movement     BSV                               (0.01238057)                   ($1.51)
   Celsius Network Limited             Celsius Network LLC                               12/30/2021   Outgoing     Intercompany Coin Movement     ADA                                 (107,460.0)            ($146,778.25)
   Celsius Network Limited             Celsius Network LLC                               12/30/2021   Outgoing     Intercompany Coin Movement     USDC                                (333,683.2)            ($333,683.20)
   Celsius Network Limited             Celsius Network LLC                               12/30/2021   Outgoing     Intercompany Coin Movement     XLM                                (183,075.01)             ($50,084.35)
   Celsius Network Limited             Celsius Network LLC                               12/30/2021   Outgoing     Intercompany Coin Movement     CEL                                (38,544.581)            ($168,926.18)
   Celsius Network Limited             Celsius Network LLC                               12/30/2021   Outgoing     Intercompany Coin Movement     SUSHI                               (5,948.921)             ($57,348.70)
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                        Case Number: 22-10966
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                 CELSIUS ENTITY                             COUNTERPARTY                   DATE             TYPE             TRANSACTION TYPE              COIN       COIN QUANTITY                    COIN USD
   Celsius Network Limited             Celsius Network EU UAB (LT)                       12/30/2021   Outgoing     Intercompany Coin Movement     CEL                                (177,551.39)            ($788,532.79)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       12/30/2021   Outgoing     Intercompany Coin Movement     CEL                                  (40,417.32)           ($179,499.48)
   Celsius Network Limited             Celsius Network LLC                               12/30/2021   Incoming     Intercompany Coin Movement     AAVE                        528.30305258514                 $126,689.55
   Celsius Network Limited             Celsius Network LLC                               12/30/2021   Incoming     Intercompany Coin Movement     AAVE                                   17,893.31          $4,290,899.57
   Celsius Network Limited             Celsius Network LLC                               12/30/2021   Incoming     Intercompany Coin Movement     USDT_ERC20                        20,000,000.0           $20,011,868.13
   Celsius Network Limited             Celsius Network LLC                               12/30/2021   Incoming     Intercompany Coin Movement     SUSHI                                  5,948.921             $57,348.70
   Celsius Network Limited             Celsius Network LLC                               12/30/2021   Incoming     Intercompany Coin Movement     USDC                                   500,000.0            $500,000.00
   Celsius Network Limited             Celsius Network LLC                               12/30/2021   Incoming     Intercompany Coin Movement     WBTC                                       156.09         $7,460,779.95
   Celsius Network Limited             Celsius Network LLC                               12/30/2021   Incoming     Intercompany Coin Movement     ZEC                                       3,800.0           $578,664.01
   Celsius Network Limited             Celsius Network LLC                               12/31/2021   Outgoing     Intercompany Coin Movement     USDT_ERC20                        (1,000,000.0)          ($1,000,229.23)
   Celsius Network Limited             Celsius Network LLC                               12/31/2021   Outgoing     Intercompany Coin Movement     BNB_BSC                                 (3,000.0)        ($1,565,310.11)
   Celsius Network Limited             Celsius Network LLC                               12/31/2021   Outgoing     Intercompany Coin Movement     ETH                                    (42,500.0)      ($161,199,903.35)
   Celsius Network Limited             Celsius Network LLC                               12/31/2021   Outgoing     Intercompany Coin Movement     BCH                                     (5,000.0)        ($2,169,711.57)
   Celsius Network Limited             Celsius Network LLC                               12/31/2021   Outgoing     Intercompany Coin Movement     CEL                                (12,928.666)             ($57,318.12)
   Celsius Network Limited             Celsius Network LLC                               12/31/2021   Outgoing     Intercompany Coin Movement     LTC                                   (602.7105)            ($89,512.34)
   Celsius Network Limited             Celsius Network LLC                               12/31/2021   Incoming     Intercompany Coin Movement     LTC                                     602.7105             $90,385.92
   Celsius Network Limited             Celsius Network EU UAB (LT)                        1/2/2022    Outgoing     Intercompany Coin Movement     CEL                                    (17,000.0)           ($71,802.60)
   Celsius Network Limited             Celsius Network LLC                                1/2/2022    Outgoing     Intercompany Coin Movement     BCH                                     (5,000.0)        ($2,236,579.85)
   Celsius Network Limited             Celsius Network LLC                                1/3/2022    Outgoing     Intercompany Coin Movement     USDT_ERC20                        (2,500,000.0)          ($2,500,350.45)
   Celsius Network Limited             Celsius Network LLC                                1/3/2022    Outgoing     Intercompany Coin Movement     XRP                       (9,795,199.992638)             ($8,141,191.62)
   Celsius Network Limited             Celsius Network LLC                                1/3/2022    Incoming     Intercompany Coin Movement     ADA                                    440,280.0            $597,829.78
   Celsius Network Limited             Celsius Network LLC                                1/3/2022    Incoming     Intercompany Coin Movement     DOT                                      50,000.0         $1,509,815.33
   Celsius Network Limited             Celsius Network LLC                                1/3/2022    Incoming     Intercompany Coin Movement     USDC                                5,002,135.0           $5,002,135.00
   Celsius Network Limited             Celsius Network LLC                                1/3/2022    Incoming     Intercompany Coin Movement     AAVE                                     1,812.05           $487,684.22
   Celsius Network Limited             Celsius Network LLC                                1/3/2022    Incoming     Intercompany Coin Movement     DAI                                 6,000,000.0           $5,995,466.19
   Celsius Network Limited             Celsius Network LLC                                1/3/2022    Incoming     Intercompany Coin Movement     USDC                                2,800,000.0           $2,800,000.00
   Celsius Network Limited             Celsius Network LLC                                1/4/2022    Outgoing     Intercompany Coin Movement     SNX                   (5,305,971.40632828)              ($38,094,639.27)
   Celsius Network Limited             Celsius Network LLC                                1/4/2022    Outgoing     Intercompany Coin Movement     STKAAVE                 (220.308631084579)                  ($57,827.92)
   Celsius Network Limited             Celsius Network LLC                                1/4/2022    Outgoing     Intercompany Coin Movement     BADGER                      (185,000.259235)             ($2,886,758.53)
   Celsius Network Limited             Celsius Network LLC                                1/4/2022    Outgoing     Intercompany Coin Movement     ADA                                  (55,594.12)            ($73,704.82)
   Celsius Network Limited             Celsius Network LLC                                1/4/2022    Outgoing     Intercompany Coin Movement     BTC                                   (9.484471)           ($439,782.51)
   Celsius Network Limited             Celsius Network LLC                                1/4/2022    Outgoing     Intercompany Coin Movement     UNI                                  (6,604.951)           ($122,993.69)
   Celsius Network Limited             Celsius Network LLC                                1/4/2022    Outgoing     Intercompany Coin Movement     XLM                                (168,043.44)             ($47,732.93)
   Celsius Network Limited             Celsius Network LLC                                1/4/2022    Outgoing     Intercompany Coin Movement     ZRX                                    (91,623.8)           ($84,253.50)
   Celsius Network Limited             Celsius Network LLC                                1/4/2022    Outgoing     Intercompany Coin Movement     AAVE                                (304.73343)             ($76,636.03)
   Celsius Network Limited             Celsius Network LLC                                1/4/2022    Outgoing     Intercompany Coin Movement     WBTC                                       (999.3)      ($46,213,577.45)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        1/4/2022    Outgoing     Intercompany Coin Movement     CEL                                    (17,000.0)           ($68,652.99)
   Celsius Network Limited             Celsius Network LLC                                1/4/2022    Incoming     Intercompany Coin Movement     USDC                                   546,000.0            $546,000.00
   Celsius Network Limited             Celsius Network LLC                                1/4/2022    Incoming     Intercompany Coin Movement     USDC                              20,000,000.0           $20,000,000.00
   Celsius Network Limited             Celsius Network LLC                                1/4/2022    Incoming     Intercompany Coin Movement     USDC                              28,000,000.0           $28,000,000.00
   Celsius Network Limited             Celsius Network LLC                                1/4/2022    Incoming     Intercompany Coin Movement     AAVE                                  304.73343              $78,554.18
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Outgoing     Intercompany Coin Movement     USDT_ERC20                  (764,657.087037)               ($764,814.06)
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Outgoing     Intercompany Coin Movement     WBTC                                  (211.1446)         ($9,870,669.11)
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Outgoing     Intercompany Coin Movement     USDT_ERC20                     (140,136.9863)              ($140,169.42)
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Outgoing     Intercompany Coin Movement     ETH                    (8,499.99586190577)              ($32,322,939.49)
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Outgoing     Intercompany Coin Movement     ETH                                        (690.0)       ($2,623,862.15)
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Outgoing     Intercompany Coin Movement     ETH                                        (370.0)       ($1,406,998.54)
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Outgoing     Intercompany Coin Movement     ETH                                  (202,800.0)       ($771,458,546.19)
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Outgoing     Intercompany Coin Movement     LINK                           (419,784.1912)           ($11,099,826.45)
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Outgoing     Intercompany Coin Movement     UNI                              (938,244.049)          ($17,841,750.17)
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Outgoing     Intercompany Coin Movement     MATIC                           (2,109,844.56)           ($4,915,937.82)
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Incoming     Intercompany Coin Movement     EOS                                    290,000.0            $931,031.21
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Incoming     Intercompany Coin Movement     CRV                      12,169.2623538328                   $75,949.01
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Incoming     Intercompany Coin Movement     CRV                      7,377.64927831841                   $44,263.33
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Incoming     Intercompany Coin Movement     CRV                      1,763.55015029821                   $10,771.68
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Incoming     Intercompany Coin Movement     BNB_BSC                                      500.0          $255,913.50
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Incoming     Intercompany Coin Movement     BUSD                                3,000,000.0           $3,000,000.00
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Incoming     Intercompany Coin Movement     TUSD                                   500,000.0            $499,310.00
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Incoming     Intercompany Coin Movement     PAX                               10,000,000.0            $9,997,753.67
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Incoming     Intercompany Coin Movement     USDC                              40,000,000.0           $40,000,000.00
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Incoming     Intercompany Coin Movement     CRV                      1,167.95638543791                    $6,958.66
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Incoming     Intercompany Coin Movement     PAXG                                      1,500.0         $2,740,155.66
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Incoming     Intercompany Coin Movement     PAXG                                      1,499.7         $2,740,155.66
   Celsius Network Limited             Celsius Network LLC                                1/5/2022    Incoming     Intercompany Coin Movement     ETH                                       2,000.0         $7,083,568.00
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Outgoing     Intercompany Coin Movement     WBTC                                       (999.3)      ($43,525,847.13)
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Outgoing     Intercompany Coin Movement     USDC                         (7,370,468.7862)            ($7,370,468.79)
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Outgoing     Intercompany Coin Movement     USDT_ERC20                     (280,273.9726)              ($280,334.90)
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Outgoing     Intercompany Coin Movement     ZRX                      (137,795.38906714)                ($108,457.00)
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Outgoing     Intercompany Coin Movement     COMP                                  (26.75213)             ($5,275.38)
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Outgoing     Intercompany Coin Movement     LUNA                                   (11,000.0)          ($872,487.62)
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Outgoing     Intercompany Coin Movement     LUNA                                   (23,695.0)        ($1,890,182.55)
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Incoming     Intercompany Coin Movement     LTC                                       5,500.0           $743,704.07
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Incoming     Intercompany Coin Movement     ETH                                           55.0          $187,526.74
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Incoming     Intercompany Coin Movement     ETH                                           80.0          $272,766.16
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Incoming     Intercompany Coin Movement     ETH                                          900.0        $3,068,619.34
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Incoming     Intercompany Coin Movement     CRV                      13,536.9657470523                   $69,795.17
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Incoming     Intercompany Coin Movement     CRV                      11,268.8938327455                   $58,101.23
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Incoming     Intercompany Coin Movement     CRV                        9,984.2838808225                  $51,477.92
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Incoming     Intercompany Coin Movement     CRV                      13,792.3544180762                   $71,111.93
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Incoming     Intercompany Coin Movement     USDT_ERC20                        25,700,000.0           $25,709,045.87
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Incoming     Intercompany Coin Movement     CRV                      45,195.5278671243                  $234,378.51
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Incoming     Intercompany Coin Movement     CRV                      21,909.8597053092                  $113,451.32
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Incoming     Intercompany Coin Movement     ETH                                       1,359.0         $4,557,771.07
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Incoming     Intercompany Coin Movement     CRV                      7,686.11657963659                   $40,110.36
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Incoming     Intercompany Coin Movement     CRV                      7,185.19213622506                   $37,987.32
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Incoming     Intercompany Coin Movement     CRV                      18,561.2103658889                   $98,131.08
   Celsius Network Limited             Celsius Network LLC                                1/6/2022    Incoming     Intercompany Coin Movement     ETH                                       3,000.0        $10,187,726.40
   Celsius Network Limited             Celsius Network LLC                                1/7/2022    Outgoing     Intercompany Coin Movement     USDC                            (20,000,000.0)          ($20,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                1/7/2022    Outgoing     Intercompany Coin Movement     LUNA                                 (34,610.02)         ($2,487,930.43)
   Celsius Network Limited             Celsius Network LLC                                1/7/2022    Outgoing     Intercompany Coin Movement     ETH                                        (862.0)       ($2,745,751.10)
   Celsius Network Limited             Celsius Network LLC                                1/7/2022    Outgoing     Intercompany Coin Movement     WBTC                                    (1,998.6)       ($83,562,831.43)
   Celsius Network Limited             Celsius Network LLC                                1/7/2022    Incoming     Intercompany Coin Movement     CRV                      52,507.6187073852                  $271,088.10
   Celsius Network Limited             Celsius Network LLC                                1/7/2022    Incoming     Intercompany Coin Movement     WBTC                                          67.0        $2,839,118.96
   Celsius Network Limited             Celsius Network LLC                                1/7/2022    Incoming     Intercompany Coin Movement     COMP                      419.240713303585                   $82,746.84
   Celsius Network Limited             Celsius Network LLC                                1/7/2022    Incoming     Intercompany Coin Movement     AAVE                      263.833052350108                   $55,255.55
   Celsius Network Limited             Celsius Network LLC                                1/7/2022    Incoming     Intercompany Coin Movement     BTC                                       2,500.0       $102,873,812.06
   Celsius Network Limited             Celsius Network LLC                                1/7/2022    Incoming     Intercompany Coin Movement     BTC                               104.7568693             $4,310,696.74
   Celsius Network Limited             Celsius Network LLC                                1/7/2022    Incoming     Intercompany Coin Movement     CRV                      22,778.1968534405                  $111,824.46
   Celsius Network Limited             Celsius Network LLC                                1/7/2022    Incoming     Intercompany Coin Movement     BTC                                          500.0       $20,972,110.35
   Celsius Network Limited             Celsius Network EU UAB (LT)                        1/7/2022    Incoming     Intercompany Coin Movement     USDC                                   225,000.0            $225,000.00
   Celsius Network Limited             Celsius Network EU UAB (LT)                        1/7/2022    Incoming     Intercompany Coin Movement     USDT_ERC20                             330,000.0            $330,067.87
   Celsius Network Limited             Celsius Network EU UAB (LT)                        1/7/2022    Incoming     Intercompany Coin Movement     ETH                                          115.0          $367,144.62
   Celsius Network Limited             Celsius Network LLC                                1/8/2022    Incoming     Intercompany Coin Movement     USDC                                3,000,000.0           $3,000,000.00
   Celsius Network Limited             Celsius Network LLC                                1/8/2022    Incoming     Intercompany Coin Movement     USDC                                1,000,000.0           $1,000,000.00
   Celsius Network Limited             Celsius Network LLC                                1/8/2022    Incoming     Intercompany Coin Movement     USDC                              11,000,000.0           $11,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/10/2022    Outgoing     Intercompany Coin Movement     WBTC                                    (1,998.6)       ($81,800,487.67)
   Celsius Network Limited             Celsius Network LLC                               1/10/2022    Outgoing     Intercompany Coin Movement     WBTC                            (500.7279243)           ($20,494,240.17)
   Celsius Network Limited             Celsius Network LLC                               1/10/2022    Outgoing     Intercompany Coin Movement     LUNA                                  (369.9689)            ($25,215.21)
   Celsius Network Limited             Celsius Network LLC                               1/10/2022    Outgoing     Intercompany Coin Movement     USDT_ERC20                  (116,509.111422)               ($116,535.72)
   Celsius Network Limited             Celsius Network LLC                               1/10/2022    Outgoing     Intercompany Coin Movement     ETH                    (2,171.99385847247)               ($6,667,104.01)
   Celsius Network Limited             Celsius Network LLC                               1/10/2022    Outgoing     Intercompany Coin Movement     ETH                                     (2,500.0)        ($7,641,685.84)
   Celsius Network Limited             Celsius Network LLC                               1/10/2022    Outgoing     Intercompany Coin Movement     USDT_ERC20                        (8,000,000.0)          ($8,001,371.56)
   Celsius Network Limited             Celsius Network LLC                               1/10/2022    Outgoing     Intercompany Coin Movement     AAVE                    (263.833052350108)                  ($52,380.48)
   Celsius Network Limited             Celsius Network LLC                               1/10/2022    Outgoing     Intercompany Coin Movement     COMP                    (419.240713303585)                  ($76,372.17)
   Celsius Network Limited             Celsius Network LLC                               1/10/2022    Incoming     Intercompany Coin Movement     USDT_ERC20                          4,055,000.0           $4,055,428.44
   Celsius Network Limited             Celsius Network LLC                               1/10/2022    Incoming     Intercompany Coin Movement     SNX                              166,829.9594               $846,781.38
   Celsius Network Limited             Celsius Network LLC                               1/10/2022    Incoming     Intercompany Coin Movement     MATIC                               7,137,000.0          $14,773,590.00
   Celsius Network Limited             Celsius Network LLC                               1/10/2022    Incoming     Intercompany Coin Movement     USDT_ERC20                          2,000,000.0           $2,000,301.94
   Celsius Network Limited             Celsius Network LLC                               1/10/2022    Incoming     Intercompany Coin Movement     BADGER                        185,000.259235              $2,132,284.49
   Celsius Network Limited             Celsius Network LLC                               1/10/2022    Incoming     Intercompany Coin Movement     BTC                                          241.0       $10,008,212.63
   Celsius Network Limited             Celsius Network LLC                               1/11/2022    Outgoing     Intercompany Coin Movement     USDT_ERC20                        (5,000,000.0)          ($5,000,634.16)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       1/11/2022    Outgoing     Intercompany Coin Movement     CEL                                    (17,000.0)           ($53,741.21)
   Celsius Network Limited             Celsius Network LLC                               1/11/2022    Outgoing     Intercompany Coin Movement     OMG                                (1,912.1988)             ($10,211.14)
   Celsius Network Limited             Celsius Network LLC                               1/11/2022    Outgoing     Intercompany Coin Movement     WBTC                                       (999.3)      ($42,681,811.61)
   Celsius Network Limited             Celsius Network LLC                               1/11/2022    Outgoing     Intercompany Coin Movement     OMG                        (25,000.82881504)               ($133,754.43)
   Celsius Network Limited             Celsius Network LLC                               1/11/2022    Outgoing     Intercompany Coin Movement     AAVE                    (369.648330116913)                  ($79,217.40)
   Celsius Network Limited             Celsius Network LLC                               1/11/2022    Outgoing     Intercompany Coin Movement     AAVE                                  (109.8226)            ($23,535.51)
   Celsius Network Limited             Celsius Network LLC                               1/11/2022    Incoming     Intercompany Coin Movement     XLM                               20,331,000.0            $5,188,274.27
   Celsius Network Limited             Celsius Network LLC                               1/11/2022    Incoming     Intercompany Coin Movement     LUNA                                      3,001.0           $217,564.42
   Celsius Network Limited             Celsius Network LLC                               1/11/2022    Incoming     Intercompany Coin Movement     BCH                                      12,000.0         $4,412,395.73
   Celsius Network Limited             Celsius Network LLC                               1/11/2022    Incoming     Intercompany Coin Movement     LUNA                                      2,000.0           $144,955.93
   Celsius Network Limited             Celsius Network LLC                               1/11/2022    Incoming     Intercompany Coin Movement     COMP                      585.209390385827                  $108,302.28
   Celsius Network Limited             Celsius Network LLC                               1/11/2022    Incoming     Intercompany Coin Movement     AAVE                      369.648330116913                   $76,211.39
   Celsius Network Limited             Celsius Network LLC                               1/11/2022    Incoming     Intercompany Coin Movement     BAT                                  207,450.42             $210,871.25
   Celsius Network Limited             Celsius Network LLC                               1/11/2022    Incoming     Intercompany Coin Movement     USDC                                4,000,000.0           $4,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/11/2022    Incoming     Intercompany Coin Movement     USDC                      19,392,044.957753              $19,392,044.96
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                         Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
                                                                                                    Pg       58    of   77
                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN         COIN QUANTITY                   COIN USD
   Celsius Network Limited             Celsius Network EU UAB (LT)                       1/12/2022   Outgoing      Intercompany Coin Movement     CEL                                    (17,000.0)            ($53,059.48)
   Celsius Network Limited             Celsius Network LLC                               1/12/2022   Outgoing      Intercompany Coin Movement     AVAX                        (200,002.0065035)            ($18,899,852.82)
   Celsius Network Limited             Celsius Network LLC                               1/12/2022   Outgoing      Intercompany Coin Movement     MATIC                              (3,200,000.0)          ($7,488,000.00)
   Celsius Network Limited             Celsius Network LLC                               1/12/2022   Outgoing      Intercompany Coin Movement     BAL                                  (6,193.294)            ($110,846.56)
   Celsius Network Limited             Celsius Network LLC                               1/12/2022   Outgoing      Intercompany Coin Movement     MATIC                   (1,800,117.37399231)              ($4,248,277.00)
   Celsius Network Limited             Celsius Network LLC                               1/12/2022   Incoming      Intercompany Coin Movement     XLM                                      70,000.0             $18,791.29
   Celsius Network Limited             Celsius Network LLC                               1/13/2022   Outgoing      Intercompany Coin Movement     MATIC                              (3,600,000.0)          ($8,208,000.00)
   Celsius Network Limited             Celsius Network LLC                               1/13/2022   Outgoing      Intercompany Coin Movement     MATIC                     (400,000.00000046)                ($912,000.00)
   Celsius Network Limited             Celsius Network LLC                               1/13/2022   Incoming      Intercompany Coin Movement     BNB_BSC                                    1,200.0           $583,560.46
   Celsius Network Limited             Celsius Network LLC                               1/13/2022   Incoming      Intercompany Coin Movement     ADA                                  9,809,540.0          $12,756,723.72
   Celsius Network Limited             Celsius Network LLC                               1/13/2022   Incoming      Intercompany Coin Movement     BNB_BSC                        1,310.02786779                $622,514.90
   Celsius Network Limited             Celsius Network LLC                               1/13/2022   Incoming      Intercompany Coin Movement     YFI                                          40.99         $1,311,759.66
   Celsius Network Limited             Celsius Network LLC                               1/13/2022   Incoming      Intercompany Coin Movement     REN                                    906,000.0             $434,710.76
   Celsius Network Limited             Celsius Network LLC                               1/14/2022   Outgoing      Intercompany Coin Movement     BNT                       (190,849.79454066)                ($602,204.91)
   Celsius Network Limited             Celsius Network LLC                               1/14/2022   Outgoing      Intercompany Coin Movement     COMP                        (13,238.27836018)             ($2,503,309.61)
   Celsius Network Limited             Celsius Network LLC                               1/14/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                         (7,000,000.0)          ($7,001,951.42)
   Celsius Network Limited             Celsius Network LLC                               1/14/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (821,185.3698)              ($821,515.89)
   Celsius Network Limited             Celsius Network LLC                               1/14/2022   Outgoing      Intercompany Coin Movement     USDC                         (742,623.725053)               ($742,623.73)
   Celsius Network Limited             Celsius Network LLC                               1/14/2022   Outgoing      Intercompany Coin Movement     USDC                            (257,718.1597)              ($257,718.16)
   Celsius Network Limited             Celsius Network LLC                               1/14/2022   Incoming      Intercompany Coin Movement     XLM                       80,855,622.9979995              $22,052,729.20
   Celsius Network Limited             Celsius Network LLC                               1/14/2022   Incoming      Intercompany Coin Movement     XLM                                            50.0               $13.76
   Celsius Network Limited             Celsius Network LLC                               1/14/2022   Incoming      Intercompany Coin Movement     BNB_BSC                              4.89977324                $2,355.76
   Celsius Network Limited             Celsius Network LLC                               1/14/2022   Incoming      Intercompany Coin Movement     COMP                       479.088326924108                   $90,590.16
   Celsius Network Limited             Celsius Network LLC                               1/14/2022   Incoming      Intercompany Coin Movement     AAVE                       302.744266548399                   $64,635.94
   Celsius Network Limited             Celsius Network LLC                               1/14/2022   Incoming      Intercompany Coin Movement     XLM                         22,501,964.069321              $6,020,265.71
   Celsius Network Limited             Celsius Network LLC                               1/14/2022   Incoming      Intercompany Coin Movement     CRV                        58,743.2390400115                 $296,590.00
   Celsius Network Limited             Celsius Network LLC                               1/14/2022   Incoming      Intercompany Coin Movement     XLM                                             1.0                $0.27
   Celsius Network Limited             Celsius Network LLC                               1/14/2022   Incoming      Intercompany Coin Movement     XLM                                             1.0                $0.28
   Celsius Network Limited             Celsius Network LLC                               1/14/2022   Incoming      Intercompany Coin Movement     XLM                                            50.0               $13.64
   Celsius Network Limited             Celsius Network LLC                               1/15/2022   Incoming      Intercompany Coin Movement     XLM                       80,855,589.3978695              $21,143,995.33
   Celsius Network Limited             Celsius Network LLC                               1/15/2022   Incoming      Intercompany Coin Movement     XLM                                            50.0               $13.08
   Celsius Network Limited             Celsius Network LLC                               1/17/2022   Outgoing      Intercompany Coin Movement     YFI                                     (10.1083)           ($326,980.93)
   Celsius Network Limited             Celsius Network LLC                               1/17/2022   Outgoing      Intercompany Coin Movement     XLM                     (20,849,999.9959994)              ($5,325,729.58)
   Celsius Network Limited             Celsius Network LLC                               1/17/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                      (1,001.08255913)               ($484,888.27)
   Celsius Network Limited             Celsius Network LLC                               1/17/2022   Outgoing      Intercompany Coin Movement     CTKN_SPARTAN_BUCKET                          (10.0)                $0.00
   Celsius Network Limited             Celsius Network LLC                               1/17/2022   Incoming      Intercompany Coin Movement     USDC                                     59,000.0             $59,000.00
   Celsius Network Limited             Celsius Network LLC                               1/17/2022   Incoming      Intercompany Coin Movement     XLM                                             1.0                $0.25
   Celsius Network Limited             Celsius Network LLC                               1/17/2022   Incoming      Intercompany Coin Movement     WBTC                             271.14098404             $11,629,402.65
   Celsius Network Limited             Celsius Network LLC                               1/17/2022   Incoming      Intercompany Coin Movement     WBTC                                    12.88169             $552,503.56
   Celsius Network Limited             Celsius Network LLC                               1/17/2022   Incoming      Intercompany Coin Movement     BTC                                        1,400.0        $59,720,954.32
   Celsius Network Limited             Celsius Network LLC                               1/18/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (520,397.2603)              ($520,564.02)
   Celsius Network Limited             Celsius Network LLC                               1/18/2022   Outgoing      Intercompany Coin Movement     USDC                             (14,000,000.0)          ($14,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               1/18/2022   Incoming      Intercompany Coin Movement     COMP                       629.915551035703                  $111,760.98
   Celsius Network Limited             Celsius Network LLC                               1/18/2022   Incoming      Intercompany Coin Movement     AAVE                       402.835157386525                   $91,857.20
   Celsius Network Limited             Celsius Network LLC                               1/18/2022   Incoming      Intercompany Coin Movement     BTC                                        1,100.0        $45,666,024.84
   Celsius Network Limited             Celsius Network LLC                               1/18/2022   Incoming      Intercompany Coin Movement     1INCH                                  200,000.0             $431,823.32
   Celsius Network Limited             Celsius Network LLC                               1/18/2022   Incoming      Intercompany Coin Movement     XTZ                                    120,000.0             $484,510.86
   Celsius Network Limited             Celsius Network LLC                               1/18/2022   Incoming      Intercompany Coin Movement     DOT                                    295,500.0           $7,281,132.12
   Celsius Network Limited             Celsius Network LLC                               1/18/2022   Incoming      Intercompany Coin Movement     DOT                        10,121.7338999972                 $249,400.36
   Celsius Network Limited             Celsius Network LLC                               1/19/2022   Outgoing      Intercompany Coin Movement     BTC                                        (332.0)       ($13,984,073.28)
   Celsius Network Limited             Celsius Network LLC                               1/19/2022   Outgoing      Intercompany Coin Movement     USDC                               (3,000,000.0)          ($3,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               1/19/2022   Outgoing      Intercompany Coin Movement     YFI                                          (15.0)         ($478,843.07)
   Celsius Network Limited             Celsius Network LLC                               1/19/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (25,000,000.0)          ($25,011,017.20)
   Celsius Network Limited             Celsius Network LLC                               1/19/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (28,000,000.0)          ($28,007,477.06)
   Celsius Network Limited             Celsius Network LLC                               1/19/2022   Outgoing      Intercompany Coin Movement     TUSD                             (13,000,000.0)          ($12,987,780.00)
   Celsius Network Limited             Celsius Network LLC                               1/19/2022   Incoming      Intercompany Coin Movement     ETH                                      1,128.74          $3,505,876.18
   Celsius Network Limited             Celsius Network LLC                               1/19/2022   Incoming      Intercompany Coin Movement     BCH                            10,000.2753507              $3,712,120.33
   Celsius Network Limited             Celsius Network LLC                               1/19/2022   Incoming      Intercompany Coin Movement     CRV                        11,658.5725449174                  $50,682.29
   Celsius Network Limited             Celsius Network LLC                               1/19/2022   Incoming      Intercompany Coin Movement     CRV                        43,680.7162779775                 $191,279.27
   Celsius Network Limited             Celsius Network LLC                               1/19/2022   Incoming      Intercompany Coin Movement     CRV                        21,659.0044710253                  $94,845.48
   Celsius Network Limited             Celsius Network LLC                               1/19/2022   Incoming      Intercompany Coin Movement     WBTC                                           35.0        $1,470,259.88
   Celsius Network Limited             Celsius Network LLC                               1/19/2022   Incoming      Intercompany Coin Movement     BTC                                          173.0         $7,264,129.84
   Celsius Network Limited             Celsius Network EU UAB (LT)                       1/19/2022   Incoming      Intercompany Coin Movement     BTC                                  6.17932052              $259,464.96
   Celsius Network Limited             Celsius Network LLC                               1/20/2022   Outgoing      Intercompany Coin Movement     YFI                                          (9.33)         ($302,485.29)
   Celsius Network Limited             Celsius Network LLC                               1/20/2022   Outgoing      Intercompany Coin Movement     MATIC                                        (10.0)              ($20.80)
   Celsius Network Limited             Celsius Network LLC                               1/20/2022   Outgoing      Intercompany Coin Movement     ETH                                           (0.5)           ($1,571.58)
   Celsius Network Limited             Celsius Network LLC                               1/20/2022   Outgoing      Intercompany Coin Movement     MATIC                                  (24,990.0)            ($51,979.20)
   Celsius Network Limited             Celsius Network LLC                               1/20/2022   Outgoing      Intercompany Coin Movement     USDC                             (20,000,000.0)          ($20,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               1/20/2022   Outgoing      Intercompany Coin Movement     ETH                                      (8,333.0)       ($25,771,769.04)
   Celsius Network Limited             Celsius Network LLC                               1/20/2022   Incoming      Intercompany Coin Movement     XRP                                  8,091,748.0           $6,013,541.54
   Celsius Network Limited             Celsius Network LLC                               1/20/2022   Incoming      Intercompany Coin Movement     XRP                                  1,400,000.0           $1,040,594.34
   Celsius Network Limited             Celsius Network LLC                               1/20/2022   Incoming      Intercompany Coin Movement     CRV                        18,748.9656916017                  $80,443.28
   Celsius Network Limited             Celsius Network LLC                               1/20/2022   Incoming      Intercompany Coin Movement     CRV                        14,301.0152651202                  $61,359.15
   Celsius Network Limited             Celsius Network LLC                               1/20/2022   Incoming      Intercompany Coin Movement     CRV                        15,584.7561421325                  $66,867.10
   Celsius Network Limited             Celsius Network LLC                               1/20/2022   Incoming      Intercompany Coin Movement     CRV                           11,690.55421584                 $50,158.85
   Celsius Network Limited             Celsius Network LLC                               1/20/2022   Incoming      Intercompany Coin Movement     CRV                        8,672.96650788775                  $37,211.75
   Celsius Network Limited             Celsius Network LLC                               1/20/2022   Incoming      Intercompany Coin Movement     CRV                        5,321.00380648961                  $22,830.01
   Celsius Network Limited             Celsius Network LLC                               1/20/2022   Incoming      Intercompany Coin Movement     MATIC                                1,983,219.0           $4,184,592.09
   Celsius Network Limited             Celsius Network LLC                               1/20/2022   Outgoing      Intercompany Coin Movement     ETH                                           (0.5)         Undetermined
   Celsius Network Limited             Celsius Network LLC                               1/20/2022   Outgoing      Intercompany Coin Movement     MATIC                                        (10.0)              ($19.60)
   Celsius Network Limited             Celsius Network LLC                               1/20/2022   Outgoing      Intercompany Coin Movement     MATIC                                  (24,990.0)            ($48,989.72)
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Outgoing      Intercompany Coin Movement     WBTC                           (248.78945618)            ($10,005,535.32)
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Outgoing      Intercompany Coin Movement     ETH                      (21,669.9944903887)             ($64,048,334.17)
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Outgoing      Intercompany Coin Movement     LINK                     (238,675.421865962)              ($4,692,456.05)
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (915,068.4951)              ($915,243.74)
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Outgoing      Intercompany Coin Movement     BCH                            (259.69083959)                ($89,243.32)
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Outgoing      Intercompany Coin Movement     MATIC                   (3,395,510.00000069)              ($6,315,648.60)
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Outgoing      Intercompany Coin Movement     DOT                      (61,769.9828999986)              ($1,365,238.67)
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Outgoing      Intercompany Coin Movement     USDC                               (5,000,000.0)          ($5,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                             (65.533544)              ($27,561.87)
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Outgoing      Intercompany Coin Movement     YFI                                        (16.53)          ($474,861.75)
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Outgoing      Intercompany Coin Movement     ETH                                      (6,799.0)       ($18,575,501.14)
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Outgoing      Intercompany Coin Movement     USDC                          (1,999,900.1506)            ($1,999,900.15)
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Outgoing      Intercompany Coin Movement     WBTC                                (672.16355)          ($24,601,331.99)
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (50,000,000.0)          ($50,009,655.84)
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Outgoing      Intercompany Coin Movement     WBTC                              (1,326.43645)          ($47,655,483.94)
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Incoming      Intercompany Coin Movement     USDC                               10,000,000.0           $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Incoming      Intercompany Coin Movement     USDC                               10,000,000.0           $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Incoming      Intercompany Coin Movement     OMG                                      98,965.0            $512,638.70
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Incoming      Intercompany Coin Movement     COMP                         485.38441267047                  $74,991.84
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Incoming      Intercompany Coin Movement     AAVE                       305.458825065971                   $57,800.93
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Incoming      Intercompany Coin Movement     BNT                         351,413.79454066                 $942,812.08
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Incoming      Intercompany Coin Movement     USDC                                 1,493,245.0           $1,493,245.00
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Incoming      Intercompany Coin Movement     ETH                        1,962.63412072447               $5,515,624.67
   Celsius Network Limited             Celsius Mining LLC                                1/21/2022   Incoming      Intercompany Coin Movement     BTC                                          120.0         $4,580,713.06
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Incoming      Intercompany Coin Movement     USDC                                 5,000,000.0           $5,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Incoming      Intercompany Coin Movement     USDC                            1,999,900.1506             $1,999,900.15
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Incoming      Intercompany Coin Movement     USDC                             1,393,556.587             $1,393,556.59
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Incoming      Intercompany Coin Movement     USDC                                 5,000,000.0           $5,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/21/2022   Incoming      Intercompany Coin Movement     USDC                               37,000,000.0           $37,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/22/2022   Outgoing      Intercompany Coin Movement     USDC                            (393,456.7376)              ($393,456.74)
   Celsius Network Limited             Celsius Network LLC                               1/22/2022   Outgoing      Intercompany Coin Movement     ETH                      (15,064.9950665858)             ($36,094,725.81)
   Celsius Network Limited             Celsius Network LLC                               1/22/2022   Outgoing      Intercompany Coin Movement     USDC                               (2,369,168.0)          ($2,369,168.00)
   Celsius Network Limited             Celsius Network LLC                               1/22/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                           (101,960.0)            ($101,994.64)
   Celsius Network Limited             Celsius Network LLC                               1/22/2022   Outgoing      Intercompany Coin Movement     LINK                                   (30,000.0)           ($462,287.36)
   Celsius Network Limited             Celsius Network LLC                               1/22/2022   Outgoing      Intercompany Coin Movement     USDC                       (64,703,251.68244)            ($64,703,251.68)
   Celsius Network Limited             Celsius Network LLC                               1/22/2022   Outgoing      Intercompany Coin Movement     USDC                             (75,000,000.0)          ($75,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               1/22/2022   Incoming      Intercompany Coin Movement     ETH                        15,064.9950665859              $36,094,725.81
   Celsius Network Limited             Celsius Network LLC                               1/22/2022   Incoming      Intercompany Coin Movement     ETH                                        1,250.0         $3,251,074.20
   Celsius Network Limited             Celsius Network LLC                               1/22/2022   Incoming      Intercompany Coin Movement     ETH                                        1,205.0         $3,134,035.53
   Celsius Network Limited             Celsius Network LLC                               1/22/2022   Incoming      Intercompany Coin Movement     ZEC                                        5,000.0           $459,224.53
   Celsius Network Limited             Celsius Network LLC                               1/22/2022   Incoming      Intercompany Coin Movement     SNX                                   35,596.596             $136,177.77
   Celsius Network Limited             Celsius Network LLC                               1/22/2022   Incoming      Intercompany Coin Movement     SNX                                        4,000.0            $15,302.34
   Celsius Network Limited             Celsius Network LLC                               1/22/2022   Incoming      Intercompany Coin Movement     ETH                                        1,200.0         $2,870,759.50
   Celsius Network Limited             Celsius Mining LLC                                1/22/2022   Incoming      Intercompany Coin Movement     BTC                                  0.87703524               $30,608.84
   Celsius Network Limited             Celsius Mining LLC                                1/22/2022   Incoming      Intercompany Coin Movement     BTC                                            50.0        $1,766,319.94
   Celsius Network Limited             Celsius Mining LLC                                1/22/2022   Incoming      Intercompany Coin Movement     BTC                                            50.0        $1,756,397.03
   Celsius Network Limited             Celsius Mining LLC                                1/22/2022   Incoming      Intercompany Coin Movement     BTC                                            50.0        $1,756,397.03
   Celsius Network Limited             Celsius Mining LLC                                1/22/2022   Incoming      Intercompany Coin Movement     BTC                                            50.0        $1,756,397.03
   Celsius Network Limited             Celsius Mining LLC                                1/22/2022   Incoming      Intercompany Coin Movement     BTC                                            50.0        $1,756,397.03
   Celsius Network Limited             Celsius Mining LLC                                1/22/2022   Incoming      Intercompany Coin Movement     BTC                                            50.0        $1,756,397.03
   Celsius Network Limited             Celsius Mining LLC                                1/22/2022   Incoming      Intercompany Coin Movement     BTC                                            30.0        $1,053,838.22
   Celsius Network Limited             Celsius Network LLC                               1/23/2022   Incoming      Intercompany Coin Movement     DASH                                       8,000.0           $779,553.02
   Celsius Network Limited             Celsius Network LLC                               1/23/2022   Incoming      Intercompany Coin Movement     ZEC                                        6,000.0           $568,238.11
   Celsius Network Limited             Celsius Network LLC                               1/24/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (15,000,000.0)          ($15,002,159.99)
   Celsius Network Limited             Celsius Network LLC                               1/24/2022   Outgoing      Intercompany Coin Movement     USDC                             (15,000,000.0)          ($15,000,000.00)
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                        Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
                                                                                                    Pg       59    of   77
                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN         COIN QUANTITY                  COIN USD
   Celsius Network Limited             Celsius Network LLC                               1/24/2022   Outgoing      Intercompany Coin Movement     LINK                          (1,986.97404444)              ($28,231.48)
   Celsius Network Limited             Celsius Network LLC                               1/24/2022   Outgoing      Intercompany Coin Movement     LINK                                   (585.0643)            ($8,312.76)
   Celsius Network Limited             Celsius Network LLC                               1/24/2022   Outgoing      Intercompany Coin Movement     USDC                    (124,999,398.994844)           ($124,999,398.99)
   Celsius Network Limited             Celsius Network LLC                               1/24/2022   Outgoing      Intercompany Coin Movement     CTKN_SPARTAN_BUCKET                (19,682.7685)                  $0.00
   Celsius Network Limited             Celsius Network LLC                               1/24/2022   Outgoing      Intercompany Coin Movement     BTC                                      (1,000.0)      ($36,212,188.77)
   Celsius Network Limited             Celsius Network LLC                               1/24/2022   Outgoing      Intercompany Coin Movement     BTC                                        (186.0)       ($6,775,734.61)
   Celsius Network Limited             Celsius Network LLC                               1/24/2022   Incoming      Intercompany Coin Movement     ETH                        2,520.68143727512              $6,294,221.90
   Celsius Network Limited             Celsius Network LLC                               1/24/2022   Incoming      Intercompany Coin Movement     ETH                        24,634.4867006731             $60,449,372.74
   Celsius Network Limited             Celsius Network LLC                               1/24/2022   Incoming      Intercompany Coin Movement     DASH                                       4,500.0          $433,540.60
   Celsius Network Limited             Celsius Network LLC                               1/24/2022   Incoming      Intercompany Coin Movement     BTC                                          300.0       $10,098,664.34
   Celsius Network Limited             Celsius Network LLC                               1/24/2022   Incoming      Intercompany Coin Movement     ETH                                        5,100.0       $11,505,702.37
   Celsius Network Limited             Celsius Network LLC                               1/24/2022   Incoming      Intercompany Coin Movement     USDC                                50,000,000.0         $50,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/24/2022   Incoming      Intercompany Coin Movement     ETH                                        583.03         $1,302,573.78
   Celsius Network Limited             Celsius Network LLC                               1/24/2022   Incoming      Intercompany Coin Movement     WBTC                                         25.53          $924,497.18
   Celsius Network Limited             Celsius Network LLC                               1/24/2022   Incoming      Intercompany Coin Movement     USDC                                  6,912,299.4         $6,912,299.40
   Celsius Network Limited             Celsius Network LLC                               1/25/2022   Outgoing      Intercompany Coin Movement     BTC                             (140.48998663)           ($5,116,051.21)
   Celsius Network Limited             Celsius Network LLC                               1/25/2022   Outgoing      Intercompany Coin Movement     BTC                                        (400.0)      ($14,566,307.08)
   Celsius Network Limited             Celsius Network LLC                               1/25/2022   Outgoing      Intercompany Coin Movement     USDC                              (52,000,000.0)        ($52,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               1/25/2022   Incoming      Intercompany Coin Movement     COMP                        688.284920827265                 $86,162.59
   Celsius Network Limited             Celsius Network LLC                               1/25/2022   Incoming      Intercompany Coin Movement     EOS                                     333,234.8           $732,140.77
   Celsius Network Limited             Celsius Network LLC                               1/25/2022   Incoming      Intercompany Coin Movement     AAVE                        487.621158223146                 $73,852.56
   Celsius Network Limited             Celsius Network LLC                               1/25/2022   Incoming      Intercompany Coin Movement     BCH                                        2,500.0          $722,733.67
   Celsius Network Limited             Celsius Network LLC                               1/25/2022   Incoming      Intercompany Coin Movement     SUSHI                                     50,000.0          $224,924.28
   Celsius Network Limited             Celsius Network LLC                               1/25/2022   Incoming      Intercompany Coin Movement     USDC                                50,000,000.0         $50,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/25/2022   Incoming      Intercompany Coin Movement     USDC                                25,000,000.0         $25,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/25/2022   Incoming      Intercompany Coin Movement     USDC                                30,000,000.0         $30,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/25/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                          45,000,000.0         $45,021,323.21
   Celsius Network Limited             Celsius Network LLC                               1/26/2022   Outgoing      Intercompany Coin Movement     GUSD                                (5,000,000.0)        ($4,985,973.99)
   Celsius Network Limited             Celsius Network LLC                               1/26/2022   Outgoing      Intercompany Coin Movement     GUSD                                 (527,397.25)          ($525,917.79)
   Celsius Network Limited             Celsius Network LLC                               1/26/2022   Outgoing      Intercompany Coin Movement     USDC                          (475,586.881126)             ($475,586.88)
   Celsius Network Limited             Celsius Network LLC                               1/26/2022   Outgoing      Intercompany Coin Movement     USDC                              (42,000,000.0)        ($42,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               1/26/2022   Outgoing      Intercompany Coin Movement     1INCH                            (58,001.68654)            ($101,985.05)
   Celsius Network Limited             Celsius Network LLC                               1/26/2022   Outgoing      Intercompany Coin Movement     DOT                        (6,913.4062999902)              ($132,988.67)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       1/26/2022   Outgoing      Intercompany Coin Movement     CEL                                     (30,000.0)          ($70,645.83)
   Celsius Network Limited             Celsius Network LLC                               1/26/2022   Outgoing      Intercompany Coin Movement     MATIC                   (10,262,506.9846283)            ($17,035,761.59)
   Celsius Network Limited             Celsius Network LLC                               1/26/2022   Incoming      Intercompany Coin Movement     USDC                                55,000,000.0         $55,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/26/2022   Incoming      Intercompany Coin Movement     USDC                                10,000,000.0         $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/26/2022   Incoming      Intercompany Coin Movement     USDC                                42,000,000.0         $42,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/26/2022   Incoming      Intercompany Coin Movement     MATIC                     20,196,145.4940626             $33,525,601.52
   Celsius Network Limited             Celsius Network LLC                               1/26/2022   Incoming      Intercompany Coin Movement     MATIC                     15,066,362.1365656             $25,010,161.15
   Celsius Network Limited             Celsius Network LLC                               1/26/2022   Incoming      Intercompany Coin Movement     USDC                                  2,000,000.0         $2,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/26/2022   Incoming      Intercompany Coin Movement     USDC                                  2,553,828.0         $2,553,828.00
   Celsius Network Limited             Celsius Network LLC                               1/26/2022   Incoming      Intercompany Coin Movement     PAX                                   4,000,000.0         $3,998,402.91
   Celsius Network Limited             Celsius Network LLC                               1/26/2022   Incoming      Intercompany Coin Movement     USDC                                  8,000,000.0         $8,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/26/2022   Incoming      Intercompany Coin Movement     XRP                           1,134,076.126455              $706,037.66
   Celsius Network Limited             Celsius Network EU UAB (LT)                       1/26/2022   Incoming      Intercompany Coin Movement     XRP                                 15,000,000.0          $9,338,495.61
   Celsius Network Limited             Celsius Network LLC                               1/27/2022   Outgoing      Intercompany Coin Movement     XAUT2                                      (0.001)               ($1.82)
   Celsius Network Limited             Celsius Network LLC                               1/27/2022   Outgoing      Intercompany Coin Movement     XAUT2                               (458.612197)           ($832,869.34)
   Celsius Network Limited             Celsius Network LLC                               1/27/2022   Outgoing      Intercompany Coin Movement     XAUT2                               (101.030332)           ($182,776.51)
   Celsius Network Limited             Celsius Network LLC                               1/27/2022   Outgoing      Intercompany Coin Movement     ETH                                     (35,000.0)      ($87,563,357.75)
   Celsius Network Limited             Celsius Network LLC                               1/27/2022   Outgoing      Intercompany Coin Movement     EURT_ERC20                        (30,000,000.0)        ($33,398,271.66)
   Celsius Network Limited             Celsius Network LLC                               1/27/2022   Incoming      Intercompany Coin Movement     BCH                                        2,500.0          $725,787.70
   Celsius Network Limited             Celsius Network LLC                               1/27/2022   Incoming      Intercompany Coin Movement     BNB_BSC                         1,630.87160228              $605,516.08
   Celsius Network Limited             Celsius Network LLC                               1/27/2022   Incoming      Intercompany Coin Movement     USDC                                  4,075,360.0         $4,075,360.00
   Celsius Network Limited             Celsius Network LLC                               1/27/2022   Incoming      Intercompany Coin Movement     DOT                                     140,000.0         $2,527,390.90
   Celsius Network Limited             Celsius Network LLC                               1/27/2022   Incoming      Intercompany Coin Movement     AVAX                                      15,300.0          $999,874.46
   Celsius Network Limited             Celsius Network LLC                               1/27/2022   Incoming      Intercompany Coin Movement     AVAX                                    185,000.0        $12,089,985.26
   Celsius Network Limited             Celsius Network LLC                               1/28/2022   Outgoing      Intercompany Coin Movement     XRP                                 (4,000,000.0)        ($2,448,157.87)
   Celsius Network Limited             Celsius Network LLC                               1/28/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (1,267,758.56)         ($1,268,472.12)
   Celsius Network Limited             Celsius Network LLC                               1/28/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                          (2,750,000.0)        ($2,751,547.83)
   Celsius Network Limited             Celsius Network LLC                               1/28/2022   Incoming      Intercompany Coin Movement     COMP                        538.848864212581                 $66,756.41
   Celsius Network Limited             Celsius Network LLC                               1/28/2022   Incoming      Intercompany Coin Movement     AAVE                        395.687826583565                 $57,580.73
   Celsius Network Limited             Celsius Network LLC                               1/28/2022   Incoming      Intercompany Coin Movement     ZEC                                        8,000.0          $714,857.11
   Celsius Network Limited             Celsius Network LLC                               1/28/2022   Incoming      Intercompany Coin Movement     XRP                           1,865,499.992429            $1,141,759.62
   Celsius Network Limited             Celsius Network LLC                               1/28/2022   Incoming      Intercompany Coin Movement     XRP                                       30,000.0           $18,361.18
   Celsius Network Limited             Celsius Network LLC                               1/28/2022   Incoming      Intercompany Coin Movement     CRV                          96,716.505864743               $270,485.79
   Celsius Network Limited             Celsius Network LLC                               1/28/2022   Incoming      Intercompany Coin Movement     CRV                          16,739.708236692                $46,815.72
   Celsius Network Limited             Celsius Network LLC                               1/28/2022   Incoming      Intercompany Coin Movement     CRV                        11,637.8601288274                 $32,547.45
   Celsius Network Limited             Celsius Network LLC                               1/28/2022   Incoming      Intercompany Coin Movement     CRV                        5,122.50865358772                 $14,326.05
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Outgoing      Intercompany Coin Movement     MATIC                                   (75,000.0)         ($117,000.00)
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Outgoing      Intercompany Coin Movement     MATIC                               (1,000,000.0)        ($1,570,000.00)
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Outgoing      Intercompany Coin Movement     WBTC                                  (7.0561994)          ($263,229.63)
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Outgoing      Intercompany Coin Movement     USDC                              (10,000,000.0)        ($10,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Incoming      Intercompany Coin Movement     BTC                                          100.0        $3,694,062.01
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                            5,555,400.0         $5,557,302.32
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Incoming      Intercompany Coin Movement     EURT_ERC20                                12,500.0           $13,968.24
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Incoming      Intercompany Coin Movement     MATIC                                     75,000.0          $117,750.00
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Incoming      Intercompany Coin Movement     MATIC                                 1,000,000.0         $1,560,000.00
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Incoming      Intercompany Coin Movement     USDC                                15,000,000.0         $15,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Incoming      Intercompany Coin Movement     BNT                                       53,418.0          $129,515.17
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Incoming      Intercompany Coin Movement     DOT                                       25,000.0          $450,685.58
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Incoming      Intercompany Coin Movement     BUSD                      3,281,475.06013906              $3,281,475.06
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Incoming      Intercompany Coin Movement     TUSD                       660,722.889322375                $660,722.89
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Incoming      Intercompany Coin Movement     BCH                             5,999.99996282            $1,711,005.92
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Incoming      Intercompany Coin Movement     USDC                                  4,000,000.0         $4,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Incoming      Intercompany Coin Movement     USDC                                40,000,000.0         $40,000,000.00
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Outgoing      Intercompany Coin Movement     MATIC                                   (75,000.0)         ($123,294.04)
   Celsius Network Limited             Celsius Network LLC                               1/31/2022   Outgoing      Intercompany Coin Movement     MATIC                               (1,000,000.0)        ($1,643,920.58)
   Celsius Network Limited             Celsius Network LLC                                2/1/2022   Outgoing      Intercompany Coin Movement     USDC                          (547,228.115068)             ($547,228.12)
   Celsius Network Limited             Celsius Network LLC                                2/1/2022   Outgoing      Intercompany Coin Movement     EURT_ERC20                        (10,000,000.0)        ($11,241,354.13)
   Celsius Network Limited             Celsius Network LLC                                2/1/2022   Outgoing      Intercompany Coin Movement     MATIC                               (5,280,370.0)        ($8,765,414.20)
   Celsius Network Limited             Celsius Network LLC                                2/1/2022   Incoming      Intercompany Coin Movement     AVAX                                         322.0           $23,058.51
   Celsius Network Limited             Celsius Network LLC                                2/1/2022   Incoming      Intercompany Coin Movement     COMP                          731.07550899738                $92,667.31
   Celsius Network Limited             Celsius Network LLC                                2/1/2022   Incoming      Intercompany Coin Movement     AAVE                                     511.0538            $84,988.16
   Celsius Network Limited             Celsius Network LLC                                2/1/2022   Incoming      Intercompany Coin Movement     BTC                                          462.0       $17,927,213.53
   Celsius Network Limited             Celsius Network LLC                                2/1/2022   Incoming      Intercompany Coin Movement     ALCX                        110.411829444219                 $20,377.54
   Celsius Network Limited             Celsius Network LLC                                2/1/2022   Incoming      Intercompany Coin Movement     CRV                        105,134.556497347                $356,634.66
   Celsius Network Limited             Celsius Network LLC                                2/1/2022   Incoming      Intercompany Coin Movement     SNX                                     140,000.0           $758,685.98
   Celsius Network Limited             Celsius Network LLC                                2/1/2022   Incoming      Intercompany Coin Movement     DOT                                       60,000.0        $1,180,001.89
   Celsius Network Limited             Celsius Network LLC                                2/2/2022   Outgoing      Intercompany Coin Movement     WBTC                                       (23.26)         ($896,736.09)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        2/2/2022   Outgoing      Intercompany Coin Movement     CEL                                      (1,083.0)           ($2,786.35)
   Celsius Network Limited             Celsius Network LLC                                2/2/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (20,000,000.0)        ($20,007,645.10)
   Celsius Network Limited             Celsius Network LLC                                2/2/2022   Incoming      Intercompany Coin Movement     CRV                        119,742.187524651                $403,832.72
   Celsius Network Limited             Celsius Network LLC                                2/2/2022   Incoming      Intercompany Coin Movement     BTC                                          468.0       $17,976,016.45
   Celsius Network Limited             Celsius Network LLC                                2/2/2022   Incoming      Intercompany Coin Movement     DOT                                       19,903.0          $374,798.12
   Celsius Network Limited             Celsius Network LLC                                2/2/2022   Incoming      Intercompany Coin Movement     DOT                                           10.0             $188.31
   Celsius Network Limited             Celsius Network LLC                                2/3/2022   Outgoing      Intercompany Coin Movement     USDC                                (7,000,000.0)        ($7,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                2/3/2022   Outgoing      Intercompany Coin Movement     USDC                              (15,000,000.0)        ($15,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                2/3/2022   Outgoing      Intercompany Coin Movement     DOT                      (25,042.1949850286)               ($462,341.80)
   Celsius Network Limited             Celsius Network LLC                                2/3/2022   Incoming      Intercompany Coin Movement     BNB_BSC                    1,013.43519914249                $369,877.56
   Celsius Network Limited             Celsius Network LLC                                2/3/2022   Incoming      Intercompany Coin Movement     BUSD                           835,764.8651378              $835,764.87
   Celsius Network Limited             Celsius Network LLC                                2/4/2022   Outgoing      Intercompany Coin Movement     USDC                              (50,000,000.0)        ($50,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                2/4/2022   Outgoing      Intercompany Coin Movement     XRP                                        (100.0)              ($63.80)
   Celsius Network Limited             Celsius Network LLC                                2/4/2022   Incoming      Intercompany Coin Movement     ZEC                                       20,000.0        $2,028,564.36
   Celsius Network Limited             Celsius Network LLC                                2/4/2022   Incoming      Intercompany Coin Movement     XRP                           2,195,424.495972            $1,349,935.92
   Celsius Network Limited             Celsius Network EU UAB (LT)                        2/4/2022   Incoming      Intercompany Coin Movement     BNB_BSC                                   15,000.0        $5,604,481.59
   Celsius Network Limited             Celsius Network LLC                                2/7/2022   Outgoing      Intercompany Coin Movement     USDC                              (53,000,000.0)        ($53,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                2/7/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                (11,959,768.162372)           ($11,967,887.37)
   Celsius Network Limited             Celsius Network LLC                                2/7/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                              (12,500.0)          ($12,508.49)
   Celsius Network Limited             Celsius Network LLC                                2/7/2022   Outgoing      Intercompany Coin Movement     SGB                        (495,821.63909299)               ($46,840.43)
   Celsius Network Limited             Celsius Network LLC                                2/7/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                  (6,969,452.512004)           ($6,974,178.54)
   Celsius Network Limited             Celsius Network LLC                                2/7/2022   Incoming      Intercompany Coin Movement     ETH                                        5,500.0       $16,871,580.23
   Celsius Network Limited             Celsius Network LLC                                2/7/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON                         3,086,200.0         $5,699,795.73
   Celsius Network Limited             Celsius Network LLC                                2/7/2022   Incoming      Intercompany Coin Movement     BNB_BSC                     26.5138407006714                 $11,531.02
   Celsius Network Limited             Celsius Network LLC                                2/7/2022   Incoming      Intercompany Coin Movement     BTC                                            1.0           $43,201.42
   Celsius Network Limited             Celsius Network LLC                                2/7/2022   Incoming      Intercompany Coin Movement     MATIC                     10,049,604.6072361             $19,697,225.03
   Celsius Network Limited             Celsius Network LLC                                2/7/2022   Incoming      Intercompany Coin Movement     ETH                                        588.52         $1,838,053.15
   Celsius Network Limited             Celsius Network LLC                                2/7/2022   Incoming      Intercompany Coin Movement     ADA                                     466,000.0           $555,076.64
   Celsius Network Limited             Celsius Network LLC                                2/8/2022   Outgoing      Intercompany Coin Movement     USDC                              (44,500,000.0)        ($44,500,000.00)
   Celsius Network Limited             Celsius Network LLC                                2/8/2022   Outgoing      Intercompany Coin Movement     SUSHI                            (100,256.4384)            ($461,749.36)
   Celsius Network Limited             Celsius Network LLC                                2/8/2022   Incoming      Intercompany Coin Movement     COMP                         1,170.1593317206               $167,670.44
   Celsius Network Limited             Celsius Network LLC                                2/8/2022   Incoming      Intercompany Coin Movement     LINK                       22,036.0837146718                $406,647.49
   Celsius Network Limited             Celsius Network LLC                                2/8/2022   Incoming      Intercompany Coin Movement     AAVE                                     925.7837           $168,307.26
   Celsius Network Limited             Celsius Network LLC                                2/8/2022   Incoming      Intercompany Coin Movement     BTC                                        126.31         $5,438,836.32
   Celsius Network Limited             Celsius Network LLC                                2/8/2022   Incoming      Intercompany Coin Movement     BNT                        111,627.325992805                $304,245.91
   Celsius Network Limited             Celsius Network LLC                                2/8/2022   Incoming      Intercompany Coin Movement     CRV                        215,940.233986232                $722,279.28
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09     Main Document                        Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
                                                                                                    Pg       60    of   77
                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE               COIN       COIN QUANTITY                    COIN USD
   Celsius Network Limited             Celsius Network LLC                                2/9/2022   Outgoing      Intercompany Coin Movement     WETH_E                    (1,518.2957105875)              ($4,728,656.08)
   Celsius Network Limited             Celsius Network LLC                                2/9/2022   Outgoing      Intercompany Coin Movement     MATIC                              (5,000,000.0)         ($10,150,000.00)
   Celsius Network Limited             Celsius Network LLC                                2/9/2022   Outgoing      Intercompany Coin Movement     AAVE                                   (109.8212)            ($20,596.55)
   Celsius Network Limited             Celsius Network LLC                                2/9/2022   Outgoing      Intercompany Coin Movement     LUNA                                (229,353.88)         ($13,220,207.86)
   Celsius Network Limited             Celsius Network LLC                                2/9/2022   Outgoing      Intercompany Coin Movement     LINK_E_AVAX             (724,139.227873024)              ($13,555,886.35)
   Celsius Network Limited             Celsius Network LLC                                2/9/2022   Outgoing      Intercompany Coin Movement     WBTC_AVAX                       (532.65758383)           ($23,732,025.99)
   Celsius Network Limited             Celsius Network LLC                                2/9/2022   Incoming      Intercompany Coin Movement     EOS                                     183,743.0            $489,197.97
   Celsius Network Limited             Celsius Network LLC                                2/9/2022   Incoming      Intercompany Coin Movement     BUSD                       3,388,543.0326843               $3,388,543.03
   Celsius Network Limited             Celsius Network LLC                                2/9/2022   Incoming      Intercompany Coin Movement     MATIC                                 4,000,000.0          $8,040,000.00
   Celsius Network Limited             Celsius Network LLC                                2/9/2022   Incoming      Intercompany Coin Movement     DOT                                      45,000.0            $994,502.42
   Celsius Network Limited             Celsius Network LLC                               2/10/2022   Outgoing      Intercompany Coin Movement     MATIC                  (2,113,052.26288193)               ($4,226,104.53)
   Celsius Network Limited             Celsius Network LLC                               2/10/2022   Outgoing      Intercompany Coin Movement     SNX                          (3,706.66574109)                ($20,392.90)
   Celsius Network Limited             Celsius Network LLC                               2/10/2022   Outgoing      Intercompany Coin Movement     SNX                     (2,424.21514408598)                  ($13,337.26)
   Celsius Network Limited             Celsius Network LLC                               2/10/2022   Incoming      Intercompany Coin Movement     UNI                       332,900.934889373                $4,047,294.76
   Celsius Network Limited             Celsius Network LLC                               2/10/2022   Incoming      Intercompany Coin Movement     USDC                                     52,000.0             $52,000.00
   Celsius Network Limited             Celsius Network LLC                               2/10/2022   Incoming      Intercompany Coin Movement     USDC                                    334,000.0            $334,000.00
   Celsius Network Limited             Celsius Network LLC                               2/10/2022   Incoming      Intercompany Coin Movement     DOT                                      40,000.0            $875,355.73
   Celsius Network Limited             Celsius Network LLC                               2/10/2022   Incoming      Intercompany Coin Movement     USDC                                  3,000,000.0          $3,000,000.00
   Celsius Network Limited             Celsius Network EU UAB (LT)                       2/10/2022   Incoming      Intercompany Coin Movement     BNB_BSC                                    4,000.0         $1,676,359.47
   Celsius Network Limited             Celsius Network LLC                               2/11/2022   Outgoing      Intercompany Coin Movement     LINK                    (22,214.4399146719)                 ($387,361.84)
   Celsius Network Limited             Celsius Network LLC                               2/11/2022   Outgoing      Intercompany Coin Movement     MATIC                  (1,107,432.87662798)               ($2,093,048.14)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       2/11/2022   Outgoing      Intercompany Coin Movement     CEL                                      (1,335.0)            ($4,292.02)
   Celsius Network Limited             Celsius Network LLC                               2/11/2022   Outgoing      Intercompany Coin Movement     BTC                                      (6,000.0)      ($255,269,351.60)
   Celsius Network Limited             Celsius Network LLC                               2/11/2022   Outgoing      Intercompany Coin Movement     USDC                              (50,000,010.0)         ($50,000,010.00)
   Celsius Network Limited             Celsius Network LLC                               2/11/2022   Incoming      Intercompany Coin Movement     USDC                                  2,636,413.0          $2,636,413.00
   Celsius Network Limited             Celsius Network LLC                               2/11/2022   Incoming      Intercompany Coin Movement     USDC                                    333,998.0            $333,998.00
   Celsius Network Limited             Celsius Network LLC                               2/11/2022   Incoming      Intercompany Coin Movement     SOL                                      50,000.0          $4,867,600.53
   Celsius Network Limited             Celsius Network LLC                               2/13/2022   Incoming      Intercompany Coin Movement     SOL                                      75,000.0          $7,192,253.37
   Celsius Network Limited             Celsius Network LLC                               2/13/2022   Incoming      Intercompany Coin Movement     MATIC                                 1,250,000.0          $2,150,000.00
   Celsius Network Limited             Celsius Network LLC                               2/14/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (267,534.2466)             ($267,654.44)
   Celsius Network Limited             Celsius Network LLC                               2/14/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                 (5,167,200.009385)             ($5,169,521.51)
   Celsius Network Limited             Celsius Network LLC                               2/14/2022   Outgoing      Intercompany Coin Movement     LUNA                                         (98.5)           ($5,119.53)
   Celsius Network Limited             Celsius Network LLC                               2/14/2022   Outgoing      Intercompany Coin Movement     LUNA                                (192,499.96)         ($10,414,922.25)
   Celsius Network Limited             Celsius Network LLC                               2/14/2022   Outgoing      Intercompany Coin Movement     MATIC                              (1,250,000.0)          ($2,075,000.00)
   Celsius Network Limited             Celsius Network LLC                               2/14/2022   Outgoing      Intercompany Coin Movement     DOGE                                          (1.0)               ($0.15)
   Celsius Network Limited             Celsius Network LLC                               2/14/2022   Outgoing      Intercompany Coin Movement     DOGE                   (49,999,995.5363641)               ($7,316,076.41)
   Celsius Network Limited             Celsius Network LLC                               2/14/2022   Incoming      Intercompany Coin Movement     SOL                                      45,000.0          $4,286,606.33
   Celsius Network Limited             Celsius Network LLC                               2/14/2022   Incoming      Intercompany Coin Movement     USDC                                  7,000,000.0          $7,000,000.00
   Celsius Network Limited             Celsius Network LLC                               2/14/2022   Incoming      Intercompany Coin Movement     USDC                                  2,000,000.0          $2,000,000.00
   Celsius Network Limited             Celsius Network LLC                               2/14/2022   Incoming      Intercompany Coin Movement     USDC                                40,000,000.0          $40,000,000.00
   Celsius Network Limited             Celsius Network LLC                               2/14/2022   Incoming      Intercompany Coin Movement     BNT                                        8,000.0            $20,361.37
   Celsius Network Limited             Celsius Network LLC                               2/14/2022   Incoming      Intercompany Coin Movement     DOT                                      25,000.0            $468,359.94
   Celsius Network Limited             Celsius Network LLC                               2/14/2022   Incoming      Intercompany Coin Movement     BSV                                      3,686.03            $347,335.54
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Outgoing      Intercompany Coin Movement     USDC_E_AVAX              (25,910,695.708627)             ($25,910,695.71)
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Outgoing      Intercompany Coin Movement     DAI_E                  (31,491,039.2551875)              ($31,522,530.29)
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Outgoing      Intercompany Coin Movement     USDC_POLYGON             (10,867,551.711099)             ($10,889,286.81)
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Outgoing      Intercompany Coin Movement     DAI_POLYGON            (8,261,116.35620399)               ($8,269,377.47)
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Outgoing      Intercompany Coin Movement     LUNA                                    (75.5323)             ($4,263.11)
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Outgoing      Intercompany Coin Movement     BAL                                      (1,035.0)           ($15,817.26)
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Outgoing      Intercompany Coin Movement     USDC                             (960,102.7397)             ($960,102.74)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       2/15/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                          (2,999.999874)           ($1,285,971.42)
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Incoming      Intercompany Coin Movement     BNB_BSC                    161.306829824835                   $70,193.35
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Incoming      Intercompany Coin Movement     SOL                                  4,240.30448             $431,690.92
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Incoming      Intercompany Coin Movement     SOL                                      45,000.0          $4,581,296.33
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Incoming      Intercompany Coin Movement     BCH                                        1,000.0           $336,260.55
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Incoming      Intercompany Coin Movement     BUSD                                  1,532,000.0          $1,525,007.95
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Incoming      Intercompany Coin Movement     SOL                                      45,000.0          $4,610,830.93
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Incoming      Intercompany Coin Movement     BTC                                        6,000.0       $265,655,198.39
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Incoming      Intercompany Coin Movement     ETH                                        5,000.0        $15,552,236.03
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Incoming      Intercompany Coin Movement     ETH                        461.997135963534                $1,437,026.61
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Incoming      Intercompany Coin Movement     ETH                                      35,000.0        $108,865,652.22
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Incoming      Intercompany Coin Movement     COMP                         903.00089328113                 $119,894.31
   Celsius Network Limited             Celsius Network LLC                               2/15/2022   Incoming      Intercompany Coin Movement     OMG                                      15,000.0             $72,845.56
   Celsius Network Limited             Celsius Network EU UAB (LT)                       2/15/2022   Incoming      Intercompany Coin Movement     BNB_BSC                                    1,200.0           $515,178.37
   Celsius Network Limited             Celsius Network LLC                               2/16/2022   Outgoing      Intercompany Coin Movement     AVAX                     (922.570519364174)                  ($85,934.05)
   Celsius Network Limited             Celsius Network LLC                               2/16/2022   Outgoing      Intercompany Coin Movement     USDC                              (20,000,000.0)         ($20,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               2/16/2022   Outgoing      Intercompany Coin Movement     ADA                        (11,835,598.36871)            ($12,699,357.05)
   Celsius Network Limited             Celsius Network LLC                               2/16/2022   Incoming      Intercompany Coin Movement     BNB_BSC                             12.31141845                $5,315.94
   Celsius Network Limited             Celsius Network LLC                               2/16/2022   Incoming      Intercompany Coin Movement     AVAX                       920.581576787151                   $86,368.10
   Celsius Network Limited             Celsius Network LLC                               2/16/2022   Incoming      Intercompany Coin Movement     XTZ                                     200,000.0            $808,728.46
   Celsius Network Limited             Celsius Network LLC                               2/16/2022   Incoming      Intercompany Coin Movement     ETH                                        6,000.0        $18,410,514.10
   Celsius Network Limited             Celsius Network LLC                               2/16/2022   Incoming      Intercompany Coin Movement     ADA                                   7,500,000.0          $8,042,580.42
   Celsius Network Limited             Celsius Network LLC                               2/16/2022   Incoming      Intercompany Coin Movement     SOL                                      50,000.0          $4,960,485.82
   Celsius Network Limited             Celsius Network LLC                               2/16/2022   Incoming      Intercompany Coin Movement     XTZ                                        8,287.0            $33,052.93
   Celsius Network Limited             Celsius Network LLC                               2/16/2022   Incoming      Intercompany Coin Movement     ETC                                     35,126.11          $1,120,288.70
   Celsius Network Limited             Celsius Network LLC                               2/16/2022   Incoming      Intercompany Coin Movement     CRV                       75,623.5572807501                  $233,500.00
   Celsius Network Limited             Celsius Network LLC                               2/16/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON            1,640,779.25639678                $3,028,744.02
   Celsius Network Limited             Celsius Network LLC                               2/17/2022   Outgoing      Intercompany Coin Movement     MATIC                  (2,027,897.55977275)               ($3,569,099.71)
   Celsius Network Limited             Celsius Network LLC                               2/17/2022   Outgoing      Intercompany Coin Movement     DOGE                   (13,999,998.9473205)               ($2,025,066.09)
   Celsius Network Limited             Celsius Network LLC                               2/17/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                                    (800.0)          ($330,856.16)
   Celsius Network Limited             Celsius Network LLC                               2/17/2022   Outgoing      Intercompany Coin Movement     QUICK                                      (731.0)          ($144,911.32)
   Celsius Network Limited             Celsius Network LLC                               2/17/2022   Incoming      Intercompany Coin Movement     BNB_BSC                    1.77514104484434                     $753.00
   Celsius Network Limited             Celsius Network LLC                               2/17/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON                           377,000.0            $675,189.99
   Celsius Network Limited             Celsius Network LLC                               2/17/2022   Incoming      Intercompany Coin Movement     MATIC                                           1.0                $1.71
   Celsius Network Limited             Celsius Network LLC                               2/17/2022   Incoming      Intercompany Coin Movement     SOL                                      40,000.0          $3,792,055.10
   Celsius Network Limited             Celsius Network LLC                               2/18/2022   Outgoing      Intercompany Coin Movement     PAX                                   (750,000.0)           ($746,479.46)
   Celsius Network Limited             Celsius Network LLC                               2/18/2022   Outgoing      Intercompany Coin Movement     WETH_POLYGON              (3,483.3808844273)              ($9,944,007.41)
   Celsius Network Limited             Celsius Network LLC                               2/18/2022   Outgoing      Intercompany Coin Movement     LINK                    (51,450.8580259211)                 ($800,694.22)
   Celsius Network Limited             Celsius Network LLC                               2/18/2022   Outgoing      Intercompany Coin Movement     WBTC                            (521.36684207)           ($21,136,869.93)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       2/18/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                         (500.00152523)              ($197,913.68)
   Celsius Network Limited             Celsius Network LLC                               2/18/2022   Incoming      Intercompany Coin Movement     MATIC                    13,252,454.5921591               $21,999,074.62
   Celsius Network Limited             Celsius Network LLC                               2/18/2022   Incoming      Intercompany Coin Movement     WBTC                                           2.97          $119,562.81
   Celsius Network Limited             Celsius Network LLC                               2/20/2022   Outgoing      Intercompany Coin Movement     USDC                              (25,000,000.0)         ($25,000,000.00)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       2/21/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                            (90.9924187)              ($33,650.89)
   Celsius Network Limited             Celsius Network LLC                               2/21/2022   Outgoing      Intercompany Coin Movement     QUICK                                      (365.0)           ($62,849.04)
   Celsius Network Limited             Celsius Network LLC                               2/21/2022   Incoming      Intercompany Coin Movement     MANA                                  344,827.59             $984,626.27
   Celsius Network Limited             Celsius Network LLC                               2/21/2022   Incoming      Intercompany Coin Movement     ETH                                      60,000.0        $157,350,304.79
   Celsius Network Limited             Celsius Network LLC                               2/21/2022   Incoming      Intercompany Coin Movement     BTC                                        5,000.0       $187,375,902.52
   Celsius Network Limited             Celsius Network LLC                               2/21/2022   Incoming      Intercompany Coin Movement     WBTC                                           50.0        $1,865,210.21
   Celsius Network Limited             Celsius Network EU UAB (LT)                       2/21/2022   Incoming      Intercompany Coin Movement     XRP                                 12,000,000.0           $9,175,528.24
   Celsius Network Limited             Celsius Network LLC                               2/22/2022   Outgoing      Intercompany Coin Movement     STECRV-GAUGE            (36,640.9853017723)                        $0.00
   Celsius Network Limited             Celsius Network LLC                               2/22/2022   Outgoing      Intercompany Coin Movement     LUNA                                  (79,999.92)         ($4,214,465.42)
   Celsius Network Limited             Celsius Network LLC                               2/22/2022   Outgoing      Intercompany Coin Movement     SGB                               (10,000,000.0)            ($546,256.00)
   Celsius Network Limited             Celsius Network LLC                               2/22/2022   Outgoing      Intercompany Coin Movement     QUICK                                      (365.0)           ($60,392.86)
   Celsius Network Limited             Celsius Network LLC                               2/22/2022   Outgoing      Intercompany Coin Movement     SGB                                (4,000,000.0)            ($219,222.02)
   Celsius Network Limited             Celsius Network LLC                               2/22/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                   4,153,935.975785              $4,155,761.71
   Celsius Network Limited             Celsius Network LLC                               2/22/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                            541,193.53             $541,431.39
   Celsius Network Limited             Celsius Network LLC                               2/22/2022   Incoming      Intercompany Coin Movement     ADA                                   1,154,374.7          $1,002,552.75
   Celsius Network Limited             Celsius Network LLC                               2/22/2022   Incoming      Intercompany Coin Movement     COMP                       756.503522869659                   $83,808.08
   Celsius Network Limited             Celsius Network LLC                               2/22/2022   Incoming      Intercompany Coin Movement     SOL                                      28,000.0          $2,407,548.14
   Celsius Network Limited             Celsius Network LLC                               2/22/2022   Incoming      Intercompany Coin Movement     AAVE                                           66.0            $8,869.56
   Celsius Network Limited             Celsius Network LLC                               2/22/2022   Incoming      Intercompany Coin Movement     ADA                          1,799,999.833707              $1,568,261.17
   Celsius Network Limited             Celsius Network LLC                               2/22/2022   Incoming      Intercompany Coin Movement     DOT                                      81,000.0          $1,315,009.59
   Celsius Network Limited             Celsius Network LLC                               2/22/2022   Incoming      Intercompany Coin Movement     USDC                                  3,629,661.4          $3,629,661.40
   Celsius Network Limited             Celsius Network EU UAB (LT)                       2/22/2022   Incoming      Intercompany Coin Movement     LUNA                             52,507.908577             $2,761,606.79
   Celsius Network Limited             Celsius Network EU UAB (LT)                       2/23/2022   Outgoing      Intercompany Coin Movement     LUNA                           (35,507.868577)            ($2,032,848.20)
   Celsius Network Limited             Celsius Network LLC                               2/23/2022   Outgoing      Intercompany Coin Movement     USDC                                  (500,000.0)           ($500,000.00)
   Celsius Network Limited             Celsius Network LLC                               2/23/2022   Outgoing      Intercompany Coin Movement     USDC                               (3,000,000.0)          ($3,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               2/23/2022   Outgoing      Intercompany Coin Movement     QUICK                           (243.48102348)               ($42,173.88)
   Celsius Network Limited             Celsius Network LLC                               2/23/2022   Incoming      Intercompany Coin Movement     BNB_BSC                        1,104.38946297                $421,099.27
   Celsius Network Limited             Celsius Network LLC                               2/23/2022   Incoming      Intercompany Coin Movement     EOS                                     400,000.0            $883,695.56
   Celsius Network Limited             Celsius Network LLC                               2/23/2022   Incoming      Intercompany Coin Movement     ADA                                   3,682,990.0          $3,404,787.73
   Celsius Network Limited             Celsius Network LLC                               2/23/2022   Incoming      Intercompany Coin Movement     LUNA                                       8,001.0           $468,966.57
   Celsius Network Limited             Celsius Network LLC                               2/23/2022   Incoming      Intercompany Coin Movement     BUSD                                  3,000,000.0          $2,999,949.00
   Celsius Network Limited             Celsius Network LLC                               2/23/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                              500,000.0            $500,316.59
   Celsius Network Limited             Celsius Network LLC                               2/23/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                            9,000,000.0          $9,005,698.63
   Celsius Network Limited             Celsius Network LLC                               2/23/2022   Incoming      Intercompany Coin Movement     SOL                                22,499.99999            $1,989,753.20
   Celsius Network Limited             Celsius Network LLC                               2/24/2022   Outgoing      Intercompany Coin Movement     USDC                              (13,259,990.0)         ($13,259,990.00)
   Celsius Network Limited             Celsius Network LLC                               2/24/2022   Outgoing      Intercompany Coin Movement     PAX                                (1,999,995.0)          ($2,010,108.83)
   Celsius Network Limited             Celsius Network LLC                               2/24/2022   Outgoing      Intercompany Coin Movement     DOGE                               (2,999,999.0)            ($357,334.03)
   Celsius Network Limited             Celsius Network LLC                               2/24/2022   Outgoing      Intercompany Coin Movement     BUSD                               (1,000,000.0)          ($1,002,000.00)
   Celsius Network Limited             Celsius Network LLC                               2/24/2022   Outgoing      Intercompany Coin Movement     USDC                               (3,000,000.0)          ($3,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               2/24/2022   Outgoing      Intercompany Coin Movement     DAI                                   (100,000.0)            ($99,915.67)
   Celsius Network Limited             Celsius Network LLC                               2/24/2022   Incoming      Intercompany Coin Movement     UNI                                      12,117.9             $94,762.33
   Celsius Network Limited             Celsius Network LLC                               2/24/2022   Incoming      Intercompany Coin Movement     XLM                                             1.0                $0.17
   Celsius Network Limited             Celsius Network LLC                               2/24/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                          15,000,000.0          $15,006,830.48
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09     Main Document                          Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
                                                                                                    Pg       61    of   77
                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN        COIN QUANTITY                      COIN USD
   Celsius Network Limited             Celsius Network LLC                               2/24/2022   Incoming      Intercompany Coin Movement     AAVE                                      622.3458              $70,860.60
   Celsius Network Limited             Celsius Network LLC                               2/24/2022   Incoming      Intercompany Coin Movement     LTC                                          593.96             $55,167.72
   Celsius Network Limited             Celsius Network LLC                               2/24/2022   Incoming      Intercompany Coin Movement     ETH                                        15,620.0         $36,998,083.08
   Celsius Network Limited             Celsius Network LLC                               2/24/2022   Incoming      Intercompany Coin Movement     BTC                                          3,000.0       $108,309,230.34
   Celsius Network Limited             Celsius Network LLC                               2/24/2022   Incoming      Intercompany Coin Movement     CRV                       274,809.079130299                    $574,478.29
   Celsius Network Limited             Celsius Network LLC                               2/24/2022   Incoming      Intercompany Coin Movement     ADA                                 17,000,000.0            $14,650,173.11
   Celsius Network Limited             Celsius Network EU UAB (LT)                       2/24/2022   Incoming      Intercompany Coin Movement     AAVE                                  106.934225                $12,175.58
   Celsius Network Limited             Celsius Network LLC                               2/25/2022   Outgoing      Intercompany Coin Movement     USDC                                (4,152,610.0)           ($4,152,610.00)
   Celsius Network Limited             Celsius Network LLC                               2/25/2022   Outgoing      Intercompany Coin Movement     USDC                              (40,000,000.0)           ($40,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               2/25/2022   Outgoing      Intercompany Coin Movement     USDC                              (12,500,000.0)           ($12,500,000.00)
   Celsius Network Limited             Celsius Network LLC                               2/25/2022   Outgoing      Intercompany Coin Movement     USDC_POLYGON                              (100.999)               ($101.10)
   Celsius Network Limited             Celsius Network LLC                               2/25/2022   Outgoing      Intercompany Coin Movement     AAVE                                       (8,000.0)        ($1,103,980.57)
   Celsius Network Limited             Celsius Network LLC                               2/25/2022   Outgoing      Intercompany Coin Movement     AAVE                    (5,441.30548653204)                   ($753,408.96)
   Celsius Network Limited             Celsius Network LLC                               2/25/2022   Incoming      Intercompany Coin Movement     BNB_BSC                               6.73581587                 $2,429.71
   Celsius Network Limited             Celsius Network LLC                               2/25/2022   Incoming      Intercompany Coin Movement     ETH                                        55,000.0        $147,073,769.26
   Celsius Network Limited             Celsius Network LLC                               2/25/2022   Incoming      Intercompany Coin Movement     BTC                                     23.906928              $937,014.83
   Celsius Network Limited             Celsius Network LLC                               2/25/2022   Incoming      Intercompany Coin Movement     LINK                                     15,054.78             $207,710.60
   Celsius Network Limited             Celsius Network LLC                               2/25/2022   Incoming      Intercompany Coin Movement     BNB_BSC                             1.490300768                    $548.22
   Celsius Network Limited             Celsius Network LLC                               2/25/2022   Incoming      Intercompany Coin Movement     DOT                                        29,411.0            $490,499.37
   Celsius Network Limited             Celsius Network LLC                               2/25/2022   Incoming      Intercompany Coin Movement     LINK                                     300,000.0           $4,307,412.92
   Celsius Network Limited             Celsius Network LLC                               2/25/2022   Incoming      Intercompany Coin Movement     LINK                                     53,607.79             $769,702.96
   Celsius Network Limited             Celsius Network EU UAB (LT)                       2/25/2022   Incoming      Intercompany Coin Movement     BNB_BSC                                    10,000.0          $3,695,571.47
   Celsius Network Limited             Celsius Network LLC                               2/26/2022   Outgoing      Intercompany Coin Movement     DOT                     (20,481.2872999972)                   ($371,447.94)
   Celsius Network Limited             Celsius Network LLC                               2/26/2022   Incoming      Intercompany Coin Movement     DOT                       20,481.3042999986                    $371,870.81
   Celsius Network Limited             Celsius Network EU UAB (LT)                       2/27/2022   Outgoing      Intercompany Coin Movement     CEL                                        (2,309.0)            ($7,174.99)
   Celsius Network Limited             Celsius Network LLC                               2/28/2022   Outgoing      Intercompany Coin Movement     LUNA                                   (150,000.0)         ($11,364,306.11)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       2/28/2022   Outgoing      Intercompany Coin Movement     LUNA                                     (40,000.0)         ($3,060,049.63)
   Celsius Network Limited             Celsius Network LLC                               2/28/2022   Outgoing      Intercompany Coin Movement     LUNA                                     (9,999.88)           ($828,617.24)
   Celsius Network Limited             Celsius Network LLC                               2/28/2022   Outgoing      Intercompany Coin Movement     ETH                     (3,899.99845765287)                ($10,962,604.43)
   Celsius Network Limited             Celsius Network LLC                               2/28/2022   Outgoing      Intercompany Coin Movement     ETH                                          (724.5)        ($2,036,514.59)
   Celsius Network Limited             Celsius Network LLC                               2/28/2022   Outgoing      Intercompany Coin Movement     MATIC                                  (499,995.0)            ($774,992.25)
   Celsius Network Limited             Celsius Network LLC                               2/28/2022   Outgoing      Intercompany Coin Movement     ETH                                      (50,000.0)       ($140,435,214.67)
   Celsius Network Limited             Celsius Network LLC                               2/28/2022   Incoming      Intercompany Coin Movement     DOT                                        75,000.0          $1,307,187.74
   Celsius Network Limited             Celsius Network LLC                               2/28/2022   Incoming      Intercompany Coin Movement     USDC                                     195,060.0             $195,060.00
   Celsius Network Limited             Celsius Network LLC                               2/28/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                        150,000,000.0            $150,088,783.47
   Celsius Network Limited             Celsius Network LLC                               2/28/2022   Incoming      Intercompany Coin Movement     USDT_POLYGON                   112,975.015518                  $112,949.82
   Celsius Network Limited             Celsius Network LLC                               2/28/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                            5,300,000.0            $5,302,115.14
   Celsius Network Limited             Celsius Network LLC                               2/28/2022   Incoming      Intercompany Coin Movement     EURT_ERC20                             165,178.57              $185,077.76
   Celsius Network Limited             Celsius Network LLC                               2/28/2022   Incoming      Intercompany Coin Movement     ADA                                   1,717,690.0            $1,594,784.07
   Celsius Network Limited             Celsius Mining LLC                                2/28/2022   Incoming      Intercompany Coin Movement     BTC                                            100.0         $4,344,555.67
   Celsius Network Limited             Celsius Network EU UAB (LT)                       2/28/2022   Incoming      Intercompany Coin Movement     CEL                                          1,521.0             $4,700.61
   Celsius Network Limited             Celsius Network EU UAB (LT)                       2/28/2022   Incoming      Intercompany Coin Movement     CEL                                          1,521.0             $4,700.61
   Celsius Network Limited             Celsius Network LLC                                3/1/2022   Outgoing      Intercompany Coin Movement     MATIC                  (1,508,556.51061729)                 ($2,398,604.85)
   Celsius Network Limited             Celsius Network LLC                                3/1/2022   Outgoing      Intercompany Coin Movement     BUSD                                (1,499,995.0)           ($1,504,494.99)
   Celsius Network Limited             Celsius Network LLC                                3/1/2022   Incoming      Intercompany Coin Movement     BNB_BSC                    31.3375937737625                     $12,732.04
   Celsius Network Limited             Celsius Network LLC                                3/1/2022   Incoming      Intercompany Coin Movement     BNB_BSC                            3,054.999874              $1,239,961.83
   Celsius Network Limited             Celsius Network LLC                                3/1/2022   Incoming      Intercompany Coin Movement     DOGE                                     174,663.0              $23,049.96
   Celsius Network Limited             Celsius Network LLC                                3/1/2022   Incoming      Intercompany Coin Movement     LUNA                                           430.0            $39,987.06
   Celsius Network Limited             Celsius Network LLC                                3/1/2022   Incoming      Intercompany Coin Movement     DOGE                                  1,923,080.0              $257,479.17
   Celsius Network Limited             Celsius Network LLC                                3/1/2022   Incoming      Intercompany Coin Movement     ETH                                          4,000.0        $11,764,801.64
   Celsius Network Limited             Celsius Network LLC                                3/1/2022   Incoming      Intercompany Coin Movement     MANA                                     89,285.71             $247,484.01
   Celsius Network Limited             Celsius Network LLC                                3/1/2022   Incoming      Intercompany Coin Movement     LTC                           67,707.10206183                $7,619,337.01
   Celsius Network Limited             Celsius Network EU UAB (LT)                        3/1/2022   Incoming      Intercompany Coin Movement     XRP                                   4,000,000.0            $3,119,309.21
   Celsius Network Limited             Celsius Network EU UAB (LT)                        3/2/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                  (93.2742411047596)                    ($38,400.69)
   Celsius Network Limited             Celsius Network LLC                                3/2/2022   Outgoing      Intercompany Coin Movement     PAX                                 (1,999,997.5)           ($2,005,092.67)
   Celsius Network Limited             Celsius Network LLC                                3/2/2022   Outgoing      Intercompany Coin Movement     USDT_POLYGON                 (112,975.015518)                 ($112,975.02)
   Celsius Network Limited             Celsius Network LLC                                3/2/2022   Outgoing      Intercompany Coin Movement     WBTC                                       (1,998.6)       ($87,381,192.18)
   Celsius Network Limited             Celsius Network LLC                                3/2/2022   Incoming      Intercompany Coin Movement     MANA                                     550,000.0           $1,545,721.57
   Celsius Network Limited             Celsius Network LLC                                3/2/2022   Incoming      Intercompany Coin Movement     DOGE                                           500.0                $67.43
   Celsius Network Limited             Celsius Network LLC                                3/2/2022   Incoming      Intercompany Coin Movement     USDC                                10,842,603.0            $10,842,603.00
   Celsius Network Limited             Celsius Network LLC                                3/2/2022   Incoming      Intercompany Coin Movement     COMP                       911.200579288376                    $110,781.11
   Celsius Network Limited             Celsius Network LLC                                3/2/2022   Incoming      Intercompany Coin Movement     AAVE                                      776.6847             $107,253.38
   Celsius Network Limited             Celsius Network LLC                                3/2/2022   Incoming      Intercompany Coin Movement     USDC                                35,500,000.0            $35,500,000.00
   Celsius Network Limited             Celsius Network EU UAB (LT)                        3/2/2022   Incoming      Intercompany Coin Movement     USDC                                     931,567.0             $931,567.00
   Celsius Network Limited             Celsius Network EU UAB (LT)                        3/3/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                             (115.068374)               ($47,339.19)
   Celsius Network Limited             Celsius Network LLC                                3/3/2022   Outgoing      Intercompany Coin Movement     ADA                          (309,032.914198)                 ($285,240.78)
   Celsius Network Limited             Celsius Network LLC                                3/3/2022   Outgoing      Intercompany Coin Movement     ETH                                      (40,000.0)       ($115,529,781.04)
   Celsius Network Limited             Celsius Network LLC                                3/3/2022   Outgoing      Intercompany Coin Movement     LUNA                                    (458.2111)             ($41,669.73)
   Celsius Network Limited             Celsius Network LLC                                3/3/2022   Outgoing      Intercompany Coin Movement     WBTC                                       (1,998.6)       ($85,133,849.97)
   Celsius Network Limited             Celsius Network LLC                                3/3/2022   Outgoing      Intercompany Coin Movement     LUNA                                     (6,599.96)           ($600,151.73)
   Celsius Network Limited             Celsius Network LLC                                3/3/2022   Outgoing      Intercompany Coin Movement     ETH                                        (2,377.0)        ($6,709,471.05)
   Celsius Network Limited             Celsius Network LLC                                3/3/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (20,000,000.0)           ($20,005,278.17)
   Celsius Network Limited             Celsius Network LLC                                3/3/2022   Incoming      Intercompany Coin Movement     ADA                                   3,000,000.0            $2,756,267.77
   Celsius Network Limited             Celsius Network LLC                                3/3/2022   Incoming      Intercompany Coin Movement     USDC                                  6,000,000.0            $6,000,000.00
   Celsius Network Limited             Celsius Network LLC                                3/3/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                        200,000,000.0            $200,060,524.64
   Celsius Network Limited             Celsius Network LLC                                3/3/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                          18,000,000.0            $18,005,447.22
   Celsius Network Limited             Celsius Network LLC                                3/3/2022   Incoming      Intercompany Coin Movement     LUNA                                         6,600.0           $600,151.73
   Celsius Network Limited             Celsius Network LLC                                3/3/2022   Incoming      Intercompany Coin Movement     SOL                                      125,000.0          $11,908,367.13
   Celsius Network Limited             Celsius Network LLC                                3/3/2022   Incoming      Intercompany Coin Movement     USDC                                  3,760,000.0            $3,760,000.00
   Celsius Network Limited             Celsius Network LLC                                3/4/2022   Outgoing      Intercompany Coin Movement     ETH                     (4,671.26493561295)                ($12,806,521.04)
   Celsius Network Limited             Celsius Network LLC                                3/4/2022   Outgoing      Intercompany Coin Movement     ETH                                        (9,600.0)       ($25,945,544.79)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        3/4/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                          (4,499.999874)             ($1,738,557.72)
   Celsius Network Limited             Celsius Network LLC                                3/4/2022   Outgoing      Intercompany Coin Movement     BCH                             (188.47254479)                 ($56,726.43)
   Celsius Network Limited             Celsius Network LLC                                3/4/2022   Outgoing      Intercompany Coin Movement     BCH                          (2,500.00201146)                 ($754,512.51)
   Celsius Network Limited             Celsius Network LLC                                3/4/2022   Outgoing      Intercompany Coin Movement     WBTC                                       (1,998.6)       ($81,747,139.25)
   Celsius Network Limited             Celsius Network LLC                                3/4/2022   Incoming      Intercompany Coin Movement     USDC                                       17,120.0             $17,120.00
   Celsius Network Limited             Celsius Network LLC                                3/4/2022   Incoming      Intercompany Coin Movement     SOL                                        15,000.0          $1,382,008.25
   Celsius Network Limited             Celsius Network EU UAB (LT)                        3/7/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                                    (2,000.0)          ($752,938.77)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        3/7/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                                    (4,000.0)        ($1,532,291.42)
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Outgoing      Intercompany Coin Movement     ETH                                        (3,589.0)        ($9,257,221.13)
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Outgoing      Intercompany Coin Movement     BTC                          (3,666.73320959)             ($140,834,321.70)
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Outgoing      Intercompany Coin Movement     USDC                     (78,762,539.793602)               ($78,762,539.79)
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Outgoing      Intercompany Coin Movement     ETH                                      (47,999.0)       ($121,478,081.10)
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Outgoing      Intercompany Coin Movement     USDC                       (2,519,009.643657)               ($2,519,009.64)
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Outgoing      Intercompany Coin Movement     BTC                          (6,505.47967382)             ($247,410,930.80)
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Outgoing      Intercompany Coin Movement     MATIC                              (19,178.0822)               ($27,041.10)
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Outgoing      Intercompany Coin Movement     MATIC                                (242,465.62)             ($339,451.87)
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Outgoing      Intercompany Coin Movement     WBTC                                       (1,998.6)       ($75,565,951.92)
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Incoming      Intercompany Coin Movement     BNT                                        74,000.0            $158,061.23
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Incoming      Intercompany Coin Movement     BNB_BSC                   1,177.87668236397                    $439,378.90
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Incoming      Intercompany Coin Movement     SNX                                      500,000.0           $1,776,114.87
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Incoming      Intercompany Coin Movement     LTC                                        15,000.0          $1,500,772.77
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Incoming      Intercompany Coin Movement     BUSD                                  3,500,000.0            $3,507,000.00
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Incoming      Intercompany Coin Movement     ADA                                 2,448,312.52             $2,049,118.70
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Incoming      Intercompany Coin Movement     XLM                                   9,241,672.1            $1,629,049.66
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Incoming      Intercompany Coin Movement     MATIC                                  242,465.62              $341,876.52
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                            5,000,000.0            $5,001,067.53
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                 14,005,296.477093                $14,011,921.07
   Celsius Network Limited             Celsius Network LLC                                3/7/2022   Incoming      Intercompany Coin Movement     AAVE                          8,016.060174631                  $940,651.67
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Outgoing      Intercompany Coin Movement     DOGE                                (2,999,999.0)             ($354,257.33)
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Outgoing      Intercompany Coin Movement     MATIC                              (17,974.8295)               ($26,243.25)
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Outgoing      Intercompany Coin Movement     MATIC                  (2,147,754.53436154)                 ($3,135,721.62)
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Outgoing      Intercompany Coin Movement     PAX                       (999,997.50000001)                  ($999,589.10)
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Outgoing      Intercompany Coin Movement     MATIC                  (3,684,422.94846229)                 ($5,342,413.28)
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Outgoing      Intercompany Coin Movement     USDC                              (15,000,000.0)           ($15,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Outgoing      Intercompany Coin Movement     ETH                      (60.9989752862343)                   ($159,674.62)
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Outgoing      Intercompany Coin Movement     BTC                                             (1.0)          ($39,275.14)
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Outgoing      Intercompany Coin Movement     USDC                              (15,000,000.0)           ($15,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Outgoing      Intercompany Coin Movement     ETH                                      (20,000.0)        ($51,615,770.74)
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Outgoing      Intercompany Coin Movement     WBTC                                       (1,998.6)       ($76,949,386.24)
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Outgoing      Intercompany Coin Movement     ETH                                        (1,000.0)        ($2,567,213.10)
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Outgoing      Intercompany Coin Movement     DOGE                   (4,299,998.95964457)                   ($500,918.47)
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON            2,147,754.53990079                  $3,122,922.46
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Incoming      Intercompany Coin Movement     BTC                                            475.0        $18,534,969.45
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Incoming      Intercompany Coin Movement     COMP                         718.05830071946                    $75,412.71
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Incoming      Intercompany Coin Movement     AAVE                                      885.5404             $108,423.48
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON             1,451.47769297292                      $2,068.38
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON              49.9724912717279                         $71.21
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Incoming      Intercompany Coin Movement     ZRX                                      943,842.0             $460,835.96
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Incoming      Intercompany Coin Movement     BTC                                          2,000.0        $78,062,529.53
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Incoming      Intercompany Coin Movement     ZRX                      1,739,598.14546755                    $855,726.40
   Celsius Network Limited             Celsius Network LLC                                3/8/2022   Incoming      Intercompany Coin Movement     BTC                                          1,000.0        $39,275,144.90
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Outgoing      Intercompany Coin Movement     LUNA                                  (946.20707)              ($97,532.45)
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Outgoing      Intercompany Coin Movement     ETH                                        (1,600.0)        ($4,386,817.26)
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Outgoing      Intercompany Coin Movement     USDC                                (5,000,000.0)           ($5,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     CXDOGE_POLYGON                        4,400,000.0              $521,866.40
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09     Main Document                      Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
                                                                                                    Pg       62    of   77
                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN        COIN QUANTITY                  COIN USD
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     LUNA                                  100,000.1          $9,831,540.38
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     DOT                                     25,000.0           $445,560.96
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     DOT                                      4,450.0            $79,309.85
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     CXDOGE_POLYGON                      4,300,000.0            $529,321.40
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     CXADA_POLYGON                       1,500,000.0          $1,275,720.00
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     LUNA                         100,943.509845             $10,384,093.76
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     CXADA_POLYGON           2,714,650.82281484               $2,333,008.92
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     USDC                              2,426,185.93           $2,426,185.93
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     BTC                                 5.52173194             $232,369.52
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     MANA                                  16,923.57             $42,104.78
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                            15,977.87             $15,984.37
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     SNX                                   7,086.613             $32,771.37
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     XRP                            11,990.502585                 $9,144.78
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     GUSD                                    8,660.09             $8,653.11
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     LINK                                   154.9252              $2,175.21
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     LTC                                 9.23468909                 $993.06
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     BCH                                 3.37665795               $1,053.05
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     ETH                                         316.5          $862,049.07
   Celsius Network Limited             Celsius Network LLC                                3/9/2022   Incoming      Intercompany Coin Movement     SOL                                     50,000.0         $4,319,135.19
   Celsius Network Limited             Celsius Network LLC                               3/10/2022   Outgoing      Intercompany Coin Movement     CXADA_POLYGON                       (698,595.0)           ($569,051.04)
   Celsius Network Limited             Celsius Network LLC                               3/10/2022   Outgoing      Intercompany Coin Movement     CXDOGE_POLYGON                     (539,744.35)            ($64,416.87)
   Celsius Network Limited             Celsius Network LLC                               3/10/2022   Outgoing      Intercompany Coin Movement     LUNA                         (29,999.998616)            ($3,072,817.11)
   Celsius Network Limited             Celsius Network LLC                               3/10/2022   Outgoing      Intercompany Coin Movement     ETH                                    (5,400.0)       ($14,006,082.95)
   Celsius Network Limited             Celsius Network LLC                               3/10/2022   Outgoing      Intercompany Coin Movement     OMG                       (22,011.76107771)                ($95,907.50)
   Celsius Network Limited             Celsius Network LLC                               3/10/2022   Outgoing      Intercompany Coin Movement     LUNA                                  (80,000.0)        ($8,154,158.77)
   Celsius Network Limited             Celsius Network LLC                               3/10/2022   Outgoing      Intercompany Coin Movement     LUNA                           (6,999.997144)             ($715,270.35)
   Celsius Network Limited             Celsius Network LLC                               3/10/2022   Outgoing      Intercompany Coin Movement     MATIC                       (3,000,004.9055)            ($4,290,007.01)
   Celsius Network Limited             Celsius Network LLC                               3/10/2022   Outgoing      Intercompany Coin Movement     DOGE                              (9,999,999.0)         ($1,164,613.03)
   Celsius Network Limited             Celsius Network LLC                               3/10/2022   Outgoing      Intercompany Coin Movement     USDC                            (49,999,997.5)         ($49,999,997.50)
   Celsius Network Limited             Celsius Network LLC                               3/10/2022   Outgoing      Intercompany Coin Movement     ETH                                    (7,000.0)       ($18,301,122.85)
   Celsius Network Limited             Celsius Network LLC                               3/10/2022   Incoming      Intercompany Coin Movement     BTC                                      1,000.0        $39,197,780.28
   Celsius Network Limited             Celsius Network LLC                               3/10/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON            73,447.9022160835                 $104,873.31
   Celsius Network Limited             Celsius Network LLC                               3/10/2022   Incoming      Intercompany Coin Movement     BTC                                         510.0       $20,018,888.66
   Celsius Network Limited             Celsius Network LLC                               3/11/2022   Incoming      Intercompany Coin Movement     CRV                      324,861.725013156                 $649,706.44
   Celsius Network Limited             Celsius Network LLC                               3/11/2022   Incoming      Intercompany Coin Movement     BNT                      185,918.989523807                 $405,006.93
   Celsius Network Limited             Celsius Network LLC                               3/11/2022   Incoming      Intercompany Coin Movement     LUNA                                     1,030.0           $100,139.93
   Celsius Network Limited             Celsius Network LLC                               3/11/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                          9,071,375.0          $9,073,385.28
   Celsius Network Limited             Celsius Network EU UAB (LT)                       3/11/2022   Incoming      Intercompany Coin Movement     BNB_BSC                                  9,400.0         $3,520,627.67
   Celsius Network Limited             Celsius Network LLC                               3/14/2022   Outgoing      Intercompany Coin Movement     BTC                                       (300.0)      ($11,705,428.92)
   Celsius Network Limited             Celsius Network LLC                               3/14/2022   Outgoing      Intercompany Coin Movement     MATIC                   (177,380.71842689)                ($241,237.78)
   Celsius Network Limited             Celsius Network LLC                               3/14/2022   Incoming      Intercompany Coin Movement     BNB_BSC                                   127.54            $46,447.51
   Celsius Network Limited             Celsius Network LLC                               3/14/2022   Incoming      Intercompany Coin Movement     ADA                                   500,000.0            $395,838.12
   Celsius Network Limited             Celsius Network LLC                               3/14/2022   Incoming      Intercompany Coin Movement     DOT                                     25,000.0           $438,526.14
   Celsius Network Limited             Celsius Network LLC                               3/14/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON            103,883.825687965                 $143,570.09
   Celsius Network Limited             Celsius Network LLC                               3/14/2022   Incoming      Intercompany Coin Movement     LINK                                    50,000.0           $663,050.21
   Celsius Network Limited             Celsius Network LLC                               3/14/2022   Incoming      Intercompany Coin Movement     MATIC                    76,028.1065539798                 $101,877.66
   Celsius Network Limited             Celsius Network LLC                               3/14/2022   Incoming      Intercompany Coin Movement     MATIC                    77,291.5176370773                 $103,570.63
   Celsius Network Limited             Celsius Network LLC                               3/14/2022   Incoming      Intercompany Coin Movement     MATIC                    111,898.170712512                 $149,943.55
   Celsius Network Limited             Celsius Network LLC                               3/14/2022   Incoming      Intercompany Coin Movement     MATIC                    124,171.072668089                 $166,389.24
   Celsius Network Limited             Celsius Network LLC                               3/14/2022   Incoming      Intercompany Coin Movement     MATIC                    177,880.138117712                 $238,359.39
   Celsius Network Limited             Celsius Network LLC                               3/15/2022   Outgoing      Intercompany Coin Movement     USDC                        (1,991,032.6805)            ($1,991,032.68)
   Celsius Network Limited             Celsius Network LLC                               3/15/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (1,200,000.0)         ($1,200,342.85)
   Celsius Network Limited             Celsius Network LLC                               3/15/2022   Outgoing      Intercompany Coin Movement     MATIC                            (138,565.029)            ($191,219.74)
   Celsius Network Limited             Celsius Network LLC                               3/15/2022   Incoming      Intercompany Coin Movement     LUNA                                    20,000.0         $1,820,483.62
   Celsius Network Limited             Celsius Network LLC                               3/15/2022   Incoming      Intercompany Coin Movement     BNB_BSC                  158.845430941285                   $58,258.69
   Celsius Network Limited             Celsius Network LLC                               3/15/2022   Incoming      Intercompany Coin Movement     LUNA                                    92,501.0         $8,442,095.28
   Celsius Network Limited             Celsius Network LLC                               3/15/2022   Incoming      Intercompany Coin Movement     COMP                     763.691174722258                   $77,450.67
   Celsius Network Limited             Celsius Network LLC                               3/15/2022   Incoming      Intercompany Coin Movement     AAVE                     1,042.98106937979                 $123,758.74
   Celsius Network Limited             Celsius Mining LLC                                3/15/2022   Incoming      Intercompany Coin Movement     BTC                                         100.0        $3,905,063.68
   Celsius Network Limited             Celsius Mining LLC                                3/15/2022   Incoming      Intercompany Coin Movement     BTC                                         100.0        $3,905,063.68
   Celsius Network Limited             Celsius Mining LLC                                3/15/2022   Incoming      Intercompany Coin Movement     BTC                                         100.0        $3,905,063.68
   Celsius Network Limited             Celsius Network LLC                               3/15/2022   Incoming      Intercompany Coin Movement     BTC                                         278.0       $10,900,443.25
   Celsius Network Limited             Celsius Mining LLC                                3/15/2022   Incoming      Intercompany Coin Movement     BTC                                         100.0        $3,915,086.68
   Celsius Network Limited             Celsius Mining LLC                                3/15/2022   Incoming      Intercompany Coin Movement     BTC                                          78.0        $3,053,767.61
   Celsius Network Limited             Celsius Mining LLC                                3/15/2022   Incoming      Intercompany Coin Movement     BTC                                         100.0        $3,915,086.68
   Celsius Network Limited             Celsius Network LLC                               3/16/2022   Incoming      Intercompany Coin Movement     MANA                                  600,000.0          $1,374,141.76
   Celsius Network Limited             Celsius Network LLC                               3/16/2022   Incoming      Intercompany Coin Movement     BNB_BSC                  47.6050543877441                   $17,944.00
   Celsius Network Limited             Celsius Network LLC                               3/16/2022   Incoming      Intercompany Coin Movement     BNB_BSC                          2,499.999874              $940,852.25
   Celsius Network Limited             Celsius Network LLC                               3/16/2022   Incoming      Intercompany Coin Movement     SNX                                     37,524.7           $149,922.84
   Celsius Network Limited             Celsius Network LLC                               3/16/2022   Incoming      Intercompany Coin Movement     SOL                                     77,000.0         $6,435,821.39
   Celsius Network Limited             Celsius Network LLC                               3/16/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON            156,572.658958712                 $218,831.95
   Celsius Network Limited             Celsius Network LLC                               3/16/2022   Incoming      Intercompany Coin Movement     ETH                                      5,000.0        $13,563,179.76
   Celsius Network Limited             Celsius Network LLC                               3/16/2022   Incoming      Intercompany Coin Movement     ETH                                     10,000.0        $27,126,359.53
   Celsius Network Limited             Celsius Network LLC                               3/16/2022   Incoming      Intercompany Coin Movement     ETH                                         700.0        $1,893,364.85
   Celsius Network Limited             Celsius Network EU UAB (LT)                       3/16/2022   Incoming      Intercompany Coin Movement     BNB_BSC                                  6,636.0         $2,503,160.90
   Celsius Network Limited             Celsius Network EU UAB (LT)                       3/16/2022   Incoming      Intercompany Coin Movement     ETH                                         273.0          $738,412.29
   Celsius Network Limited             Celsius Network EU UAB (LT)                       3/16/2022   Incoming      Intercompany Coin Movement     ETH                                          27.0           $73,029.79
   Celsius Network Limited             Celsius Network LLC                               3/17/2022   Outgoing      Intercompany Coin Movement     USDC                       (543,755.666509)               ($543,755.67)
   Celsius Network Limited             Celsius Network LLC                               3/17/2022   Outgoing      Intercompany Coin Movement     QUICK                                  (1,825.0)          ($318,629.53)
   Celsius Network Limited             Celsius Network LLC                               3/17/2022   Outgoing      Intercompany Coin Movement     MATIC                   (207,737.75933364)                ($303,297.13)
   Celsius Network Limited             Celsius Network LLC                               3/17/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                            400,000.0            $400,164.36
   Celsius Network Limited             Celsius Network LLC                               3/17/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                 2,955,741.630168              $2,956,981.68
   Celsius Network Limited             Celsius Network LLC                               3/17/2022   Incoming      Intercompany Coin Movement     EURT_ERC20                 9,343,249.663991             $10,295,739.30
   Celsius Network Limited             Celsius Network LLC                               3/17/2022   Incoming      Intercompany Coin Movement     ZRX                                   300,000.0            $156,453.11
   Celsius Network Limited             Celsius Network LLC                               3/17/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON            39,807.6042843741                  $58,765.67
   Celsius Network Limited             Celsius Network LLC                               3/17/2022   Incoming      Intercompany Coin Movement     DOGE                              13,000,000.0           $1,526,620.24
   Celsius Network Limited             Celsius Network LLC                               3/17/2022   Incoming      Intercompany Coin Movement     MATIC                               5,000,000.0          $7,350,000.00
   Celsius Network Limited             Celsius Network LLC                               3/17/2022   Incoming      Intercompany Coin Movement     1INCH                                 415,000.0            $615,070.98
   Celsius Network Limited             Celsius Network LLC                               3/17/2022   Incoming      Intercompany Coin Movement     ETH                                         579.0        $1,630,658.06
   Celsius Network Limited             Celsius Network LLC                               3/18/2022   Incoming      Intercompany Coin Movement     CRV                      211,467.016312252                 $442,472.56
   Celsius Network Limited             Celsius Network LLC                               3/18/2022   Incoming      Intercompany Coin Movement     BNT                      170,832.838540812                 $394,143.66
   Celsius Network Limited             Celsius Network LLC                               3/18/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                 7,566,340.225198              $7,569,845.63
   Celsius Network Limited             Celsius Network LLC                               3/18/2022   Incoming      Intercompany Coin Movement     USDC                       9,242,618.756001              $9,242,618.76
   Celsius Network Limited             Celsius Network LLC                               3/18/2022   Incoming      Intercompany Coin Movement     MATIC                    47,757.9090067862                  $70,204.13
   Celsius Network Limited             Celsius Network LLC                               3/18/2022   Incoming      Intercompany Coin Movement     MATIC                    42,810.7956849483                  $62,931.87
   Celsius Network Limited             Celsius Network LLC                               3/18/2022   Incoming      Intercompany Coin Movement     MATIC                    29,591.1319508091                  $43,498.96
   Celsius Network Limited             Celsius Network LLC                               3/18/2022   Incoming      Intercompany Coin Movement     MATIC                    68,294.4574126879                 $101,075.80
   Celsius Network Limited             Celsius Network LLC                               3/18/2022   Incoming      Intercompany Coin Movement     MATIC                    46,450.4333992732                  $68,746.64
   Celsius Network Limited             Celsius Network LLC                               3/18/2022   Incoming      Intercompany Coin Movement     MATIC                    23,571.1560822931                  $34,885.31
   Celsius Network Limited             Celsius Network LLC                               3/18/2022   Incoming      Intercompany Coin Movement     USDC                              3,166,666.67           $3,166,666.67
   Celsius Network Limited             Celsius Network LLC                               3/18/2022   Incoming      Intercompany Coin Movement     ETH                                     10,000.0        $29,559,150.23
   Celsius Network Limited             Celsius Network LLC                               3/19/2022   Outgoing      Intercompany Coin Movement     USDC                            (10,000,000.0)         ($10,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               3/19/2022   Outgoing      Intercompany Coin Movement     USDC                          (140,000,000.0)         ($140,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               3/19/2022   Incoming      Intercompany Coin Movement     DOT                                     93,335.0         $1,821,943.44
   Celsius Network Limited             Celsius Network LLC                               3/21/2022   Outgoing      Intercompany Coin Movement     MATIC                       (2,000,000.0861)            ($2,980,000.13)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       3/21/2022   Outgoing      Intercompany Coin Movement     CEL                                   (62,250.0)          ($205,505.21)
   Celsius Network Limited             Celsius Network LLC                               3/21/2022   Outgoing      Intercompany Coin Movement     ADA                               (3,000,000.0)         ($2,766,034.96)
   Celsius Network Limited             Celsius Network LLC                               3/21/2022   Outgoing      Intercompany Coin Movement     ADA                      (1,139,370.708094)             ($1,050,513.23)
   Celsius Network Limited             Celsius Network LLC                               3/21/2022   Incoming      Intercompany Coin Movement     USDC                              50,000,000.0          $50,000,000.00
   Celsius Network Limited             Celsius Network LLC                               3/21/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                        33,000,000.0          $33,014,186.53
   Celsius Network Limited             Celsius Network LLC                               3/21/2022   Incoming      Intercompany Coin Movement     SNX                                     46,907.0           $236,539.86
   Celsius Network Limited             Celsius Network LLC                               3/21/2022   Incoming      Intercompany Coin Movement     SNX                                   150,000.0            $760,102.48
   Celsius Network Limited             Celsius Network LLC                               3/22/2022   Outgoing      Intercompany Coin Movement     BUSD                    (400,000.39975964)                ($398,907.60)
   Celsius Network Limited             Celsius Network LLC                               3/22/2022   Outgoing      Intercompany Coin Movement     DOT                    (56,349.9328999988)              ($1,122,199.40)
   Celsius Network Limited             Celsius Network LLC                               3/22/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (35,000,600.0)         ($35,014,689.03)
   Celsius Network Limited             Celsius Network LLC                               3/22/2022   Incoming      Intercompany Coin Movement     COMP                     730.012629803596                   $85,532.72
   Celsius Network Limited             Celsius Network LLC                               3/22/2022   Incoming      Intercompany Coin Movement     AAVE                              897.6792206              $141,602.31
   Celsius Network Limited             Celsius Network LLC                               3/22/2022   Incoming      Intercompany Coin Movement     EURT_ERC20                 9,103,974.000558             $10,017,473.66
   Celsius Network Limited             Celsius Network LLC                               3/22/2022   Incoming      Intercompany Coin Movement     USDC                                1,541,507.2          $1,541,507.20
   Celsius Network Limited             Celsius Network LLC                               3/23/2022   Outgoing      Intercompany Coin Movement     1INCH                                 (90,000.0)          ($143,886.84)
   Celsius Network Limited             Celsius Network LLC                               3/23/2022   Outgoing      Intercompany Coin Movement     MATIC                   (482,474.40215996)                ($743,010.58)
   Celsius Network Limited             Celsius Network LLC                               3/23/2022   Incoming      Intercompany Coin Movement     USDC                              5,905,259.97           $5,905,259.97
   Celsius Network Limited             Celsius Network LLC                               3/23/2022   Incoming      Intercompany Coin Movement     USDC_POLYGON                                500.0              $500.00
   Celsius Network Limited             Celsius Network LLC                               3/23/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON             60,544.947824021                  $93,103.39
   Celsius Network Limited             Celsius Network LLC                               3/23/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON            421,929.457410388                 $648,824.79
   Celsius Network Limited             Celsius Network EU UAB (LT)                       3/24/2022   Outgoing      Intercompany Coin Movement     CEL                                    (7,000.0)           ($22,559.76)
   Celsius Network Limited             Celsius Network LLC                               3/24/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (20,000,000.0)         ($20,010,046.74)
   Celsius Network Limited             Celsius Network LLC                               3/24/2022   Incoming      Intercompany Coin Movement     ETC                                     32,735.0         $1,414,626.86
   Celsius Network Limited             Celsius Network LLC                               3/24/2022   Incoming      Intercompany Coin Movement     BTC                                          15.0          $644,326.38
   Celsius Network Limited             Celsius Network LLC                               3/24/2022   Incoming      Intercompany Coin Movement     BTC                                    8.561073            $367,742.45
   Celsius Network Limited             Celsius Network LLC                               3/25/2022   Outgoing      Intercompany Coin Movement     BUSD                              (2,000,000.0)         ($2,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               3/25/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (20,000,000.0)         ($20,009,358.63)
   Celsius Network Limited             Celsius Network LLC                               3/25/2022   Outgoing      Intercompany Coin Movement     USDC                              (7,000,000.0)         ($7,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               3/25/2022   Outgoing      Intercompany Coin Movement     USDC_POLYGON                              (500.0)             ($499.81)
   Celsius Network Limited             Celsius Network LLC                               3/25/2022   Incoming      Intercompany Coin Movement     LUNA                                    16,728.5         $1,572,417.27
   Celsius Network Limited             Celsius Network LLC                               3/25/2022   Incoming      Intercompany Coin Movement     SOL                          4,115.18727998                $413,930.55
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                      Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
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                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN       COIN QUANTITY                  COIN USD
   Celsius Network Limited             Celsius Network LLC                               3/25/2022   Incoming      Intercompany Coin Movement     SOL                                     78,000.0        $7,845,714.00
   Celsius Network Limited             Celsius Network LLC                               3/25/2022   Incoming      Intercompany Coin Movement     BNT                     373,904.420141021                 $969,501.71
   Celsius Network Limited             Celsius Network LLC                               3/25/2022   Incoming      Intercompany Coin Movement     CRV                     240,286.314466535                 $550,025.87
   Celsius Network Limited             Celsius Network LLC                               3/25/2022   Incoming      Intercompany Coin Movement     DOT                                     68,130.0        $1,400,797.98
   Celsius Network Limited             Celsius Network LLC                               3/25/2022   Incoming      Intercompany Coin Movement     MATIC                   47,784.5531934676                  $75,499.59
   Celsius Network Limited             Celsius Network LLC                               3/25/2022   Incoming      Intercompany Coin Movement     MATIC                     94,345.954747986                $149,066.61
   Celsius Network Limited             Celsius Network LLC                               3/25/2022   Incoming      Intercompany Coin Movement     MATIC                   60,102.8535509079                  $94,962.51
   Celsius Network Limited             Celsius Network LLC                               3/25/2022   Incoming      Intercompany Coin Movement     MATIC                   88,278.7506843217                 $139,480.43
   Celsius Network Limited             Celsius Network LLC                               3/25/2022   Incoming      Intercompany Coin Movement     XTZ                                     60,000.0          $213,310.99
   Celsius Network Limited             Celsius Network EU UAB (LT)                       3/25/2022   Incoming      Intercompany Coin Movement     BNB_BSC                                  3,100.0        $1,302,186.46
   Celsius Network Limited             Celsius Network EU UAB (LT)                       3/25/2022   Incoming      Intercompany Coin Movement     BNB_BSC                                  1,000.0          $410,284.71
   Celsius Network Limited             Celsius Network LLC                               3/28/2022   Outgoing      Intercompany Coin Movement     AVAX                   (60.9974329517337)                  ($5,521.01)
   Celsius Network Limited             Celsius Network LLC                               3/28/2022   Outgoing      Intercompany Coin Movement     USDC                            (10,000,000.0)        ($10,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               3/28/2022   Outgoing      Intercompany Coin Movement     BTC                                    (1,500.0)      ($71,531,377.79)
   Celsius Network Limited             Celsius Network LLC                               3/28/2022   Incoming      Intercompany Coin Movement     BNB_BSC                  100.010070087551                  $43,169.78
   Celsius Network Limited             Celsius Network LLC                               3/28/2022   Incoming      Intercompany Coin Movement     ADA                                 3,707,270.0         $4,407,772.88
   Celsius Network Limited             Celsius Network LLC                               3/28/2022   Incoming      Intercompany Coin Movement     MATIC                             40,000,000.0         $68,800,000.00
   Celsius Network Limited             Celsius Network LLC                               3/28/2022   Incoming      Intercompany Coin Movement     USDC                              3,190,738.12          $3,190,738.12
   Celsius Network Limited             Celsius Network LLC                               3/28/2022   Incoming      Intercompany Coin Movement     USDC                                2,500,000.0         $2,500,000.00
   Celsius Network Limited             Celsius Network LLC                               3/28/2022   Incoming      Intercompany Coin Movement     SOL                                     30,000.0        $3,384,375.39
   Celsius Network Limited             Celsius Network EU UAB (LT)                       3/29/2022   Outgoing      Intercompany Coin Movement     CEL                                    (5,581.0)          ($19,058.33)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       3/29/2022   Outgoing      Intercompany Coin Movement     CEL                                   (10,000.0)          ($34,148.60)
   Celsius Network Limited             Celsius Network LLC                               3/29/2022   Outgoing      Intercompany Coin Movement     USDC                              (5,000,000.0)        ($5,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               3/29/2022   Outgoing      Intercompany Coin Movement     USDC                            (25,000,000.0)        ($25,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               3/29/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (5,000,000.0)        ($5,002,413.78)
   Celsius Network Limited             Celsius Network LLC                               3/29/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                   (23,820.837249)              ($23,832.34)
   Celsius Network Limited             Celsius Network LLC                               3/29/2022   Outgoing      Intercompany Coin Movement     BTC                                      (500.0)      ($23,843,792.60)
   Celsius Network Limited             Celsius Network LLC                               3/29/2022   Incoming      Intercompany Coin Movement     ADA                                 4,850,000.0         $5,964,524.61
   Celsius Network Limited             Celsius Network LLC                               3/29/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                        30,000,000.0         $30,014,482.71
   Celsius Network Limited             Celsius Network LLC                               3/29/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                          1,350,000.0         $1,350,651.72
   Celsius Network Limited             Celsius Network LLC                               3/29/2022   Incoming      Intercompany Coin Movement     LUNA                                    80,800.0        $7,728,831.81
   Celsius Network Limited             Celsius Network LLC                               3/29/2022   Incoming      Intercompany Coin Movement     MANA                                  135,077.0           $363,357.52
   Celsius Network Limited             Celsius Network EU UAB (LT)                       3/29/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                          1,150,000.0         $1,150,555.17
   Celsius Network Limited             Celsius Network EU UAB (LT)                       3/29/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                            100,000.0           $100,048.28
   Celsius Network Limited             Celsius Network LLC                               3/30/2022   Outgoing      Intercompany Coin Movement     BUSD                              (3,000,000.0)        ($3,003,000.00)
   Celsius Network Limited             Celsius Network LLC                               3/30/2022   Outgoing      Intercompany Coin Movement     LUNA                         (16,729.370143)           ($1,775,287.02)
   Celsius Network Limited             Celsius Network LLC                               3/30/2022   Outgoing      Intercompany Coin Movement     LTC                           (178.54939595)              ($23,186.36)
   Celsius Network Limited             Celsius Network LLC                               3/30/2022   Outgoing      Intercompany Coin Movement     LINK                    (115,672.24557778)             ($2,001,638.44)
   Celsius Network Limited             Celsius Network LLC                               3/30/2022   Outgoing      Intercompany Coin Movement     USDC                     (1,041,267.102321)            ($1,041,267.10)
   Celsius Network Limited             Celsius Network LLC                               3/30/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (14,977,100.0)        ($14,983,798.77)
   Celsius Network Limited             Celsius Network LLC                               3/30/2022   Outgoing      Intercompany Coin Movement     USDC                            (23,000,000.0)        ($23,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               3/30/2022   Outgoing      Intercompany Coin Movement     USDC                              (2,000,000.0)        ($2,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               3/30/2022   Incoming      Intercompany Coin Movement     EURT_ERC20                           139,681.38           $155,163.52
   Celsius Network Limited             Celsius Network LLC                               3/30/2022   Incoming      Intercompany Coin Movement     COMP                       603.28402793172                 $94,696.26
   Celsius Network Limited             Celsius Network LLC                               3/30/2022   Incoming      Intercompany Coin Movement     AAVE                                   869.6918           $195,731.54
   Celsius Network Limited             Celsius Network LLC                               3/30/2022   Incoming      Intercompany Coin Movement     SOL                                     32,000.0        $3,818,532.32
   Celsius Network Limited             Celsius Network LLC                               3/30/2022   Incoming      Intercompany Coin Movement     SOL                          8,048.80926999               $960,457.45
   Celsius Network Limited             Celsius Network EU UAB (LT)                       3/31/2022   Outgoing      Intercompany Coin Movement     CEL                                   (37,500.0)         ($125,418.83)
   Celsius Network Limited             Celsius Network LLC                               3/31/2022   Outgoing      Intercompany Coin Movement     MATIC                   (279,661.30151796)               ($478,220.83)
   Celsius Network Limited             Celsius Network LLC                               3/31/2022   Outgoing      Intercompany Coin Movement     ETH                                    (2,910.0)       ($9,781,710.89)
   Celsius Network Limited             Celsius Network LLC                               3/31/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON           279,626.162686683                 $483,549.62
   Celsius Network Limited             Celsius Network LLC                               3/31/2022   Incoming      Intercompany Coin Movement     SOL                                2,617.47748            $329,511.51
   Celsius Network Limited             Celsius Network LLC                               3/31/2022   Incoming      Intercompany Coin Movement     SOL                                   23,612.04         $2,972,495.04
   Celsius Network Limited             Celsius Network LLC                               3/31/2022   Incoming      Intercompany Coin Movement     DOGE                              14,500,000.0          $2,046,562.75
   Celsius Network Limited             Celsius Network LLC                               3/31/2022   Incoming      Intercompany Coin Movement     LINK                                  300,000.0         $5,171,951.50
   Celsius Network Limited             Celsius Network LLC                               3/31/2022   Incoming      Intercompany Coin Movement     ETH                                     10,000.0       $33,680,151.30
   Celsius Network Limited             Celsius Network LLC                               3/31/2022   Incoming      Intercompany Coin Movement     USDC                              20,000,000.0         $20,000,000.00
   Celsius Network Limited             Celsius Network LLC                               3/31/2022   Incoming      Intercompany Coin Movement     XLM                                          1.0                $0.23
   Celsius Network Limited             Celsius Network LLC                               3/31/2022   Incoming      Intercompany Coin Movement     USDC                       10,886,500.03833            $10,886,500.04
   Celsius Network Limited             Celsius Network LLC                                4/1/2022   Outgoing      Intercompany Coin Movement     LDO                   (21,313.5999763371)                 ($81,247.55)
   Celsius Network Limited             Celsius Network LLC                                4/1/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (9,000,000.0)        ($9,003,984.41)
   Celsius Network Limited             Celsius Network LLC                                4/1/2022   Outgoing      Intercompany Coin Movement     LUNA                                  (80,800.0)       ($8,398,111.72)
   Celsius Network Limited             Celsius Network LLC                                4/1/2022   Outgoing      Intercompany Coin Movement     SNX                                 (150,000.0)        ($1,098,780.00)
   Celsius Network Limited             Celsius Network LLC                                4/1/2022   Outgoing      Intercompany Coin Movement     SOL                              (5,639.99999)           ($725,850.97)
   Celsius Network Limited             Celsius Network LLC                                4/1/2022   Outgoing      Intercompany Coin Movement     LUNA                                  (20,200.0)       ($2,150,913.38)
   Celsius Network Limited             Celsius Network LLC                                4/1/2022   Incoming      Intercompany Coin Movement     CRV                     182,493.960025152                 $485,783.27
   Celsius Network Limited             Celsius Network LLC                                4/1/2022   Incoming      Intercompany Coin Movement     BNT                     52,588.6980756022                 $139,404.90
   Celsius Network Limited             Celsius Network LLC                                4/1/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                          9,000,000.0         $9,003,057.79
   Celsius Network Limited             Celsius Network LLC                                4/1/2022   Incoming      Intercompany Coin Movement     BNT                     6,770.91834574943                  $18,041.29
   Celsius Network Limited             Celsius Network LLC                                4/1/2022   Incoming      Intercompany Coin Movement     BNT                     109,270.411479103                 $291,153.89
   Celsius Network Limited             Celsius Network LLC                                4/1/2022   Incoming      Intercompany Coin Movement     ETH                                     33,060.0      $110,282,041.11
   Celsius Network Limited             Celsius Network LLC                                4/1/2022   Incoming      Intercompany Coin Movement     ETH                                     12,000.0       $40,029,778.99
   Celsius Network Limited             Celsius Network LLC                                4/1/2022   Incoming      Intercompany Coin Movement     USDC                            4,281,615.406           $4,281,615.41
   Celsius Network Limited             Celsius Network LLC                                4/1/2022   Incoming      Intercompany Coin Movement     BNT                     645,439.052061602               $1,777,567.79
   Celsius Network Limited             Celsius Network LLC                                4/1/2022   Incoming      Intercompany Coin Movement     USDC                                4,100,000.0         $4,100,000.00
   Celsius Network Limited             Celsius Network LLC                                4/3/2022   Incoming      Intercompany Coin Movement     ETH                                     10,000.0       $35,015,107.90
   Celsius Network Limited             Celsius Network LLC                                4/4/2022   Outgoing      Intercompany Coin Movement     USDC                            (10,000,000.0)        ($10,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                4/4/2022   Outgoing      Intercompany Coin Movement     SNX                       (89,327.87642409)              ($618,567.84)
   Celsius Network Limited             Celsius Network LLC                                4/4/2022   Outgoing      Intercompany Coin Movement     LTC                        (5,908.88561018)              ($739,377.65)
   Celsius Network Limited             Celsius Network LLC                                4/4/2022   Outgoing      Intercompany Coin Movement     LINK                             (80,178.3562)         ($1,403,195.78)
   Celsius Network Limited             Celsius Network LLC                                4/4/2022   Outgoing      Intercompany Coin Movement     USDC                             (165,590.411)           ($165,590.41)
   Celsius Network Limited             Celsius Network LLC                                4/4/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                     (895,536.9909)            ($895,717.15)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        4/4/2022   Outgoing      Intercompany Coin Movement     CEL                                (423,144.26)        ($1,337,168.32)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        4/4/2022   Outgoing      Intercompany Coin Movement     CEL                                 (40,861.94)          ($129,126.86)
   Celsius Network Limited             Celsius Network LLC                                4/4/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (12,000,000.0)        ($12,003,742.73)
   Celsius Network Limited             Celsius Network LLC                                4/4/2022   Incoming      Intercompany Coin Movement     USDC                              15,000,000.0         $15,000,000.00
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (15,000,000.0)        ($15,003,792.22)
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                   (81,805.555555)              ($81,826.24)
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Outgoing      Intercompany Coin Movement     UMA                                    (6,200.0)          ($50,068.32)
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Outgoing      Intercompany Coin Movement     KNC                                   (13,500.0)          ($42,040.27)
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                     (127,397.2603)            ($127,430.76)
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Outgoing      Intercompany Coin Movement     USDC                               (194,128.65)          ($194,128.65)
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (5,000,000.0)        ($5,001,314.97)
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (5,000,000.0)        ($5,001,314.97)
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Outgoing      Intercompany Coin Movement     MATIC                   (136,862.85837264)               ($221,717.83)
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Incoming      Intercompany Coin Movement     USDC                              15,000,000.0         $15,000,000.00
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Incoming      Intercompany Coin Movement     COMP                     294.277827903493                  $46,277.72
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Incoming      Intercompany Coin Movement     AAVE                              645.4676612             $146,994.34
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Incoming      Intercompany Coin Movement     MATIC                   36,480.2143775067                  $59,097.95
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Incoming      Intercompany Coin Movement     MATIC                   134,376.341696538                 $217,689.67
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Incoming      Intercompany Coin Movement     MATIC                   93,660.1169100166                 $151,729.39
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Incoming      Intercompany Coin Movement     MATIC                     230,010.65943944                $372,617.27
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Incoming      Intercompany Coin Movement     MATIC                     146,493.90580185                $237,320.13
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Incoming      Intercompany Coin Movement     MATIC                   74,107.3761227053                 $120,053.95
   Celsius Network Limited             Celsius Network LLC                                4/5/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON           136,862.860997596                 $222,451.19
   Celsius Network Limited             Celsius Network LLC                                4/6/2022   Outgoing      Intercompany Coin Movement     KNC                              (24,877.3913)            ($77,640.05)
   Celsius Network Limited             Celsius Network LLC                                4/6/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                     (486,063.0137)            ($486,152.66)
   Celsius Network Limited             Celsius Network LLC                                4/6/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                          (700,000.0)          ($700,129.10)
   Celsius Network Limited             Celsius Network LLC                                4/6/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (25,000,000.0)        ($25,004,610.72)
   Celsius Network Limited             Celsius Network LLC                                4/6/2022   Outgoing      Intercompany Coin Movement     USDC                                (810,000.0)          ($810,000.00)
   Celsius Network Limited             Celsius Network LLC                                4/6/2022   Outgoing      Intercompany Coin Movement     USDC                              (4,000,000.0)        ($4,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                4/6/2022   Outgoing      Intercompany Coin Movement     USDC                              (6,000,000.0)        ($6,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                4/6/2022   Incoming      Intercompany Coin Movement     CRV                     113,927.779578318                 $311,288.10
   Celsius Network Limited             Celsius Network LLC                                4/6/2022   Incoming      Intercompany Coin Movement     USDC                               946,130.137            $946,130.14
   Celsius Network Limited             Celsius Network LLC                                4/6/2022   Incoming      Intercompany Coin Movement     SOL                                5,640.99997            $649,692.28
   Celsius Network Limited             Celsius Network LLC                                4/6/2022   Incoming      Intercompany Coin Movement     SOL                                4,815.85337            $554,657.47
   Celsius Network Limited             Celsius Network LLC                                4/6/2022   Incoming      Intercompany Coin Movement     SOL                                     51,000.0        $5,873,835.59
   Celsius Network Limited             Celsius Network LLC                                4/7/2022   Outgoing      Intercompany Coin Movement     BUSD                                (250,000.0)          ($249,929.25)
   Celsius Network Limited             Celsius Network LLC                                4/7/2022   Outgoing      Intercompany Coin Movement     PAX                                 (250,000.0)          ($250,450.91)
   Celsius Network Limited             Celsius Network LLC                                4/7/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON                           81,000.0          $121,225.62
   Celsius Network Limited             Celsius Network LLC                                4/7/2022   Incoming      Intercompany Coin Movement     BNT                                     36,500.0           $92,857.86
   Celsius Network Limited             Celsius Network LLC                                4/7/2022   Incoming      Intercompany Coin Movement     USDC                                2,000,000.0         $2,000,000.00
   Celsius Network Limited             Celsius Mining LLC                                 4/7/2022   Incoming      Intercompany Coin Movement     BTC                                         0.01             $436.91
   Celsius Network Limited             Celsius Mining LLC                                 4/7/2022   Incoming      Intercompany Coin Movement     BTC                                        37.99        $1,659,815.54
   Celsius Network Limited             Celsius Mining LLC                                 4/7/2022   Incoming      Intercompany Coin Movement     BTC                                         50.0        $2,178,186.78
   Celsius Network Limited             Celsius Mining LLC                                 4/7/2022   Incoming      Intercompany Coin Movement     BTC                                         50.0        $2,173,520.38
   Celsius Network Limited             Celsius Mining LLC                                 4/7/2022   Incoming      Intercompany Coin Movement     BTC                                         50.0        $2,179,214.75
   Celsius Network Limited             Celsius Network LLC                                4/8/2022   Outgoing      Intercompany Coin Movement     USDC                        (2,993,835.6164)           ($2,993,835.62)
   Celsius Network Limited             Celsius Network LLC                                4/8/2022   Incoming      Intercompany Coin Movement     SOL                                      5,640.0          $644,453.05
   Celsius Network Limited             Celsius Network LLC                                4/8/2022   Incoming      Intercompany Coin Movement     LUNA                                    51,700.0        $5,023,459.91
   Celsius Network Limited             Celsius Mining LLC                                 4/8/2022   Incoming      Intercompany Coin Movement     BTC                                         50.0        $2,142,065.49
   Celsius Network Limited             Celsius Mining LLC                                 4/8/2022   Incoming      Intercompany Coin Movement     BTC                                         50.0        $2,141,871.76
   Celsius Network Limited             Celsius Network LLC                                4/9/2022   Incoming      Intercompany Coin Movement     SOL                          2,529.08083999               $274,973.36
   Celsius Network Limited             Celsius Network LLC                                4/9/2022   Incoming      Intercompany Coin Movement     SOL                              21,032.50328           $2,286,750.94
   Celsius Network Limited             Celsius Network LLC                                4/9/2022   Incoming      Intercompany Coin Movement     SOL                                      6,500.0          $706,710.03
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Outgoing      Intercompany Coin Movement     GUSD                                  (8,660.09)           ($8,632.46)
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Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                        Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
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                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN       COIN QUANTITY                    COIN USD
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Outgoing      Intercompany Coin Movement     ETH                    (32,407.9005999855)             ($102,368,629.00)
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Outgoing      Intercompany Coin Movement     BTC                           (1,976.0103557)           ($83,346,683.71)
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Outgoing      Intercompany Coin Movement     BTC                         (3,084.19999027)           ($126,676,076.01)
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Incoming      Intercompany Coin Movement     SNX                                   150,000.0             $748,227.24
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Incoming      Intercompany Coin Movement     SNX                                     35,000.0            $174,586.36
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Incoming      Intercompany Coin Movement     SNX                                  21,459.535             $107,044.06
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Incoming      Intercompany Coin Movement     SNX                                     29,000.0            $144,657.27
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Incoming      Intercompany Coin Movement     AAVE                                      4,132.0           $712,240.98
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Incoming      Intercompany Coin Movement     EOS                                   158,415.0             $352,704.89
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Incoming      Intercompany Coin Movement     MANA                                  197,553.0             $423,038.39
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Incoming      Intercompany Coin Movement     BTC                                         30.78         $1,266,136.02
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Incoming      Intercompany Coin Movement     LUNA                                    58,000.0          $5,019,807.84
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Incoming      Intercompany Coin Movement     BTC                                       1,000.0        $40,824,686.41
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                            706,781.0             $706,977.33
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Incoming      Intercompany Coin Movement     SOL                                     11,432.0          $1,170,924.12
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Incoming      Intercompany Coin Movement     LTC                                       2,955.0           $308,809.93
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Incoming      Intercompany Coin Movement     ETH                                     37,600.0        $113,412,223.82
   Celsius Network Limited             Celsius Network LLC                               4/11/2022   Incoming      Intercompany Coin Movement     BTC                                       5,100.0       $205,907,862.04
   Celsius Network Limited             Celsius Network EU UAB (LT)                       4/11/2022   Incoming      Intercompany Coin Movement     BTC                                            6.2          $247,611.06
   Celsius Network Limited             Celsius Network LLC                               4/12/2022   Outgoing      Intercompany Coin Movement     MATIC                             (6,000,000.0)          ($8,280,000.00)
   Celsius Network Limited             Celsius Network LLC                               4/12/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (12,000,000.0)          ($12,002,817.73)
   Celsius Network Limited             Celsius Network LLC                               4/12/2022   Outgoing      Intercompany Coin Movement     USDC                            (12,000,000.0)          ($12,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               4/12/2022   Incoming      Intercompany Coin Movement     MATIC                             16,000,000.0           $22,720,000.00
   Celsius Network Limited             Celsius Network LLC                               4/12/2022   Incoming      Intercompany Coin Movement     DOGE                                6,000,000.0             $837,822.41
   Celsius Network Limited             Celsius Network LLC                               4/12/2022   Incoming      Intercompany Coin Movement     LUNA                                    40,000.0          $3,379,832.79
   Celsius Network Limited             Celsius Network LLC                               4/13/2022   Outgoing      Intercompany Coin Movement     TERRA_USD                            (9.884246)                 ($10.00)
   Celsius Network Limited             Celsius Network LLC                               4/13/2022   Outgoing      Intercompany Coin Movement     TERRA_USD                (1,999,989.883382)              ($1,999,990.00)
   Celsius Network Limited             Celsius Network LLC                               4/13/2022   Outgoing      Intercompany Coin Movement     DOGE                  (1,844,797.97223549)                 ($258,364.18)
   Celsius Network Limited             Celsius Network LLC                               4/13/2022   Incoming      Intercompany Coin Movement     AVAX                                    10,000.0            $766,290.24
   Celsius Network Limited             Celsius Network LLC                               4/13/2022   Incoming      Intercompany Coin Movement     EOS                                   170,001.0             $377,552.23
   Celsius Network Limited             Celsius Network LLC                               4/13/2022   Incoming      Intercompany Coin Movement     AVAX                                      1,968.0           $154,547.71
   Celsius Network Limited             Celsius Network LLC                               4/13/2022   Incoming      Intercompany Coin Movement     MATIC                                 319,100.0             $449,931.00
   Celsius Network Limited             Celsius Network LLC                               4/13/2022   Incoming      Intercompany Coin Movement     BTC                                          37.0         $1,500,271.37
   Celsius Network Limited             Celsius Network LLC                               4/13/2022   Incoming      Intercompany Coin Movement     MATIC                                     9,690.0            $13,662.90
   Celsius Network Limited             Celsius Network LLC                               4/13/2022   Incoming      Intercompany Coin Movement     AVAX                                    10,000.0            $788,684.37
   Celsius Network Limited             Celsius Network LLC                               4/13/2022   Incoming      Intercompany Coin Movement     USDC                                    5,237.97              $5,237.97
   Celsius Network Limited             Celsius Network LLC                               4/13/2022   Incoming      Intercompany Coin Movement     AAVE                       901.23465177664                  $156,137.36
   Celsius Network Limited             Celsius Network LLC                               4/13/2022   Incoming      Intercompany Coin Movement     USDC                                         36.0                $36.00
   Celsius Network Limited             Celsius Network LLC                               4/13/2022   Incoming      Intercompany Coin Movement     COMP                      415.273575633957                   $58,953.07
   Celsius Network Limited             Celsius Network LLC                               4/13/2022   Incoming      Intercompany Coin Movement     DOGE                                3,000,000.0             $418,400.97
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Outgoing      Intercompany Coin Movement     MATIC                               (715,000.0)          ($1,008,150.00)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       4/14/2022   Outgoing      Intercompany Coin Movement     CEL                                     (2,000.0)            ($4,411.33)
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Outgoing      Intercompany Coin Movement     TERRA_USD                        (9,999.88404)              ($10,000.00)
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Outgoing      Intercompany Coin Movement     PAX                               (1,000,000.0)            ($999,056.70)
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Outgoing      Intercompany Coin Movement     REN                              (311,492.852)             ($103,057.87)
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Outgoing      Intercompany Coin Movement     EURT_ERC20                      (10,000,000.0)          ($10,808,355.18)
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                        14,200,000.0           $14,202,169.63
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Incoming      Intercompany Coin Movement     USDC                                    10,013.0             $10,013.00
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON            237,999.998584831                  $335,135.37
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Incoming      Intercompany Coin Movement     BADGER                                    6,046.0            $56,246.29
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Incoming      Intercompany Coin Movement     BAL                      4,939.93929000447                   $73,620.98
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Incoming      Intercompany Coin Movement     BNT                      36,470.1960520521                   $82,361.02
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Incoming      Intercompany Coin Movement     CRV                      184,343.138725601                  $410,073.59
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Incoming      Intercompany Coin Movement     MATIC                    27,615.0296353252                   $37,556.44
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Incoming      Intercompany Coin Movement     MATIC                    107,571.371355458                  $146,297.07
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Incoming      Intercompany Coin Movement     MATIC                    78,792.3349327745                  $107,157.58
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Incoming      Intercompany Coin Movement     MATIC                    139,059.348324742                  $189,120.71
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Incoming      Intercompany Coin Movement     MATIC                    124,211.896942742                  $168,928.18
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Incoming      Intercompany Coin Movement     MATIC                    63,000.3129730529                   $85,680.43
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Incoming      Intercompany Coin Movement     LUNA                                    70,426.0          $5,905,807.43
   Celsius Network Limited             Celsius Network LLC                               4/14/2022   Incoming      Intercompany Coin Movement     DOT                                     42,665.0            $766,754.33
   Celsius Network Limited             Celsius Network LLC                               4/15/2022   Outgoing      Intercompany Coin Movement     MATIC                               (594,111.0)            ($825,814.29)
   Celsius Network Limited             Celsius Network LLC                               4/15/2022   Incoming      Intercompany Coin Movement     DOT                                       7,000.0           $128,010.64
   Celsius Network Limited             Celsius Network EU UAB (LT)                       4/15/2022   Incoming      Intercompany Coin Movement     USDC                                  488,321.0             $488,321.00
   Celsius Network Limited             Celsius Network LLC                               4/18/2022   Outgoing      Intercompany Coin Movement     MSOL_SOL                              (19,999.9)         ($1,993,590.03)
   Celsius Network Limited             Celsius Network LLC                               4/18/2022   Outgoing      Intercompany Coin Movement     MSOL_SOL                                     (0.1)               ($9.97)
   Celsius Network Limited             Celsius Network LLC                               4/18/2022   Outgoing      Intercompany Coin Movement     USDC                            (10,000,000.0)          ($10,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               4/18/2022   Outgoing      Intercompany Coin Movement     ETH                    (1,361.81538412949)               ($3,969,381.36)
   Celsius Network Limited             Celsius Network LLC                               4/18/2022   Outgoing      Intercompany Coin Movement     ETH                                     (5,000.0)       ($14,573,849.66)
   Celsius Network Limited             Celsius Network LLC                               4/18/2022   Incoming      Intercompany Coin Movement     COMP                                  10,992.75           $1,528,167.52
   Celsius Network Limited             Celsius Network LLC                               4/18/2022   Incoming      Intercompany Coin Movement     USDC                              15,000,000.0           $15,000,000.00
   Celsius Network Limited             Celsius Network LLC                               4/18/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                          3,500,000.0           $3,500,995.25
   Celsius Network Limited             Celsius Network LLC                               4/19/2022   Outgoing      Intercompany Coin Movement     BCH                                   (25,000.0)         ($8,359,012.76)
   Celsius Network Limited             Celsius Network LLC                               4/19/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                          (300,000.0)            ($300,074.41)
   Celsius Network Limited             Celsius Network LLC                               4/19/2022   Outgoing      Intercompany Coin Movement     BCH                         (8,912.04884782)             ($3,029,227.18)
   Celsius Network Limited             Celsius Network LLC                               4/19/2022   Outgoing      Intercompany Coin Movement     LINK                      (69,908.20962222)              ($1,004,292.61)
   Celsius Network Limited             Celsius Network LLC                               4/19/2022   Outgoing      Intercompany Coin Movement     LUNA                                (400,000.0)         ($37,389,802.07)
   Celsius Network Limited             Celsius Network LLC                               4/19/2022   Outgoing      Intercompany Coin Movement     LUNA                          (23,000.898611)            ($2,084,793.57)
   Celsius Network Limited             Celsius Network LLC                               4/19/2022   Incoming      Intercompany Coin Movement     USDC                                7,192,150.0           $7,192,150.00
   Celsius Network Limited             Celsius Network LLC                               4/19/2022   Incoming      Intercompany Coin Movement     LUNA                                           1.0               $92.67
   Celsius Network Limited             Celsius Network LLC                               4/19/2022   Incoming      Intercompany Coin Movement     BTC                                       713.28         $29,597,131.67
   Celsius Network Limited             Celsius Network LLC                               4/19/2022   Incoming      Intercompany Coin Movement     AAVE                              703.4659949               $126,720.01
   Celsius Network Limited             Celsius Network LLC                               4/19/2022   Incoming      Intercompany Coin Movement     LUNA                                  200,000.0          $18,694,901.04
   Celsius Network Limited             Celsius Network LLC                               4/19/2022   Incoming      Intercompany Coin Movement     COMP                      333.246515689631                   $47,310.28
   Celsius Network Limited             Celsius Network LLC                               4/19/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                        12,000,000.0           $12,003,868.29
   Celsius Network Limited             Celsius Network LLC                               4/20/2022   Outgoing      Intercompany Coin Movement     BUSD                              (1,000,000.0)          ($1,001,000.00)
   Celsius Network Limited             Celsius Network LLC                               4/20/2022   Outgoing      Intercompany Coin Movement     TERRA_USD                (1,931,725.866888)              ($1,931,726.00)
   Celsius Network Limited             Celsius Network LLC                               4/20/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                         (593,491.21)            ($593,665.12)
   Celsius Network Limited             Celsius Network LLC                               4/20/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                     (100,000,000.0)         ($100,022,712.71)
   Celsius Network Limited             Celsius Network LLC                               4/20/2022   Outgoing      Intercompany Coin Movement     ETH                                   (18,538.0)        ($58,270,472.13)
   Celsius Network Limited             Celsius Network LLC                               4/20/2022   Incoming      Intercompany Coin Movement     BTC                                         238.0         $9,983,589.75
   Celsius Network Limited             Celsius Network LLC                               4/20/2022   Incoming      Intercompany Coin Movement     BCH                                       1,500.0           $497,990.53
   Celsius Network Limited             Celsius Network LLC                               4/21/2022   Outgoing      Intercompany Coin Movement     WBTC                                   (47.8522)         ($1,951,741.42)
   Celsius Network Limited             Celsius Network LLC                               4/21/2022   Outgoing      Intercompany Coin Movement     ETH                     (910.217852963635)               ($2,882,055.83)
   Celsius Network Limited             Celsius Network LLC                               4/21/2022   Outgoing      Intercompany Coin Movement     ETH                    (10,374.9720784055)              ($32,638,093.74)
   Celsius Network Limited             Celsius Network LLC                               4/21/2022   Incoming      Intercompany Coin Movement     ETH                      10,374.9720784056               $32,638,093.74
   Celsius Network Limited             Celsius Network LLC                               4/21/2022   Incoming      Intercompany Coin Movement     LUNA                                  139,914.0          $13,645,427.69
   Celsius Network Limited             Celsius Network LLC                               4/21/2022   Incoming      Intercompany Coin Movement     SUSHI                                   10,000.0             $34,584.61
   Celsius Network Limited             Celsius Network LLC                               4/21/2022   Incoming      Intercompany Coin Movement     SUSHI                                   46,718.0            $161,572.40
   Celsius Network Limited             Celsius Network LLC                               4/21/2022   Incoming      Intercompany Coin Movement     CEL                                   500,000.0           $1,086,643.73
   Celsius Network Limited             Celsius Network LLC                               4/21/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                            999,999.0           $1,000,279.88
   Celsius Network Limited             Celsius Network LLC                               4/21/2022   Incoming      Intercompany Coin Movement     SUSHI                      11,041.615678704                  $38,187.00
   Celsius Network Limited             Celsius Network LLC                               4/22/2022   Outgoing      Intercompany Coin Movement     USDC                         (3,838,569.6347)            ($3,838,569.63)
   Celsius Network Limited             Celsius Network LLC                               4/22/2022   Incoming      Intercompany Coin Movement     EURT_ERC20                        13,000,000.0           $14,059,214.00
   Celsius Network Limited             Celsius Network LLC                               4/22/2022   Incoming      Intercompany Coin Movement     AVAX                                    29,900.0          $2,266,954.41
   Celsius Network Limited             Celsius Network LLC                               4/22/2022   Incoming      Intercompany Coin Movement     ETH                                     44,900.0        $134,374,135.28
   Celsius Network Limited             Celsius Network LLC                               4/22/2022   Incoming      Intercompany Coin Movement     MATIC                    53,424.7907894541                   $75,863.20
   Celsius Network Limited             Celsius Network LLC                               4/22/2022   Incoming      Intercompany Coin Movement     MATIC                    105,482.055547011                  $149,784.52
   Celsius Network Limited             Celsius Network LLC                               4/22/2022   Incoming      Intercompany Coin Movement     MATIC                    108,096.606324198                  $153,497.18
   Celsius Network Limited             Celsius Network LLC                               4/22/2022   Incoming      Intercompany Coin Movement     MATIC                    67,197.0785999817                   $95,419.85
   Celsius Network Limited             Celsius Network LLC                               4/22/2022   Incoming      Intercompany Coin Movement     MATIC                    91,596.3859707111                  $130,066.87
   Celsius Network Limited             Celsius Network LLC                               4/22/2022   Incoming      Intercompany Coin Movement     MATIC                    23,647.9471222615                   $33,580.08
   Celsius Network Limited             Celsius Network LLC                               4/22/2022   Incoming      Intercompany Coin Movement     MATIC                     342.550272849263                     $486.42
   Celsius Network Limited             Celsius Network LLC                               4/22/2022   Incoming      Intercompany Coin Movement     CRV                      207,644.294696093                  $533,650.17
   Celsius Network Limited             Celsius Network LLC                               4/22/2022   Incoming      Intercompany Coin Movement     BNT                      66,606.5451984278                  $147,629.44
   Celsius Network Limited             Celsius Network LLC                               4/22/2022   Incoming      Intercompany Coin Movement     BAL                         6,737.098889322                 $101,420.47
   Celsius Network Limited             Celsius Network LLC                               4/24/2022   Incoming      Intercompany Coin Movement     UNI                                     13,871.0            $123,788.18
   Celsius Network Limited             Celsius Network LLC                               4/24/2022   Incoming      Intercompany Coin Movement     UNI                      145,929.674494874                $1,302,311.96
   Celsius Network Limited             Celsius Network LLC                               4/25/2022   Outgoing      Intercompany Coin Movement     PAX                               (1,000,000.0)          ($1,002,463.50)
   Celsius Network Limited             Celsius Network LLC                               4/25/2022   Outgoing      Intercompany Coin Movement     USDC                            (21,242,000.0)          ($21,242,000.00)
   Celsius Network Limited             Celsius Network LLC                               4/25/2022   Incoming      Intercompany Coin Movement     BCH                                       4,821.0         $1,470,004.68
   Celsius Network Limited             Celsius Network LLC                               4/25/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                          6,527,147.0           $6,528,730.58
   Celsius Network Limited             Celsius Network LLC                               4/25/2022   Incoming      Intercompany Coin Movement     BCH                           1,018.99999774                $313,431.13
   Celsius Network Limited             Celsius Network LLC                               4/25/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                          3,500,000.0           $3,501,203.28
   Celsius Network Limited             Celsius Network LLC                               4/25/2022   Incoming      Intercompany Coin Movement     BTC                                          10.0           $395,972.22
   Celsius Network Limited             Celsius Network LLC                               4/25/2022   Incoming      Intercompany Coin Movement     ZRX                                 1,200,000.0             $906,389.38
   Celsius Network Limited             Celsius Network EU UAB (LT)                       4/25/2022   Incoming      Intercompany Coin Movement     BTC                                          15.0           $593,958.33
   Celsius Network Limited             Celsius Network LLC                               4/26/2022   Outgoing      Intercompany Coin Movement     ETH                                     (1,500.0)        ($4,492,531.48)
   Celsius Network Limited             Celsius Network LLC                               4/26/2022   Outgoing      Intercompany Coin Movement     SNX                                   (3,582.09)            ($22,634.47)
   Celsius Network Limited             Celsius Network LLC                               4/26/2022   Outgoing      Intercompany Coin Movement     SNX                                (188,337.02)          ($1,188,326.22)
   Celsius Network Limited             Celsius Network LLC                               4/26/2022   Outgoing      Intercompany Coin Movement     USDC                              (4,000,000.0)          ($4,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               4/26/2022   Outgoing      Intercompany Coin Movement     DOT                                   (80,000.0)         ($1,374,587.98)
   Celsius Network Limited             Celsius Network LLC                               4/26/2022   Outgoing      Intercompany Coin Movement     SNX                                (1,935.4966)             ($12,229.99)
   Celsius Network Limited             Celsius Network LLC                               4/26/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                        15,000,000.0           $15,003,051.63
   Celsius Network Limited             Celsius Mining LLC                                4/26/2022   Incoming      Intercompany Coin Movement     BTC                                          50.0         $1,921,112.18
   Celsius Network Limited             Celsius Mining LLC                                4/26/2022   Incoming      Intercompany Coin Movement     BTC                                          50.0         $1,921,112.18
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Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                       Case Number: 22-10966
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                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN       COIN QUANTITY                   COIN USD
   Celsius Network Limited             Celsius Mining LLC                                4/26/2022   Incoming      Intercompany Coin Movement     BTC                                          50.0        $1,921,112.18
   Celsius Network Limited             Celsius Mining LLC                                4/26/2022   Incoming      Intercompany Coin Movement     BTC                                          50.0        $1,921,112.18
   Celsius Network Limited             Celsius Mining LLC                                4/26/2022   Incoming      Intercompany Coin Movement     BTC                              46.25221913             $1,775,525.79
   Celsius Network Limited             Celsius Mining LLC                                4/26/2022   Incoming      Intercompany Coin Movement     BTC                              50.00057002             $1,919,416.08
   Celsius Network Limited             Celsius Network LLC                               4/27/2022   Outgoing      Intercompany Coin Movement     USDC                           (30,000,000.0)          ($30,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               4/27/2022   Outgoing      Intercompany Coin Movement     SNX                                 (123,225.0)           ($726,444.94)
   Celsius Network Limited             Celsius Network LLC                               4/27/2022   Incoming      Intercompany Coin Movement     COMP                             401.5293184                $50,106.18
   Celsius Network Limited             Celsius Network LLC                               4/27/2022   Incoming      Intercompany Coin Movement     WBTC                                     136.08          $5,318,330.01
   Celsius Network Limited             Celsius Network LLC                               4/27/2022   Incoming      Intercompany Coin Movement     SOL                             13,589.35655             $1,351,145.17
   Celsius Network Limited             Celsius Network LLC                               4/27/2022   Incoming      Intercompany Coin Movement     AAVE                                       717.0           $121,838.98
   Celsius Network Limited             Celsius Network LLC                               4/27/2022   Incoming      Intercompany Coin Movement     SOL                                     36,420.0         $3,621,121.21
   Celsius Network Limited             Celsius Network LLC                               4/27/2022   Incoming      Intercompany Coin Movement     BTC                                      119.11          $4,653,449.78
   Celsius Network Limited             Celsius Network LLC                               4/27/2022   Incoming      Intercompany Coin Movement     AAVE                                     3,839.0           $655,646.29
   Celsius Network Limited             Celsius Network LLC                               4/27/2022   Incoming      Intercompany Coin Movement     OMG                                     39,000.0           $165,579.77
   Celsius Network Limited             Celsius Network LLC                               4/27/2022   Incoming      Intercompany Coin Movement     AAVE                                       100.0            $16,992.88
   Celsius Network Limited             Celsius Network EU UAB (LT)                       4/27/2022   Incoming      Intercompany Coin Movement     AAVE                     119.151754841671                   $20,279.42
   Celsius Network Limited             Celsius Network LLC                               4/28/2022   Outgoing      Intercompany Coin Movement     USDC                             (5,400,000.0)          ($5,400,000.00)
   Celsius Network Limited             Celsius Network LLC                               4/28/2022   Outgoing      Intercompany Coin Movement     BUSD                             (2,000,000.0)          ($2,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               4/28/2022   Incoming      Intercompany Coin Movement     BTC                                        100.0         $3,966,747.43
   Celsius Network Limited             Celsius Network LLC                               4/28/2022   Incoming      Intercompany Coin Movement     SUSHI                                   60,000.0           $177,354.15
   Celsius Network Limited             Celsius Network LLC                               4/28/2022   Incoming      Intercompany Coin Movement     USDC                             45,000,000.0           $45,000,000.00
   Celsius Network Limited             Celsius Network LLC                               4/28/2022   Incoming      Intercompany Coin Movement     USDC                             15,000,000.0           $15,000,000.00
   Celsius Network Limited             Celsius Network LLC                               4/29/2022   Outgoing      Intercompany Coin Movement     BTC                                      (100.0)        ($3,883,328.21)
   Celsius Network Limited             Celsius Network LLC                               4/29/2022   Outgoing      Intercompany Coin Movement     USDC                     (3,000,000.000833)             ($3,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               4/29/2022   Outgoing      Intercompany Coin Movement     MATIC_POLYGON           (309,309.99563701)                ($363,303.14)
   Celsius Network Limited             Celsius Network LLC                               4/29/2022   Incoming      Intercompany Coin Movement     DOT                                     30,000.0           $496,856.58
   Celsius Network Limited             Celsius Network LLC                               4/29/2022   Incoming      Intercompany Coin Movement     MANA                                    42,365.0            $69,800.76
   Celsius Network Limited             Celsius Network LLC                               4/29/2022   Incoming      Intercompany Coin Movement     MANA                                     7,635.0            $12,579.46
   Celsius Network Limited             Celsius Network LLC                               4/29/2022   Incoming      Intercompany Coin Movement     MATIC                     92,364.081091976                 $108,065.97
   Celsius Network Limited             Celsius Network LLC                               4/29/2022   Incoming      Intercompany Coin Movement     MATIC                   20,525.4627851338                   $24,014.79
   Celsius Network Limited             Celsius Network LLC                               4/29/2022   Incoming      Intercompany Coin Movement     MATIC                   79,501.9627612729                   $93,017.30
   Celsius Network Limited             Celsius Network LLC                               4/29/2022   Incoming      Intercompany Coin Movement     MATIC                     46,780.769328104                  $54,733.50
   Celsius Network Limited             Celsius Network LLC                               4/29/2022   Incoming      Intercompany Coin Movement     MATIC                   58,840.3059152223                   $68,843.16
   Celsius Network Limited             Celsius Network LLC                               4/29/2022   Incoming      Intercompany Coin Movement     MATIC                   94,653.4807320467                  $110,744.57
   Celsius Network Limited             Celsius Network LLC                               4/30/2022   Incoming      Intercompany Coin Movement     BAT                                1,173,364.0             $736,473.62
   Celsius Network Limited             Celsius Network LLC                               4/30/2022   Incoming      Intercompany Coin Movement     BAT                                     90,772.0            $56,973.95
   Celsius Network Limited             Celsius Network LLC                               4/30/2022   Incoming      Intercompany Coin Movement     ZRX                                1,500,000.0           $1,217,607.93
   Celsius Network Limited             Celsius Network LLC                               4/30/2022   Incoming      Intercompany Coin Movement     LINK                                    80,000.0           $957,454.76
   Celsius Network Limited             Celsius Network LLC                               4/30/2022   Incoming      Intercompany Coin Movement     XLM                                6,804,180.0           $1,225,666.16
   Celsius Network Limited             Celsius Network LLC                               4/30/2022   Incoming      Intercompany Coin Movement     XLM                                           1.0                $0.18
   Celsius Network Limited             Celsius Network LLC                               4/30/2022   Incoming      Intercompany Coin Movement     XLM                                        100.0                $17.99
   Celsius Network Limited             Celsius Network EU UAB (LT)                       4/30/2022   Incoming      Intercompany Coin Movement     BAT                     34,070.3969559242                   $21,384.62
   Celsius Network Limited             Celsius Network LLC                                5/1/2022   Outgoing      Intercompany Coin Movement     SNX                     (226,821.63032118)              ($1,045,523.12)
   Celsius Network Limited             Celsius Network LLC                                5/1/2022   Outgoing      Intercompany Coin Movement     SNX                                  (334.3753)             ($1,541.29)
   Celsius Network Limited             Celsius Network LLC                                5/1/2022   Outgoing      Intercompany Coin Movement     USDC                             (6,000,000.0)          ($6,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                5/1/2022   Outgoing      Intercompany Coin Movement     MATIC                            (1,000,000.0)          ($1,120,000.00)
   Celsius Network Limited             Celsius Network LLC                                5/1/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                (413.627112797551)                 ($161,417.90)
   Celsius Network Limited             Celsius Network LLC                                5/1/2022   Outgoing      Intercompany Coin Movement     BTC                          (274.99998623)            ($10,600,006.96)
   Celsius Network Limited             Celsius Network LLC                                5/1/2022   Outgoing      Intercompany Coin Movement     MATIC                   (814,239.53493017)                ($911,948.28)
   Celsius Network Limited             Celsius Network LLC                                5/1/2022   Incoming      Intercompany Coin Movement     DOGE                               4,000,000.5             $525,798.95
   Celsius Network Limited             Celsius Network LLC                                5/1/2022   Incoming      Intercompany Coin Movement     MANA                                  500,000.0            $739,360.71
   Celsius Network Limited             Celsius Network LLC                                5/1/2022   Incoming      Intercompany Coin Movement     DOGE                                       500.0                $66.87
   Celsius Network Limited             Celsius Network LLC                                5/1/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON           804,549.537285674                  $896,670.25
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     SNX                        (3,493.15068493)                ($16,865.64)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                      (108.21901009)                ($41,960.28)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                                    (0.56)             ($217.32)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     SOL                            (69.74060999)                ($6,108.71)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     SOL                                (152.87669)             ($13,390.76)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     SOL                                (165.64994)             ($14,509.59)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     ETH                                   (35,778.0)      ($100,751,151.62)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        5/2/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                              (3.698474)             ($1,435.24)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     USDC_AVAX                             (10,000.0)           ($10,020.00)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     DOT                     (1,606.0173506788)                 ($24,206.93)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     DOT                     (6,329.3029678676)                 ($95,398.58)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     MATIC_POLYGON         (186,888.201450751)                 ($201,934.98)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     MATIC                           (58,363.1389)              ($63,090.55)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     MATIC                   (186,888.18827994)                ($196,232.60)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     UNI                                   (10,000.0)           ($67,426.06)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     AVAX                  (9,752.64582631487)                 ($588,144.06)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                     (15,000,000.0)          ($15,000,697.75)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     USDC_AVAX                      (25,000,000.0)          ($25,025,000.00)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     ETH                                   (27,120.0)       ($76,293,512.03)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     SNX                                 (640,000.0)         ($2,967,299.60)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     TRX                          (219,999,998.9)           ($14,649,957.29)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Outgoing      Intercompany Coin Movement     DASH                                   (1,000.0)           ($89,253.06)
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Incoming      Intercompany Coin Movement     MANA                                  400,000.0            $614,861.67
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Incoming      Intercompany Coin Movement     CRV                     58,238.3514918647                  $120,475.39
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Incoming      Intercompany Coin Movement     BADGER                  4,492.79223745702                   $35,085.05
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Incoming      Intercompany Coin Movement     BAL                     5,779.74045024014                   $73,422.95
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Incoming      Intercompany Coin Movement     EURT_ERC20                            97,581.02            $102,906.95
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                          762,419.67             $762,500.35
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Incoming      Intercompany Coin Movement     USDC                            820,650.6849               $820,650.68
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Incoming      Intercompany Coin Movement     SOL                                     10,000.0           $869,643.05
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Incoming      Intercompany Coin Movement     USDC_AVAX                               10,000.0            $10,030.00
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Incoming      Intercompany Coin Movement     ETH                                        150.0           $423,040.50
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON           186,888.202136752                  $201,934.98
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON           186,888.200100546                  $201,476.91
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Incoming      Intercompany Coin Movement     UNI                                     10,000.0            $68,442.03
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Incoming      Intercompany Coin Movement     AVAX                    9,752.35372033913                  $600,320.97
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Incoming      Intercompany Coin Movement     USDC                               6,500,000.0           $6,500,000.00
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Incoming      Intercompany Coin Movement     USDC                               7,500,000.0           $7,500,000.00
   Celsius Network Limited             Celsius Network LLC                                5/2/2022   Incoming      Intercompany Coin Movement     WBTC                                       96.97         $3,716,584.33
   Celsius Network Limited             Celsius Network LLC                                5/3/2022   Outgoing      Intercompany Coin Movement     TERRA_USD                  (110,664.250769)               ($110,664.37)
   Celsius Network Limited             Celsius Network LLC                                5/3/2022   Outgoing      Intercompany Coin Movement     LTC                                    (3,000.0)          ($301,259.74)
   Celsius Network Limited             Celsius Network LLC                                5/3/2022   Outgoing      Intercompany Coin Movement     LINK                                (108,177.0)         ($1,207,684.69)
   Celsius Network Limited             Celsius Network LLC                                5/3/2022   Outgoing      Intercompany Coin Movement     ETH                                      (740.0)        ($2,078,540.40)
   Celsius Network Limited             Celsius Network LLC                                5/3/2022   Outgoing      Intercompany Coin Movement     LINK                              (172,949.66)          ($1,885,615.24)
   Celsius Network Limited             Celsius Network LLC                                5/3/2022   Outgoing      Intercompany Coin Movement     KNC                                   (35,000.0)          ($125,841.77)
   Celsius Network Limited             Celsius Network LLC                                5/3/2022   Outgoing      Intercompany Coin Movement     DOGE                 (5,999,999.46337383)                 ($774,223.38)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        5/3/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                       (3,999.999874)            ($1,534,303.96)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        5/3/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                          (540.539874)             ($207,338.17)
   Celsius Network Limited             Celsius Network LLC                                5/3/2022   Incoming      Intercompany Coin Movement     ADA                                          10.0                $7.91
   Celsius Network Limited             Celsius Network LLC                                5/3/2022   Incoming      Intercompany Coin Movement     UNI                                     55,000.0           $386,808.60
   Celsius Network Limited             Celsius Network LLC                                5/3/2022   Incoming      Intercompany Coin Movement     ADA                              13,000,000.0           $10,278,547.14
   Celsius Network Limited             Celsius Network LLC                                5/3/2022   Incoming      Intercompany Coin Movement     UMA                                      1,000.0             $5,453.07
   Celsius Network Limited             Celsius Network LLC                                5/3/2022   Incoming      Intercompany Coin Movement     TRX                              77,000,001.0            $5,627,627.02
   Celsius Network Limited             Celsius Network LLC                                5/3/2022   Incoming      Intercompany Coin Movement     MANA                                  150,000.0            $221,740.82
   Celsius Network Limited             Celsius Network EU UAB (LT)                        5/4/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                                (5,000.0)        ($1,951,857.93)
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Outgoing      Intercompany Coin Movement     LTC                                 (17,699.99)         ($1,818,948.82)
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Outgoing      Intercompany Coin Movement     BUSD                             (1,000,000.0)            ($999,906.00)
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Outgoing      Intercompany Coin Movement     PAX                              (1,000,000.0)          ($1,003,926.63)
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Outgoing      Intercompany Coin Movement     SNX                                  (688.3562)             ($3,328.89)
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Outgoing      Intercompany Coin Movement     MATIC                               (500,000.0)           ($555,000.00)
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Outgoing      Intercompany Coin Movement     ETH                                    (5,000.0)       ($14,216,281.57)
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Outgoing      Intercompany Coin Movement     SNX                                 (100,000.0)           ($468,255.46)
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Outgoing      Intercompany Coin Movement     USDC                       (419,428.066237)               ($419,428.07)
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Outgoing      Intercompany Coin Movement     BAT                  (1,365,890.78935592)                 ($831,632.80)
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Outgoing      Intercompany Coin Movement     LINK                          (150,160.3835)            ($1,708,417.50)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        5/4/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                            (39.410774)             ($15,520.71)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        5/4/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                       (1,108.403496)              ($436,508.89)
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Outgoing      Intercompany Coin Movement     MATIC                     (64,849.99641356)                ($71,983.50)
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Outgoing      Intercompany Coin Movement     TERRA_USD              (74,999,999.883233)             ($75,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Outgoing      Intercompany Coin Movement     BTC                        (1,750.00997708)            ($69,738,774.86)
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Incoming      Intercompany Coin Movement     ADA                      26,035,528.145778              $21,559,140.20
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                       1,125,099.68            $1,125,132.07
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON             64,849.998844538                  $71,866.55
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Incoming      Intercompany Coin Movement     COMP                                    407.433             $43,392.38
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Incoming      Intercompany Coin Movement     KNC                                   500,000.0          $1,668,802.32
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Incoming      Intercompany Coin Movement     LINK                                  150,000.0          $1,679,265.24
   Celsius Network Limited             Celsius Network LLC                                5/4/2022   Incoming      Intercompany Coin Movement     KNC                     290,394.733688128                  $992,574.33
   Celsius Network Limited             Celsius Network LLC                                5/5/2022   Outgoing      Intercompany Coin Movement     MATIC                            (7,190,889.0)          ($8,485,249.02)
   Celsius Network Limited             Celsius Network LLC                                5/5/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (2,000,000.0)          ($1,999,924.39)
   Celsius Network Limited             Celsius Network LLC                                5/5/2022   Outgoing      Intercompany Coin Movement     KNC                       (50,000.00008377)               ($164,961.17)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        5/5/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                                (2,000.0)          ($761,697.79)
   Celsius Network Limited             Celsius Network LLC                                5/5/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                     (42,600,000.0)          ($42,602,533.52)
   Celsius Network Limited             Celsius Network LLC                                5/5/2022   Incoming      Intercompany Coin Movement     USDT_ERC20               18,215,285.640375              $18,217,443.07
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09     Main Document                        Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
                                                                                                    Pg       66    of   77
                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN        COIN QUANTITY                    COIN USD
   Celsius Network Limited             Celsius Network LLC                                5/5/2022   Incoming      Intercompany Coin Movement     USDC                      13,326,357.705995               $13,326,357.71
   Celsius Network Limited             Celsius Network LLC                                5/5/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                15,355,569.490781               $15,354,988.97
   Celsius Network Limited             Celsius Network LLC                                5/5/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                14,402,896.309958               $14,405,054.96
   Celsius Network Limited             Celsius Network LLC                                5/5/2022   Incoming      Intercompany Coin Movement     BTC                             1,750.0099594             $62,891,541.60
   Celsius Network Limited             Celsius Network LLC                                5/5/2022   Incoming      Intercompany Coin Movement     EURT_ERC20                  7,451,552.732974               $7,849,650.12
   Celsius Network Limited             Celsius Network EU UAB (LT)                        5/5/2022   Incoming      Intercompany Coin Movement     XRP                                  4,000,000.0           $2,405,788.57
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Outgoing      Intercompany Coin Movement     ETH                                       (5,000.0)      ($13,643,170.55)
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Outgoing      Intercompany Coin Movement     AVAX                    (30.2724725244027)                    ($1,739.89)
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Outgoing      Intercompany Coin Movement     BTC                                         (500.0)      ($18,170,677.70)
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                  (546,252.993417)                ($546,218.44)
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Outgoing      Intercompany Coin Movement     SNX                                     (60,000.0)          ($260,913.78)
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Outgoing      Intercompany Coin Movement     MATIC                            (2,272,727.27)           ($2,375,000.00)
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Incoming      Intercompany Coin Movement     CRV                      79,010.7063624472                   $188,249.12
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Incoming      Intercompany Coin Movement     BAL                        1,453.4328935231                   $19,564.42
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Incoming      Intercompany Coin Movement     BNT                      43,690.5856677137                    $84,579.86
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Incoming      Intercompany Coin Movement     ALCX                      447.302768666718                    $26,294.72
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Incoming      Intercompany Coin Movement     BADGER                   1,459.05371475275                    $10,527.19
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Incoming      Intercompany Coin Movement     USDC                               10,000,000.0           $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Incoming      Intercompany Coin Movement     MATIC                    91,161.4095751842                    $95,901.80
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Incoming      Intercompany Coin Movement     MATIC                    46,171.6375299055                    $48,572.56
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Incoming      Intercompany Coin Movement     MATIC                    58,345.5714952032                    $61,379.54
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Incoming      Intercompany Coin Movement     MATIC                    79,205.3165578737                    $83,323.99
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Incoming      Intercompany Coin Movement     MATIC                    92,357.0096284302                    $97,159.57
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Incoming      Intercompany Coin Movement     MATIC                    20,448.8759890757                    $21,512.22
   Celsius Network Limited             Celsius Network LLC                                5/6/2022   Incoming      Intercompany Coin Movement     SOL                                         5,000.0          $407,989.73
   Celsius Network Limited             Celsius Network LLC                                5/8/2022   Incoming      Intercompany Coin Movement     TERRA_USD                            1,500,000.0           $1,500,000.00
   Celsius Network Limited             Celsius Network LLC                                5/8/2022   Incoming      Intercompany Coin Movement     TERRA_USD                                      10.0               $10.00
   Celsius Network Limited             Celsius Network LLC                                5/8/2022   Incoming      Intercompany Coin Movement     BTC                              390.64845051             $13,504,628.13
   Celsius Network Limited             Celsius Network LLC                                5/8/2022   Incoming      Intercompany Coin Movement     TERRA_USD                 73,499,999.820202               $73,499,999.91
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Outgoing      Intercompany Coin Movement     LINK                                (1,674.4494)             ($15,647.42)
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Outgoing      Intercompany Coin Movement     LINK                             (287.0274999)                ($2,653.45)
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Outgoing      Intercompany Coin Movement     BTC                              (92.06051165)            ($2,972,230.94)
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Outgoing      Intercompany Coin Movement     BTC                              (12.68831213)              ($409,652.83)
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Outgoing      Intercompany Coin Movement     BTC                              (11.53997382)              ($372,576.02)
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Outgoing      Intercompany Coin Movement     DOT                      (6,652.5856999984)                  ($76,700.49)
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Outgoing      Intercompany Coin Movement     DOT                                       (3,400.0)          ($39,199.94)
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Outgoing      Intercompany Coin Movement     KNC                        (22,000.00000001)                 ($52,677.49)
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Outgoing      Intercompany Coin Movement     SGB                                     (10,000.0)              ($497.86)
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Outgoing      Intercompany Coin Movement     XRP                         (329,628.385285)                ($166,314.69)
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Outgoing      Intercompany Coin Movement     UNI                                       (1,400.0)           ($8,859.56)
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Outgoing      Intercompany Coin Movement     DOT                      (5,151.6943344368)                  ($58,618.36)
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Outgoing      Intercompany Coin Movement     USDC                             (15,000,000.0)          ($15,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Outgoing      Intercompany Coin Movement     BTC                                         (500.0)      ($15,680,837.90)
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     ADA                                     838,430.0            $593,869.69
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     MANA                                    550,000.0            $710,686.92
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     DOGE                                    340,622.0             $41,357.94
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     USDC                               15,000,000.0           $15,000,000.00
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     ZRX                                 978,966.704              $569,272.03
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     TERRA_USD                   5,499,999.915007               $5,500,000.00
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     ETH                                         2,000.0        $4,864,952.77
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     USDC                      48,571,633.917825               $48,571,633.92
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     USDC                        1,027,674.914491               $1,027,674.91
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     USDC                                 5,000,000.0           $5,000,000.00
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     ADA                                2,377,956.81            $1,498,510.85
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     ADA                         1,570,221.829087                 $989,502.71
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     ADA                           186,274.824027                 $117,384.43
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     ADA                                  3,797,329.0           $2,392,952.93
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     ADA                                           100.0               $63.02
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     BTC                                           427.6       $13,615,539.74
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     ETH                                         1,550.0        $3,613,367.89
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     USDC                      14,500,812.565954               $14,500,812.57
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     ETH                               14,499.99475            $33,073,471.05
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     BNT                                       13,750.0            $22,375.00
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     BNT                      10,279.7865543201                    $16,728.01
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     BNT                                           360.0              $581.89
   Celsius Network Limited             Celsius Network LLC                                5/9/2022   Incoming      Intercompany Coin Movement     LTC                                         5,000.0          $400,164.33
   Celsius Network Limited             Celsius Network EU UAB (LT)                        5/9/2022   Incoming      Intercompany Coin Movement     LTC                              502.13526564                 $40,187.33
   Celsius Network Limited             Celsius Network EU UAB (LT)                        5/9/2022   Incoming      Intercompany Coin Movement     LTC                                44.38611158                 $3,552.35
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                         (3,000,000.0)          ($2,999,760.04)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/10/2022   Outgoing      Intercompany Coin Movement     XRP                           (268,949.99261)               ($140,602.98)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     SOL                                  (448.42998)             ($31,386.98)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     ETH                                       (8,000.0)      ($19,095,600.88)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     ETH                                     (50,700.0)      ($123,325,001.75)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     BTC                         (1,274.99988775)             ($40,222,645.70)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     LUNA                            (15,857.67087)              ($455,738.35)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     TERRA_USD                 (5,499,999.960267)              ($5,500,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     BTC                             (2,749.999963)           ($85,359,811.05)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     BTC                                         (206.0)       ($6,453,051.63)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     BNT                                     (62,762.0)          ($104,287.49)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     UNI                                       (6,084.0)          ($38,556.08)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     USDC                               (4,894,200.0)          ($4,894,200.00)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     DOT                                   (100,000.0)         ($1,158,225.80)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     BUSD                               (3,500,000.0)          ($3,490,872.00)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/10/2022   Outgoing      Intercompany Coin Movement     XRP                       (7,499,999.999985)              ($3,838,999.91)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     LUNA                          (65,735.178616)             ($2,074,820.22)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     USDC                             (10,000,000.0)          ($10,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     MATIC                         (232,816.23848)               ($218,187.23)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     AAVE                                      (9,120.0)       ($1,021,281.80)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     MATIC                         (934,603.76152)               ($875,877.93)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     USDC_POLYGON                (890,151.803441)                ($889,408.53)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     MATIC                    (225,254.99502599)                 ($205,908.52)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     SOL                             (40,000.98999)            ($2,716,954.04)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Outgoing      Intercompany Coin Movement     BTC                            (333.99996445)            ($10,202,702.82)
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Incoming      Intercompany Coin Movement     LUNA                              80,801.29746             $2,704,592.51
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Incoming      Intercompany Coin Movement     LUNA                          185,055.884514               $6,194,216.80
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Incoming      Intercompany Coin Movement     USDC                                 4,100,000.0           $4,100,000.00
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Incoming      Intercompany Coin Movement     USDC                               15,000,000.0           $15,000,000.00
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Incoming      Intercompany Coin Movement     XRP                           268,959.999985                 $139,489.08
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Incoming      Intercompany Coin Movement     LINK                                21,592.4021              $193,261.26
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Incoming      Intercompany Coin Movement     LINK                                        3,618.0           $32,382.65
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Incoming      Intercompany Coin Movement     ETH                      49,999.9990062304               $120,770,255.51
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                           9,300,000.0           $9,300,095.50
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Incoming      Intercompany Coin Movement     MATIC                           232,816.23848                $214,526.66
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Incoming      Intercompany Coin Movement     MANA                                    150,000.0            $175,461.14
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Incoming      Intercompany Coin Movement     MANA                                      15,000.0            $17,583.18
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Incoming      Intercompany Coin Movement     AVAX                                      10,417.0           $494,705.09
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Incoming      Intercompany Coin Movement     EURT_ERC20                           3,809,469.0           $4,026,791.43
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Incoming      Intercompany Coin Movement     USDC_POLYGON                  890,151.803441                 $889,408.53
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON            225,255.005346498                   $210,608.64
   Celsius Network Limited             Celsius Mining LLC                                5/10/2022   Incoming      Intercompany Coin Movement     BTC                                           0.001               $31.31
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Incoming      Intercompany Coin Movement     LUNA                                      22,050.0           $546,698.33
   Celsius Network Limited             Celsius Mining LLC                                5/10/2022   Incoming      Intercompany Coin Movement     BTC                                         90.579         $2,836,047.42
   Celsius Network Limited             Celsius Mining LLC                                5/10/2022   Incoming      Intercompany Coin Movement     BTC                                            50.0        $1,565,510.45
   Celsius Network Limited             Celsius Mining LLC                                5/10/2022   Incoming      Intercompany Coin Movement     BTC                                49.99596522             $1,565,276.08
   Celsius Network Limited             Celsius Network LLC                               5/10/2022   Incoming      Intercompany Coin Movement     TERRA_USD                            5,000,000.0           $5,000,000.00
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                  (190,947.488666)                ($190,893.27)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (34,520.5479)              ($34,510.75)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     ETC                            (409.76241358)                 ($9,483.53)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     ETC                            (718.21918869)                ($16,622.45)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     UNI                                     (25,000.0)          ($143,689.52)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     UNI                                 (1,063.7955)              ($6,114.25)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     UNI                            (557.65112164)                 ($3,205.14)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     UNI                                    (214.6301)             ($1,233.60)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     ETH                                         (260.0)         ($631,811.44)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     ZRX                                      (739.726)              ($359.87)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     ADA                       (2,209,750.923707)              ($1,446,964.15)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     ADA                                (725.381783)                 ($475.10)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                         (5,000,000.0)          ($4,999,789.42)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     CXADA_POLYGON          (3,516,055.11744749)               ($2,025,296.97)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     CXDOGE_POLYGON                   (8,160,255.65)             ($798,024.04)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     ETH                                     (25,000.0)       ($55,923,599.14)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     ETH                                     (10,000.0)       ($22,369,439.66)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     LUNA                                  (200,000.0)           ($796,501.73)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     LTC                        (34,689.99999747)              ($2,689,273.06)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/11/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                         (4,999.999874)            ($1,503,524.08)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/11/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                              (60.603853)             ($18,118.75)
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                      Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
                                                                                                    Pg       67    of   77
                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN       COIN QUANTITY                  COIN USD
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     ETH                                   (11,950.0)      ($27,843,816.63)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     BTC                                    (2,500.0)      ($78,640,008.34)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     ADA                      (5,000,000.830539)            ($3,037,887.61)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     ADA                         (364,479.998002)             ($221,449.91)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     DOGE                          (4,999,999.612)            ($473,182.46)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     SOL                            (50,000.98999)          ($2,785,323.13)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     BUSD                              (8,000,000.0)        ($8,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     PAX                               (2,000,000.0)        ($2,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     EOS                            (749,999.9987)          ($1,161,166.51)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     EOS                              (17,653.6414)            ($27,331.76)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     LUNA                        (190,001.090268)             ($427,755.32)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     LUNA                              (557.039774)             ($1,254.08)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     ETH                    (302.997240788291)                ($665,776.28)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     USDC                                   (8,680.6)           ($8,680.60)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (16,000,000.0)        ($16,016,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (4,000,000.0)        ($4,004,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     BTC                                    (1,000.0)      ($29,387,358.52)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     ETC                          (35,001.287616)             ($663,522.61)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     BNT                                 (737,238.0)        ($1,024,760.82)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     SOL                              (2,962.94998)           ($142,564.02)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Outgoing      Intercompany Coin Movement     TERRA_USD                   (251,922.952185)             ($251,922.97)
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     SOL                                     20,000.0        $1,278,008.44
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     AVAX                                    18,000.1          $684,355.01
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     MANA                                  800,000.0           $818,393.51
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                        10,000,000.0          $9,998,386.98
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     ZRX                                 1,100,000.0           $535,140.73
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     USDC                                 205,458.62           $205,458.62
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     ETH                                     50,000.0      $120,276,245.04
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                          5,000,000.0         $4,997,331.79
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     BTC                           2,808.09564675           $82,893,626.62
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON                            1,000.0              $745.74
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     AAVE                             1,222.958388             $106,079.41
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     ADA                        2,660,874.341673             $1,641,912.84
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     USDC                              10,000,000.0         $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     XRP                              3,008.930329               $1,294.97
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     ADA                            972,776.71137              $543,294.99
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     ETH                                 337.782565            $738,982.27
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     USDC                              1,623,797.45          $1,623,797.45
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     UNI                                     20,675.0          $102,341.25
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                        10,000,000.0         $10,010,000.00
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     BTC                                         20.0          $570,135.83
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     TUSD                    516,951.945205479                 $509,201.28
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     ADA                                 4,900,000.0         $2,977,129.27
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     ADA                                          1.0                $0.61
   Celsius Network Limited             Celsius Network LLC                               5/11/2022   Incoming      Intercompany Coin Movement     ADA                                   100,000.0            $61,422.67
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/11/2022   Incoming      Intercompany Coin Movement     XRP                                 1,802,000.0           $795,719.96
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     ETH                                   (33,000.0)      ($68,750,573.99)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     WBTC                                   (1,500.0)      ($41,300,192.39)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     USDC                                (350,000.0)          ($350,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     LINK                                  (11,625.0)          ($74,051.25)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     LINK                            (62.23486667)                ($396.44)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     LINK                    (117,009.76957192)               ($730,140.96)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     KNC                         (120,003.349887)             ($148,804.15)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (271.062918)               ($271.33)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     USDC                     (1,000,000.304557)            ($1,000,000.30)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     SOL                            (59,999.98999)          ($2,625,448.70)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     DASH                        (12,785.9998152)             ($660,375.29)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     ETH                                    (1,260.0)       ($2,416,821.40)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/12/2022   Outgoing      Intercompany Coin Movement     XRP                      (2,828,127.060314)            ($1,050,307.62)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     SNX                              (91,294.2247)           ($215,454.37)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     DOT                   (253,748.865799996)              ($2,098,246.47)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     DOT                     (16,698.173108992)               ($138,077.13)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     BTC                                      (340.0)       ($9,601,875.50)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (46,500,000.0)        ($46,352,827.50)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     MATIC                             (1,643,486.5)        ($1,027,561.99)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     MATIC                     (274,660.5507721)              ($171,726.84)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     PAX                             (37,000,000.0)        ($37,074,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (10,000,000.0)         ($9,997,420.00)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     USDC                            (10,000,000.0)        ($10,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                           (999.999874)           ($271,668.50)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     XRP                         (265,669.999971)             ($100,937.34)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     USDC                            (20,000,000.0)        ($20,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     USDC                            (30,000,000.0)        ($30,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     BTC                          (1,199.9999473)          ($34,533,509.51)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     USDC                              (5,000,000.0)        ($5,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     LUNA                        (147,900.607952)              ($82,013.68)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     USDC                     (1,287,199.691382)            ($1,287,199.69)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Outgoing      Intercompany Coin Movement     MATIC                            (44,395.9107)            ($27,757.79)
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     TERRA_USD                           3,100,000.0         $3,100,000.00
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     BCH                                        645.0          $127,064.03
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     ETH                                      916.01         $1,956,565.17
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     UNI                                      1,266.0            $6,418.62
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     LINK                                  150,000.0         $1,069,500.00
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     MANA                                  650,000.0           $529,543.95
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     ETH                                      2,000.0        $4,037,975.29
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                        10,000,000.0         $10,030,000.00
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     BADGER                  603,050.282058164               $2,846,397.33
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     ETH                                      1,000.0        $1,867,870.76
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                           350,007.92           $346,768.25
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     BTC                                        300.0        $8,260,038.48
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     USDC                       1,105,559.348317             $1,105,559.35
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     WBTC                                     1,500.0       $41,666,089.98
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     USDC                       3,657,240.748463             $3,657,240.75
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                        2,195,800.64          $2,183,881.83
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                            350,008.0           $349,052.13
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     USDC                              22,500,000.0         $22,500,000.00
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON           273,662.748892014                 $160,454.69
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     ETH                                      1,600.0        $3,248,046.24
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     AAVE                             1,531.078763             $122,409.75
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     DASH                             8,195.441615             $455,677.82
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     LTC                                     14,373.2          $951,047.87
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     XLM                             1,157,197.685             $142,009.10
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     MANA                             262,578.2814             $202,486.19
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     USDC                              36,500,000.0         $36,500,000.00
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     TRX                             142,999,995.8          $10,364,738.78
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     ETH                                     50,000.0      $100,181,264.79
   Celsius Network Limited             Celsius Network LLC                               5/12/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                           1,575.3425             $1,574.90
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/12/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                    455,191.447082              $452,397.48
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/12/2022   Incoming      Intercompany Coin Movement     USDC                          627,200.183286              $627,200.18
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (6,000,000.0)        ($6,012,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (14,901,010.0)        ($14,930,812.02)
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Outgoing      Intercompany Coin Movement     MATIC                             (2,000,000.0)        ($1,431,768.00)
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Outgoing      Intercompany Coin Movement     MATIC                      (17,999,998.5793)          ($12,987,502.97)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/13/2022   Outgoing      Intercompany Coin Movement     USDC                                (500,000.0)          ($500,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Outgoing      Intercompany Coin Movement     USDC                            (5,026,055.88)         ($5,026,055.88)
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Outgoing      Intercompany Coin Movement     USDC                            (20,000,000.0)        ($20,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Outgoing      Intercompany Coin Movement     BTC                                      (500.0)      ($15,008,432.94)
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Outgoing      Intercompany Coin Movement     BSV                             (59.38353303)              ($3,134.61)
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Outgoing      Intercompany Coin Movement     LINK                                (114,811.0)          ($828,935.42)
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Outgoing      Intercompany Coin Movement     SUSHI                 (1,377.14497870409)                  ($1,817.83)
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Outgoing      Intercompany Coin Movement     SUSHI                                (460.5574)              ($607.94)
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Outgoing      Intercompany Coin Movement     SUSHI                          (2,242.941573)              ($2,960.68)
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (9,000,000.0)        ($9,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Outgoing      Intercompany Coin Movement     BTC                                      (500.0)      ($14,970,123.04)
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Incoming      Intercompany Coin Movement     DOGE                                        20.0                $1.79
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Incoming      Intercompany Coin Movement     TERRA_USD                    7,435,885.23206            $7,435,887.67
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Incoming      Intercompany Coin Movement     MATIC                    10,001,784.417623              $7,353,161.88
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Incoming      Intercompany Coin Movement     DOGE                              30,000,000.0          $2,764,838.53
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Incoming      Intercompany Coin Movement     BNB_BSC                  568.649783702018                 $171,583.30
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Incoming      Intercompany Coin Movement     XLM                                          1.0                $0.13
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Incoming      Intercompany Coin Movement     ADA                               25,000,000.0         $14,472,917.90
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/13/2022   Incoming      Intercompany Coin Movement     BNB_BSC                             200.481952             $60,493.07
   Celsius Network Limited             Celsius Network LLC                               5/13/2022   Incoming      Intercompany Coin Movement     ADA                      10,955,068.106918               Undetermined
   Celsius Network Limited             Celsius Network LLC                               5/14/2022   Outgoing      Intercompany Coin Movement     XRP                         (749,999.999985)             ($328,735.43)
   Celsius Network Limited             Celsius Network LLC                               5/14/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (44,098,990.0)        ($44,098,990.00)
   Celsius Network Limited             Celsius Network LLC                               5/14/2022   Outgoing      Intercompany Coin Movement     USDC                       (24,030,682.6169)          ($24,030,682.62)
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                       Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
                                                                                                    Pg       68    of   77
                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN       COIN QUANTITY                   COIN USD
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/14/2022   Outgoing      Intercompany Coin Movement     XRP                     (1,799,999.999985)                ($748,520.26)
   Celsius Network Limited             Celsius Network LLC                               5/14/2022   Outgoing      Intercompany Coin Movement     BTC                                      (267.0)        ($8,060,685.65)
   Celsius Network Limited             Celsius Network LLC                               5/14/2022   Outgoing      Intercompany Coin Movement     BTC                                    (1,000.0)       ($30,074,821.84)
   Celsius Network Limited             Celsius Network LLC                               5/15/2022   Outgoing      Intercompany Coin Movement     BTC                                    (2,000.0)       ($60,280,583.62)
   Celsius Network Limited             Celsius Network LLC                               5/15/2022   Incoming      Intercompany Coin Movement     USDC                              30,000,000.0          $30,000,000.00
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     BTC                        (1,499.99996207)            ($46,962,287.04)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                    (28,015.9404119)             ($8,744,354.96)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     BUSD                              (1,000,000.0)         ($1,003,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     XRP                     (1,456,784.057756)                ($651,720.74)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     BUSD                              (1,000,000.0)         ($1,006,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     USDC                              (5,000,000.0)         ($5,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     ETH                   (3,001.49906848914)               ($6,087,802.82)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     ETH                                    (2,000.0)        ($4,056,506.96)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     LTC                        (5,999.99999889)               ($405,143.20)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/16/2022   Outgoing      Intercompany Coin Movement     BNB_BSC               (4,217.62664971588)               ($1,264,669.42)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/16/2022   Outgoing      Intercompany Coin Movement     XRP                            (2,910.958885)               ($1,229.97)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     BTC                           (109.98998302)            ($3,311,198.12)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     USDC                                (250,000.0)           ($250,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     BTC                                    (2,100.0)       ($62,913,341.14)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     USDC                            (24,000,000.0)         ($24,000,000.00)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/16/2022   Outgoing      Intercompany Coin Movement     XRP                     (2,000,021.088961)                ($839,104.32)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (6,000,000.0)         ($6,012,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     BTC                           (674.81923277)           ($20,123,687.96)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     TUSD                  (516,951.945205479)                 ($518,502.80)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     ADA                    (13,899,491.166335)              ($7,878,460.21)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     ETH                                    (5,300.0)       ($10,772,658.93)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     ZEC                              (60,014.6206)          ($6,445,903.16)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     USDC                              (5,000,000.0)         ($5,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     USDC                                (500,000.0)           ($500,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     BUSD                                (500,000.0)           ($501,500.00)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     XLM                      (141,410.8562311)                 ($19,535.93)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     ETH                                   (80,000.0)      ($161,177,902.27)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     LUNA                      (1,000,021.34376)                   ($172.23)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     ADA                              (438,453.338)            ($242,225.81)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     BAT                                (5,917.8082)             ($2,328.84)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     SOL                                    (4,937.0)          ($259,974.45)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Outgoing      Intercompany Coin Movement     UNI                                   (11,181.0)           ($55,569.57)
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Incoming      Intercompany Coin Movement     BNB_BSC                 28,025.0869437158                $8,295,066.03
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Incoming      Intercompany Coin Movement     WBTC                                 0.3663718              $10,867.99
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Incoming      Intercompany Coin Movement     MANA                    580,710.189122445                  $702,659.33
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Incoming      Intercompany Coin Movement     MANA                                       300.0               $363.00
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Incoming      Intercompany Coin Movement     BNT                     640,416.334236623                  $915,795.36
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Incoming      Intercompany Coin Movement     UNI                                   394,536.0          $2,016,078.96
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Incoming      Intercompany Coin Movement     SOL                              24,876.99999            $1,352,912.43
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Incoming      Intercompany Coin Movement     BAT                     889,159.710927933                  $353,060.42
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Incoming      Intercompany Coin Movement     BAT                                      6,000.0             $2,382.43
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Incoming      Intercompany Coin Movement     XLM                                   336,590.0             $46,494.24
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Incoming      Intercompany Coin Movement     BNT                              1,525.664646                $2,151.19
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Incoming      Intercompany Coin Movement     BNT                                   2,459.415              $3,467.78
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Incoming      Intercompany Coin Movement     AAVE                               9,520.99183             $795,574.08
   Celsius Network Limited             Celsius Mining LLC                                5/16/2022   Incoming      Intercompany Coin Movement     BTC                                        78.42         $2,317,946.20
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Incoming      Intercompany Coin Movement     WBTC                            505.38827765            $14,992,819.45
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Incoming      Intercompany Coin Movement     AAVE                                         21.0            $1,749.93
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Incoming      Intercompany Coin Movement     EURT_ERC20                   424,540.994109                $442,796.26
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Incoming      Intercompany Coin Movement     BTC                                          50.0        $1,469,670.26
   Celsius Network Limited             Celsius Network LLC                               5/16/2022   Incoming      Intercompany Coin Movement     BTC                                          28.5          $837,712.05
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/17/2022   Outgoing      Intercompany Coin Movement     XRP                     (3,000,000.999985)              ($1,289,531.61)
   Celsius Network Limited             Celsius Network LLC                               5/17/2022   Outgoing      Intercompany Coin Movement     LTC                        (1,499.99999889)               ($105,717.21)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/17/2022   Outgoing      Intercompany Coin Movement     XRP                        (987,663.549973)               ($424,985.33)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/17/2022   Outgoing      Intercompany Coin Movement     XRP                               (214.999985)                 ($92.51)
   Celsius Network Limited             Celsius Network LLC                               5/17/2022   Outgoing      Intercompany Coin Movement     XLM                    (9,247,681.9949995)              ($1,300,913.59)
   Celsius Network Limited             Celsius Network LLC                               5/17/2022   Outgoing      Intercompany Coin Movement     BCH                               (1.21259578)                ($249.08)
   Celsius Network Limited             Celsius Network LLC                               5/17/2022   Outgoing      Intercompany Coin Movement     LTC                        (4,696.08257332)               ($332,549.14)
   Celsius Network Limited             Celsius Network LLC                               5/17/2022   Outgoing      Intercompany Coin Movement     BCH                        (2,353.11325771)               ($484,700.45)
   Celsius Network Limited             Celsius Network LLC                               5/17/2022   Outgoing      Intercompany Coin Movement     BUSD                              (1,000,000.0)         ($1,002,000.00)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/17/2022   Outgoing      Intercompany Coin Movement     XRP                     (4,999,999.999985)              ($2,158,052.01)
   Celsius Network Limited             Celsius Network LLC                               5/17/2022   Outgoing      Intercompany Coin Movement     USDC                            (20,000,000.0)         ($20,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/17/2022   Outgoing      Intercompany Coin Movement     USDC                            (30,000,000.0)         ($30,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/17/2022   Incoming      Intercompany Coin Movement     USDC                                2,060,000.0          $2,060,000.00
   Celsius Network Limited             Celsius Network LLC                               5/17/2022   Incoming      Intercompany Coin Movement     BNB_ERC20                                    29.0           $16,195.20
   Celsius Network Limited             Celsius Network LLC                               5/17/2022   Incoming      Intercompany Coin Movement     BAT                                      164.38                 $68.26
   Celsius Network Limited             Celsius Network LLC                               5/17/2022   Incoming      Intercompany Coin Movement     EURT_ERC20                          4,907,755.0          $5,158,050.51
   Celsius Network Limited             Celsius Network LLC                               5/17/2022   Incoming      Intercompany Coin Movement     AVAX                                    54,132.0         $1,810,136.86
   Celsius Network Limited             Celsius Network LLC                               5/17/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                        30,000,000.0          $30,060,000.00
   Celsius Network Limited             Celsius Network LLC                               5/17/2022   Incoming      Intercompany Coin Movement     SUSHI                   130,391.141952315                  $174,724.13
   Celsius Network Limited             Celsius Network LLC                               5/17/2022   Incoming      Intercompany Coin Movement     XLM                                           1.0                $0.14
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/17/2022   Incoming      Intercompany Coin Movement     BNB_BSC                                      29.0            $8,979.16
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Outgoing      Intercompany Coin Movement     BNB_ERC20                                  (28.0)          ($15,636.74)
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Outgoing      Intercompany Coin Movement     BNB_ERC20                                   (1.0)             ($558.46)
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Outgoing      Intercompany Coin Movement     LTC                        (3,999.99999889)               ($290,071.80)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/18/2022   Outgoing      Intercompany Coin Movement     XRP                     (3,999,999.999985)              ($1,714,106.45)
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Outgoing      Intercompany Coin Movement     XLM                     (9,996,525.531233)              ($1,380,730.63)
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Outgoing      Intercompany Coin Movement     BCH                        (3,999.99999806)               ($802,908.61)
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Outgoing      Intercompany Coin Movement     SOL                              (9,999.99998)            ($503,887.20)
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                      (5,700.0021727)            ($1,658,741.26)
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Outgoing      Intercompany Coin Movement     PAX                                 (500,000.0)           ($501,500.00)
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Outgoing      Intercompany Coin Movement     BTC                          (1,180.4244534)           ($34,158,810.45)
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (5,000,000.0)         ($5,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Outgoing      Intercompany Coin Movement     DOT                   (674,499.982799998)               ($6,594,896.07)
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Incoming      Intercompany Coin Movement     USDC                              10,000,000.0          $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Incoming      Intercompany Coin Movement     MATIC                   772,081.816475163                  $525,488.92
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON           198,873.665308634                  $133,700.13
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Incoming      Intercompany Coin Movement     BTC                                        400.0        $11,594,610.02
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Incoming      Intercompany Coin Movement     WBTC                                     2,500.0        $72,455,768.16
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Incoming      Intercompany Coin Movement     TERRA_USD                  3,210,124.198569              $3,210,125.20
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Incoming      Intercompany Coin Movement     SOL                                     30,001.0         $1,515,977.28
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Incoming      Intercompany Coin Movement     MANA                                2,500,000.0          $2,670,000.00
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Incoming      Intercompany Coin Movement     SOL                       133,304.11002144               $6,758,686.04
   Celsius Network Limited             Celsius Network LLC                               5/18/2022   Incoming      Intercompany Coin Movement     SOL                                8,444.06418             $428,124.68
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/18/2022   Incoming      Intercompany Coin Movement     MATIC                   28,177.9094766709                   $19,178.25
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/18/2022   Incoming      Intercompany Coin Movement     SOL                           333.619990758                 $16,914.95
   Celsius Network Limited             Celsius Network LLC                               5/19/2022   Outgoing      Intercompany Coin Movement     DASH                     (12,714.00141567)                ($711,764.72)
   Celsius Network Limited             Celsius Network LLC                               5/19/2022   Outgoing      Intercompany Coin Movement     DASH                          (198.46913911)               ($11,110.86)
   Celsius Network Limited             Celsius Network LLC                               5/19/2022   Outgoing      Intercompany Coin Movement     LTC                        (1,499.99999889)               ($102,482.77)
   Celsius Network Limited             Celsius Network LLC                               5/19/2022   Outgoing      Intercompany Coin Movement     SOL                            (50,000.01799)           ($2,658,730.16)
   Celsius Network Limited             Celsius Network LLC                               5/19/2022   Outgoing      Intercompany Coin Movement     TERRA_USD                           (999,999.0)         ($1,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/19/2022   Outgoing      Intercompany Coin Movement     BUSD                              (4,000,000.0)         ($3,994,036.00)
   Celsius Network Limited             Celsius Network LLC                               5/19/2022   Outgoing      Intercompany Coin Movement     TUSD                              (1,000,000.0)         ($1,001,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/19/2022   Outgoing      Intercompany Coin Movement     SOL                            (19,999.99999)           ($1,060,151.98)
   Celsius Network Limited             Celsius Network LLC                               5/19/2022   Incoming      Intercompany Coin Movement     USDC                         902,047.489031                $902,047.49
   Celsius Network Limited             Celsius Network LLC                               5/19/2022   Incoming      Intercompany Coin Movement     AAVE                    3,253.37592138638                  $277,285.23
   Celsius Network Limited             Celsius Network LLC                               5/19/2022   Incoming      Intercompany Coin Movement     ETH                      99.9988281651312                  $196,901.98
   Celsius Network Limited             Celsius Mining LLC                                5/19/2022   Incoming      Intercompany Coin Movement     BTC                                        39.57         $1,179,472.48
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/19/2022   Incoming      Intercompany Coin Movement     BNB_BSC                                  1,000.0           $306,533.85
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Outgoing      Intercompany Coin Movement     PAXG                   (659.789712456765)               ($1,220,624.17)
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Outgoing      Intercompany Coin Movement     PAXG                   (659.921696796125)               ($1,220,624.17)
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Outgoing      Intercompany Coin Movement     USDC                            (10,000,000.0)         ($10,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Outgoing      Intercompany Coin Movement     BUSD                              (1,000,000.0)         ($1,003,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Outgoing      Intercompany Coin Movement     BUSD                              (1,000,000.0)         ($1,003,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (25,000,000.0)         ($25,075,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Outgoing      Intercompany Coin Movement     USDC                            (24,000,000.0)         ($24,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Outgoing      Intercompany Coin Movement     BTC                                        (74.0)       ($2,142,746.47)
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Incoming      Intercompany Coin Movement     SOL                                      2,231.0           $116,963.15
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Incoming      Intercompany Coin Movement     DOT                                   442,975.0          $4,454,628.87
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Incoming      Intercompany Coin Movement     WBTC                                     2,500.0        $75,904,822.27
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Incoming      Intercompany Coin Movement     USDC                                3,600,135.0          $3,600,135.00
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Incoming      Intercompany Coin Movement     BTC                                          50.0        $1,477,643.27
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Incoming      Intercompany Coin Movement     USDC                              10,000,000.0          $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Incoming      Intercompany Coin Movement     MATIC                   114,408.315046469                   $72,523.55
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Incoming      Intercompany Coin Movement     MATIC                   71,546.1016684777                   $45,353.15
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Incoming      Intercompany Coin Movement     MATIC                   112,152.086703533                   $71,093.32
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Incoming      Intercompany Coin Movement     MATIC                   40,564.7759927667                   $25,714.05
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Incoming      Intercompany Coin Movement     MATIC                   56,760.0286408076                   $35,980.24
   Celsius Network Limited             Celsius Network LLC                               5/20/2022   Incoming      Intercompany Coin Movement     MATIC                   25,211.0263963637                   $15,981.29
   Celsius Network Limited             Celsius Network LLC                               5/21/2022   Incoming      Intercompany Coin Movement     DOT                                     38,871.0           $389,208.88
   Celsius Network Limited             Celsius Network LLC                               5/22/2022   Outgoing      Intercompany Coin Movement     PAXG                              (399.840016)            ($741,947.58)
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                        Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
                                                                                                    Pg       69    of   77
                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN       COIN QUANTITY                    COIN USD
   Celsius Network Limited             Celsius Network LLC                               5/22/2022   Outgoing      Intercompany Coin Movement     PAXG                                     (399.92)          ($741,947.58)
   Celsius Network Limited             Celsius Network LLC                               5/22/2022   Outgoing      Intercompany Coin Movement     PAXG                   (5.31465431034723)                    ($9,861.93)
   Celsius Network Limited             Celsius Network LLC                               5/22/2022   Outgoing      Intercompany Coin Movement     PAXG                       (5.315717453838)                  ($9,861.93)
   Celsius Network Limited             Celsius Network LLC                               5/22/2022   Incoming      Intercompany Coin Movement     DOT                     96,954.9828999984                   $975,900.94
   Celsius Network Limited             Celsius Network LLC                               5/22/2022   Incoming      Intercompany Coin Movement     USDC                               20,000,000.0          $20,000,000.00
   Celsius Network Limited             Celsius Network LLC                               5/22/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON             66,794.998341021                   $44,115.77
   Celsius Network Limited             Celsius Network LLC                               5/22/2022   Incoming      Intercompany Coin Movement     USDC                               20,000,000.0          $20,000,000.00
   Celsius Network Limited             Celsius Network LLC                               5/22/2022   Incoming      Intercompany Coin Movement     USDC                                 5,000,000.0          $5,000,000.00
   Celsius Network Limited             Celsius Network LLC                               5/22/2022   Incoming      Intercompany Coin Movement     XLM                                        0.0001                 $0.00
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Outgoing      Intercompany Coin Movement     ETH                                    (15,000.0)       ($31,035,887.61)
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (15,000,000.0)         ($15,015,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Outgoing      Intercompany Coin Movement     BTC                                     (2,000.0)       ($60,735,703.25)
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Outgoing      Intercompany Coin Movement     ETH                   (3,630.67816604267)                ($7,492,015.68)
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Outgoing      Intercompany Coin Movement     PAX                                (2,500,000.0)         ($2,500,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Outgoing      Intercompany Coin Movement     LTC                       (32,499.99999889)              ($2,341,178.12)
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (250,000.099)            ($249,988.35)
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Outgoing      Intercompany Coin Movement     MATIC                 (56,915.4194941931)                   ($38,811.65)
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Outgoing      Intercompany Coin Movement     MATIC                     (94,782.10380183)                 ($62,568.51)
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Outgoing      Intercompany Coin Movement     PAXG                  (1,003.35105286461)                ($1,862,140.47)
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Outgoing      Intercompany Coin Movement     USDC                               (2,000,200.0)         ($2,000,200.00)
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Outgoing      Intercompany Coin Movement     1INCH                                (115,000.0)           ($110,986.39)
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Incoming      Intercompany Coin Movement     PAXG                    1,003.55176321726                 $1,862,140.47
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Incoming      Intercompany Coin Movement     XRP                             227,217.39997                $96,598.57
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Incoming      Intercompany Coin Movement     XRP                               9,135.129017                $3,883.68
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Incoming      Intercompany Coin Movement     SUSHI                   3,040.82144716014                     $4,986.95
   Celsius Network Limited             Celsius Mining LLC                                5/23/2022   Incoming      Intercompany Coin Movement     BTC                                          54.54        $1,656,799.00
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Incoming      Intercompany Coin Movement     USDC                                 2,001,000.0          $2,001,000.00
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Incoming      Intercompany Coin Movement     XLM                                    144,157.0             $19,360.53
   Celsius Network Limited             Celsius Network LLC                               5/23/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON           27,987.1045372743                    $19,027.32
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/23/2022   Incoming      Intercompany Coin Movement     XRP                             61,047.733449                $25,934.48
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/23/2022   Incoming      Intercompany Coin Movement     BNB_BSC                                   1,620.0           $537,241.71
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/23/2022   Incoming      Intercompany Coin Movement     XRP                        3,999,999.992319               $1,699,086.28
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/23/2022   Incoming      Intercompany Coin Movement     XRP                                  1,703,001.0            $723,386.41
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/24/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                                 (3,000.0)          ($970,200.30)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/24/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                            (309.945074)            ($100,236.31)
   Celsius Network Limited             Celsius Network LLC                               5/24/2022   Outgoing      Intercompany Coin Movement     TUSD                               (1,000,000.0)         ($1,001,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/24/2022   Outgoing      Intercompany Coin Movement     BSV                       (19,999.99899806)              ($1,005,424.91)
   Celsius Network Limited             Celsius Network LLC                               5/24/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                         (4,400,000.0)         ($4,396,686.80)
   Celsius Network Limited             Celsius Network LLC                               5/24/2022   Outgoing      Intercompany Coin Movement     USDC                               (2,284,700.0)         ($2,284,700.00)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/24/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                        (58.898984486)               ($18,940.07)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/24/2022   Outgoing      Intercompany Coin Movement     XRP                      (1,999,999.999985)                ($806,550.36)
   Celsius Network Limited             Celsius Network LLC                               5/24/2022   Incoming      Intercompany Coin Movement     AVAX                    106,431.778020002                 $3,044,368.55
   Celsius Network Limited             Celsius Network LLC                               5/24/2022   Incoming      Intercompany Coin Movement     LTC                                      20,000.0         $1,380,020.46
   Celsius Network Limited             Celsius Network LLC                               5/24/2022   Incoming      Intercompany Coin Movement     MSOL_SOL                  40,226.165522258                $2,071,647.52
   Celsius Network Limited             Celsius Network LLC                               5/24/2022   Incoming      Intercompany Coin Movement     USDC                                 7,000,000.0          $7,000,000.00
   Celsius Network Limited             Celsius Network LLC                               5/24/2022   Incoming      Intercompany Coin Movement     ETH                                        198.85           $385,228.84
   Celsius Network Limited             Celsius Network LLC                               5/24/2022   Incoming      Intercompany Coin Movement     COMP                    1,802.69055401936                   $119,878.92
   Celsius Network Limited             Celsius Network LLC                               5/24/2022   Incoming      Intercompany Coin Movement     BNB_BSC                          25.144483166                 $7,959.22
   Celsius Network Limited             Celsius Network LLC                               5/24/2022   Incoming      Intercompany Coin Movement     AVAX                                      3,480.0            $98,175.06
   Celsius Network Limited             Celsius Network LLC                               5/24/2022   Incoming      Intercompany Coin Movement     XLM                                10,881,407.0           $1,400,426.72
   Celsius Network Limited             Celsius Network LLC                               5/25/2022   Outgoing      Intercompany Coin Movement     ZRX                                (6,200,000.0)         ($2,594,650.40)
   Celsius Network Limited             Celsius Network LLC                               5/25/2022   Outgoing      Intercompany Coin Movement     USDC                               (8,000,000.0)         ($8,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/25/2022   Outgoing      Intercompany Coin Movement     XLM                    (3,499,999.9889847)                 ($457,012.55)
   Celsius Network Limited             Celsius Network LLC                               5/25/2022   Outgoing      Intercompany Coin Movement     EURT_ERC20                         (5,000,000.0)         ($5,333,191.83)
   Celsius Network Limited             Celsius Network LLC                               5/25/2022   Incoming      Intercompany Coin Movement     AVAX                          79,535.9994225              $2,277,207.46
   Celsius Network Limited             Celsius Network LLC                               5/25/2022   Incoming      Intercompany Coin Movement     ETH                                       1,070.1         $2,114,747.53
   Celsius Network Limited             Celsius Network LLC                               5/25/2022   Incoming      Intercompany Coin Movement     AVAX                                     3,603.63           $100,177.25
   Celsius Network Limited             Celsius Network LLC                               5/25/2022   Incoming      Intercompany Coin Movement     XLM                                  1,302,488.0            $170,229.21
   Celsius Network Limited             Celsius Network LLC                               5/26/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                         (1,400,000.0)         ($1,398,604.39)
   Celsius Network Limited             Celsius Network LLC                               5/26/2022   Outgoing      Intercompany Coin Movement     DOT                   (144,999.982899998)                ($1,359,733.81)
   Celsius Network Limited             Celsius Network LLC                               5/26/2022   Incoming      Intercompany Coin Movement     ETH                                           8.34           $16,328.71
   Celsius Network Limited             Celsius Network LLC                               5/26/2022   Incoming      Intercompany Coin Movement     USDC                                   810,030.2            $810,030.20
   Celsius Network Limited             Celsius Network LLC                               5/26/2022   Incoming      Intercompany Coin Movement     HBTC                                         100.0        $2,925,273.58
   Celsius Network Limited             Celsius Network LLC                               5/26/2022   Incoming      Intercompany Coin Movement     MATIC                              17,000,000.0          $10,380,557.00
   Celsius Network Limited             Celsius Network LLC                               5/26/2022   Incoming      Intercompany Coin Movement     ADA                                  1,500,000.0            $728,434.98
   Celsius Network Limited             Celsius Network LLC                               5/26/2022   Incoming      Intercompany Coin Movement     BAT                    2,758,488.53759628                 $1,018,181.28
   Celsius Network Limited             Celsius Network LLC                               5/26/2022   Incoming      Intercompany Coin Movement     BAT                                          190.0               $70.13
   Celsius Network Limited             Celsius Network LLC                               5/26/2022   Incoming      Intercompany Coin Movement     USDC                                 2,500,000.0          $2,500,000.00
   Celsius Network Limited             Celsius Network LLC                               5/26/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                           4,000,000.0          $3,995,745.89
   Celsius Network Limited             Celsius Network LLC                               5/26/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                 4,918,059.054514               $4,913,156.40
   Celsius Network Limited             Celsius Network LLC                               5/26/2022   Incoming      Intercompany Coin Movement     USDC                       1,308,048.607033               $1,308,048.61
   Celsius Network Limited             Celsius Network LLC                               5/26/2022   Incoming      Intercompany Coin Movement     HBTC                                         100.0        $2,825,274.91
   Celsius Network Limited             Celsius Network LLC                               5/26/2022   Incoming      Intercompany Coin Movement     DOT                                    106,250.0          $1,000,052.98
   Celsius Network Limited             Celsius Network LLC                               5/26/2022   Incoming      Intercompany Coin Movement     ADA                                  6,692,000.0          $3,298,681.76
   Celsius Network Limited             Celsius Network LLC                               5/26/2022   Incoming      Intercompany Coin Movement     XLM                                            1.0                $0.12
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Outgoing      Intercompany Coin Movement     ETH                   (1,079.99851672327)                ($1,919,211.56)
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Outgoing      Intercompany Coin Movement     BTC                                        (500.0)      ($14,516,979.93)
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Outgoing      Intercompany Coin Movement     XLM                      (2,198,197.979998)                ($268,719.07)
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Outgoing      Intercompany Coin Movement     UNI                           (10,953.502683)               ($52,495.64)
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Outgoing      Intercompany Coin Movement     USDC                               (2,100,000.0)         ($2,100,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Outgoing      Intercompany Coin Movement     USDC                                 (86,301.37)            ($86,301.37)
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Outgoing      Intercompany Coin Movement     USDC                               (1,900,000.0)         ($1,900,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Outgoing      Intercompany Coin Movement     BTC                                        (750.0)      ($21,998,650.19)
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Outgoing      Intercompany Coin Movement     DOGE                        (14,780.0185286)                 ($1,173.47)
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Outgoing      Intercompany Coin Movement     XLM                         (405,000.004853)                ($49,869.31)
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Outgoing      Intercompany Coin Movement     ETH                                     (1,042.0)        ($1,830,956.98)
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Outgoing      Intercompany Coin Movement     USDC                               (8,500,000.0)         ($8,500,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Outgoing      Intercompany Coin Movement     ETH                                     (2,066.0)        ($3,599,884.08)
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Outgoing      Intercompany Coin Movement     ETH                                     (9,510.0)       ($16,757,499.07)
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Incoming      Intercompany Coin Movement     HBTC                                         100.0        $2,906,889.35
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Incoming      Intercompany Coin Movement     HBTC                                       223.54         $6,485,682.86
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Incoming      Intercompany Coin Movement     MATIC                     47,525.244390306                   $27,698.85
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Incoming      Intercompany Coin Movement     MATIC                   71,089.3452147881                    $41,432.58
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Incoming      Intercompany Coin Movement     MATIC                   89,131.2417404785                    $51,947.83
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Incoming      Intercompany Coin Movement     MATIC                   60,212.2762915297                    $35,093.16
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Incoming      Intercompany Coin Movement     MATIC                   34,254.1457593912                    $19,964.14
   Celsius Network Limited             Celsius Network LLC                               5/27/2022   Incoming      Intercompany Coin Movement     MATIC                   21,084.2828623603                    $12,288.43
   Celsius Network Limited             Celsius Network LLC                               5/28/2022   Outgoing      Intercompany Coin Movement     BTC                              (423.2013266)          ($12,186,456.67)
   Celsius Network Limited             Celsius Network LLC                               5/30/2022   Outgoing      Intercompany Coin Movement     BTC                                        (600.0)      ($18,370,195.85)
   Celsius Network Limited             Celsius Network LLC                               5/30/2022   Outgoing      Intercompany Coin Movement     AAVE                                       (700.0)          ($71,379.76)
   Celsius Network Limited             Celsius Network LLC                               5/30/2022   Outgoing      Intercompany Coin Movement     SOL                                        (900.0)          ($41,467.36)
   Celsius Network Limited             Celsius Network LLC                               5/30/2022   Outgoing      Intercompany Coin Movement     DOT                     (7,618.1114289824)                  ($77,602.41)
   Celsius Network Limited             Celsius Network LLC                               5/30/2022   Outgoing      Intercompany Coin Movement     AAVE                                    (1,000.0)          ($106,565.55)
   Celsius Network Limited             Celsius Network LLC                               5/30/2022   Outgoing      Intercompany Coin Movement     USDC                               (6,300,000.0)         ($6,300,000.00)
   Celsius Network Limited             Celsius Network LLC                               5/30/2022   Outgoing      Intercompany Coin Movement     MATIC                              (2,000,110.0)         ($1,278,518.31)
   Celsius Network Limited             Celsius Network LLC                               5/30/2022   Outgoing      Intercompany Coin Movement     BTC                            (299.99997096)            ($9,206,829.73)
   Celsius Network Limited             Celsius Network LLC                               5/30/2022   Outgoing      Intercompany Coin Movement     BTC                              (105.3666067)           ($3,233,641.80)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/30/2022   Outgoing      Intercompany Coin Movement     XRP                           (601,613.17075)              ($248,505.97)
   Celsius Network Limited             Celsius Network LLC                               5/30/2022   Incoming      Intercompany Coin Movement     ETH                      304.999132648147                   $572,395.60
   Celsius Network Limited             Celsius Network LLC                               5/30/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                           3,399,986.0          $3,397,788.73
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Outgoing      Intercompany Coin Movement     DOT                                     (5,000.0)           ($51,769.76)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/31/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                             (15.068374)              ($4,794.68)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/31/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                         (2,599.999853)             ($830,891.52)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       5/31/2022   Outgoing      Intercompany Coin Movement     XRP                         (452,098.999985)               ($190,430.18)
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Outgoing      Intercompany Coin Movement     SOL                         (6,323.00502855)               ($295,205.41)
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Outgoing      Intercompany Coin Movement     LTC                           (1,022.9999982)               ($70,446.55)
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Outgoing      Intercompany Coin Movement     BUSD                               (1,000,000.0)           ($999,527.00)
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Outgoing      Intercompany Coin Movement     MATIC                                (750,000.0)           ($494,649.75)
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Outgoing      Intercompany Coin Movement     MATIC                                (15,877.96)            ($10,472.04)
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Outgoing      Intercompany Coin Movement     MATIC                        (5,999,977.6179)            ($4,007,937.05)
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Outgoing      Intercompany Coin Movement     LTC                              (12.99999889)                 ($892.29)
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Outgoing      Intercompany Coin Movement     DOT                   (49,999.9828999984)                  ($518,355.31)
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Outgoing      Intercompany Coin Movement     BTC                            (749.99997942)           ($23,681,882.44)
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Outgoing      Intercompany Coin Movement     SOL                             (26,229.50999)           ($1,195,173.78)
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Outgoing      Intercompany Coin Movement     SOL                   (37,037.5358914399)                ($1,706,367.35)
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Outgoing      Intercompany Coin Movement     AAVE                                   (6,209.78)          ($723,676.69)
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (20,000,000.0)         ($19,988,010.77)
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Outgoing      Intercompany Coin Movement     AAVE                        (5,058.40375905)               ($575,589.47)
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Outgoing      Intercompany Coin Movement     MATIC                           (999,996.6179)             ($665,921.75)
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Outgoing      Intercompany Coin Movement     DOT                     (5,921.9829999984)                  ($62,441.23)
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Outgoing      Intercompany Coin Movement     MANA                                 (150,000.0)           ($163,788.31)
   Celsius Network Limited             Celsius Mining LLC                                5/31/2022   Incoming      Intercompany Coin Movement     BTC                                           0.29            $9,143.63
   Celsius Network Limited             Celsius Mining LLC                                5/31/2022   Incoming      Intercompany Coin Movement     BTC                                           15.0          $472,946.15
   Celsius Network Limited             Celsius Mining LLC                                5/31/2022   Incoming      Intercompany Coin Movement     BTC                                           50.0        $1,582,162.26
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Incoming      Intercompany Coin Movement     USDC                             1,574,500.908            $1,574,500.91
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Incoming      Intercompany Coin Movement     USDC                                 4,000,000.0          $4,000,000.00
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                       Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
                                                                                                    Pg       70    of   77
                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN       COIN QUANTITY                   COIN USD
   Celsius Network Limited             Celsius Mining LLC                                5/31/2022   Incoming      Intercompany Coin Movement     BTC                               49.99878371            $1,598,550.37
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Incoming      Intercompany Coin Movement     USDC                                5,000,000.0          $5,000,000.00
   Celsius Network Limited             Celsius Network LLC                               5/31/2022   Incoming      Intercompany Coin Movement     USDC                              10,000,000.0          $10,000,000.00
   Celsius Network Limited             Celsius Network LLC                                6/1/2022   Outgoing      Intercompany Coin Movement     ETH                                   (12,982.0)       ($25,070,597.98)
   Celsius Network Limited             Celsius Network LLC                                6/1/2022   Outgoing      Intercompany Coin Movement     LINK                                  (40,000.0)          ($300,428.63)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        6/1/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                                   (400.0)         ($127,090.62)
   Celsius Network Limited             Celsius Network LLC                                6/1/2022   Outgoing      Intercompany Coin Movement     ETH                                    (5,000.0)        ($9,670,265.04)
   Celsius Network Limited             Celsius Network LLC                                6/1/2022   Outgoing      Intercompany Coin Movement     ETH                                    (2,000.0)        ($3,868,106.02)
   Celsius Network Limited             Celsius Network LLC                                6/1/2022   Outgoing      Intercompany Coin Movement     WBTC                                      (800.0)      ($25,247,909.68)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        6/1/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                           (997.999475)            ($318,373.52)
   Celsius Network Limited             Celsius Network LLC                                6/1/2022   Outgoing      Intercompany Coin Movement     BTC                           (298.99993534)            ($9,467,453.88)
   Celsius Network Limited             Celsius Network LLC                                6/1/2022   Outgoing      Intercompany Coin Movement     LTC                           (126.40269809)                ($8,632.86)
   Celsius Network Limited             Celsius Network LLC                                6/1/2022   Outgoing      Intercompany Coin Movement     WBTC                                 (220.4941)         ($6,932,893.84)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        6/1/2022   Outgoing      Intercompany Coin Movement     XRP                      (1,999,999.975459)               ($824,658.58)
   Celsius Network Limited             Celsius Network LLC                                6/1/2022   Outgoing      Intercompany Coin Movement     BTC                           (779.09963868)           ($23,417,680.36)
   Celsius Network Limited             Celsius Network LLC                                6/1/2022   Outgoing      Intercompany Coin Movement     BTC                           (499.99996029)           ($15,089,919.63)
   Celsius Network Limited             Celsius Network LLC                                6/1/2022   Outgoing      Intercompany Coin Movement     BCH                        (8,381.99999396)             ($1,563,295.95)
   Celsius Network Limited             Celsius Network LLC                                6/1/2022   Outgoing      Intercompany Coin Movement     LINK                         (419,999.69171)            ($2,886,025.47)
   Celsius Network Limited             Celsius Network LLC                                6/1/2022   Outgoing      Intercompany Coin Movement     ETH                                    (3,010.0)        ($5,466,075.32)
   Celsius Network Limited             Celsius Network LLC                                6/1/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                        10,000,000.0           $9,993,896.06
   Celsius Network Limited             Celsius Network LLC                                6/1/2022   Incoming      Intercompany Coin Movement     DOGE                                  168,367.0             $14,612.30
   Celsius Network Limited             Celsius Network LLC                                6/1/2022   Incoming      Intercompany Coin Movement     BTC                                         111.0        $3,532,541.12
   Celsius Network Limited             Celsius Network LLC                                6/1/2022   Incoming      Intercompany Coin Movement     EURT_ERC20                              34,692.4            $37,079.28
   Celsius Network Limited             Celsius Network LLC                                6/1/2022   Incoming      Intercompany Coin Movement     USDC                              40,000,000.0          $40,000,000.00
   Celsius Network Limited             Celsius Network EU UAB (LT)                        6/2/2022   Outgoing      Intercompany Coin Movement     XRP                      (2,298,845.665487)               ($905,975.76)
   Celsius Network Limited             Celsius Network LLC                                6/2/2022   Outgoing      Intercompany Coin Movement     CRV                                    (3,743.8)            ($4,540.57)
   Celsius Network Limited             Celsius Network LLC                                6/2/2022   Outgoing      Intercompany Coin Movement     DOT                                    (1,000.0)            ($9,438.67)
   Celsius Network Limited             Celsius Network LLC                                6/2/2022   Outgoing      Intercompany Coin Movement     DOT                                    (1,000.0)            ($9,467.71)
   Celsius Network Limited             Celsius Network LLC                                6/2/2022   Outgoing      Intercompany Coin Movement     LTC                        (32,000.6604059)             ($2,014,186.85)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        6/2/2022   Outgoing      Intercompany Coin Movement     XRP                      (4,099,999.999973)             ($1,641,678.71)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        6/2/2022   Outgoing      Intercompany Coin Movement     XRP                          (42,465.745711)               ($17,003.69)
   Celsius Network Limited             Celsius Network LLC                                6/2/2022   Outgoing      Intercompany Coin Movement     DOT                   (180,999.247396715)               ($1,737,541.32)
   Celsius Network Limited             Celsius Network LLC                                6/2/2022   Outgoing      Intercompany Coin Movement     LUNA                                  (39,998.0)                ($4.02)
   Celsius Network Limited             Celsius Network LLC                                6/2/2022   Outgoing      Intercompany Coin Movement     LUNA                           (1,228.010059)                   ($0.12)
   Celsius Network Limited             Celsius Network LLC                                6/2/2022   Outgoing      Intercompany Coin Movement     DOT                   (156,249.982799998)               ($1,539,843.17)
   Celsius Network Limited             Celsius Network LLC                                6/2/2022   Outgoing      Intercompany Coin Movement     DOT                   (152,380.291640388)               ($1,510,751.48)
   Celsius Network Limited             Celsius Network LLC                                6/2/2022   Incoming      Intercompany Coin Movement     USDC                              11,000,000.0          $11,000,000.00
   Celsius Network Limited             Celsius Network LLC                                6/2/2022   Incoming      Intercompany Coin Movement     USDC                                904,485.14             $904,485.14
   Celsius Network Limited             Celsius Mining LLC                                 6/2/2022   Incoming      Intercompany Coin Movement     BTC                                         28.82          $860,428.32
   Celsius Network Limited             Celsius Network LLC                                6/2/2022   Incoming      Intercompany Coin Movement     ZRX                                 2,500,000.0          $1,018,936.35
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Outgoing      Intercompany Coin Movement     BTC                           (499.99995521)           ($15,215,589.47)
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Outgoing      Intercompany Coin Movement     BUSD                              (1,000,000.0)         ($1,001,000.00)
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                        (1,777.999832)             ($526,354.90)
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Outgoing      Intercompany Coin Movement     BCH                       (10,992.20964786)             ($2,000,369.03)
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Outgoing      Intercompany Coin Movement     UNI                     (394,468.69458501)              ($1,971,544.69)
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Outgoing      Intercompany Coin Movement     UMA                                   (90,000.0)          ($271,220.94)
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Outgoing      Intercompany Coin Movement     MATIC                          (433,263.8282)             ($252,473.66)
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Outgoing      Intercompany Coin Movement     PAX                                 (130,000.0)           ($129,473.07)
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Outgoing      Intercompany Coin Movement     KNC                       (621,918.7036475)             ($1,166,000.94)
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Incoming      Intercompany Coin Movement     DOT                                      4,339.7            $42,468.39
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Incoming      Intercompany Coin Movement     BTC                                          45.0        $1,330,243.94
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Incoming      Intercompany Coin Movement     BTC                                          50.0        $1,476,930.76
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Incoming      Intercompany Coin Movement     USDC                                5,800,000.0          $5,800,000.00
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Incoming      Intercompany Coin Movement     MATIC                   75,497.4482433632                   $44,332.40
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Incoming      Intercompany Coin Movement     MATIC                   47,650.8064883267                   $27,980.74
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Incoming      Intercompany Coin Movement     MATIC                   20,682.3585718942                   $12,144.76
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Incoming      Intercompany Coin Movement     MATIC                   59,606.2614014147                   $35,082.93
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Incoming      Intercompany Coin Movement     MATIC                     56,675.563528159                  $33,357.99
   Celsius Network Limited             Celsius Network LLC                                6/3/2022   Incoming      Intercompany Coin Movement     MATIC                   33,786.7001727636                   $19,886.11
   Celsius Network Limited             Celsius Network LLC                                6/6/2022   Outgoing      Intercompany Coin Movement     USDC                                  (4,103.45)            ($4,103.45)
   Celsius Network Limited             Celsius Network LLC                                6/6/2022   Outgoing      Intercompany Coin Movement     BTC                                       (200.0)       ($6,278,099.83)
   Celsius Network Limited             Celsius Network LLC                                6/6/2022   Outgoing      Intercompany Coin Movement     USDC                              (4,000,000.0)         ($4,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                6/6/2022   Outgoing      Intercompany Coin Movement     MATIC                   (244,955.40353362)                ($155,393.83)
   Celsius Network Limited             Celsius Network LLC                                6/6/2022   Outgoing      Intercompany Coin Movement     USDC                              (5,000,000.0)         ($5,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                6/6/2022   Outgoing      Intercompany Coin Movement     BTC                           (999.99997755)           ($31,467,825.29)
   Celsius Network Limited             Celsius Network LLC                                6/6/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                          4,500,000.0          $4,497,013.95
   Celsius Network Limited             Celsius Network LLC                                6/6/2022   Incoming      Intercompany Coin Movement     BTC                                           9.0          $282,674.82
   Celsius Network Limited             Celsius Network LLC                                6/6/2022   Incoming      Intercompany Coin Movement     USDC                                    4,103.45             $4,103.45
   Celsius Network Limited             Celsius Mining LLC                                 6/6/2022   Incoming      Intercompany Coin Movement     BTC                                         66.23        $2,085,918.95
   Celsius Network Limited             Celsius Network LLC                                6/6/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON             244,955.40504357                 $158,208.45
   Celsius Network Limited             Celsius Network LLC                                6/6/2022   Incoming      Intercompany Coin Movement     USDC                                1,500,000.0          $1,500,000.00
   Celsius Network Limited             Celsius Network LLC                                6/7/2022   Outgoing      Intercompany Coin Movement     ADA                      (3,601,617.629157)             ($2,093,981.65)
   Celsius Network Limited             Celsius Network LLC                                6/7/2022   Outgoing      Intercompany Coin Movement     ETH                                   (26,009.0)       ($45,316,250.47)
   Celsius Network Limited             Celsius Network LLC                                6/7/2022   Outgoing      Intercompany Coin Movement     SOL                       (200,369.6419098)             ($7,668,001.03)
   Celsius Network Limited             Celsius Network LLC                                6/7/2022   Outgoing      Intercompany Coin Movement     BUSD                              (1,000,000.0)         ($1,003,000.00)
   Celsius Network Limited             Celsius Network LLC                                6/7/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                     (325,835.6219)             ($325,582.01)
   Celsius Network Limited             Celsius Network LLC                                6/7/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                  (3,148,301.3722)            ($3,145,850.90)
   Celsius Network Limited             Celsius Network LLC                                6/7/2022   Outgoing      Intercompany Coin Movement     USDC                           (717,756.1673)             ($717,756.17)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        6/7/2022   Outgoing      Intercompany Coin Movement     XRP                        (393,082.545625)               ($154,686.99)
   Celsius Network Limited             Celsius Network LLC                                6/7/2022   Outgoing      Intercompany Coin Movement     ETH                                   (20,520.0)       ($36,548,745.78)
   Celsius Network Limited             Celsius Network LLC                                6/7/2022   Incoming      Intercompany Coin Movement     ADA                        3,601,617.462864              $2,112,781.07
   Celsius Network Limited             Celsius Network LLC                                6/7/2022   Incoming      Intercompany Coin Movement     ADA                                 2,000,000.0          $1,173,240.08
   Celsius Network Limited             Celsius Network LLC                                6/7/2022   Incoming      Intercompany Coin Movement     ETH                                     30,000.0        $52,993,180.04
   Celsius Network Limited             Celsius Network LLC                                6/7/2022   Incoming      Intercompany Coin Movement     COMP                    1,751.40752942308                  $100,740.72
   Celsius Network Limited             Celsius Network EU UAB (LT)                        6/7/2022   Incoming      Intercompany Coin Movement     ADA                          177,240.377275                $104,290.96
   Celsius Network Limited             Celsius Network EU UAB (LT)                        6/7/2022   Incoming      Intercompany Coin Movement     ADA                              6,037.235946                $3,552.50
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     WBTC                                   (1,000.0)       ($31,085,164.73)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     USDC                              (1,750,000.0)         ($1,750,000.00)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     XLM                       (162,780.1078975)                ($22,763.74)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     MANA                         (7,859.6977589)                ($7,880.58)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     MANA                    (1,182.6705224449)                  ($1,185.81)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     SNX                          (20,381.346242)               ($55,396.49)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     SNX                        (8,110.50804109)                ($22,044.36)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     SNX                                  (711.3014)             ($1,933.32)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     ETC                           (739.10956256)               ($15,889.09)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     AVAX                   (119.314344661898)                   ($2,950.24)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     BUSD                                (500,000.0)           ($499,816.50)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     USDC                              (3,200,000.0)         ($3,200,000.00)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     USDC                                (800,000.0)           ($800,000.00)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     LTC                        (4,016.99999659)               ($253,235.54)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     LTC                        (1,040.91669059)                ($65,620.39)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     BCH                           (110.14549656)               ($20,069.38)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     BCH                        (1,345.99999774)               ($244,415.84)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (5,000,000.0)         ($4,996,648.27)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     ETH                                    (4,000.0)        ($7,206,393.06)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Outgoing      Intercompany Coin Movement     WBTC                          (704.21896977)           ($21,143,241.80)
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Incoming      Intercompany Coin Movement     STETH_ETH                               10,000.0        $17,833,268.86
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Incoming      Intercompany Coin Movement     STETH_ETH                               10,000.0        $17,509,183.49
   Celsius Network Limited             Celsius Network LLC                                6/8/2022   Incoming      Intercompany Coin Movement     STETH_ETH                               10,000.0        $17,622,145.54
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Outgoing      Intercompany Coin Movement     ETC                       (4,994.013870988)               ($106,818.58)
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Outgoing      Intercompany Coin Movement     ADA                    (19,999,998.932518)             ($13,031,440.65)
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                 (170,047.564721)               ($169,936.09)
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (66,847.3151)             ($66,803.49)
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Outgoing      Intercompany Coin Movement     BUSD                              (2,000,000.0)         ($2,006,000.00)
   Celsius Network Limited             Celsius Network EU UAB (LT)                        6/9/2022   Outgoing      Intercompany Coin Movement     XRP                        (797,594.709985)               ($319,724.80)
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Outgoing      Intercompany Coin Movement     ETH                                    (1,314.0)        ($2,361,667.79)
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Outgoing      Intercompany Coin Movement     USDC                            (10,000,000.0)         ($10,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                    (100,000,000.0)          ($99,940,219.11)
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Outgoing      Intercompany Coin Movement     TCAD                              (1,435,000.0)         ($1,129,876.28)
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Outgoing      Intercompany Coin Movement     TAUD                              (5,210,000.0)         ($3,699,099.02)
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Outgoing      Intercompany Coin Movement     TGBP                              (7,690,000.0)         ($9,609,677.94)
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Incoming      Intercompany Coin Movement     STETH_ETH                               10,000.0        $17,661,127.17
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Incoming      Intercompany Coin Movement     STETH_ETH                          10,000.0001          $17,661,127.35
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Incoming      Intercompany Coin Movement     USDC                                1,055,000.0          $1,055,000.00
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Incoming      Intercompany Coin Movement     BNB_BSC                  0.49837388371628                     $144.11
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Incoming      Intercompany Coin Movement     ETH                                      1,300.0         $2,333,347.97
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Incoming      Intercompany Coin Movement     SOL                                   200,000.0          $8,059,730.58
   Celsius Network Limited             Celsius Mining LLC                                 6/9/2022   Incoming      Intercompany Coin Movement     BTC                                         49.45        $1,494,554.62
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Incoming      Intercompany Coin Movement     BNB_BSC                       315.999873916                 $91,780.33
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Incoming      Intercompany Coin Movement     DOT                                   332,000.0          $3,057,550.32
   Celsius Network Limited             Celsius Network LLC                                6/9/2022   Incoming      Intercompany Coin Movement     LINK                                1,000,000.0          $9,488,596.27
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Outgoing      Intercompany Coin Movement     BTC                                       (300.0)       ($9,023,690.44)
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Outgoing      Intercompany Coin Movement     ETC                       (25,705.99129923)               ($541,300.02)
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Outgoing      Intercompany Coin Movement     BTC                             (500.0009687)          ($15,013,027.93)
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Outgoing      Intercompany Coin Movement     USDC                            (10,000,000.0)         ($10,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Outgoing      Intercompany Coin Movement     TUSD                              (2,000,000.0)         ($2,002,000.00)
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                        Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
                                                                                                    Pg       71    of   77
                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN       COIN QUANTITY                    COIN USD
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Outgoing      Intercompany Coin Movement     ETH                    (19,999.9981012385)              ($33,571,156.12)
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Outgoing      Intercompany Coin Movement     AAVE                                      (270.0)           ($23,441.24)
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Outgoing      Intercompany Coin Movement     ETC                           (24,999.999979)              ($501,221.77)
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Outgoing      Intercompany Coin Movement     BTC                                       (400.0)       ($11,634,707.96)
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Outgoing      Intercompany Coin Movement     LINK                             (20,129.5875)             ($165,523.31)
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Incoming      Intercompany Coin Movement     ETH                      19,999.9981012386               $33,571,156.12
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Incoming      Intercompany Coin Movement     ETH                                     42,000.0         $72,241,059.63
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Incoming      Intercompany Coin Movement     USDC                                1,000,000.0           $1,000,000.00
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Incoming      Intercompany Coin Movement     WBTC                                        27.42           $806,701.91
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Incoming      Intercompany Coin Movement     DOGE                    25,974,639.5789769                $2,000,503.37
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Incoming      Intercompany Coin Movement     ADA                                   658,001.0             $386,685.52
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Incoming      Intercompany Coin Movement     WBTC                                        12.47           $362,881.23
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                15,497,327.789884              $15,484,915.81
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Incoming      Intercompany Coin Movement     WBTC                             536.10681926            $15,568,395.57
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Incoming      Intercompany Coin Movement     MATIC                    58,991.6545996834                   $35,636.15
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Incoming      Intercompany Coin Movement     MATIC                    66,670.2666083605                   $40,274.71
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Incoming      Intercompany Coin Movement     MATIC                    33,499.3412470623                   $20,236.55
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Incoming      Intercompany Coin Movement     MATIC                    53,614.1597562179                   $32,387.67
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Incoming      Intercompany Coin Movement     MATIC                    45,828.6983878577                   $27,684.57
   Celsius Network Limited             Celsius Network LLC                               6/10/2022   Incoming      Intercompany Coin Movement     MATIC                     20,845.623868597                   $12,592.59
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     BTC                            (506.44992109)           ($14,514,115.12)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     USDC                         (3,995,762.9447)            ($3,995,762.94)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     USDC                            (12,000,000.0)          ($12,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     USDC                            (20,000,000.0)          ($20,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     ETH                                    (8,800.0)        ($13,530,231.59)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     BUSD                              (2,000,000.0)          ($1,997,642.00)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     ADA                     (16,739,130.262123)              ($9,203,510.90)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     ADA                     (11,999,999.614174)              ($6,597,846.45)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (1,000,000.0)            ($999,062.01)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                                (2,000.0)           ($534,492.45)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     BTC                                       (500.0)       ($14,143,933.20)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     BTC                             (72.40228189)            ($2,056,156.39)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     BTC                                       (500.0)       ($14,247,561.33)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     USDC                            (25,000,000.0)          ($25,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     USDC                            (40,000,000.0)          ($40,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     DOT                    (49,999.9828999984)                 ($411,712.98)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                   (1,960,032.2119)            ($1,958,121.42)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     XLM                           (302,999.99999)               ($38,199.45)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     BUSD                              (1,000,000.0)          ($1,005,000.00)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     LTC                         (3,225.45369245)               ($171,227.40)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     XRP                         (999,999.992667)               ($365,356.17)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     BTC                         (1,499.99997192)            ($42,890,889.90)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Outgoing      Intercompany Coin Movement     MATIC                             (5,000,000.0)          ($2,755,585.00)
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Incoming      Intercompany Coin Movement     ETH                      9,879.99793604986               $14,921,455.28
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                 3,424,444.849106               $3,421,309.67
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Incoming      Intercompany Coin Movement     AVAX                                    7,408.97            $147,743.06
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Incoming      Intercompany Coin Movement     AAVE                     50,110.9585841781                $3,945,831.90
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Incoming      Intercompany Coin Movement     BSV                                     14,000.0            $727,950.60
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Incoming      Intercompany Coin Movement     ADA                               10,000,000.0            $5,598,269.76
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Incoming      Intercompany Coin Movement     ETC                                     25,000.0            $458,417.50
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Incoming      Intercompany Coin Movement     ZRX                                 1,750,000.0             $584,399.50
   Celsius Network Limited             Celsius Network LLC                               6/11/2022   Incoming      Intercompany Coin Movement     ETH                                      2,546.0          $3,953,328.92
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     AAVE                                  (5,237.11)           ($404,242.84)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     DOT                    (149,999.982899998)               ($1,171,348.29)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/12/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                         (8.519495664)                ($2,236.58)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     ETC                           (24,994.999958)              ($429,357.91)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/12/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                   (1,199.999873916)                ($308,304.59)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     LINK                           (612.83272222)                ($4,046.42)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/12/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                   (1,299.999873916)                ($333,996.64)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/12/2022   Outgoing      Intercompany Coin Movement     XRP                     (10,721,186.999985)              ($3,679,846.63)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     DOT                    (50,016.2368088984)                 ($384,453.31)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     XLM                           (3,011.2301255)                  ($361.81)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/12/2022   Outgoing      Intercompany Coin Movement     XRP                         (178,216.438385)                ($61,384.36)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     XRP                      (33,002,574.21631)             ($11,399,806.23)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     DOGE                  (3,999,999.06111619)                 ($264,829.31)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     DOGE                      (16,437.73937517)                  ($1,088.34)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     DOGE                  (2,011,269.16837173)                 ($133,241.60)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     BUSD                                (200,000.0)            ($200,200.00)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     XLM                     (5,999,999.9939877)                ($727,298.20)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     MANA                                (400,000.0)            ($315,745.30)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/12/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                      (499.999873916)               ($128,970.34)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     ETH                    (5,787.99906779371)               ($8,477,135.14)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     USDC                            (10,000,000.0)          ($10,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (2,000,000.0)          ($1,998,164.05)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     USDC                            (29,800,000.0)          ($29,800,000.00)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                 (17,999,998.2119)            ($17,981,919.43)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     ETH                    (6,656.99911711633)               ($9,785,079.35)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     USDC                              (3,000,000.0)          ($3,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     BUSD                                (649,999.0)            ($651,949.00)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     TUSD                                (449,999.0)            ($450,449.00)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     SGB                    (989,999.976164748)                  ($28,303.65)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     MATIC                             (3,000,000.0)          ($1,543,785.00)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     USDC                              (9,999,999.0)          ($9,999,999.00)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     BTC                            (130.99997618)            ($3,589,776.04)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     LTC                         (5,020.13756334)               ($250,466.77)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     MATIC                        (6,995,993.2358)            ($3,717,181.09)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     BTC                            (299.99997849)            ($8,350,676.47)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     BTC                            (173.19007521)            ($4,820,848.31)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     MATIC                     (92,932.57396897)                 ($49,377.86)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     BUSD                                (249,999.0)            ($251,998.99)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     LTC                         (3,443.43051474)               ($176,927.52)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                      (999.999873916)               ($264,834.84)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     SOL                           (24,999.999995)              ($840,999.42)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     USDC                            (39,999,997.5)          ($39,999,997.50)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Outgoing      Intercompany Coin Movement     USDC                            (99,999,999.0)          ($99,999,999.00)
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Incoming      Intercompany Coin Movement     DOGE                                  200,000.0              $13,860.08
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Incoming      Intercompany Coin Movement     BTC                                  0.0092137                  $252.88
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Incoming      Intercompany Coin Movement     BTC                                  0.0092137                  $252.88
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Incoming      Intercompany Coin Movement     USDC                       5,000,000.409351               $5,000,000.41
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON            92,937.5778486725                   $49,615.06
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Incoming      Intercompany Coin Movement     ETH                                      3,795.0          $5,607,489.71
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Incoming      Intercompany Coin Movement     WBTC                                     3,500.0         $95,480,636.64
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Incoming      Intercompany Coin Movement     WBTC                                     2,500.0         $67,630,396.42
   Celsius Network Limited             Celsius Network LLC                               6/12/2022   Incoming      Intercompany Coin Movement     ETH                                     50,000.0         $73,072,612.34
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Outgoing      Intercompany Coin Movement     USDC                            (49,999,995.0)          ($49,999,995.00)
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Outgoing      Intercompany Coin Movement     WBTC                                   (2,000.0)        ($47,670,320.21)
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Outgoing      Intercompany Coin Movement     BTC                                     (175.25)         ($4,186,357.35)
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Outgoing      Intercompany Coin Movement     SOL                                (1.4477023)                  ($41.47)
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Outgoing      Intercompany Coin Movement     MATIC                            (24,408.4682)              ($10,865.87)
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Outgoing      Intercompany Coin Movement     MATIC                               (576,900.0)            ($253,468.51)
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Outgoing      Intercompany Coin Movement     MATIC                                        (7.5)               ($3.30)
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Outgoing      Intercompany Coin Movement     MATIC                               (499,995.0)            ($219,238.31)
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Outgoing      Intercompany Coin Movement     BNB_BSC                                      (0.2)              ($45.53)
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Outgoing      Intercompany Coin Movement     XLM                      (2,000,004.786023)                ($219,436.71)
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Outgoing      Intercompany Coin Movement     ETH                                   (10,888.0)        ($13,316,674.01)
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     WBTC                                     3,500.0         $92,502,745.43
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     PAX                     1,939,067.20524806                $1,936,640.96
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     TUSD                      299,837.88629822                  $299,163.55
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     MATIC                   2,466,812.66438055                $1,169,789.70
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     BCH                         18,113.93718329               $2,556,219.58
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     UNI                      255,648.162975712                  $995,387.20
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     KNC                      601,849.671199833                  $806,404.16
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     ETH                                      1,356.0          $1,836,589.48
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     ETH                                          86.0           $116,479.86
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     ETH                                          46.0            $62,303.18
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     ETH                                          26.0            $35,214.84
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     ETH                                          14.0            $18,961.84
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     ETH                                         500.0           $679,169.50
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     BTC                                 0.26782714                $6,642.37
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     ETH                                      1,900.0          $2,272,764.86
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     EURT_ERC20                 5,000,572.578405               $5,282,138.43
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     SNX                       6,641,543.3119333              $12,508,974.86
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     ADA                       78,427,508.430455              $37,904,254.46
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON            772,095.161460428                  $344,759.55
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON            37,819.9980978512                   $16,887.56
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     ETH                                         500.0           $619,174.73
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09     Main Document                      Case Number: 22-10966
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                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE               COIN       COIN QUANTITY                  COIN USD
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     ADA                        23,020,650.894917            $10,870,490.21
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     ADA                               2,323.784019               $1,097.38
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     COMP                                    28.17813             $1,011.74
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     COMP                                        20.75             $745.03
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     COMP                       913.816366568236                 $32,810.63
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     TGBP                     7,565,441.45983001              $9,181,871.34
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     ZEC                            50,397.5229351            $3,402,920.88
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     TAUD                     2,969,913.67663142              $2,056,665.47
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     DOGE                     33,082,004.5768651              $1,864,320.59
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     TCAD                     1,818,583.86844902              $1,410,246.69
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     ETH                                      10,810.0       $13,221,275.35
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     BBTC                             802.81624895           $18,404,562.51
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     MATIC                    25,170,690.9054832             $10,608,112.17
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Outgoing      Intercompany Coin Movement     SNX                    (6,641,543.31193331)            ($12,508,974.86)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/13/2022   Incoming      Intercompany Coin Movement     COMP                                    3.794913              $136.26
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     ERC-20 TOKEN             2,452,411.29582233               Undetermined
   Celsius Network Limited             Celsius Network LLC                               6/13/2022   Incoming      Intercompany Coin Movement     ERC-20 TOKEN             1,447,539.63700971               Undetermined
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Outgoing      Intercompany Coin Movement     WBTC                              (1,499.99995)        ($33,521,336.54)
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Outgoing      Intercompany Coin Movement     WBTC                                  (499.9999)       ($10,694,218.95)
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Outgoing      Intercompany Coin Movement     ETH                      (312.298865932923)               ($381,872.81)
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (2,882,899.67)         ($2,879,475.76)
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                    (5,789,998.6843)          ($5,783,515.35)
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                         (3,000,000.0)        ($2,996,904.91)
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (15,000,000.0)        ($14,984,524.55)
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Outgoing      Intercompany Coin Movement     ETH                                     (5,677.0)       ($6,891,882.05)
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Outgoing      Intercompany Coin Movement     UNI                     (2,494.33729714701)                 ($9,288.30)
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Outgoing      Intercompany Coin Movement     UNI                                     (1,469.5)           ($5,472.06)
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Outgoing      Intercompany Coin Movement     ETH                                       (711.0)         ($869,059.11)
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20               (29,999,999.008711)           ($29,970,884.84)
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Outgoing      Intercompany Coin Movement     ETH                                       (899.0)       ($1,054,146.09)
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Incoming      Intercompany Coin Movement     BTC                                           9.6          $202,681.69
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Incoming      Intercompany Coin Movement     USDC                                 1,000,000.0         $1,000,000.00
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Incoming      Intercompany Coin Movement     EURT_ERC20                           1,958,886.0         $2,067,380.50
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Incoming      Intercompany Coin Movement     XLM                                   892,651.33           $101,829.89
   Celsius Network Limited             Celsius Mining LLC                                6/14/2022   Incoming      Intercompany Coin Movement     BTC                                         81.82        $1,852,828.90
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Incoming      Intercompany Coin Movement     MATIC                                    21,500.0            $8,793.80
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Incoming      Intercompany Coin Movement     ETH                                         899.0        $1,054,146.09
   Celsius Network Limited             Celsius Network LLC                               6/14/2022   Incoming      Intercompany Coin Movement     USDC                           700,539.027925              $700,539.03
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     BTC                                  2.80520969             $61,880.45
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     BTC                                19.69914759             $434,541.15
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     BTC                                  0.46575019             $10,274.36
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     LTC                                73.60299659               $3,237.75
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     XRP                              88,069.999985              $27,440.52
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     EOS                                 11,078.6882             $10,185.24
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     BCH                                  10.3937537              $1,294.78
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     BUSD                           64,302.4104743               $64,168.28
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     DASH                               20.82170992                $882.68
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     LINK                       239.156962166032                  $1,462.66
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     OMG                                   662.41009              $1,228.07
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     PAXG                       4.11860474441667                  $7,530.45
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     PAXG                       4.11778102346779                  $7,530.45
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     ADA                               8,499.833707               $4,173.03
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     GUSD                                      8,200.0            $8,211.16
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     UNI                        203.224297147012                   $753.56
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     ETH                        65.8873197957734                 $79,033.20
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     ETH                        4.96058445057157                  $5,952.18
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     ETH                        1.49095258665474                  $1,790.39
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     XRP                                  8,570,000.0         $2,739,393.96
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     ETH                        616.998724649569                $752,440.40
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/14/2022   Incoming      Intercompany Coin Movement     ETH                                          22.0           $26,829.32
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Outgoing      Intercompany Coin Movement     USDC                      (3,203,158.638105)            ($3,203,158.64)
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                (7,566,437.058145)            ($7,557,269.50)
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Outgoing      Intercompany Coin Movement     USDC                         (667,458.733279)             ($667,458.73)
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Outgoing      Intercompany Coin Movement     ETH                                       (445.0)         ($530,173.50)
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     ETH                                         110.0          $112,843.09
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     ETH                                         265.0          $273,053.24
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     USDC                             72,266.053263              $72,266.05
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     DOT                              25,507.956657             $183,354.47
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     TUSD                         60,014.86056972                $60,014.86
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                     566,437.058145              $565,633.11
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     USDC                           322,887.467807              $322,887.47
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     USDC                                122,106.398            $122,106.40
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     USDC                             46,904.070544              $46,904.07
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     USDC                                     99,000.0           $99,000.00
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     USDC                                 708.422561               $708.42
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     PAX                              20,406.301513              $20,445.17
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     PAX                                       5,000.0            $5,009.52
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     BNB_BSC                      1,003.078849264               $213,668.29
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     BNB_BSC                            0.423340801                  $90.20
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     USDC                              3,586.321104               $3,586.32
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     AVAX                       972.453705827108                 $15,331.35
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     AVAX                       1.10112858901774                     $17.38
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     DASH                         15,332.44814098               $641,447.83
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     DASH                                 6.20093538               $259.42
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     DASH                                          1.0               $41.84
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     DASH                                          2.0               $84.53
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     DASH                                         15.0             $633.98
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     MATIC                    29,697,082.1413665             $11,570,666.24
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     MATIC                    36,928,908.1999587             $14,388,352.00
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     MATIC                    31,659,401.3789844             $12,335,230.94
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     MATIC                        17,978,290.27969            $7,004,755.39
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     MATIC                    11,095,943.6354214              $4,323,234.85
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     MATIC                     29,714.7325330909                 $11,577.54
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     BTC                              359.64988222            $7,655,105.81
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     BTC                                89.12200916           $1,896,973.97
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     LINK                      10,972.4534140445                 $68,310.99
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     LINK                      4,920.80534361254                 $30,635.36
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     LINK                                     23,500.0          $148,448.89
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     LTC                              161.39162099                $7,176.44
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     LTC                                42.19876622               $1,974.92
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     BTC                              135.08984775            $2,955,435.15
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     TUSD                       1,000,612.9892035             $1,004,615.44
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Incoming      Intercompany Coin Movement     MATIC                    2,443,651.89175177              $1,019,865.45
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Outgoing      Intercompany Coin Movement     MATIC                  (31,659,401.3789845)            ($12,335,230.94)
   Celsius Network Limited             Celsius Network LLC                               6/15/2022   Outgoing      Intercompany Coin Movement     MATIC                  (29,697,082.1413666)            ($11,570,666.24)
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/15/2022   Incoming      Intercompany Coin Movement     XRP                        24,610,790.654631             $7,652,962.98
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/15/2022   Incoming      Intercompany Coin Movement     ETH                                          71.0           $79,238.55
   Celsius Network Limited             Celsius Network LLC                               6/16/2022   Outgoing      Intercompany Coin Movement     ETH                                     (9,300.0)      ($10,436,669.89)
   Celsius Network Limited             Celsius Network LLC                               6/16/2022   Outgoing      Intercompany Coin Movement     GUSD                                (561,873.66)          ($563,557.98)
   Celsius Network Limited             Celsius Network LLC                               6/16/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                         (5,000,000.0)        ($4,994,352.13)
   Celsius Network Limited             Celsius Network LLC                               6/16/2022   Incoming      Intercompany Coin Movement     USDC                            2,472,386.0616           $2,472,386.06
   Celsius Network Limited             Celsius Network LLC                               6/16/2022   Incoming      Intercompany Coin Movement     EOS                                 10,785.7789             $10,119.22
   Celsius Network Limited             Celsius Network LLC                               6/16/2022   Incoming      Intercompany Coin Movement     BCH                                31.38247936               $3,512.19
   Celsius Network Limited             Celsius Network LLC                               6/16/2022   Incoming      Intercompany Coin Movement     ETH                                          39.0           $43,043.84
   Celsius Network Limited             Celsius Network LLC                               6/16/2022   Incoming      Intercompany Coin Movement     ETH                                         150.0          $165,553.23
   Celsius Network Limited             Celsius Network LLC                               6/16/2022   Incoming      Intercompany Coin Movement     ETH                                         258.0          $284,751.56
   Celsius Network Limited             Celsius Network LLC                               6/16/2022   Incoming      Intercompany Coin Movement     ETC                       23,219.8057969182                $330,433.49
   Celsius Network Limited             Celsius Network LLC                               6/16/2022   Incoming      Intercompany Coin Movement     GUSD                                  553,673.66           $554,692.24
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/16/2022   Incoming      Intercompany Coin Movement     BSV                                  3.34336114               $172.89
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/16/2022   Incoming      Intercompany Coin Movement     ETH                                          20.0           $22,240.94
   Celsius Network Limited             Celsius Network LLC                               6/17/2022   Outgoing      Intercompany Coin Movement     WBTC                           (999.99994999)          ($20,365,556.59)
   Celsius Network Limited             Celsius Network LLC                               6/17/2022   Outgoing      Intercompany Coin Movement     AVAX                     (980.164141511694)                ($16,005.16)
   Celsius Network Limited             Celsius Network LLC                               6/17/2022   Outgoing      Intercompany Coin Movement     CRV                    (1,138,849.12932858)               ($779,521.95)
   Celsius Network Limited             Celsius Network LLC                               6/17/2022   Outgoing      Intercompany Coin Movement     ADA                    (122,470,400.925702)            ($60,416,582.39)
   Celsius Network Limited             Celsius Network LLC                               6/17/2022   Outgoing      Intercompany Coin Movement     USDC                               (1,125,000.0)        ($1,125,000.00)
   Celsius Network Limited             Celsius Network LLC                               6/17/2022   Outgoing      Intercompany Coin Movement     DAI                      (29.1662221467942)                    ($29.18)
   Celsius Network Limited             Celsius Network LLC                               6/17/2022   Outgoing      Intercompany Coin Movement     UNI                                     (1,727.0)           ($6,829.01)
   Celsius Network Limited             Celsius Network LLC                               6/17/2022   Outgoing      Intercompany Coin Movement     UNI                                     (1,770.0)           ($6,999.05)
   Celsius Network Limited             Celsius Network LLC                               6/17/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                    (5,980,591.7683)          ($5,973,880.12)
   Celsius Network Limited             Celsius Network LLC                               6/17/2022   Incoming      Intercompany Coin Movement     BCH                                  3.41577309               $388.17
   Celsius Network Limited             Celsius Network LLC                               6/17/2022   Incoming      Intercompany Coin Movement     BTC                                  0.12384449              $2,612.18
   Celsius Network Limited             Celsius Network LLC                               6/17/2022   Incoming      Intercompany Coin Movement     DOT                              8.9651999484                   $66.05
   Celsius Network Limited             Celsius Network LLC                               6/17/2022   Incoming      Intercompany Coin Movement     DOT                             990.130758012                $7,280.55
   Celsius Network Limited             Celsius Network LLC                               6/17/2022   Incoming      Intercompany Coin Movement     DOT                         10,984.780775816                $80,771.09
   Celsius Network Limited             Celsius Network LLC                               6/17/2022   Incoming      Intercompany Coin Movement     ADA                        21,068,459.825787            $10,356,812.33
   Celsius Network Limited             Celsius Network LLC                               6/17/2022   Incoming      Intercompany Coin Movement     BAT                       923,990.226196504                $313,543.90
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                                                             Doc 15         Filed    03/24/23
                                                                               Statement of Financial Affairs forEntered          03/24/23
                                                                                                                 Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                        Case Number: 22-10966
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                 CELSIUS ENTITY                              COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN       COIN QUANTITY                    COIN USD
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     BTC                                 1.22215201               $25,493.04
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     BTC                                 0.88154781               $18,388.38
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     BAT                        701,720.61271118                 $238,119.64
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     ZEC                           7,075.99360306                $444,458.40
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     DOT                      43,818.1181748142                  $320,030.07
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     PAX                      326,662.022641645                  $327,055.75
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     AVAX                     15,633.0738129345                  $251,488.77
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     ZRX                      546,152.698166099                  $143,874.36
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     DOGE                    2,052,687.39715947                  $116,096.82
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     XTZ                             40,901.153236                $57,047.57
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     BNT                      72,371.4251306764                   $40,692.71
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     KNC                      29,785.3146126531                   $40,649.73
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     SUSHI                    35,903.6025391368                   $35,219.51
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     COMP                        972.33333741984                  $30,480.59
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     SGB                      876,746.289773426                   $26,977.44
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     OMG                      12,247.6593129045                   $22,733.64
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     LPT                      2,940.62525019626                   $22,392.71
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     MKR                       17.7064959496319                   $13,568.78
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     PAXG                      6.39832976522044                   $11,825.83
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     CRV                      17,469.6087010921                   $11,635.11
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     MANA                     5,993.41647028125                    $5,048.32
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     BADGER                    597.830732968642                    $1,901.13
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     1INCH                    1,624.03791015863                     $958.32
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     TUSD                            418.22025606                   $419.06
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     BUSD                      357.820300992942                     $358.18
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     SOL                          4,578.102469079                $143,153.46
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     BCH                           5,320.78131337                $607,335.78
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     DOGE                    6,466,508.93166263                  $365,797.21
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     ETC                      11,908.6815491787                  $168,293.23
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     AVAX                     10,448.1677668029                  $168,263.23
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     DOT                      22,136.5562500402                  $161,094.44
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     KNC                      69,080.1731500276                   $94,583.79
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     XLM                          824,647.4239537                 $92,251.00
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     BSV                           1,116.74659206                 $60,631.98
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     PAX                      68,371.9181987549                   $68,297.14
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     SOL                          1,525.432132228                 $47,366.25
   Celsius Network Limited             Celsius Mining LLC                                 6/17/2022   Incoming      Intercompany Coin Movement     BTC                                           0.01             $205.87
   Celsius Network Limited             Celsius Mining LLC                                 6/17/2022   Incoming      Intercompany Coin Movement     BTC                                          42.12          $867,104.05
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     ETH                                       3,980.0         $4,352,021.86
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     USDC                            74,860.060823                $74,860.06
   Celsius Network Limited             Celsius Network LLC                                6/17/2022   Incoming      Intercompany Coin Movement     PAXG                      6.39960968715787                   $11,825.83
   Celsius Network Limited             Celsius Network LLC                                6/18/2022   Outgoing      Intercompany Coin Movement     USDC                            (20,000,000.0)          ($20,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                6/18/2022   Outgoing      Intercompany Coin Movement     USDC                            (14,999,995.0)          ($14,999,995.00)
   Celsius Network Limited             Celsius Network LLC                                6/18/2022   Outgoing      Intercompany Coin Movement     USDC                            (19,999,995.0)          ($19,999,995.00)
   Celsius Network Limited             Celsius Network LLC                                6/18/2022   Outgoing      Intercompany Coin Movement     USDC                      (4,274,860.060823)             ($4,274,860.06)
   Celsius Network Limited             Celsius Network LLC                                6/18/2022   Outgoing      Intercompany Coin Movement     USDC                              (4,350,000.0)          ($4,350,000.00)
   Celsius Network Limited             Celsius Network LLC                                6/18/2022   Incoming      Intercompany Coin Movement     LINK                    6,705,219.56556844               $37,031,162.88
   Celsius Network Limited             Celsius Network LLC                                6/18/2022   Incoming      Intercompany Coin Movement     LINK                                      1,000.0             $5,522.74
   Celsius Network Limited             Celsius Network LLC                                6/18/2022   Incoming      Intercompany Coin Movement     XAUT2                               573.476941            $1,055,331.07
   Celsius Network Limited             Celsius Network LLC                                6/18/2022   Incoming      Intercompany Coin Movement     XLM                             90,834.538243                 $9,603.30
   Celsius Network Limited             Celsius Network LLC                                6/18/2022   Incoming      Intercompany Coin Movement     BTC                                 0.48534241                $9,028.52
   Celsius Network Limited             Celsius Network LLC                                6/18/2022   Incoming      Intercompany Coin Movement     BTC                                 1.63919054               $30,489.79
   Celsius Network Limited             Celsius Network LLC                                6/18/2022   Incoming      Intercompany Coin Movement     BUSD                     6,129.94034049906                    $6,122.37
   Celsius Network Limited             Celsius Network LLC                                6/18/2022   Incoming      Intercompany Coin Movement     MKR                               26.54553869                $18,089.14
   Celsius Network Limited             Celsius Network LLC                                6/18/2022   Incoming      Intercompany Coin Movement     XLM                       5,740,589.5302122                 $606,911.87
   Celsius Network Limited             Celsius Network LLC                                6/18/2022   Incoming      Intercompany Coin Movement     BTC                               19.21001572               $357,318.71
   Celsius Network Limited             Celsius Network LLC                                6/18/2022   Incoming      Intercompany Coin Movement     XAUT2                                 15.554064              $28,623.10
   Celsius Network Limited             Celsius Network LLC                                6/19/2022   Outgoing      Intercompany Coin Movement     LINK                  (5,806,860.00075256)              ($38,389,114.19)
   Celsius Network Limited             Celsius Network LLC                                6/19/2022   Incoming      Intercompany Coin Movement     ETH                                          46.52           $45,097.39
   Celsius Network Limited             Celsius Network LLC                                6/19/2022   Incoming      Intercompany Coin Movement     BTC                               83.64639238             $1,704,669.06
   Celsius Network Limited             Celsius Network LLC                                6/19/2022   Incoming      Intercompany Coin Movement     ETH                                          135.0          $152,506.68
   Celsius Network Limited             Celsius Network LLC                                6/19/2022   Incoming      Intercompany Coin Movement     ETH                       27.1423064876386                   $26,313.35
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     ETH                                     (3,300.0)        ($3,541,272.59)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     ADA                       (1,068,450.249636)               ($537,080.40)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     SUSHI                  (179,170.082539136)                 ($197,265.68)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     SUSHI                            (36,254.0291)              ($39,915.57)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     BAT                     (1,632,984.0463319)                ($615,907.29)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     RENBTC                            (4.78734558)              ($98,318.02)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     SNX                     (6,540,847.4853303)             ($18,009,236.70)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     SNX                                   (555.6778)             ($1,529.97)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     SNX                               (16.0126374)                  ($44.09)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     SUSD                   (30,675.1012080172)                  ($30,611.08)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     UNI                            (114,273.1127)              ($492,892.69)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     UNI                      (257,999.83077571)              ($1,112,827.22)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                  (159,605.947742)               ($159,450.71)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     COMP                                       (300.0)           ($9,941.18)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     EOS                                (30,580.123)             ($29,329.75)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     KNC                                (27,520.185)             ($35,654.02)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     MANA                               (35,702.971)             ($29,564.04)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     XLM                                  (353,105.0)            ($40,446.60)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     AAVE                                (718.24583)             ($44,706.41)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     BNT                                    (10,997.5)            ($5,819.08)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Outgoing      Intercompany Coin Movement     OMG                                    (15,699.5)           ($29,413.26)
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     SNX                     6,540,847.48533031               $18,009,236.70
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     USDC                        1,887,124.104948              $1,887,124.10
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     BUSD                            136.94927511                   $137.63
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     PAX                           3,552.98666113                  $3,555.04
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     TUSD                                     2,776.43             $2,781.98
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     TUSD                            310.99891409                   $311.62
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     BTC                                 0.56131261               $11,731.83
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     PAXG                      5.11179176735897                    $9,426.10
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     PAXG                        5.1107694090055                   $9,426.10
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     PAXG                      1.02640377532057                    $1,892.68
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     PAXG                        1.0261984945655                   $1,892.68
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     AVAX                     104,664.997842208                $1,837,536.97
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     AVAX                      169.052730998595                    $2,967.97
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     BNB_BSC                           0.799999916                  $172.19
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     DOGE                       333,858.68325374                  $20,201.35
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     DOGE                         120,125.0835914                  $7,268.63
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     DOGE                         39,059.87248726                  $2,363.51
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     TAUD                     810,034.686553503                  $565,646.69
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     USDC                            30,645.711625                $30,645.71
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     USDC                             6,864.361671                 $6,864.36
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     LINK                      524.542058338103                    $3,726.18
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     ZRX                      466,322.525077634                  $130,168.32
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     ZRX                      246,538.256103807                   $68,818.19
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     USDC                            52,579.640175                $52,579.64
   Celsius Network Limited             Celsius Network LLC                                6/20/2022   Incoming      Intercompany Coin Movement     BTC                                 1.76047433               $35,433.45
   Celsius Network Limited             Celsius Network LLC                                6/21/2022   Outgoing      Intercompany Coin Movement     ADA                     (13,849,999.461037)              ($6,958,505.62)
   Celsius Network Limited             Celsius Network LLC                                6/21/2022   Incoming      Intercompany Coin Movement     USDC                            18,959.608092                $18,959.61
   Celsius Network Limited             Celsius Network LLC                                6/21/2022   Incoming      Intercompany Coin Movement     USDC_AVAX                             96.133445                  $96.11
   Celsius Network Limited             Celsius Network LLC                                6/21/2022   Incoming      Intercompany Coin Movement     AVAX                                           0.5                $8.90
   Celsius Network Limited             Celsius Network LLC                                6/21/2022   Incoming      Intercompany Coin Movement     BNB_BSC                             0.19968479                   $44.31
   Celsius Network Limited             Celsius Network LLC                                6/21/2022   Incoming      Intercompany Coin Movement     COMP                      942.649407054348                   $39,901.47
   Celsius Network Limited             Celsius Mining LLC                                 6/21/2022   Incoming      Intercompany Coin Movement     BTC                                          53.89        $1,159,034.63
   Celsius Network Limited             Celsius Network LLC                                6/21/2022   Incoming      Intercompany Coin Movement     MATIC                                         20.0                $8.52
   Celsius Network Limited             Celsius Network LLC                                6/22/2022   Incoming      Intercompany Coin Movement     MANA                     48,469.2935843781                   $39,737.12
   Celsius Network Limited             Celsius Network LLC                                6/22/2022   Incoming      Intercompany Coin Movement     MANA                            624.88242735                   $512.30
   Celsius Network Limited             Celsius Network LLC                                6/22/2022   Incoming      Intercompany Coin Movement     MANA                                 10,687.501               $8,762.05
   Celsius Network Limited             Celsius Network LLC                                6/22/2022   Incoming      Intercompany Coin Movement     MATIC                        11,291.23621534                  $4,599.25
   Celsius Network Limited             Celsius Network LLC                                6/22/2022   Incoming      Intercompany Coin Movement     MATIC                    1,663.44669739256                     $677.57
   Celsius Network Limited             Celsius Network LLC                                6/22/2022   Incoming      Intercompany Coin Movement     USDC                          110,327.214102                $110,327.21
   Celsius Network Limited             Celsius Network LLC                                6/22/2022   Incoming      Intercompany Coin Movement     USDC_POLYGON                                 356.0             $356.36
   Celsius Network Limited             Celsius Network LLC                                6/22/2022   Incoming      Intercompany Coin Movement     BNT                      40,965.4666936055                   $20,391.64
   Celsius Network Limited             Celsius Network LLC                                6/22/2022   Incoming      Intercompany Coin Movement     BNT                                      2,222.75             $1,106.43
   Celsius Network Limited             Celsius Network LLC                                6/22/2022   Incoming      Intercompany Coin Movement     BNT                                      319.132               $158.86
   Celsius Network Limited             Celsius Network LLC                                6/22/2022   Incoming      Intercompany Coin Movement     XAUT2                                 261.02091             $480,936.57
   Celsius Network Limited             Celsius Network LLC                                6/22/2022   Incoming      Intercompany Coin Movement     XRP                         2,536,216.845749                $814,130.81
   Celsius Network Limited             Celsius Network LLC                                6/22/2022   Incoming      Intercompany Coin Movement     XRP                              1,578.781483                  $506.79
   Celsius Network Limited             Celsius Network LLC                                6/22/2022   Incoming      Intercompany Coin Movement     MANA                              38.05521852                    $30.82
   Celsius Network Limited             Celsius Network LLC                                6/22/2022   Incoming      Intercompany Coin Movement     USDC                                       944.17              $944.17
   Celsius Network Limited             Celsius Network LLC                                6/22/2022   Incoming      Intercompany Coin Movement     DOT                     1,100,000.98289999                $8,403,797.82
   Celsius Network Limited             Celsius Network LLC                                6/23/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                  (459,928.229551)               ($459,552.26)
   Celsius Network Limited             Celsius Network LLC                                6/23/2022   Outgoing      Intercompany Coin Movement     ADA                       (4,730,893.034339)             ($2,214,979.59)
   Celsius Network Limited             Celsius Network LLC                                6/23/2022   Incoming      Intercompany Coin Movement     USDC_POLYGON                    21,104.801667                $21,104.80
   Celsius Network Limited             Celsius Network LLC                                6/23/2022   Incoming      Intercompany Coin Movement     BTC                                 1.45251457               $29,877.09
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                         Doc 15            Filed    03/24/23
                                                                              Statement of Financial Affairs forEntered          03/24/23
                                                                                                                Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                       Case Number: 22-10966
                                                                                             SOFA Question 4: Intercompany Transfers
                                                                                                    Pg       74    of   77
                                                                                                Intercompany Coin Transactions

                 CELSIUS ENTITY                             COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN       COIN QUANTITY                   COIN USD
   Celsius Network Limited             Celsius Network LLC                               6/23/2022   Incoming      Intercompany Coin Movement     USDC                         153,037.280929                $153,037.28
   Celsius Network Limited             Celsius Network LLC                               6/23/2022   Incoming      Intercompany Coin Movement     BUSD                            487.23969328                   $487.11
   Celsius Network Limited             Celsius Network LLC                               6/23/2022   Incoming      Intercompany Coin Movement     USDC                               287.521678                  $287.52
   Celsius Network Limited             Celsius Network LLC                               6/23/2022   Incoming      Intercompany Coin Movement     MATIC_POLYGON                               10.0                 $5.06
   Celsius Network Limited             Celsius Network LLC                               6/23/2022   Incoming      Intercompany Coin Movement     BNB_BSC                          22.73543812                 $5,099.68
   Celsius Network Limited             Celsius Network LLC                               6/23/2022   Incoming      Intercompany Coin Movement     CRV                                   132.5563                 $104.78
   Celsius Network Limited             Celsius Network LLC                               6/23/2022   Incoming      Intercompany Coin Movement     ETH                                         67.0            $74,617.94
   Celsius Network Limited             Celsius Network EU UAB (LT)                       6/23/2022   Incoming      Intercompany Coin Movement     ETH                                        110.0           $122,507.07
   Celsius Network Limited             Celsius Network LLC                               6/24/2022   Outgoing      Intercompany Coin Movement     USDC                           (10,100,000.0)          ($10,100,000.00)
   Celsius Network Limited             Celsius Network LLC                               6/24/2022   Outgoing      Intercompany Coin Movement     REN                             (16,438.3523)               ($2,004.04)
   Celsius Network Limited             Celsius Network LLC                               6/24/2022   Incoming      Intercompany Coin Movement     USDC                           59,580.962363                $59,580.96
   Celsius Network Limited             Celsius Network LLC                               6/24/2022   Incoming      Intercompany Coin Movement     LTC                                   0.364562                  $20.45
   Celsius Network Limited             Celsius Network LLC                               6/24/2022   Incoming      Intercompany Coin Movement     USDC                           13,643.579293                $13,643.58
   Celsius Network Limited             Celsius Network LLC                               6/24/2022   Incoming      Intercompany Coin Movement     XAUT2                                  0.69002               $1,259.73
   Celsius Network Limited             Celsius Network LLC                               6/24/2022   Incoming      Intercompany Coin Movement     USDC                                 10,282.62              $10,282.62
   Celsius Network Limited             Celsius Network LLC                               6/26/2022   Outgoing      Intercompany Coin Movement     USDC_AVAX                                   (5.0)               ($5.02)
   Celsius Network Limited             Celsius Network LLC                               6/26/2022   Incoming      Intercompany Coin Movement     USDC                           57,112.528106                $57,112.53
   Celsius Network Limited             Celsius Network LLC                               6/26/2022   Incoming      Intercompany Coin Movement     BTC                                5.02618099              $107,404.33
   Celsius Network Limited             Celsius Network LLC                               6/26/2022   Incoming      Intercompany Coin Movement     PAX                          2,939.94214917                  $2,941.45
   Celsius Network Limited             Celsius Network LLC                               6/26/2022   Incoming      Intercompany Coin Movement     BTC                              68.19999113             $1,440,384.88
   Celsius Network Limited             Celsius Network LLC                               6/27/2022   Outgoing      Intercompany Coin Movement     ADA                     (3,384,333.108443)              ($1,687,215.63)
   Celsius Network Limited             Celsius Network LLC                               6/27/2022   Outgoing      Intercompany Coin Movement     USDC                           (30,000,000.0)          ($30,000,000.00)
   Celsius Network Limited             Celsius Network LLC                               6/27/2022   Incoming      Intercompany Coin Movement     USDC                              8,616.70529                $8,616.71
   Celsius Network Limited             Celsius Network LLC                               6/27/2022   Incoming      Intercompany Coin Movement     USDC                             7,649.252403                $7,649.25
   Celsius Network Limited             Celsius Network LLC                               6/27/2022   Incoming      Intercompany Coin Movement     SNX                                1,000,000.0           $2,649,738.64
   Celsius Network Limited             Celsius Mining LLC                                6/27/2022   Incoming      Intercompany Coin Movement     BTC                                        80.38         $1,664,065.37
   Celsius Network Limited             Celsius Network LLC                               6/27/2022   Incoming      Intercompany Coin Movement     ADA                        3,984,659.825919              $1,947,237.10
   Celsius Network Limited             Celsius Network LLC                               6/27/2022   Incoming      Intercompany Coin Movement     ADA                         1,001,124.87168                $489,233.17
   Celsius Network Limited             Celsius Network LLC                               6/27/2022   Incoming      Intercompany Coin Movement     ADA                                    25,000.0             $12,217.08
   Celsius Network Limited             Celsius Network LLC                               6/27/2022   Incoming      Intercompany Coin Movement     ETH                                         72.0            $85,462.49
   Celsius Network Limited             Celsius Network LLC                               6/27/2022   Incoming      Intercompany Coin Movement     USDC_AVAX                                     5.0                $5.01
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     AVAX                  (10,512.9850873495)                 ($214,688.87)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     BAT                              (2,178,596.2)            ($868,132.49)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     BSV                                    (644.57)            ($38,893.71)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     SNX                                (50,078.92)            ($129,375.52)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     LINK                                 (92,500.0)           ($648,706.28)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                         (130,182.5)            ($130,068.00)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     COMP                                   (317.83)            ($16,369.78)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     USDC                             (1,914,844.5)          ($1,914,844.50)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     DASH                                   (522.44)            ($25,835.33)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     BTC                           (473.70997146)            ($9,976,034.96)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     DOT                                (35,808.75)            ($285,114.24)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     SOL                          (27,491.999995)            ($1,088,933.48)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     EOS                                (65,099.53)             ($65,165.59)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     ETC                                    (915.25)            ($15,237.98)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     MANA                              (120,905.13)            ($117,540.49)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     ETH                                   (4,946.5)         ($6,014,869.10)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     ETH                                  (10,098.0)        ($12,279,015.09)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     UNI                                (20,626.35)            ($110,953.70)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     XLM                            (1,841,478.62)             ($220,622.47)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     MATIC                       (1,658,960.5001)              ($935,293.73)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     ZRX                                (66,413.48)             ($22,041.03)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     MATIC                 (12,954.6829127325)                   ($7,303.63)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     BTC                                      (471.0)        ($9,840,822.78)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     DOGE                              (198,635.14)             ($13,902.61)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     LTC                                  (3,388.61)           ($187,571.16)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     BUSD                                 (20,922.0)            ($20,828.33)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     TUSD                               (15,119.01)             ($15,149.25)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     PAX                               (113,266.07)            ($112,964.90)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     AAVE                   (877.627147779151)                  ($57,020.23)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     BCH                           (473.95068338)               ($51,784.92)
   Celsius Network Limited             Celsius Mining LLC                                6/28/2022   Outgoing      Intercompany Coin Movement     ETH                                       (0.25)              ($297.36)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     CVX                   (1,620.66281475442)                   ($6,884.89)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     CRV                   (17,602.1650010921)                  ($13,340.39)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Outgoing      Intercompany Coin Movement     USDC                             (2,675,000.0)          ($2,675,000.00)
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Incoming      Intercompany Coin Movement     ADA                                2,000,000.0             $983,250.45
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Incoming      Intercompany Coin Movement     ADA                                1,500,000.0             $737,437.84
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Incoming      Intercompany Coin Movement     ADA                        1,499,999.829087                $737,437.84
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Incoming      Intercompany Coin Movement     BUSD                                   1,141.09              $1,146.80
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Incoming      Intercompany Coin Movement     SNX                      414.096784441786                    $1,013.39
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Incoming      Intercompany Coin Movement     USDC                             1,397.350375                $1,397.35
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Incoming      Intercompany Coin Movement     OMG                     13,095.9718056904                   $26,505.25
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Incoming      Intercompany Coin Movement     MKR                      1.00372141232133                    $1,018.48
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Incoming      Intercompany Coin Movement     ADA                                2,500,000.0           $1,239,248.15
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Incoming      Intercompany Coin Movement     ADA                                2,500,000.0           $1,239,248.15
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Incoming      Intercompany Coin Movement     ADA                        2,746,569.829087              $1,361,472.72
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Incoming      Intercompany Coin Movement     AVAX                    177,759.998918479                $3,530,673.57
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Incoming      Intercompany Coin Movement     LINK                                 850,000.0           $5,628,271.49
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Incoming      Intercompany Coin Movement     LINK                                 700,000.0           $4,909,128.62
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Incoming      Intercompany Coin Movement     SNX                                1,000,000.0           $2,507,294.98
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Incoming      Intercompany Coin Movement     SNX                                  650,000.0           $1,584,586.71
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Incoming      Intercompany Coin Movement     SNX                                  133,000.0             $325,480.61
   Celsius Network Limited             Celsius Network LLC                               6/28/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                     13,931.745736                $13,917.23
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Outgoing      Intercompany Coin Movement     KNC                                   (1,500.0)             ($1,986.46)
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Outgoing      Intercompany Coin Movement     LTC                              (0.38999747)                  ($20.43)
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Outgoing      Intercompany Coin Movement     BNT                                      (997.5)              ($492.77)
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Outgoing      Intercompany Coin Movement     OMG                                       (99.5)              ($183.50)
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Outgoing      Intercompany Coin Movement     LTC                              (9.99999889)                 ($521.90)
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20              (2,418,028.128242)              ($2,415,393.80)
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Outgoing      Intercompany Coin Movement     PAXG                             (305.568874)             ($556,184.85)
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Outgoing      Intercompany Coin Movement     PAXG                                   (305.63)           ($556,184.85)
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Outgoing      Intercompany Coin Movement     PAXG                                   (0.9998)             ($1,821.34)
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Outgoing      Intercompany Coin Movement     PAXG                                        (1.0)           ($1,821.34)
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Incoming      Intercompany Coin Movement     ADA                                5,000,000.0           $2,323,012.35
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Incoming      Intercompany Coin Movement     ADA                                5,000,000.0           $2,323,012.35
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Incoming      Intercompany Coin Movement     ETC                      76.0251197901047                    $1,148.69
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Incoming      Intercompany Coin Movement     ZEC                          9,588.74506082                $562,938.47
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Incoming      Intercompany Coin Movement     EOS                               10,746.7516               $10,021.33
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Incoming      Intercompany Coin Movement     EOS                                      0.7669                  $0.72
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                       5,218.961817                $5,212.50
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Incoming      Intercompany Coin Movement     SNX                                  500,000.0           $1,300,942.11
   Celsius Network Limited             Celsius Network LLC                               6/29/2022   Incoming      Intercompany Coin Movement     ETH                                     5,000.0          $5,502,526.82
   Celsius Network Limited             Celsius Mining LLC                                6/29/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                         1,000,000.0             $998,881.28
   Celsius Network Limited             Celsius Mining LLC                                6/29/2022   Incoming      Intercompany Coin Movement     USDC                                 480,583.0             $480,583.00
   Celsius Network Limited             Celsius Network LLC                               6/30/2022   Incoming      Intercompany Coin Movement     PAX                          5,102.55127564                  $5,087.65
   Celsius Network Limited             Celsius Network LLC                               6/30/2022   Incoming      Intercompany Coin Movement     UNI                           53.7262161863                    $255.43
   Celsius Network Limited             Celsius Network LLC                               6/30/2022   Incoming      Intercompany Coin Movement     SUSHI                     159,205.35502296                 $154,437.37
   Celsius Network Limited             Celsius Network LLC                               6/30/2022   Outgoing      Intercompany Coin Movement     ADA                     (2,581,121.827503)              ($1,135,134.33)
   Celsius Network Limited             Celsius Network LLC                               6/30/2022   Outgoing      Intercompany Coin Movement     ADA                              (3,000,000.0)          ($1,319,349.88)
   Celsius Network Limited             Celsius Network LLC                               6/30/2022   Outgoing      Intercompany Coin Movement     ADA                              (3,000,000.0)          ($1,319,349.88)
   Celsius Network Limited             Celsius Network LLC                                7/1/2022   Outgoing      Intercompany Coin Movement     AAVE                            (2,068.07238)             ($117,132.32)
   Celsius Network Limited             Celsius Network LLC                                7/1/2022   Outgoing      Intercompany Coin Movement     BADGER                                   (200.0)              ($614.55)
   Celsius Network Limited             Celsius Network LLC                                7/1/2022   Outgoing      Intercompany Coin Movement     USDC                           (40,000,000.0)          ($40,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                7/1/2022   Outgoing      Intercompany Coin Movement     USDC                           (20,000,000.0)          ($20,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                7/1/2022   Incoming      Intercompany Coin Movement     XLM                          13,284.5465108                  $1,448.41
   Celsius Network Limited             Celsius Network LLC                                7/1/2022   Incoming      Intercompany Coin Movement     USDC                           39,044.784706                $39,044.78
   Celsius Network Limited             Celsius Network LLC                                7/1/2022   Incoming      Intercompany Coin Movement     LINK                                 350,000.0           $2,104,117.89
   Celsius Network Limited             Celsius Network LLC                                7/1/2022   Incoming      Intercompany Coin Movement     SNX                                  330,000.0             $723,011.25
   Celsius Network Limited             Celsius Network LLC                                7/1/2022   Outgoing      Intercompany Coin Movement     ADA                              (1,500,000.0)            ($669,301.68)
   Celsius Network Limited             Celsius Network LLC                                7/1/2022   Outgoing      Intercompany Coin Movement     ADA                              (3,000,000.0)          ($1,338,603.36)
   Celsius Network Limited             Celsius Network LLC                                7/1/2022   Outgoing      Intercompany Coin Movement     ADA                              (1,500,000.0)            ($669,301.68)
   Celsius Network Limited             Celsius Mining LLC                                 7/1/2022   Outgoing      Intercompany Coin Movement     BTC                                      (58.69)        ($1,139,762.49)
   Celsius Network Limited             Celsius Network LLC                                7/2/2022   Outgoing      Intercompany Coin Movement     USDC                           (15,000,000.0)          ($15,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                7/2/2022   Incoming      Intercompany Coin Movement     ETH                                     3,000.0          $3,156,659.30
   Celsius Network Limited             Celsius Network LLC                                7/3/2022   Outgoing      Intercompany Coin Movement     USDC                           (50,000,000.0)          ($50,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                7/3/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (6,300,000.0)          ($6,294,212.35)
   Celsius Network Limited             Celsius Network LLC                                7/3/2022   Incoming      Intercompany Coin Movement     LINK                    459,157.218153924                $2,796,837.20
   Celsius Network Limited             Celsius Network LLC                                7/4/2022   Outgoing      Intercompany Coin Movement     USDC                   (74,030,722.739416)             ($74,030,722.74)
   Celsius Network Limited             Celsius Network LLC                                7/4/2022   Outgoing      Intercompany Coin Movement     USDC                           (77,000,000.0)          ($77,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                7/4/2022   Incoming      Intercompany Coin Movement     ETH                                         20.0            $21,093.69
   Celsius Network Limited             Celsius Network LLC                                7/4/2022   Incoming      Intercompany Coin Movement     USDC                           30,722.739416                $30,722.74
   Celsius Network Limited             Celsius Network LLC                                7/4/2022   Incoming      Intercompany Coin Movement     SNX                                  700,000.0           $2,002,123.88
   Celsius Network Limited             Celsius Network LLC                                7/4/2022   Incoming      Intercompany Coin Movement     ETH                     67,309.9990855806               $71,789,040.50
   Celsius Network Limited             Celsius Network LLC                                7/4/2022   Outgoing      Intercompany Coin Movement     ADA                            (11,419,000.0)           ($5,129,725.95)
   Celsius Network Limited             Celsius Network LLC                                7/4/2022   Outgoing      Intercompany Coin Movement     ADA                            (11,000,000.0)           ($4,941,499.73)
   Celsius Network Limited             Celsius Network LLC                                7/4/2022   Outgoing      Intercompany Coin Movement     ADA                            (11,000,000.0)           ($4,941,499.73)
                             22-10966-mg
Debtor Name: Celsius Network Limited
                                                             Doc 15         Filed    03/24/23
                                                                               Statement of Financial Affairs forEntered          03/24/23
                                                                                                                 Non-Individuals Filing for Bankruptcy 23:49:09    Main Document                        Case Number: 22-10966
                                                                                              SOFA Question 4: Intercompany Transfers
                                                                                                     Pg       75    of   77
                                                                                                 Intercompany Coin Transactions

                 CELSIUS ENTITY                              COUNTERPARTY                   DATE            TYPE              TRANSACTION TYPE              COIN       COIN QUANTITY                    COIN USD
   Celsius Network Limited             Celsius Network LLC                                 7/5/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (23,012,399.0)         ($22,991,171.01)
   Celsius Network Limited             Celsius Network LLC                                 7/5/2022   Outgoing      Intercompany Coin Movement     XLM                                       (100.0)               ($10.75)
   Celsius Network Limited             Celsius Network LLC                                 7/5/2022   Outgoing      Intercompany Coin Movement     ETH                                       (150.0)          ($169,058.82)
   Celsius Network Limited             Celsius Network LLC                                 7/5/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                         (675.307837)                ($674.68)
   Celsius Network Limited             Celsius Network LLC                                 7/5/2022   Outgoing      Intercompany Coin Movement     USDC                                    (4,000.0)            ($4,000.00)
   Celsius Network Limited             Celsius Network LLC                                 7/5/2022   Outgoing      Intercompany Coin Movement     AVAX                           (67.999443479)                ($1,145.22)
   Celsius Network Limited             Celsius Network LLC                                 7/5/2022   Outgoing      Intercompany Coin Movement     USDC                             (30,000,000.0)         ($30,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                 7/5/2022   Outgoing      Intercompany Coin Movement     USDC                                      (999.0)              ($999.00)
   Celsius Network Limited             Celsius Network LLC                                 7/5/2022   Incoming      Intercompany Coin Movement     USDT_ERC20                           675.307837                 $674.68
   Celsius Network Limited             Celsius Network LLC                                 7/5/2022   Incoming      Intercompany Coin Movement     SUSHI                    197,530.457067603                  $205,943.61
   Celsius Network Limited             Celsius Network LLC                                 7/5/2022   Incoming      Intercompany Coin Movement     WBTC                          2,705.17430421             $53,091,562.83
   Celsius Network Limited             Celsius Network LLC                                 7/5/2022   Incoming      Intercompany Coin Movement     ETH                                      31,630.0        $34,651,362.33
   Celsius Network Limited             Celsius Network LLC                                 7/5/2022   Outgoing      Intercompany Coin Movement     BTC                                (1.94801449)             ($37,798.53)
   Celsius Network Limited             Celsius Network LLC                                 7/5/2022   Outgoing      Intercompany Coin Movement     BTC                                 (0.0999736)              ($1,962.59)
   Celsius Network Limited             Celsius Network LLC                                 7/5/2022   Outgoing      Intercompany Coin Movement     BTC                                 (0.0062299)                ($123.43)
   Celsius Network Limited             Celsius Network LLC                                 7/6/2022   Outgoing      Intercompany Coin Movement     USDC                                   (14,999.0)           ($14,999.00)
   Celsius Network Limited             Celsius Network LLC                                 7/6/2022   Outgoing      Intercompany Coin Movement     AVAX                                      (37.99)              ($696.09)
   Celsius Network Limited             Celsius Network LLC                                 7/6/2022   Incoming      Intercompany Coin Movement     BTC                                         7.885           $158,944.41
   Celsius Network Limited             Celsius Network LLC                                 7/6/2022   Incoming      Intercompany Coin Movement     BNT                     1,280,908.37156245                  $623,165.90
   Celsius Network Limited             Celsius Network LLC                                 7/6/2022   Incoming      Intercompany Coin Movement     ETH                      19,999.9991180124               $22,815,894.53
   Celsius Network Limited             Celsius Network LLC                                 7/6/2022   Incoming      Intercompany Coin Movement     COMP                     2,915.41568539173                  $134,455.01
   Celsius Network Limited             Celsius Network LLC                                 7/6/2022   Incoming      Intercompany Coin Movement     UNI                         24,088.05222158                 $130,075.68
   Celsius Network Limited             Celsius Network LLC                                 7/6/2022   Incoming      Intercompany Coin Movement     BAT                                    764,357.0            $330,399.53
   Celsius Network Limited             Celsius Network LLC                                 7/6/2022   Outgoing      Intercompany Coin Movement     BTC                                 (1.3547356)             ($27,186.54)
   Celsius Network Limited             Celsius Network LLC                                 7/7/2022   Outgoing      Intercompany Coin Movement     USDC                             (50,000,000.0)         ($50,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                 7/7/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                 (12,104,072.1918)            ($12,095,069.37)
   Celsius Network Limited             Celsius Network LLC                                 7/7/2022   Incoming      Intercompany Coin Movement     WBTC                        21,962.63112349             $448,573,962.26
   Celsius Network Limited             Celsius Mining LLC                                  7/7/2022   Outgoing      Intercompany Coin Movement     BTC                                       (69.92)        ($1,434,167.78)
   Celsius Network Limited             Celsius Network LLC                                 7/8/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                      (110,958.9041)             ($110,903.20)
   Celsius Network Limited             Celsius Network LLC                                 7/8/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                        (10,958.9041)             ($10,952.47)
   Celsius Network Limited             Celsius Network LLC                                 7/8/2022   Outgoing      Intercompany Coin Movement     USDC                             (10,000,000.0)         ($10,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                 7/8/2022   Outgoing      Intercompany Coin Movement     ETH                                         (22.0)          ($27,322.88)
   Celsius Network Limited             Celsius Network LLC                                 7/8/2022   Incoming      Intercompany Coin Movement     ETH                                      24,000.0        $29,135,645.03
   Celsius Network Limited             Celsius Network LLC                                 7/8/2022   Incoming      Intercompany Coin Movement     LINK                                 2,000,000.0         $12,865,899.75
   Celsius Network Limited             Celsius Network LLC                                 7/8/2022   Incoming      Intercompany Coin Movement     SNX                                  1,000,000.0          $2,540,191.19
   Celsius Network Limited             Celsius Network LLC                                 7/8/2022   Incoming      Intercompany Coin Movement     BAT                                  2,000,000.0            $866,041.54
   Celsius Network Limited             Celsius Network LLC                                 7/8/2022   Incoming      Intercompany Coin Movement     USDC                                      1,000.0             $1,000.00
   Celsius Network Limited             Celsius Network LLC                                 7/8/2022   Outgoing      Intercompany Coin Movement     ADA                                  (500,000.0)           ($234,777.10)
   Celsius Network Limited             Celsius Network LLC                                 7/8/2022   Outgoing      Intercompany Coin Movement     ADA                       (5,580,999.830671)             ($2,620,582.01)
   Celsius Network Limited             Celsius Network LLC                                 7/8/2022   Outgoing      Intercompany Coin Movement     ADA                                  (500,000.0)           ($234,777.10)
   Celsius Network Limited             Celsius Network LLC                                 7/9/2022   Incoming      Intercompany Coin Movement     WBTC                                      2,000.0        $43,167,166.37
   Celsius Network Limited             Celsius Network LLC                                7/10/2022   Outgoing      Intercompany Coin Movement     USDC                             (20,000,000.0)         ($20,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                7/10/2022   Incoming      Intercompany Coin Movement     WBTC                                      2,000.0        $42,843,093.44
   Celsius Network Limited             Celsius Network LLC                                7/10/2022   Outgoing      Intercompany Coin Movement     ADA                                (4,999,996.0)         ($2,389,585.39)
   Celsius Network Limited             Celsius Network LLC                                7/10/2022   Outgoing      Intercompany Coin Movement     ADA                                (5,000,000.0)         ($2,389,587.31)
   Celsius Network Limited             Celsius Network LLC                                7/11/2022   Outgoing      Intercompany Coin Movement     USDC                             (75,000,000.0)         ($75,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                7/11/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                       (8,613,444.52)          ($8,608,771.12)
   Celsius Network Limited             Celsius Network LLC                                7/11/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                         (9,508,000.0)         ($9,501,317.89)
   Celsius Network Limited             Celsius Network LLC                                7/11/2022   Incoming      Intercompany Coin Movement     WBTC                          6,083.56264046            $125,284,975.17
   Celsius Network Limited             Celsius Network LLC                                7/11/2022   Incoming      Intercompany Coin Movement     ETH                                         780.0           $897,691.65
   Celsius Network Limited             Celsius Network LLC                                7/11/2022   Outgoing      Intercompany Coin Movement     ADA                              (11,000,000.0)          ($4,988,866.95)
   Celsius Network Limited             Celsius Network LLC                                7/11/2022   Outgoing      Intercompany Coin Movement     ADA                              (12,000,000.0)          ($5,442,400.31)
   Celsius Network Limited             Celsius Network LLC                                7/11/2022   Outgoing      Intercompany Coin Movement     ADA                              (12,000,000.0)          ($5,442,400.31)
   Celsius Network Limited             Celsius Network LLC                                7/12/2022   Outgoing      Intercompany Coin Movement     USDC                             (63,501,000.0)         ($63,501,000.00)
   Celsius Network Limited             Celsius Network LLC                                7/12/2022   Outgoing      Intercompany Coin Movement     AVAX                         (246.508886958)                 ($4,362.74)
   Celsius Network Limited             Celsius Network LLC                                7/12/2022   Outgoing      Intercompany Coin Movement     USDC                               (8,499,999.0)         ($8,499,999.00)
   Celsius Network Limited             Celsius Network LLC                                7/12/2022   Outgoing      Intercompany Coin Movement     ETH                                         (20.0)          ($20,971.86)
   Celsius Network Limited             Celsius Network LLC                                7/12/2022   Incoming      Intercompany Coin Movement     UNI                      350,020.197440823                $1,992,848.53
   Celsius Network Limited             Celsius Network LLC                                7/12/2022   Incoming      Intercompany Coin Movement     COMP                     13,775.3128950264                  $671,034.83
   Celsius Network Limited             Celsius Network LLC                                7/12/2022   Incoming      Intercompany Coin Movement     SUSHI                    395,060.916726728                  $454,465.37
   Celsius Network Limited             Celsius Network LLC                                7/12/2022   Incoming      Intercompany Coin Movement     CRV                      168,756.173442724                  $153,426.95
   Celsius Network Limited             Celsius Network LLC                                7/12/2022   Incoming      Intercompany Coin Movement     STETH_ETH                400,048.928461789              $417,680,669.80
   Celsius Network Limited             Celsius Network LLC                                7/12/2022   Incoming      Intercompany Coin Movement     STETH_ETH                10,463.8656428631               $10,522,900.37
   Celsius Network Limited             Celsius Network LLC                                7/12/2022   Incoming      Intercompany Coin Movement     GUSD                                   12,984.55             $13,005.47
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20                    (51,666.666666)               ($51,625.64)
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Outgoing      Intercompany Coin Movement     GUSD                                 (12,984.55)            ($12,969.85)
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Outgoing      Intercompany Coin Movement     PAXG                     (1,595.4651883433)              ($2,759,060.70)
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Outgoing      Intercompany Coin Movement     USDC                             (29,000,000.0)         ($29,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Outgoing      Intercompany Coin Movement     USDC                             (13,000,000.0)         ($13,000,000.00)
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Outgoing      Intercompany Coin Movement     USDT_ERC20              (24,905,632.124183)             ($24,888,593.78)
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Outgoing      Intercompany Coin Movement     AVAX                                      (103.0)            ($1,769.17)
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Outgoing      Intercompany Coin Movement     MATIC                   (7,503,020.7538755)              ($4,339,161.97)
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Outgoing      Intercompany Coin Movement     REN                      (599,977.72338659)                 ($73,824.86)
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Outgoing      Intercompany Coin Movement     PAXG                   (1,595.14609530563)               ($2,759,060.70)
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Incoming      Intercompany Coin Movement     SNX                      664,684.284054507                $1,583,355.10
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Incoming      Intercompany Coin Movement     WBTC                        10,000.95407619             $195,893,347.68
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Incoming      Intercompany Coin Movement     COMP                      62.6359544855134                    $2,878.00
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Incoming      Intercompany Coin Movement     USDC                      17,007,584.150068              $17,007,584.15
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Incoming      Intercompany Coin Movement     ETH                                         520.0           $555,996.92
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Incoming      Intercompany Coin Movement     ETH                                         500.0           $542,693.89
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Incoming      Intercompany Coin Movement     LINK                      2,200,821.1012052              $13,193,861.51
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Incoming      Intercompany Coin Movement     SNX                                    261,291.0            $628,820.01
   Celsius Network Limited             Celsius Network LLC                                7/13/2022   Outgoing      Intercompany Coin Movement     LINK                  (2,200,821.10120521)              ($13,193,861.51)
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                                  Schedule F
  Debtor     22-10966-mg
             Celsius Network Limited   Doc 15     Filed 03/24/23 Entered 03/24/23   23:49:09
                                                                              Case number (If known) Main
                                                                                                     22-10966Document
                                                                                                              (MTG)
             Name                                             Pg 77 of 77
 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims
 3. List in alphabetical order all of the creditorswith nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim
3.1   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      RETAIL CUSTOMER LIABILITIES – NONE. PLEASE REFER TO THE           Check all that apply.                            $
      AMENDED GLOBAL NOTES.                                             ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim:

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.2   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                            $
                                                                        ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim:

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   ¨ Yes
3.3   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                            $
                                                                        ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim:

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   ¨ Yes
3.4   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                            $
                                                                        ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim:

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   ¨ Yes
3.5   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                            $
                                                                        ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim:

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   ¨ Yes
3.6   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                            $
                                                                        ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim:

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   ¨ Yes




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